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     All lightning-caused wildfires would be managed primarily to restore and maintain the
     natural role of fire in the ecosystem. However, suppression action would be taken to mitigate
     wildfire threats to communities and other non-natural resource values, while allowing the
     wildfire to play a natural role in the ecosystem.
     Human-caused wildfires would be managed by using a full suppression strategy
     commensurate with the values at risk.
     The Wildland Fire Management Zone: Resource Protection and Benefit applies mostly
     to the General Forest Geographic Area and Specially Designated Geographic Areas. These
     are generally areas where current conditions may put some natural resource values at varying
     degrees of risk from wildfire. Some areas in this zone may have conditions that place
     communities and other non-natural resource values at risk from wildfire. A variety of tools,
     including mechanical treatments and prescribed burning, can be used to promote ecological
     restoration before using wildfire under a wider range of weather, fuel moisture, and other
     environmental conditions. Wildfires that burn in this zone may benefit natural resources
     under certain conditions.
     All lightning-caused wildfires in these areas would be assessed on an individual basis for the
     most appropriate response based on values at risk and potential benefits to natural resources
     from a wildfire.
     All human-caused wildfires would be managed using a full suppression strategy that is
     commensurate with the values at risk.

     Alternative B
     Because so much of the Forest area is either wilderness or roadless, alternative B allocates an
     even balance between the two fire management zones (Figure 7).
                                    Wildland Fire Management Continuum




     Figure 7. Wildfire management continuum, alternative B


     Alternative C
     The emphasis of alternative C is on multiple use. This alternative has the fewest acres in
     designated wilderness, recommended wilderness, and special designated areas. This
     alternative would shift more acres into resource protection and benefit the wildland fire
     management zone, which could provide more flexibility for fire suppression and increased
     opportunities of mechanical and prescribed burn fuel treatments (Figure 8).


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  Figure 8. Wildfire management continuum, alternative C


  Alternative D
  The emphasis of alternative D is on resource protection (Figure 9). This alternative has the
  most acres of wilderness and recommended wilderness, roadless and backcountry areas, and
  special designated areas. The expectation is that unplanned wildfire would be used more
  frequently to meet resource objectives, with an emphasis on nonmechanical treatments on
  these acres. Management Areas 2.2 - Research Natural Areas and 4.23 - Congressionally
  Designated Trails that overlap and bisect wilderness and roadless area designations, and 3.3 -
  Backcountry, are included in the resource restoration wildland fire management zone.




  Figure 9. Wildfire management continuum, alternative D


  In summary, a major difference between the no-action and action alternatives is the
  requirement to suppress all unplanned wildland fires in some of the management areas under
  alternative A. There are minor differences in the amount of acres that would be assigned to
  each of the fire management zones between the action alternatives. Given the uncertainty of
  future climate fluctuations and weather conditions, any of the action alternatives would
  provide fire managers with more flexibility to manage individual fires based on the values at
  risk and the potential for beneficial resource outcomes.
  Alternative A shows the largest departure in effects related to fire because wildfire
  management zones are not included. However, because the fire-related direction is the same
  across the action alternatives (B, C, and D) there are no significant differences for fire and


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     fuels management as analyzed. Variation occurs in the allocation of management area
     designations across the alternatives and how they are subsequently assigned to wildland fire
     management zones.

     Effects on Fire Management from Timber Harvest
     Timber harvest may have a short-term localized effect on fire management within individual
     timber sale areas with increased fine fuel loadings from slash accumulations, which could
     persist until the slash has decayed or decomposed. Over a broader scale, timber harvest can
     have some effect to fuel profiles and loading, especially in areas of spruce-fir with heavy
     spruce beetle mortality. Removing a large portion of the dead standing trees could
     substantially reduce the accumulation of surface fuels over the longer term (30-50 years) and
     could help moderate potential fire residence time and soil heating impacts from future
     wildland fires. These effects would still be localized and would likely affect only about
     10 percent of the suitable timber base over a 20-year period.
     Therefore, alternatives A, B, and C would result in more timber harvest, thus more
     distribution of slash and fine fuels across the treated areas. Prescribed burning can reduce the
     fuel load and prepare sites for regeneration (outside of lynx habitat).
     Alternative D has more forested acres in a protected status than the other alternatives,
     resulting in reduced timber harvest and potential for slash. However, with less removal of the
     standing dead, beetle-killed trees, more will continue to decay and fall, resulting in large
     fuels accumulation that under hot, dry conditions could fuel a wildfire. Firefighter safety is of
     utmost importance when suppressing wildfires. Large amounts of downed dead wood
     combined with standing dead trees create conditions that can be extremely hazardous to
     firefighters and limits suppression strategies.

     Effects on Fire Management from Road Management
     Effects from road construction or reconstruction would have a minimal effect on fire
     management. Short-term delays or limited areas of access could impact emergency response
     to wildland fire incidents, but these occurrences would be rare. The extent to which these
     effects would vary across the alternatives is unknown.
     Decisions that limit motorized access to areas of the Forest could have minor impacts on
     emergency response to wildland fire incidents. These could be mitigated on individual
     wildland fires by using alternate means of access, i.e., helicopters, or by employing different
     fire management strategies.

     Effects on Fire Management from Designation of Wilderness
     Effects for the acreage of recommended wilderness in alternative D would increase the
     acreage included in the resource restoration wildland fire management zone, but this would
     have minimal overall effect to fire management.

     Effects on Fire Management from Designation of Research Natural Areas
     Effects for the potential increased acreage of research natural areas in alternative D would
     increase the acreage included in the resource restoration wildland fire management zone.
     This would have minimal overall effect to fire management.


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  Cumulative Effects
  Since they were developed, these national level plans, initiatives, and acts (called "other
  plans" for the rest of this discussion) have influenced the vegetation and fuel management
  programs on the Forest. In general, these plans have resulted in more vegetation treatments
  occurring in the wildland-urban interface to reduce hazardous fuels, and fewer vegetation
  treatments conducted in areas further from communities. In addition, the types of fuel
  treatments being used in response to these other plans are typically more expensive, and
  social issues, such as effects on scenery, air quality, noise, wildlife viewing, etc., can be more
  contentious. Therefore, increased public involvement, planning, and implementation
  expenses would lead to fewer acres treated within a given budget level. Not only do these
  other plans emphasize the need to reduce hazardous fuels in the wildland-urban interface,
  they also stress the need to restore natural fire regimes and forest conditions to the larger
  National Forest System landscape. These plans encourage the development of more resistant
  and resilient forest vegetation that would be less susceptible to large disturbances such as
  wildfires or insect outbreaks.
  For the last several decades, more human development has occurred around the edges of
  National Forest System lands. This trend is expected to continue in the future and is likely to
  have similar effects on the forest vegetation to those discussed in the preceding paragraph.
  With a greater number of people living and recreating in these wildland-urban interface areas,
  there is a greater probability of more human-caused wildfire ignitions that could affect the
  forest vegetation, in spite of suppression efforts.
  Working cooperatively with neighboring landowners on the management of fire and
  implementing fuels management strategies is effective, because it is the small lot owner that
  becomes the focus of suppression resources when large wildfires occur. The future increase
  in small lot owners would continue to challenge wildfire management during large fire
  events. Individually working with these property owners is costly and creates a patchwork of
  defensible properties intermingled with less defensible properties.
  The current trend of rural volunteer fire department staffing is on the decline, leading to
  limitations on their ability to support fire suppression and structure protection. This could
  lead to increased spread of fire from outside the Forest.
  The use of fire to maintain or restore fire-adapted ecosystems, or reduce hazardous fuels in
  the wildland-urban interface, is dependent upon air quality regulations. Increasing regulations
  over time have decreased opportunities for prescribed burning. More stringent air quality
  regulations regarding the quantity and timing of smoke emissions would result in substantial
  effects on using these tools. Further restrictions would impact the ability to make meaningful
  improvements in forest and fuel conditions and meet resource objectives using fire.
  The cumulative effects of timber harvest, road management, wilderness, and other designated
  areas is expected to be minimal.




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     Carbon Stocks and Sequestration
     Overview
     There are no applicable legal or regulatory requirements or established thresholds concerning
     management of forest carbon or greenhouse gas emissions. Agency guidance on climate
     change in the National Environmental Policy Act is contained in documents from 2009 and
     2010: Climate Change Considerations in Project Level NEPA Analysis (USDA Forest Service
     2009) and Climate Change Considerations in Land Management Plan Revisions (USDA.
     Forest Service 2010). The 2012 Planning Rule also requires a baseline assessment of carbon
     stocks. Carbon emissions from internal agency business operations are inventoried annually
     per Executive Order 13514 and reported to the USDA.
     The Forest Carbon Management Framework takes advantage of corporate Forest Service
     monitoring data, management records, and management tools, complemented with forest
     change information from the Landsat series of satellites, to provide forest-level assessments
     of the impact of different kinds of disturbance on ecosystem carbon storage. A customized
     version of this framework was used to compare carbon storage differences across the four
     alternatives. Additional information about this framework is contained in the draft
     Assessment of the Influence ofDisturbance, Management Activities, and Environmental
     Factors on Carbon Stocks, Rocky Mountain Region (USDA Forest Service 2016a).

     Affected Environment
     The Forest Service recognizes the important role that forest carbon sequestration plays in
     mitigating greenhouse gas emissions. Plants remove carbon dioxide from the atmosphere and
     store it through photosynthesis. Forests are important carbon sinks and generally remove
     more carbon dioxide from the atmosphere than they emit (Pan et al. 2011). Carbon uptake by
     forests in the United States offsets about 13 percent of our national carbon dioxide emissions
     each year (U.S. Environmental Protection Agency 2013). However, the Forest, and other
     Western forests, may emit greater amounts of carbon dioxide if wildfire and insect
     disturbances increase as expected, due to climate change and other stressors (Vose et al.
     2012).
     Reductions in carbon stocks may be slowed through forest protection and conservation
     strategies that retain forest land from conversion to non-forest uses, such as agriculture or
     development. This is more often associated with private land management, rather than
     federal lands that are generally protected and sustainably managed. Long-term forest
     management can help restore and maintain resilient forests that are better adapted to a
     changing climate and other stressors.
     Wood products are also important when considering carbon benefits from forests. Forest
     restoration and other treatments that generate wood products, such as lumber and furniture,
     transfer ecosystem carbon to the harvested wood products pool. Using wood for building
     materials, instead of concrete, steel, or plastic, can have an overall carbon benefit. Forest
     vegetation treatments also generate excess material (woody biomass), which can displace
     tradition fossil fuels.




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  Ecosystem Carbon
  The Forest Service has developed forest carbon assessment whitepapers for each region and
  national forest. The Forest’s carbon assessment is based on forest inventory and analysis data
  and uses a baseline of 1990 to 2013. As part of this process, assessment data for the Forest
  have been disaggregated from the national inventory.
  The carbon assessment does not include emissions from Agency, contractor, or permittee
  business operations or public recreation uses. Only forest ecosystem carbon stocks and
  harvested wood product pools are included in this assessment, consistent with U.S.
  Environmental Protection Agency reporting categories and availability of data. Carbon
  emissions from internal, agency business operations are inventoried annually per Executive
  Order 13514 and reported to the Department of Agriculture.
  The Forest contains about 75 teragrams of total forest ecosystem carbon. One teragram is
  equivalent to 1,000,000,000 kilograms, or 1,000,000 metric tons. This has increased slightly
  over the duration of the Forest Inventory and Analysis Program samples from 1990 to 2013.
  To put this in context, all national forests within Colorado contain approximately 549
  teragrams of carbon, and all national forests in the Rocky Mountain Region (Colorado,
  Nebraska, South Dakota, and parts of Wyoming) contain an estimated 863 teragrams. Total
  carbon in national forests in the Rocky Mountain Region has increased slightly from 829
  teragrams in 1990. All private forests in Colorado have approximately 151 teragrams
  (measurement from 2014, but displayed on the graph below (Figure 10) for comparison
  purposes).




  (All data were derived from the Forest Inventory and Analysis Program.)

  Figure 10. Selected categories of total ecosystem carbon by ownership


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     Total forest ecosystem carbon (in all seven pools) stored in the Rocky Mountain Region has
     increased between 1990 and 2013. The assessment combines carbon stocks from seven
     different carbon pools including 1) above-ground; 2) below ground; 3) standing dead; 4)
     understory; 5) down dead; 6) forest floor; and 7) soil carbon, as defined in Assessment 4
     (USDA Forest Service 2016b) and USDA. Forest Service (2015).
     Regionwide, the amount of carbon (teragrams) stored in the above-ground, standing dead,
     down dead, forest floor, and soil organic carbon pools increased from 1990 to 2013 (Figure
     11). The above-ground pool stores the highest amount of carbon as compared to the other
     pools.




     Figure 11. Carbon stocks in the seven forest ecosystem pools in National Forest
     System lands of the Rocky Mountain Region for i990 and 2013



     Harvested Wood Products in the Rocky Mountain Region
     Nationwide, an estimated 5 percent of forest carbon stocks are contained in harvested wood
     products. Although the amount of harvested wood products is small as compared to
     ecosystem carbon, it is an important component of national level carbon accounting and
     reporting. As defined by the Intergovernmental Panel on Climate Change, harvested wood
     products are products made from wood including lumber, panels, paper, paperboard, and
     wood used for fuel (Skog 2008). The harvested wood products carbon pool includes both
     products in use and products that have been discarded to landfills, or solid waste disposal
     sites. Emissions from harvested wood products occur through decay and combustion of wood
     products.
     For the Rocky Mountain Region, carbon stored in harvested wood products increased in the
     early 1950s until plateauing in 2005 and peaking in 2013 with about 12 teragrams. In the


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  context of total forest carbon, including both ecosystem carbon and harvested wood products
  carbon, the carbon stocks of wood products harvested from the Rocky Mountain Region
  represent about 1.37 percent of total forest carbon storage associated with national forests in
  the Rocky Mountain Region in 2013 (Figure 12).




  (Carbon in harvested wood products includes both products that are still in use and carbon stored at solid waste disposals
    sites, including landfills and dumps (Stockmann et al. 2014). A megagram (Mg) is equivalent to a metric ton.)

  Figure 12. Carbon stored in harvested wood products manufactured from Rocky
  Mountain Region timber

  The Future of Western Forest Carbon Stocks
  The future of the terrestrial carbon sink of Western forests, including the Rio Grande
  National Forest, is uncertain due to the multiple interacting factors that influence carbon
  stocks and fluxes (Lenihan et al. 2008a, King et al. 2007, Pacala et al. 2007, Birdsey et al.
  2007). These factors include climate variability and change; potential positive effects of
  increased atmospheric carbon dioxide concentrations on plant productivity; frequency,
  duration, and severity of moisture stress; changes in the rate and severity of natural
  disturbances; and land management practices (Canadell et al. 2007). The current spruce
  beetle outbreak is one example of a large disturbance affecting the Forest’s carbon stocks.
  Modeling experiments based on projected changes in climate suggest that the future strength
  of the United States carbon sink is very sensitive to the degree of change in climate,
  particularly precipitation, and fire regimes (Bachelet et al. 2001; Lenihan et al. 2008b). If
  precipitation increases and temperature increases are small or moderate, carbon stocks are
  expected to increase. Conversely, if climate changes result in decreased precipitation and soil
  moisture during the growing season, this may result in a net carbon source to the atmosphere
  (Lenihan et al. 2008b). Increasing concentrations of atmospheric carbon dioxide may

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     moderate these impacts by enhancing vegetation productivity and water use efficiency, at
     least up to a point (Bachelet et al. 2001; Joyce and Nungesser 2000; Lenihan et al. 2008a;
     Fischlin et al. 2007). Increases in annual area burned may further reduce carbon stocks
     despite the potentially positive effects of increasing carbon dioxide concentrations (Lenihan
     et al. 2008b).
     Growth rates may increase in high-elevation forests during years with earlier spring
     snowmelt, increased summer precipitation, abnormally warm annual temperatures, and
     longer growing seasons. This suggests that projected changes in regional climate will likely
     result in increased productivity and carbon stocks of high-elevation forests, which make up a
     large portion of the Forest.
     Prolonged periods of water stress significantly reduce a tree’s ability to photosynthesize
     (Kozlowski and Pallardy 1997). As a result, climate projections with increased frequency of
     reduced snowpack, earlier spring snowmelt, increased temperatures during the growing
     season, and little or no significant increase in summer precipitation likely will result in
     reduced forest productivity and carbon sequestration (Boisvenue 2007; Boisvenue and
     Running 2010, Hu et al. 2010). Recent research suggests that regional warming and water
     balance deficit trends over the late 20th century are contributing to rapid and widespread
     increases in mortality rates and slight decreases in forest density and basal area in old growth
     forest throughout the Western United States (van Mantgem et al. 2009).

     Direct and Indirect Effects
     The Forest Carbon Management Framework (ForCaMF) was adapted to simulate the carbon
     storage consequences of four management alternatives proposed for the Forest. Details of
     those alternatives are described in Table 29, Table 30, Table 31, and Table 32. Alternative A
     was considered the baseline because it is similar to what was done under the previous plan.
     Alternative B represented a slight increase in prescription burning in both the first and second
     decades. Alternative C likewise involved slightly more aggressive prescription burning and a
     near doubling of the salvage harvest rate. Alternative D involved about the same level of
     prescription burning as the baseline, but a nearly 50-percent decrease in salvage harvesting.
     ForCaMF (Healey et al. 2014, 2016; Dugan et al. 2017) was used in work sponsored by the
     Forest Service Office of Sustainability and Climate Change to provide uniform assessments
     across all National Forest System planning units of the relative impact of different types of
     disturbance on carbon storage since 1990. In this forward-looking analysis, ForCaMF was
     used to characterize likely carbon storage (with 95-percent confidence intervals) under each
     proposed alternative. Several points to keep in mind for this analysis:
     •   Average Rio Grande fire effects during 1990-2011 were simulated into the future. Mean
         fire effects were characterized as part of the Forest Service Office of Sustainability and
         Climate Change-baseline carbon analyses mentioned above. Relative to some other
         national forests in the Forest Service Rocky Mountain Region, effects from fires on the
         Forest were relatively light.
     •   No difference in fire occurrence was simulated among the alternatives.
     •   Recent insect outbreaks are considered in the analysis, and all salvage harvests were
         directed toward stands hit by those outbreaks. Stands not salvaged were subjected to
         normal post-insect decay and recovery dynamics.

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   •     No further insect activity was simulated past 2017.
   •     Analysis appropriately simulates transition from live to dead carbon pools as well as
         realistic decay rates, as specified by the Forest Vegetation Simulator (Raymond et al.
         2015). Effects do not include changes in soil pools.
   •     The analysis counts only carbon in the forest ecosystem. It does not count potential
         temporary storage of carbon in harvested wood products, nor does it include fossil fuel
         emissions related to forest operations.
   Projected carbon storage differences in the Forest for alternatives B through D in relation to
   the storage projected under alternative A are shown in Figure 13. In other words, positive
   numbers in Figure 13 indicate how much more carbon would be stored over time under the
   given alternative compared to alternative A, and negative numbers indicate how much less
   carbon would be stored in relation to alternative A. Error bars represent an empirical 95-
   percent confidence interval resulting from the range of answers returned when we simulate
   all known error sources 500 times (also known as Monte Carlo Analysis). Given the above
   assumptions, alternatives B and C involved less carbon storage over the next 30 years than
   alternative A, while alternative D led to more storage. Carbon storage effects are presented
   both in grams per square meter and also in terms of total carbon storage across the entire
   Forest.




   Alternative A is represented by the zero line. Error bars represent empirical 95-percent confidence intervals, given the
      assumptions about future fire and insect occurrence listed previously.

   Figure 13. Carbon storage differences among alternatives, as quantified against
   storage patterns related to the baseline management scenario (alternative A).

   According to earlier reports based on the Forest Inventory and Analysis Program data, total
   current carbon stocks in the Forest have remained at about 75 to 80 million metric tonnes

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      (75 to 80 teragrams) since the beginning of the reported period in 2005 (USDA Forest
      Service 2015) (Figure 10). Against the backdrop of an approximately carbon-neutral forest,
      the differences in carbon storage among the scenarios may play a role in whether the Forest
      is a source or sink. After 20 years (in 2037), for example, alternative D would result in
      carbon storage of approximately 955,000 metric tonnes more than alternative C (406,000
      tonnes more than alternative A vs. 549,000 tonnes less than alternative A - see 2037 in Figure
      13). This represents a difference of about 1.2 percent of the 75 to 80 million tonnes currently
      present. It is worth noting, however, that the standard error around the cited report’s estimate
      of total carbon is about +/- 5 million metric tonnes. Also, the 95-percent confidence interval
      of this analysis shows that it is possible that alternative A may not actually produce any more
      or less carbon than alternatives C or D. Thus, while a difference among scenarios of nearly a
      million metric tonnes is large in absolute terms, it is not a large amount in relation to either
      the total stored by the Forest or the uncertainty of the monitoring system. Expanded natural
      disturbances likely would affect carbon storage in the Forest much more than the difference
      among any of these alternatives. ForCaMF analysis throughout the region has shown that
      both insect and fire patterns can account for much larger differences in carbon storage than
      the differential impacts of any of the proposed alternatives.

      Cumulative Effects
      Land-use conversions from forest to other uses is a key activity that negatively affects carbon
      stocks. Rio Grande National Forest lands in this plan would remain forest and would not be
      converted to other land uses, such as agriculture or development, and long-term forest
      services and benefits would be maintained. These lands would be protected and sustainably
      managed; over-harvesting of timber is not a primary concern for decreased carbon
      sequestration. Sustainable management practices and promotion of healthy, resilient forest
      ecosystems increase the ability of the Forest to provide long-term carbon sequestration
      services.
      The impact of the alternatives and proposed forest plan direction on atmospheric
      concentrations of greenhouse gases or global warming is not likely to be large at the global
      scale, considering the global scale of the atmospheric greenhouse gas pool and the multitude
      of natural events and human activities contributing globally to that pool.
      Over the long term (centuries), the effects of disturbances on the regional carbon balance are
      neutral, assuming that similar vegetation regrows on the disturbed area and the long-term
      frequency and severity of disturbances does not change. Cumulative effects would be small
      in relation to global capacity to sequester carbon. The net effects on forest health and carbon
      sequestration have a high degree of uncertainty, primarily because of uncertainty in the
      magnitude of future climate change, and the complex interactions of the forest with
      disturbances, changes in temperature and precipitation, and ecological processes.




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   Forest Products
   Overview
   The Forest contains valuable timber resources. Timber harvesting provides forest products
   that help support local wood processing industries and the communities associated with those
   industries. It helps meet the demands of the public for products such as lumber, houselogs, or
   other forms of roundwood. Timber harvests and thinning treatments are also an important
   tool in shaping the structure and composition of the forest, in order to meet ecological
   integrity and other objectives. Timber harvest may be used for improving wildlife habitat,
   making the forest more resilient to disturbances such as fire, insects, and disease, and
   improving tree growth.
   Timber suitability was determined using various resource data and geographic information
   system data to apply criteria and identify lands suitable for timber production. Criteria for
   suitability are defined in the 2012 Planning Rule procedures at 36 CFR 219. 11 and Forest
   Service Handbook 1909. 12, chapter 60. The criteria used is defined in detail in Appendix B.
   Timber harvest was modeled using the Forest Vegetation Simulator to estimate the sustained
   yield limit, as described in Appendix B.
   Planned treatment types and management levels were determined for each alternative, with
   volume estimated from historic data. Together, this information was used to determine the
   projected timber sale quantity and projected wood sale quantity for each alternative.

   Affected Environment, Existing Conditions, and Trends
   The purpose of a Forest Plan under the 1976 National Forest Management Act was originally
   a response to public concerns about timber harvest. The Act and subsequent Planning Rule
   sets specific requirements regarding timber harvest. The Planning Rule requires an estimate
   of the sustained yield limit of timber removed from the Forest. It also requires plan direction
   on the types of forest harvesting methods to be used, and the size and location of timber
   harvests. A forest plan does not authorize any timber harvest, but merely identifies what parts
   of the forest would be suitable or not suitable for timber production and harvest and what
   constraints might apply.
   Although the Forest has an active forest management program, there are numerous areas
   where timber harvest and road building are prohibited or restricted. Currently, more than
   900,000 acres (about one-half of the Forest) is in wilderness and roadless areas that are
   excluded from the “may be suitable” suitable timber base.
   Currently, Forest timber is sold through timber sales and permits related to firewood and
   other products such as posts and poles. On average, over the last 5 years, an estimated 26,748
   hundred cubic feet of sawtimber and 7,489 hundred cubic feet of other products by permit
   were sold each year for a total of about 34,000 hundred cubic feet a year. Since 1997, an
   estimated 347,090 hundred cubic feet of timber has been sold (Figure 14). In 2016,
   2,308 acres of sawtimber was harvested, with an average of 1,811 acres of sawtimber
   harvested annually for the last 5 years (Table 36).




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                                               Timber Sold (CCF)
       50,000
       45,000
       40,000
       35,000
       30,000
       25,000
       20,000
       15,000
       10,000
         5,000
             0




      In CCF. Timber sold includes material sold through timber sales as well as permits for other products.

      Figure 14. Total timber sold from 1997 through 2016


      Table 36. Acreage of treated sawtimber, 2008-2016
                                   Treated Sawtimber
            Year
                                         (acres)
            2008                           1,303
            2009                            826
            2010                             148
            2011                           1,616
            2012                           1,675
            2013                           1,198
            2014                           1,759
            2015                           2,116
            2016                           2,308
            5-year
                                           1,811
           average


      In southern Colorado, federal timber suppliers are the largest source of timber. The Forest is a
      supplier in the commercial forest products industry and supports mills both in and outside the
      San Luis Valley.
      About one quarter (approximately 499,936 acres, 27 percent) of the 1.8 million acres that
      make up the Forest is identified as may be suitable for timber production (see the Timber
      Suitability - May be Suitable for Timber Production map, which is contained on the DVD
      located at the back of this document). Most of the area that may be suitable for timber
      production is in the spruce-fir (42 percent), aspen (23 percent), and mixed-conifer (22
      percent) local cover types (Table 37). Even though lands may be suitable for timber


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   production, they may not be feasible for timber production. Feasibility for timber production
   will be determined at the project level. Based on the may be suitable acreage, the estimated
   sustained yield limit is 7,374,937 cubic feet per year or 73,749 CCF per year.
   A smaller subset of this area is considered suitable under each alternative and is described
   below.

   Table 37. Acres that may be suitable for timber production, by local cover type
      Local Cover Type        Acres          Percent
    Aspen                    116,036           23
    Lodgepole Pine            22,199            4
    Mixed-Conifer            108,948           22
    Ponderosa Pine            19,872            4
    Spruce-Fir               208,878           42
    Other                     24,003            5
                     Total   499,936           100


   Timber harvest is allowed on land not suitable for timber production for purposes such as
   salvage, fire management, insect and disease management, protection or enhancement of
   wildlife habitat, and recreation management. Timber harvest on these lands would have to be
   consistent with the desired conditions and objectives of the area and is generally minimal.
   In general, the market for timber in the Western United States is experiencing a prolonged
   decline from the decline in the housing market after the recession in 2008, which has caused
   wood product prices and production to drop. However, there is still capacity for expanding
   markets, such as small-diameter material and salvaged timber as biomass in the energy
   industry.
   At a statewide scale, sawmills have closed in Colorado over the past several decades. Since
   2000, five sawmills in Colorado have closed. Additional sawmills closed in the decade prior
   to that (Colorado State Forest Service 2009). All of these closures have resulted in
   possibilities for sawmill expansion in the San Luis Valley.
   Several things drive the supply and demand for timber in the local area. First, supply is based
   on the Forest areas that can be harvested. Second, trends in the housing market drive demand.
   Third, timber budgets, which fluctuate markedly from year to year, greatly affect what can be
   supplied.
   Because of the large-scale mortality due to spruce beetle, the Forest has been increasing
   timber sale volumes. Whether this increase can be sustained depends on how long the larger
   dead trees retain their utility as saw or house logs (Forest Stewardship Concepts, Ltd. 2014).
   As the larger dead trees decay, there may be a large volume of low-value material available.
   It may be difficult to find a market for this lower quality woody biomass.




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      Direct and Indirect Effects
      Timber suitability under alternative A shows that approximately 320,567 acres are suitable
      for timber production (see the Alternative A - Timber Suitability Is Suitable for Timber
      Production map, which is contained on the DVD located at back of this document).
      Timber suitability for the action alternative was determined using various resource data,
      including geographic information systems, to apply criteria and identify lands suitable for
      timber production. Criteria for suitability are defined in the 2012 Planning Rule procedures in
      36 CFR 219. 11 and Forest Service Handbook 1909. 12, chapter 60.
      Areas considered unsuitable for timber production include, but are not limited to, wilderness
      areas, Colorado roadless areas, research natural areas, areas with soil types having “high
      mass movement potential,” areas with no reasonable assurance of adequate restocking, non­
      forest land, areas with nonindustrial species, riparian areas, wild, scenic, and recreational
      rivers, special interest areas, buffers along national scenic, historic, and recreation trails,
      backcountry areas, and the ski-based resort areas. The specific criteria used are defined in
      detail in Appendix B.
      Suitable timber acreage for the alternatives is listed in Table 38. The suitable timber area for
      each alternative is shown in the Timber Suitability maps for alternatives A, B, C, and D, each
      of which is contained on the DVD located at the back of this document.

      Table 38. Timber suitability by alternative
                                     Alternative A      Alternative B       Alternative C       Alternative D
                                        (acres)            (acres)             (acres)             (acres)
       Estimated Forest Total          1,837,000          1,837,000           1,837,000           1,837,000
       Lands not suited for timber
       production due to legal or      1,337,064          1,337,064           1,337,064           1,337,064
       technical reasons
       Lands that may be suited
                                       499,936            499,936             499,936             499,936
       for timber production
       Total lands suitable for
       timber production (timber
       production is compatible
                                       320,567            468,311             480,683             401,414
       with the desired conditions
       and objectives established
       by the plan)
       Total lands not suited for
                                       1,516,433          1,368,689           1,356,317           1,435,586
       timber production


      Two main timber suitability differences in alternative A pertain to the grassland resource
      production and bighorn sheep management areas. The grassland resource production
      management areas are being considered suitable for timber production in alternatives B, C,
      and D, a change from alternative A, where they are not suitable. In addition, the bighorn
      sheep management areas in alternative A were merged with winter range to create the big
      game winter range management areas in alternatives B, C, and D. As a result, these areas are
      now considered suitable for timber production.



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   The land that is suitable under alternatives B, C, and D varies mostly due to recommended
   wilderness and special interest areas. These proposed areas are highest under alternative D,
   which has the lowest amount of suitable timber acres accordingly. These proposed areas are
   lowest under alternative C, which has the highest amount of suitable timber acres.
   In general, plan direction is reduced and simplified in alternatives B, C, and D, relative to
   alternative A. The desired condition included in all action alternatives describes the desired
   acreage percent by vegetation type for the various structural stages, including old forest. As
   previously mentioned, minimum stocking requirements vary between alternative A and the
   action alternatives. This change would result in lower stand density, which would increase
   resilience to stressors including climate change, insects, and disease.
   Forest plan desired conditions for non-timber forest products for alternatives B, C, and D
   were adjusted but would have similar intent and effects as under alternative A. There are also
   some other additional plan components for non-timber forest products related to osha and
   special forest products for tribal use that are included in alternatives B, C, and D, but not in
   alternative A. These additional plan components would not have any effects.
   Projected timber sale and wood sale quantities for each alternative are listed in Table 39,
   Table 40, and Table 41. Conversion factors used include 4.4 board feet per cubic foot for
   mixed-conifer and ponderosa pine and 5 board feet per cubic foot for the spruce salvage
   sales. Under all alternatives, volume may not be evenly distributed over the time period but
   may be higher during the initial years of the time period and lower during the later years of
   the time period.

   Table 39. Planned timber sale program (annual average volume output) for
   alternatives A and B, based on average base funding and an estimated sustained
   yield limit of 73.7 MCCF
                                                       Timber Sale Program           Timber Sale Program
                                                           1st Decade                    2nd Decade
    Alternatives A and B                                 CCF           MBF            CCF             MBF
    Timber Products                                      Does not include salvage or sanitation volumes.
    Lands suitable for timber production
    A1. Sawtimber                                        490           215.6          5,880         2,587.2
    A2. Other products                                   210                          2,520
    C. Projected Timber Sale Quantity (A1 + A2)          700           215.6          8,400         2,587.2
    Other Estimated Wood Products                       Does not meet timber product utilization standards.
                                                         CCF           Tons           CCF            Tons
    D. Fuelwood                                         7,200          8,600          7,200          8,600
    E. Projected Wood Sale Quantity (C + D)             7,900                        15,600
                                                         CCF           MBF            CCF             MBF
    F. Estimated Salvage Volume                         32,100        16,050            0              0
    G. Total Volume including Salvage (E + F)           40,000                       15,600




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      Table 40. Planned timber sale program (annual average volume output) for alternative
      C, based on average base funding plus supplemental funds and an estimated
      sustained yield limit of 73.7 MCCF
                                         1st Decade - Years 1 - 6       1st Decade - Years 7 - 10                 2nd Decade
       Alternative C                           CCF        MBF                 CCF             MBF               CCF             MBF
       Timber Products                                    Does not include salvage or sanitation volumes.
       Lands suitable for timber production
       A1. Sawtimber                            0           0                10,500           4,620            10,500           4,620
       A2. Other products                       0                            4,500                             4,500
       C. Projected Timber Sale
                                                0           0                15,000           4,620            15,000           4,620
       Quantity (A1 + A2)
       Other Estimated Wood
                                                        Does not meet timber product utilization standards.
       Products
                                               CCF        Tons                CCF             Tons              CCF             Tons
       D. Fuelwood                            7,200       8,600              7,200            8,600            7,200            8,600
       E. Projected Wood Sale
                                              7,200                          22,200                            22,200
       Quantity (C + D)
                                               CCF        MBF                 CCF             MBF               CCF             MBF
       F. Estimated Salvage Volume            62,800     31,400                0                0                0                0
       G. Total Volume including
                                              70,000                         22,200                            22,200
       Salvage (E + F)


      Table 41. Planned timber sale program (annual average volume output) for alternative
      D and an estimated sustained yield limit of 73.7 MCCF
                                                                        1st Decade                          2nd Decade
       Alternative D                                                CCF               MBF             CCF               MBF
       Timber Products                                               Does not include salvage or sanitation volumes.
       Lands suitable for timber production
       A1. Sawtimber                                                 350              154             2,800             1,232
       A2. Other products                                            150                              1,200
       C. Projected Timber Sale Quantity (A1 + A2)                   500              154             4,000             1,232
       Other Estimated Wood Products                                Does not meet timber product utilization standards.
                                                                    CCF               Tons            CCF               Tons
       D. Fuelwood                                                  7,200             8,600           7,200             8,600
       E. Projected Wood Sale Quantity (C + D)                      7,700                             11,200
                                                                    CCF               MBF             CCF               MBF
       F. Estimated Salvage Volume                                  17,300            8,650             0                 0
       G. Total Volume including Salvage (E + F)                  25,000                              11,200


      The projected sale quantities and project salvage volume is highest under alternative C and
      lowest under alternative D. In alternatives A, B, and D, the focus of the vegetation
      management program would be on salvage harvesting spruce-fir areas that have high
      mortality due to spruce-beetle for the first decade, then transitioning to thinning/restoration

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   treatments and uneven-aged management in the ponderosa pine and mixed-conifer vegetation
   types, along with possible aspen harvests. In alternative C, the vegetation management
   program would be similar, but with a focus on more intensive salvage harvesting in the
   beetle-killed spruce-fir areas for a shorter time period (6 years, before transitioning to
   thinning/restoration treatments, uneven-aged management, and shelterwood harvests in the
   ponderosa pine and mixed-conifer types, along with possible aspen harvests. The planned
   vegetation management activities are listed in Table 29, Table 30, Table 31, and Table 32.

   Effects on Forest Products from Fire Management
   As described in the Fire Management section, some management areas under alternative A
   require full suppression of fires while alternatives B, C, and D allow fire managers more
   flexibility in deciding how to manage individual fires, which allows fire to play a larger and
   more natural role across the landscape. If some fires are allowed to burn, particularly in this
   management area, it may have a small impact on timber volume available for harvest. In
   general, this difference among alternatives will be negligible in that areas where there is the
   most flexibility on allowing fires to burn are predominantly roadless and wilderness areas
   that are already outside of the suitable timber base. Also, human-caused wildfires will be
   managed under a full suppression strategy commensurate with the values at risk.

   Effects on Forest Products from Wildlife Management
   The main effects from the wildlife management program are related to the lynx management
   direction. Alternatives B, C, and D add plan components in addition to the direction from the
   Southern Rockies Lynx Amendment. These plan components better incorporate the existing
   landscape condition in the spruce-fir forest ecosystem. Alternatives B and D also contain
   additional lynx-related management approaches as well as a change in direction for
   regeneration harvest. Collectively, these change what constitutes suitable and unsuitable
   habitat given the effects of the spruce beetle outbreak and make a small addition to what
   counts toward requirements in the Southern Rockies Lynx Amendment direction.
   The effect of the lynx direction in alternatives B, C, and D is hard to discern at this point.
   Overall, the Southern Rockies Lynx Amendment, as implemented, has had an effect on the
   timber program and has changed the philosophy on vegetation management and the
   silvicultural practices used. The Southern Rockies Lynx Amendment focuses on uneven-aged
   management in lynx habitat areas in live timber stands. In the past, acres have been deferred
   from harvest due to the presence of high-quality lynx habitat, and this amount has varied by
   project. Similar to current direction, the supplemental direction is expected to provide
   guidance that supports vegetation management in lynx habitat while focusing on providing
   the ecological conditions necessary to contribute to recovery of the species in a landscape
   affected by the spruce beetle outbreak. Protection of lynx habitat would continue to be
   emphasized in the action alternatives.
   Management approaches proposed in alternatives B and D relate to using available science,
   data, and analysis to determine if limits in the existing direction have been met, how suitable
   and unsuitable lynx habitat is defined, placement of snag clumps, connectivity in lynx habitat
   areas, and considerations related to lynx denning areas. Direction also specifically adds pre­
   commercial thinning to the list of silvicultural treatments that may change the structural stage
   or remove horizontal cover, and therefore count toward the treatment caps in the Southern


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      Rockies Lynx Amendment direction. Lastly, there is an additional objective related to the
      reduction of adverse highway effects on lynx. These plan components would have a small
      effect on the forest products program, with potentially a slight increase in the amount of acres
      deferred from harvest due to lynx habitat concerns, given the constraints already in place
      under Southern Rockies Lynx Amendment that have been incorporated into all alternatives.
      In addition, there may be a small effect on the forest products program from the snag-related
      plan components. In all alternatives, a small amount of volume may not be harvested due to
      leaving snags for wildlife habitat and other ecosystem objectives.

      Effects on Forest Products from Recreation Management
      The action alternatives (B, C, and D) differ from the no-action alternative by including
      additional management direction for congressionally designated trails, including the
      Continental Divide National Scenic Trail and the Old Spanish National Historic Trail. Under
      alternatives B, C, and D, these trails were removed from the suitable timber acreage along
      with a one-half-mile buffer on each side of the trail. This has a small effect on the suitable
      timber acreage since some, but not all, of this area would have been in the suitable timber
      acreage otherwise. The management direction for these areas is also more restrictive in terms
      of the type of vegetation management that can be done (for reasons other than timber
      production).

      Cumulative Effects
      Programmatic planning efforts occurring adjacent to the Forest include:
      •   Plan development for the Rio Grande del Norte National Monument
      •   Carson National Forest land management plan revision
      •   Grand Mesa, Uncompahgre, and Gunnison National Forests land management plan
          revision
      •   Revision of the Rio Grande County land use master plan.
      Many factors influence and affect timber harvest. The demand for timber products, supply
      from other sources, laws, and regulations all affect the amount of timber that may be
      harvested from the Forest. Budgets and court decisions also impact timber supply potential.
      Following is a brief description of some items that are changing or may change in the future,
      adding to the effects on timber harvest from the alternatives.
      The demand for timber products is a driver in the amount of timber supplied. If markets
      improve and demand for wood products increases, there would be more desire for timber
      from the Forest. Alternatively, if demand decreases and sawmills close, there may be less
      desire for timber from the Forest. A decrease in demand may reduce the amount of timber
      sold from the Forest under all alternatives.
      The supply of timber from private and state lands and adjacent national forests impacts the
      demand from the Forest. If timber supplies decreased from private and state lands and
      adjacent national forests, there would be an increase in demand for timber. If supplies
      increased from private and state lands and adjacent national forests, there may be a decrease
      in demand for timber from the Forest. A decrease in demand may reduce the amount of
      timber sold under all alternatives.

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   The effects of past, present, and reasonably foreseeable future actions are difficult to assess
   due to the variations in demand for forest products. Cumulative effects are not expected to
   decrease or increase from the current trends.

   Nonforested Ecosystems
   Existing conditions
   The Final Environmental Impact Statement for the Revised Forest Land and Resource
   Management Plan (USDA Forest Service 1996) addressed land type associations that
   subdivided habitat based on similarities in geology, soils, and plant associations. In
   preparation for revising the forest plan, Assessments 1 and 3 (USDA Forest Service 2016)
   addressed existing data related to ecosystem integrity, systems drivers and stressors for
   terrestrial ecosystems. The assessments considered terrestrial ecosystems by grouping them
   into forested, nonforested, and alpine ecosystems. Forested ecosystems include spruce-fir,
   mixed conifer-wet, mixed conifer-dry, Pinyon-juniper woodlands, Rocky Mountain Gambel
   oak, and southern Rocky Mountain montane riparian, which are discussed in the Forested
   Ecosystems section.
   Nonforested ecosystems identified in the assessments include Rocky Mountain alpine turf,
   southern Rocky Mountain montane-subalpine grassland, sagebrush shrubland, and inter­
   mountain basins greasewood flat (Table 42).

   Table 42. Modeled nonforested ecosystems
                              Ecosystem                                  Percent of Forest1
    Rocky Mountain Alpine Turf                                                    11
    Southern Rocky Mountain Montane-Subalpine Grassland                           18
    Sagebrush Shrubland                                                      Less than 1
    Intermountain Basins Greasewood Flat                                     Less than 1
   1 Based on 1,731,592-acre total estimated from Rio Grande National Forest - Assessments 1 and 3 Ecosystems Integrity,
      Systems Drivers, and Stressors for Terrestrial Ecosystems (p. 8).


   Assessments were prepared in preparation for revising the forest plan. The information from
   Assessment 1 and 3 - Ecosystem Integrity Drivers and Stressors for Terrestrial Ecosystems is
   hereby incorporated by reference.
   The Rocky Mountain alpine turf ecosystem is prevalent above timberline on the Forest,
   generally above 11,000 feet in elevation. Dominant species include boreal sagebrush, several
   species of sedge, tufted hair grass, fescue species, phlox, and clover. These high-elevation
   species experience intense sunlight, cooler temperatures, and high winds in a short growing
   season. Shallow soils are evidenced in rocky outcrops and talus slopes interspersed with
   alpine turf. These ecosystems typically include alpine fell-fields, dwarf willow, turf, and
   wetlands.
   These habitats have been used for domestic sheep grazing for many years. Past grazing
   practices have influenced the current conditions of these ecosystems. Over time the number
   of high-elevation sheep allotments in use and the numbers of sheep using the active


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      allotments have been reduced. Reductions in the recent past are often tied to the need to
      reduce the likelihood of interactions between domestic sheep and bighorn sheep. This is
      discussed further in the Range Management section. Other uses in this ecosystem include
      mining and recreation.
      Dominant species in the southern Rocky Mountain montane-subalpine ecosystem include
      Thurber fescue, Arizona fescues and other grasses, forbs, and sedges. This ecosystem
      generally ranges in elevation from 7,000 to 10,000 feet along the elevated plains, hills,
      valleys, and mountain side slopes. Past grazing influences are apparent in these ecosystem on
      all but the steepest ground.
      In addition to livestock grazing, native ungulates graze these areas as they migrate through.
      Fire regimes vary and are correlated with the surrounding forested ecosystems. Fire regimes
      are characterized as more frequent and of lower severity at the lower-elevation Arizona
      fescue habitat, and become less frequent but more severe as elevation rises to the Thurber
      fescue habitat, which occurs at higher elevations (Romme et al. 2009).
      Few acres of the dry sagebrush shrubland ecosystem occur on the Forest. The majority of this
      ecosystem occurs adjacent to the Forest in the northern portions of the San Luis Valley.
      Grazing and fire suppression have impacted plant composition in these ecosystems.
      Understories were historically composed of bunch grasses and forbs.
      Similar to dry sagebrush shrubland, intermountain basin greasewood flat habitats occur
      mostly adjacent to the Forest and occupy a few acres at the lowest elevations. Past grazing
      practices influenced these understory plant compositions.

      Range Management
      Background
      Livestock grazing has been an important part of the local economy and part of the cultural
      fabric of the San Luis Valley and the surrounding area for more than a century. Establishment
      of the San Juan Forest Reserve, predecessor to the current Forest, in 1905 led to many
      changes to grazing practices over time.
      Current range conditions are largely a reflection of past practices. Historic stocking rates for
      both cattle and sheep were much higher prior to the establishment of the Forest. It has been
      estimated that more than 150,000 head of sheep grazed the Conejos Ranger District (not
      including the northern part of the district). Permitted sheep numbers now range from 5,000 to
      6,000 head.
      Historic grazing also occurred for longer periods than current practices. Animals were
      permitted access as early as April and often remained on National Forest System lands
      through the end of October. Currently the average date for entry on to the unit is June 1, and
      most exit dates do not exceed September 30. Use by cattle followed a similar pattern. Many
      allotments contained more than 1,000 head of cattle, while today allotments carry a more
      sustainable number.
      The livestock industry began in the southern San Luis Valley in the late 1700s. Livestock
      were brought from northern New Mexico to summer on the valley floor. Grazing of lands
      that are now national forest were first documented in Raton Park in 1856.


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   The Forest began to control and document livestock grazing in about 1910. Livestock
   numbers and seasons of use have decreased from approximately 500,000 animal unit months
   in 1920 to 87,456 animal unit months today.
   There are currently fewer permittees than in the past. For example, the Cumbres-La Manga
   Cattle and Horse Allotment on the Conejos Peak Ranger District had 58 permittees in 1935.
   In 2016, there were only 11 members of the Cumbres-La Manga Cattle Association. Tracing
   the exact history of the individual permits is challenging. Some families have consistently
   run livestock on what now makes up the Forest since the 1880s.
   Decreases over time resulted from bringing livestock numbers and management into
   compliance with estimated capacities as well as changes in agriculture operations in the
   valley. Sheep production has a smaller presence on National Forest System lands than in the
   past and is expected to experience further decreases in the future.
   Today’s grazing and range management program focuses on ecological integrity and
   sustainability, which will allow for productive lands that are capable of sustaining grazing
   and other forest uses into the future.
   Rangelands include all land producing, or capable of producing, native forage for grazing
   and browsing animals, and lands that have been revegetated naturally or artificially to
   provide a forage cover that is managed like native vegetation. Rangelands include grasslands,
   forb lands, and shrublands; and those forested lands that can, continually or periodically,
   naturally or through management, support an understory of herbaceous or shrubby vegetation
   that is available for grazing or browsing animals.
   Livestock grazing is permitted on suitable rangeland under almost all existing management
   areas prescriptions. Grazing is limited in research natural areas and is not allowed in ski­
   based resort areas. Areas that are suitable and capable for livestock are identified in the forest
   plan, and direction specific to rangeland management is assigned. A 2002 suitability
   determination found that an estimated 31 percent of the Forest is suitable for grazing; this
   equates to approximately 581,556 acres. The present analysis assumes no change from the
   2002 determination for lands suitable for range management.
   Rangeland suitability and capability are closely connected. Rangeland capability must be
   analyzed and established before a suitability determination can be made. Projected capacity
   for livestock grazing is 143,000 head months, which includes grazing for both cattle and
   sheep. Maps showing Grazing Allotments and Range Capability are contained on the DVD
   located at the back of this document.
   Livestock grazing influences ecological processes such as the water cycle, nutrient cycling,
   energy flow, and community dynamics. Activities related to livestock grazing can impact
   species through habitat disturbance, modification, or loss of individuals by grazing or
   trampling. Past grazing practices altered plan composition and density through unmanaged
   grazing practices, which caused long-lasting environmental effects. There is still evidence of
   these effects on the landscape but, for the most part, ecological integrity and diversity of
   vegetation has rebounded over time by applying proper stocking and modern range
   management techniques.
   The number of cattle grazing permits, allotments permitted, and forage consumption (animal
   unit months) is relatively the same as was considered in the 1996 forest plan analysis (USDA


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      Forest Service 1996). Sheep grazing has been reduced over time. The overall decline of the
      wool growing industry, changes in permittee operations, regional drought conditions, and
      access have challenged operators to remain economically viable in some locations. However,
      there is strong demand for sheep grazing permits in recent years as young ranchers are
      getting into the business or taking over the family business, and the market has been good for
      the last several years. The decline in permitted sheep grazing on the Forest in recent years is
      due to conflicts with bighorn sheep herds.
      Some domestic sheep allotments on the Forest are located in and near occupied range and
      suitable range of Rocky Mountain bighorn sheep. There is a potential risk of contact
      occurring between domestic sheep and Rocky Mountain bighorn sheep. Research shows that
      contact between bighorn sheep and domestic sheep and goats can lead to transmission of
      respiratory disease and pneumonia in bighorn sheep, which could potentially affect the ability
      of bighorn sheep populations to persist over time. To promote healthy populations of bighorn
      sheep that persist over time, domestic sheep stocking and distribution should be managed to
      minimize risk of contact with Rocky Mountain bighorn sheep.
      The complexities, disease history, and mechanisms or causal agents leading to epizootic
      disease events are still not fully understood in the wild. The best available science suggests
      that maintaining spatial or temporal separation of the species is a prudent step when the
      management objective is to maintain bighorn sheep populations. Three letters of national
      direction issued from the office of the Deputy Chief of the Forest Service (Holtrop letter,
      August 19, 2011; Weldon letters, June 11, 2012 and July 31, 2014) direct Rio Grande
      National Forest managers to minimize bighorn and domestic sheep interactions. These letters
      outline procedures for analyzing the risk of contact between the species and emphasize the
      need to work with partners at State agencies, adjacent Federal agencies, and wildlife officials
      to determine and reduce risk to wild sheep species as well as the wool growing industry. A
      variety of methods to determine the risk of contact are currently in use. Every effort is made
      to reduce the risk of contact while finding additional areas for domestic sheep grazing.

      Suitability
      Rangelands that are determined to be not capable of supporting grazing on the Forest include
      areas with:
      •   Unstable soils,
      •   Inherently low potential for production, including areas of rock, road, water, and other
          barren areas,
      •   Additional soil and vegetation characteristics, including loose granitic soils, erosive soils,
          areas with low vegetation cover, or boggy areas,
      •   Greater than 40 percent slope, length of slope, and natural barriers, and
      •   A lack of management improvements, including areas that might otherwise be suitable
          except for a lack of range improvements (little to no fencing, lack of water within 3
          miles, etc.).
      Responsible officials can close lands to be grazed through several means. Lands that have
      been formally closed are not considered suitable for grazing.



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   The 2012 Planning Rule requires that forest plans identify suitability of lands (36 CFR 219.
   7(e)(l)(v)). The 31 percent of the Forest lands identified in the 2002 amendment of the forest
   plan continue to be considered suitable for grazing. Lands determined as not suitable for
   grazing have been administratively closed to grazing. These include administrative sites,
   fenced recreation areas, fenced highway right-of-ways, designated management areas or parts
   of management areas, watersheds, areas within city limits, research facilities and study areas,
   special-use sites, and critical habitat for threatened and endangered species.
   Other areas across the Forest have been closed to grazing for biological reasons, on either a
   temporary or permanent basis. Biological reasons for closure include riparian areas,
   developed springs, fens and bogs, and regeneration sites for timber. These areas generally
   fence livestock out of the area temporarily or permanently.
   Livestock producers, as well as outfitters, guides, and visitors depend on forest rangelands to
   provide forage for stock and recreation opportunities. These same lands provide forage and
   habitat for a variety of wildlife species.

   Affected Environment, Existing Conditions, and Trends
   Topography and elevation contribute to the fragmentation of rangelands on the Forest.
   Lower-elevation rangelands tend to be a mixture of blue grama grass, western wheat grass,
   needle-and-thread grass, pinyon-juniper, and ponderosa pine. Mid- to high-elevation
   rangelands tend to be a mixture of Arizona fescue, Thurber fescue, mountain muhly, Parry’s
   oatgrass, bromegrass, aspen, and spruce-fir. The highest elevations (alpine ranges) tend to be
   a mixture of intermediate oatgrass, tufted hairgrass, sedges, and krumholtz. Overall,
   rangelands on the Forest can be characterized by narrow canyons with riparian ecosystems
   and adjacent grassland communities mixed with timber lands in the montane and subalpine
   zones.
   High elevations and shorter growing seasons make impacts from past grazing practices still
   visible in places. Sheet and gully erosion is apparent in many areas as a result of these past
   improper practices on lower-elevation rangelands. Because these areas were most impacted
   and receive limited annual precipitation, recovery takes more time. Reductions in numbers of
   livestock and shorter grazing seasons that have been implemented over the last half century
   are bringing about recovery, if not already fully recovered, in most places.
   Range conditions are monitored in key areas on all Forest allotments. The information
   gathered identifies use patterns, species composition, ground cover, and species frequency.
   Annual monitoring data show that livestock grazing is ecologically feasible at current levels.
   Grazing management applies adaptive management principles that allow range managers to
   modify stocking levels relatively quickly in response to variations in forage production,
   water availability, and precipitation patterns. These principles have been applied in the past to
   respond to extended drought conditions and wildfires.
   Spruce beetle impacts and mortality to 90 percent of the spruce-fir cover type has allowed
   sunlight to reach the forest floor, resulting in the understory providing a flush of forage.
   Initially, the flush of understory forage is providing an attractant to redistribute livestock into
   these once unsuitable grazing areas. At the same time, access into these areas is also
   improved. In some cases there may be a short-term loss of a barrier that once was used for
   livestock management. As time goes by, these areas may still be producing a high level of


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      understory vegetation but trees are beginning to fall and access through the area by livestock
      is lessened by the obstacles of fallen trees. In most cases, access to these sites is reduced even
      more than when it was a live forest. If timber harvest activities are implemented in these
      spruce-fir sites, livestock access and available understory forage may remain high.
      Reforestation goals also often require that livestock be excluded from an area until trees have
      become established and reach a size that limits damage from livestock.
      Range improvements, including water developments and fences, provide for successful
      implementation of allotment management plans and annual operating instructions.
      Forestwide, many of these improvements are in need of updating to increase functionality.
      Age, weathering, falling trees, and fire have decreased the function of these resources over
      time, requiring that they be replaced or repaired as funding becomes available.
      The amount of available forage, approximately 531,000,000 pounds, has not appreciably
      changed since analysis for the current forest plan. Approximately 137,000,000 pounds of
      forage are needed annually to support current grazing levels and wildlife. This leaves an
      estimated 394,000,000 pounds of forage available for plant health, plant vigor, regrowth,
      wildlife habitat, soil, and water needs. These estimates vary depending on weather, use
      patterns, and different species competitions for forage.
      The Forest currently permits an estimated 87,456 animal unit months on the Forest; actual
      use is somewhat less. For the 1996 Final Environmental Impact Statement for the 1996
      Revised Land and Resource Management Plan (USDA Forest Service, 1996), Colorado Parks
      and Wildlife estimated that 70,840 animal unit months of wildlife forage were grazed
      annually on the Forest. The number of grazing permits is listed in Table 43. The number of
      capable grazing acres by management area for each alternative is listed in Table 44.
      Although forage production is able to support both livestock grazing and wildlife, other
      conflicts occur. Wildlife and livestock compete for spring and summer forage in certain areas
      of the Forest. Heavy grazing of riparian habitat by wildlife before livestock are moved onto
      the allotment can decrease forage availability for livestock, and this can be exacerbated
      during late snowmelt or drought conditions. Riparian conditions are assessed prior to
      allowing livestock on the allotments, resulting in changes in the annual operating
      instructions.

      Table 43. Forest grazing permits
                                    Conejos Peak                                     Saguache Ranger
                                                          Divide Ranger District
                                    Ranger District                                      District
          Type        Status      Number      Acres        Number        Acres      Number       Acres
                       Active        17      249,326          25        505,164        20       425,450
       Cattle and
                      Vacant         1        1,266           0            0           1         8,532
       Horse
                      Closed         0          0             1          9,635         0           0
                       Active        12       46,449          10        94,537
       Sheep and
                      Vacant         14       55,949          5         72,811
       Goat
                      Closed         0          0             0            0




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   Table 44. Capable acres for cattle and sheep grazing, by management area
   [Management areas not included in all alternatives shown in parentheses.]

                                    Alternative A       Alternative B          Alternative C       Alternative D
         Management Area
                                   Cattle    Sheep     Cattle    Sheep         Cattle    Sheep    Cattle    Sheep
    1.0 - Wilderness (C)                                                   61,511        9,490
    1.1- Wilderness (B and D)                          64,926    11,144                           64,926    11,144
    1.11- Wilderness Pristine      16,084     4,741
    1.12-Wilderness - Primitive    41,930     5,525
    1.13- Wilderness -
                                   6,831       862
    Semiprimitive
    1.5-Designated and Eligible
                                    1,071      128
    Wild River (A)
    1.1a-Recommended
                                      0         0       6,500     1,312                           60,179    9,145
    Wilderness
    2.2-Research Natural Area1        2         0         2         0                              346       28
    3.0-Roadless (C)                                                       114,069       21,001
    3.1-Special Interest           13,800      560      5,759      103           0        332     58,230    1,644
    3.3-Backcountry               109,636    18,017                                               6,511      677
    3.4-Designated and eligible
    (A) Scenic River; (B and C)    2,552       265      7,084     1,170                            7,514    2,246
    WSR
    3.5-Roadless                      0         0      37,507     7,677                           21,090    5,341
    3.6-Upper Tier Roadless           0         0      75,834    12,624                           23,630    5,909
    4.1-Special Interest Areas
                                                                               9,369
    (C)
    4.2-Research Natural Areas
                                                                                65
    (C)
    4.21-Scenic Byway and
                                   12,981      865     12,909      850         12,922     850     11,884     825
    Railroad
    4.23-Congressionally
                                                                                                  17,332     776
    Designated Trail (D)
    4.3-Dispersed and
                                   28,411     4,292    31,853     3,966                           20,606    3,205
    Developed Recreation
    4.34-Eligible Wild, Scenic
                                                                               10,885    3,221
    River (C)
    4.4-Eligible Recreational
                                    3,556     1,643
    River (A)
    4.8-Ski-based Recreation
                                                                                 7
    (C)
    5.0-General Forest and
                                                                           279,459       15,012
    Rangelands (C)
    5.11-General Forest and
                                   55,346     2,034    43,594     1,749                           36,820    1,494
    Intermingled Rangelands
    5.13-Forest Products           40,262     3,018    37,369     2,202                           31,174    2,187
    5.41-Deer and Elk Winter
                                   90,986     4,057    130,710    6,444                           115,046   5,809
    Range
    5.42-Bighorn Sheep (A)         24,734     3,134



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                                           Alternative A         Alternative B         Alternative C          Alternative D
            Management Area
                                          Cattle     Sheep      Cattle     Sheep      Cattle     Sheep       Cattle     Sheep
       6.6-Grassland Resource
                                         40,773       789       34,234       335                             12,993      152
       Production
       8.22-Ski-based Recreation1           15          0          7                                           4            0
      1 Research natural areas and ski-based recreation management areas restricted grazing. Portions of the Hot Creek Research
         Natural Area on the Conejos Peak Ranger District do allow grazing under stipulations.




      Effects on Grazing from Vegetation Management
      Effects on grazing from timber management would be evident in the increase in forage as
      trees are harvested, and how protection of regeneration is addressed due to management. As
      spruce-fir stands die, forage grows up under the dead canopy. These transitory range lands
      can allow for more dispersal of cattle as more forage becomes available. It also can allow
      cattle to move between allotments that were previously blocked by timber stands.
      All of the action alternatives (B, C, and D) increase the amount of acres identified as suitable
      timber acres in relation to alternative A, which represents current practices and the current
      timber suitability being used. Not all acres identified as suitable would be harvested, but the
      potential to harvest increased in alternatives B and C. Regeneration is an important part of
      timber management, and grazing within regenerating stands is generally limited or prohibited
      until trees have grown to a size at which cattle impacts are minimal. Under alternatives B and
      C, protection of regeneration would potentially limit potential grazing acres. Increased
      budget for fencing and other infrastructure costs would need to be realized as timber is
      cleared and areas of regeneration are protected. This is true of all alternatives, but especially
      for B and C. Alternative D would limit harvest the most and would allow more of the
      transitory acres to be used the longest and most effectively. Less regeneration fencing or
      protections would be needed.
      Current conditions of dead and dying spruce and harvest activities would create similar
      issues in cost, scale, and scope in all alternatives, with slight increases in transitory grazing in
      all alternatives.

      Effects on Grazing from Recreation Management
      Dispersed recreation use in all alternatives is expected to increase. Increased use would result
      in more visibility for the grazing program and the potential for increases in conflicts between
      visitors, livestock, herders, and livestock protection dogs. Because established recreation
      sites are generally fenced, there is less of an impact to these sites from grazing.
      Increased visitor use could also result in vandalism to range improvements and increased
      management costs and time. Not all members of the visiting public understand the need for
      gates to keep livestock from wandering into areas where they should not be. Range managers
      respond to many calls regarding livestock in the wrong place due to gates being left open.
      This increased need for a response, as well as anticipated increases in maintenance, are
      costly. These conflicts would continue and increase regardless of alternative, thus there is no
      significant difference among alternatives.



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   Effects on Grazing from Designation of Wilderness
   Alternatives B and D include areas of recommended wilderness that could be moved forward
   to Congress, while alternatives A and C have no new acreage of recommended wilderness.
   Livestock grazing is an allowable use in designated wilderness as long as it occurred prior to
   designation (per the Wilderness Act of 1964); therefore, the anticipated acres available for
   livestock grazing would not change on the basis of wilderness characteristics.
   Livestock grazing can conflict with the values of individuals looking for a true wilderness
   experience. Increasing wilderness would increase costs associated with management to the
   Forest and to individual permittees through management of grazing itself and increased
   infrastructure building and maintenance costs associated with restrictions imposed by
   wilderness designations. These costs would increase proportionally with the increase in acres.
   In terms of resource protection there is little difference among alternatives. Grazing would
   continue as it presently does with few changes.

   Effects on Grazing from Designation of Wild, Scenic, and Recreational Rivers
   Grazing livestock is permitted in eligible and suitable wild, scenic, and recreational river
   corridors. Livestock in these areas are managed for the landscape to retain a natural
   appearance. Riparian pastures and adjacent uplands may require additional management to
   reduce visual impacts from livestock grazing. Limiting impacts to these areas typically
   requires additional structural improvements, which would increase the cost of managing
   livestock in these areas.
   Alternatives B, C, and D all incorporate Deadman Creek, which is on the Sangre de Cristo
   side of the Forest, into a scenic river designation. There is no difference among alternatives
   because no grazing occurs in this area.

   Cumulative Effects
   Grazing has occurred on the lands that are now National Forest System lands since before the
   Forest existed. Past grazing practices strongly impacted current conditions and practices.
   Reduced numbers of cattle grazed as well as fewer days grazing have helped environmental
   conditions to recover or greatly improve.
   Livestock grazing is impacted by environmental conditions, management practices, and
   public use for recreation. The Forest supports and manages many different activities.
   Recreation management, fire management, habitat management, and timber management can
   affect where and when grazing can occur. Grazing within transitory range (the area of dead
   spruce) is expected to increase in the next few years. These acres are likely to provide
   significant increases in forage in the short term. As revegetation activities take place, these
   acres are likely to be temporarily removed from grazing to protect regeneration. In general,
   forage and acres would increase fairly significantly over the next few years as the overstory
   of spruce dies. After this increase, a slow decrease in these acres and forage production
   would occur until closed canopy of spruce-fir stands occurs many years into the future. This
   decrease would be accelerated as areas are protected for regeneration and access is decreased
   from the fallen trees.



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      Livestock and livestock management activities on the Forest can introduce nonnative
      invasive species and noxious weed species. An active weed management program exists on
      the Forest and would continue with cooperation from other Federal agencies, and counties.
      Adaptive management of allotments allows range managers to adjust to these changing
      management conditions. Adjustments would be necessary to maintain healthy range
      conditions. Effects of actual domestic livestock grazing would be analyzed at the project
      level and would also include analysis of cumulative effects on a site-specific level. At the
      program management level, the direct and indirect effects of other similar programs, in and
      adjacent to the Rio Grande National Forest, when combined with grazing management,
      would not result in significant effects.

      Aquatic and Terrestrial Nonnative Invasive Species (Plant
      and Animal)/Noxious Weeds
      Invasive aquatic and terrestrial plants are defined by Executive Order 13112 as those plants
      that are not native to the ecosystem being considered, and those whose introduction causes ,
      or is likely to cause, economic or environmental harm or harm to human health. Nonnative
      invasive plant species include exotic plants and noxious weeds. The Colorado Noxious Weed
      Act defines a noxious weed as an alien plant, or parts of an alien plant, that aggressively
      invades or is detrimental to crops or native plant communities; is poisonous to livestock; is a
      carrier of detrimental insects, diseases, or parasites; and is detrimental to the environmentally
      sound management of natural or agricultural ecosystems. The State of Colorado designates
      noxious weeds based on the desire to eradicate or control a particular species within the state
      (Colorado Department of Agriculture 2017).
      Nonnative invasive species generally adapt to habitats where they are not native. Because
      they lack the natural controls they evolved with in their native range, they tend to rapidly
      spread, thereby reducing habitat for native species. This decreases ecosystem diversity and
      generally disrupts the native processes in the environment.
      Impacts from nonnative invasive species can occur Forestwide. Many of these species thrive
      on disturbances caused by activities including timber harvest, road maintenance and
      construction, trail maintenance and construction, grazing and construction of range
      improvements, recreational livestock use, and recreational equipment use. Fluctuations in
      weather events, conditions, and patterns can also spread these species and increase the
      likelihood of a loss to native habitats. Likewise, changes to current temperature regimes,
      warmer temperatures, drier conditions, earlier snowmelt and more frequent drought patterns
      can increase the ability of nonnative species to out-compete native plants in the future.
      The Forest has an active program to treat both aquatic and terrestrial nonnative invasive
      plants. Partnerships and agreements with other agencies and local counties is increasing the
      ability of the program to increase the amount of acreage treated annually.

      Aquatic Plants and Animals
      Nonnative invasive species are a serious threat to all aquatic habitats in the United States.
      Zebra and quagga mussels are a threat to water quality and aquatic lifeforms. Fortunately,
      these mussels have not as of yet been found in the Forest, with the nearest positive result


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   found in Pueblo Reservoir State Park in the Arkansas River drainage to the east. Within the
   Rio Grande drainage and San Luis Valley but just outside the Forest, at Sanchez Reservoir
   State Wildlife Area in Costilla County, rusty crayfish have been positively identified with an
   order to prevent the transport of any live crayfish from the reservoir (Colorado Parks and
   Wildlife 2017). Check stations for all watercraft have been established at key locations
   within Colorado, along with public education initiatives to prevent the spread of invasive
   species.
   When a new aquatic invasive species invasion occurs in a locality, it generally requires
   research and observation time before reliable inferences can be made regarding spread
   patterns, specific effects, and potential containment strategies. A baseline typically is lacking
   to predict how an invasive species from another region or continent will respond when
   introduced into a new environment. Because a local environment contains a unique
   assemblage of thousands of interconnected components and processes, the results in one area
   can vary slightly or significantly from previously infected areas.
   If an aquatic invasive species becomes established, eradication may be nearly impossible and
   efforts for containment can be difficult, time consuming, and expensive. Thus, prevention of
   invasions is of paramount importance in land and natural resource management. This
   involves recognizing the vectors for infection and spread and implementing safeguards, or
   resource protection measures, to minimize and prevent the transmission of invasive
   organisms through these pathways. An example of a transmission vector would be pumps and
   other fire equipment that come into contact with water. This equipment is increasingly used
   and transported globally between projects. Microbes, spores, planktonic larval and adult
   stages, and plant materials can easily be spread on this and other equipment. Requiring
   effective sanitation and inspection measures would be appropriate resource protection
   procedures.
   The updated use of fire management zones and the plan components related to these and
   riparian management zones provide similar protections for aquatic ecosystems among all
   action alternatives (B, C, and D). Specifically, the use of guidelines and best management
   practices put forward in the Guide to Preventing Aquatic Invasive Species Transport by
   Wildland Fire Operations provides protection related to the incidental introduction of
   invasive species (National Wildfire Coordinating Group 2017). Additionally, updates and use
   of the terrestrial and aquatic aerial fire retardant avoidance maps provides protection under
   all action alternatives (USDA Forest Service 2017).
   Most of the pathways of introduction and spread of aquatic nuisance species are related to
   human activities, both accidental and intentional. Aquatic invasive species (i.e., zebra and
   quagga mussels) can be accidentally transported and spread by way of recreational boats and
   wading boots. Education and outreach will continue to be important to prevent the increased
   spread of these species, and the Forest Service Rocky Mountain Region continues to support
   Colorado Parks and Wildlife and other cooperators with set up of key check stations for
   aquatic invasive species throughout Colorado.




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      Terrestrial Plants/Noxious Weeds
      Direction to use locally adapted seed mixes and limit the use of certified weed-free hay
      increase Forest defenses against nonnative invasive species. This direction does not change
      across the alternatives being considered.
      Alternatives that propose increased amounts of timber harvest (A, B, and C) and any
      associated road construction or reconstruction would increase the amount of nonnative
      species present on the Forest.
      Likewise, anticipated increases in recreation use would cause an increased need for
      inspection for, and treatment of, nonnative invasive species across the Forest. The impacts of
      nonnative invasive species to water-based recreation include a loss of revenue when areas are
      closed to boating or swimming due to inaccessibility or for treatment of the water.

      Geologic Hazards
      An inventory of the abandoned mine lands on the Forest was completed in the 1990s;
      however, there are new sites documented every year. Some of the abandoned mine sites have
      significant safety and/or health hazards (e.g., open shafts, emissions of toxic gases, and
      falling debris). Forest Service staff working with the Abandoned Mine Land Program in the
      Rocky Mountain Region have been steadily closing these abandoned mines by installing
      fencing, bat-friendly gates, foam plugs, or back filling. Seven additional sites are planned for
      closure in 2018. In addition to the safety hazards, many of the sites are a source of
      environmental contamination. To date, under the authority of the Comprehensive
      Environmental Response, Compensation, and Liability Act of 1980 (CERCLA), commonly
      known as Superfund, the Forest has remediated two mine sites (Summitville and Nelson
      Tunnel) of environmental hazards. Future abandoned mine lands and CERCLA remediation
      will be, in part, dependent on financial resources and other Forest Service priorities.
      For more information on geologic hazards and abandoned mine lands, see Assessment 10 -
      Energy, Minerals and Geologic Hazards (USDA Forest Service 2016).
      For more information on highly erosive acidic soils and landslides, see the Soils section.

      Renewable and Non-renewable Energy and Minerals
      Overview
      Forest Service lands are important storehouses of domestic minerals and renewable and non-
      renewable energy resources. The search for and production of minerals and energy resources
      are authorized uses of National Forest System lands, except those lands formally withdrawn
      from mineral activities by acts of Congress or by Executive authority. Mineral activities on
      federal lands are facilitated according to the national Mining and Minerals Policy Act of 1970
      and are part of the Forest Service mission.
      Minerals management is one of the multiple uses of National Forest System lands. Minerals
      activities are administered through a plan of operations, which includes permits as well as the
      reclamation and mitigation measures necessary to protect resources.




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   There are three types of mineral resources. Leasable minerals include oil, natural gas, and
   geothermal resources, which are made available through lease issuance. Locatable minerals
   include hard rock resources such as gold, silver, and copper. Salable minerals include rock,
   gravel, and sand used for construction purposes. Maps of Oil and Gas Potential - 1995 and
   Oil and Gas Lease Parcels - 2008 are contained on the DVD located at the back of this
   document.
    The Forest Service is the surface-management agency and is responsible for protecting
   surface values during leasable, locatable, and salable mineral activities. For salable minerals,
   the Forest administers disposal of common variety minerals such as sand and gravel. For
   leasable and locatable minerals, the Bureau of Land Management manages and makes
   decisions on the mineral estate and is a cooperating agency with environmental analysis.
   Renewable energy developments, such as wind, solar, hydroelectric, woody biomass and
   other renewable energy sources, currently do not exist within the Forest. The Forest does,
   however, have potential for these uses. Any proposed renewable energy developments would
   be evaluated at the project level. More information about existing conditions and trends, is
   contained in Assessment 10 - Energy, Minerals and Geologic Hazards (USDA Forest Service
   2016).
   The environmental consequences of the minerals programs by the alternatives are discussed
   in this section.

   Affected Environment, Existing Conditions, and Trends
   This section assesses the effects of each alternative on access to and development of energy
   and mineral resources. The effects of energy and mineral resource development on
   management of other resources is assessed in those specific resource sections of this
   environmental impact statement.
   It is expected that the current level of use of mineral materials from borrow pits on the Forest
   would likely continue. Although alternative A. estimated up to 23 active wells as reasonably
   foreseeable tied to the existing active leases at the time of the previous plan revision, all of
   those leases have since expired. Lease sales proposed in 2008 and 2009 for parcels near
   South Fork and Del Norte remain deferred as of July 2017. This lack of Bureau of Land
   Management authorizations for leasable minerals on the Forest will likely continue as it has
   during the existing forest plan until the current Bureau of Land Management resource
   management plan and related leasing availability analysis is revised. Thus, the amount of
   ground disturbance associated with mineral materials and leasable minerals under all
   alternatives is expected to be on the same order of magnitude as existing ground disturbance
   from mineral activities only.
   Due to locatable mineral activities being more restrictive in neighboring states than they were
   previously, the Forest has seen an increase in the number of notices of intent and plans of
   operations. If metal prices rise, this trend will most likely continue. In recent years, the Forest
   has also seen a significant increase in placer dredging. The Forest requires a notice of intent
   to be filed and evaluated for any mechanized dredging operation. All operators are provided
   with information about the best management practices and aquatic considerations.
   Interest in exploring renewable energy development on public and private lands, including
   solar, wind, geothermal, woody biomass, and hydroelectric power at the local, state, and

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      national level, has increased during the past 10 years. Colorado voters authorized a
      renewable portfolio standard in 2004, which initially required publicly traded utilities such as
      Xcel Energy to generate at least 15 percent of their electricity from renewable energy sources
      by 2020. That percentage has since increased and now applies to rural electric associations,
      including San Luis Valley Rural Electric Cooperative, which serves many communities that
      border Forest lands. This Colorado Renewable Portfolio Standard, along with Federal
      direction geared toward energy savings and climate change resiliency, have driven interest in
      exploring hydroelectric and woody biomass studies directly connected to National Forest
      System lands, as well as solar and wind studies on the neighboring valley floor, which might
      require development of additional transmission lines on National Forest System lands.
      Because the State of Colorado is anticipated to update its renewable energy portfolio within
      the next 20 years, the Forest needs to consider potential renewable energy projects on
      National Forest System lands. For more information on renewable energy resources and the
      history of mining on the Forest, see Assessment 10 - Energy, Minerals and Geographic
      Hazards (USDA Forest Service 2016).

      Direct and Indirect Effects
      Impacts to the renewable energy, non-renewable energy, and minerals program resulting from
      implementation of the alternatives could result in the limitation of some areas to each activity
      and increased operating costs (through limitations on road construction and use, facility
      placement, and operational constraints). These impacts may result from the requirements
      imposed by other resource programs. This estimate of impacts would be considered in
      conjunction with areas where solid mineral potential is known or suspected to exist, and
      where preferred locations for renewable and non-renewable energy may be located. Lands
      may be unavailable for each activity; however, if the resource does not exist on those lands,
      any possible impacts from limiting access to those lands may be minor or negligible.
      Under alternative A, existing laws and formal land withdrawals withdraw some lands such as
      wilderness, administrative sites, and campgrounds from mining activities. Plan designations
      and standards and guidelines protect sensitive resources from undue or unnecessary
      degradation. The existing plan and existing laws and regulations (such as the Endangered
      Species Act) prohibit or restrict access to and development of energy and mineral resources
      in some areas in direct and indirect ways. Under the no-action alternative, existing conditions
      would remain the same. Alternative A also does not contain any plan direction regarding
      recreational dredging and impacts to fish.
      Under alternative B, there would be 58,669 acres of recommended wilderness, which would
      have an adverse effect on access to and development of renewable energy, non-renewable
      energy, and minerals, though not at the scale of alternative D. The areas recommended for
      wilderness, while not withdrawn from mineral extractions, would have restrictions within the
      area to maintain the wilderness character while operating a mining claim. Renewable energy,
      such as windfarms and solar arrays, would not be authorized in areas of recommended
      wilderness, to preserve the wilderness character.
      Alternative C would increase the access to minerals and energy resources as a result of a
      decrease in restricted areas and an increase in timber harvest and related road construction.




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   Under alternative D, all other renewable energy, non-renewable energy, and minerals projects
   would be managed under the standard use laws and treated with that level of discretion. In
   addition, 284,853 acres would be recommended for wilderness inclusion and would be under
   the same restrictions as alternative B. An estimated 316,085 acres of special interest areas
   would also provide additional restrictions for mineral withdrawals. Also in alternative D, the
   Congressionally Designated Trails Management Area recommends withdrawal of the mineral
   estate within the one-mile-wide trail corridor, which would have additional impacts to
   minerals access. Alternative D would have the most adverse effect on access to and
   development of energy and mineral resources due to the greatest amount of use restrictions.
   All action alternatives contain plan direction governing recreational dredging and timing to
   minimize impacts to fisheries. All action alternatives also note updated Federal ownership of
   the acquired mineral estate in the Chama Basin area. This updated Federal ownership gives
   the Forest additional discretion regarding future mineral leasing.

   Cumulative Effects
   In relation to the alternatives, cumulative effects would result from a continuation of the
   same general restrictions on the minerals program that existed in the previous plan as well as
   from the imposition of newer environmental laws and regulations.
   Within the life of the plan, it is possible that silver mining activity will resume in the Creede
   area, and the transfer of lands in the Summitville mining district to the State of Colorado will
   be finalized. It is also possible that oil and gas parcels near Del Norte and South Fork will be
   nominated for lease again, but those parcels would likely remain deferred until the revision
   of the resource management plan by the Bureau of Land Management.
   Renewable energy, non-renewable energy, and minerals activity is scattered and intermittent
   in location and timing. The intensity of mineral activities, both in numbers and intensity, is
   expected to be greater in areas of high mineral potential. Future solid minerals activity
   outside those specific areas would continue this pattern; as previous activities end, others
   would begin. The general level of activity would remain the same; therefore, the cumulative
   impacts on the program and resource from implementation of any of the alternatives on lands
   with low or no potential for solid minerals may be negligible.

   Soils
   Overview
   Soils are a foundational part of ecosystems and the services they provide. Healthy and
   productive soils are an essential part of providing ecosystem services such as clean water,
   forest products such as timber and firewood, and areas for activities such as cattle grazing
   and recreation. Healthy soils have appropriate vegetation cover in accordance with the
   capacity of the site and have functioning nutrient cycles without significant nutrient drains.
   Healthy soils will continue to be an important part of providing ecosystem services and
   helping to buffer changes to these systems, either human caused or natural changes, from the
   effects of disturbances including climate change, bark beetle infestations, and wildfire. As
   these changes occur, soil characteristics and processes are considered so that they can be
   protected or improved. Maintaining soil health and ecological function is important to all


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      processes on the Forest, and these are safeguarded through regulation and guidance at
      national, regional, and local levels.
      Soil inventory was completed in 1996 (USDA Forest Service 1996). The field work for the
      soil resource inventory units on the Sangre de Cristo Mountains was completed in the late
      1980s but it has never been correlated, so is currently not publicly available through the web
      soil survey, but information can be obtained at the Forest Service office in Monte Vista,
      Colorado. These two inventories form the basis for initial soil investigations in relation to
      activities across the Forest.

      Affected Environment, Existing Conditions, and Trends
      There are about 115 soil units present across the Forest. Seventy-four soil units are present on
      the San Juan Mountains side and soils are primarily from volcanic parent material. The
      remaining soil units are located on the Sangre de Cristo range and the alluvial fans
      immediately adjacent to them and include units from adjoining soil surveys. Soils in the
      Sangre de Cristo range were formed primarily from sedimentary rocks and metamorphic
      derivatives, when Pennsylvanian and Precambrian rocks were uplifted due to thrusting and
      faulting along the Rio Grande Rift.
      In both cases the topography ranges from low, dry foothills just above the valley floor to
      alpine valleys, often associated with steep alpine glacial cirques. Slopes throughout both
      mountain ranges can be steep, with elevations ranging from about 8,000 to more than 14,000
      feet above sea level, and precipitation ranging from about 10 to 50 inches. Variations in age,
      slope and parent material, and moisture have led to wide ranges in soils and soil properties.
      Soils range from very shallow to very deep, with some areas having rapid nutrient cycling
      and some slow. This varied condition across soils means that the impacts from forest
      activities will have varied intensities, depending on location and soil present.
      Impacts to soils will vary in conjunction with topographical changes, moisture and
      temperature regimes, and soil characteristics. Unique soil characteristics can occur in limited
      locations, but generally soils can be viewed as a grouping of similar soils across similar
      topographical, temperature, moisture, and parent material gradients.
      The Forest has a wide diversity of soil types, from minimally developed, nutrient-poor soil to
      deep, fertile soil. Cool temperatures, a short growing season, and relatively steep topography
      affect soil development at high elevations. Warmer temperatures, a longer growing season,
      and flatter topography allow for better soil development at mid- to low elevations.
      The expansive, flat part of the San Luis Valley, which contains little to no National Forest
      System lands, is composed of unconsolidated sediments laid down in the late Tertiary period.
      Although the San Juan and Sangre de Cristo mountain ranges are the source of these
      materials, the ranges are of very different origin and geologic age. The majority of the San
      Juan Mountains are volcanic rocks and related shallow intrusive rocks of the mid- to late
      Tertiary period. These rocks formed as a result of multiple outpourings of lava and ash from a
      cluster of volcanos. Recognized as the San Juan Volcanic Field, it is the largest erosional
      remnant of a continuous volcanic field that once extended over much of the southern Rocky
      Mountains in Oligocene times. The volcanic sequence involved initial intermediate lavas and
      breccias followed by more silicic ash flow tuffs, ending with a combination of basalts and



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   rhyolites. This part of the San Juan range consists of rolling foothills in the east to steep
   alpine slopes along the Continental Divide.
   The Sangre de Cristo Mountains are of more recent origin than the San Juan Mountains, but
   the rocks themselves are considerably older. These mountains consist of a very steep, narrow
   ridge that formed as a result of faulting and thrusting along the Rio Grande Rift. The
   mountains are composed of sedimentary rocks of the Pennsylvanian period along with
   Precambrian granites, gneisses, and schists. Landforms vary from steep alpine glacial cirques
   to very broad alluvial fans at the mouth of drainages.
   Soils in the San Juan range are typical of soils derived from volcanic material. They are
   generally shallow to moderately deep, medium textured, and low to moderate in nutrient
   content. Organic matter and nitrogen levels tend to be low because of low rates of
   decomposition and nitrogen fixation. Shallow, course textured, rocky soils are found on
   ridgetops and adjacent steep slopes. The southern part of the San Juan range near the New
   Mexico border consists of volcanic material overlaying shale, so mass movements are
   common. Some soils in the Alamosa Canyon area are inherently highly erosive. Also in this
   area are soils where natural rock acidity results in naturally high levels of leaching of heavy
   metals.
   Soils in the Sangre de Cristo range tend to be moderately shallow and are coarse textured.
   These soils are moderately erodible and infertile due to limited moisture, steepness, and
   coarse texture.
   It is unrealistic to describe soils across the Forest in any meaningful way. In the 1996 forest
   plan, land type associations were developed based on similarities in geology, soils, and plant
   associations. A good summary of soil characteristics and geologic characteristics of the area
   is contained in Assessment 2 (USDA Forest Service 2016). It should be noted that in
   Assessments 1 and 3 (USDA Forest Service 2016), the land type associations were replaced
   by combining a few land type associations by ecosystem or vegetation types and adding two
   ecosystems for modeling purposes, but they generally align with the major plant associations
   described in the current forest plan land type associations.
   The proposed action and need for change analysis did not determine a need for change in
   relation to soils. Overall monitoring, whether it occurred on a forest plan or project level
   indicated that overall, soil conditions are improving across the Forest. Areas of concern still
   exist but they are addressed on a project level and have not become widespread across the
   Forest so do not represent a need for change at a Forestwide level. The current forest plan
   was developed about the same time that each region was establishing components of the
   watershed conservation practices handbook (FSH 2509. 25). The handbook was finalized
   following the signing of the 1996 forest plan. The standards and guidelines from the plan had
   become handbook direction, and the Forest has used handbook direction as standards and
   guidelines since. These have served to protect the soil resource over the life of the plan and
   will continue to be followed despite not being standards and guidelines in the plan.
   Soil protection and improvement are the overriding principles that guide the soil program
   across the Forest. Forest Service Handbook and Manual direction continue to apply. These
   layers of protection will continue to guide soil management across the Forest. Forestwide
   direction provides the Forest an opportunity to direct soil management across the Forest in a
   multiple-use environment while still protecting the soil resource.

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      Forest plan guidance contains direction that limits creation of detrimental soil conditions to
      15 percent of an activity area. The limit of 15-percent disturbance of any one unit to
      detrimental soil disturbance is higher-level direction, but the guidance expands the direction
      to make it specific to the Forest. The 15-percent limit was recently confirmed in a watershed
      study. Disturbance levels above 15 percent within a watershed were found to have
      detrimental effects on stream invertebrates (Steuer 2010). Even though this study concerned
      urbanization, it involves the increased level of impermeable surface. Detrimental soil
      disturbance generally concerns activities that alter soil physical or chemical properties, which
      can lead to loss in soil productivity and increases in soil erosion and nutrient loss.
      This standard limits the amount of detrimental soil disturbance by regulating activities that
      can cause these impacts. These impacts are generally one of the following: soil rutting or
      ponding, compaction, displacement, erosion, or removal of the topsoil or organic matter.
      Puddling occurs when infiltration of water into the soil is slowed and puddles are present on
      the soil surface, or the soil profile is saturated or very wet. This condition can lead to rutting,
      which is the destruction of soil structure typically caused by equipment. This condition
      makes indentions into the soil and if wet enough can create deep furrows in the soil. Rutting
      can also be created by numerous passes over the same area. Activities are typically
      suspended when rutting occurs until drier conditions are present. Designated skidder trails
      and rubber tire skidders are also used to prevent rutting. Ruts are very visible and disrupt
      normal hydrologic flow and surface and subsurface water.
      Soil compaction is caused by an increase in soil bulk density and a reduction of porosity.
      Skid trails and landings are the most likely cause of compaction, which can increase erosion,
      ponding, or puddling, and slower infiltration. Landings and skid trails are the main source of
      compaction from timber sales. These areas experience repeated passes by equipment.
      Williams and Nielson (2000) determined that the majority of impacts typically occur within
      the first few passes of the equipment. Any activity can cause some degree of compaction, but
      it is often related to soil type, rock content, and soil moisture status. Compaction can reduce
      productivity by limiting root growth, and soil infiltration and movement, in the soil. These
      changes can also limit nutrient transfer and impede air movement into the soil. Soil
      compaction can lead to slower water infiltration and increased runoff and erosion, and also
      increases the incidence of puddling and rutting.
      Soil hydrophobicity is created when soils are heated to the extent that chemical and physical
      properties are altered in the soil. This creates a soil that does not easily absorb water and
      therefore increases runoff and erosion. It also is susceptible to wind erosion and nutrients are
      volatilized, thereby creating a soil that is dry and infertile. This can occur during large
      wildfires, but also occurs in pile burning. Impacts from soil heating increase as temperature
      increases, from mortality of seeds and microbes (about 60 degrees Celsius), to development
      of hydrophobicity (175 degrees Celsius), to loss of nutrients, organic matter, and structural
      degradation (greater than 200 degrees Celsius) (Stoof 2013). Small and light burns do not
      create hydrophobic soils. Typically it is the residence time of the fire and not the intensity of
      the fire that creates this issue. Stoof (2013) found that fire residence time was more strongly
      related to hydrophobicity in soils than fire intensity.
      Wildfires are natural events that occur at varying frequencies, depending on ecological
      characteristics. They can be small or very large. They generally burn in a patchwork of


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   intensities, with the soils in some areas being severely affected while others only slightly
   affected. The heterogeneous nature of an area allows for a variety of soil burn severities to
   occur in one location. Prescribed burns are planned and accomplished in a way to limit
   severely burned areas. Effects of prescribed fires are similar to those of wildfire but occur
   over smaller areas and in planned areas that are calculated for overall benefit of the
   ecosystem. Pile burning often has the most severe impacts over the area that they are
   conducted. Typically they will have some amount of severely impacted soils; however, each
   pile is small in relation to harvest units and analysis areas. They are rarely of significant size
   and as a result, the overall impact is small.
   Not all soils and situations are conducive for fire introduction. Very steep slopes, highly
   erosive soils, or soils prone to mass movement may have negative responses to fire effects,
   and in some cases these responses may be dramatic. Managers of planned fires such as
   prescribed burns must take these situations into consideration. Soils with a potential to be
   severely damaged by fire need to have specific protections built into the planning, as do
   situations with steep slopes that are more prone to severe burning impacts. Limitations for
   prescribed burning for soils can be found in the soil resource and ecological inventory for the
   Forest (USDA Forest Service 1996).
   Soil displacement is the movement of soil material from its original position on the
   landscape. It is typically small in scale, a few inches to a few yards, or it could be on a large
   scale such as a landslide. Displacement of topsoil and other material create areas where
   erosion is accelerated. This process is commonly occurs through mechanical means such as
   timber harvest equipment turning, skidding of logs, blading of roads, fireline construction,
   and construction of roads and trails. Along with accelerated erosion, nutrient loss can also be
   accelerated through this process.
   Erosion is a natural process by which soil particles are dislodged and moved. The most
   common modes of movement are water and wind. Erosion occurs naturally over time. Stream
   systems and other natural systems generally can accommodate normal levels of erosion.
   Accelerated erosion is more a condition where some activity or event has occurred that
   exposes bare ground, creates compaction, or otherwise alters some other soil property that
   increases erodibility. The amount of soil erosion that occurs depends on a number of factors
   including amount of bare soil, slope steepness, erodibility of the soil, and rainfall intensity.
   Erosion is offset by conditions such as the amount of leaf litter, slash, and woody debris
   present on the landscape. Natural systems are not as well adapted to these conditions. Most
   erosion on the Forest occurs along roads, in timber sale areas, and in established recreations
   sites. Proper design, construction, and maintenance of infrastructure can reduce erosion to
   acceptable levels.
   Nutrient cycling is an important part of soil productivity. It is essential that adequate levels of
   soil organic matter be maintained to protect site and soil productivity over the long term
   (Jurgensen et al. 1997). Nutrient drains can also be created by removing trees along with
   limbs, branches, and some needles. Nutrients can also leave the stand when piles are burned
   through volatilization of carbon and nitrogen and later through erosion of soil from the site.
   Nutrients in forested stands are cycled through fine woody debris with some contribution of
   coarse woody debris. Decomposition of fine woody debris, including leaves or pine needles,
   is the largest and most readily available source of nutrients. Thus it is important to retain fine
   slash within units, especially if bare soil is present or if the nutrient cycling rate is slow.

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      Recent articles have questioned the importance of coarse woody debris to this cycling. Laiho
      and Prescott (2004) estimated that coarse woody debris contributes less than 5 percent of the
      nitrogen released annually, and concluded that it is of only minor importance to nutrient
      dynamics. A similar study agreed with the role of coarse woody debris in the short term but
      concluded that coarse woody debris would be an important nutrient source in the future as
      well as an important carbon sink (Ganjegunte et al. 2003). It is not clear whether woody
      debris should be left and in what quantities. Other factors, including wildlife needs, are also
      factors to consider and have resulted in recommendations of woody debris to be left onsite
      following management activities. These recommendations will accomplish multiple resource
      objectives.
      Fire can create a nutrient drain on the soil. Soils that are highly impacted by heating
      generally lose surface organic matter, and much of the soil organic matter is altered or lost
      altogether. Physical changes also occur. These changes leave soils drier, less fertile, and more
      subject to erosion by both water and wind. Small and light burns of short duration do not
      create this effect because intensity and residence time do not create the required soil heating,
      and thus have less impact than hot, long-burning fires. The majority of nutrients occur in the
      organic layer and surface layer of the soil; whether removed by mechanical means or by fire,
      years are required to re-establish similar amounts of soil nutrients.
      Road construction and reconstruction generally can be considered in relation to short-term
      impacts and long-term impacts. Short-term impacts occur when a road is constructed,
      reconstructed, or maintained. Sedimentation to streams and erosion associated with displaced
      soil material increases. Proper sizing and placement of culverts, placement of rolling dips,
      and other erosion control structures do not eliminate erosion completely but help prevent
      sediment from reaching waterways and greatly reduce the amount of erosion that occurs.
      Long-term impacts are those impacts that could be considered background levels. These
      long-term effects remain fairly negligible if roads are well planned, built with proper
      materials and methods, and properly maintained. If roads are not maintained they can begin
      to erode and cause increased erosion, this is especially true of poorly placed roads or with
      stream crossings that are poorly planned or installed. Processes, practices, and concerns hold
      true for trails, both motorized and nonmotorized. The scale for trails is smaller than for roads
      but similar otherwise, and management approaches are similar.
      Off-road travel by motorized vehicles is generally prohibited on the Forest except under very
      specific conditions. Off-road travel has the potential to be very damaging to soils. Driving on
      unhardened areas can cause compaction and rutting and can kill vegetation. These damages
      can increase erosion, but additionally, can channelize water, which can accelerate erosion,
      dry out the site, and create gullies. These impacts can be either minimal or very harsh
      depending on soil properties and current conditions. Very dry rocky soils will show only
      minimal impacts, while wet non-rocky soils can have very significant impacts. Thus it is
      important to limit off-road travel.
      Limiting detrimental impacts to soil to 15 percent of each project area would protect the soil
      resource. This standard would also allow for activities to occur that would help to improve
      conditions across previously disturbed areas.
      Including design features and best management practices in addition to forest plan guidance
      would further protect soils during management activities. Forest Service handbook and


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   manual direction is incorporated into all forest plans and project-level proposals. This
   combination of direction considers management of the soil in a holistic manner allowing for
   the restoration of soil fUnction, regardless of cause of the impairment. It also establishes a
   framework for managers to provide multiple use activities while providing resource
   protection.
   During development of the soil survey or resource inventories (USDA Forest Service 1996)
   of the San Juan and Sangre de Cristo portions of the Forest, soil potentials or interpretations
   were developed. These potentials provide low, medium, high or good, fair, or poor ratings for
   activities on the Forest or soil conditions on the Forest. These potentials will be used in the
   assessment of the effect of a given activity on the Forest.

   Direct and Indirect Effects
   Soils connect all activities on the Forest. Most management activities and decisions affect the
   soil where they occur. The most common impacts are compaction and erosion. Increased
   compaction will increase runoff and can also increase erosion. Mechanical harvesting, road
   construction and maintenance, motorized trail use, and off-road all-terrain-vehicle use create
   the most immediate, visible, and concentrated soil impacts. Grazing can also lead to very
   visible and sometimes widespread impacts. Most other impacts are less visible and localized.
   Designations such as, but not limited to, wilderness, roadless, and research natural areas limit
   activities and effectively increase protections of the soil resource. Opposed to those are
   activities that increase soil disturbances such as recreation and timber harvest.
   These effects are mitigated through the use of best management practices and project design
   features as directed by forest plan standards and guidelines as well as handbook and manual
   direction.

   Effects on Soils from Timber Harvest
   Erosion, displacement, compaction, and changes due to pile burning are the most likely
   impacts from timber harvest. These soil characteristics are measured as a way to estimate soil
   processes such as nutrient cycling, soil health, and productivity. Effects on soil will be
   discussed in terms of these soil characteristics and will focus on mechanized whole-tree
   harvest activities. They are the most likely activities to create detrimental disturbance, and
   other methods will be a subset of these conditions so will be covered in this review.
   Timber harvest can affect soil productivity through compaction caused by equipment used
   during harvest operations. Skid trails and landings are the most likely to experience
   detrimental compaction, which can increase erosion, but can also increase ponding or
   puddling, which can lead to more compaction, displacement, and slower infiltration. More
   skid trails mean more compaction. The biggest impact from timber harvest is generally
   compaction. Landings and skid trails are the main source of compaction. These areas
   experience repeated passes by equipment. Williams and Nielson (2000) found that the
   majority of impacts typically occur within the first few passes of the equipment. Limiting the
   number of landings and the amount and length of skid trails becomes the most effective way
   to limit soil compaction.
   Soil erosion can also be an impact of timber harvest activities. The amount of soil erosion
   that occurs depends on a number of factors including amount of bare soil, slope steepness,


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      erodibility of the soil, and rainfall intensity. It is offset by factors including leaf litter, slash,
      and woody debris left on the landscape. As bare soil increases, soil erosion potential
      increases. Leaf litter and other debris serve to protect soil from raindrop impact and form
      physical barriers to stop soil movement.
      Timber suitability will be used to assess differences among alternatives, in relation to erosion
      potential, mass movement hazard, and reforestation potential. Reforestation potential is not
      rated on all soils and therefore does not cover the entire Forest, but it will help show
      differences among alternatives. Because percentages or approximate acre comparisons will
      be used, they may not add up to 100 percent or match the final acreage in the proposed
      action.
      Alternative A has the lowest portion of timber-suitable soils on high-erosion-potential rated
      soils at 33 percent, followed by alternative B at 34 percent and, alternatives D and C at
      35 percent. Mass movement potential had very little difference among high potentials:
      alternative A. had the highest percentage at 3 percent, with the other alternatives at 2 percent.
      Low and very low ratings for mass movement for all alternatives added up to 87 percent.
      Alternative A had the lowest poor rating for reforestation at 8 percent, alternatives B and D at
       11 percent, and alternative C at 12 percent. There is very little difference in the percentage of
      soil ratings by total suitable acres. This doesn’t show total acres in each category. Bar charts
      that represent these erosion, mass movement, and reforestation potentials by total acres
      impacted are shown in Figure 15, Figure 16, and Figure 17.
      Across all alternatives, acres with a low erosion hazard rating are minimal. Those acres of
      soil that are rated moderate and high show a more pronounced change. With high potential
      acres there is more than a 50,000-acre difference between alternative A and alternatives B
      and C. There is about a 35,000-acre difference between alternatives A and D. In respect to
      erosion potential, alternative A is the least impactful.
      Alternatives B and C are not in practice different, as they are similar in amount of acres rated
      as high for soil erosion potential. Alternative D is somewhere in the middle.
      It should not be assumed that soils will erode because the rating for the potential is high. Best
      management practices and careful planning can mitigate this potential danger. The potential
      is still there and current management, alternative A, is potentially the least impactful to the
      soil resource in respect to erosion, with alternative C being the most impactful.
      Mass movement potential, shown in Figure 16, shows that very few acres are included within
      the rating of high. This is generally what is expected as most areas that are high in mass
      movement potential do not have many trees, and therefore are not rated as suitable timber
      base. Acres of high mass movement potential are associated with the Cumbres Pass area,
      which has high mass movement potential rated soils, but due to local conditions like low
      slopes, are considered lower risk. Some acres can likely be attributed to mapping errors.
      Alternatives A, B, and C are separated by less than 1,000 acres, and alternative D by less than
      4,000 acres. Alternative D is the most protective of the soil resource, but there is not a
      significant difference among the alternatives with respect to mass movement.




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   Figure 15. Potential erosion hazard acres by alternative

   Reforestation potential (Figure 17) shows that alternative A includes the fewest acres with
   poor ratings for reforestation on about 25,000 acres, while alternative C has the most with
   approximately 52,000 acres. Alternatives B and D have about 47,000 and 42,000 acres,
   respectively. The number of acres for good and fair ratings is larger but follows the same
   pattern as that of the poorly rated soils, with alternative A having the least acres and with
   alternative C having the most. Alternative C is the least restrictive and therefore can be the
   most impactful.
   Changing climatic conditions and natural drivers, such as bark beetle infestations, will be
   present and continue to influence the impacts of timber management activities across the
   Forest. Soil interpretations help in the planning process to protect sensitive soils from
   activities that may harm them. Alternatives A and D are the most protective of the soil
   resource as a whole in relation to timber management, while alternative C seems to be the
   least, though it is not significantly different than alternative B in acreage impacted.
   Reforestation is an important aspect of forest planning, as most of the spruce-fir forest was
   affected by the spruce beetle. Dead trees change the soil-water dynamic. Soils that dry out
   due to more sun exposure or increased evapotranspiration due to increased undergrowth
   make it harder to reforest an area; conversely, wetter soils due to loss of uptake by trees
   makes more soil water available and can enhance or inhibit reforestation, depending on
   species.




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                     Mass Movement Potential Hazard Acres
       250000




                           H Alt A            Illi Alt B           > Alt C     ■ Alt D


      Figure 16. Mass movement potential hazard acres by alternative




                                         Reforestation Potential
       350000

       300000

       250000

       200000

       150000

       100000

        50000


            0
                        good                                fair                         poor

                               ■ Alt A          IlAltB                <AltC        BAltD



      Figure 17. Reforestation potential by alternative




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   Changing climatic conditions and natural drivers, such as bark beetle infestations, will be
   present and continue to influence the impacts of timber management activities across the
   Forest. Soil interpretations help in the planning process to protect sensitive soils from
   activities that may harm them. Alternatives A and D are the most protective of the soil
   resource as a whole in relation to timber management, while alternative C seems to be the
   least, though it is not significantly different than alternative B in acreage impacted.
   Planned vegetation management activities have different results than suitability acres.
   Planned management activities are estimated using expected budgets, targets, and workforce
   capacity. According to planned activities, alternative D has the fewest average planned acres
   harvested per year, while alternative C has the most. Alternatives A and B vary only slightly
   in average acres per year to be harvested. Similar to suitability acres, alternative C is the least
   restrictive and will have the most potential for soil impacts. Alternatives A. and B have equal
   opportunities to impact soil resources, with alternative D having the least potential to impact
   due to having the lowest number of projected acres to be harvested.
   Overall, alternative A has the fewest amount of acreage to potentially be impacted; however,
   practically, alternative D has the fewest planned acres and will likely have the least impact to
   soil resources over the life of the plan, with alternatives A and B having similar impacts,
   being only slightly more than D (about 1,000 acres more each year), and D being the most
   impactful with about 3,000 more acres each year.

   Effects on Soils from Fire Management
   Soils can be impacted through fire management activities. These impacts are associated with
   soil heating, which can cause a number of physical and chemical changes within soils,
   including hydrophobicity, erosion, and nutrient loss.
   Wildfires occur at varying frequencies depending on different ecological characteristics.
   They can be small or very large. They generally burn in a patchwork of intensities, with the
   soils in some areas being severely affected while others are only slightly affected. While
   some areas are severely impacted, the heterogeneous nature of the areas in which they impact
   also allows for a variety of impacts. As a result, localized areas of concern are generally
   identified; the heterogeneity of the area helps mitigate any severely burned areas with areas
   of slight to no burn. Prescribed burns are planned and accomplished to limit severely burned
   areas. Effects are similar to a wildfire effects but occur over smaller areas and in planned
   areas, which are calculated for overall benefit of the ecosystem. Pile burning typically has the
   most severe impacts where they take place. Typically they will result in some amount of
   severely impacted soils; however, each pile is small in relation to harvest units and analysis
   areas. They are rarely of significant size and as a result, the overall impact is small.
   Not all soils and situations are conducive to fire. Very steep slopes, highly erosive soils, or
   those prone to mass movement may have negative responses to fire effects, and in some
   cases these responses may be very dramatic. Planned fires such as prescribed burns must take
   these situations into consideration. Soils with a potential to be severely damaged by fire need
   to have specific protections built into the planning, as do situations with steep slopes that are
   more prone to severe burning impacts. Limitations for prescribed burning for soils are
   contained in the soil resource and ecological inventory (USDA Natural Resources
   Conservation Service 1996).


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      It is not anticipated that the soil resource will be impacted differently among alternatives.
      Alternatives B, C, and D allow for more use of fire for resource benefit than is possible under
      the current forest plan (alternative A), allowing for more fire use across the landscape.
      Prescribed fire is generally employed to improve habitat in mixed conifer stands, including
      pinyon-juniper stands, and grass dominated areas. These areas typically do not have fuel to
      encourage long residence time of fire across large areas. Some soils will be detrimentally
      impacted by fire, but it will be spatially separated so will not exceed allowable limits.
      Alternatives B and D will also limit some areas where fire may be ignited as more wilderness
      may be added in these alternatives.

      Effects on Soils from Livestock Grazing
      When grazing is managed properly, livestock are well distributed, and grasses are grazed
      only to specified limits to leave adequate grasses for wildlife needs and soil protection and to
      promote soil fertility and productivity. When grazing is not managed properly, uplands and
      riparian areas can be compacted and increased erosion and bare soil can occur, associated
      with a reduction in vegetation cover and reduced soil health and productivity.
      Strategies for improving soil conditions on rangeland include reducing numbers of animals
      on the landscape, resting range in poor condition, and herding of cattle for better distribution
      across the landscape. Though this is not an exhaustive list, strategies are used together in an
      adaptive way to improve overall range condition and to promote and maintain soil health and
      productivity.
      Very little change will occur to grazing acres among alternatives. Alternative A has
      approximately 540,310 acres as capable of supporting grazing. The other three alternatives
      list capable acres of 539,935 acres. Because this small adjustment of acres will have no
      discernible impact on the soil resource from grazing activities among alternatives, there is no
      difference among alternatives in relation to livestock grazing.

      Effects on Soils from Roads and Trails
      Road construction and reconstruction generally can be considered as short-term impacts and
      long-term impacts. Short-term impacts occur when a road is constructed, reconstructed, or
      maintained. Sedimentation to streams and erosion associated with displaced soil material
      increases. If proper best management practices are adhered to, minimal amounts of erosion
      occurs, which diminishes over the long term. Proper sizing and placement of culverts,
      placement of rolling dips, and other erosion control structures do not eliminate erosion
      completely but will prevent sediment from reaching waterways and greatly reduce the
      amount of erosion that occurs. Long-term impacts are those impacts that could be considered
      background levels. These long-term effects remain fairly negligible if roads are well planned,
      built with proper materials and methods, and properly maintained. If roads are not
      maintained they can begin to erode and cause increase erosion, this especially true of poorly
      placed roads or with stream crossings that are poorly planned or installed. Processes,
      practices, and concerns hold true for trails both motorized and nonmotorized. The scale is
      smaller roads but similar otherwise and management approaches are similar.
      Off-road travel by motorized vehicles is generally prohibited on the Forest except under very
      specific conditions. Off-road travel has the potential to be very damaging to soils. Driving on
      unhardened areas can cause compaction and rutting and can kill vegetation. These damages

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   can increase erosion, but can additionally channelize water, which can accelerate erosion, dry
   out the site, and create gullies. These impacts can be either minimal or very harsh depending
   on soil properties and current conditions. Very dry rocky soils will show only minimal
   impacts while wet non-rocky soils can have very significant impacts. Thus it is important to
   limit off-road travel.
   Roads and trails across the Forest are expected to remain the same or decrease across the
   Forest over time due to travel management. Only significant changes in roadless areas or
   wilderness areas would impact soils in relation to these in a meaningful way. Adjusting large
   sections of these boundaries to either allow or remove roads and motorized trails from areas
   would potentially impact soils and waterways by increasing erosion due to construction or
   lack of maintenance from road closures. Both sides of that process could potentially
   negatively impact soils. If roadless or wilderness areas are increased and roads and trails are
   properly and thoroughly closed, then beneficial impacts could be expected. Alternatives B
   and D analyze for more wilderness, research natural areas, special interest areas, and wild,
   scenic, and recreational rivers. All these have the potential to decrease roaded areas, thus
   decreasing the roads on the system and road impacts. In practice they will not impact the
   amount of roads on the Forest in a meaningful way; therefore, there is not a measureable
   difference among alternatives in relation to soils.

   Effects on Soils from Recreation
   The effects of recreation on soils are expected to be small. Activities such as camping,
   hiking, mountain bike riding, all-terrain-vehicle trail riding, picnicking, sightseeing, and
   other similar activities have very small localized impacts due to compaction and erosion.
   Over time established recreation sites will show more pronounced impacts, but they would
   still be localized. Game retrieval using all-terrain vehicles is also likely to impact soils in a
   significant way. Most impacts associated with recreation activities are associated with roads
   and trails.
   For information on roads and trails see the Innfrastructure, Roads, and Facilities and
   Sustainable Recreation Opportunities sections.
   Alternative A would continue current practices, which would have limited impacts spatially.
   Local impacts may be considerable, but are generally small in scale. This trend in soil
   disturbance will continue regardless of alternative. Alternatives A and B have a management
   area designated for recreation, Management Area 4.3. Alternatives C and D do not designate
   a management area specifically for recreation. Alternative C gathers all forest management
   acreage under one geographic area called general forest and rangelands. Alternative D
   spreads the acreage across four management areas and has increases in special interest and
   wilderness areas. In addition, alternative D would eliminate off-road game retrieval. This
   would help to eliminate off road all-terrain-vehicle travel in general and would provide
   increased protection to the soil resource.
   Soil protection measures established through standards and guidelines, and regional and
   national direction, will apply regardless of alternative; thus, it is anticipated that in respect to
   the soil resource, little difference is expected among alternatives. Dispersed recreation will
   continue to occur across the Forest regardless of designation, and developed recreation sites



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      will continue and have plans of operation. Little will change in regard to soils under any of
      these alternatives.

      Effects on Soils from Designation of Wilderness, Recommended Wilderness,
      Research Natural Areas, Special Interest Areas, Scenic Trails and Byways, and
      Wild, Scenic, and Recreational Rivers
      Impacts to soil from one of these designations is likely minimal along public access areas and
      a positive impact across the rest of the area. Designated areas generally are more restrictive
      to activities and therefore are less impactful to resources than other areas. No significant
      impacts are expected from the inclusion of these designated area.
      Alternatives B and D would increase the acreage to be analyzed as wilderness, special
      interest areas, eligible and suitable wild, scenic, and recreational rivers, and research natural
      areas. Designation of new wilderness and research natural areas would be beneficial to soil
      function, productivity, and health. Because they are very restrictive in allowed activities, soils
      function in a natural manner. Nutrient cycling occurs at a natural rate, with inputs and exports
      of nutrients occurring as dictated by natural conditions. This is a desirable condition and
      allows for healthy and productive soil as well as good reference soil points.
      No difference between geographic areas and management areas is expected, because the
      acres offset very little and because standards, guidelines, and regional and national direction
      do not change by alternative. Because alternatives B and D have increased amounts of
      designated areas, they are considered more protective of the soil environment than
      alternatives A and C.

      Effects on Soils from Mineral Resource Activities
      In the current forest plan it was estimated that soil disturbances from mineral activities would
      be 69 to 216 acres over the next decade, or 7 to 22 acres per year. Similar numbers are
      expected over the life of this plan.
      Mineral activity impacts on the soil resource would be mitigated through standard lease
      terms, stipulations, operating plans, and permits. These restrictions would be guided by
      standard best management practices and regional and national guidance. Impact levels are
      expected to be small, spatially separated, and within acceptable levels by following
      established procedures and guidelines.
      No difference among alternatives is identified in relation to mineral extraction and soils.
      Mineral extraction is heavily dictated by laws and regulations that dictate how it will be
      addressed. The differences in alternatives will not impact this situation.

      Cumulative Effects
      Soil productivity would be mainly impacted by surface disturbance and vegetation loss
      associated with activities that produce these types of conditions. The cumulative results
      expected are increasing soil erosion and loss, and potential compaction. Landslides are also
      of concern as some have occurred in the past, and some areas are more susceptible to
      landslides than others.




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   Past timber harvest areas are still recovering in some locations but are generally slow to
   recover. Because current harvest practices and technology have improved over what was
   used in the middle of the 20th century, the impact to the soil surface is less. Impacts from
   current timber harvests are limited by the implementation of best management practices and
   other direction. One of these practices is to limit detrimental soil disturbance per unit to 15
   percent. Repeated entry to units could push units currently under 15 percent over that limit.
   As the salvage harvest of dead spruce declines as merchantability declines, less impact to
   units will occur and these areas will have a long time period to recover as the spruce forest
   grows back. Harvest activities within other cover types may increase, but because these areas
   do not include as many acres as the spruce-fir cover type, the overall impact to the Forest
   over time will decrease.
   Roads and other transportation infrastructure have been built and maintained at some level
   for many years. Most National Forest System roads have been in service for many decades.
   Erosion from roads is one of the biggest contributors to sedimentation from soils to streams.
   Well maintained roads and stream crossings help prevent this erosion. Poorly maintained and
   designed roads can lead to significant amounts of erosion. Budget cuts have led to longer
   intervals in between road maintenance cycles, which increases erosion. Travel management
   discussions following plan completion could recommend roads to close. If roads are closed it
   could lead to shorter maintenance cycles and to less erosion in the future. Otherwise the
   future conditions will be similar to what they currently are.
   Fire, grazing, and recreation all cause effects to soils. Fire is a naturally occurring event. It
   has occurred in the past and will continue to occur in the future. Frequency and intensity
   could be impacted related to a changing climate. Drier conditions could lead to more frequent
   fires and wetter conditions to fewer fires. Changes in precipitation type would change the
   entire dynamic of the fire cycle as it currently is. Fire management currently attempts to
   average 2,000 acres of prescribed burns each year, and that is anticipated to continue into the
   foreseeable future. Grazing has occurred for more than 100 years. Recent changes in grazing
   practices and numbers have led to marked improvement from the early 1900s. Soils are
   improving under current grazing management practices, and it is anticipated that they will
   continue to do so. Possible continued drought conditions would lead to additional changes to
   maintain grazing at acceptable levels. If these are not observed, however, soils could be
   detrimentally impacted and could return to conditions similar to those of the early 1900s.
   Recreation is anticipated to change very little from the past to the future. Trailer camping
   could increase as more and more people from population centers spend time in the
   mountains. Recreation impacts will continue to be localized, even in the face of continuing
   drought conditions, and will be managed on a local level to protect resource values.
   The designation of wilderness areas and other specially designated areas will have an impact
   on the resource. Past designations of protected areas have helped to protect the soil from
   possible impacts of management activities. They will continue to do so into the future. They
   will also serve as an area to look at changes to soil and the surrounding environment as
   environmental drivers push on the systems as climatic changes occur or as the forest
   recovers. From a soils perspective, a wilderness designation is not different than a roadless
   area or research natural area designation. Areas outside these already designated areas will
   benefit from inclusion, but changing one to another will not impact the soil resource.



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      Aquatic Ecosystems
      Overview
      This section considers numerous physical and biological resources such as water quality,
      native species, and aquatic habitats. Managing for high quality water and hydrologic function
      is fundamental in maintaining and restoring watershed health.
      Riparian and aquatic systems, as water sources, are ideal for many land uses managed by the
      Forest Service. Conflicts between some human uses, however, and the resources dependent
      on resilient riparian conditions may continue unless management provides for sufficient land
      use limitations and resource protections that maintain the disturbance processes and
      pathways associated with resilient riparian conditions (Reeves et al. 1995; Lee et al. 1997;
      Lake 2000; Poff et al. 2011, Pyne and Poff 2016). Forest plan direction is intended to
      minimize, if not resolve, these conflicts.
      Aquatic species persistence is dependent upon maintaining an array of well-connected habitat
      conditions. Management activities can contribute to fragmentation and degradation of habitat
      for fish and other riparian-dependent species. Dam construction, introduction of nonnative
      invasive species, livestock grazing, road and facility construction, and timber management
      activities have resulted in major changes in habitat conditions. Future management activities
      have the potential for both additional impacts and restoration of these species and their
      habitats. For aquatic species, the analysis looks at how the management alternatives for forest
      plan revision either contribute to or mitigate common threats to factors of decline within
      Forest Service authority.

      Affected Environment, Existing Conditions, and Trends
      The analysis area for the watersheds, aquatic habitat, and species includes all lands within the
      boundary of the Forest. The variety of landscapes and associated aquatic ecosystems support
      an array of different aquatic, terrestrial, and botanical species.
      While not considered in the immediate analysis area, it is important to understand the effects
      on nearby resources. Water for municipal, industrial, and agricultural purposes comes from
      the Sangre de Cristo range on the east side of the San Luis Valley, and the San Juan range to
      the west. The headwaters of the Rio Grande (Upper Basin) originate in the Forest, and most
      Forest watersheds drain into the Rio Grande river system. The headwaters of the Rio Grande
      provide much of the water resource for the downstream sections of the Rio Grande in the San
      Luis Valley of southern Colorado and New Mexico (Middle Basin). Floodwaters and
      droughts generated by the Upper Basin affect virtually all components of the Middle Basin
      (Scurlock 1998). Sustainability of ecosystems, and their significant human component, lies in
      understanding both basins together as one.
      The Rio Grande and its parent landform, the Rio Grande Rift, dominate the physical setting
      that is the namesake for the Forest. The northern and eastern portions of the Forest drain
      primarily into the closed San Luis Basin. Within these areas, northern and western portions of
      the Sangre de Cristo Mountains from near Crestone Peak northward to the Hayden Pass area
      contain unique calcareous geology. This creates unique and important aquatic, riparian, and
      wetland ecosystems. Another landscape attribute that heavily influences aquatic, riparian, and
      wetland characteristics on the Forest is past glaciation. Terminal and lateral moraines created

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   confined basins where impounded subsurface or surface water allows peat accumulation
   (Windell et al. 1986; Cooper 1990; Cooper 2005), whereas kettle ponds promote fen
   formation along these margins. In addition, glaciation has created wide, relatively level
   mountain valleys where large wetland complexes tend to form (Rocchio 2006).
   The aquatic systems have been subject to a wide array of disturbances and events. These
   disturbances have often been intense and cyclic in nature. The watersheds and their
   dependent resources have evolved under this “pulse” disturbance regime so that they can
   effectively respond to those natural disturbances while sustaining long-term functions,
   processes, and conditions. Included are recent disturbances to spruce-fir forest ecosystems
   from spruce beetle that have likely increased light penetration and subsequently increased
   stream temperatures.
   Around the beginning of the 19th century, the expansion of human populations increased in
   the San Luis Valley along with the development of the land and resources to support those
   populations. This has resulted in many new human-caused disturbances to the watershed
   systems, including sheep grazing and improved irrigation techniques. The pattern of many of
   those disturbances has tended to be a more sustained or “press” disturbance regime. A press
   disturbance forces an ecosystem to a different domain or set of conditions (Yount and Niemi
    1990; Lake 2000). Many of those disturbances tend to mimic historic “natural” processes, but
   the frequency increases and intensity decreases creating a constant “press” condition. In
   some cases, the watershed systems that have been continually pressed have undergone
   regime changes (Stanley et al. 2010); creating stressors to aquatic dependent resources.
   Man-made stressors can directly or indirectly degrade or impair key ecosystem
   characteristics important to aquatic habitat values. Human activities have altered Forest
   stream channels by direct modification such as stream diversions, reservoir/dam construction,
   transportation infrastructure (i.e., roads, unpaved stream crossings, trails, and off-highway
   vehicle use), and developed recreation sites that have encroached on riparian areas and
   stream channels (USDA. Forest Service 2016). Humans have also indirectly affected the
   incidence, frequency, and magnitude of disturbance events. This has affected inputs and
   outputs of sediment, water, and vegetation. These factors have combined to cause changes in
   channel conditions throughout many parts of the Forest, resulting in aquatic and riparian
   habitat conditions that are different from those that existed prior to human development.
   Natural events including primarily wildfire, floods, and landslides, combined with
   management activities such as timber harvest, fire suppression, road construction, mining,
   dams, introduction of nonnative species, recreation, and grazing over the last two centuries
   have led to changes in the physical watersheds and in the fish that are dependent on them
   (Pritchard and Cowley 2006; Poff et al. 2011).
   Roads can have some of the greatest effects to watersheds and aquatic biota. Roads can
    change the runoff characteristics of watersheds, increase erosion, alter sediment composition
    and nutrient delivery to streams, and alter channel morphology (Furniss et al. 1991; Gucinski
    et al. 2001; Trombulak and Frissell 2000; Grace and Clinton 2007; Silins et al. 2014). These
    direct effects lead to changes in habitats for fish. Roads and road networks under Forest
   jurisdiction can be managed to reduce or potentially eliminate negative impacts to aquatic,
   riparian, and wetland ecosystems. The benefits that accrue to aquatic and wetland ecosystems
   by correctly designing, constructing, and maintaining National Forest System roads are
   many. Considering the likely future increase in road use, the probability of incurring

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      additional resource damage and destruction to aquatic, riparian, and wetland ecosystems is
      relatively high. Appropriate road and travel management will be necessary, and will include
      managing the transportation system and removing unwanted roads. Locating roads away
      from streams undoubtedly reduces sediment delivery into streams.
      For the aquatic and riparian ecosystems, a recent assessment summarized the current
      conditions, system drivers, and stressors on the Forest (Assessment 1 and 3, Aquatic USDA
      Forest Service 2016). One of the key discussions in that assessment included the past and
      potential future effects of beaver. Beaver (Castor canadensis) are habitat-modifying keystone
      species in lotic, riparian, and wetland habitats (Collen and Gibson 2001), and their dam­
      building activities can influence a large proportion of a given watershed and landscape
      (Naiman et al. 1988). Beaver are an integral part of most headwater stream ecosystems in the
      Intermountain region (Wohl 2001), where their activities can alter stream channels and
      riparian zones and affect basic processes such as nutrient cycling (Naiman et al. 1986, 1988).
      Beaver impoundments generally have a positive effect on aquatic, riparian, and wetland
      ecosystems because they:
      •   elevate water tables and enhance riparian vegetation (Olson and Hubert 1994),
      •   create deeper water habitats with velocity and thermal refugia (Hagglund and Sjoberg
           1999),
      •   decrease water velocities and promote sediment retention (Naiman et al. 1988),
      •   improve water quality by facilitating riparian habitats that intercept nutrient and chemical
          contaminants (Olson and Hubert 1994), and
      •   buffer against floods and summer droughts (Olson and Hubert 1994).
      These beaver-induced hydrologic and biogeochemical changes also affect aquatic, riparian,
      and wetland biota. Beaver impoundments typically facilitate sediment deposition and storage
      (Wohl 2001), but in their absence, sediment might be transported farther downstream and be
      deposited in crucial fish spawning habitats. Hydrographs for the Rocky Mountain region are
      likely affected by loss of beaver impoundments because water storage capacity in first
      through fourth order streams is reduced. Thus, water is delivered more quickly in the absence
      of beaver dams, rather than being slowly released to buffer against periods of low flow. There
      is an opportunity for beaver to play a major role in achieving watershed and aquatic
      ecosystem health objectives on the Forest.

      Rio Grande Cutthroat Trout
      The Rio Grande cutthroat trout subspecies occurs in southern Colorado and New Mexico in
      five genetic management units that are managed primarily by State agencies, but the majority
      of occupied waters are within lands managed by Federal agencies. These genetic
      management units are managed to maintain genetic and ecological diversity where it exists to
      ensure representation of the subspecies across its historical range. Rio Grande cutthroat trout
      are typically restricted to headwater streams. Core populations are greater than 99 percent
      genetically pure and represent the historic genome of the native trout. Core conservation
      populations are self-sustaining Rio Grande cutthroat trout populations that are greater than
      90 percent genetically pure and are managed at the same conservation level as core
      populations. Additional recreational populations have been established in high-elevation
      lakes, typically within wilderness.

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   Rio Grande cutthroat trout is currently distributed in about 122 populations, and most are
   isolated from other populations. The total amount of currently occupied stream habitat is
   estimated to be 11 percent (810 miles) of the historically occupied range. This large decline
   in distribution and abundance is primarily due to the introduction and impacts of nonnative
   trout (U.S. Fish and Wildlife Service 2014a). Species threats and range reduction led to the
   consideration of special protection granted under the Endangered Species Act with a recent
   decision to not list the species based primarily on ongoing conservation activities including
   those by the Rio Grande Cutthroat Trout Conservation Team (U.S. Fish and Wildlife Service
   2014b).
   In 2014, the Rio Grande cutthroat trout was removed as a candidate for listing as federally
   endangered or threatened. The U.S. Fish and Wildlife Service concluded in a 12-month
   finding that listing was not warranted at that time. Current management actions, threats, and
   overall population status were factors that were included in the analysis (U.S. Fish and
   Wildlife Service 2014b).
   Many Rio Grande cutthroat trout conservation populations currently occupy lands
   administered by Federal agencies. Of the total 810 miles of estimated occupied habitat, the
   majority (59 percent) occurs within Forest lands, including 17 core and core conservation
   populations of Rio Grande cutthroat trout in the analysis area occurring in the Rio Grande
   Headwaters Genetic Management Unit (Alves et al. 2008, Rio Grande Cutthroat Trout
   Conservation Team 2013, Inland Cutthroat Trout Viewer 2016). A small portion of the Lower
   Rio Grande Genetic Management Unit is within the analysis area and includes the Chama
   Basin, but no current core or core conservation populations occur within this genetic
   management unit. Rio Grande cutthroat trout occupy about 154 miles in 30 streams and
   multiple lakes on the Rio Grande (Rio Grande Cutthroat Trout Conservation Team 2013).

   Rio Grande Chub
   Rio Grande chub (Gila pandora) occurs in the Rio Grande, Pecos, and Canadian drainages in
   New Mexico, with populations in the Rio Grande and San Luis closed basins of Colorado
   and an isolated population in the Davis Mountains of Texas (Sublette et al. 1990). Sublette et
   al. (1990) considered the species to be stable in New Mexico. However, Rio Grande chub is a
   species of greatest conservation need in the State Wildlife Action Plan for New Mexico (New
   Mexico Department of Game and Fish 2016). Recent sampling has found Rio Grande chub to
   persist in most locations where the species was historically documented in New Mexico, but
   the species was recently considered non-indigenous to the Canadian drainage basin (Fuller
   2017). Unique isolated populations occur in the lower Rio Grande (Alamosa Creek) and
   Pecos drainages (Rio Bonito and Rio Penasco) of New Mexico (Galindo et al. 2016). In
   Colorado the Rio Grande chub is currently a species of concern, while in Texas, it has a
   status of state threatened (Hubbs et al. 2008).
   Rio Grande chub is currently petitioned for federal listing under the Endangered Species Act,
   with a positive 90-day finding that warrants the further status review for the species (U.S.
   Fish and Wildlife Service 2016).
   Rio Grande chub populations are rare on the Forest, primarily occurring in Colorado at
   elevations below 9,000 ft. A population occurs within Hot Creek and possibly upstream of
   Terrace Reservoir within the Forest boundary in the Alamosa River drainage. Other


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      populations near the Forest boundary may occur in Saguache Creek and Hodding Creek and
      other lower elevation sites located within the San Luis closed basin (Bestgen et al. 2003;
      Rees et al. 2005).

      Rio Grande Sucker
      Rio Grande sucker primarily occurs in cool-water stream habitats of the Rio Grande,
      Mimbres, and Gila drainages of New Mexico. An additional population in the Pecos drainage
      occurs in the Rio Hondo of New Mexico but may be the result of human introduction. The
      species also occurs in the Rio Grande Basin in Colorado and three states of Mexico;
      Durango, Chihuahua, and Zacatecas (Sublette et al. 1990). It is considered a species of
      greatest concern in New Mexico (New Mexico Department of Game and Fish 2016) and is
      considered state endangered in Colorado (Swift-Miller et al. 1999).
      Rio Grande sucker is currently petitioned for federal listing under the Endangered Species
      Act, with a positive 90-day finding that warrants the further status review for the species
      (U.S. Fish and Wildlife Service 2016).
      Rio Grande suckers have been reintroduced in several Colorado streams in the Rio Grande
      basin and San Luis closed basin including locations within the Forest (Rees and Miller,
      2005). The following aquatic systems have received transplanted fish within the Forest:
      Cascade Creek, Lake Fork Conejos River, Medano Creek, Middle Carnero Creek, North
      Carnero Creek, Osier Creek, and San Francisco Creek. Successful reproduction has only
      been confirmed in the Lake Fork Conejos River, North Carnero Creek, Middle Carnero
      Creek, and Medano Creek populations (Rees and Miller 2005, Jones 2017).

      Direct and Indirect Effects
      Nearly all land management direction implemented and described in this analysis has the
      potential to indirectly, adversely affect aquatic and riparian resources to some degree.
      Activities that alter the quantity, timing, or quality of water resources have the greatest
      potential for adverse effects, and the risk of adverse effects generally decreases as the
      distance away from streams or wetlands increases.
      Watershed conservation practices, best management practices, forest plan standards and
      guidelines, and management approaches prescribe extensive measures to protect soil,
      riparian, and therefore aquatic ecosystems. When applicable measures are implemented and
      effective, adverse effects to these resources from management activities will be minimized or
      eliminated. Indirect effects related to this planning effort from specific programs and
      decisions are summarized below.

      Effects on Aquatic Ecosystems from Vegetation Management
      As described in the Watershed Resources and Soils sections, the greatest impacts related to
      timber harvest on fisheries may be from road construction or reconstruction, as well as from
      the subsequent sedimentation and nitrification contributing to degrade fishery habitat (Silins
      et al. 2014). The impacts from mechanical fuels reductions, rangeland treatments, and timber
      sales on the magnitude, timing, and duration of streamflow, and on water quality, are
      described in the Watershed Resources section. Other vegetation management, including
      utility corridors and Wolf Creek Ski Area modifications and expansions, may result in


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   impacts that are similar to those presented in the Watershed Resources section and in the
   Soils section.
   Beyond the effects of sediment from vegetation management, fisheries and aquatic species
   can be impacted by a reduction of streamside vegetation. Some reduction in streamside
   vegetation and average annual and average daily stream temperature can increase by
   reducing shade and decreasing the recruitment of large woody debris in streams.
   Overhanging vegetation provides cover for fish and helps cool stream temperatures. Large
   woody debris recruitment is important because it dissipates erosive stream energy, regulates
   sediment movement downstream, provides nutrients, and creates pools important to aquatic
   species.
   By alternative, the greatest impacts to aquatic ecosystems from vegetation management
   would be under alternative C, followed by alternatives A, B, and D. Alternative C proposed
   to increase the area that is considered suitable for timber harvest to capture value from
   spruce-fir impacted by beetles and has the potential to impact aquatic ecosystems the most.
   Suitable timber acres varies by alternative and is inverse to the additional amount of
   evaluated wilderness and other designated areas put forward in alternative D. All of the
   action alternatives contain updated plan components, which provide adequate protection for
   aquatic ecosystems. The relative impacts are based primarily on the effects determination in
   the Watershed Resources and Soils sections, with the corresponding impacts on fish habitat
   from sediment and increased stream temperatures similar.

   Effects on Aquatic Ecosystems from Fire Management
   Prescribed burns may result in considerably less severe impacts compared to wildfire. Under
   prescribed burns, the location and severity of the fire are controlled to a greater extent;
   therefore, more ground cover would remain and the erosion potential would be reduced.
   Sediment trapping buffers would generally remain around stream channels in order to reduce
   the amount of sediment delivered to the stream. Rarely do entire watersheds burn as a result
   of prescribed burns or wildfires managed for multiple resource benefits. These treatments are
   beneficial because they can reduce the impacts of changes in water yield and peak flows due
   to conditions such as drought. Furthermore, the careful and judicious use of prescribed burns
   may help reduce the risk of uncontrolled wildfires that may otherwise burn through and
   severely damage watersheds and riparian areas, increase erosion and sedimentation, and
   degrade large segments of fishery habitat.
   The updated fire management zones and the plan components related to these and riparian
   management zones provide similar protections for aquatic ecosystems among all action
   alternatives (B, C, and D). Specifically, the use of guidelines and best management practices
   put forward in “Guide to Preventing Aquatic Invasive Species Transport by Wildland Fire
   Operations” provides protection related to the incidental introduction of invasive species
   (National Wildfire Coordinating Group 2017). Additionally, updates and use of the terrestrial
   and aquatic aerial fire retardant avoidance maps provides protection under all action
   alternatives (USDA Forest Service 2017).

   Effects on Aquatic Ecosystems from Livestock Grazing
   The general impacts related to livestock grazing on aquatic ecosystems are discussed in the
   Watershed Resources, Riparian Management Zones, and Soils sections. Specifically, the

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      primary impact to fisheries and aquatic species would be mainly due to degraded habitat
      resulting from erosion and sedimentation and increased stream temperatures caused by
      long-term concentrated grazing in riparian areas where streambank trampling and trailing,
      stream widening, and streamside vegetation removal can occur, resulting in insufficient
      overhead cover for fish (Platts 1991). Another impact to fisheries and aquatic species would
      be due to the construction of new stock ponds, and livestock water and the resulting water
      depletion and potentially reduced streamflows. Application of plan direction in alternatives
      B, C, and D should ensure proper grazing management and reduce the effects to fisheries and
      aquatic ecosystems.
      Overall, the long-term impacts related to livestock grazing on aquatic ecosystems would be
      minor. Impacts vary little by alternative because suitable and available livestock grazing
      acreages are unchanged. The corresponding impacts on fish habitat from sediment and
      increased stream temperatures would therefore also be similar.

      Effects on Aquatic Ecosystems from Roads and Trails
      The primary impacts to aquatic ecosystems related to roads and trails are on streamflow and
      sediment production and are described in the Watershed Resources and Soils sections.
      Specifically, with regard to aquatic ecosystems, heavy sediment loads can reduce pool
      depths, bury stream substrates and spawning gravels, adhere to aquatic insects and the gills of
      fish, increase habitat for tubifex worms (Tubiifex tubifex) (an intermediate host for whirling
      disease), alter channel form and function, and result in other forms of habitat degradation.
      Improperly placed, shaped, and sized culverts can act as fish barriers on key streams or
      exacerbate erosion and, in turn, result in head-cutting. For any given watershed, the overall
      risks of impacts to aquatic ecosystems due to roads tend to increase with new road
      construction or reconstruction. Conversely, risks of impacts to aquatic and riparian
      ecosystems tend to decrease with road closure. Road maintenance may result in short-term
      increases in soil erosion; however, routine road maintenance provides opportunities to
      stabilize road features and improve road drainage. The location of roads is also an important
      consideration when minimizing erosion and sedimentation of streams. Roads adjacent to
      stream channels can potentially increase sedimentation and restrict channel meander or
      increase stream slope, causing the stream to down-cut and erode. The relative impacts of
      roads on aquatic resources are based on changes in use and management practices by
      alternative. Through application of plan direction (especially related to riparian management
      zones and activity periods), alternative D, followed by alternatives B, A, and C, will more
      effectively minimize potential impacts to fisheries and aquatic ecosystem, respectively.

      Effects on Aquatic Ecosystems from Developed and Dispersed Recreation
      Colorado Parks and Wildlife laws and regulations are adequate to prevent over-exploitation
      of fish populations through angling with catch and release fishing for core conservation
      populations of Rio Grande cutthroat trout throughout most of the Forest. Bait bucket and
      stocking regulations protect Rio Grande cutthroat trout and other native sensitive species of
      fish, including Rio Grande sucker and Rio Grande chub. There is some incidental mortality
      to Rio Grande cutthroat trout when they are caught and released, but this was determined not
      to be a factor when the species was recently evaluated for federal listing (U.S. Fish and
      Wildlife Service 2014b). Habitat alteration from recreational camping and day-use sites


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   might cause some site-specific impacts, but should not be extensive enough to measurably
   limit fish populations. Localized impacts to vegetation and banks in riparian areas occur at
   lakes with fish and at river access sites. Effects would be the same among all alternatives.
   There would be little to no effects on aquatic and riparian resources from fishing.
   Increases in recreational visitors increase risks to aquatic communities. The greatest threat
   from recreation is introduction of aquatic invasive species. These species include any
   nonnative plant or animal species and disease that threatens the diversity or abundance of
   native species, the ecological stability of infested waters, or commercial, agricultural, or
   recreational activities dependent on such waters. Some include zebra and quagga mussels,
   New Zealand mudsnail, whirling disease, and nonnative fish. While nonnative fish such as
   brook and rainbow trout are desirable in many locations, there are places where they are not.
   For example, in wilderness, continued implementation of alternative A, stocking of trout was
   restricted to Rio Grande cutthroat trout to support the species while providing recreational
   opportunities for backcountry anglers.
   Most of the pathways of introduction and spread of aquatic nuisance species are related to
   human activities, both accidental and intentional. Aquatic invasive species (i.e., zebra and
   quagga mussels) can be accidentally transported and spread by way of recreational boats and
   wading boots. Education and outreach will continue to be important to prevent the increased
   spread of these species, and the Forest Service Rocky Mountain Region continues to support
   Colorado Parks and Wildlife and other cooperators to set up key check stations for aquatic
   invasive species throughout Colorado.
   Developed winter recreation does not affect aquatic species except for possible sediment
   inputs resulting from new construction, grooming, or maintenance at Wolf Creek Ski Area.
   The effects would be the same across all alternatives.

   Effects on Aquatic Ecosystems from Designation of Wilderness, Wild, Scenic,
   and Recreational Rivers, Research Natural Areas, and Special Interest Areas
   The primary impacts on aquatic ecosystems related to newly designated areas on the Forest
   are discussed for wilderness, wild, scenic and recreational rivers, research natural areas, and
   Special Interest Areas, respectively. Alternative D would increase the amount of acres that
   are analyzed for wilderness over the other action alternatives. This alternative proposes
   additional special interest areas and areas focused on improving and maintaining habitat for
   native fish as well as areas based on notable cultural, zoological, and botanical resources and
   tribal uses. Alternative D proposes additional designated areas that would maximize the
   connectivity of habitat and increase opportunities for primitive and semiprimitive visitor
   experiences, including native fish habitat areas in Carnero Creek and Jim Creek.
   Deadman Creek is being evaluated for inclusion as a scenic river in all action alternatives.
   One of the outstanding remarkable values identified for Deadman Creek was the presence of
   Rio Grande cutthroat trout. Deadman Creek also could provide habitat for Rio Grande sucker
   and chub restoration activities if warranted.
   Recreation pressure may increase for newly identified areas, including fishing, but this is not
   expected to be substantial, as most of these are relatively remote or little used by the public.
   In a few cases, additional monitoring may be needed to identify pressures.



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      The management of specially designated areas provides significant protections for aquatic
      ecosystems regardless of alternative, but alternative D, followed by alternatives B, C, and A
      provide for more effective management.
      Revised management direction in all action alternatives to address habitat connectivity and
      ecosystem integrity related to aquatic ecosystems applies regardless of the designations listed
      above.

      Effects on Aquatic Ecosystems from Mineral Resource Activities
      Within the planning area, mining activities may include suction recreational dredging, gravel
      mining operations, and hard-rock mining. Generally, gravel pits are situated away from
      riparian areas and tend not to impact aquatic species. Mining claims and mineral leases on
      the Forest are not expected to change by alternative.
      The primary impacts related to mineral extraction on the Forest are on water quantity and
      water quality; these are discussed in the Watershed Resources section. Additional impacts of
      concern to fisheries and aquatic species related to mining or mining reclamation would be
      mainly due to erosion and sediment impacts (i.e., degraded fishery habitat), heavy metal
      loading of streams (i.e., toxic levels for aquatic species), altered stream channels, or both, and
      associated fishery habitat at critical times, especially for Rio Grande cutthroat trout.
      Alternatives B, C, and D have identical plan direction identifying preferred instream activity
      periods that, when applied to recreational dredging, provide improved direction and protect
      sensitive spawning and recruitment periods for core populations of Rio Grande cutthroat
      trout, as well as other native and desired nonnative species (see the Rio Grande National
      Forest Draft Revised Land Management Plan). Forest plan components combined with
      project-specific mitigation are expected to protect aquatic species across all alternatives
      related to mineral extraction.

      Cumulative Effects
      The potential cumulative effects from forest programs to water quality would generally be
      discussed at the Forest level. The temporal scale for this analysis will be limited to the life of
      this plan. Watershed conservation practices and forest plan standards prescribe extensive
      measures to protect riparian function and minimize effects caused by active forest
      management (MacDonald and Stednick 2003, Thomas et al. 2006, Reeves et al. 2006, Reiter
      et al. 2009). If all applicable measures are implemented and if they are effective, then adverse
      effects from any of the alternatives should be minimized. It is unlikely that plan components
      will prevent all adverse effects from occurring for each and every action that may be
      implemented on the Forest. Therefore, alternatives that propose higher levels of activity for
      various resources pose greater inherent risks to aquatic and riparian resources. Broadscale
      outcomes were qualitatively estimated for effects on hydrologic function and watershed
      processes for Forest lands within the project area.
      Actions taken to implement any of the alternatives, along with past, present, and foreseeable
      future activities undertaken in the planning area (or other nearby jurisdictions, including
      local, state, Native American tribal, and other federal actions, as well as private) could result
      in cumulative impacts. The cumulative impacts analysis covers the implementation
      timeframe of the approved forest plan and includes lands and aquatic systems within or
      downstream of the planning area. Other reasonably foreseeable projects in the analysis area

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   that may cumulatively affect aquatic ecosystems include forest plan revision for the Carson
   National Forest and Grand Mesa, Uncompahgre, and Gunnison National Forests, as well as
   ongoing management for Great Sand Dunes National Park, Rio Grande del Norte National
   Monument, Baca National Wildlife Refuge, and other federal and state lands within the San
   Luis Valley. Ongoing operations and future development at Wolf Creek Ski Area are also
   included, and considered relative to increased sedimentation and water quality impacts to
   aquatic ecosystems.
   While forest plan revision is ongoing with two of our shared boundary forests (Grand Mesa,
   Uncompahgre, and Gunnison and the Carson National Forests), only the Carson National
   Forest has aquatic systems that are both upstream and downstream, and provides important
   aquatic connectivity in the Rio Chama and Conejos River Basins. Shared management of Rio
   Grande cutthroat trout in these areas provides additional protection for the species (Rio
   Grande Cutthroat Trout Conservation Team 2013). Almost all headwater stream systems of
   the Rio Grande originate on the Forest and eventually flow downstream onto lands owned or
   administered by entities other than the Forest Service, including the Rio Grande del Norte
   National Monument, and therefore cumulative impacts for this monument would be
   negligible.
   Importantly, ongoing restoration management of native fish species is occurring and will
   continue to occur off-Forest in other areas of southern Colorado and the San Luis Valley,
   including in Great Sand Dunes National Park (Rio Grande cutthroat trout) and Baca National
   Wildlife Refuge (Rio Grande sucker and Rio Grande chub). Successful restoration efforts on
   nearby populations within the Upper Rio Grande Genetic Management Unit for Rio Grande
   cutthroat trout (Rio Grande Cutthroat Trout Conservation Team 2013), or similar efforts for
   other species, contribute to the management as a whole and further reduce the likelihood of
   future federal listings, especially with support of these efforts by the Forest.
   As the result of introductions of nonnative fish species and past local and regional cumulative
   impacts, the Rio Grande cutthroat trout is a species of conservation concern. The primary
   adverse cumulative impacts, under all of the alternatives, would continue to occur as a result
   of further introductions where Rio Grande cutthroat trout are currently managed or could be
   considered for reintroduction. Depending on the location of ground-disturbing activities, the
   cumulative impacts of sedimentation may range from no impact to adverse for certain
   stretches of stream habitat and individual fish, especially in headwater systems (i.e., Wolf
   Creek Ski Area); however, that would be at the site-specific, project-level analysis.

   Summary of Effects
   Based on the analysis of all alternatives, including alternative A, other interrelated and
   interconnected activities, and the cumulative effects of other federal and non-federal
   activities in the planning area, the implementation of the plan components for alternatives B,
   C, and D would provide the ecological conditions that support persistence of the three fish
   species of conservation concern: Rio Grande chub, Rio Grande cutthroat trout, and Rio
   Grande sucker. With the additional land management options put forward in alternative C,
   additional monitoring would likely be required to adequately determine success in meeting
   plan component direction. Alternative D on the other hand would provide additional
   protection, especially with the added wilderness and wild, scenic, and recreational river areas
   to analyze. As noted in the Ejfects on Aquatic Ecosystems from Designation of Wilderness

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      section, these roadless areas tend to contain sources of high quality water and provide
      protection in the face of climate change and foundations for restoration of larger watersheds
      (Isaak et al. 2010, Isaak et al. 2015).

      Watershed Resources
      Overview
      Concerns over watershed health and the continued availability of usable water supplies in the
      American West contributed to the creation of the original forest reserves in 1891. The
      subsequent Organic Act of 1897 summarized these concerns by declaring that “no public
      forest reservation shall be established, except to improve and protect the forest within the
      reservation, or for the purpose of securing favorable conditions of water flows.” The original
      reports on the forest reserves that would eventually compose the Forest’s highlighted
      watershed conditions and deleterious practices that could eventually threaten the function of
      various basins. Recommendations to manage these lands as forest reserves were, in part,
      intended to preserve the ability of rivers and streams to reliably deliver both the quality and
      quantity of water necessary to sustain the agricultural economy of the San Luis Valley. Goal
       1 as expressed in the proposed forest plan to protect and restore watershed health, water
      resources, aquatic ecosystems, and the systems that rely on them was developed in response
      to the importance of these resources.
      To more effectively manage Forest lands of the San Luis Valley, the Forest was assembled
      from portions of three other national forests (the San Juan, San Isabel, and Cochetopa).
      Today the Forest manages about 37 percent of the land in Colorado’s San Luis Valley, and an
      estimated 60 percent of the annual precipitation falls on Forest lands (PRISM Climate Group
      2017). As a result of these large, high-elevation holdings, the Forest plays a unique and vital
      role in managing watershed resources and delivering water to the valley floor to support a
      variety of beneficial uses.

      Affected Environment

      General Hydrologic Setting
      The Forest occupies the headwaters of the Rio Grande, which flows nearly 2,000 miles from
      the Continental Divide in southwestern Colorado to the Gulf of Mexico. Bounded by the
      Continental Divide to the north and west, and the Sangre de Cristo Range to the east, Forest
      lands occupy an upper elevation “horseshoe” around the San Luis Valley (Figure 1). The
      Forest contains portions of six sub-basins, which are further divided into 38 watersheds and
      166 sub-watersheds (Assessment 2 (USDA Forest Service 2016)). The basins and subsequent
      divisions are identified by a hydrologic unit code or HUC: Rio Grande Headwaters, HUC
      13010001; Alamosa-Trinchera, HUC 13010002; San Luis, HUC 13010003; Saguache, HUC
      13010004; Conejos, HUC 13010005; Rio Chama, HUC 13020102. A map of the Rio Grande
      Headwater System and a map of HUC 12 Watersheds and Priority Watersheds are both
      contained on the DVD located at the back of this document.
      Forest lands typically extend downward from the upper portions of watersheds, with lower
      boundaries well above the floor of the San Luis Valley. Precipitation correlates with
      elevation, with areas along the Continental Divide receiving 50 inches or more of mean


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   annual precipitation and the valley floor receiving as little as 7 inches. This elevational
   gradient is exacerbated by the fact that much of the low-elevation precipitation is evaporated
   or transpired prior to contributing to streamflows (Assessment 2). The overall dominance of
   mountain snowpack in the hydrologic cycle produces streamflow runoff patterns that have a
   pronounced snowmelt-driven spring peak, with a recession to base flows by late summer.
   Monsoonal storms have potential to generate high localized discharges from basins receiving
   precipitation. Additionally, early fall snowpack that is subsequently subjected to rainfall has
   the potential to generate discharges similar in magnitude to springtime peak flows. Given
   these realities, Forest lands produce a majority of both runoff and aquifer recharge, which is
   vital for the agricultural success of the San Luis Valley (Wenger et al. 2010). On average,
   these watersheds generate about 1.5 million acre-feet of water per year. An estimated 1.3
   million acre-feet flows from the San Juan range while the remaining 200,000 acre-feet flows
   from the Sangre de Cristo range.
   There are approximately 11,027 miles of stream channels on the Forest; of these, 1,820 miles
   are perennial. Additionally, there are 3,161 acres of water bodies, of which 91 percent are
   perennial. Groundwater resources beneath the floor of the San Luis Valley are extensive, and
   both confined and unconfined aquifers are heavily used. North of the Rio Grande,
   groundwater resources operate as a closed basin, with no natural hydrologic connection to the
   Rio Grande or lower basin water resources. With the exception of recharge zones and alluvial
   fill along major river corridors, groundwater resources on Forest lands are typically
   disconnected from those of the valley floor. Moving into mountainous terrain, groundwater
   resources in the alluvium are separated from the deep crystalline-rock aquifers. The Forest
   also has an estimated 23,000 acres of seeps, springs, and wetlands that are sustained via
   groundwater and host groundwater dependent ecosystems.

   Existing Conditions and Trends
   The Forest Service uses the watershed condition framework to asses and characterize the
   health and condition of watersheds at the 6th level Hydrologic Unit Code (HUC). Of the 166
   6th level HUCs that have Forest lands, 14 have less than 5 percent Forest lands and have
   been excluded from analysis. The outcome of watershed condition framework analysis is that
   each of the 152 6th level watersheds with more than 5 percent of the lands managed by the
   Forest has been assigned to one of three classes to describe watershed condition.
   Class 1 or good condition watersheds are functioning properly because they exhibit high
   geomorphic, hydrologic, and biotic integrity relative to their natural potential condition.
   Class 2 or fair condition watersheds are functioning at risk because they exhibit moderate
   geomorphic, hydrologic and biotic integrity relative to their natural potential condition. Class
   3 or poor condition watersheds are at impaired function because they exhibit low
   geomorphic, hydrologic and biotic integrity relative to their natural potential condition.
   Overall watershed condition classifications (Figure 18) show that 77 (50 percent) of the
   152 watersheds are functioning properly, another 74 (49 percent) are functioning at risk, and
   only 1 watershed has impaired function, Cottonwood Creek-Kerber Creek
   (HUC 130100030102) due to the effects of historic mining. Concerns with water quality,
   aquatic habitat, aquatic biota, riparian and wetland vegetation, soils, and rangeland
   vegetation condition are major contributors to the impaired classification.



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      Further analysis of the individual categorical data shows broader trends and associated risk
      factors that have caused watersheds to be downgraded from Class 1 to Class 2. The
      watershed condition indicators that are most heavily influencing the reported condition
      classifications are water quality, aquatic habitat, aquatic biota, riparian/wetland vegetation,
      roads and trails, soils, and rangeland vegetation. Assessment 2 identified the following land
      uses and activities that are influencing these attributes the most:
      •   uncontrolled motorized recreation,
      •   historical and current livestock grazing in both uplands and riparian areas/wetlands,
      •   lack of road and trail maintenance,
      •   introduction of exotic and invasive aquatic and terrestrial species, and
      •   natural range of variation issues relative to fire regimes and insect and disease activity.
      More detailed analysis and discussion of watershed condition indicators is contained in
      Assessment 2.
      Water quality across the planning area is generally good, with 28 waterbodies listed as
      impaired on the State of Colorado 303(d) monitoring and evaluation list (Table 45). For the
      Rio Grande headwaters, 74 percent of all stream miles support at least one, and typically all,
      classified water uses. The numbers are substantially lower for reservoirs and lakes; however,
      the vast majority of impoundments in the basin reside off of Forest lands. Most waterbodies
      listed are present due to unacceptable heavy metals loading and pH levels related to legacy
      impacts from mining. Many of these stream segments have benefitted from substantial
      restoration efforts and even superfund designation, particularly the Alamosa River and
      Willow Creek near Creede.


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   Table 45. 303(d) listed impaired waterbodies in the Rio Grande Basin, 2016
                                                                                          Clean Water
       Waterbody                                                                          Act Section     303(d)
                                    Segment Description                     Portion
      Identification                                                                         303(d)       Priority
                                                                                          Impairment
                            Alamosa River, from Ranger Creek to
         CORGAL03d                                                             all         Aluminum        High
                                       Terrace Res.
         CORGAL13          Hot Creek from source to La Jara Creek              all         Iron(Trec)      High
                         Rio Grande, tributaries within the Rio Grande
         CORGAL20                                                              all             pH          High
                                             Forest
                         All lakes and reservoirs tributary to La Jara       La Jara       Dissolved
         CORGAL25                                                                                          High
                             Creek from the source to Hot Creek.            Reservoir       oxygen
                           La Garita Creek, including tributaries from
                          the source to Geronimo Creek. The North,         North Fork
                                                                                           Arsenic,
      CORGCB02a           Middle and South Forks of Carnero Creek,          Carnero                        High
                                                                                          Aquatic Life
                            including tributaries from their source to       Creek
                                      mainstem of Carnero
                           La Garita Creek, including tributaries from
                          the source to Geronimo Creek. The North,         South Fork
      CORGCB02a           Middle and South Forks of Carnero Creek,          Carnero         Arsenic        High
                            including tributaries from their source to       Creek
                                      mainstem of Carnero
                          La Garita Creek, source to 38 Rd, Carnero         La Garita     Aquatic Life,
      CORGCB02b                                                                                            High
                                    Creek, source to 42 Rd                   Creek          Arsenic
                          Mainstem Carnero Creek from inception to
      CORGCB02C                                                                all          Arsenic        High
                                         42 Road
                         All tributaries to closed basin except those in     Willow
         CORGCB03                                                                           Copper         High
                                       2a, 2b, 2c, and 4-13                  Creek
         CORGCB04        San Luis Creek, from source to Piney Creek            all          Arsenic        Low
                           Kerber Creek from Brewery Creek to the
      CORGCB09b                                                                all          Arsenic        Low
                              confluence with San Luis Creek.
                                                                             Kerber
                                                                           Creek from
                                                                            US Gulch
                           Kerber Creek from Brewery Creek to the                         Aquatic Life
      CORGCB09b                                                              to the                        High
                              confluence with San Luis Creek.                             (provisional)
                                                                           confluence
                                                                            with San
                                                                           Luis Creek
                         Saguache Creek including all tributaries from
                                                                                            Arsenic,       High
      CORGCB12a           the boundary of the La Garita Wilderness             all
                                                                                           Iron(Trec)      /Low
                                    Area to Ford Creek
                         Saguache Creek including all tributaries from
                                                                           East Pass
      CORGCB12a           the boundary of the La Garita Wilderness                         Sediment        High
                                                                            Creek
                                    Area to Ford Creek
                                                                                           Ammonia,
         CORGCB19                        San Luis Lake                         all                         High
                                                                                           Iron(Trec)
                                                                           South Clear
         CORGRG02         Rio Grande River, source to Willow Creek                         Iron(Trec)      High
                                                                             Creek
                           Rio Grande, just above Willow Creek to
      CORGRG04a                                                                all            Lead         High
                           confluence with South Fork Rio Grande
                         Rio Grande from South Fork Rio Grande to
      CORGRG04b                                                                all        Temperature      High
                                         Hwy 285



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                                                                                         Clean Water
          Waterbody                                                                      Act Section     303(d)
                                     Segment Description                     Portion
         Identification                                                                     303(d)       Priority
                                                                                         Impairment
                                                                            S Fork Rio
                           Rio Grande from South Fork Rio Grande to
         CORGRG04b                                                          Grande to      Arsenic        Low
                                           Hwy 285
                                                                            Del Norte
                                                                             Del Norte
                           Rio Grande from South Fork Rio Grande to
         CORGRG04b                                                          to Highway     Copper         High
                                           Hwy 285
                                                                                285
                                                                                           Arsenic,       Low /
         CORGRG04c          Rio Grande from Hwy 285 to County Line              all
                                                                                           Copper         High
                             West Willow Creek, East Willow Creek,                        Cadmium,
         CORGRG07                                                               all                         M
                                  Willow Creek and tributaries                            Lead, Zinc
                                                                               North
                           South Fork Rio Grande and tributaries from                                     Low /
         CORGRG09                                                            Branch of   Arsenic, Zinc
                                     source to Rio Grande                                                 High
                                                                            Pass Creek
                             Mainstem of San Francisco Creek (Rio
                                                                                         Aquatic Life,    High /
         CORGRG11         Grande County), including all tributaries, from       all
                                                                                           Arsenic         Low
                                 the source to Spring Branch
                           Mainstem of the Rio Grande from the Rio
                          Grande/Alamosa County line to the Old State                    Aquatic Life
         CORGRG12                                                               all                       Low
                            Bridge east of Lobatos (Conejos County                       (provisional)
                                            Road G)
                             Rock Creek from source to Monte Vista
         CORGRG19                                                               all        Arsenic        Low
                                            Canal
                            Cat Creek and tributaries from source to
         CORGRG20a                                                              all      Aquatic Life     High
                                             Forest
                                                                            Upper Rito
                                                                            Seco below
         CORGRG28         Rito Seco, from source to Salazar Reservoir                       E. coli       High
                                                                              Battle
                                                                             Mountain


      All public water supplies in the San Luis Valley use water that either wholly or partially
      originates on Forest lands. In 2014 the Rocky Mountain Region of the Forest Service entered
      into a memorandum of understanding with the Colorado Department of Health and the
      Environment to recognize department-delineated source water protection areas as municipal
      supply watersheds. As a consequence, Forest lands in these areas receive additional
      consideration during planning to maintain the quantity and quality of water originating in
      these watersheds.
      Given the relative lack of long-term monitoring data on watershed condition, trend
      assessment is difficult at present. However, several inferences can be made based on
      alterations in land management practices over the last several decades. First, the amount of
      permitted and trespass grazing on the Forest has declined over time, likely resulting in
      improvements in watershed resource conditions, particularly riparian vegetation and
      streambank stability. Second, declines in timber harvest, and associated revegetation of
      harvested areas and previously used roads and skid trails, has likely reduced sediment
      delivery and decreased the connected disturbed areas in many watersheds. Finally, projects to
      decommission unnecessary roads and remedy problems associated with unauthorized roads
      and trails have been successful in reducing impacts to watershed resources.

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   Direct and Indirect Effects
   A summary impacts analysis for watershed resources would rely primarily on an assessment
   of which management activities have the greatest ability to impact watershed resources, and
   which alternatives propose the greatest numbers of acres that are available to those
   management activities.
   It can be reasonably anticipated that the greatest future impacts to watershed resources would
   come from those management activities that are already known to be primary influences on
   current forest conditions, namely system roads and trails, uncontrolled motorized use on
   unauthorized roads and trails, and livestock grazing in riparian areas (Assessment 2).
   Relative to natural conditions, these activities have the potential to lead to accelerated soil
   erosion and compaction, sediment delivery to streams and wetlands, and alterations to stream
   channel form and function. Expansion of both system road and unauthorized network of
   roads and trails would be the most likely activities to impact watershed resources.
   In addition to the impacts discussed in the preceding sections, the Forest works with local
   partners to complete a wide variety of watershed restoration projects. These types of projects
   typically focus on the improvement of riparian vegetation and streambank stability, or
   correcting stream-road and stream-trail interactions that are causing increased erosion and
   sedimentation. The conduct of these restoration activities is not expected to vary by
   alternative.
   Alternatives A through D essentially represent varying partitions of acreage among a variety
   of potential uses, ranging from restrictive management prescriptions (e.g., wilderness) to
   general forest areas that are suitable for harvest, grazing, and dispersed/motorized recreation.
   Among all alternatives the acreage of suitable rangeland remains nearly constant with the
   exception of small alterations based on special area designations. As a result, watershed
   resource impacts from livestock grazing would not vary significantly by alternative. Among
   the action alternatives, alternative D represents a minimization of acreages that would be
   available for expansion of the road/trail network, particularly for motorized vehicles and
   timber harvest. As a result, alternative D would likely have the fewest overall impacts to
   watershed resources. Alternatively, alternative C represents a maximum number of acres
   available for the potential expansion of the motorized trail network, and the maximum
   number of acres suitable for timber harvest and the necessary access roads. Consequently,
   alternative C would likely have the greatest impacts to watershed resources. The watershed
   impacts of alternative A would be similar in magnitude to those of alternative C, even with a
   reduced suitable timber base, due to the lack of designated areas and recommended
   wilderness. The potential watershed impacts of alternative B represent a relative midpoint
   among alternatives A, C, and D. None of the alternatives are likely to detrimentally impact
   municipal water supplies.

   Effects on Watershed Resources from Vegetation Management
   Timber harvesting and fuels treatments have the potential to impact watersheds and stream
   health. Impacts fall into two broad categories, impacts associated with the canopy removal
   itself, and impacts associated with the road network required for successful timber harvest,
   which are discussed later in this section. Major reductions in forest canopy can increase
   water yield in high-elevation forested watersheds such as spruce-fir or cool-moist mixed-


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      conifer forests. These increases can be large in some areas. However, in the hydroclimatic
      regime of the planning area, annual climate variations are much more important than
      alterations from timber harvest. Flow increases occur mostly during spring runoff and during
      the summer; they are not measurable until 25 percent of the basal area of a forested
      watershed is affected (USDA Forest Service 1980). Large openings can suffer snow scour
      that can reduce site moisture and water yield (USDA Forest Service 2006).
      Timber harvest treatments would be spread over time throughout many forested watersheds
      in the planning area; however, their exact amount, location, and timing is unknown until
      specific projects are proposed. It is not expected that watersheds would receive timber
      harvesting treatments that exceed 25 percent basal area removal over the life of the plan;
      therefore, detectable changes in water yield would, generally, not be a concern. On a
      site-specific basis, certain sensitive watersheds can have water yield concerns. Some
      watersheds are prone to mass failure and may be especially sensitive to small changes in
      water yield. Other watersheds have experienced large amounts of disturbance as result of past
      management activities, severe climatic events, or large wildfires, and may have water yield
      issues. Impacts to those watersheds is considered on a project-by-project, site-specific basis
      in order to evaluate water yield concerns. The appropriate forest plan direction would be
      applied to reduce these concerns.
      Sediment is the primary pollutant associated with water quality impacts from timber harvest.
      Implementation of water conservation practices, best management practices, guidelines, and
      relevant forest plan direction applied to all timber harvesting activities are typically effective
      in preventing or reducing sediment delivery to water bodies. Road construction associated
      with timber harvesting has a higher potential to impact water quality. New road construction
      has the greatest potential for direct or indirect watershed impacts associated with timber
      harvesting (Megahan and Kidd 1972, Reid and Dunne 1984). Reconstruction on stabilized
      roads that are covered with vegetation can generate increased sediment (Swift 1984), just as
      new road construction is a large source of sediment to forested watershed streams. Vegetation
      management activities in the planning area will comply with the most current best
      management practices (USDA Forest Service 2012) to reduce these impacts.
      There is no meaningful variation in the amount of fuels treatment proposed among the
      alternatives; therefore, the potential impacts to watersheds from fuels treatments would likely
      be identical under all of the alternatives. In general, fuels treatments would not be expected
      to result in measurable impacts to water yield because such treatments (including mechanical
      treatments and prescribed burns) primarily target the understory and small-diameter trees;
      therefore, they may not measurably alter basal area.
      For timber harvest, the nature of impacts to watershed resources are consistent by alternative,
      but would vary in magnitude based on the acreage of suitable timber base, recommended
      wilderness, roadless management areas, and designated areas. Acres of suitable timber base
      vary substantially by alternative, with all action alternatives representing a substantial
      increase over alternative A. Based on acreage of suitable timber base and forest plan
      direction, alternative C would be expected to have the most watershed impacts from timber
      harvest, followed by alternatives A, B, and then D.




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   Effects on Watershed Resources from Livestock Grazing
   Excessive or unrestricted grazing by permitted livestock and big game may result in
   widespread impacts on watershed health and water resources. Grazing pressure in sensitive
   areas may degrade watershed conditions through the direct, physical removal of riparian and
   wetland vegetation, and trampling of streambanks and wet areas, or through indirect changes
   to vegetation species composition, decreased shading/increased water temperatures, and
   changes in water chemistry. Areas commonly impacted by livestock grazing include
   mountain grasslands, riparian areas, wetland ecosystems, alpine vegetation, semi-desert
   grasslands, and places where livestock concentrate directly on or near water sources. These
   impacts can be magnified on drier grazing allotments where animals tend to congregate
   around the limited available water resources.
   For permitted livestock grazing, as well as the acres of land suitable for livestock grazing,
   there is no meaningful difference among the alternatives. However, various plan direction
   that is common to alternatives B, C, and D place an increased emphasis on the health and
   functionality of various watershed components (e.g., riparian vegetation) As a consequence,
   impacts to watershed resources from livestock grazing will be greatest under alternative A,
   and lesser under alternatives B, C, and D.

   Effects on Watershed Resources from Fire Management
   Watershed studies and post-fire monitoring in snow-dominated hydrologic systems indicate
   that wildfire has the potential to increase annual water yield similar to timber harvest
   (Troendle and Bevenger 1996). Additionally, stand-replacing wildfires have the potential to
   substantially alter both snow accumulation and melt patterns, with melt typically coming
   earlier and more rapidly, potentially resulting in shifts in both stream peak timing and
   magnitude. Wildfire can also change, sometimes significantly, the response to short-duration,
   high-intensity summer thunderstorms, resulting in considerable soil erosion, sediment
   delivery, flash floods, higher peak flows, and downcutting of stream channels (Carlson
   2008). High-severity fire consumes ground cover and alters the soil surface, creating water
   repellency. The water repellency reduces infiltration rates, resulting in erosion and overland
   flow to channels. The increased delivery of sediment and streamflow produces debris flows
   and floods that have the potential to downcut channels and produce floods. Such responses
   and associated effects, however, are generally seen only for the first 3 to 5 years after a
   significant high-severity fire due to vegetative recovery and its ability to assimilate
   thunderstorm intensity, duration, and volume.
   Local observations (I. Geroy, U.S. Forest Service Hydrologist) during 2013-2017 of post-fire
   watershed response to the West Fork Complex Fire indicate that the watershed impacts from
   high and moderate soil burn severity fires in the spruce-fir forests of the Forest are not as
   extreme as those observed in fires along the Front Range of Colorado. This can likely be
   attributed to a multitude of factors, including differences in vegetation type, fire regime
   condition class, topography, and soils.
   In addition to the watershed impacts from the fire itself, fire management activities have the
   potential to impact watershed resources, primarily through temporary road and fire line
   construction, which can introduce erosion and sedimentation issues. As a standard practice,



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      resource impacts from fire suppression are mitigated or rehabilitated once it is safe to do so,
      meaning the watershed impacts from suppression are typically minimal.
      Direction for fire management zones does not vary substantially by alternative; as a
      consequence, impacts to watershed resources from fire management are not expected to vary
      significantly among alternatives A through D.

      Effects on Watershed Resources from Roads and Trails
      The construction and maintenance of roads has long been recognized as a potential and major
      source of sediment in forested watersheds (Megahan and Kidd 1972, Reid and Dunne 1984).
      Roads can change natural runoff patterns by increasing the amount of impervious surface in a
      watershed by intercepting overland flow or shallow subsurface runoff, or both. The network
      of road drainages generally routes this water, and the associated sediment, directly into
      streams (MacDonald and Stednick 2003). Sediment is the major pollutant associated with
      roads on public lands. Sedimentation in streams impacts water quality, which can, in turn,
      impact aquatic life. Sediment can also alter channel morphology, which can subsequently
      impact aquatic habitat. Road construction and maintenance activities can result in physical
      changes to streams, including floodplain and riparian habitat modifications, channel
      degradation, and fish passage reduction.
      Poorly designed and maintained road/stream interactions can necessitate increased road
      stabilization and maintenance costs, and lead to rapid sedimentation and filling in of water
      storage reservoirs and ponds. Ecological impacts commonly associated with stream/road
      interactions include aquatic, riparian, and wetland habitat degradation. The watershed
      impacts associated with trail networks are similar to those associated with roads, but are
      typically less in magnitude per mile of length. Management actions to reduce motorized
      cross-country travel and limitations on off-road game retrieval and dispersed camping have
      the potential to reduce unauthorized roads and trails, which typically have greater impacts
      than National Forest System roads.
      The magnitude of impacts to watershed resources from roads and trails would depend
      primarily on the number of acres that are designated for uses that would result in expanded
      road or trail networks. The primary expansion potential for the roads comes from harvest on
      suitable timber base acres. As a result, alternative C, which has the largest suitable timber
      base, no recommended wilderness, and minimal roadless management acres would likely
      have the greatest watershed impacts from roads, trails, and travel management. Conversely,
      alternative D, which maximizes recommended wilderness, roadless management acres,
      prohibits off-road game retrieval, and maximizes the number of acres of special designations,
      would likely have the fewest impacts to watershed resources. Alternatives A and B are likely
      to have similar impacts to watersheds from roads and trails.

      Effects on Watershed Resources from Water Diversions and Water
      Development Projects
      The headwaters of the Rio Grande lie in Colorado’s Water Division 3 and are the main water
      source for a heavily over-appropriated system. Water diversions have the potential to reduce
      or eliminate downstream flows, which may, in turn, affect channel size and limit habitat for
      aquatic and riparian species. Dams alter flow regimes by storing runoff for later release.
      Dams and diversions can impose substantial barriers to migration of aquatic species and can

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   dewater streams during certain time periods, which can, in turn, fragment aquatic
   ecosystems. In some cases, altered flow regimes prolong periods of runoff and can enhance
   riparian vegetation communities. Water wells can reduce the amount of water in connected
   streams, springs, and seeps, which can have similar impacts to structural water diversions.
   Dams impact stream channels in different ways, depending on their operation. Reservoirs
   store sediment and release sediment-free water below the dam. Water storage reduces peak
   flows, which can reduce the frequency and magnitude of flushing flows. The result can be the
   reduction of channel capacity, alteration of aquatic habitat, and changes in temperature and
   other factors that can affect spawning and reproductive success of aquatic species.
   In 2000, the Forest Service entered into a settlement in Case No. 81-CW-183 (State of
   Colorado 2000). The Federal government obtained water rights for administrative,
   consumptive, and instream purposes as part of this settlement. The decree provides for mean
   monthly streamflows that encompass both low flow periods and peak spring flows in order to
   maintain acceptable channel morphology. Due to both the decreed water rights of the Federal
   government and basin over-appropriation, no new water uses are anticipated on Forest lands
   during the planning period. As a consequence, the impacts of water uses and developments
   are unlikely to vary by alternative.

   Effects on Watershed Resources from Designation of Wilderness, Wild,
   Scenic, and Recreational Rivers, Research Natural Areas, Special Interest
   Areas, and Scenic Trails and Byways
   In general, designation of special areas such as wilderness, wild, scenic, and recreational
   rivers, research natural areas, special interest areas, and scenic trails and byways have the
   potential to limit the type of activities that result in a large portion of management-related
   watershed impacts. Particularly, the reduction of suitable timber base due to an increase in
   the acres of recommended wilderness would result in reduced watershed impacts from timber
   harvest and road construction/reconstruction. The watershed impacts from the designations
   such as wild, scenic, and recreational river eligibility, research natural areas, and special
   interest areas would vary based on the reason or purpose of the designation, but they are not
   expected to exceed the impacts that would potentially occur under alternative A. As a
   consequence, the nature and magnitude of impacts to watershed resources under alternatives
   A and C would be similar, and would be greater than the expected impacts of alternative B.
   Alternative D would provide the lowest level of watershed resource impacts, primarily due to
   the large number of acres of recommended wilderness.

   Effects on Watershed Resources from Mineral Resource Activities
   Mining activities conducted may include gravel operations, landscape rock, and hard-rock
   mining. New mining operations for locatable minerals are expected to be small and limited in
   quantity; however, to a certain extent, this cannot be predicted. Federal authority over mining
   activities allows for the setting of terms and conditions in operating plans to minimize
   impacts to public lands; however, mining activities can be expected to impact both watershed
   health and water quality.
   Due to the variability and uncertainty in mineral extraction there is not expected to be a
   meaningful difference in impacts to watershed resources from mineral extraction under
   alternatives A though D.


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      Effects on Watershed Resources from Climate Variability
      Over the past several decades, the mountains of southwest Colorado have seen reductions in
      peak snowpack and substantial shifts in the timing of snowmelt and snowmelt runoff toward
      earlier in the year (Clow 2010, Harpold et al. 2012). These trends are expected to continue or
      potentially accelerate in the future with rising temperatures and increasing variability of
      precipitation inputs (Lute et al. 2015, Scalzitti et al. 2016). Alterations in the timing and
      magnitude of stream discharges have the potential to generate a wide variety of watershed
      impacts. Increased peak discharges have the potential to alter and damage stream channels
      and streamside vegetation. Reduced late-season flows and increased air temperatures could
      reduce the spatial extent and health of riparian and wetland vegetation, further impacting
      streambank stability and the ability of watersheds to sustain base flow. Increases in air
      temperatures and reductions in late-season flows will likely result in increased stream
      temperatures and have the potential to increase the concentration of various contaminants and
      alter the cycling of sediment and nutrients. Additionally, most streams in the headwaters of
      the Rio Grande are anticipated to see reductions in total annual discharge, which will affect
      both the human and natural environment through decreased water availability during the
      growing season.
      Climate variability is the same across all alternatives; however, alternatives that limit
      disturbances or focus protection on key watershed components such as wetlands and riparian
      vegetation will most successfully function under a variety of climate scenarios. As a
      consequence, alternative D is likely to realize fewer impacts associated with climate change
      to watershed resources, followed by alternatives B, C, and A.

      Cumulative Effects
      Cumulative effects were considered for the implementation period of the forest plan revision,
      from the watershed boundary of the Forest down to the New Mexico-Colorado border.
      Watershed cumulative effects include the total impacts of runoff, erosion, sediment or water
      yield, and water quality that result from the incremental impact of the alternatives when
      added to other past, present, and reasonably foreseeable future actions occurring in the same
      natural drainage basin or watershed.
      The most pertinent past and current effects that need to be considered are the impacts from
      the management of livestock grazing, timber harvest, and travel management. Reasonably
      foreseeable future actions included in this analysis are widespread salvage projects that are in
      various stages of planning across the Forest, and potential village development at Wolf Creek
      Pass.
      Widespread salvage projects would primarily occur on lands that were identified as suitable
      timber base under all alternatives; as a consequence, the programmatic impacts of these
      projects was accounted for in the analysis of impacts from harvest on suitable timber base,
      and do not provide additive cumulative effects.
      When combined with the past, present, and reasonably foreseeable future actions, the effects
      discussed above do not combine to create significantly larger cumulative impacts to
      watershed resources. As a consequence, total cumulative impacts mirror the indirect effects,
      with the impacts from alternatives A and C being similar in nature and magnitude, while the



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   impacts from alternative B would be lesser in magnitude. Alternative D would have the
   fewest watershed resource impacts.

   Riparian, Wetlands, and Fens
   Overview
   In the arid and semiarid landscape of the southwestern United States, areas that retain
   moisture and associated vegetation types have long been recognized as important for both
   ecosystem function and human benefits. The presence of riparian areas, wetlands, and fens
   across the Forest provide key ecosystem services that are necessary for the long-term health
   and well-being of both aquatic and upland areas.
   Riparian areas and wetlands provide numerous ecosystem services that are vital to the role of
   the Forest as a supplier of water to downstream users. These services include stabilizing
   streambanks and reducing erosion, mitigating the impacts of floods, improving water quality
   through trapping sediment and other pollutants, and sustaining late season base flows. In
   addition to providing multiple benefits to water users, riparian and wetland ecosystems are
   vital to a wide variety of flora and fauna. Both aquatic and terrestrial wildlife species depend
   on the forage and cover provided by these habitat types, and many rare plant species exist
   only within the confines of riparian and wetland ecosystems. Finally, these ecosystems serve
   as a focal point for recreation across the Forest, with visitors consistently choosing to camp
   and recreate near the water sources that both sustain, and are sustained by, riparian and
   wetland ecosystems.

   Affected Environment, Existing Conditions, and Trends
   Riparian and wetland ecosystems across the arid West have long been recognized as unique
   areas that have high levels of productivity and host a disproportionate number of plant and
   animal species. Due to the relative abundance of water, these same areas have long been a
   focus of human development and recreation. Based on digitized national wetland inventory
   mapping, there are 42,862 acres of wetlands and water bodies within the Forest, of which
   lakes and rivers comprise 4,687 acres or 11 percent. This estimate for wetlands and water
   bodies represents about 2 percent of the total area in the Forest. Slightly more than half, 55
   percent, of the national wetland inventory mapped acres are freshwater herbaceous wetlands.
   Shrub wetlands make up another 30 percent. When broken down by hydrologic regime,
   saturated wetlands, which are the most common, comprise 73 percent of national wetland
   inventory acres. Within the Forest, 82 percent of all lakes are mapped with a
   dammed/impounded modifier, indicating that most lakes are reservoirs of one kind or
   another. Beavers influence only 4 percent of all wetland acres, but 23 percent of ponds are
   mapped as beaver ponds and 6 percent of shrub wetlands are mapped with beaver influence.
   Sixty-five percent of all national wetland inventory acres occur in the subalpine ecoregions,
   which make up roughly the same proportion of the Forest’s land area. Another 29 percent of
   national wetland inventory acres occurs in the alpine zone. Lower-elevation zones contain
   very few wetland acres.
   Riparian areas are the important ecosystems along streams, lakes, and other water bodies.
   Riparian areas are actually three-dimensional: they extend down into the groundwater, up
   above the canopy, outward across the floodplain, up the near-slopes that drain to the water,

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      laterally into the terrestrial ecosystem, and along the water course at variable widths. There
      are approximately 130,000 acres of riparian areas, or 7 percent of the Forest, associated with
      more than 11,000 miles of streams and other wetland areas.
      Plants in a riparian area, like willows and sedges, depend on the water source. This distinct
      water-loving vegetation makes most riparian areas easy to recognize. Riparian areas are
      home to a greater variety of aquatic and terrestrial wildlife than any other habitat type across
      the landscape. Riparian areas are also important in maintaining water quality and streamflow
      by capturing sediment, trapping organic matter, and regulating flooding.
      The montane fen ecological system includes extreme rich fens and iron fens, both rare in the
      southern Rocky Mountains ecoregion. Since this system relies on groundwater, any
      disturbances that impact water quality or quantity are a threat. Fens, wetlands, seeps, and
      springs are central to ecosystem resilience in light of uncertainties such as climate change.
      Preliminary evaluations indicate that about 73 percent of wetland acres on the Forest are
      saturated hydrologic regimes, which likely consist in large part of fens.
      At the 6th level watershed scale, riparian and wetland areas have been rated primarily as fair
      (50 percent) or good (39 percent), with only 11 percent, or 16 watersheds, receiving a rating
      of poor during the watershed condition framework assessment (Assessment 2, Table 27)
      (USDA Forest Service 2016). Factors that influenced the riparian and wetlands ratings
      include uncontrolled motorized recreation, historical and current livestock grazing in both
      uplands and riparian areas/wetlands, lack of road and trail maintenance, and introduction of
      exotic and invasive aquatic and terrestrial species.
      Between 2008 and 2011, the Colorado Natural Heritage Program partnered with Colorado
      Parks and Wildlife to map and assess the condition of wetlands throughout the Rio Grande
      headwaters river basin, which includes the Forest.
      In total, 77 wetland sites were surveyed across the Forest, including 30 riparian shrublands,
      27 wet meadows, 17 fens, 2 riparian woodlands, and 1 marsh. Nearly 500 plant taxa were
      encountered during the surveys, including 445 identified to species level. Of the 445 species
      identified, 420 (94 percent) were native species and 25 (6 percent) were nonnative species.
      Noxious weeds, an aggressive subset of nonnatives, were present in only four plots.
      Wetland condition measures indicate that wetlands on the Forest are in excellent to good
      condition. Floristic quality assessment indices were high for most wetlands surveyed, though
      did vary by both elevation and wetland type. Ecological integrity assessment scores rated
      most wetlands with an A- or B-rank, indicating that wetlands were either in reference
      condition or deviated only slightly from reference condition. A. handful of wetlands received
      C-ranks, due to stressors including grazing, hydrologic modifications, and surrounding land
      use.




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   Direct and Indirect Effects
   A summary impacts analysis for riparian and wetland ecosystems would rely primarily on an
   assessment of which management activities have the greatest ability to impact these areas,
   and which alternatives propose the greatest numbers of acres that are available to those
   management activities.
   It can be reasonably anticipated that the greatest fUture impacts to these ecosystems would
   come from those management activities that are known to have resulted in impacts during
   previous planning periods, namely: system roads and trails, uncontrolled motorized use on
   unauthorized roads and trails, and livestock grazing (Assessment 2).
   Alternatives A through D essentially represent varying partitions of acreage among a variety
   of potential uses, ranging from restrictive management prescriptions (e.g., wilderness) to
   general forest areas that are suitable for harvest, grazing, and dispersed/motorized recreation.
   Among all alternatives the acreage of suitable rangeland remain nearly constant with the
   exception of small alterations based on special area designations. As a result, livestock
   grazing impacts to riparian and wetland ecosystems are expected to remain consistent with
   those observed in the previous planning period, and will not vary significantly by alternative.
   Among the action alternatives, alternative D represents a minimization of acreages that
   would be available for expansion of the road/trail network, particularly for motorized
   vehicles and timber harvest. As a result, alternative D would likely have the fewest impacts
   on riparian and wetland ecosystems. Alternatively, C represents a maximum number of acres
   available for the potential expansion of the motorized trail network, and the maximum
   number of acres suitable for timber harvest and the necessary access roads. Consequently,
   alternative C would likely have the greatest impacts to riparian and wetland ecosystems. The
   impacts of alternative A would likely be similar in magnitude to those of alternative C, even
   with a reduced suitable timber base, due to the lack of designated areas and recommended
   wilderness. The potential watershed impacts in order of magnitude would range from
   alternative D at the low end, to alternative B, followed by alternatives A and C at the high
   end.

   Effects on Riparian, Wetlands, and Fens from Vegetation Management
   Vegetation management and timber harvest within riparian and wetland ecosystems is
   generally prohibited or constrained sufficiently such that these activities do not remove
   riparian vegetation or cause direct manipulation of wetlands. The primary exception to this
   practice is the placement and construction of roads necessary to complete timber harvest and
   vegetation management activities. Roads directly alter riparian vegetation when, by
   necessity, they cross the riparian corridors associated with streams. These alterations come by
   means of both riparian vegetation removal at the site of the stream crossing, and via
   alteration of surface and subsurface flow patterns, which can subsequently alter riparian
   vegetation communities. Roads are not permitted in wetland ecosystems, but do have the
   potential to alter surface and subsurface flow patterns in the vicinity of these areas. Other
   impacts from timber harvest include the alteration of the hydrologic cycle in the immediate
   vicinity of the harvest, which may modify the timing and magnitude of runoff, and change
   the amount of water available to riparian and wetland areas.



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      The impacts on riparian and wetland ecosystems from timber harvest and vegetation
      management would vary based primarily on the number of acres found to be part of the
      suitable timber base. Acres of suitable timber base vary substantially by alternative, with all
      action alternatives representing a substantial increase over alternative A. Based on suitable
      timber acreage and management direction, alternative C would be expected to have the
      greatest impacts to riparian and wetland areas, followed by alternatives A, B, and D,
      respectively.

      Effects on Riparian, Wetlands, and Fens from Livestock Grazing
      Improper grazing practices can impact riparian area and wetland ecosystems through several
      mechanisms. Grazing impacts such as trailing along and through riparian and wetland areas,
      long seasons of use, and poor timing of livestock grazing can result in long recovery times,
      soil compaction, pugging, hummocking, soil sloughing, and changes in desirable vegetation
      species composition. In addition, unmanaged livestock grazing can crush and uproot plants
      due to trampling. Overgrazing and excessive seasons of use can decrease plant vigor and root
      reserves, which could result in plant mortality and loss of ground cover. Resulting bare soil
      could in turn reduce infiltration and increase runoff, impacts that subsequently lead to
      problems with physical channel stability that can further damage riparian plants via stream
      channel downcutting and altered patterns of sediment production and deposition. For these
      reasons, unmanaged livestock grazing impacts could decrease the abundance and distribution
      of desirable native plants and change the composition, structure, and function of the affected
      riparian area and wetland ecosystems. In particular, native willows are often selectively and
      excessively browsed by cattle and frequently sustain impacts when unmanaged livestock
      grazing practices occur over time.
      The impacts described above are typically avoided through proper rangeland management,
      which entails the application of the standards, guidelines, and management approaches
      detailed in this forest plan revision, along with a variety of other tools. Periodic monitoring
      and assessment of conditions can drive changes in management practices to remedy
      undesirable conditions. For permitted livestock grazing, as well as the acres of land suitable
      for livestock grazing, there is no meaningful difference among the alternatives. However,
      various plan components that are common to alternatives B, C, and D place an increased
      emphasis on the health and functionality of riparian vegetation, wetlands, and fens. As a
      consequence impacts to watershed resources from livestock grazing would be greatest under
      alternative A, and less under alternatives B, C, and D.

      Effects on Riparian, Wetlands, and Fens from Recreation
      Riparian and wetland areas typically attract recreation activities such motorized travel,
      camping, hiking, mountain biking, and horseback riding. If not properly managed, these
      activities have the potential to impact riparian areas and wetland ecosystems by physically
      removing vegetation, or crushing or displacing shrubs and herbs, which results in mortality to
      plants and the loss of canopy and ground cover. If recreational activities (particularly
      motorized) occur in riparian or wetland areas when soils are saturated, severe rutting
      typically occurs, which can lead to erosion and loss of native riparian and wetland ecosystem
      vegetation. Recreational activities also have the potential to introduce and spread terrestrial
      and aquatic invasive exotic plants that compete with native plants for space, water, and


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   nutrients. The extent of these impacts depend in large part on the vegetation type, plant
   growth form (graminoids are more resistant to damage compared to trees, shrubs, and forbs),
   slope, soil type, season, and weather conditions (Hill and Pickering 2009). Impacts to
   riparian area and wetland ecosystems from unmanaged recreational activities would be
   similar for all the alternatives.
   Alternatives that place an emphasis on nonmotorized forms of recreation are most likely to
   avoid negative impacts to riparian and wetland ecosystems. As a consequence, alternative D
   would likely have the fewest recreational impacts to riparian and wetland resources, followed
   by alternative B, then A and C.

   Effects on Riparian, Wetlands, and Fens from Water Diversions and Water
   Development Projects
   Water diversions and developments have a wide variety of impacts on riparian and wetland
   ecosystems. The reduction of available water has the potential to reduce the spatial extent and
   persistence of these areas, limit nutrient availability, and alter the species composition to
   favor those plants that are more resistant to water shortage. In other cases, sustained flow
   through late season releases from reservoirs has the ability to enhance the health of riparian
   and wetland ecosystems. The existing riparian vegetation within the planning area has
   persisted through substantial flow modifications for more than the last 100 years in the Rio
   Grande Basin.
   In 2000, the Forest Service entered into a settlement in Case No. 81-CW-183 (State of
   Colorado 2000). The Federal government obtained water rights for administrative,
   consumptive, and instream purposes as part of this settlement. The decree provides for mean
   monthly streamflows that encompass both low flow periods and peak spring flows to sustain
   a variety of ecosystem functions, including riparian vegetation. Due to both the decreed
   water rights of the Federal government and basin over-appropriation, no new water uses are
   anticipated on Forest lands during the planning period. As a consequence, the impacts of
   water uses and developments on riparian and wetland ecosystems are not expected to vary by
   alternative.

   Effects on Riparian, Wetlands, and Fens from Designation of Wilderness, Wild,
   Scenic, and Recreational Rivers, Research Natural Areas, Special Interest
   Areas, and Scenic Trails and Byways
   The designation of special areas such as wilderness, wild, scenic and recreational rivers,
   research natural areas, special interest areas, and scenic trails and byways have the potential
   to limit the type of activities that frequently impact riparian and wetlands ecosystems.
   Particularly, the reduction of suitable timber base due to an increase in the acres of
   recommended wilderness would result in reduced impacts to riparian and wetland
   ecosystems. This results from decreases in timber activity that could potentially alter the
   hydrology of these ecosystems, and decreased road construction activities that typically
   directly impact riparian areas. Impacts to riparian and wetland ecosystems from designations
   such as wild, scenic, and recreational river eligibility, research natural areas, and special
   interest areas will vary based on the reason or purpose of the designation, but in general
   would likely protect or enhance riparian and wetland areas.



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      As a consequence, the nature and magnitude of impacts to riparian and wetland ecosystems
      under alternatives A and C would be similar, and would be greater than the expected impacts
      of alternative B. Alternative D would provide the lowest level of impacts to these systems
      primarily due to the large number of acres recommended wilderness.

      Effects on Riparian, Wetlands, and Fens from Mineral Resource Activities
      Mining activities conducted in the planning area may include gravel operations, landscape
      rock mining, and hard-rock mining. New mining operations for locatable minerals are
      expected to be small and limited in quantity; however, to a certain extent, this cannot be
      predicted. Federal authority over mining activities allows for the setting of terms and
      conditions in operating plans in order to minimize impacts to public lands; however, mining
      activities have substantial ability to impact riparian and wetland ecosystems through both the
      physical removal of vegetation and alteration of the hydrologic regime.
      Due to the variability and uncertainty in mineral extraction, there is not expected to be a
      meaningful difference in impacts to riparian and wetland ecosystems from mineral extraction
      under alternatives A though D.

      Effects on Riparian, Wetlands, and Fens from Climate Variability
      Over the past several decades the mountains of southwest Colorado have seen reductions in
      peak snowpack and substantial shifts in the timing of snowmelt and snowmelt runoff toward
      earlier in the year (Clow 2010, Harpold et al. 2012). These trends are expected to continue or
      potentially accelerate in the future with rising temperatures and increasing variability of
      precipitation inputs (Lute et al. 2015, Scalzitti et al. 2016). Increased air temperatures,
      extreme high-flow and low-flow events, alterations to groundwater recharge patterns, and
      changes in various sediment and nutrient cycles all have the potential to impact riparian and
      wetland ecosystems. Reductions in base flows, particularly in late summer when elevated
      temperatures increase evapotranspiration, have the ability to alter the species composition
      and spatial extent of riparian areas. Because climatic variables influence hydrologic
      processes, any change in precipitation, evapotranspiration, snow accumulation, or snowmelt
      will influence recharge to groundwater systems. Future climate change will affect recharge
      rates and, in turn, groundwater levels and the amount of groundwater available to support
      springs and wetlands (Ludwig and Moench 2009). Reduction of groundwater tables could
      alter both species composition and the spatial extent of these features across the landscape.
      Climate variability is the same across all alternatives; however, alternatives that limit
      disturbances to riparian and wetland ecosystems would provide the best opportunity for these
      areas to persist and maintain functionality into the future. As a consequence, alternative D is
      likely to realize fewer climate change-associated impacts to riparian and wetland ecosystems,
      followed by B, C, and A.

      Cumulative Effects
      Cumulative effects were considered for the implementation period of the forest plan revision,
      from the watershed boundary of the Forest down to the state line with New Mexico.
      Cumulative effects include the total impacts to riparian and wetland ecosystems from the
      destruction of vegetative cover and altered hydrology, and results from the incremental


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   impact of the alternatives when added to other past, present, and reasonably foreseeable
   future actions occurring within the same natural drainage basin or watershed.
   The most pertinent past and current effects that need to be considered for this analysis are the
   impacts from the management of livestock grazing, timber harvest, and travel management.
   Reasonably foreseeable future actions included in this analysis are: widespread salvage
   projects that are in various stages of planning across the Forest, potential village development
   at Wolf Creek Pass, and the implementation of the San Luis Valley Regional Habitat
   Conservation Plan, which involves the maintenance and improvement of riparian and
   wetland habitats on private land across the San Luis Valley, many of which are immediately
   adjacent to Forest lands.
   Programmatic impacts of salvage projects would occur on lands that were identified as
   suitable timber base under all alternatives; therefore, the projects are accounted for in the
   analysis of impacts from harvest.
   When combined with the past, present and reasonably foreseeable future actions, the indirect
   effects discussed above do not combine to create significantly larger cumulative impacts to
   riparian and wetland resources. As a consequence, total cumulative impacts mirror the
   indirect effects, with the impacts from alternatives A and C being similar in nature and
   magnitude, while the impacts from alternative B would be lesser in magnitude. Alternative D
   would have the fewest impacts to riparian and wetland ecosystems.

   Wildlife and Plant Species
   Overview
   The Rio Grande National Forest surrounds the San Luis Valley and supports a variety of
   habitat types that extend from the foothill zone at about 7,800 feet in elevation to a high of
   14,345 feet in the alpine zone. Eleven different habitat types associated with the Southern
   Rockies Physiographic Region support the vast majority of the approximately 260 species of
   vertebrate wildlife that occur on the Forest. However, the Forest is unique in that it also
   interfaces with the Central Shortgrass Prairie Region that extends north from New Mexico
   and encompasses much of the floor of the San Luis Valley. This intermix of physiographic
   regions supports some plains and grassland species that may reside in select locations on the
   Forest and/or occur as peripheral populations. The fact that about 50 percent of the Forest
   occurs as wilderness and/or backcountry designations contributes to the unique remote
   character and solitude habitat conditions that some rare or large-ranging species prefer.
   Wetlands and water bodies comprise aquatic habitats that occupy 42,862 acres, or about
   2.3 percent of the total land area, on the Forest. The water bodies are represented by about
   2,000 miles of rivers and streams highlighted by the headwaters of the third-largest river in
   the United States—the Rio Grande. Two other major tributaries are the Conejos and Alamosa
   Rivers. The water bodies are also represented by hundreds of high mountain lakes, reservoirs,
   and ponds that, along with rivers and streams, account for 4,687 acres or 11 percent of the
   total. These aquatic habitats contribute significantly to the diversity of species that occur
   across the landscape. Maps showing Wetlands and Known Fens for Alternatives A through D
   are contained on the DVD located at back of this document.



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      The Forest has 253 known vertebrate species: 172 bird species, 62 mammal species, 9
      reptiles and amphibians, and 11 fish species (4 native, 7 introduced); it is likely that
      additional species on the Forest have not yet been documented. There are about 1,800 plant
      species Forestwide. There is no compiled source available from which to estimate the
      number of invertebrate animal species present.
      The Forest also has a number of existing special interest areas and research natural areas that
      support wildlife and plant species. For information on these special designated areas, see the
      Forested Ecosystems - Rare Communities and Special Habitats and the Proposed Special
      Interest Areas and Research Natural Areas sections.

      At-Risk Species
      In developing a forest plan revision, the 2012 Planning Rule requires the Forest Service to
      assess the at-risk species on the Forest. The purpose of identifying at-risk species is to help
      develop forest plans that maintain the diversity of plant and animal communities and provide
      for the persistence of native species in the plan area. Most species are expected to be
      maintained by plan components (desired conditions, objectives, standards, guidelines, and
      suitability of lands) that provide for broad ecosystem integrity and ecosystem diversity.
      Some species that are not adequately assessed using the coarse-filter approach may require
      additional species-specific plan components, particularly to help in recovering federally
      recognized species or where it may not be possible to maintain ecological conditions that
      support viable populations of some at-risk species within the plan area. This need may also
      be associated with circumstances beyond the authority of the Forest Service or due to
      limitation in the inherent capability of the land. Examples include local species such as
      boreal toad, Rocky Mountain bighorn sheep, and several avian and bat species. In some
      cases, such as bats or Rocky Mountain bighorn sheep, the primary conservation need
      involves potential anthropogenic influences such as disease transmission. As defined by the
      2012 Planning Rule, at-risk species include:
        i.   Federally recognized threatened, endangered, proposed, and candidate species (FSH
             1909.12_10 sec. 12.51).
       ii.   Potential species of conservation concern (FSH 1909.12 10 sec. 12.52).
      The planning rule further defines species of conservation concern:
              “A species of conservation concern is a species, other than federally recognized
             threatened, endangered, proposed, or candidate species, that is known to occur in the
             plan area andfor which the regionalforester has determined that the best available
             scientific information indicates substantial concern about the species ’ capability to
             persist ^ver the long-tern in the plan area.”
      Based on that information, Forest staff identified and documented a draft set of at-risk
      species and assessed plan area ecological conditions for these species. For this assessment,
      the direction followed is outlined in Forest Service Handbook (FSH) 1909.12 Land
      Management Planning Handbook, Chapter 10 - The Assessment; Section 12.5 - Identifying
      and Assessing At-risk Species.




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   Analysis and Methods
   This analysis evaluates the effectiveness of the alternatives to provide direction to create the
   ecological conditions necessary to contribute to the recovery of federally listed threatened
   and endangered species, the conservation of proposed and candidate species, the maintenance
   of viable populations for species of conservation concern, and also to allow for sufficient
   numbers of demand species within the plan areas.
   The primary emphasis areas involved with plan considerations of wildlife and plant species
   include:
         1. The maintenance and restoration of ecological integrity of terrestrial and aquatic
            ecosystems. This addresses the need to maintain or restore habitat structure, function,
            composition, and connectivity.
         2. Provide for the diversity of plant and animal communities.
         3. Provide for species-specific ecological conditions necessary to contribute to the
            recovery of threatened and endangered species, the conservation of proposed and
            candidate species, and the maintenance of viable populations of species of
            conservation concern within the plan area, when coarse filter applications do not
            provide for the required protections of these species.
         4. Provide for ecosystem uses and multiple uses, including fish and wildlife species.
   The 2012 Planning Rule uses a complementary ecosystem (coarse filter) and species-specific
   (fine filter) approach to assess the potential of the alternatives for providing the habitat
   characteristics to support wildlife diversity and the persistence of native species in the plan
   area. The coarse filter approach assumes that wildlife diversity is broadly dependent upon the
   integrity of the function, composition, and structure of the Forest’s terrestrial, riparian, and
   aquatic ecosystems. This analysis compares the current abundance and condition of various
   habitats with ecological reference conditions (natural range of variation) based on the
   dynamic nature of ecosystems, recognizing they are not static (Landres et al. 1999). It
   recognizes that disturbances or processes (such as fire, flooding, insects, and disease) and
   responses to those are part of natural ecosystem processes. However, because integrity of
   whole ecosystems does not necessarily address all species’ needs, additional fine-filter
   (species-specific) analyses were conducted to ensure that persistence is provided for at-risk
   wildlife species.
   Disruption of natural processes (such as fire suppression) can impact diversity and lead to a
   departure from the natural range of variation. Maintaining or mimicking natural processes
   and naturally occurring structural diversity; promoting natural patterns and connectivity;
   restoring ecosystems, communities, and species; and protecting the ecological characteristics
   required by at-risk species are all means to maintain biodiversity in an ecosystem. The
   coarse-filter and fine-filter approaches used in this analysis help to disclose how well each
   alternative addresses these needs.
   Overall, a qualitative approach based on scientific literature, local knowledge, and data
   sources about species, their habitat, and effects of management was used for this analysis.
   The analysis of habitat is based largely on that described in the Terrestrial Ecosystems and
   Aquatic and Riparian Ecosystems sections (coarse filter components, described in
   Assessments 1, 2, and 3) (USDA Forest Service 2016). The evaluation of environmental

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      consequences to habitat that supports species persistence is framed as a risk assessment in
      terms of alternative effectiveness. However, there is a level of uncertainty about the possible
      effects of forest management and activities on habitat that supports species persistence
      because of gaps in knowledge about the complex interaction between species and their
      habitats and how some species respond to varying degrees of habitat alteration.
      Information and science-based recommendations for federally listed species under the
      Endangered Species Act are included in species recovery plans, biological opinions, and
      critical habitat designations. This information was considered in developing plan components
      that are designed to provide, as appropriate, ecological conditions in the plan area necessary
      to meet the requirements for each at-risk species, grouping, or ecosystem.

      Indicators and Measures
      The key indicators for the analysis are trends in habitat quantity and habitat condition
      measured at a landscape scale. Primary habitat associations and associated threats are
      described for each at-risk species. Habitat in this context includes not just the general
      vegetation types used by wildlife or described in classification systems, but also the key
      components needed for the recovery, conservation, and persistence of the plant and animal
      species, especially at-risk species.
      •   Habitat quantity is measured by the potential trend in amount and distribution of habitat
          types in the plan areas over the next 15 to 20 years. Quantity has the theoretical potential
          to be measured at both the broadscale level and the fine-scale conditions as defined in the
          select set of ecological conditions associated with each species of a group of species. The
          Forest Service currently lacks detailed enough spatial data to map most of the fine-scale
          habitat areas.
      •   Habitat quality is measured by relative condition of the ecological characteristics that
          comprise functional habitat for a particular species or group of species. This includes
          trends in habitat capability such as departure from the natural range of variability and the
          ability of habitats to be adaptable and remain functional in the event of large-scale
          disturbances (such as wildfire, insect outbreaks, and drought).
      •   Habitat connectivity is measured by physical attributes that might provide barriers to
          effective movement such as roads, trails, and developments, and by changes in vegetative
          or habitat structural conditions that influence the ability of species to move across the
          landscape. The degree to which physical features interrupt connectivity varies depending
          on the size/width of the feature, and the type and frequency of use it receives. Habitat
          connectivity can also be influenced by landscape patterns associated with vegetative
          structural conditions, and changes in these conditions due to natural succession, natural
          disturbance processes, and management activities. Potential impacts from impaired
          connectivity can vary from one species to the next depending upon the characteristics of
          each species.
      These indicators were selected because they provide a reasonable assessment of ecological
      conditions needed to contribute to the recovery of federally listed threatened and endangered
      species, conserve proposed and candidate species, and maintain a viable population of each
      species of conservation concern in the plan area.



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   Management direction that may alleviate or exacerbate threats to habitat are evaluated at a
   programmatic level. The proposed forest plans do not authorize site-specific projects or
   activities; therefore, there are no direct effects from adopting these forest plans. The direct
   and indirect site-specific effects will be analyzed when projects are proposed. Although
   potential short-term effects may be described where appropriate, this evaluation focused on
   longer term (15 to 20 years) indirect effects.
   Much of the analysis is based upon the premise that the natural range of variation provides
   important background information for evaluating ecological integrity and sustainability
   (Wiens et al. 2012). The natural range of variation was used in development of plan direction
   (desired conditions) and the selection of indicators and measures for the analysis because the
   quality and quantity of habitat available to a species helps predict the potential for species
   distribution and abundance within that habitat. Also important in the analysis of ecological
   integrity and sustainability of vegetation are consideration of climate and associated fire
   trends that may be creating a combination of conditions that are outside the natural range of
   variation (Safford et al. 2012, Millar and Stephenson 2015).
   Coarse-filter plan components (largely centered on desired conditions within the natural
   range of variation) are expected to provide for ecological conditions necessary to maintain
   the persistence, or contribute to the recovery, of native species within the plan area, including
   at-risk species. The coarse-filter approach is considered the primary context for evaluating
   at-risk species. Where coarse-filter components would not provide sufficient conditions for
   one or more at-risk species, fine-filter (species-specific) plan components, including
   standards and guidelines, were incorporated where possible.
   The analysis involves:
   •     identifying habitat associations of and threats to at-risk species,
   •     reviewing plan components that have potential to influence habitat conditions, thereby
         influencing the ecological conditions that would support species persistence,
   •     evaluating the proposed magnitude of change in the management approach by alternative
         and potential consequences from the management approach, and
   •     revising plan components (including incorporating fine-filter components where
         necessary) to provide needed ecological conditions.
   For each at-risk species federally listed, candidate, or proposed for listing, determinations
   indicate whether alternatives (1) maintain or restore habitats in the plan area to provide the
   ecological conditions necessary to contribute to recovery of threatened and endangered
   species, and (2) contribute to preventing proposed and candidate species from becoming
   federally listed in the future. As described above, the extent and condition of habitat were the
   indicators used to determine if such ecological conditions were present to conserve species
   and to contribute to preventing species from becoming listed. The analysis also considers the
   authority of the Forest Service and the inherent capability of the plan area to provide for
   federally listed at-risk species.
   When developing plan components (ecosystem and species-specific) to conserve at-risk
   threatened, endangered, candidate, and proposed species, we:




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          1. Considered conservation measures identified in existing conservation strategies and
             agreements relevant to proposed and candidate species in the plan area.
          2. Considered limiting factors and key threats to species identified in proposed rules
             from the U.S. Fish and Wildlife Service for listing, candidate species assessments, or
             accepted petitions.
          3. Consulted with (and will continue to consult with) the U.S. Fish and Wildlife Service
             in the evaluation of existing conditions for proposed and candidate species and in the
             evaluation of plan components designed to conserve the species.
          4. Considered collaboration and cooperation beyond the plan area boundary with the
             U.S. Fish and Wildlife Service, states, tribes, other partners, landowners, and land
             managers to support an all-lands approach to conserve proposed and candidate
             species.
      Sources of information include:
      •   Peer-reviewed published literature, general technical reports, and other reports by the
          Forest Service and other agencies,
      •   Various databases such as NatureServe Explorer (2017), Colorado Natural Heritage
          Program (2017), Intermountain Region Herbarium Network (2016), Bird Conservancy of
          the Rockies(2017), Xerces Society for Invertebrate Conservation (2017), Forest Service
          Natural Resource Information System Wildlife database, and eBird (2017a) hotspots and
          eBird (2017b) occurrence records,
      •   Personal communications with researchers, species experts, and Colorado Parks and
          Wildlife staff,
      •   U.S. Fish and Wildlife Service recovery plans for threatened and endangered species,
      •   The Rio Grande National Forest assessments (USDA Forest Service 2016),
      •   The Southern Rockies Lynx Amendment (USDA Forest Service 2008),
      •   Resource reports for terrestrial ecology, fire ecology, and aquatic ecosystems, and
      •   Species overviews from the development of Assessment 5 (USDA Forest Service 2017a,
          USDA Forest Service 2017b).

      Analysis Area
      In general, the analysis area for indirect effects includes all lands managed by the Forest;
      however, for the purposes of this document it may include areas outside the Forest
      boundaries. In some cases Forest lands may provide all or a high percentage of the habitat for
      a given species; however, in most instances, wildlife generally moves from area to area and
      habitats on Forest lands may be important to a species’ survival. Cumulative effects analyses
      generally include lands within other ownerships immediately adjacent to the Forest.
      For some wide-ranging species, the analysis area was adjusted to better consider home range
      size and included an evaluation of connectivity between larger areas of habitat. For species
      with migratory or travel routes that extend far beyond the planning area, management
      direction would only influence habitat persistence (both quantity and condition) within the
      forest plan areas, but actions that occur outside of Forest lands is beyond the authority of the
      Forest Service to influence.

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   Assumptions
   •      If a species is associated with a particular habitat, then the condition, amount, and
          distribution of those habitat elements available to the species on the landscape help to
          predict its distribution and abundance within that habitat.
   •      Habitat abundance and distribution similar to that which supported associated species
          during conditions as a consequence of evolutionary time will likely contribute to their
          maintenance in the future (Haufler 1999). Therefore, habitat abundance, distribution, and
          condition similar to that within the natural range of variation for the habitats will likely
          contribute to species maintenance in the future. (See also the Terrestrial Vegetation
          Ecology section).
   •      In general, the further a habitat is departed from desired conditions (natural range of
          variation), the greater the risk to persistence of associated species. Conversely, the closer
          a habitat is to desired conditions, the lower the risk to persistence of associated species
          Therefore, comparing the degree to which the alternatives maintain and trend toward
          desired conditions provides a comparison of the effectiveness of each alternative.

   Species Evaluated
   The following tables list the names of federally listed species and species of conservation
   concern that were considered in this analysis. None of the federally listed species currently
   have any listed or proposed critical habitat on the Forest. The southwest end of proposed
   critical habitat for the yellow-billed cuckoo (Unit 60, CO-7) is adjacent to, but does not occur
   on, the Forest. Federally listed species identified for analysis are listed in Table 46. Species
   identified in Assessment 5 as species of conservation concern are listed in Table 47
   (invertebrates), Table 48 (amphibians), Table 49 (fish), Table 50 (birds), Table 51 (mammals),
   and Table 52 (plants). There are no threatened, endangered, proposed, or candidate fish
   species on the Forest.

   Federally Listed Wildlife Species

   Table 46. Federally recognized species on or potentially affected by the Forest
                Scientific Name                 Common Name                            Status
       Boloria acrocnema               Uncompahgre fritillary butterfly   Endangered
       Centrocercus minimus            Gunnison sage-grouse               Threatened
       Coccyzus americanus             Yellow-billed cuckoo               Threatened
       Empidonax traillii extimus      Southwestern willow flycatcher     Endangered
       Gulo gulo                       Wolverine                          Proposed threatened
       Lynx canadensis                 Canada lynx                        Threatened
                                                                          Endangered
       Mustela nigripes                Black-footed ferret                Nearby population is
                                                                          experimental, nonessential
       Strix occidentalis lucida       Mexican spotted owl                Threatened
                                       New Mexico meadow jumping
       Zapus hudsonius luteus                                             Endangered
                                       mouse




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      Species of Conservation Concern

      Table 47. Invertebrate species of conservation concern
                            Scientific Name                              Common Name

       Bombus occidentalis                           Western bumblebee
       Oeneis bore                                   White-veined arctic butterfly


      Table 48. Amphibian species of conservation concern
                            Scientific Name                              Common Name
       Anaxyrus boreas                               Boreal toad


      Table 49. Fish species of conservation concern
                             Scientific Name                               Common Name
       Catostomus plebeius                               Rio Grande sucker
       Gila pandora                                      Rio Grande chub
       Oncorhynchus clarkii virginalis                   Rio Grande cutthroat trout


      Table 50. Bird species of conservation concern
                             Scientific Name                             Common Name
       Accipiter gentilis                               Northern goshawk
       Aegolius funereus                                Boreal owl
       Falco peregrinus anatum                          Peregrine falcon
       Lagopus leucura altipetens                       Southern white-tailed ptarmigan
       Otus flammeolus                                  Flammulated owl
       Spizella breweri                                 Brewer’s sparrow


      Table 51. Mammal species of conservation concern
                             Scientific Name                             Common Name
       Corynorhinus townsendii townsendii               Townsend’s big-eared bat
       Cynomys gunnisoni                                Gunnison’s prairie dog
       Lontra canadensis                                River otter
       Martes americana                                 American marten
       Myotis thysanodes                                Fringed myotis
       Perognathus flavescens                           Plains pocket mouse
       Thomomys talpoides agrestis                      Northern pocket gopher




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   Table 52. Plant species of conservation concern
                           Scientific Name                                Common Name
    Aliciella penstemonoides                            Black Canyon gilia
    Aliciella sedifolia                                 Stonecrop gilia
    Alsinanthe macrantha                                Houses Stitchwort
    Astragalus brandegeei                               Brandegee milkvetch
    Astragalus ripleyi                                  Ripley’s milkvetch
    Botrychium pinnatum                                 Northern moonwort
    Botrychium simplex                                  Little grapefern/least moonwort
    Carex limosa                                        Mud sedge
    Castilleja puberula                                 Shortflower Indian paintbrush
    Crepis nana                                         Dwarf alpine hawksbeard
    Cryptantha weberi                                   Weber’s catseye
    Cryptogramma stelleri                               Slender cliffbreak
    Cystopteris montana                                 Mountain bladderfern
    Delphinium alpestre                                 Wahatoya Creek larkspur
                                                        Rocky Mountain draba/San Juan whitlow­
    Draba graminea
                                                        grass
    Draba grayana                                       Gray’s draba
    Draba smithii                                       Smith’s draba/Smith’s whitlow-grass
                                                        Alpine tundra draba/Colorado divide whitlow­
    Draba streptobrachia
                                                        grass
    Erigeron philadelphicus                             Philadelphia fleabane/Philadelphia daisy
    Ipomopsis multiflora                                Many-flowered ipomopsis/Many-flowered gilia
    Isoetes tenella                                     Spiny-spore quillwort
    Luzula subcapitata                                  Colorado woodrush
    Machaeranthera coloradoensis                        Colorado tansy aster
    Oxytropis parryi                                    Parry’s oxytrope/Parry’s crazy-weed
                                                        Silkyleaf cinquefoil/Southern Rocky Mountain
    Potentilla ambigens
                                                        cinquefoil
    Salix arizonica                                     Arizona willow
    Saxifraga caespitosa ssp. monticola                 Tufted alpine saxifrage
    Silene kingii                                       King’s campion
    Sphagnum angustifolium                              Sphagnum bog-moss
    Townsendia rothrockii                               Rothrock’s Townsend daisy
    Woodsia neomexicana                                 New Mexico cliff fern
    Woodsia plummerae                                   Plummer’s cliff fern


   Legal and Administrative Framework
   Prior to issuing a decision, the Forest Service will formally consult with the U.S. Fish and
   Wildlife Service and request a biological opinion regarding the selected alternative and
   proposed forest plans. During the consultation process, the U.S. Fish and Wildlife Service
   may provide additional information that may lead to refined plan components to better


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      conserve habitats and contribute to the recovery of listed species. Where appropriate to a
      programmatic forest plan, some consultation direction will be incorporated. Some, but not
      all, of this direction will be applied as coarse- or fine-filter plan components, though there
      may be other direction that could be better suited to apply at the project level since conditions
      can vary widely. Forest plans are intended to be adaptive, and changes can be made for newly
      listed species, for new critical habitat designations, or as new information becomes available.
      Once approved, consultation will be reinitiated on the forest plans, as needed. Consultation
      obligations will still apply to site-specific Forest Service actions independent of the forest
      plan, as required by the Endangered Species Act and Agency procedures.

      Affected Environment
      Ecosystems and conditions of the Forest are described in detail in the Forested and
      Nonforested Ecosystem sections of this document.
      Current habitat conditions in the planning area are moderately departed from the range of
      natural variation due to a century of fire suppression at low to moderate elevations and a
      recent large-scale spruce beetle outbreak in higher-elevation montane forest, which killed a
      large percentage of the mature and larger spruce trees on the Forest. In general, depending
      upon the ecosystem type, the Forest currently contains more sapling pole trees, more open
      stands, and larger areas of grass/shrub with forested potential than would be expected under
      the natural range of variation.
      The recent spruce beetle outbreak has resulted in a significant decrease in closed canopy
      conditions and a rapid release of understory vegetation primarily associated with subalpine
      fir and aspen. The bark beetle outbreak has also resulted in a tremendous pulse of standing
      spruce snags, primarily in the larger size classes. Large log components are also being
      recruited as snags fall in certain areas. The longevity of spruce snags is expected to be
      variable depending upon factors such as location, site conditions, and susceptibility to
      windthrow; however, the majority of the spruce snags are expected to stand for at least 20-30
      years with some standing for 50 to even 70 years (Mielke 1950).
      The potential recruitment of new snags from green trees in the larger size classes may limit
      this ecosystem characteristic several decades in the future. In addition, a wide variety of
      human impacts (road building, timber harvesting, and stream alteration, among others) have
      resulted in negative influences that deviate from the natural range of variation. Over the
      longer term, current modeling indicates that the planning area will gradually revert back to
      conditions closer to the mean of the natural range of variation (Assessments 1 and 3),
      although the potential impact of climate change introduces uncertainty into this prediction.
      Some closed canopy conditions are projected to return to the spruce-fir ecosystem type
      within about five decades.
      Sagebrush shrublands and greasewood flats dominate the lowlands on and just surrounding
      the Forest, with pinyon-juniper woodlands intergrading into them. Pinyon and juniper may be
      encroaching into what were recently grasslands or shrublands due to: past grazing, which
      potentially limits competition from herbaceous plants; fire exclusion, which allows more
      woody growth; and changing climate. Aside from pinyon and juniper, the foothill zone is a
      mixture of grassland, common mountain shrubs such as currants, rabbitbrush, chokecherry,
      skunk bush, limited areas of mountain big sagebrush, low sages, and mountain mahogany.


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   Above the foothill zone begins the lower-elevation portion of the montane zone, with mixed
   conifer forests interspersed with aspen and grasslands. Douglas-fir and ponderosa pine are
   the dominant trees in the montane zone. Ponderosa pine generally grows in scattered, park­
   like stands with abundant grass growth of Arizona fescue and mountain muhly in the
   understory. Douglas-fir intermingles with ponderosa pine on north-facing slopes and in
   ravines. With elevation gain, Douglas-fir eventually replaces the ponderosa pine. White fir
   commonly occurs in the upper elevations of the montane zone on the southern two-thirds of
   the Forest.
   Moving up in elevation, subalpine stands are dominated by Engelmann spruce intermixed
   with subalpine fir, forming the most extensive forested cover type on the Forest. Arizona
   fescue and mountain muhly dominate areas that are too dry for tree growth. Rocky slopes and
   dry, gravelly areas will often support limber and bristlecone pine broken only by drainages,
   outcrops of rock, or fire disturbance. South-facing slopes have stands of Thurber fescue
   grassland. The spruce/fir forest receives the most precipitation of all the forest types. A great
   quantity of snow falls in this zone, which accumulates all winter and lasts into early summer;
   there are plants adapted to high amounts of moisture and a cold environment. Rocky
   Mountain whortleberry typically forms dense mats and is adapted to the cool, moist
   environment under Engelmann spruce.
   At the highest elevations, forests give way to stunted trees with krummholz life forms and
   alpine vegetation communities. A willow/sedge community typically occurs at the transition
   into alpine zones. A tremendous variety of plants that are adapted to harsh conditions inhabit
   the high alpine regions. Low-growing sedge, kobresia, and forb communities dominate these
   alpine systems.
   Riparian ecosystems border the streams that run through all these ecosystems, varying
   significantly depending on elevational gradient and geology. Overstory vegetation can be
   dominated by any of the conifer species discussed, or by blue spruce, willow, alder, aspen, or
   cottonwood, depending on elevation. The understory (plants growing underneath the taller
   plants) may be dominated by a variety of sedge, bluegrass, reedgrass, bentgrass, tufted
   hairgrass, rush, or many other water-adapted graminoid (grasses and grass-like plants) or forb
   species. Although riparian areas comprise generally only a very small percentage of the land
   area, they have high species diversity and density, and high productivity. Historically, water
   tables and stream flooding on the Forest were likely regulated by beaver dams, but with the
   reduction of beaver across the range, the abundance of beaver ponds and their associated
   communities have declined.
   Some plant communities, such as the lower-elevation greasewood and wetlands, are
   dependent on snowmelt to produce spring flooding. Large disturbances in the higher
   elevations that influence canopy cover or changing climates can alter the timing of snowmelt.
   When snow melts quickly, rather than slowly, there are direct consequences for plant growth
   and for animals living in stream systems, and less directly, but consequentially, for other
   animals in, or dependent on, these communities. Also where there are explosive pulses in
   snowmelt combined with soil that is bare or disturbed from roads, timber harvest, livestock
   grazing or fire, soil erosion and sedimentation into streams has created problems for aquatic
   organisms throughout the stream systems. Additionally, the placement of roads in watersheds
   can alter water runoff patterns so that vegetation receives water differently than it would in


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      the absence of the road because water can be cut off from places that used to be in its
      pathway.
      Fire can be a large determinant of which vegetation community types are where, and in turn,
      the vegetation community types drive fire cycles. Frequently after fire in conifer stands,
      aspens establish and conifers will come up through their understories and gradually replace
      them. After a severe fire, mixed conifer stands may convert to montane shrublands.
      The effects of fire management on the Forest are minor, with less than 0.2 percent of the
      landscape treated by thinning or prescribed fire per year, although the impacts of these
      activities vary in intensity and can have impacts ranging from years to decades. The area
      influenced by wildfire is roughly one-third of what would be within the natural range of
      variation if fire suppression did not occur. However, this amount is variable depending upon
      ecosystem type.
      The potential influence of climate change on the ecosystems of the Forest is unknown, but
      some general trends are clear. Changes in temperature will change the growth of tree species
      (Rondeau et al. 2012, Vose et al. 2012), and this change may vary based on the particular
      species. Lower soil moisture will likely lead to higher levels of tree mortality and less
      regeneration. It is predicted that tree habitat will move upward in elevation and northward in
      latitude, and it is unclear whether tree species dispersal can keep up with this movement
      (Vose et al. 2012). Some ecosystems are particularly susceptible to climate change-related
      impacts. Plant and animal species in high-elevation alpine ecosystems, such as the
      Uncompahgre fritillary butterfly, may be pushed to extinction if warming temperatures
      reduce or significantly alter the function of their habitat (Alexander and Keck 2015).
      Climate-driven extreme weather events may have rapid, dramatic effects on ecosystems.
      Multi-year droughts are linked to numerous other stressors and disturbances. Wildfires may
      increase, along with the possibility of increased insect outbreaks, invasive species
      introductions, flooding, erosion, and sedimentation (Vose et al. 2012).
      Past livestock grazing practices affected not only shrublands but also influenced lower-
      elevation forests by removing fine, herbaceous fuels, which altered fire regimes (Romme et
      al. 2009). Livestock grazing continues to be a widespread activity on suitable rangelands,
      with influences on key ecosystem characteristics in various habitat types, primarily at mid- to
      lower elevations.
      The spruce beetle outbreak affected up to 610,000 acres on the Forest from 2000 to 2016
      (USDA Forest Service GSC 2016). Since that time, more forest has been impacted by spruce
      beetle, which makes it the most widespread forest pest as described by the State of Colorado
      for several years running (Colorado State Forest Service 2014). Many areas on the Forest
      affected by spruce beetle have 80 to 100 percent mortality in the overstory.

      Threatened, Endangered, and Sensitive Species

      Uncompahgre Fritillary Butterfly (Boloria acrocnema)
      The Uncompahgre fritillary butterfly species is narrow endemic, restricted to isolated alpine
      habitats in the San Juan Mountains of southwestern Colorado (NatureServe Explorer 2017).
      The Uncompahgre fritillary butterfly is a little-known and poorly studied species; as such,
      past impacts to the species are hard to determine. The only known direct impact to the

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   species was collection, both legal and illegal, by researchers and hobbyists. The extent to
   which collecting may have caused population declines is unknown. Collection of the species
   became regulated when the species was first listed under the Endangered Species Act.
   The species was first petitioned for listing under the Endangered Species Act in 1979 (45 FR
   8029), with a status review in 1984 determining that the species was warranted for listing but
   precluded (49 FR 2485 2488). Although the Uncompahgre fritillary butterfly was not listed at
   that time, the Forest Service and Bureau of Land Management signed an interagency
   agreement for the conservation of the butterfly. The species continued to be classified as
   “warranted but precluded” annually until 1990 when it was listed as endangered (50 FR
   41721). The U.S. Fish and Wildlife Service neither designated nor proposed any critical
   habitat for this species; there are no defined primary constituent elements for the
   Uncompahgre fritillary butterfly’s habitat.
   The original 1990 Endangered Species Act designation for the species described five threats:
         1. The present or threatened destruction, modification, or curtailment of its habitat or
            range,
         2. Overutilization for commercial, recreational, scientific, or educational purposes,
         3. Disease or predation,
         4. The inadequacy of existing regulatory mechanisms, and
         5. Other natural or manmade factors affecting its continued existence.
   The recovery plan was approved in 1994 (U.S. Fish and Wildlife Service, 1994). At this point
   the Forest Service, Bureau of Land Management and U.S. Fish and Wildlife Service signed a
   new agreement to further conserve the species. This plan listed eight actions needed to
   achieve recovery of the Uncompahgre fritillary butterfly:
         1. Enforce restrictions in collection of Uncompahgre fritillary butterflies,
         2. Search for new colonies,
         3. Monitor population status of existing and newly found colonies,
         4. Obtain data on habitat requirement sand life history,
         5. Monitor climatological trends at known colony sites,
         6. Determine threats besides collecting,
         7. Determine propagation techniques, and
         8. Reintroduce and transplant butterflies.
   Status reviews in 2007 (72 FR 19549) and 2016 (81 FR 33698) maintained the endangered
   status.

   Existing Conditions and Trends
   The range of the Uncompahgre fritillary butterfly is limited to the Rio Grande, Grand Mesa,
   Uncompahgre, and Gunnison National Forests, and the lands managed by the Gunnison Field
   Office of the Bureau of Land Management. Mt. Uncompahgre and Redcloud Peak were the
   only two colonies known at the time of listing and recovery planning. Shortly after

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      completion of the recovery plan, an additional colony was discovered. Eight other colonies
      were discovered in subsequent years (U.S. Fish and Wildlife Service 2009).
      Currently, 11 known colonies exist - three are quantitatively monitored with line transects,
      and the remaining 8 are monitored only for presence. Three of the colonies have been
      monitored for population status for more than 10 years, but the data are not currently
      sufficient for to determine that the population has been stable or increasing during this time.
      Much of the data collected before 2003 was unreliable due to changes in transect
      methodology and missing data (U.S. Fish and Wildlife Service 2009).
      Five of the 11 known colonies occur within the planning area. Quantitative population data
      are not recorded for these sites; therefore, abundance and trend information for populations
      within the planning area have not been identified.
      Based on the monitoring report for the 2014 field season (Alexander and Keck 2017), the
      ongoing qualitative monitoring of the 11 confirmed populations documented population
      persistence at only 9 of the 11 known colonies. Persistence has not been documented at Rio
      Grande Pyramid colony for 2 years and likewise for 7 years at the Machin Lake colony of the
      Canyon Diablo population. The lack of confirmation of Uncompahgre fritillary butterflies at
      the Machin Lake colony for 7 years and the Cinnamon Pass colony for more than a decade
      may indicate that some populations may be extirpated.
      All known Uncompahgre fritillary butterfly populations are associated with large patches of
      snow willow (Sali:x nivalis) above 12,000 feet, which provides food and cover. Snow willow
      is found primarily on northeast-facing slopes, which are the coolest and wettest microhabitat
      available in the San Juan Mountains.
      Females lay their eggs on snow willow, which is also the larval food plant, while adults take
      nectar from a wide range of flowering alpine plants (U.S. Fish and Wildlife Service 2015).
      Adults fly about late July into August. Flight is possible only in warm sunny weather. The
      species is biennial (requiring 2 years to complete its life cycle), but flies in both odd and even
      years (NatureServe Explorer 2017).
      Recent studies involving the genetics of Uncompahgre fritillary butterfly investigated
      estimated levels of genetic variability and structure, and effective population size (Monroe et
      al. 2016). Despite low demographic numbers at these sites, the species has maintained
      relatively high heterozygosity at three sites. Genetic structure assessed indicated that despite
      separation on high mountain peaks, colonies were fairly well mixed, which is surprising for
      these weak fliers with very short growing and adult flight seasons. Estimates of effective
      population sizes were low, reflecting the life history and limited habitat range for the species.
      Comparisons at the site with historic and modern specimens revealed a consistent pattern in
      genetic indices. The data suggest that the three focal butterfly colonies exist as a
      metapopulation that persists due to low level migration between sites and ‘‘temporal
      leakage’’ via flexibility in development time in this biennial species.
      The recent genetic work leads to three important implications for the management of
      Uncompahgre fritillary butterfly colonies and their habitat.
          1. It appears to be imperative that all three colonies remain extant. The flow of
             individuals and genes among sites, even if at low levels, is critical to the persistence
             of this small metapopulation.


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         2. The Uncompahgre Peak colony may at times function as a population sink, while at
            other times, it may be self-sustaining for some period. The Uncompahgre site is the
            only one of the three that is impacted by an annual sheep drive in the area, which
            perhaps accounts for impacts to the population dynamics and genetics of this
            population.
         3. Finally, the role of butterflies on intermittently occupied sites in terms of
            metapopulation dynamics is unknown.
   It will be important to protect these sites from significant human impacts at least until the
   potential role of the individuals at the occasionally occupied sites is better understood. While
   direct anthropogenic threats to the species (e.g., collecting, trampling, and livestock grazing)
   have been mitigated to some extent, the potential effects of global climate change have not
   been directly addressed. Continuation of the current monitoring program and additional
   population genetics surveys are recommended for this species.
   Changes in temperature and precipitation may be an issue for this species, as is commonly
   thought for Alpine-obligate species (National Wildlife Federation 2005). The species cannot
   ascend to higher elevations to escape the impacts of a warmer temperatures, and lacks the
   ability to travel the distances needed to disperse to cooler areas farther north. There are no
   reasonably foreseeable future programmatic actions that would have direct or indirect effects
   on the Uncompahgre fritillary butterfly.

   Direct and Indirect Effects
   All action alternatives include revised management direction for Uncompahgre fritillary
   butterfly habitat in alpine areas with snow willow. Generally, there will be very little, if any,
   adverse impact to the Uncompahgre fritillary butterfly from alternative B. Increased visitor
   use and dispersed recreational pursuits likely are the primary concern. However, all but
   perhaps one of the Uncompahgre fritillary butterfly populations on the Forest occur in remote
   areas that are not known to attract considerable human foot traffic at this time; therefore,
   visitor use and dispersed recreational pursuits should have minimal influences on
   Uncompahgre fritillary butterfly populations or habitat. Protective measures prescribed in
   revised management direction would help manage potential negative impacts.
   Overall, the species will likely benefit from these protective measures. However, continued
   monitoring such as that associated with the Uncompahgre Fritillary Butterfly Recovery Team
   Partnership is essential to documenting habitat trends and potential conservation concerns
   associated with the needs and success of the protective measures associated with the plan
   components.
   The largest difference between the effects that the alternatives would have to the
   Uncompahgre fritillary butterfly is that the some of the known population sites on the Forest
   would overlap Management Area 1.1a with Colorado roadless areas in alternative D but
   would remain only Colorado roadless in alternatives A, B, and C. However, this would likely
   have no impact to the Uncompahgre fritillary butterfly, as the protective measures
   incorporated into both management areas and across all alternatives would be likely to be
   strongly protective of the species and its habitat.




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      Effects on Uncompahgre Fritillary Butterfly from Vegetation Management
      Uncompahgre fritillary butterfly habitat (snow willow) has no overlap with suitable timber
      harvesting areas; therefore, impacts to the Uncompahgre fritillary butterfly from the timber
      program would be negligible to nonexistent, with no adverse effect.
      Timber harvesting levels vary among alternatives, but it is likely that the impacts to the
      Uncompahgre fritillary butterfly from this program would not vary, due to the lack of spatial
      overlap between harvest-sized timber and Uncompahgre fritillary butterfly habitat.

      Effects on Uncompahgre Fritillary Butterfly from Fire Management
      There would be no measurable influence on the Uncompahgre fritillary butterfly due to fuels
      reduction associated with prescribed and use fires and fuels management. Fuels reduction
      activities are unlikely in the high subalpine spruce-fir forests that border the alpine tundra
      ecosystem. While wildland fire use may be an activity in the subalpine forests, the chances
      that such fires can extend into the more fire-resistant alpine areas that make up Uncompahgre
      fritillary butterfly habitat is highly unlikely. Fire control or suppression activities would be
      highly unlikely to occur in the alpine tundra ecosystem, let alone the north to northeast
      glacial cirque basins that support known populations of Uncompahgre fritillary butterfly and
      receive afternoon thunderstorm showers nearly every day during the summer season,
      particularly after monsoon season begins in early July.
      The unlikelihood of fire in Uncompahgre fritillary butterfly habitat reduces the probability
      that such control efforts could cause unintentional harm to the species or its habitat. Fire and
      fuels management will have no adverse effect on the Uncompahgre fritillary butterfly or its
      habitat.
      It is very unlikely that even the most intense wildfires could burn into the Uncompahgre
      fritillary butterfly habitat regardless of Forest Service management actions. As such, impact
      to the Uncompahgre fritillary butterfly from fire and fuels management would not vary from
      one alternative to the next.

      Effects on Uncompahgre Fritillary Butterfly from Livestock Grazing
      All action alternatives include revised plan direction for Uncompahgre fritillary butterfly
      habitat, specific to snow willow in alpine areas. The Forest also already prohibits sheep
      grazing and trailing in occupied Uncompahgre fritillary butterfly habitat and there is no
      scheduled cattle grazing on Uncompahgre fritillary butterfly habitat within the plan area.
      However, an active cattle allotment boundary overlaps one known colony area. Cattle
      grazing within and around this colony area was documented during one field season but has
      not been noted again since that time (Alexander 2009). As grazing leases cycle through
      permit renewal, revised management direction in all action alternatives would be taken into
      consideration, ensuring that any negative impacts associated with grazing are prevented or
      mitigated.
      However, wandering bands of domestic sheep have still been observed grazing on some
      colony areas, including permitted sheep from the Rio Grande National Forest onto the San
      Juan National Forest and Grand Mesa, Uncompahgre, and Gunnison National Forests (USDA
      Forest Service files, Snow Mesa Allotment, 2016).


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   Minimal impacts from the livestock grazing program to the Uncompahgre fritillary butterfly
   may, however, occur. This would not vary among alternatives because grazing has already
   been prohibited in known Uncompahgre fritillary butterfly habitat on the planning unit, and
   because revised plan direction can provide a second level of protection from grazing, or to
   protect any new patches of habitat that may be discovered.
   This would not vary among alternatives.

   Effects on Uncompahgre Fritillary Butterfly from Road Construction, Reconstruction,
   and Management, and Motorized Off-Highway Travel
   There are no roads or motorized routes within or near Uncompahgre fritillary butterfly
   habitat. All known Uncompahgre fritillary butterfly populations are either in wilderness or
   Colorado roadless areas in all alternatives. Road construction, reconstruction, and
   management and motorized off-highway management will have no impact on the
   Uncompahgre fritillary butterfly or its habitat and no adverse effect. This would not vary
   from alternative to alternative.

   ^ffe^ts on Uncompahgre Fritillary Butterfly from Trail Management, and Developed
   and Dispersed Recreation
   Although there are no trails or developed recreation sites in or near any known Uncompahgre
   fritillary butterfly habitats or populations, increasing recreational traffic, including off-trail
   use, is consistently noted as a potential threat to known Uncompahgre fritillary butterfly
   colonies, particularly colonies on an adjacent Forest (Alexander and Keck 2016). There is
   some potential for dispersed recreation to have adverse impacts to the Uncompahgre fritillary
   butterfly and its habitat. All action alternatives include revised plan direction to help manage
   these potential impacts. This does not completely eliminate the potential for damage to the
   Uncompahgre fritillary butterfly or its habitat, however, as revised plan direction is still
   contingent on monitoring to trigger implementation. The revised management direction will
   still likely be enough to prevent any major or moderate adverse impacts to the species and
   habitat from dispersed recreation. Short-term impacts to habitat and individuals are possible
   from dispersed recreation foot traffic, as is no impact, depending upon accessibility to the
   colony area. Depending upon the colony area, the probability of impacts from recreational
   activities may occur on an annual or periodic basis, or not at all. Trampling by recreational
   foot traffic has been noted as a management issue in some colony areas; however, the overall
   effect of this activity is not known.
   In all plan alternatives, known Uncompahgre fritillary butterfly populations continue to be in
   roadless, or upper tier roadless, or wilderness areas. None of the known populations occur in
   any of the management areas focused on recreation. As a result, management impacts from
   recreation to Uncompahgre fritillary butterfly will not vary among alternatives.

   ^ffe^ts on Uncompahgre Fritillary Butterfly from Designation of Wilderness, Wild,
   Scenic, and Recreational Rivers, Research Natural Areas, and Special Interest
   Areas
   Wilderness designation is generally protective of the Uncompahgre fritillary butterfly except
   perhaps for recreational activities, which might increase along with an increase in designated
   wilderness because of the increased number of visitors. Protection and management of the

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      habitat for this species does not require any equipment or methods that are incompatible with
      wilderness designation. Wilderness designation does prevent many incompatible actions from
      occurring on Uncompahgre fritillary butterfly habitat. Of the five colonies known in the
      planning area, two occur in designated wilderness, the other three are in Colorado roadless
      rule upper tier areas. The intensity of the impact to the species may be difficult to qualify, but
      will be generally positive and long term, with no adverse effect.
      Alternatives A, B, and C would not change the wilderness designation at the location of any
      of the known Uncompahgre fritillary butterfly colonies. Alternative D would overlay the
      Management Area 1.1a - Recommended Wilderness designation over the three populations
      that occur in roadless areas. This would likely have no impact to the management of the
      Uncompahgre fritillary butterfly in those areas, as both designations (wilderness or roadless)
      are generally protective of the species and would not change the suite of plan components
      that are also protective of the species.
      The alpine saddles and meadows that make up the habitat for the Uncompahgre fritillary
      butterfly are not in or near any of the wild, scenic, and recreational river corridors nor in
      research natural areas in any of the alternatives. In alternative D, the Congressionally
      Designated Trail Management Area tied to the Continental Divide National Scenic Trail may
      overlap habitat, but Forestwide plan direction focused on the species and related key
      ecosystem characteristics would still require mitigation of any impacts from uses related to
      the trail.

      Effects on Uncompahgre Fritillary Butterfly from Mineral Resource Activities
      There are no active minerals extraction sites near any of the Uncompahgre fritillary butterfly
      populations or habitat on the Forest. Populations that are in wilderness are protected from
      any new mineral claims entry, remaining populations are within Colorado roadless rule upper
      tier areas, and this plan revision has no impact and no change to minerals management in
      Colorado roadless rule areas (which includes, among other things, no new surface occupancy
      for new oil and gas leases). As a result, within the context of this plan revision, minerals
      extraction will have no impact to this species beyond those already analyzed by the
      environmental analysis that was done for the Colorado Roadless Rule. This would be
      consistent throughout the alternatives.

      Cumulative Effects
      The Uncompahgre fritillary butterfly was originally considered a little-known and poorly
      studied species. In the past several years, however, on-going research has advanced
      knowledge of the species, involving quantitative abundance estimates, phylogenetic
      relationships within the same and associated genera, and genetic relationships among
      populations, colonies, and sub-colonies. This information, along with qualitative
      presence/absence sampling at all sites on the Forest, helps inform current baseline conditions
      for assessing potential impacts to the species over time. Initially when first named as a new
      species, the only known direct impact involved collection, both legal and illegal, by
      researchers and hobbyists. The extent to which that collecting may have caused population
      declines is unknown. Collection of the species became regulated when the species was first
      listed under the Endangered Species Act.



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   Current trends in reduced population persistence at sites qualitatively sampled, and recent
   general trends in abundance estimates at sites quantitatively sampled, suggest concerns for
   the continued persistence of this species (Alexander 2009).
   Until more information can be developed it is difficult to state the cumulative effects outside
   of current trends. Considerations and protection measures required by the Endangered
   Species Act are expected to continue to minimize potential known adverse effects, including
   cumulatively.
   Based on the analysis for the Uncompahgre fritillary butterfly, neither the proposed action,
   nor any of the action alternatives, would result in measurable cumulative effects.

   Black-Footed Ferret (Mustela nigripes)

   Existing Conditions and Trends
   This species was once present within the planning unit but has not been documented here
   since 1930. The black-footed ferret was first listed as endangered under the Endangered
   Species Act in 1967 (32 FR 4001) and was declared extinct in 1979, only to have a remnant
   population discovered 2 years later in Wyoming. Subsequent captive breeding efforts have
   resulted in reintroduction efforts. Should black-footed ferrets be reestablished on the Forest,
   whether through reintroduction or naturally, the Endangered Species Act would require
   specific protection and conservation measures. Additional information on black-footed ferrets
   is contained in the wildlife report in the project record.

   Canada Lynx (Lynx Canadensis)

   Existing Conditions and Trends
   Canada lynx were first considered for listing in 1980 (47 FR 58454). The U.S. Fish and
   Wildlife Service found that although it might have been appropriate to list the species,
   information needed to support that decision was lacking at the time. After multiple reviews,
   petitions, and at least one environmental impact statement, the species was finally listed as
   threatened in the 48 contiguous states in 2000 (65 FR 16053). Critical habitat for the
   contiguous United States distinct population segment) was first designated in 2006 (71 FR
   53355), revised in 2009 (74 FR< No. 36), and revised again in 2014 (79 FR No. 177) - none
   of which occurs in the Southern Rockies or the planning area. The 2014 rule found that the
   primary constituent elements lynx need for reproduction and survival do not occur in the
   quantity and spatial arrangement necessary to provide for conservation of the species. There
   is currently no proposed or designated critical habitat in the Southern Rockies, including the
   Forest. In September of 2016, however, the 2014 rule was remanded and the U.S. Fish and
   Wildlife Service was directed by the U.S. District Court of Montana to develop a new
   proposed critical habitat rule that includes the Southern Rockies and the Forest (9th Circuit,
   U.S. District Court of Montana, Case 9:14-cv-00270-DLC, Document 62, 09/07/2016).
   In 1999, Colorado Parks and Wildlife initiated a lynx recovery program intended to augment
   any existing populations in the Southern Rockies with transplants from Canada and Alaska to
   re-establish a self-sustaining breeding population. The augmentation program resulted in a
   total of 218 lynx being transplanted into the San Juan Mountains during 1999-2006.



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      The Forest represents a large portion of the core area for lynx reintroduced to Colorado, with
      about 85 percent of the 218 lynx reintroduced to Colorado during 1999-2006 being released
      within the planning area. The vast majority of lynx within Colorado remains and reproduces
      in the high-elevation spruce-fir zone in the southwestern portion of the state, including the
      Forest. Currently, lynx continue to utilize and reproduce on the Forest, and local spruce-fir
      habitats remain essential to their eventual recovery and delisting (USDA Forest Service
      2014).
      A total of four linkage areas have also been delineated on the Forest. Two of the primary
      linkage areas, Wolf Creek Pass and North Pass, have been documented as having
      considerable use by lynx as they cross Highway 160 and 114, respectively (Shenk 2005).
      Lynx habitat extends across administrative boundaries within the greater San Juan Mountains
      area and includes the Grand Mesa, Uncompahgre, and Gunnison National Forests.
      Connective habitat between administrative units in the San Juan Mountains and beyond is
      essential for facilitating movement of Canada lynx across the landscape.
      Currently, the 2011 habitat map remains the primary descriptor of baseline conditions for
      lynx habitat on the Forest. However, extensive habitat changes have occurred since that time
      due to a spruce beetle outbreak focused primarily in the spruce-fir ecosystem. Aerial surveys
      (USDA Forest Service 2017c) to detect insect and disease influences indicate widespread
      mortality in the mature spruce component of the spruce-fir ecosystem type, and to a lesser
      extent other forest types within the planning area. Data from flights conducted from 2010 to
      2014 show that approximately 782,137 acres of suitable lynx habitat were affected by spruce
      beetle mortality, while about 221 acres were affected by mountain pine beetle mortality.
      Severity of mortality varies across the landscape, ranging from less than one tree per acre to
      more than 100 trees per acre in some areas. As of 2017, overstory mortality had increased to
      100 percent of the spruce-fir forested ecosystem (USDA Forest Service 2017c). This change
      in habitat conditions directly overlaps with the core habitat for lynx on the Forest and has
      resulted in a significant change to the key ecosystem characteristics known to provide high-
      quality habitat conditions for the species. A recent update in habitat baseline conditions
      identify 96,226 (9.2 percent) of the habitat as currently unsuitable (USDA Forest Service
      2017d). As of spring 2017, the percentage of overstory mortality remains higher in the north
      and mid portions of the Forest and more variable in the south where mature green tree
      components remain but are also undergoing change due to spruce beetle mortality.
      In 2013, a collaborative study between the U.S. Forest Service Rocky Mountain Research
      Station, Colorado Parks and Wildlife, the Rio Grande National Forest, and other partners was
      initiated to investigate how lynx respond to forests heavily influenced by spruce bark beetles
      in the San Juan Mountains of southern Colorado. The primary study area overlaps core lynx
      habitat on the Forest. The purpose of the study is to address the key management questions
      associated with the identification and maintenance of suitable habitat for lynx and primary
      prey species in relationship to natural disturbance processes such as bark beetles and wildfire,
      and an expected increase in post-beetle forest management activities, such as timber salvage
      (USDA Forest Service 2014).
      The preliminary results from the lynx study appear to be closely associated with the expected
      response of key ecosystem characteristics in relation to the disturbance ecology of spruce-fir
      forests. In Colorado, the primary vegetative response from spruce beetle outbreaks is the
      release and accelerated growth of understory fir and spruce rather than new seedling

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   establishment. With the death of canopy trees, previously suppressed understory trees sustain
   high growth rates for 40 to 100 years or more (Veblen et al. 1991a, 1991b). Based on the
   preliminary study results, both lynx and snowshoe hare appear to responding to the
   understory release associated with the spruce beetle outbreak, with mean snowshoe hare
   densities exceeding any other know location in Colorado (Ivan 2017). Other key prey species
   such as red squirrel, however, are responding negatively to the loss of green canopy
   conditions that provide food and cover resources.

   Natural History and Key Ecological Functions
   Canada lynx habitat in Colorado primarily occurs in the subalpine and upper montane forest
   zones. Recent analysis of radio-collared reintroduced lynx in Colorado indicates that the
   majority of the habitat used occurs from 9,900 to 11,620 feet in elevation (Theobald and
   Shenk 2011). Forests in these zones typically contain deep winter snows and are dominated
   by subalpine fir, Engelmann spruce, aspen, and lodgepole pine. A preference for these forest
   types, particularly spruce-fir associations, has been documented by radio-telemetry and
   tracking techniques associated with lynx reintroduced to Colorado (Theobald and Shenk
   2011). Other habitats used by reintroduced lynx include spruce-fir/aspen associations and
   various riparian and riparian-associated areas dominated by dense willow (Shenk 2009).
   In Colorado, both small-diameter lodgepole stands and mature spruce-fir stands support the
   highest density of snowshoe hares, although the latter may be of more importance on a
   year-round basis due to the long-term persistence and distribution of mature spruce-fir stands
   (Ivan 2011). Reintroduced lynx in Colorado are also preying on red squirrels, cottontails, and
   other alternate prey items. Red squirrels are closely associated with mature forest conditions,
   and would occur sympatrically with snowshoe hare as an important alternate prey species
   (Buskirk et al. 2000). The increased use of riparian-willow systems by reintroduced lynx
   during late summer and fall is also considered to be associated with alternate prey sources
   (Shenk 2009).
   Births by reintroduced lynx in Colorado occurred in late May to mid-June (Shenk 2006). All
   den sites found in Colorado have occurred within the spruce-fir zone on steep, north-facing
   slopes and are most often associated with substantial amount of large-diameter woody debris
   (Merrill 2005, Shenk 2009). The average elevation at Colorado den sites is 11,004 feet
   (Shenk 2009).
   Lynx are known to move long distances, but open areas, whether man-made or natural, may
   not be used as extensively (Mowat et al. 2000). However, the Southern Rockies consist of
   more heterogeneous forest types and their response to natural or created openings may differ
   (Ruggiero et al. 2000). The habitat use information for lynx in Colorado indicates that
   canopy closures of at least 40 percent are important at the site-scale, regardless of the type of
   cover involved (Shenk 2006). Additional analysis of radio-collared data for reintroduced lynx
   in Colorado indicates that the average proportion of forest (upper montane) in lynx habitat
   was 0.65, with the majority occurring in areas with at least 20 percent forested (upper
   montane) cover. Habitat use was also associated with distance from large patches (more than
   50 hectares, or 124 acres) of forest (upper montane) cover, with the majority of habitat within
   3.35 km (2.1 miles), and the average at 0.36 km (0.2 mile). These data indicate that most lynx
   use in Colorado is associated with larger contiguous blocks of forest that is primarily
   dominated by spruce-fir forest cover types.

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      Lynx reproductive rates in Colorado have varied greatly since kittens were first documented
      in 2003. After den visits identified 16 kittens in 2003, researchers found 39 kittens in 2004,
      50 kittens in 2005, 11 kittens in 2006, 11 kittens in 2009, and 14 kittens in 2010. During the
      2006, 2009, and 2010 seasons, Colorado Parks and Wildlife field crews documented that
      Colorado-born lynx had successfully produced third-generation Colorado kittens. In 2010,
      researchers estimated that 30 to 40 percent of female lynx bore litters of kittens (Colorado
      Parks and Wildlife 2017a).

      Ecological Conditions for Species Recovery
      Specific ecological conditions for recovery of Canada lynx on the Forest are best described in
      the Southern Rockies Lynx Amendment (USDA Forest Service 2008). All key criteria in the
      Southern Rockies Lynx Amendment management direction (objectives, standards, and
      guidelines) are included in all alternatives. Some key ecological conditions considered
      important on the Forest include:
      •   Recognition that lynx conservation and recovery is a multi-unit, landscape-scale issue
          that involves cross-boundary coordination and consistency.
      •   A conservation focus on late-successional spruce-fir cover types in combination with
          aspen and cool-moist mixed-conifer stand components represents the majority of the
          high-quality lynx habitat locally. High-elevation willow-riparian systems also represent
          high value for summer foraging use. In the post-spruce beetle environment, a focus on
          stands that previously were mapped as 4c structural class still contain the structural
          legacies, green cohorts, and understory components that most likely provide for the key
          life history requirements of lynx and key prey species.
      •   High-quality lynx analysis units that are well-connected within and among lynx analysis
          units.
      Connectivity attributes that facilitate movement should be further defined and mapped across
      the unit and adjoining unit landscapes.
      •   Recognition of high-value movement and dispersal areas that may require a management
          focus even when outside of existing lynx analysis units or known occupied reproductive
          habitat. A local example is the North Pass area on the Saguache Ranger District that may
          provide for dispersal and ingress of lynx in and out of the local core area.
      •   Protection, maintenance, and restoration of dense understory conditions that support
          primary prey species (snowshoe hare), particularly when associated with
          late-successional spruce-fir cover types or post-bark beetle conditions in former late-
          successional green forests.
      •   In the post spruce-beetle outbreak condition, a refocus on what constitutes high-quality
          habitat for key prey species, lynx, and reproduction.
      •   Uncompacted snow conditions and management of over-snow vehicle route densities.

      Threats and Risk Factors
      The 2000 Lynx Conservation Assessment and Strategy (Ruediger et al. 2000) identified
      several specific management activities and practices termed riskfactors for the Southern
      Rockies geographic area. Risk factors affecting lynx productivity included fire exclusion,


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   grazing, and winter recreational uses that create compacted snow conditions. The Southern
   Rockies Lynx Amendment (USDA Forest Service 2008) incorporated and addressed the
   following risk factors for lynx:
   •     Fire exclusion is not considered a factor locally on the Forest.
   •     Grazing influences on riparian willow are not considered a broadscale factor influencing
         high-elevation riparian willow habitat on the Forest; however, it can be a localized issue
         in certain areas, particularly those with a meadow or grassland park interface.
   •     Road, trail, and recreational activities that result in snow compaction may facilitate
         increased access into lynx habitat and competition for food resources by competitors
         (primarily coyotes). Over-snow vehicle use is noted as a local concern on the Forest, with
         use demand on the increase.
   •     Risk factors affecting lynx mortality include trapping, predator control activities,
         predation by mountain lions, and collision with vehicles on major highways and many of
         the major mountain passes in the Southern Rockies Management Geographic Area.
   •     Risk factors affecting lynx movement include barriers to movements such as major
         highways and associated development within rights-of-way. Private land development,
         especially along road corridors in mountain valleys, also may fragment habitat and
         impede movement of lynx. Urban expansion and development on private land has further
         fragmented an already patchy distribution of lynx habitat, many times in response to
         development or expansion of a developed recreational facility on National Forest System
         lands within lynx habitats. Currently, the Rio Grande National Forest supports four key
         linkage areas that highlight highway crossing and/or movement concerns.
   The threats and risk factors identified in the Southern Rockies Lynx Amendment and the
   management direction to address them remain valid on the Forest. Specific threats and risk
   factors in the post spruce beetle environment include:
   •     Inability to map suitable habitat across lynx analysis units and adjacent national forest
         units due to rapid changes from spruce beetle outbreak.
   •     Uncertainties associated with baseline habitat condition changes due to significant natural
         events such as spruce beetle outbreaks, and the relationship of these changes to ongoing
         management activities that further influence baseline conditions. Uncertainty in
         management activity thresholds.
   •     Uncertainty in what constitutes high-quality habitat in the post spruce beetle landscape,
         and revised management direction to address these conditions in association with
         vegetation management.
   •     A significant increase in over-snow vehicles, potential snow compaction, and
         disturbance.
   Since listing, most Federal land managers throughout the range of the Canada lynx, including
   national forests in the Forest Service Rocky Mountain Region, have formally amended
   management plans to conserve lynx and hare habitats (U.S. Fish and Wildlife Service 2013a,
   USDA Forest Service 2008).
   Recent modeling suggests that changes in temperature and precipitation are likely to impact
   lynx in the contiguous North American distinct population segment. Although the timing,


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      magnitude, and consequences of these impacts are difficult to predict, lynx habitats and
      populations in the contiguous United States are likely to be smaller and more isolated in the
      future and, therefore, more vulnerable to other threats (U.S. Fish and Wildlife
      Service 2013a).

      Direct and Indirect Effects
      The Southern Rockies Lynx Amendment provides an overview of all activities that might
      influence Canada lynx and the key ecosystem characteristics that define their primary habitat
      and that of their important prey species. The management direction that addresses these
      activities is incorporated into the action alternatives for the plan revision. Of these, forest
      vegetation management is considered the most influential, primarily because of the potential
      effects of vegetative structure that supports snowshoe hare and, to a lesser degree, other
      important prey species. Therefore, the forest vegetation management (timber) program has
      the greatest potential to influence Canada lynx depending primarily upon where these
      activities are located. Conversely, forest vegetation management can also be an important
      tool for improving lynx habitat both spatially and temporally over time and thus have
      beneficial influences to lynx habitat.
      Wildland fire can have extensive negative influences on lynx habitat locally because of the
      fire regime associated with local subalpine forests. In the short to mid-term (several decades),
      these fires can have detrimental effects on lynx habitat quality depending upon factors such
      as location, scale, and intensity. Conversely, wildland fire can be a beneficial influence on
      lynx habitat over the long term if burn intensities and spatial aspects of burn and unburned
      areas are in close proximity to each other.
      Recreational programs may have negative influences on lynx habitat, primarily as associated
      with winter recreational use of motorized over-snow machines, or snowmobiles. Effects can
      include disturbance and displacement, and facilitation of competition by other carnivores,
      such as coyotes, for food resources. Livestock grazing can and has been documented as a
      concern on vegetation structure and composition, particularly in riparian zones where aspen
      and willow provide important summer foraging habitat for a wider variety of prey species
      than during the winter periods. Most grazing issues involving lynx habitat have occurred at
      mid-elevations where drier riparian habitat vegetation can be more readily influenced by
      livestock. However, upper elevation willow carrs can also be influenced.
      Other human uses and key habitats involving road management, summer recreation, linkage
      areas, and habitat connectivity can also be influential depending on location, scale, and
      intensity.
      Programs that have the greatest potential to impact lynx are those that have the potential to
      affect the vegetative cover needed by lynx or their prey base. Timber harvest, fire, fuels
      management, and, to a lesser degree cattle grazing, all have the greatest potential to impact
      the required vegetative cover for lynx. Over-snow recreation has the potential to disturb and
      displace lynx and increase snow compaction levels. Dredging activities have potential to
      interfere with lynx movements. Vegetation management activities that occur during the
      reproductive season are the likely the only disturbances that have much potential to cause
      direct mortality to lynx. This effect can be mitigated by timing restrictions in key



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   reproductive habitat until such time as the kittens can likely move between maternal dens
   (after at least July 15).

   Effects on Canada Lynx from Vegetation Management
   Since amending the existing plan, or alternative A, in 2008, the Southern Rockies Lynx
   Amendment has mitigated most impacts to lynx through vegetation management activities.
   The Southern Rockies Lynx Amendment has since been integrated into all alternatives, with
   revised direction in alternatives B, C, and D, to address the changed condition in spruce-fir.
   Since the revised plan will include all plan components of the Southern Rockies Lynx
   Amendment, any effects from vegetation management will continue to be mitigated. There is
   no expected increase in effects to lynx or lynx habitat.
   More detailed consideration of the effects of vegetation management on lynx habitat can be
   found in the wildlife report in the project record.

   Effects on Canada Lynx from Fire Management
   As noted above, the 2000 Lynx Conservation Assessment and Strategy noted that fire
   exclusion is not considered a factor on the Forest. Revised plan direction for fire
   management in all action alternatives focuses on the natural role that fire plays in the
   ecosystem and addresses natural ignition wildfires where they would only be extinguished
   when they are a threat to human life or property, or if they risk the ability of the site to
   sustain ecosystems. All action alternatives also include plan direction for fire management
   zones that create a prioritization framework for fire management tied to resource protection
   or risks to human life and property.
   More detailed consideration of the effects of fire management on lynx habitat can be found in
   the wildlife report in the project record.

   Effects on Canada Lynx from Fuels Management
   Fuels management activities in lynx habitat across all alternatives are not expected to be
   applied frequently on a landscape scale because of the associated fire regime. However, pile
   burning and other slash clean-up activities associated with activity fuels from timber harvest
   may be used frequently. Fuels management activities have the potential to be have negative
   effects on lynx habitat. These effects are addressed in plan direction in alternatives B, C, and
   D, however, to avoid negative impacts to lynx habitat, maintaining the vegetative structure
   and connectivity required by the species.

   ^ffe^ts on Canada Lynx from Livestock Management
   Cattle grazing can reduce shrub size and vigor, generally leading to more open conditions in
   contrast to the lynx’s preference for dense undergrowth (Aubry et al. 2000). Cattle grazing
   can reduce winter forage and cover for snowshoe hares and is correlated with decreases in
   snowshoe hare abundance. The primary concern from livestock grazing on lynx habitat
   involves browsing and trampling impacts on understory or riparian-associated species such
   as aspen and willow, which function as important cover and forage habitat for prey species
   such as snowshoe hare. High-elevation riparian willow typically functions as a key habitat
   for a variety of prey species during the summer period. Grazing in these areas can reduce the


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      cover and forage value of these areas. The current management direction from the Southern
      Rockies Lynx Amendment regarding livestock grazing has been incorporated into the plan
      revision. In most cases, cattle grazing tends to be a minor influence on these habitat types due
      to their elevation and inaccessibility to livestock. Therefore, no updates to the management
      direction regarding livestock grazing have occurred.
      The existing management direction regarding livestock grazing, in addition to the new plan
      components, is expected to maintain the vegetative conditions associated with lynx and their
      important prey species.

      Effects on Canada Lynx from Road Construction and Reconstruction, Road
      Management, and Motorized Off-Highway Travel
      High-volume roads and highways are known to have an impact on lynx movement and
      habitat connectivity, but the impact of lesser-used roads and native-surface roads is less well
      understood. Road-related mortality of lynx occurs most often when highway traffic volume
      approaches or exceeds 4,000 vehicles per day. Given the slower speeds and reduction in use
      associated with native-surface National Forest System roads, direct and indirect impacts are
      less likely to occur. In some cases, however, they may affect lynx behavior by deferring
      intended crossings and movements. However, such impacts are expected to be minimal
      depending on road density values in particular areas, especially when in association with
      other high-use recreation areas such as developed campgrounds.
      Plan direction in all action alternatives could be used to defer road construction and
      maintenance projects in lynx denning habitat to avoid take when the dens are in use. Revised
      plan direction also allows for the use of seasonal closures to protect wildlife and fisheries
      habitat. If used properly, this plan direction could ensure that the road network has no more
      than a negligible impact to the lynx population, commensurate to a minor adverse effect in
      the form of unintentional harassment.
      Snowmobile use by recreationists often directly overlaps mapped lynx habitat because of
      human preferences for high-elevation, deep snow areas. Lynx can be negatively affected by
      use of over-snow vehicles due to noise and displacement. Winter periods can also be
      particularly stressful for lynx as they establish and reoccupy winter home ranges that will
      supply the food resources to feed themselves and often the kittens from the previous year,
      and provide them with enough resources to prepare for the coming breeding season. The
      probability of negative impacts occurring likely increases with increasing snowmobile use
      and the amount of accessible terrain. The current increasing trend in snowmobile use in
      Colorado and on the Forest and the increased ability of the machines to pioneer into
      previously secluded habitat areas has the potential to increase potential displacement and/or
      disturbance of lynx in some areas. For example, requests for guide permits to lead
      snowmobile groups in spruce-fir ecosystems that also support lynx are a recent activity on
      the Forest.
      Road and trail grooming for snowmobile access also results in snow compaction. In some
      cases, extensive play areas used repeated by snowmobiles also results in snow compaction.
      Baseline conditions regarding snow compaction are associated with the Southern Rockies
      Lynx Amendment and have been incorporated into all action alternatives. Existing baseline



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   conditions (miles of groomed over-snow routes, i.e., compacted snow) for the Forest for
   alternative A are listed in Table 53.

   Table 53. Miles of estimated designated and groomed winter routes on the Forest
   [LAU, lynx analysis unit. Information is from Table 3-24 in the final environmental impact statement for the
   Southern Rockies Lynx Amendment (USDA Forest Service 2007). This table represents alternative A, or the
   Forest baseline in relationship to Section 7 responsibilities and Southern Rockies Lynx Amendment management
   direction.]

                                                         Total Miles of Groomed
                                                              or Designated
       Rio                                                  Recreation Winter       Total Miles of Groomed
     Grande         Total Miles of       Total Miles      Trails and Routes in           or Designated
     National        Designated           Groomed          Lynx Habitat within      Recreation Winter Trails
      Forest           Routes              Routes                 LAUs              and Routes within LAUs
         Total           613                 613                   196                         319


   Groomed routes are managed under special use permit on the Forest, while winter trails and
   routes may or may not be.
   Under all alternatives, the snow compaction baseline is not to be exceeded without following
   the objectives and guidelines in the Human Uses section of the Southern Rockies Lynx
   Amendment, and documenting the rationale for this deviation. Additional GIS work
   completed in 2016 resulted in a new map of snow routes and suspected compacted routes for
   the Forest. On the basis of this mapping effort, the compacted routes are believed to be
   similar to the 2008 Southern Rockies Lynx Amendment baseline, but total routes used by
   snowmobiles had nearly doubled.
   For more information on over-snow activities, see the Sustainable Recreation section.
   Snow compaction is considered to be a potential issue for lynx because other predators such
   as coyotes may take advantage of hard-packed over-snow routes created by snowmobiles to
   access areas of deep snow habitat that were formerly inaccessible to them. This may result in
   competition for resources such as snowshoe hare that lynx depend upon. While use of
   snow-compacted routes by coyotes is a commonly observed occurrence locally, the effects of
   this increased access on lynx are uncertain. If further research indicates that it is a problem
   locally, then seasonal or local closures could mitigate the problem.
   The forest plan revision decision will determine the suitability of over-snow areas, but
   delineated routes will not be determined until the travel management planning process has
   been completed.

   Effects on Canada Lynx from Trail Management, Developed Recreation, and
   Dispersed Recreation
   The impact that outdoor recreation may have to lynx is not clear, although a number of
   studies are underway (Maze 2013). Nonmotorized over-snow travel may have a similar
   effect, although at a lesser scale and intensity. This may not directly impact lynx as the
   species spends the great majority of its time in thick brush and timber that is not generally
   suitable for over-snow travel, mechanized or not.


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      There is no indication that other types of recreation have much impact on lynx in their
      preferred habitat, as hikers and other recreationists generally stay out of the thickest brush
      that makes up the preferred lynx habitat.
      In alternative A, management direction for trails, and developed and dispersed recreation
      reflects the 1996 travel management plan and the Southern Rockies Lynx Amendment. All
      action alternatives include the existing Southern Rockies Lynx Amendment direction as well
      as additional direction tied to the changed condition in the spruce-fir forest. Alternative B
      proposes a slight increase in acreage of wilderness and wild, scenic, and recreational rivers,
      which would slightly limit trails, and developed and dispersed recreation, while alternative C
      would provide the greatest opportunities for motorized dispersed recreation. Alternative D
      would limit the locations of developed recreational opportunities and motorized dispersed
      recreation in proposed special interest areas, and recommended wilderness acreage. Overall,
      alternative C would have the most negative effects on lynx while alternative D would have
      the most beneficial effects.

      Effects on Canada Lynx from Designation of Wilderness, Wild, Scenic, and
      Recreational Rivers, Research Natural Areas, and Special Interest Areas
      Activities prohibited by wilderness designation include the use of mechanical transportation,
      motorized equipment, and permanent structures, which can have negative impacts on lynx
      and their habitat, depending upon location, scale and intensity.
      Overall, wilderness designation would be beneficial to lynx. Alternatives vary in the way
      they address wilderness, but that would have little or no impact on how wilderness impacts
      Canada lynx. The designation of Management Area 1.1a in alternative D might have some
      impact on lynx over the very long term, but that is uncertain. Alternative B includes an
      additional 59,000 acres and alternative D includes an additional 285,000 acres of wilderness,
      which suggests that alternative D would be the most beneficial to lynx.
      Wild, scenic, and recreational river designations would also have a positive impact on lynx.
      Lynx use riparian areas as part of their primary movement zones. The increased scrutiny of
      actions proposed within the eligible designated wild, scenic, and recreational river areas, and
      the emphasis on the maintenance of natural conditions in those areas, would ensure that
      measures protective of lynx would be considered.
      Alternatives B, C, and D all contain the same proposed areas to be included in the wild,
      scenic, and recreational eligible river designation and therefore the same effect from this
      designation to Canada lynx. This impact is expected to be very minor, if measurable at all, as
      the proposed designations do not overlap important habitat areas for Canada lynx.
      Existing special areas in alternative A have no specific benefit for lynx. Alternative D,
      however, includes a significant increase in acreage tied to special interest areas and
      recommended wilderness areas that include suitable habitat for lynx, including the Spruce
      Hole/Osier/Toltec and Deep Creek Special Interest Areas. All action alternatives include plan
      direction from the Southern Rockies Lynx Amendment, however, with revised plan direction
      specific to Canada lynx in late-successional spruce-fir forests to provide for suitable habitat.
      Additional special designations would not elevate management direction already required
      because of the threatened status of the species.



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   Effects on Canada Lynx from Mineral Resource Activities
   Mineral resource extraction activities that might impact lynx include hard rock, or locatable
   mining, recreational dredging, and utility corridors to support those activities. Recreational
   dredging occurs in riparian areas that often function as travel routes for Canada lynx among
   other species. Plan direction in alternatives B, C, and D encourages the retention of instream
   and riparian vegetation, which is a key component of lynx movements. Use of equipment in
   these areas could have some adverse impact to lynx in the form of unintentional harassment.
   The impact of minerals resources is expected to be minor.

   Cumulative Effects
   There are no previous actions that result in, or add, any adverse direct or indirect effects to
   lynx and lynx habitat. Any effects from previous actions have been accounted for in the
   existing conditions and trends.
   As noted in the listing decision, current forest management practices are considered one of
   the primary effects. Due to the Southern Rockies Lynx Amendment and Endangered Species
   Act protections, there are few if any direct and indirect effects at the programmatic scale.
   Vegetation management has the greatest potential to impact Canada lynx and lynx habitat at
   the project level. Given the plan components that are designed to protect the lynx and lynx
   habitat, there are minimal indirect effects from vegetation management. Other past, present,
   and reasonably foreseeable future actions that may have indirect programmatic effects are
   expected to be minimal as well due to the protections provided through the Endangered
   Species Act. Therefore, there are no expected significant cumulative effects on the Canada
   lynx or the habitat.

   New Mexico Meadow Jumping Mouse (Zapus hudsonius luteus)

   Existing Conditions and Trends
   The New Mexico meadow jumping mouse (jumping mouse) is endemic to New Mexico,
   Arizona, and a small area of southern Colorado (Hafner et al. 1981, pp. 501-502; Jones 1999,
   p. 1). The species was first reviewed for listing under the Endangered Species Act in 1985
   (50 CFR 37958) but was not formally listed until 2014 (78 FR 37363), with critical habitat
   proposed in 2013 (78 FR 37327) and designated in 2014 (79 CFR 19307).
   There are currently no known occurrences of New Mexico meadow jumping mouse in the
   planning area; therefore, no trend information is available. The planning unit contains no
   current or proposed critical habitat. Additional information on New Mexico meadow jumping
   mouse is contained in the wildlife report in the project record.

   Gunnison Sage-Grouse (Centrocercus minimus)

   Existing Conditions and Trends
   Historically, the range of the Gunnison sage-grouse included parts of central and
   southwestern Colorado, southeastern Utah, northwestern New Mexico and northeastern
   Arizona. Gunnison sage-grouse currently occur in seven populations in southwestern
   Colorado and southeastern Utah (79 FR 69312).


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      This species was petitioned for listing in 2001 (66 FR 54848). After multiple resubmissions
      of the petition, the species was found to be not warranted for listing in 2006 (71 FR 19954).
      After a status review in 2009, the species was listed as warranted, but precluded in 2010 (75
      FR 59804). In 2013 the U.S. Fish and Wildlife Service proposed designating critical habitat
      for the species (78 FR 2539) and proposed listing the species as endangered (78 FR 2485).
      After additional review and several modified proposals, the species was eventually listed as
      threatened (79 FR 69191) with designated critical habitat (79 FR 69311) in 2014. In this final
      determination, no critical habitat was established in the planning area, although the Poncha
      Pass area had been considered in earlier proposals.
      The Poncha Pass population is the only Gunnison sage-grouse population associated with the
      planning area. Delineated occupied distribution of this population covers approximately
      27,747 acres, of which approximately 5,060 acres coincides with lands managed by the
      Forest. About 725 acres of sagebrush habitat occur on Forest lands within or near the Poncha
      Pass population delineation.
      Poncha Pass is thought to have been part of the historical distribution of Gunnison
      sage-grouse. However, there were no grouse there when a population was established via
      transplant from 30 Gunnison Basin birds in 1971 and 1972. No population trend information
      was available until 1999 when the population was estimated at roughly 25 birds. In one year,
      the population declined to fewer than five grouse, when more grouse were brought in, again
      from the Gunnison Basin, in 2000 and 2001. In 2002, the population increased to slightly
      more than 40 grouse, but began declining in 2006, until no grouse were detected in lek
      surveys in the spring of 2013. Grouse were again brought in in the fall of 2013 and 2014, and
      six birds were counted in the Poncha Pass population during the spring 2014 lek count (79
      CFR 69312); however, no subsequent evidence of reproduction was found. Therefore, the
      U.S. Fish and Wildlife Service concluded in 2014 that the Poncha Pass area is not a
      landscape capable of supporting Gunnison sage-grouse, and subsequently removed critical
      habitat proposed for this area from the final critical habitat determination (79 CFR 69312).
      Additional information on Gunnison sage-grouse is contained in the wildlife report in the
      project record.

      Ecological Conditions for Recovery
      The Gunnison Sage-Grouse Rangewide Steering Committee identified the following
      conservation strategy elements specific to Forest Service management of lands within the
      Poncha Pass population (page and section references below are applicable to the Gunnison
      Sage-Grouse Rangewide Conser-vation Plan (Gunnison Sage-Grouse Rangewide Steering
      Committee 2005):
      •   Incorporate grazing management practices (such as those presented on page 212) for both
          cattle and sheep that are compatible with, or enhance, Gunnison sage-grouse habitat on
          federal and state lands during the permit renewal process, or when monitoring indicates
          need.
      •   Implement recommendations from rangewide strategy on “Human Infrastructure:
          Powerlines, Other Utility Corridors, Wind Turbines, Communication Towers, Fences,
          and Roads” (pg. 225).



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   •     Implement recommendations from rangewide strategy on “Noxious and Invasive Weeds”
         (pg. 232).
   •     Implement recommendations from rangewide strategy on “Recreational Activity”
         (pg. 245).
   •     Evaluate suitability of vacant/unknown habitat classification and determine if habitat
         improvement techniques may enhance suitability.
   •     Implement timing restrictions provided in rangewide “Human Infrastructure: Powerlines,
         Other Utility Corridors, Wind Turbines, Communication Towers, Fences, and Roads”
         strategy (pg. 225), and “Oil & Gas and Mining” strategy (pg. 233).
   •     Implement recommendations from rangewide strategy on “Predation” (pg. 243).
   •     Conduct inventory of vacant/unknown habitat areas using inventory technique developed
         at a rangewide level (“Habitat Monitoring” strategy, pg. 220).
   •     Search for new or unknown existing leks utilizing survey methodology developed at
         rangewide level (“Habitat Monitoring” strategy, pg. 220).
   •     Map Gunnison sage-grouse seasonal habitats in a GIS as defined per “Habitat
         Monitoring” rangewide strategy, Objective 1, Strategy #7 (see pg. 220).

   Direct and Indirect Effects
   All action alternatives include revised management direction specific to Gunnison
   sage-grouse.
   Under alternative A, much of the Poncha Pass area belongs to the 5.11 General Forest and
   Intermingled Grasslands Management Area. Alternatives B and D split the habitat, with the
   areas west of Highway 285 retaining the 5.11 Management Area designation, while areas east
   of the Highway are designated 3.6 Colorado Roadless Rule Upper Tier Management Area,
   and as 3 Roadless in alternative C.

   Effects on Gunnison Sage-Grouse from Timber Harvest
   There is little to no harvestable timber within the Poncha Pass area, or in potentially
   sagebrush areas in general. Revised management direction in all action alternatives does
   allow for occasional, irregular timber harvest in such areas but only in support of
   management objectives, such as habitat management. This allows timber harvest to be used
   as a tool (if needed) to protect or improve potential sage-grouse habitat, but prevents
   unnecessary harvesting activities that could damage habitat. The balance is that the timber
   program will cause no impact or adverse effect to the species or its habitat in the planning
   unit in any of the alternatives.

   Effects on Gunnison Sage-Grouse from Fire Management
   Revised management direction in all action alternatives ensures that the fire and fuels
   management programs play a large role in maintaining and restoring the natural conditions of
   areas, including objectives specific to existing sagebrush ecosystems, the modification of fire
   behavior, restoration of native plants, and creation of landscape patterns that benefit habitat.
   Fire that does not accomplish or contribute toward desired conditions would be suppressed
   while natural ignition or planned fires that contribute to the achievement of desired

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      conditions will be allowed. Revised management direction also allows the use of resource
      advisors on fires to better enable fire managers to accomplish habitat management objectives.
      Fuels management activities should contribute toward better management of fire with fewer
      high-intensity, out-of-control fires that could damage resources.

      Effects on Gunnison Sage-Grouse from Livestock Grazing
      Livestock grazing can have a significant influence on several key ecosystem characteristics
      important to the recovery of Gunnison sage-grouse. Some of these primary concerns include
      alteration of sagebrush characteristics and residual grass heights around potential nesting
      areas, and alteration of riparian zones important to brood survival. Revised management
      direction in all action alternatives specifically addresses range management in sage-grouse
      habitat, ensuring that livestock grazing is compatible with nesting and brood-rearing
      objectives in sage habitats and riparian areas.
      Overgrazing continues to be a threat to sage-grouse habitat, but effective regulation of range
      practices coupled with effective monitoring as needed would help to prevent potential
      impacts.
      In addition, revised management direction in all action alternatives prescribes to follow
      higher-level direction regarding species listed under the Endangered Species Act - that would
      include the grazing-related management practices described in the Gunnison Sage-Grouse
      Rangewide Conservation Plan (Gunnison Sage-Grouse Rangewide Steering Committee
      2005). Grazing remains a suitable activity for Forest and neighboring lands on Poncha Pass,
      although any impacts would be minimal.

      Effects on Gunnison Sage-Grouse from Road Construction and Reconstruction,
      Road Management, and Motorized Off-Highway Travel
      Revised management direction in all action alternatives allows for seasonal road closures,
      when needed, to protect resource values. This would allow roads through sage-grouse habitat
      to be closed during mating season. Use of existing, designated routes will not cause further
      harm to current sage-grouse habitat, but may harass any remaining birds. There is a moderate
      chance of some adverse effect resulting from unintentional harassment by motor vehicle
      users and other recreationists; however, this risk is not new and was analyzed when the
      reintroductions were planned.

      Effects on Gunnison Sage-Grouse from Trail Management, and Developed
      Recreation and Dispersed Recreation
      Revised management direction in all action alternatives allows the forest to implement
      recreational closures when damage to the resource is occurring. Although somewhat reactive,
      it would allow for the closure of areas seasonally or year-round to recreational use if needed
      to protect sage-grouse or other resources. The impacts of recreation to sage-grouse were
      analyzed when the reintroductions were first planned, and the current plan amendment would
      create no additional adverse effect or negative impact.




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   Effects on Gunnison Sage-Grouse from Designation of Wilderness, Wild, Scenic,
   and Recreational Rivers, and Research Natural Areas
   All action alternatives propose additional wilderness acreage in upper tier Colorado roadless
   acreage on Gunnison sage-grouse habitat east of Poncha Pass. This would ensure that no
   additional roads are constructed in the area. Designation of other areas, mostly in alternative
   D, would have similar impacts on road construction. This would be beneficial to the species,
   somewhat tempered by the fact that the Forest lands in question are on the periphery of the
   habitat area. As such, alternatives B, C, and D would have a minor positive impact on the
   species.

   Effects on Gunnison Sage-Grouse from Mineral Resource Activities
   A mica mine was recently proposed near Poncha Pass, but the application has been
   withdrawn (Gunnison Sage-Grouse Rangewide Steering Committee 2005). All action
   alternatives include revised management direction for abandoned mine lands and recreational
   dredging; neither activity is likely to occur.

   Summary of Indirect Effects
   Indirect effects to Gunnison sage-grouse and its habitat would be generally positive. The
   largest difference between the impacts of plan alternatives to Gunnison sage-grouse is that
   under alternatives B, C, and D, sage-grouse habitat on Forest lands east of Poncha Pass
   would be designated roadless (alternative C) or roadless upper tier (alternatives B and D).
   Recreation, range, and fire management all have some potential to cause intermittent, minor,
   short-term harm to the species or its habitat, but also have plan components that allow
   corrective action to occur. It is expected that there will be no long-term or major adverse
   effects or negative impacts to Gunnison sage-grouse from the proposed action under any of
   the alternatives.

   Cumulative Effects
   The most substantial current and future threats are habitat loss and decline due to human
   development and associated infrastructure (U.S. Fish and Wildlife Service 2014). In the
   Poncha Pass area, development is not considered a significant threat at this time. Habitat
   quality in the Poncha Pass area is also considered to be good or very good. The Gunnison
   Sage-Grouse Rangewide Steering Committee identified that residential development on
   private land is a threat specific to Gunnison sage-grouse at Poncha Pass because the area is
   scenic, easily accessed via Highway 285, and some interior parcels of land are in small tracts
   and currently for sale (Gunnison Sage-Grouse Rangewide Steering Committee 2005).
   Local threats include potential impacts to habitat caused by the proximity of State Highway
   285 and the electric transmission line corridor. Other threats impacting Gunnison sage-grouse
   to a lesser extent include overgrazing, mineral extraction, pinyon-juniper encroachment,
   fences, invasive plants, wildfire, large-scale water development, predation (primarily
   associated with human disturbance and habitat decline), and recreation. The fragmented
   nature of existing habitat amplifies the negative effects of these other threats (U.S. Fish and
   Wildlife Service 2014).




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      There is some threat from cumulative physical disturbances associated with recreation in the
      area. However, future recreation management and development would be consistent with
      Endangered Species Act requirements.
      In addition, a mica mine was recently proposed near Poncha Pass; however, the application
      has since been withdrawn. The future possibility of a mine is currently not reasonably
      foreseeable, as there are no specific proposals or applications. Any future consideration
      would be included in site-specific analysis.
      The cumulative effects on Gunnison sage grouse are expected to be minor and not significant
      due to restrictions and protections required by the Endangered Species Act.

      Mexican Spotted Owl (Strix occidentalis lucida)

      Existing Conditions and Trends

      Distribution, Abundance, and Population Trend
      The Mexican spotted owl occurs from southern Utah and Colorado south through the
      mountains of Arizona, New Mexico, and west Texas into the mountains of central Mexico
      (McDonald et al. 1991, U.S. Fish and Wildlife Service 2012). The Mexican spotted owl is
      widely but patchily distributed throughout its range in the United States, with distribution
      reflecting the availability of forested mountains and canyons, and in some cases rocky
      canyonlands (U.S. Fish and Wildlife Service 2013b).
      The species was considered for listing under the Endangered Species Act in 1982, when the
      U.S. Fish and Wildlife Service found that listing the species was probably appropriate, but
      was precluded by lack of definitive information (47 FR 58454). In 1990 a petition was filed
      to list the species as threatened or endangered (55 FR 11413), resulting in a proposed rule to
      list the species in 1991 (56 FR 56344), followed by actual listing as threatened two years
      later (1993, FR 58 14248). Six months later the U.S. Fish and Wildlife Service issued a
      finding rejecting a petition to remove the species from the Endangered Species Act list. The
      ensuing years saw designation of critical habitat for the species (60 FR 29915), revocation of
      that critical habitat (63 FR 14378), new designation (66 FR 8530, 69 FR 53182), and
      development of the recovery plan (77 FR 74688).
      The Forest has completed habitat and presence/absence surveys for the Mexican spotted owl
      since the late 1980s. Repeat surveys with current personnel have been completed in areas
      considered to offer the best potential habitat on the Forest. The Bureau of Land Management
      has also completed several years of surveys (2004-2009) in their best potential habitat. To
      date, no individuals have been detected on National Forest System or Bureau of Land
      Management lands in the San Luis Valley. Based on survey efforts, it is becoming
      increasingly unlikely that suitable nesting habitat for the Mexican spotted owl occurs on the
      Forest.
      In the southern portion of the planning area, some canyons contain suitable forest vegetation
      types such as Douglas-fir, white fir, and ponderosa pine. However, the canyons are not
      typically as steep, sheer, or narrow as those described for the Wet Mountains of Colorado
      where Mexican spotted owls occur (Johnson 1997 cited in Ghormley 2015). Elevation may
      also be a limiting factor on the Forest. Although some mixed-conifer and ponderosa pine


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   cover types on the Forest do overlap with the elevation range of owls studied in the Wet
   Mountains, these quickly give way to spruce-fir forest as the elevation increases
   (R. Ghormley, Rio Grande National Forest Wildlife Biologist, personal communication,
   2015).
   The species is not known to occur on the Forest or within the greater San Luis Valley area;
   therefore, no trends are identified for the planning area. There is no critical habitat for this
   species on the Forest. Additional information on the Mexican spotted owl is contained in the
   wildlife report in the project record.

   Southwestern Willow Flycatcher (Empidonax traillii extimus)

   Existing Conditions and Trends
   The breeding range of the southwestern willow flycatcher includes southern California,
   Arizona, New Mexico, southwestern Colorado, and extreme southern portions of Nevada and
   Utah. Specific range boundaries are delineated in the subspecies’ recovery plan (U.S. Fish
   and Wildlife Service 2002).
   The southwestern willow flycatcher was first petitioned for listing in 1992 (57 FR 39664),
   proposed for listing in 1993 (58 FR 39495), and listed in 1995 (60 FR 10695). Critical habitat
   was designated in 1997 (62 FR 1997), although there is no critical habitat on the planning
   unit. Since the initial designation, there have been multiple revisions of critical habitat
   boundaries and the development of multiple local-level habitat conservation plans. The
   species is widespread, but very rare throughout its range.
   Although willow flycatchers were known to occur in the San Luis Valley, little was known
   about the extent of their occurrence or what subspecies might be present. The current
   information suggests that important flycatcher habitat does occur in certain locations in the
   valley in association with willow-dominated riparian and wetland communities on the valley
   floor. Although it is recognized that the San Luis Valley occurs within a gradation zone
   between the E. t. adastus and E. t. extimus subspecies (Paxton et al. 2008), the U.S. Fish and
   Wildlife Service at this time considers all willow flycatchers in the valley to be the E. t.
   extimus subspecies (July 12, 2011, letter from the U.S. Fish and Wildlife Service to the Rio
   Grande National Forest).
   Current information suggests that important flycatcher habitat does occur in certain locations
   in the San Luis Valley in association with willow-dominated riparian and wetland
   communities on the valley floor. Although it is recognized that the San Luis Valley occurs
   within a gradation zone between the E. t. adastus and E. t. extimus subspecies (Paxton et al.
   2008), the U.S. Fish and Wildlife Service at this time considers all willow flycatchers in the
   San Luis Valley to be the E. t. extimus subspecies.
   In 2008, the first (and only) detection of an individual willow flycatcher on the Forest
   occurred during surveys of adjacent Bureau of Land Management lands. This detection
   occurred during the early survey period (June 9, 2008) about 5 meters from the boundary of
   adjacent Colorado State Land Board property. No willow flycatchers have been noted in this
   area or in any other location on Forest lands since that time. Forest staff has conducted
   habitat and presence surveys for the southwestern willow flycatcher since 2003.
   Approximately 1,762 acres of suitable and 947 acres of potential habitat for this species have


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      been identified on the Forest to date (2,709 acres total). Approximately 1,428 acres (81
      percent) of the suitable habitat and 93 acres (10 percent) of the potential habitat has received
      species protocol surveys for at least two consecutive years. As of the end of the 2014 field
      season, mapping efforts indicate that about 81-85 percent of the potential habitat on the
      Forest has been evaluated (Ghormley 2015).
      Due to a general lack of observations and breeding occurrence, no trend in the planning area
      is reported. Additional information on southwestern willow flycatcher is contained in the
      wildlife report in the project record.

      Wolverine (Gulo gulo luscus)
      The wolverine is currently listed as a proposed threatened species by the U.S. Fish and
      Wildlife Service. Wolverine have been historically documented on the Forest, but from 1919
      until 2009 there were no confirmed sightings anywhere in Colorado, including on the Forest.
      In 1997 there was one sighting on the Forest, but that sighting remains in dispute.
      In Colorado, nearly all historical and recent reports of wolverines are from higher-elevation,
      alpine areas that occur in an island-like fashion. Wolverines require large areas of suitable,
      high-elevation habitat. They are solitary, territorial animals and have large home ranges. In
      the Yellowstone region, female home ranges average more than 150 square miles and males
      nearly 500 square miles. Wolverines can travel large distances over extremely rough terrain
      and deep snow. Individual wolverines may travel more than 18 miles in one night (Colorado
      Parks and Wildlife 2015).

      Yellow-Billed Cuckoo (Coccyzus americanus)

      Existing Conditions and Trends
      In the United States the range of the western yellow-billed cuckoo includes the area west of
      the Continental Divide, south through Montana, Wyoming, and Colorado, along the
      watershed divide between the upper and middle Rio Grande and Pecos Rivers in New
      Mexico and Texas, south to Big Bend in southwestern Texas, and extending to the states of
      the West Coast (79 FR 59992).
      Yellow-billed cuckoo was first reviewed for potential Endangered Species Act listing as far
      back as 1982 (47 FR 58454). The species status underwent multiple reviews and was the
      subject of petitions for listing over the next several decades. In 2013 the western population
      of yellow-billed cuckoo was proposed to be listed as threatened (78 FR 2013). The species
      was formally listed as threatened in 2014 (79 FR 59991) with critical habitat designated that
      same year (79 FR 67154). Much of the critical habitat for the western population of the
      yellow-billed cuckoo overlaps with critical habitat for the southwestern willow-flycatcher.
      In Colorado, yellow-billed cuckoos were historically noted as rare summer visitors, primarily
      on the eastern plains, but also in Middle Park and on the western slope at Grand Junction
      (Sclater 1912). Bailey and Niedrach (1965) considered yellow-billed cuckoos an uncommon
      summer resident, mainly on the eastern plains and into the Front Range, with a few breeding
      records from Grand County and one bird collected in Montezuma County. Thus, the few
      historical records suggest that the species apparently has always been rare in western
      Colorado, an opinion shared by Andrews and Righter (1992). Recent breeding bird atlas


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   work in Colorado revealed only a single likely nesting record west of the Continental Divide
   during the 5 years of fieldwork (Wiggins 2005).
   The plan area is located east of the Continental Divide but includes the San Luis Valley,
   where yellow-billed cuckoo occurrence has been documented. The Rocky Mountain Bird
   Observatory received reports of yellow-billed cuckoos from two locations in the San Luis
   Valley in the summer of 2008. These reports occurred along the Conejos River in Conejos
   County and along the Rio Grande near Del Norte in Rio Grande County (Beason 2009). The
   species has not been documented within the planning area. Additional information on the
   yellow-billed cuckoo is contained in the wildlife report in the project record.

   Wildlife and Plant Species (other than TEPC/SCC)

   Overview
   The Forest has an assemblage of wildlife and plant species that contribute to economic and
   social sustainability. This section examines those wildlife and plants that are terrestrial and
   that are not listed as threatened, endangered, proposed, or candidate (TEPC) species; not
   listed as species of conservation concern (SCC); and are not aquatic. TEPC, SCC, and
   aquatic species are considered elsewhere in the document.
   Some of the species examined in this section have some level of protection or status under
   Federal legislation, regulation, or Executive orders, such as the Migratory Bird Treaty Act,
   the Duck Stamp Act, the Bald and Golden Eagle Act, and Executive Order 13186.
   The Forest has (or is likely to have) 26 species of rodents, 6 species of lagomorphs (5
   rabbit/hare species and pika), 4 shrew species, 11 species of bat, 17 species in the Order
   Carnivora (big cats, foxes, bears, and mustelids), and 6 species of hoofed animals.
   Eight native reptile or amphibian species are known to occur on the Forest. In addition, the
   northern leopard frog is suspected to occur, and the nonnative, invasive bullfrog is known to
   occur near the Forest but has not yet been detected on the Forest.
   Hunting and fishing is managed and regulated by Colorado Parks and Wildlife, which also
   does most of the wildlife management actions that involve direct manipulation of animals,
   including radio-collaring, translocation, and stocking, among others. The primary
   management role of the Forest Service for non-TEPC wildlife is through habitat management
   and through cooperation with Colorado Parks and Wildlife, U.S. Fish and Wildlife Service,
   and other agencies and organizations. Wildlife viewing activities also occur throughout the
   Forest and are a primary contributor to local wildlife-related recreational pursuits.
   General habitat conditions are described elsewhere in this document. This section focuses
   primarily upon which habitats are used by which species or groups of species and the status
   of the habitats in relationship to these species or groups.
   In Colorado, the susceptibility of bighorn sheep to pathogens introduced by domestic sheep is
   regarded as the primary factor limiting bighorn sheep populations (George et al. 2009). As of
   2010, there were about 11,700 domestic sheep permitted to graze on 26 established
   allotments on the Rio Grande National Forest. As a result of risk assessments of disease
   transmission between domestic and bighorn sheep at the project level, at least 13 of these
   allotments have been vacated since that time (USDA Forest Service 2006, 2010a, 2013).


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      Local habitat relationships for bighorn sheep are similar to those described elsewhere for
      Colorado (George et al. 2009). Most local bighorn sheep populations occur in steep,
      mountainous terrain in the alpine and subalpine zones. The overall components of bighorn
      sheep range include summer, winter, severe winter, and concentration areas, as well as
      migration routes. These components are found in various locations throughout the Forest,
      depending on the herds involved. Most herds display elevational migrations that vary by
      season, although some herds remain in the alpine zone throughout the year. The protection of
      winter range areas can be particularly important for bighorn sheep. Most winter range areas
      are characterized by low snow depth and wind-swept areas with sufficient forage and
      adjacent escape terrain for eluding predators (Krausman and Bowyer 2003). In some areas,
      bighorn sheep may remain at or move to high-elevation, wind-swept ridges to avoid heavy
      snow depths at lower elevations. Lambing areas on the Forest are typically on or very close
      to traditional winter range. They tend to be used on an annual basis by the same maternal
      group and are sensitive to disturbances. Important bighorn sheep lambing areas are located
      on all ranger districts of the Forest, as well as on local Bureau of Land Management lands.
      Domestic sheep numbers on the Forest have declined significantly since the peak periods of
      the late 1800s and early 1900s. However, the potential contact and disease transmission issue
      is unique among wildlife-related issues on the Forest in that it may take only one contact by
      one domestic sheep to spread respiratory illness throughout and among bighorn sheep herds.
      Therefore, despite the reduction in permitted domestic sheep numbers, the role that domestic
      sheep may play in influencing the long-term persistence of local bighorn sheep populations
      on the Forest remains an important management focus.
      Local information in the bighorn sheep conservation assessment (USDA Forest Service
      2010b) for the Forest suggests that recreational pack goats could also be a management
      concern in certain areas. Currently, the primary area of concern for pack goats involves the
      Sangre de Cristo mountain range, especially around Willow Lake Basin. In this particular
      location, bighorn sheep are accustomed and attracted to recreationists camping and passing
      through on their way to climbing peaks. Frequent contact and close association with camps
      and camping equipment in this location indicate that a high risk of intermingling and
      potential contact is likely if pack goats are involved. Furthermore, the bighorn sheep herds in
      this area are considered to be secure and are a conservation priority for Colorado.

      Affected Environment, Existing Conditions, and Trends

      Habitat Connectivity
      Habitat connectivity can be viewed as the degree to which landscapes facilitate or impede the
      movement of species and ecological processes among suitable habitat patches (Taylor et al.
      1993). Alternatively, connectivity may be a continuous property of the landscape,
      independent of habitat patches and pathways (Fischer et al. 2004). Habitat connectivity
      involves both structural connectivity (the physical arrangements of landscape disturbance
      and/or habitat patches) and functional connectivity (the movement of individuals across areas
      of disturbance and/or among patches). Functional connectivity is both species- and
      landscape-specific (Tischendorf et al. 2000). Distinguishing between the two types of
      connectivity is important because structural connectivity does not necessarily imply
      functional connectivity. The degree to which a landscape is connected determines the amount


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   of dispersal there is among patches, which influences gene flow, local adaptation, extinction
   risk, colonization probability, and the potential for animals to move as they cope with
   uncertainties such as climate change (Hodgson et al. 2009). In some landscapes, highways
   and major roads are commonly identified as a primary barrier to functional habitat
   connectivity.
   Measurements for habitat connectivity on the Forest involve both the physical attributes that
   might provide barriers to movement, such as roads and trails, and the vegetative or habitat
   structural changes and patterns that influence the ability of species to move across the
   landscape. Potential impacts from impaired connectivity can vary from one species to the
   next depending upon the characteristics of each species.
   In general, habitat connectivity is more of a continuous property of landscape vegetation
   conditions and patterns then it is of habitat patches and pathways. For the most part, the
   Forest is bounded on all sides by adjacent public lands and landscape patterns that add to the
   continuous nature of the landscape. For some wildlife species, such as Rocky Mountain elk,
   mule deer, and other game species, these landscape conditions continue to facilitate historic
   movement patterns within and among national forests, tribal lands, and other public and
   private lands including across state lines. Known habitat connectivity features on or
   overlapping the Forest include migration and dispersal corridors, daily home range
   movement, and broader landscape linkage areas that facilitate movement of multiple species
   and ecological processes. An estimated 50 percent of the landscape that occurs as designated
   wilderness or backcountry contributes to habitat connectivity and movement patterns for
   many species, particularly species sensitive to human disturbances. Additional protected
   areas, including special interest areas, research natural areas, wild, scenic, and recreational
   river corridors, and other areas increase the contribution to habitat connectivity across the
   landscape. Additional protected areas occur on adjacent National Forest System lands as well
   as across state and administrative boundaries.
   The vegetative characteristics of mid- to lower-elevation ecosystems present more mosaic
   landscape patterns associated with natural openings and habitat patches. Species associated
   with these ecosystems have evolved with these characteristics and are therefore less sensitive
   to landscape patterns associated with created openings. In these systems, alteration of the
   disturbance regime that maintains these landscape patterns can lead to dense vegetation that
   creates potential movement barriers for some species. Higher-elevation ecosystem types,
   such as in spruce-fir ecosystems, are more homogenous where small-scale disturbance
   patterns may dominate for long periods of time until conditions support a large-scale wildfire
   (Veblen et al. 1991b, Bebi et al. 2003). Some species that are sensitive to openings and other
   landscape characteristics, such as Canada lynx and American marten, are more closely
   associated with these conditions. However, a current spruce beetle outbreak is associated
   with extensive mortality of overstory trees on the spruce-fir landscape, resulting in canopy
   conditions that are several times more open than what typically exists for very long periods
   of time. This has affected habitat structure, species composition, and other landscape patterns
   associated with structural habitat connectivity. The consequences of this to functional habitat
   connectivity remains uncertain. What is known, however, is that standing dead trees and log
   complexes, remaining green tree patches, understory regeneration patches, and other legacy
   features within the forest matrix are key attributes that help establish refugia for various



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      species groups and likely help facilitate habitat connectivity in these conditions (Martin et al.
      2006).
      Highways and primary roads are also a likely factor that contributes to habitat fragmentation
      for some species in certain locations, particularly mid- to lower-elevation ecosystem types
      associated with more open conditions and gentle topography. Native-surface National Forest
      System roads add to these effects to a lesser extent but may still be important for amphibian
      and reptile species. Some species, such as various songbirds, are displaced from habitats
      along open roads. How frequently and to what degree existing road systems contribute to
      barriers for various species locally is generally unknown; however, potential impacts are
      likely more pronounced with motorized vehicles than with other modes of transportation.
      Highway-related mortality of sensitive species such as Canada lynx has been documented
      locally. Currently, there are four designated linkage areas that occur on, or overlap the plan
      area. These are broader areas of connectivity intended to help facilitate movement across
      barriers such as roads and highways, and were designed primarily with Canada lynx in mind.
      Information specific to wildlife movements in two of these linkage areas has been collected,
      with one these areas (North Pass lynx linkage area) considered a key movement zone to and
      from the core habitat area of southwest Colorado to the remainder of the state.

      Direct and Indirect Effects
      In general, all action alternatives provide for habitat connectivity in a similar manner as they
      all address structural connectivity considerations such as physical barriers to movement as
      well as functional connectivity considerations associated with landscape vegetation
      characteristics and land-use designations. Some habitat connectivity considerations are also
      associated with certain ecosystem types and are species-specific; however, benefits to other
      species should be expected as well in many cases. For example, all action alternatives
      incorporate the existing management direction from the Southern Rockies Lynx Amendment
      that are specific to Canada lynx. These plan components would address structural
      connectivity considerations such as potential movement barriers across major highways and
      roads, road development and placement, and human uses that might contribute to habitat
      fragmentation, such as development or expansion of recreational facilities, ski areas, road
      locations, and over-snow motorized travel. In a similar manner, all action alternatives also
      incorporate the four existing lynx linkage areas from the Southern Rockies Lynx
      Amendment, ensuring that a management focus will be retained along major highways
      known or considered to be important crossing locations for wildlife.
      All action alternatives include additional plan components associated with potential physical
      impediments to habitat connectivity. This updated plan direction encourages working with
      partners to improve habitat connectivity across highways. It also encourages evaluation and
      updates to existing linkage areas, if needed, as well as specifically addressing maintenance of
      habitat connectivity in association with winter recreational activities.
      In regards to functional habitat connectivity, the primary difference between the action
      alternatives involves the amount of managed versus protected lands in each alternative, and
      differences in management guidance that facilitate landscape connectivity considerations. At
      a broad scale, alternative D likely provides the highest potential for maintenance of landscape
      characteristics important to functional habitat connectivity because it provides for about
      200,000 acres more of protected area (e.g., designated wilderness) and fewer general forest

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   acres that might be associated with management activities, roads, and other features that
   might affect structural habitat connectivity and impede movement across landscapes by some
   species. For the same reasons, alternative B likely provides the next best scenario for
   facilitating habitat connectivity while alternative C likely provides for the least amount of
   potential for maintaining habitat connectivity. However, it should be noted that alternative D
   is associated with about 258,000 fewer acres of roadless designations than alternative B.
   Therefore, both alternatives may be similar as there are likely only slight differences
   regarding functional habitat connectivity in regards to wilderness or roadless designations.
   Alternative C, however, provides for no increase in wilderness acres over the existing
   condition (alternative A) and an increase in managed lands so therefore would likely provide
   less potential for habitat connectivity.
   All action alternatives also incorporate the Southern Rockies Lynx Amendment management
   direction to provide for connectivity for Canada lynx within and among lynx home range
   areas. Because of the existing condition, the capability of the landscape to provide suitable
   habitat for all associated species in a manner that occurs in a green forest condition is
   unlikely. Currently, occupancy by some avian and small mammal species is known to be
   declining (Ivan 2017, Pavlacky and Sparks 2016). While it is likely that movement and
   linkage areas still exist within the forest matrix, particularly where associated with important
   landscape features such as riparian zones or traditional movement areas, uncertainty exists
   regarding how such an extensive landscape change may or may not be influencing functional
   habitat connectivity.
   Additional plan components, some specifically for the spruce-fir zone and at-risk species
   such as Canada lynx, were developed that emphasize habitat connectivity provisions for
   various species at various spatial scales and the importance of structural legacies such as
   snags in maintaining connectivity in the changed condition. Plan direction in all action
   alternatives addresses habitat connectivity in all forest ecosystem types, minimizes
   disturbances in areas with connectivity, addresses the maintenance of seasonal wildlife
   movement areas identified and defined by Colorado Parks and Wildlife, and encourages the
   use of biological legacies such as snags and downed logs as building blocks for connectivity
   at various spatial scales. Plan direction also addresses potential habitat connectivity needs at
   the project level, including 1) assessing habitat connectivity conditions based on sub­
   watershed scales, 2) providing for appropriate distance considerations for designing
   movement areas in existing riparian zones, and 3) design considerations for travel along
   topographic features known to facilitate movement across landscapes.
   Alternatives B and D also include a standard specific to lynx (S-LYNX-7) that provides
   additional guidance for minimizing potential influences in habitat conditions believed to
   represent quality habitat for the species. While not specific to habitat connectivity, the
   standard does address maintenance of conditions expected to contribute to habitat
   connectivity across the landscape. This standard is not included in alternative C.
   It should be noted that all of the above conclusions are based on a broadscale evaluation of
   the action alternatives. At a broad scale, all action alternatives are expected to maintain or
   facilitate landscape characteristics that promote habitat connectivity. However, it is likely that
   site-specific factors such as existing site conditions, adjacency considerations, and scale,
   location, and intensity of proposed management actions, will also have important outcomes
   on whether certain activities impede or facilitate habitat connectivity at a more local scale.

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      How the management activities incorporate known or suspected movement criteria for the
      key species of interest in various ecosystem types will also be important to this outcome
      (Monkkonen and Reunanen 1999).

      Birds
      Migratory birds: Since 2011, The Bird Conservancy of the Rockies has detected 122 species
      of birds on the Forest; Forest Service records (dating back much further) show 174 species
      (Bird Conservancy of the Rockies 2017). Regular surveys are conducted by the Bird
      Conservancy of the Rockies that include mist-netting and banding as well as visual and
      auditory sightings.
      Raptors: Raptors detected by the Bird Conservancy of the Rockies include red-tailed hawk,
      northern goshawk, great-horned owl, golden eagle, Cooper’s hawk, American kestrel, turkey
      vulture, Swainson’s hawk, sharp-shinned hawk, osprey, and northern pygmy owl (Bird
      Conservancy of the Rockies 2017). In addition, the Forest Service has records of bald eagle
      (USDA Forest Service 2015). As a group, raptor species are generally dependent upon large
      trees (both live and snags) or cliffs for nesting, and require prey species. Different species of
      raptors prefer different environments for hunting. Some species, such as red-tailed hawk,
      hunt over open terrain, while others, such as great-horned owl, can hunt in less open areas,
      including areas with extensive forest canopy. Most species primarily seek terrestrial
      mammals as prey and may also scavenge food—the exceptions being the osprey and bald
      eagle, which depend upon fish for much of their diets, and the turkey vulture, which is almost
      exclusively a scavenger.
      In general, large trees and snags are important factors in the management of raptors because
      they serve as nesting platforms, or in the case of northern pygmy owls, they commonly
      contain cavities for nesting. Large trees and snags also provide perches from which raptors
      can scan for prey while resting.
      Disturbance during nesting season can cause raptors to abandon nests and generally
      decreases nesting success, although some individuals can become accustomed to activity.
      Wetland birds: Waterfowl, wading birds, and other birds strongly associated with water and
      detected by the Bird Conservancy of the Rockies on the Forest since 2011 include American
      dipper, snowy egret, great blue heron, grebe species, bank swallow, belted kingfisher, Canada
      goose, common merganser, mallard, and other duck and teal species (Bird Conservancy of
      the Rockies 2017). The nearby San Luis Valley has many well-known wetland birding
      hotspots, but many of the species common on the valley floor appear to not make it to the
      reservoirs and riparian areas in or adjacent to the Forest (eBird 2017a).

      Demand Species
      Game Species: Mule deer, moose, elk, pronghorn, Rocky Mountain bighorn sheep, mountain
      lion, and bear are present, with hunting licenses for these species issued by Colorado Parks
      and Wildlife. The Forest provides valuable habitat for a number of game species, large and
      small.




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   Colorado Parks and Wildlife organizes hunting licensing and management through
   designation of game management units (GMU), which are the same for most large game
   species, and data analysis units (DAU), which vary from species to species and are created
   by lumping together game management units. Deer/elk GMUs 68, 681, 76, 79, 80, 81, and 82
   overlap all with all Forest lands in the planning area. Colorado Parks and Wildlife staff
   estimates game populations in those areas based upon data analysis units, which roughly
   approximate discrete herds (Colorado Parks and Wildlife 2016a, b).
   Deer and elk have the same data analysis units:
   •         DAU 26 includes GMUs 68, 681, and 682,
   •         DAU 35 includes GMU 80 and 81,
   •         DAU 36 includes GMUs 76, 79, and 791, and
   •         DAU 37 includes GMU 82.
   These game management units and data analysis units are not limited to Forest lands; some
   of the game management units listed above contain no Forest lands (all of the listed data
   analysis units have at least some overlap with the planning unit). Colorado Parks and
   Wildlife population estimates for those areas provide insight into population numbers on the
   Forest and are influenced by Forest management actions—but these numbers do not reflect
   the actual number of mule deer and elk on the Forest, but instead reflect a much wider area.
   Population estimates of mule deer and elk for 2015 for four of the data analysis units that
   overlap with the plan area are listed in Table 54.

   Table 54. Population estimates of mule deer and elk for 2015
   [DAU, data analysis unit. Estimates provided by Colorado Parks and Wildlife (2016 a, b).]

        Species          DAU 26              DAU 35              DAU 36               DAU 37
       Mule Deer          4,450               4,830               1,680                1,820
       Elk                3,060               6,010                (null)              (null)


   The data analysis units for moose are much larger: Moose DAU 4 contains GMUs 65, 66, 67,
   68, 74, 75, 76, 77, 79, 681, and 751. This area includes most of the northwestern part of the
   Rio Grande National Forest as well as most of the San Juan National Forest. Colorado Parks
   and Wildlife staff estimated 450 moose in the data analysis unit for 2015 (Colorado Parks and
   Wildlife 2016c).
   Most Rocky Mountain bighorn sheep herds on the Forest do not have established DAU plans
   and are therefore managed primarily by GMU boundaries and populations. Current
   populations and status of bighorn sheep herds on the Forest are described in Table 55.




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      Table 55. Current status of Rocky Mountain Bighorn Sheep on the Rio Grande
      National Forest
                                 Current
                                 Estimate
       Herd Number and Name       (2016)       DAU                            Status
       S8 - Huerfano               80           N/A      Considered Secure
       S9- Sangre de Cristo        300          N/A      Potential Tier 1 - Considered Secure
       S10 - Trickle Mountain      35           N/A      Disease - Stagnant/Decreasing
       S15-Sheep Mountain          200        RBS 20     Tier 1 - Considered Secure
       S22 - San Luis Peak         80         RBS 22     Tier 2 - Disease/Potential Recovery
       S29-Alamosa Canyon          30           N/A      Tier 2 - Disease- Stagnant/Decreasing
       S30- Conejos Canyon         60           N/A      Tier 2 - Disease- Stable to decreasing
       S33-Pole Creek              135          N/A      Historic Disease - Secure but vulnerable
       S36-Bellows Creek           80         RBS 22     Tier 2 - Disease/Potential Recovery
       S53-Bristol Head            80         RBS 22     Tier 2 - Disease/Potential Recovery
       S55-Natural Arch/
                                    15          N/A      Disease - Stagnant/Decreasing
       Carnero Creek
       Summary                    1,095                  3-4 herds considered secure


      As of 2016, there were 11 bighorn sheep GMUs that occur or partially occur on the Forest
      that support approximately 1,095 individuals. Two other GMUs, Cimarrona Peak (S16) and
      Cotopaxi (S68) also border or slightly overlap the Forest but are not included in this analysis
      because they primarily occur on adjacent lands. Two DAUs representing interconnected
      populations have been established for bighorn sheep on the Forest (RBS-20, RBS-22), with
      an additional being considered (RBS-24). DAU-RBS-20 (Weminuche Population) involves
      GMU S-15 on the Rio Grande National Forest and S-S16 (Cimarrona Peak), and S28
      (Vallecito Herd) on the San Juan National Forest. DAU 22 (Central San Juan Population)
      includes GMUs S22, S36, and S53 on the Rio Grande National Forest (Table 56) and S52
      (Rock Creek) on the Grand Mesa, Uncompahgre, and Gunnison National Forests. Proposed
      DAU 24 (South San Juan Population) would involve GMU S29 and S30 on the Rio Grande
      National Forest and S31 (Blanca Peak) on the San Juan National Forest. The population
      structure of the DAUs demonstrates that many bighorn sheep herds on the Forest overlap and
      interact with herds on adjacent land ownerships. Several GMUs also overlap with adjacent
      National Forest System or Bureau of Land Management lands, as well as State and private
      lands.
      Chronic wasting disease has not been detected in any ungulate population association with
      the Forest. It is important to continue interagency efforts to prevent chronic wasting disease
      and other wildlife diseases.




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   Table 56. Population estimates for Rocky Mountain bighorn sheep in DAU 22
   [Estimates provided by Colorado Parks and Wildlife (2017b).]

     Game Management Unit                  2014                    2015                   2016
    S22, San Luis Peak                       60                     60                     80
    S36, Bellows Creek                       50                     50                     80
    S53, Bristol Head                       115                    115                     80


   Colorado Parks and Wildlife does not estimate population numbers annually for black bear or
   mountain lion, but does track harvest numbers by game management unit (Table 57).

   Table 57. Black bear harvest numbers in game management units that overlap with
   the Forest
   [Source: Colorado Parks and Wildlife (2017c, 2016d)

         Game Management Unit            2016 Black Bear Harvest          2014 Mountain Lion Harvest
                  68                                 1                                2
                  681                              (null)                             4
                  76                                 5                                4
                  79                                 1                                1
                  80                                 3                                6
                  81                                 9                                4
                  82                                 2                                5


   In addition, small game hunting occurs on the Forest, although Colorado Parks and Wildlife
   does not estimate population numbers for most species (other than bobcat, which is only
   estimated per each quarter of the state) and does not track harvest numbers for all species.
   Small game hunting can include the use of firearms or bows, but also includes trapping and
   falconry. Methods and regulations vary from species to species, and depend also upon
   harvest method (firearm, bow, trap, or raptor). Species available for small game harvest
   include furbearers (weasel and fox species), rabbit species, prairie dogs, beaver, some
   squirrel species, marmot, bobcat, some sage-grouse species, quail, grouse, pheasant, snipe,
   rail and other species. Some bird species may only be hunted with hawks and falcons.
   Colorado Parks and Wildlife staff have identified the need to better monitor the numbers of
   some species, especially bobcat. Other species have population estimates and other data and
   analysis developed independent of the hunting program. This is particularly true for bird
   species and some mammal species that are primary prey sources for raptors; such bird and
   prey species are monitored by the Bird Conservancy of the Rockies.
   Medicinal Plants: Osha (Ligusticum porteri) is a perennial plant in the carrot family
   (Apiaceae) that is harvested for its roots. The roots are used in traditional medicines by
   Native Americans, Hispanics, and other individuals to treat various respiratory ailments. Both
   commercial and personal harvest of osha take place on the Forest. Osha is commonly
   associated with aspen and mixed conifer forests and montane meadows ranging from 6,000
   to 11,700 feet in elevation in Colorado. Osha can be a common component of the understory

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      of these forests and meadows or can occur solitary. Osha is considered an indicator of healthy
      rangelands in some ecosystems.
      Recent research (Kindscher et al. 2017) regarding osha on the San Juan National Forest has
      demonstrated that, in general, the below- and above-ground productivity of osha increases
      with decreasing forest canopy cover. Given that much of the spruce-fir forests of the Forest
      have been or are currently being impacted by insects, it is likely that osha habitat is
      expanding and likely improving in quality at present in response to the decrease in canopy
      cover after the trees die. These forests will, with time, re-establish, and the canopy will begin
      to close. If the findings of Kindscher et al. (2017) hold true, then the quantity and quality of
      osha habitat on the Forest will eventually decline.
      The current demand for osha from across its range (Arizona, Colorado, Idaho, New Mexico,
      Nevada, Utah, and Wyoming, as well as into Sonora and Chihuahua in Mexico) is estimated
      to be about 1,000-2,000 kg per year with the price ranging from $70 to $420 kg (Kindscher
      et al. 2017). What proportion of this harvest is from the Forest is not known, because it is the
      proportion of that harvest that is accounted for by individuals and tribes as opposed to
      commercial harvest. Because cultivation of osha is not currently feasible, the entire supply of
      osha is wild harvested. Because much of the osha habitat in the Western United States is on
      National Forest System lands, it stands to reason that much of the wild harvest comes from
      National Forest System lands. Although permit procedures are in place, they vary by
      National Forest System unit. Because osha, like any other medicinal plant that grows on
      National Forest System lands, is considered a non-timber forest product, it is subject to the
      permitting process thereof.
      Although the absolute sustainability of wild harvesting osha from National Forest System
      lands and the Rio Grande National Forest in particular is unclear, osha does re-establish itself
      in the pits were roots have been harvested, which is uncommon for a medicinally important
      plant. However, Kindscher et al. (2017) demonstrated that roots that re-establish are smaller
      than roots that are removed, and that the productivity of the re-established plants is
      influenced by canopy cover, whereas pits with less canopy cover had more re-establishment.

      Other Species of Interest
      Northern leopard frog was historically present on the planning unit, but has not been
      documented there since 1997 despite species-targeted surveys. Range contractions and
      localized extinctions have occurred in Colorado (Hammerson 1982, Corn and Fogleman
      1984, Cousineau and Rogers 1991, Smith and Keinath 2007). The species is considered to be
      declining in the State of Colorado (Smith and Keinath 2007).
      During development of Assessment 5, the Forest considered the northern leopard frog for
      inclusion as a species of conservation concern but instead excluded it because the species
      appears to not currently occur in the planning unit. In all other respects, the species appears
      to merit inclusion as a species of conservation concern. Lack of occurrence in the planning
      unit is the only reason the species is not a species of conservation concern.




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   Direct and Indirect Effects
   All action alternatives include revised management direction for fish, wildlife, and plant
   species. Timber harvesting, roads and trails, and recreation all have the potential to impact
   fish, wildlife and plant species.

   Effects on Wildlife and Plant Species from Vegetation Management
   Timber harvest has potential to impact plant and animal species, especially raptors and
   cavity-nesting species. This would include the removal of large trees and snags that are
   critical to raptors. Alternatives B, C, and D include plan direction that protects snags, large
   trees, and mature vegetation, including guidelines adopted from Colorado Parks and Wildlife
   guidance. This includes some components specifically developed to be protective of raptors,
   as well as focused plan components developed for Canada lynx that incidentally protect other
   species.
   Current and proposed management activities would have little impact on wetland birds.
   Riparian areas in the planning unit are protected through application of revised management
   direction in all action alternatives that specifically address the impacts of timber harvesting
   activities to wetland environments.
   Timber harvesting and management have the potential to impact demand species as well,
   with the effects varying from species to species. Mule deer are habitat generalists and benefit
   from a mix of open and forested terrain. Forested areas provide cover, while edge habitats
   and open terrain provide better forage. Timber program plan components encourage a mix of
   habitats; this would be expected to be beneficial to mule deer.
   Elk prefer more open habitat than mule deer but will still make use of forested areas for
   cover and concealment. Vegetation management direction in all alternatives would have
   effects to elk habitat depending on the location.
   Bighorn sheep may be influenced by vegetation management. This primarily involves the use
   of prescribed fire and thinning.
   Small game impacts from timber harvesting could include destruction of dens or burrows,
   loss of cover, loss of forage or cover for prey species, and unintentional harassment. “Small
   game” encompasses a wide variety of species with a wide variety of habitat needs, generally
   similar to the needs of fish, wildlife, and plants in general.
   Timber harvest and salvage would have a moderate but short-term impact on osha because
   the plant benefits from more open forest conditions.
   All action alternatives include revised plan components that are protective of fish, wildlife,
   and plants in general that would also benefit small game species and influence timber
   harvesting techniques in a way that would make such activities less damaging.
   Alternatives B and D would have Management Area 1.1a - Recommended Wilderness in
   addition to currently designated wilderness. Alternatives A and C would have only the
   currently designated wilderness. Most of the area proposed for designation 1.1a are already
   currently designated as roadless. Those areas that would be designated 1.1a would likely
   experience less timber harvest than if they did not have that classification.



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      Alternative D has the largest combination of wilderness and recommended wilderness, which
      would be protective of plant and animal species due to reduced timber harvest. Alternative B
      also has some recommended wilderness, but less than alternative D. Alternatives A and C
      each have essentially the same amount of wilderness.
      Overall, the impacts of timber harvesting to wildlife and plants would have a variety of
      effects, moderate to minor, depending on factors such as location, scale, intensity, and the
      application of protective plan components, which are incorporated across all action
      alternatives.

      Effects on Wildlife and Plant Species from Fire Management
      All action alternatives include fire management plan direction and fire management zones
      focused on returning or maintaining the plan area within the natural range of variability for
      fire-related effects, which would be generally beneficial to native species. Benefits would be
      most pronounced for species whose habitat relationships are more closely associated with
      fire-adapted ecosystems at low to mid-elevation. Examples of these species include Rocky
      Mountain bighorn sheep, mule deer, pronghorn, Rocky Mountain elk, and various other game
      species. Negative effects may be associated with species associated with spruce-fir
      ecosystems and other high-elevation habitat types with long fire-return intervals. These
      effects are likely to be more closely associated with factors such as fire size, severity, burn
      patterns, and other factors.
      Alternative A currently does not allow naturally ignited fires to burn for resource benefit in
      most management areas. All action alternatives allow naturally ignited wildfires to burn to
      meet resource objectives, dependent on management area status and environmental
      conditions at the time of ignition. Therefore, alternatives B, C, and D have a better chance of
      moving toward or maintaining the natural range of variability for the different vegetation
      types within the planning area.
      The overall impact of fire management activities will likely benefit native plant and animal
      species. This impact may be slightly greater for alternatives B, C, and D than for
      alternative A.

      Effects on Wildlife and Plant Species from Livestock Grazing
      Livestock grazing can impact wildlife and plant species in many ways. Cattle prefer grass
      instead of forbs, and at moderate levels, this can stimulate grass to grow faster, giving grass a
      competitive advantage over forbs. At higher levels of grazing, the removal of live plant
      matter can cause erosion. Bare soil produced by such overgrazing can be at risk to
      colonization by invasive plants. At high use levels, trampling can lead to the loss of soil
      cohesion and erosion, impacting aquatic species even if there is no grazing in riparian areas.
      Grazing in riparian areas can have negative impacts to species that depend upon such areas,
      even at relatively low use rates.
      Cattle compete with native wildlife for forage. Although cattle prefer grass and native deer
      prefer browse, elk also prefer grass and there is still dietary overlap.
      All action alternatives contain updated deer and elk/bighorn sheep/big game winter range
      management areas that include a number of protective measures for deer, elk, and where
      applicable, bighorn sheep, including measures to ensure adequate forage and consideration of

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   wildlife needs in the development of grazing strategies. Drought may exacerbate this concern
   on winter range areas. The maintenance of high-quality forage resources is also a concern for
   elk and other big game species during severe winters when the animals are concentrated on
   limited range areas as mapped by Colorado Parks and Wildlife. Specific to bighorn sheep, all
   action alternatives include revised management direction to help minimize or prevent the risk
   of potential contact between bighorn sheep and domestic sheep and help address the
   separation objectives when ranges for the two species occur in proximity. Currently, many
   but not all of the existing bighorn sheep herds have been assessed for potential movements
   within and beyond their core herd home range in relationship to domestic sheep allotments
   and other bighorn sheep herds, including movements onto adjacent administrative units and
   state and private lands. Individual bighorn sheep on the Forest have demonstrated
   straight-line movements of more than 20 miles, including movements to and from the San
   Juan National Forest and the Grand Mesa, Uncompahgre, and Gunnison National Forests.
   Alternatives B and D address the risk of potential contact between recreational pack goats in
   the Sangre de Cristo range by prohibiting pack goat use in this location. This is expected to
   significantly reduce this issue in the only location it is known. Alternative C does not include
   this prohibition and continues this risk. Recreational pack goat use is not prohibited in any
   other location on the Forest under any action alternative. Although pack goat use may occur
   in other bighorn sheep range, the risk of contact is considered low in these locations with no
   known potential issues. Revised plan direction in all action alternatives provides for
   educational signing regarding pack goats and bighorn sheep in other locations on the Forest.
   There is no difference among alternatives in terms of total permitted animal unit months.
   Where that grazing will specifically occur would vary in alternative D, based on the potential
   designation of special interest areas and/or research natural areas that do not allow for
   ongoing livestock grazing.
   Because the total number of animal unit months does not vary across alternatives, impacts to
   big game are expected to be somewhat limited as adequate forage resources are expected to
   remain available over most big game range areas.

   Effects on Wildlife and Plant Species from Road Construction, Reconstruction,
   and Management
   Roads can impact native plants and animals in many ways. Roads can bisect habitat,
   fragmenting a species’ population. Roads can contribute to erosion and alter drainage
   patterns. Direct mortality of wildlife can occur from roadkill. Some species are tolerant of
   noise and motion from nearby roads, but many animal species will not nest or den near roads,
   in which case the very presence of roads can significantly reduce the amount of habitat
   available for the species to use. The width of road corridors, along with the type of use those
   roads receive, both affect the impact such a road can have on wildlife connectivity and
   fragmentation.
   As road management level increases, fragmentation-related impacts also are expected to
   increase due to the greater width—i.e., narrow, off-highway vehicle trails would generally
   have less impact that wider general-purpose roads. In addition to width, traffic speed and
   frequency can also influence how wildlife perceive the road and therefore how much of a
   barrier the road may be to habitat connectivity. A level 2 road with frequent use by loud,
   high-speed, off-highway vehicles may have a greater impact to wildlife and connectivity than

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      a level 3 road that receives only limited use by relatively slow and quiet sport utility vehicles,
      even if the level 3 road is wider and more visible.
      Road maintenance can introduce invasive species through the presence of seeds unknowingly
      contained in fill material, or embedded in dirt or mud stuck to construction equipment
      brought in from off-site. Nonnative and invasive seeds have at times been used intentionally
      as erosion control or for revegetation. Seed mixes (even native seed mixes) used for
      revegetation after road projects can lure wildlife closer to roads and increase the risk of
      roadkill.
      Vehicle use can introduce toxins into the environment, from exhaust gases to leaked fluids
      such as anti-freeze, oil, and grease; this could come from regular use of the roads as well as
      maintenance activities on equipment. In some soil types, dust from the road can coat nearby
      plant leaves enough to limit photosynthesis.
      Road corridors tend to be the most likely place for unplanned human ignition fires to start.
      This could be from arson, vehicle accidents, sparks created by poorly maintained vehicles, or
      any of a variety of other causes, intentional or not.
      In a more indirect way, roads can experience significant impacts simply by being a means of
      allowing visitor access, which brings with it all of the impacts that visitors cause.
      Because this is not a travel management plan, significant changes are not expected from this
      plan revision. The road network and use thereof on the Forest has a moderate adverse impact
      to the fish, wildlife, and plant species on the Forest. This occurs primarily via habitat
      fragmentation, erosion, roadkill, and harassment. Because this scale of the road network does
      not vary across alternatives, impacts would not vary across alternatives.

      Effects on Wildlife and Plant Species from Motorized Off-Highway Travel
      Off-highway vehicle traffic can harm wildlife many different ways, from the existence of
      off-highway vehicle trails and physical impacts as well as from noise and other factors.
      Off-highway vehicle trails or National Forest System Road management level 2 roads can
      contribute to habitat fragmentation and increased edge effects, although the effect of
      off-highway vehicle trails is far less pronounced than that of the wider, more built-up roads
      used by more regular street vehicles (National Forest System Road management levels 3, 4, 5
      or equivalent).
      Illegal off-route travel by off-highway vehicles continues to be a problem on the Forest, as
      well as on many other federal lands. Most of this occurs in the form of short-distance loops
      or spurs off existing routes, especially in riparian areas. These have the same impacts as those
      of planned routes and may have additional, more severe, impacts due to their unplanned
      nature.
      Similar to the impact of the road network, alternatives in the plan have little impact on the
      use of off-highway vehicles other than minor protective measures available to close certain
      areas if necessary to protect at-risk species, or due to adverse environmental damage. The
      minor to moderate impact of off-highway vehicle use to fish, wildlife, and plants would
      continue, and would likely remain the same for all alternatives.




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   Effects on Wildlife and Plant Species from Trail Management
   Trail impacts can roughly be divided into two categories: physical impacts of the trails
   themselves, and the effects of the use of those trails.
   Physical impacts of trails are similar to impacts of roads, but on a smaller scale. Alteration
   from erosion, channeling, and drainage can all occur due to the presence of trails. Trail
   maintenance can still bring in nonnative plant species if equipment is not cleaned prior to
   use, because a weed seed in mud stuck to a shovel is just as viable as a weed seed in mud
   stuck to a road grader. Multiple plan components are designed to reduce or eliminate these
   sorts of impacts. A trail that is properly designed for the terrain and use it receives will have
   little direct impact to its environment, other than the impacts caused by the humans who use
   it.
   Trails also allow and encourage visitor access. This can have a variety of impacts, which are
   addressed in the Sustainable Recreation section.
   Some Forestwide plan components could cause an expansion of the existing trail network by
   encouraging trail connections between existing National Forest System trails and strategic
   community areas and encouraging the use of loop trails. Although these components could
   cause the trail network to expand, most of that expansion would be in the form of short trail
   segments that connect currently existing trails. As previously stated, these trails should have
   very little impact other than impacts caused by visitor use.
   These impacts are expected to be minor, and would not vary from one alternative to the next.

   Effects on Wildlife and Plant Species from Developed Recreation
   Visitor use typically has a larger impact than trail construction or management. This includes
   noise that leads to harassment of wildlife, intentional or unintentional. Dogs that accompany
   hikers can add to the harassment of wildlife, and even leashed dogs can have an impact as
   they look and smell like the predators that many wildlife species have evolved to see as
   threats. Trails can allow visitors to unintentionally introduce weed seeds (from boots or pets)
   into otherwise pristine environments. Wildlife may consume trash that visitors leave behind,
   leading to ill effects. Visitors may drop food accidentally or intentionally feed wildlife,
   leading to larger numbers of rodents or “camp robber” bird species such as jays, magpies,
   and ravens.
   Some Forestwide plan components could reduce the impacts that developed and dispersed
   recreation have on the plant and animal species in the planning unit. Revised plan direction in
   all action alternatives allows for the closure of campgrounds if the level of use drops below a
   threshold, allowing a potential for some areas to be restored back to a more natural setting.
   Revised plan direction also allows for closures of some areas if use levels exceed the site’s
   capacity enough to cause environmental damage or if the type of use causes unacceptable
   environmental damage.
   Alternatives A, B, and D contain Management Area 4.3 - Dispersed and Developed
   Recreation. In alternative C, Management Area 4.3 is included in Management Area 5,
   General Forests and Rangelands. Management Area 4.3 is largest in alternative B
   (101,218 acres) and smallest in alternative D (73,053 acres), with alternative A part-way



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      between the two (92,947 acres). This should roughly correspond to the impacts of those
      alternatives, other than alternative C, which probably has a wider range of potential impacts.
      Overall, the environmental impact from developed recreation would be the least with
      alternative D, slightly greater with A, and greater yet with B, while alternative C could have
      impacts anywhere from slightly less than alternative D to slightly greater than alternative B.
      Overall these impacts would be expected to range from negligible to moderate, depending on
      the implementation of Forestwide plan components and the project-level planning associated
      with their use and development.

      Effects on Wildlife and Plant Species from Dispersed Recreation
      Effects from dispersed recreation are very similar to effects from developed recreation, but at
      a much lower intensity. Conversely, these impacts can be more widespread and can occur in
      environments that are otherwise relatively pristine. Noise from visitors can harass wildlife.
      Dogs that accompany hikers can add to the harassment of wildlife. Trails can allow visitors to
      unintentionally introduce weed seeds into otherwise pristine environments. Use of soaps and
      detergents associated with camping can contaminate streams. Dispersed camping areas can
      experience soil compaction, and dispersed camping activities can cause unintentional wildlife
      harassment.
      Impacts from dispersed recreation are expected to mirror those from developed recreation,
      with two exceptions. Impacts from dispersed recreation would be expected to be at a much
      lower intensity than those from developed recreation because the visitors would be more
      widely spread out. However, this less-intense impact could be spread out over a much wider
      area.
      Dispersed are the same as developed in terms of which alternatives have which impact.

      Effects on Wildlife and Plant Species from Designation of Wilderness, Wild,
      Scenic, and Recreational Rivers, Special Interest Areas, and Research Natural
      Areas
      Wilderness designation is mostly protective of natural resources. This designation can,
      however, prevent or limit some natural resource management practices such as the
      installation of fish barriers; use of motorized equipment to track, trap, or translocate animals;
      use of motorized equipment to treat nonnative plants; or spread of beneficial native seeds
      after wildfires or other large disturbance events.
      Alternatives B and D would have Management Area 1.1a - Recommended Wilderness in
      addition to currently designated wilderness. Alternatives A and C would only have the
      currently designated wilderness. Most of the area proposed for Management Area 1.1a is
      already currently designated as roadless. Alternative D has the largest combination of
      wilderness and recommended wilderness, which would be protective of plant and animal
      species due to reduced timber harvest and the lack of motorized trails and developed
      recreation.
      Wild, scenic, and recreational river designations are generally protective in nature, requiring
      the free-flowing nature of the water to be maintained and generally encouraging natural
      conditions in the river corridor. This can be beneficial for the plants and animals in those
      areas. Wild, scenic, and recreational river eligibility designations are similar across

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   alternatives, and maintaining this eligibility would be broadly positive for the fish and
   wildlife species within the wild, scenic, and recreational river corridors. The impact would be
   minor to moderate, positive, and very similar for all four alternatives.
   Research natural area and special interest area designations are generally protective of the
   plants and animals contained within. Existing special areas in alternative A benefit wildlife
   and plants. All action alternatives propose boundary modifications to existing special areas
   and removal of the Ripley’s Milkvetch Special Interest Area, due to the positive monitoring
   trends since 1996. Alternative D proposes additional special interest areas and one additional
   research natural area and would see a broadly positive impact to the plants and animals
   within that area. Revised management direction in all action alternatives specific to habitat
   connectivity and ecosystem integrity would apply Forestwide, regardless of additional
   special designations.

   Effects on Wildlife and Plant Species from Mineral Resource Activities
   Impacts to wildlife and plant species from mineral resource activities include impacts from
   abandoned mines, gravel pits, hard rock mining throughout the Forest, and recreational
   dredging in riparian areas. Recreational dredging is further discussed in the Aquatic
   Ecosystems and Water Resources sections.
   Under alternative A, there would be no change to the policies surrounding mineral extraction
   nor management direction regarding recreational dredging. All action alternatives include
   language more specific to dredging.
   Alternative D would have the least access to and development of mineral resources due to the
   greatest amount of use restrictions from wilderness and special interest area designations,
   including the congressionally designated trail corridor. Alternative B would have reduced
   access and development of mineral resources, but at a smaller scale than alternative D.
   Alternative C would increase the access to minerals.

   Cumulative Effects
   The largest and most obvious past impact to fish, wildlife, and plant species on the Forest is
   the recent spruce-beetle impact. The resulting reduced amount of overstory canopy cover has
   allowed greater sunlight penetration into the understory, resulting in additional plant growth
   that has filled in the understory. As the effects of the beetle kill continue to progress, the
   formerly spruce-dominated overstory is being replaced by an herbaceous and aspen-
   dominated understory. Past management activities have impacted fish, wildlife, and plant
   species habitat. Construction of roads and trails has fragmented habitat, thereby limiting
   movement of some species. Increased human population and development has caused
   rangewide population decline for many species. Nonnative invasive plant and animal species
   have spread, reducing habitat for native species and causing direct mortality of chytrid
   fungus. Fire exclusion in areas has resulted in an increase in fuel build-up that could increase
   fire intensity, leading to wildfires that are more likely to escape initial attack. Overhunting
   and extermination efforts have also led to the extirpation of many species.
   Anticipated increases in temperature and changes to timing, intensity, and amount of
   precipitation could impact species through the development of warmer, drier conditions.



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      Species of Conservation Concern

      Existing Conditions and Trends
      Species of conservation concern are defined in the 2012 Planning Rule as plant, animal, and
      aquatic species, other than federally recognized threatened, endangered, proposed, or
      candidate species, that are known to occur in the plan area and for which the regional forester
      has determined that the best available scientific information indicated substantial concern
      about the species’ capability to persist over the long-term in the plan area (36 CFR 219.9(c)).
      The rule requires establishment of plan components that provide the ecological conditions
      necessary to maintain a viable population of each species of conservation of concern in the
      plan area. See Appendix C for more information about species of conservation concern.
      The Rio Grande National Forest initial list of species of conservation concern was developed
      in Assessment 5, which is incorporated by reference (USDA Forest Service 2016). The
      process was initiated by assessing the Regional Forester’s Sensitive Species list previously
      identified for the Forest. The criteria for including species in this list is described earlier in
      this chapter, as is the list of species included. The assessment proposed 82 plant and animal
      species as potential species of conservation concern (USDA. Forest Service 2016). As the
      Forest Service developed and refined guidance for the implementation of the 2012 Planning
      Rule, the species of conservation concern list for the Forest was revised. The list presented
      earlier in this document is that revised list. Species that were considered but not carried
      forward on the current list are contained in Appendix C.
      In terms of the affected environment for species of conservation concern, the key is the
      Gro-uping ofSpecies and Select Set o_fEcological Conditions that are described beginning on
      page 68 of Assessment 5. Although this select set of conditions is tied to monitoring, it can
      also serve as a useful mechanism for framing the affected environment for these species and
      for describing the impact of the proposed action and plan alternatives to those species. Every
      species on the species of conservation concern list uses or requires at least one of the
      conditions or features included in the select set.
      Rather than describe all environmental conditions needed by all at-risk species, we are
      instead describing those conditions shared by one or more of the SCC and/or TEPC species,
      while ensuring that at least one condition required by each species is described. Assessment 5
      collated the select set and described them in two groups. One group was those ecological
      conditions and features that could be used by one or more SCC/TEPC and that were also
      described in Assessments 1 and 3 (Table 58). The second group was those ecological
      conditions and features that were used or required by one or more species of conservation
      concern but that were not described or assessed in Assessments 1 and 3 (Table 59). A coarse
      filter of shared ecological conditions necessary for the species is represented in Table 58.




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   Table 58. Ecological conditions for recovery and conservation of species of
   conservation concern described in Assessments 1 and 3
                                                                           Species that use or require this
            Feature or Condition                   Description
                                                                                feature or condition.
                                                                           Boreal owl
                                                                           Flammulated owl
                                        Large enough for cavities and
    Large trees and snags, late-seral                                      Northern goshawk
                                        stable enough to support large
    forests                                                                American marten
                                        birds
                                                                           Fringed myotis bat
                                                                           Western bumblebee
                                                                           Rio Grande sucker
                                                                           Southwestern willow flycatcher
                                        Riparian vegetation dominated by   Yellow-billed cuckoo
    Willow thickets and cottonwood
                                        mature cottonwood trees and        Canada lynx
    galleries
                                        dense willow.                      Western bumblebee
                                                                           Colorado woodrush
                                                                           Silkyleaf cinquefoil
                                                                           Gunnison sage-grouse
    Sagebrush
                                                                           Brewer’s sparrow
                                        Large enough to contain cavities   Boreal owl
    Large aspen trees                   and/or to support the weight of    Flammulated owl
                                        large birds.                       Northern goshawk
                                                                           House’s stitchwort
                                                                           King’s campion
                                                                           Gray’s draba
                                                                           Rocky Mountain draba
    Alpine ecosystem, including                                            Rothrock’s Townsend daisy
    cushion plan communities, alpine
    fell-fields, and talus slopes                                          Colorado tansy aster
                                                                           Colorado larkspur
                                                                           Stonecrop gilia
                                                                           Smith’s draba
                                                                           Shortflower Indian paintbrush
                                                                           Flammulated owl
    Snags                                                                  American marten
                                                                           Boreal owl




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      Table 59. Ecological conditions and features that are NOT described in
      Assessments 1 and 3, and that are needed or used by at-risk species
                                                                                      Species that use or require this
              Feature or Condition                          Description
                                                                                           feature or condition
       Volcanic substrates: Ash-tuffs,           These are specific soil types that   Black Canyon gilia
       latitic lava flows, rhyolite, andesitic   many plant species are dependent     Stonecrop gilia
       substrates                                upon.                                Ripley’s milkvetch
                                                                                      Rocky Mountain draba
                                                                                      Colorado tansy aster
                                                                                      Arizona willow
                                                                                      Kings campion
                                                                                      Rothrock’s Townsend daisy
                                                                                      Plummer’s cliff fern
                                                                                      Weber’s catseye
                                                                                      Arizona willow
       Sedimentary calcareous                    These are specific soil types that   Slender cliffbreak
       substrates                                many plant species are dependent     Colorado tansy aster
                                                 upon. Mostly shale or limestone.     King’s campion
       Fens                                      Wetlands fed by mineral rich         Little grapefern
                                                 groundwater. On the Forest, many     Mud sedge
                                                 are in alpine areas. This includes   Colorado woodrush
                                                 iron fens.
                                                                                      Spiny-spore quillwort
                                                                                      (unconfirmed)
                                                                                      Colorado woodrush
       Presence of nonnative fish and            Risk factor: Compete with,           Boreal toad
       amphibians                                predate, or outbreed native          Rio Grande cutthroat trout
                                                 species                              Rio Grande chub
                                                                                      Rio Grande sucker
       Large patches of snow willow                                                   White-tailed ptarmigan
                                                                                      Uncompahgre fritillary butterfly
                                                                                      Rocky Mountain draba
                                                                                      Colorado woodrush
       Vegetation that overhangs water           Trees and shrubs that overhang       Rio Grande cutthroat trout
                                                 the banks ponds, lakes, or slow      Rio Grande sucker
                                                 moving pools in rivers and creeks    River otter
       Prey: Small mammal population                                                  Mexican spotted owl
       (prairie dogs, shrews, voles,                                                  Boreal owl
       squirrels, hares, rabbits)                                                     Flammulated owl
                                                                                      Black footed-ferret
                                                                                      Canada lynx
                                                                                      American marten
       Prey: Insects                                                                  Boreal toad
                                                                                      Southwestern willow flycatcher
                                                                                      Fringed myotis bat
                                                                                      Townsend’s big-eared bat
       Large caves and mines (stable             Needed for maternity colonies and    Fringed myotis bat
       interior temperature)                     hibernacula                          Townsend’s big-eared bat
       Coarse substrate (aquatic)                                                     Rio Grande chub
                                                                                      Rio Grande sucker



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                                                                          Species that use or require this
          Feature or Condition                   Description
                                                                               feature or condition
    Occasional disturbance           Natural, such as root wads from      Rothrock’s Townsend daisy
                                     trees falling down, or artificial,   Silkyleaf cinquefoil
                                     such as trail maintenance.           Ripley’s milkvetch
    Northern flicker cavities                                             Western bumblebee
                                                                          Fringed myotis
                                                                          Boreal owl
                                                                          Flammulated owl
    Floating vegetation mats                                              Mud sedge


   The current condition of these conditions and features is described in the assessments and in
   the Forested Ecosystems section, and summarized below.

   Large Trees and Snags, Late-Successional Forests
   About 22 percent of spruce fir and 17 percent of the forest overall is in late-successional
   stages. This is projected to increase under current plan direction to 27 percent in the next 20
   to 50 years. Even so, this is less than the 35-percent amount thought to be in late-successional
   habitat under historic conditions.

   Willow Thickets and Cottonwood Galleries
   Model simulations indicate that, historically, 63 percent of the ecosystem had open to mid
   canopy cover, with the remaining 37 percent in closed cover conditions. However, we have
   lower confidence in the projections for this ecosystem and the underlying models used.
   Current conditions contain 30 percent of the riparian vegetation in open to mid canopy cover,
   substantially less than under the natural range of variation. Future projections indicate a
   gradual decline of mid cover areas over time. This trend away from the natural range of
   variation is due to the much longer fire return interval under contemporary conditions.
   Management data indicate that less than 20 acres per year is treated in this ecosystem.
   This system can be somewhat responsive to management. Removal of invasive plants and
   replanting with native species can have a mixed benefit, allowing native species an
   environment with reduced competition, but potentially making the habitat less complex or
   “messy,” which is a critical feature for southwestern willow flycatcher.
   Actions to restore natural flooding conditions or to raise the water table can, if maintained, be
   more effective at restoring native riparian vegetation than invasive plant control. However,
   actions of that magnitude may be beyond the scope of Forest Service management actions, as
   it would require significant water rights and changes in management of reservoirs, and would
   have downstream impacts.

   Sagebrush
   If the fire return interval estimates are correct, then the sagebrush shrublands are not likely to
   be very departed from their historic fire intervals. A reduction in fire occurrence in this type
   may allow conifer encroachment into shrublands.


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      A qualitative assessment of model results shows that much of the sagebrush shrubland
      ecosystem historically consisted of mid- and late-successional classes, with roughly 20
      percent containing some juniper cover.
      The portion of this ecosystem within the Forest boundary is mostly in late-successional
      classes and is slightly departed from natural range of variability.
      Under historic conditions, wildfire was the dominant driver of vegetation dynamics, whereas
      under projected future conditions, livestock grazing is the dominant driver in this system,
      affecting almost 7 percent of the ecosystem on average each year. Nonnative invasive species
      impact an estimated 0.6 percent of the ecosystem annually, and tends to increase the
      frequency of wildfire where it occurs.
      No management treatments were modeled in this ecosystem, as it occurs mostly outside of
      the Forest.

      Large Aspen Trees
      The assessment (USDA Forest Service 2016) states that there is less aspen than under historic
      conditions. However, high levels of disturbance are allowing regeneration of aspen and an
      increasing trend in aspen forests over the next 50 years.

      Alpine Ecosystem, Including Cushion Pla^t Communities, Alpine Fell-Fields, and
      Talus Slopes
      As with other non-woody ecosystems, reference conditions for alpine systems are not
      well-known.
      Current conditions show a high proportion of late-seral conditions, similar to those under the
      natural range of variation.

      Snags
      As a result of the recent spruce beetle epidemic, the Forest has a large amount of snags and
      down woody material, particularly in the spruce-fir forest type. From stand exam data and
      forest inventory and analysis data collected, the average number of large snags that are
      12 inches in diameter and larger has increased over time, especially due to the spruce beetle
      outbreak. There has been a dramatic increase in the number of large snags on the Forest,
      from about 5 per acre to about 15 to 25 per acre.
      Minimum requirements for retained snags in the 1996 Rio Grande Forest Plan are the
      minimum requirements for adequate wildlife habitat and ecosystem function.
      In general, data suggest that the Forest is well above the minimum amount of snags
      recommended for the various forest types. The only exception is in the ponderosa pine forest
      type, where both the stand exam and forest inventory and analysis data suggest that there are
      fewer than the desired three 14-inch snags per acre.
      Many of the features and conditions listed here are not suitable for any sort of predictive or
      trend analysis. Some features, such as the presence of nonnative fish and amphibian species,
      are too responsive to human management to be usefully modeled. Others, such as volcanic
      soils, are not subject to trends in the same sense that biological or climate factors are. These
      areas can be managed and protected, but predictive modeling of them would lead to little

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   benefit given that changes to mineral resources occur very slowly relative to human
   lifespans.
   Many rare plant species depend upon specific soil types or substrates to survive. On the
   Forest, this includes the volcanic soils and calcareous substrates included in Table 59. Plant
   species that are dependent on those soil types, or “edaphically adapted species,” are capable
   of growing on more common soil types but rarely do because they are out-competed by more
   common species. These edaphically adapted species, however, are physiologically adapted to
   grow in soil types that are toxic or otherwise hostile to most common species of plants,
   which give the edaphic species a competitive advantage in those specific soil types. As such,
   the well-being of these species is tied to the preservation of those areas where the specific
   soil types occur—typically small, isolated patches.
   Fens, and the impacts to them, are described in the Riparian, Wetlands, and Fens section.
   Issues that would impact fens would also be expected to impact fen-dependent species.
   Nonnative fish and amphibians include common, widely released sport fish such as rainbow
   and brown trout, which can outcompete and hybridize with native fish species, and can also
   function as predators, consuming eggs, tadpoles, fry (immature fish), and amphibian species.
   In warmer environments, bullfrogs can also be problematic, also acting as vociferous
   predators of other wetland species, while possibly also spreading chytrid fungus, which has
   contributed to the worldwide decline of amphibians.
   Snow willow is the key habitat characteristic required by Uncompahgre fritillary butterfly. In
   addition, snow willow or other alpine willows may also be used by white-tailed ptarmigan as
   cover and foraging habitat. Snow willow is discussed in more detail in the Uncompahgre
   Fritillary Butterfly section.
   Vegetation overhanging water serves multiple purposes. Shade provided by such vegetation
   helps control water temperature, which is critical for many species. Overhanging vegetation
   also provides cover for many species, including river otter. Many fish species will use such
   vegetation as cover and benefit from the water temperature regulation as well.
   Prey species are generally analyzed not as prey but on their own merits, with the exception of
   those prey species that have very strong relationships with individual predator species. Some
   predators are fairly generalist and can hunt and consume a variety of species. Coyotes, for
   example, can take down a very wide variety of animals, such as sheep, stray pets, cottontail
   rabbits, frogs, and insects, although the bulk of their prey is native rodents. Other predators
   depend very strongly upon a much narrower range of prey species. Some of the most
   pronounced predator/prey relationships include black-footed ferret/prairie dog, Canada
   lynx/snowshoe hare, and black swift/flying ant. Prey species may themselves be listed as
   species of conservation concern or other special-status species, sometimes due solely to their
   role as prey, but sometimes also due to their own rarity or other characteristics that are
   independent of being prey.
   Insect prey species tend to have different dynamics than other prey species, and commonly
   are functionally important as pollinators or for other ecological functions. Some insect
   species are prey for different predators at different phases of their life cycles. For example,
   mosquito larva are prey for trout species, mosquito adults are prey for bats, swifts, and



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      swallows. Insect prey species may be regarded as pests and be subject to control efforts,
      including mosquito abatement.
      Caves and mines are vitally important for bat species, and some bird species may also use the
      entrances. Most important are cave or mines that have enough interior space to maintain a
      stable, year-round temperature. Caves and mines are further addressed in the Rare
      Communities and Special Habitats section.
      Coarse aquatic substrate is used by Rio Grande chub and sucker for spawning. Those species
      are examined more in-depth in the Aquatic Ecosystems section.
      Occasional disturbance is required by many plant species to grow, but can be difficult to
      quantify and even more difficult to manage. Disturbances of this sort include trees falling in
      the forest, which can create small forest openings (if in an otherwise closed canopy) and bare
      soil on the root wad and in the hole created by the root wad being pulled out of the ground as
      the tree tipped over. The small forest openings, root wads, and root wad depressions can all
      be used by certain specifically adapted species. Other natural sources of occasional
      disturbance include burrowing rodents (such as prairie dogs and pocket gophers) that create
      bare soil, and bears digging up stumps or logs to access grubs. Talus slopes have their own
      dynamic intermittent disturbance to which some plant species have adapted to. Wildland fire
      is, of course, a well-studied and fascinating sort of disturbance to which entire ecosystems
      have adapted. In desert areas, some plant species are adapted to flash flood channels,
      requiring the flood activity to scarify seed coatings and water to initiate germination.
      Human activities can often unintentionally mimic these natural disturbances, for either the
      benefit or harm of these disturbance-adapted species. Road blading and trails maintenance
      can mimic the soil churning aspect of burrowing rodents or flash floods and create bare soil.
      Off-road (especially illegal fully off-trail) motor vehicle use can churn up soil. Rare plants
      may take advantage of those disturbances and germinate, but may not survive long enough to
      set seed. This may be because the artificial disturbance occurred without the accompaniment
      of many of the conditions that would typically accompany a natural disturbance—for
      example, an action that unintentionally mimics the effects of rodent digging may occur at a
      time of year when such rodents would normally be hibernating below ground. Alternatively,
      the human disturbance may be repeated too frequently for the species to complete its life
      cycle.
      Northern flickers create holes in snags for nesting. Other species commonly re-use the
      northern flicker-created cavities for nesting or hives, or as short-term roosting habitat. In
      some environments, efforts have been made to artificially create such flicker-created cavities
      (Bull et al. 1997), although that has not occurred on the Forest. The frequency of northern
      flicker-created cavities is probably closely tied to the number of snags, which is addressed
      earlier in this section as well as in the Forested Ecosystems section.
      Floating mats of vegetation occur in wetlands, and there no information regarding the
      frequency or condition of such mats on the Forest. It is likely that this habitat feature is tied
      closely enough to wetland ecosystems for impacts to be similar. Anything that impacts
      wetlands could also be assumed to impact any floating vegetation mats that may occur in
      those wetlands.




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   Direct and Indirect Effects
   All action alternatives include revised management direction specific to the habitat
   conditions necessary for the persistence of the species of conservation concern listed above.
   Habitat impacts may occur from other uses like grazing and dispersed recreation, which are
   most pronounced in alpine and riparian areas. Incidental impacts from wildland fire
   operations also are possible. Timber, grazing, recreation, and road and trail impacts would be
   addressed through plan direction and site-specific analysis. Impacts from planned fire
   activities are primarily limited through plan direction that would be implemented during the
   planning phase for these operations.

   Effects on Species of Conservation Concern from Vegetation Management
   Primary impacts from the timber harvesting program would be to those species that use large
   trees and snags, or which require dense canopy cover provided by forests composed of larger
   trees. That would include the cavity-nesting species and large raptors. The Canada lynx-
   oriented plan direction, as well as timber management direction itself, both focus on the
   conservation and retention of snags and larger trees and patches of dense understory that
   remain intact from the recent beetle mortality. The majority of species of conservation
   concern are absent or make only limited use of suitable timber harvesting areas, including
   small patches of species of conservation concern habitat that are sparsely vegetated but are
   surrounded by denser, thicker vegetation.
   Planned timber management levels are highest in alternative C and lowest in alternative D,
   with alternatives A and B in the middle.

   Effects on Species of Conservation Concern from Prescribed Fire, Fire Use, or
   Fuels Management
   There is some risk that fire management could have negative effects to species of
   conservation concern, but the net effect will likely be beneficial as conditions move toward
   the desired conditions and the natural range of variation.
   Potential incidental impacts would be from fireline construction, staging areas, or similar
   actions that impact soils. These would likely be avoided in relevant habitat for species of
   conservation concern through the use of geospatial information systems and resource
   advisors during the planning process.
   Planned prescribed fire levels are very similar across all alternatives, with slightly higher
   levels of prescribed burning in the ponderosa pine and mixed-conifer vegetation types in the
   action alternatives, and with the level of pile-burning in the spruce-fir vegetation type
   trending with the salvage harvest rate in that type. The higher levels of prescribed burning in
   the ponderosa pine and mixed-conifer vegetation types in the action alternatives will help
   move these vegetation types towards the natural range of variation and will therefore likely
   be beneficial for species of conservation concern.
   As described in the Fire Management section, one major difference between the no-action
   and the action alternatives is the requirement to suppress all unplanned wildland fires in some
   of the management areas under alternative A. The action alternatives provide fire managers
   with more flexibility in deciding how to manage individual fires and would allow fire to play
   a more natural role across the landscape. In that sense, the action alternatives would allow the

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      role of fire to be higher and more similar to its historic role, which would likely be beneficial
      for species of conservation concern.

      Effects on Species of Conservation Concern from Livestock Management
      Livestock grazing has the potential to impact plant species of conservation concern through
      herbivory, soil disturbance, and impacts to riparian areas. Some patches of unique soils that
      support plant species of conservation concern could be fenced off or otherwise protected in
      order to achieve protection. Additional plan direction in alternatives B, C, and D would be
      protective of species of conservation concern that use wetland or riparian conditions,
      including fens. Grazing would have minimal effect on cavity-nesting species.

      Effects on Species of Conservation Concern from Roads
      Roads and the use of them would have variable impact to most species of conservation
      concern. There is the possibility that roads in some areas could contribute toward erosion,
      with impacts to riparian areas; however, this can be controlled through revised plan direction
      which allows designs that minimize resource damage. If proper best management practices
      are adhered to when roads are constructed, reconstructed, or maintained, minimal amounts of
      erosion occurs, which diminishes over the long term.
      Roads directly alter riparian vegetation when, by necessity, they cross the riparian corridors
      associated with streams. Roads are not permitted within wetland ecosystems, but do have the
      potential to alter surface and subsurface flow patterns in the vicinity of these areas.
      Additional harm to species of conservation concern could result from visitor use facilitated
      by the road network and maintenance of that network. However, this can be limited by the
      use of seasonal closures. In many cases, roads built for logging operations are then used by
      recreationists, although these roads typically are closed and/or decommissioned after
      completion of the timber harvest activity.
      None of the alternatives propose changes to the current road system. In alternative C,
      however, temporary roads are possible to accommodate increased timber harvest and
      recreation opportunities. In alternative D, recommended wilderness acreage would reduce
      motorized access.

      Effects on Species of Conservation Concern from Motorized Off-Highway
      Travel
      Off-highway vehicle travel on existing routes, big game retrieval, and dispersed recreation
      have the potential to impact species of conservation concern, but could facilitate illegal
      off-trail activity that could be harmful to plant species of conservation concern. Management
      direction allows for mitigation and closures if this were to become a problem.
      In terms of desired summer and winter recreation opportunity spectrum classes, the acreage
      allocated to semiprimitive motorized activities is similar in alternatives A, B, and D and
      highest under alternative C.




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   Effects on Species of Conservation Concern from Nonmotorized Trail
   Management
   Effects to species of conservation concern from trails would be similar to impacts from
   roads: the potential for erosion and the impacts of visitor access. Much like with roads, there
   are plan components that allow for seasonal closures if needed to protect species of
   conservation concern.
   None of the alternatives propose changing the existing trail system. However in
   alternative D, some of the special interest areas, if accepted, may change the allowable trail
   usage, possibly reducing the number of trails. Similarly, the nonmotorized recreation
   opportunity spectrum classes (primitive and semiprimitive nonmotorized) are the highest
   under alternative D and lowest under alternative C, with alternatives A and B in the middle.

   Effects on Species of Conservation Concern from Developed and Dispersed
   Recreation
   Recreation would have minor impacts on snags, late-successional forests, and large aspen
   trees. Recreation can have a strong impact, however, on alpine areas, which means there is
   potential for impact to species of conservation concern that are found in alpine areas.
   Riparian areas also tend to have impacts from recreation through trampling and incidental
   harassment of wildlife. In the event these become an issue in alpine or riparian habitat for
   species of conservation concern, management direction allows for mitigation measures.
   Snag and downed wood levels are affected, however, by recreation management as a result of
   removal of snags in campgrounds and along roadsides for safety reasons. This leads to fewer
   snags in these areas, and hence less future downed wood. This is also true for high-use
   recreation areas. The effect of this is small and similar across alternatives.
   Impacts to wetlands, fens, and riparian areas include those from uncontrolled motorized use
   on unauthorized roads and trails. Among the action alternatives, alternative D represents a
   minimization of acreages that would be available for expansion of the road/trail network and
   would likely have the fewest impacts on riparian and wetland ecosystems. Alternatively, C
   represents a maximum number of acres available for the potential expansion of the motorized
   trail network.
   Recreational activities are a stressor in some alpine areas. No alternative proposed a change
   in the miles of trail or number of developed facilities. Dispersed camping in the alpine zone
   is thought to be limited because of the higher elevation and potential difficulty of access.
   Much of the alpine zone is not accessible from roads or trails, is located in wilderness areas,
   or may not physically be accessible due to precipitous terrain. These areas may have lower
   impacts from recreation; however, trends discussed in the Contrib-utions to Social and
   Economic Sustainability section suggest an increased interest in these areas.
   Alternatives A, B, and C have similar acreages as suitable for over-snow vehicle use.
   Alternative D has less alpine area suitable for over-snow vehicle use, mostly due to the
   higher amount of recommended wilderness in this alternative.
   Forest visitors can participate in motorized or nonmotorized activities throughout the Forest,
   which makes it difficult to assess recreation impacts. A more thorough analysis will be done
   as part of the travel management process.


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      Effects on Species of Conservation Concern from Designation of Wilderness,
      Wild, Scenic, and Recreational Rivers, Research Natural Areas, and Special
      Interest Areas
      These designations would be generally protective of species of conservation concern,
      especially plant species of conservation concern. Existing and recommended wilderness
      designations may limit the methods used by the Forest to meet invasive species and fUels
      management objectives, thereby limiting the ability to address those two issues, which can be
      deleterious to some species of conservation concern. The overall impact would be positive,
      and highest in alternative D, which has the most recommended wilderness, wild, scenic, and
      recreational river, research natural area, and special interest area designations.
      For more detail on existing and proposed special areas and their nexus with the key
      ecosystem characteristics necessary to provide for persistence of species of conservation
      concern, see the Rare Communities and Special Habitats and Proposed Special Interest Areas
      and Research Natural Areas sections.

      Effects on Species of Conservation Concern from Mineral Resource Activities
      The impacts to species of conservation concern from extraction of mineral resources includes
      abandoned mines, gravel pits, hard rock mining throughout the Forest, and recreational
      dredging in riparian areas. Recreational dredging is further discussed in the Aquatic
      Ecosystem and Water Resources sections.
      Under alternative A, there would be no change to the policies surrounding mineral extraction
      nor management direction regarding recreational dredging. All action alternatives include
      language more specific to dredging.
      Alternative D would have the least access to and development of mineral resources due to the
      greatest amount of use restrictions from wilderness and special interest area designations,
      including the congressionally designated trail corridors. Alternative B would have reduced
      access and development of mineral resources, but at a smaller scale than D. Alternative C
      would increase the access to minerals.

      Cumulative Effects
      Baseline conditions for each ecosystem considered for species of conservation concern are
      provided in the Ajfected Environment section.

      Large Trees and Snags, Late-Successional Forests
      The cumulative effects identified in the Forest Products section are not expected to increase
      or decrease over current trends. The cumulative effects to species of conservation concern
      that use large trees and snags and late-successional forests are expected to be similar due to
      plan components that have been designed to address the concern for the ability of the species
      to persist.

      Willow Thickets and Cottonwood Galleries
      Human activities in the planning area include grazing, removal of trees, and construction of
      dams and diversions that regulate water flow, block aquatic organisms, and alter erosional
      processes. Declining groundwater levels and the elimination of flooding have altered plant

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   composition and structure, notably causing the decline of cottonwoods and willow systems.
   At the programmatic scale, the cumulative effects on species of conservation concern are not
   expected to increase beyond current trends.

   Sagebrush
   Under future projections, exotic annual grass species and juniper expansion displace much of
   the native sagebrush. Projections also show an increase in early seral shrubs, such as
   rabbitbrush (Chrysothamnus and Ericameria species). Programmatic effects at the forest plan
   level would likely have a beneficial cumulative effect due to plan components that favor
   sagebrush ecosystem enhancements, resulting in an increase of quality habitat for species of
   conservation concern that use the habitat.

   Large Aspen Trees
   Over the long term, from many decades to hundreds of years, models project the recovery of
   most forested ecosystems toward the natural range. Because of the mortality occurring in the
   spruce-fir ecosystem, aspen is expected to increase in higher elevations. However, at mid- to
   lower elevations, aspen may decrease due to fire suppression as well as other changes in
   structural composition.

   Alpine Ecosystem, Including Cushion Pla^t Communities, Alpine Fell-Fields, and
   Talus Slopes
   Given the heavy sheep grazing that occurred in many of these alpine communities
   (particularly pre-Taylor Grazing Act), it is likely that plant composition is altered, water
   runoff patterns have been altered, and the amount of erosion has increased. Mining, roads,
   and development associated with mining are other anthropogenic activities that have likely
   influenced these systems through reduced vegetation cover, provided pathways for nonnative
   species, altered water run-off patterns, and increased erosion (Somers and Floyd-Hanna
   1996, Paulson and Baker 2006). Additionally, mine tailings from mining activities have
   caused water pollution problems and increased soil toxicity. Finally, in more recent years, the
   more popular alpine systems have been impacted by increased recreation uses.
   While mining is expected to decrease in this ecosystem type, recreation is expected to
   increase. The indirect effects of the recreation program are not expected to result in an
   increase in cumulative effects due to forest plan components designed to minimize effects to
   this ecosystem and the species that rely on it.

   Snags
   As snags fall and down woody material decays, the habitat quality for species that use snags,
   such as cavity-nesting species and some raptor species, decreases. Down woody debris
   contributes to increased soil building through decomposition. How fast this happens will
   depend on the forest type and a variety of other factors. Still, given the slow nature of these
   processes, a large amount of snags and down woody material will persist on the Forest,
   especially in the spruce-fir forest ecosystems, into the foreseeable future. Long term, it is
   difficult to predict how snag and down woody amounts may change. Plan components
   require specific snag retention criteria at the project level for the purpose of supporting



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      habitat for species of conservation concern. Only negligible cumulative effects are expected
      to occur to snag habitat used by species of conservation concern.

      Infrastructure, Roads, and Facilities
      Overview
      The developed infrastructure on the Forest includes roads, trails, utility corridors, dams, and
      buildings for administrative, recreational, or special use purposes. A map showing Existing
      National Forest System Roads is contained on the DVD located at the back of this document.

      Affected Environment, Existing Conditions, and Trends
      The road and trail systems in the planning area provide access to public lands and private
      inholdings. Both motorized and nonmotorized access are important for providing outdoor
      recreation, managing wildfire, managing livestock and wildlife, developing natural resources
      (including timber and minerals), gathering fuel wood, accessing private in-holdings,
      maintaining electronic sites and utility corridors, and managing and monitoring the planning
      area.
      Modes of vehicle travel in the planning area include large commercial trucks, automobiles,
      pickups, four-wheel drive vehicles, snowmobiles, all-terrain vehicles, and off-highway
      vehicles, motorcycles, mountain bikes, and wheelchairs. Other travel modes include
      cross-country skiing, horseback riding, and hiking. Linear travelways include roads such as
      paved highways, gravel and dirt roads, unimproved or primitive roads, four-wheel drive
      roads, and trails designated for motorized and/or nonmotorized use. Off-road motorized
      travel is allowed only off designated routes and is limited to 300 feet alongside roads for
      dispersed recreation and firewood gathering. All-terrain vehicles may travel off the
      designated roadway to retrieve game during specified time periods.
      Infrastructure in the plan area can have a substantial impact on social, cultural, economic,
      and ecological conditions both in the plan area and in the broader landscape. Infrastructure
      can include facilities for energy generation or transport, communications, water delivery,
      transportation (including airstrips), or recreation. These facilities directly affect conditions
      and uses within the plan area and may support delivery of goods and services in the broader
      landscape.

      Roads
      A total of approximately 2,242 miles of National Forest System roads (public and
      administrative), in addition to state and county roads, lie within the proclaimed Forest
      boundary, along with approximately 1,288 miles of National Forest System trails. This
      mileage reflects the mileage in the travel analysis process report. Administrative roads are for
      Forest Service personnel, contractors, and permittees and, therefore, likely have much less
      use and are not maintained as well as public system roads. Annual motor vehicle use maps
      produced by the Forest show which roads are open to public motorized travel; all other roads
      are used for administrative purposes or are unauthorized and under consideration for
      decommissioning. Private roads are roads that provide access to private property. Private
      roads are administered as easements or special use permits and are considered in the lands


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   special use analysis. Differences among alternatives are based on limitations and desired
   conditions in the alternatives that would guide future site-specific decisions about roads and
   access.
   National Forest System roads are operated and maintained according to road maintenance
   levels (Table 60) and provide for designated public motorized use or intermittent use for
   administrative purposes (gated). Level 1 roads may be gated but are available for
   administrative trips. Roads at maintenance levels 2 through 5 may be open for year-round
   use, weather or wildlife permitting. Some roads may be temporarily gated to secure an area
   for administrative purposes, public safety or health, or to protect resources.
   •     Level 1 roads are closed to motorized use by the general public and are available for
         administrative use. These roads may be opened to the public intermittently. Basic
         custodial maintenance is performed to protect resources and the road investment.
   •     Level 2 roads are open to public use and are passable by high-clearance vehicles. The
         road surface is generally native material. These are typically single lane roads and can
         have steep grades. Traffic volume and speed is normally low.
   •     Level 3 is assigned to roads open and maintained for travel by passenger vehicles. These
         roads are not maintained for user comfort. These are typically low-speed, single-lane
         roads with turn-outs. They may be either native or gravel surfaced.
   •     Level 4 roads provide a moderate degree of user comfort at moderate travel speeds.
         These roads are typically double lane and are gravel surfaced.
   •     Level 5 is assigned to roads that provide a high degree of user comfort. These roads are
         typically double-lane, paved roads.

   Table 60. Miles of National Forest System roads by maintenance level
       Maintenance Level       Miles       Percentage
               1                645            29
               2                978            43
               3                598            27
               4                20             0.9
               5                 1             <0.1
             Total             2,242           100


   Trails
   National Forest System trails are designated based on allowable usage. Trails in wilderness
   do not allow mechanized or motorized usage. Trails outside of wilderness may be designated
   as pedestrian, horse, mechanized (e.g., mountain bike), or motorized, or a combination of
   these (Table 61).
   A portion of the 3,100 mile Continental Divide National Scenic Trail meanders between the
   San Juan and Rio Grande National Forests, necessitating shared management responsibility
   for many miles of this significant trail. For more information on trails, see the
   Congressionally Designated Trails and Sustainable Recreation Opportunities sections.



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      Table 61. Miles of National Forest System trails
          Type of Trail       Miles    Miles
       Motorized              399
       Nonmotorized           889
                      Total   1,288
       Wilderness                      454
       Non-wilderness                  834
                      Total            1,288


      Building and Other Facilities
      Forest Service buildings and structures (both administrative and recreation) support
      administrative and recreation programs Forestwide. Current administrative sites are a
      function of past history. A number of them were built in the early 1900s, with some dating
      back to 1908. Over the past, as administrative units were combined, the Forest has obtained a
      mixture of new Forest Service owned/leased buildings and numerous other buildings that do
      not meet current health and safety standards.
      The infrastructure of the Forest is aging. Facilities condition surveys identify a life cycle of
      50 years for building replacement. At this time, 28 percent of the administrative buildings
      meet or exceed the recommended lifecycle, with an additional 9 percent expected to reach
      the lifecycle recommendation within the next 10 years. Water and wastewater systems range
      from more than 40 years old, to more recent updates less than 8 years old. Forest-owned
      dams and communication systems are also aging and requiring major maintenance or
      replacement. A summary of the number and types of constructed features can be found in
      Assessment 11 (USDA Forest Service 2016).
      A facility master plan was completed in 2017 to guide the acquisition, continued use,
      maintenance, improvements, and disposal of Forest Service administrative facilities on the
      Forest. With declining budgets and an aging infrastructure with significant deferred
      maintenance levels, the Forest is in a reactionary versus planned position in regards to
      maintenance needs. Health and safety for the public and employees is the priority, and every
      effort is made to ensure that issues are resolved in a timely manner.

      Direct and Indirect Effects
      None of the alternatives propose changing the current road system. Guidance for the
      transportation system in the forest plan is limited to the management of roads and trails
      within Forest Service jurisdiction. Forest management activities significantly affecting the
      transportation system are road and trail construction, reconstruction, maintenance, and
      decommissioning.
      Under the 2005 Travel Management Rule (36 CFR 212. 5), national forests are required to
      “identify the minimum road system needed for safe and efficient travel and for
      administration, utilization, and protection of National Forest System lands” as well as to
      identify unneeded roads that could be “decommissioned or considered for other uses, such as
      for trails.” The Forest’s 2015 travel analysis process report developed proposed actions for



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   identification of the future minimum road system and “likely unneeded” roads. The proposed
   actions will be analyzed in future travel management projects.
   In alternative D, additional wilderness analyzed and additional special interest areas, if
   accepted, would change the allowable trail usage and reduce the number of motorized trails.
   None of the alternatives propose changing the current status of facilities. Evaluations for
   decommissioning existing facilities and new facility construction are not addressed at the
   forest-plan level. Health, safety, and sustainable operations, however, are factors to consider
   in managing facilities.

   Cumulative Effects
   Because there are no proposed changes to the roads and road maintenance program, there are
   no direct or indirect effects. Although Forest infrastructure could undergo some renovation
   and improvements, there is not expected to be an increase beyond what already exists. There
   would likely be increased demand for roads, trails, and facilities, and that may result in an
   increase in cumulative effects from those specific programs; however, that would be subject
   to the fiscal capabilities of the Forest and therefore is not expected to be significant.

   Scenery
   Overview
   National Forest System lands adjacent and visible to communities provide a sense of place,
   contribute to the identity of the communities, and provide an integral component of forest
   settings. The jagged peaks of the Sangre de Cristo Mountains are an integral part of the
   community of Crestone’s unique setting. Similarly, Bristol Head and Wason Park are integral
   parts of the scenery above Creede. It is important to manage scenic resources to ensure
   quality sightseeing and other recreation opportunities, as well as maintain natural landscapes
   for communities adjacent to the Forest. Scenic resource values are important elements of the
   Forest’s distinctive roles and contributions.
   Scenic character is defined as the combination of the physical, biological, and cultural
   images that gives an area its scenic identity and contributes to its sense of place. Scenic
   character provides a frame of reference from which to determine scenic attractiveness and to
   measure scenic integrity.

   Affected Environment, Existing Conditions, and Trends
   The Forest provides a scenic backdrop and sense of place for many communities in the San
   Luis Valley. This region is heavily influenced by early Spanish settlers who brought their
   culture and practices with them. The historic buildings, communities, and agricultural and
   irrigation practices contribute positively to the identity of the San Luis Valley.
   The landscape consists of mosaics of forested stands and open meadows or parks. Lower
   elevations are dominated by pinyon-juniper stands, and riparian corridors are fringed with
   cottonwood and other riparian vegetation. Middle-elevation forest lands are composed of
   aspen stands intermingled with mixed conifer, with spruce-fir stands dominating the
   landscape. Topography varies from rugged peaks to rolling hills, in addition to some mesas
   with high deserts.

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      The Forest is home to the headwaters of the Rio Grande, and many forest visitors seek out
      the view of the 100-foot drop of North Clear Creek Falls. Other popular waterfalls on the
      Forest include Piedra Falls, Saguache Falls, Silver Falls, and South Clear Creek Falls.
      Eligible rivers included in the National Wild and Scenic Rivers System include scenery as an
      outstandingly remarkable value.
      Naturally evolving landscapes are showcased in the Sangre De Cristo, La Garita,
      Weminuche, and South San Juan Wildernesses. Additionally, numerous inventoried roadless
      areas that provide natural appearing landscapes are located throughout the Forest. Forest
      landscapes change throughout the year, with the seasons providing excellent winter scenery
      as well as a spectacular display of wildflowers in the summer, and sight-seeing opportunities
      during the fall leaf-peeping season.
      Views from the Silver Thread Scenic Byway include the resurgent dome near Creede, the
      Pyramid in the Weminuche Wilderness, the Rio Grande corridor, and Bristol Head overlook.
      Visitors to the byway can also take in unique geologic features, historic sites, and wildlife.
      The Los Caminos Antiguos Scenic Byway is also known as the “Ancient Road.” Views from
      this byway include the scenic Conejos River, Conejos Canyon Overlook, Rio de Los Pinos,
      portions of the South San Juan Wilderness, and the Cumbres & Toltec Scenic Railroad.
      For more details on the scenic resources on the Forest, refer to Assessment 8.1, which is
      hereby incorporated by reference (USDA Forest Service 2016).

      Scenic Condition
      The Forest Service visual management system was used to evaluate the visual condition of
      the Forest in 1993, prior to the release of the Landscape Aesthetics Handbook, which
      documents replacement of the visual management system with the scenery management
      system (USDA Forest Service 1995). The handbook provides inventory direction for existing
      scenic integrity of forest landscapes using the scenery management system. Although
      alternative A represents the existing scenic integrity, some terminology used in alternative A
      is inconsistent with the current scenery management system terminology, such as the
      categorization of scenic condition. A crosswalk between the terms used in the visual
      management system and scenery management system is contained in Table 62.

      Table 62. Crosswalk of terms used in the visual management and scenery
      management systems
       Visual Management System     Scenic Management System
            (visual condition)          (scenic condition)
            Natural Appearing               Very High
              Slightly Altered                 High
            Altered Appearing                Moderate
              Heavily Altered             Low or Very Low


      The results of the visual condition evaluation conducted during the previous planning effort,
      using the visual management system, are listed in Table 63. Visual condition translates to
      scenic condition as used in the scenery management system (Table 62). The previous visual
      condition evaluation represents a detailed look at the Forest at that time. It is important to

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   note that several events have occurred across the Forest that have likely impacted scenic
   resources since the previous evaluation was completed. These events include, but are not
   limited to, timber harvest due to insects, blowdown, and increased tree mortality. In some
   areas, an entire viewshed is currently of dead trees. These viewsheds, likely categorized as
   “natural appearing” in the previous evaluation, could now be characterized as “altered
   appearing” (or, moderate) given their current state.

   Table 63. Scenic condition of the Forest
   [Source: Rio Grande National Forest Assessment 8.1 Multiple Uses - Scenic Character]

                                                                    Percent of
     Visual Condition1 (scenic condition)             Acres
                                                                     Forest
          Natural Appearing (Very High)             1,506,638            81
              Slightly Altered (High)                288,383             16
          Altered Appearing (Moderate)                34,674              2
         Heavily Altered (Low or Very Low)            26,842              1
   1 Using visual management system terminology.
     Natural Appearing: A viewshed where no more than 5 percent of the area is visually modified.
     Slightly Altered: A viewshed where no more than 10 percent of the area is visually modified.
     Moderately Altered: A viewshed where no more than 20 percent of the area is visually modified.
     Heavily Altered: A viewshed where no more than 20 percent of the area is visually modified.


   As shown in Table 63, the majority of landscapes are managed to appear natural (81 percent).
   This is done through a variety of management approaches including providing semiprimitive,
   nonmotorized recreation settings, roadless areas, and designated wilderness areas.

   Scenic Integrity
   Scenic integrity measures the degree to which a landscape is free from visible disturbances
   that detract from the natural or socially valued appearance of a viewshed, including visible
   disturbances due to human activities or extreme natural events outside of the natural range of
   variation. Scenic integrity measures these disturbance effects in degrees of consistency,
   harmony, dominance, and contrast with the valued scenic character. Scenic integrity uses a
   graduated scale of five levels: very high, high, moderate, low, and very low (Table 64). The
   visual examples were simulated from a landscape that is characteristic of the current scenic
   condition of the Forest, with a large number of dead and dying trees due to the spruce beetle.
   The missing canopy and grey trees have exposed more of the ground over much of the forest
   canopy across the Forest. The simulations were created from the same viewpoint to show
   different harvesting levels and techniques in the middleground and background, and how
   they represent each of the different scenic objectives described below. The increasing amount
   of straight line edges, contrast on the visible landscape, and visible ground indicates
   increasing levels of management activity and lowered objectives.




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      Table 64. Scenic integrity levels
                      Scenic Integrity Level                                          Example




       Very High Integrity - the valued scenery appears
       natural or unaltered. Only minute visual
       disturbances to the valued scenery, if any, are
       present.




       High Integrity - the valued scenery appears
       natural or unaltered, yet visual disturbances are
       present; however, they remain unnoticed because
       they repeat the form, line, color, texture, pattern and
       scale of the valued scenery.




       Moderate Integrity - the valued scenery appears
       slightly altered. Noticeable disturbances are minor
       and visually subordinate to the valued scenery
       because they repeat its form, line, color, texture,
       pattern and scale.




       Low Integrity - the valued scenery appears
       moderately altered. Visual disturbances are co­
       dominant with the valued scenery, and may create
       a focal point of moderate contrast. Disturbances
       may reflect, introduce or “borrow” valued scenery
       attributes from outside the landscape being viewed.




       Very Low Integrity - the valued scenery appears
       heavily altered. Disturbances dominate the valued
       scenery being viewed; and they may only slightly
       borrow from, or reflect, valued scenery attributes
       within or beyond the viewed landscape. Very Low is
       never an objective.




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   The existing scenic integrity of the Forest is shown in Table 65. The scenic integrity map was
   updated to correct unintended errors from data migration and updates and to incorporate land
   exchanges. Only four of the five levels are shown because “very low” scenic integrity does
   not occur on the Forest.

   Table 65. Existing scenic integrity (alternative A)
                                             Scenic Integrity Level
         Forest lands
                             Very High         High       Moderate              Low
            Acres             428,527       1,159,754      363,872              7,968
           Percent               22                59           19         Less than 1


   Concern Levels
   Landscapes are viewed to varying degrees from different locations and therefore differ in
   importance to the public. To assist scenic inventory and analysis, this importance can be
   ranked by concern levels. Concern levels indicate the degree of relative importance of
   aesthetics the public attributes to a given landscape. Sites, travelways, special places, and
   other areas are assigned a concern level value of 1, 2, or 3 to reflect the relative high,
   medium, or low importance of aesthetics. The decision matrix for determining concern levels
   is shown in Table 66. This guide can be tailored to local conditions.

   Table 66. Hierarchy of concern level
                                                                Public interest in scenery
                    Area type (use level)
                                                          High          Moderate           Low
           Primary travelway/use area (high use)            1               2                2
         Primary travelway/use area (moderate use)          1               2                2
           Primary travelway/use area (low use)             1               2                3
          Secondary travelway/use area (high use)           1               2                2
      Secondary travelway/use area (moderate use)           1               2                3
          Secondary travelway/use area (low use)            1               2                3
   Source: USDA Forest Service (1995).


   Scenic Classes
   Scenic classes represent the relative landscape value by combining visibility mapping
   inventories and scenic attractiveness inventories. Generally, scenic classes 1 and 2 have high
   public value, classes 3, 4, and 5 have moderate value, and classes 6 and 7 have low value.
   Scenic classes also identify the relative priority for public scenery concerns during the forest
   plan alternative development process. Measured scenic classes then form the baseline for
   developing scenic integrity objectives.

   Scenic Integrity Objectives
   Scenic integrity objectives are developed in coordination with the recreational setting,
   management direction, and scenic class that were developed from the scenic inventory.
   Allocation of scenic integrity objectives varies by alternative and supports an integrated

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      management approach to accomplishing Forest stewardship goals. Scenic integrity objectives
      represent desired conditions to be managed toward. The identified scenic integrity objectives
      may be higher in some locations than inventoried scenic integrity levels. Management in
      these conditions should support achievement of the identified scenic integrity objectives or
      advancement toward their achievement. Maps showing Existing Scenic Integrity for
      Alternative A and Desired Scenic Integrity Oljecti-ves for Alternatives B, C, and D are
      contained on the DVD located at the back of this document.

      Direct and Indirect Effects
      Scenery is affected by management activities that may alter the appearance of the landscape.
      Short-term effects to scenery are generally considered in terms of degree of deviation from
      desired conditions. The scenic character can be changed over the long term or cumulatively
      by alteration of the landscape. Management activities that have the greatest potential of
      affecting scenery include the following:
      •   Vegetation management and road construction/reconstruction
      •   Special use utility rights-of-ways
      •   Mineral extraction
      •   Fire activity.
      A difference of 23,866 acres in total acreage is shown on the scenic integrity objective maps
      between alternative A and alternatives B, C, and D. This difference is due to various land
      sales, acquisitions, and exchanges that have taken place since 1996.

      Scenic Integrity Objective and Recreation Opportunity Spectrum Nexus
      Enjoyment of scenery is typically a key aspect of recreational experiences in a given setting.
      Similarly, recreational activities also influence scenic backdrops and corridors. For these
      reasons, recreation and scenic resource values are generally managed hand-in-hand. Scenic
      integrity objectives and recreation opportunity spectrum class designations establish
      preferred scenic and recreational conditions that should be considered in project-level
      analysis. Forest activities are managed to be consistent with both scenic integrity objectives
      and recreation opportunity spectrum class designations. If activities are not consistent with
      scenic integrity objectives and/or recreation opportunity spectrum class designations,
      progress towards consistency should actively occur. Recreation opportunity spectrum class
      designations are considered when developing scenic integrity objectives. Some combinations
      of recreation opportunity spectrum classes and scenic integrity objectives are more
      compatible than others. The crosswalk of compatibility determinations between the two
      management tools is shown in Table 67.




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   Table 67. Recreation opportunity spectrum and scenic integrity objective
   compatibility
   [Source: USDA Forest Service (1995). The “urban” recreation opportunity spectrum class and “very low” scenic
   integrity objective were removed from the table for the purposes of this analysis discussion because there are no
   “urban” recreation opportunity spectrum class designations nor “very low” scenic integrity objectives on the
   Forest.]

        Recreation                                 Scenic Integrity Objectives
       Opportunity
      Spectrum Class             Very High         High             Moderate                 Low

           Primitive                Norm       Inconsistent        Unacceptable         Unacceptable
         Semiprimitive             Fully
                                                   Norm            Inconsistent         Unacceptable
         Nonmotorized            Compatible
         Semiprimitive             Fully          Fully
                                                                       Norm              Inconsistent
          Motorized              Compatible     Compatible
                                   Fully
       Roaded Natural                              Norm               Norm1                 Norm
                                 Compatible
                                   Fully          Fully
             Rural                                                     Norm                 Norm
                                 Compatible     Compatible
   1Norm from sensitive roads and trails.


   The scenic integrity objectives for each action alternative are generally compatible with
   recreation opportunity spectrum class designations (Table 67). However, some deviations
   occur due to certain areas being out of the visible range for visitors due to topography,
   vegetation, or access limitations. For example, semiprimitive nonmotorized recreation
   opportunity spectrum class is “inconsistent” with moderate scenic integrity; however, this
   overlap in inconsistent designations occurs in several small areas across the Forest in
   alternative B simply because those areas are not actually visible.

   Alternative A (No Action)
   The scenic integrity objectives for alternative A (Table 65) would remain the way they are
   currently mapped. Some terminology in management direction is inconsistent with current
   scenery management system terminology, such as the categorization of scenic condition.
   Project-level and other activities would meet or move toward those previously identified
   scenic integrity objectives. Management activities would continue to be consistent with
   established scenic integrity objectives. Viewers could expect to see natural changes on the
   landscape from tree mortality, possible fires, as well as blow down.

   Common to All Action Alternatives (B, C, and D)
   Alternatives B, C, and D contain plan components to address long-term management and
   stewardship of the valued scenic character of the Forest.

   Alternative B
   Under alternative B, project-level and other activities would meet or move toward the
   defined desired scenic integrity objectives (Table 68). The scenic integrity objectives for
   alternative B are nearly the same as those for alternative A, with a slight increase in high
   integrity and a slight decrease in very high scenic integrity objective. These slight percentage


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      differences are attributed to the 23,866-acre difference in the total acreage within the scenic
      integrity objective maps between alternatives A and B due to various land exchanges since
      1996.

      Table 68. Alternative B scenic integrity objectives
        Scenic Integrity
                           Very High    High     Moderate      Low
          Objective
            Percent           20         61          19         <1


      To develop the scenic integrity objectives for alternative B, the existing scenic integrity
      objectives (alternative A) were first compared to the desired summer recreation opportunity
      spectrum for alternative B. Changes were made in the scenic integrity objective map to avoid
      instances of “unacceptable” compatibility with recreation opportunity spectrum classes
      (Table 67). For example, any semiprimitive nonmotorized areas overlapping low scenic
      integrity objectives were converted to moderate scenic integrity objectives to move toward
      achieving higher scenic integrity with minor noticeable disturbances in landscapes managed
      for nonmotorized recreation. However, areas where scenic integrity objectives were
      “inconsistent” with recreation opportunity class designations remained for alternative B. For
      example, any semiprimitive motorized areas with a low scenic integrity objective remained
      low under alternative B. Low scenic integrity means that scenery appears moderately altered.
      Other considerations were made when developing scenic integrity objectives for alternative
      B beyond compatibility to recreation opportunity class designations. All existing wilderness
      areas retained their existing very high or high scenic integrity objective. All additional lands
      analyzed for recommended wilderness under alternative B were assigned a high scenic
      integrity objective. All eligible wild, scenic, and recreational river one-half-mile corridors
      were assigned a high or very high scenic integrity objective. Additionally, the Continental
      Divide National Scenic Trail was assigned a high or very high (in areas through existing
      primitive wilderness) scenic integrity objective within the one-mile trail corridor. A narrower,
      one-half-mile corridor was used where the trail corridor abuts Wolf Creek Ski Area. Wolf
      Creek Ski Area was assigned a moderate scenic integrity objective within the ski area
      boundary. The Baca Mountain Tract in the Sangres portion of the Saguache District was
      assigned a high scenic integrity objective under alternative B.
      Under alternative B, visitors could expect to see scenic changes on the landscape from
      natural processes. Timber harvest and other management activities would be managed to be
      consistent with scenic integrity objectives. In areas of low scenic integrity objectives,
      management activities may be evident with road construction and various harvesting
      activities. Facility development is possible under alternative B across the Forest within
      motorized recreation opportunity spectrum classes. Management activities within the
      one-half- to one-mile corridor for the Continental Divide National Scenic Trail would
      prioritize trail values.

      Alternative C
      The scenic integrity objectives under alternative C are shown in Table 69. Project-level and
      other activities would meet or move toward the desired scenic integrity objectives for


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   alternative C. Alternative C scenic integrity objectives are nearly the same as the desired
   objectives for alternatives A and B.

   Table 69. Alternative C scenic integrity objectives
     Scenic Integrity
                         Very High   High     Moderate      Low
       Objective
         Percent            20       61          19          <1


   To develop the scenic integrity objectives for alternative C, the existing scenic integrity
   objectives (alternative A) were compared to the desired summer recreation opportunity
   spectrum for alternative C. Changes were made in the scenic integrity objective map to avoid
   instances of “unacceptable” compatibility with recreation opportunity spectrum classes
   (Table 67). For example, any semiprimitive nonmotorized areas overlapping low scenic
   integrity objectives were converted to moderate scenic integrity objective to aspire to achieve
   higher scenic integrity with minor noticeable disturbances in landscapes managed for
   nonmotorized recreational use. However, areas where scenic integrity objectives were
   “inconsistent” with recreation opportunity class designations remained for alternative C to
   allow for more development and timber harvest opportunities provided for under alternative
   C, compared to all other alternatives. For example, any primitive areas with a high scenic
   integrity objective remained high under alternative C. High scenic integrity means that
   scenery appears natural or unaltered despite some visual disturbances. Visual disturbances,
   such as historic structures, could exist in a wild, remote setting that is predominantly
   unmodified by man and managed for nonmotorized and nonmechanized recreation.
   Other considerations were made when developing scenic integrity objectives for alternative
   C beyond compatibility to recreation opportunity class designations. All existing wilderness
   areas retained their existing very high or high scenic integrity objective. No additional Forest
   lands are being analyzed for recommended wilderness designation under alternative C.
   Additionally, the Continental Divide National Scenic Trail was given a high or very high (in
   areas through existing primitive wilderness) scenic integrity objective within the trail’s
   one-mile corridor. A narrower, one-half-mile corridor was used where the trail corridor abuts
   Wolf Creek Ski Area. Wolf Creek Ski Area was given a moderate scenic integrity objective
   within the ski area boundary.
   Under alternative C, visitors could expect to see more landscape changes as compared to
   alternatives B and D due to reduced very high and high scenic integrity objectives, increased
   moderate and low scenic integrity objectives, as well as increased potential for development
   and timber harvest. Management activities within the one-half- to one-mile corridor for the
   Continental Divide National Scenic Trail would also be prioritized trail values under
   alternative C. However, additional management activities may be visible in background
   views to trail users from the Continental Divide National Scenic Trail under alternative C due
   to the increased potential for development and timber harvest. Management activities may
   also be visible in background views to visitors along concern level 1 roads and trails, along
   the two scenic byways, and from some campgrounds and recreation areas.




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      Alternative D
      The scenic integrity objectives under alternative D are shown in Table 70. Project-level and
      other activities would meet or move toward the desired scenic integrity objectives for
      alternative D. Under alternative D, there is a 16-percent increase in very high scenic integrity
      and mild decreases in high (9 percent) and moderate (7 percent) scenic integrity objectives.
      Notably, alternative D would not have any low scenic integrity objectives.

      Table 70. Alternative D scenic integrity objectives
        Scenic Integrity    Very
                                        High     Moderate     Low
          Objective         High
            Percent           36         52         12          0


      To develop the scenic integrity objectives for alternative D, the existing scenic integrity
      objectives (alternative A) were compared to the desired summer recreation opportunity
      spectrum for alternative D. Changes were made in the scenic integrity objective map to avoid
      instances of both “unacceptable” and “inconsistent” compatibility with recreation
      opportunity spectrum classes (Table 67). For example, any semiprimitive nonmotorized areas
      overlapping moderate scenic integrity objectives were converted to high scenic integrity
      objective. Additionally, all low scenic integrity objectives were changed to moderate. These
      changes were made to pursue higher scenic integrity in landscapes managed for both
      motorized and nonmotorized recreation.
      Other considerations were made when developing scenic integrity objectives for alternative
      D beyond compatibility to recreation opportunity class designations. All existing wilderness
      areas retained their existing very high or high scenic integrity objective, with primitive
      wilderness portions being very high. All additional lands analyzed for recommended
      wilderness designation under alternative D were given a very high scenic integrity objective.
      All eligible scenic rivers were given a very high scenic integrity objective within their half­
      mile corridors, and all eligible wild or recreational rivers were given a high scenic integrity
      objective within their one-half-mile corridors. Additionally, the Continental Divide National
      Scenic Trail was given a high or very high scenic integrity objective within the one-mile trail
      corridor. A narrower, one-half-mile corridor was used where the trail corridor abuts Wolf
      Creek Ski Area. Wolf Creek Ski Area was given a moderate scenic integrity objective within
      the ski area boundary. The Baca tract in the Sangres portion of the Saguache District was
      given a very high scenic integrity objective under alternative D.
      Alternative D would provide the highest degree of scenic resource protection. Many areas
      would convert from a high scenic integrity objective to very high to due increased lands
      being analyzed for recommended wilderness designation, as well as additional special
      designation areas under alternative D. Forest visitors would still see evidence of tree
      mortality on the landscape due to insect and disease outbreaks. However, management of
      many of these areas would allow natural processes to take place, limiting the amount of
      human-caused alterations on the landscape. Landscapes would appear more intact and more
      influenced by natural processes under alternative D as compared to all other alternatives.
      Management activities within the one-half- to one-mile corridor for the Continental Divide
      National Scenic Trail would prioritize and promote trail values, and trail users would see less


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   human-caused alternation to the landscape under alternative D. Views from scenic byways,
   and concern level 1 and 2 roads and trails, would experience less landscape alterations under
   alternative D. Visitors would see fewer deviations on the landscape under alternative D as
   compared to alternative B, and notably fewer deviations on the landscape as compared to
   alternative C.

   Effects to Scenic Resources from Vegetation Management and Roads
   Commercial timber harvest activities may result in road construction and reconstruction.
   Timber harvesting has a variety of short-term effects that may be evident to visitors based on
   the type of logging system used, type of silvicultural treatment, and the slope of and visibility
   from roads and trails. Road construction may introduce unnatural visual elements into the
   landscape resulting in form, line, color, and texture contrasts, such as cut slopes and
   switchbacks viewable from other roads, exposed rock and soils, stumps, and slash piles.
   The scenic character would remain more intact under alternatives B and D as compared to
   alternative C because of the reduced amount of activities. However, there would still be
   evidence of tree mortality, which may change the characteristic landscape from forested to
   nonforested. Many of these areas may retain more texture on the landscape due to the
   presence of standing dead timber left in stands.

   Effects to Scenic Resources from Fire Management
   Blackened vegetation and soil, charred tree trunks, and reddish-brown needles on dead trees
   would be the main visual effects from fire; these effects would decrease over time. In areas
   where mechanical equipment is used in fire suppression, visual contrast from fireline
   construction could be evident depending on the slope, amount of vegetation removed by the
   fire, amount of mineral soil exposed, and success of post-suppression restoration efforts.
   Some effects from fire in fire-adapted ecosystems may be beneficial to scenery. These effects
   include increased overall visual diversity by promoting mosaics of vegetative types that
   reflect natural conditions.
   Alternative D would likely have the least impact to scenic resources from fire and fuel
   management because this alternative would achieve desired conditions for wildlife and other
   resources though greater use of natural ecosystem processes, such as management of planned
   and unplanned fire ignitions.

   Effects to Scenic Resources from Mineral Resource Activities
   Mining activities can involve major landform alteration, as well as form, line, color, and
   texture contrasts, resulting in adverse scenic impacts. Most lands outside of designated
   wilderness would be suitable for mineral extraction, in all alternatives. In alternative D,
   however, with additional wilderness acreage analyzed, minerals management would be
   reduced and scenic resources would be least impacted.

   Cumulative Effects
   The analysis area and temporal scope for cumulative effects are the Forest over the life of the
   forest plan. Areas modified by timber harvest would continue to appear highly managed, and
   scenic integrity would be affected. The degree to which these landscapes would be affected


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      would be evaluated on a project-level basis following forest plan direction to achieve the
      desired scenic integrity objective for the area. Timber harvest and other development on
      adjacent private, state, and other federal lands may influence overall scenic integrity in
      southern Colorado, including on the Forest. However, the Forest’s characteristic landscape,
      or scenic backdrop, above the valleys will remain generally unchanged regardless of which
      alternative is selected. Driving for pleasure and other scenery-dependent activities could be
      affected slightly by human disturbance to areas beyond the Forest boundary. Cumulative
      effects to scenic resources are expected to continue to be consistent with the current trend,
      although they are not considered significant at the programmatic scale.

      Sustainable Recreation Opportunities, Access, Use, and
      Settings
      Overview

      Sustainable Recreation
      The 2012 Planning Rule defines sustainable recreation as “the set of recreation settings and
      opportunities on the National Forest System that is ecologically, economically, and socially
      sustainable for present and future generations.” To address this requirement, focus areas were
      developed under the Framework for Sustainable Recreation (USDA Forest Service 2010) and
      the Rocky Mountain Region’s Leadership Intent for Outdoor Recreation (USDA Forest
      Service 2015a). National focus areas include the restoration and adaptation of recreation
      settings; implementation of “green” operations; investment in special places; enhancement of
      communities; development of strategic partnerships; promotion of citizen stewardship;
      improvement of knowledge about forest visitors, community stakeholders, and other
      recreation providers; ensuring that the right information is provided to the public; and
      ensuring development of a sustainable financial foundation as well as the Forest Service’s
      own workforce. Regional focus areas include strengthening the Forest Service identity,
      investing in the workforce’s professional skills, fostering adaptation of facilities and
      programs, augmenting the financial foundation, and promoting citizen stewardship.
      The 2012 Planning Rule also requires that a forest plan include plan components “to provide
      for sustainable recreation; including recreation settings, opportunities, and access; and scenic
      character. Recreation opportunities may include nonmotorized, motorized, developed, and
      dispersed recreation on land, water, and in the air” (36 CFR 219.10(b)(1)(i)). With the
      national focus areas and regional goals in mind, the Forest developed a strategy for
      implementing sustainable recreation at the Forest level. The Forest’s sustainable recreation
      vision means facilitating access to enduring recreational opportunities across a variety of
      settings on the Forest that (1) meet both the persisting and changing needs of the public, (2)
      support the ecological health of the forest, (3) promote high-quality visitor experiences, (4)
      strengthen individuals’ connection to the outdoors and sense of stewardship, and (5) are
      backed by innovative funding and effective partnerships.

      Recreation Opportunity Spectrum
      Recreation on national forests encompasses more than just the activities themselves. Outdoor
      recreation is generally described in terms of several integrated aspects: recreation


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   opportunities, access, use, and settings. These individual elements, examined in further detail
   below, collectively represent how recreation resources are valued, considered, and managed.
   Further, integration of these elements ultimately produces specific recreation experiences for
   Forest visitors based on the chosen activity, equipment, and timeframe within a given setting.
   This range of opportunities, access, use and settings is called the recreation opportunity
   spectrum. The Forest Service uses this tool to facilitate providing opportunities for high-
   quality and satisfying recreation experiences to match a broad range of visitors and interests.
   The recreation opportunity spectrum describes different settings available across a given
   landscape and the attributes associated with those settings. The level of access, development,
   and social encounters increases when moving from primitive (P) to urban (U) on the
   spectrum. The level of remoteness and solitude increases when moving from urban (U) to
   primitive (P) on the spectrum (USDA Forest Service 1990).
   The recreation opportunity spectrum has six distinct classes in a continuum ranging from
   highly modified and developed settings to primitive and undeveloped settings. There are five
   recreation opportunity spectrum classes that apply to the Rio Grande: rural, roaded natural,
   semiprimitive motorized, semiprimitive nonmotorized, and primitive. There are no urban
   recreation opportunity spectrum class designations on the Forest. The recreation opportunity
   classes are briefly described as follows:
   •     Rural - This setting is characterized by a substantially modified natural environment that
         includes the most developed recreation sites. Facilities are designed primarily for user
         comfort and convenience with a considerable number of facilities designed for large
         group use. Interactions between users are very frequent in a rural setting.
   •     Roaded natural - This setting is managed as natural appearing with sections of
         development that support high concentrations of use, user comfort, and social interaction.
         Resource modifications are evident but generally harmonize with the natural
         environment. The road system is typically well defined and can generally accommodate
         passenger car travel. System roads also provide access to other recreation opportunity
         spectrum settings of semiprimitive motorized, semiprimitive nonmotorized, and primitive
         areas.
   •     Semiprimitive motorized - This setting is managed for backcountry motorized use on
         designated routes. Routes are designed for off-highway vehicles and other high-clearance
         vehicles. This setting offers visitors motorized opportunities for exploration, challenge,
         and self-reliance. Mountain bikes and other mechanized transport are also sometimes
         present. Rustic facilities exist for the primary purpose of protecting the area’s natural
         resources or providing portals to adjacent areas of primitive or semiprimitive
         nonmotorized areas.
   •     Semiprimitive nonmotorized - This setting includes areas of the Forest managed for
         nonmotorized use. Semiprimitive nonmotorized settings are not as vast or remote as
         primitive settings, but offer opportunities for nonmotorized exploration, risk, and self­
         reliance. Mountain bikes and other mechanized equipment are often present. Rustic
         facilities exist with the primary purpose of protecting the area’s natural resources.
   •     Primitive - This setting is remote, wild, and predominantly unmodified by man. Neither
         motorized nor mechanized activities are allowed and there is very low probability of user
         interactions. Primitive settings are managed for quiet and solitude away from roads,


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          people, and development. There are few, if any, facilities or developments. Most
          primitive settings coincide with designated wilderness and areas of recommended
          wilderness.

      Application of the Recreation Opportunity Spectrum Tool
      As an inventory step, the Forest’s existing summer recreation opportunity spectrum was
      mapped using the recreation opportunity spectrum from the 1996 forest plan as a base. From
      there, the procedures outlined in the draft National Recreation Opportunity Spectrum
      Mapping Protocol (USDA Forest Service 2016a) were followed to update the class
      designations based on changes since the previous forest plan. These updates included
      incorporating land exchanges, reflecting changes adopted by forest plan amendments, and
      correcting for unintended errors from geographic information system data migration and
      updates since 1996.The three largest summer recreation opportunity spectrum classes on the
      Forest are semiprimitive nonmotorized (43 percent), semiprimitive motorized (28 percent),
      and roaded natural (20 percent) (Table 71). These three classes currently account for 91
      percent of Forest lands. Refer to the Existing Summer Recreation Oppor^unit^y Spectrum map,
      which is contained on the DVD located at the back of this document.

      Table 71. Existing summer recreation opportunity spectrum settings
                   Percent of Recreation Opportunity Spectrum Class Designations1
                            Semiprimitive       Semiprimitive            Roaded
          Primitive                                                                            Rural
                            Nonmotorized          Motorized              Natural
               8                   43                  28                   20                   1
      1 Recreation opportunity spectrum class designations are not applied to private lands located within the Forest boundary.


      Combining the two nonmotorized classes (primitive and semiprimitive nonmotorized) and
      three motorized classes (semiprimitive motorized, roaded natural, and rural), an estimated 51
      percent of the Forest currently provides a nonmotorized setting, and 49 percent of the Forest
      currently provides a motorized setting during the summer season.
      For comparison purposes, the desired recreation opportunity spectrum for the summer season
      was mapped across the Forest for each alternative according to the methodology for mapping
      recreation opportunity spectrum contained in Forest Service handbook direction. Each
      alternative was analyzed for the total number of acres and percentage of the desired summer
      recreation opportunity spectrum settings.
      The desired recreation opportunity spectrum for the winter season is forthcoming and should
      be available for use during the Forest’s future travel management process.
      Motorized Over-Snow Vehicle Use Suitability maps for alternatives A. through D (contained
      on a DVD located in the back of this document) reflect areas on the Forest where motorized
      over-snow vehicle use would be suitable and unsuitable for each alternative. This process
      does address motorized and nonmotorized settings during the winter season to determine
      suitability of these activities throughout the Forest. Over-snow vehicle use suitability
      determinations were made based on considerations for recreation user group preferences,
      wilderness areas, wildlife habitat, and areas of the Forest under long-term closure orders


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   where applicable. Each alternative was then analyzed for the total number of acres and
   percentage of the Forest where motorized over-snow vehicle use would be suitable,
   unsuitable, and limited to designated routes. Over-snow vehicle use suitability determinations
   are not travel management decisions; however, suitability determinations can be used to
   inform travel management decisions when the Forest undergoes that separate decision­
   making process.
   Over-snow vehicles are defined as “motor vehicles designed for use over snow that run on a
   track or tracks and/or a ski or skis, while in use over snow” (36 CFR 212.1). Where “wheeled
   motor-vehicle use” is considered in this analysis relative to road, trail, and area or
   cross-country travel, it includes all types of motor vehicles as defined at 36 CFR 212.1,
   except motorized over-snow vehicles. Wheeled motor vehicles include automobiles, four-
   wheel drive vehicles, and off-highway vehicles, except over-snow, as well as those vehicles
   that have driving wheels moving inside endless tracks, or are capable of such conversion,
   when operating outside snow-covered ground conditions. Effects of “wheeled motor vehicle
   use” and “motorized over-snow vehicle use” are analyzed as separate activities in this
   document. When the term motorized access or motorized recreation is used, it refers to all
   vehicles, including both wheeled and over-snow vehicles. Mechanized or mechanical
   transport describes the use of bicycles, wagons, and carts.
   Recreation data are generally retrieved from the Forest Service INFRA database. This is a
   collection of reporting and mapping tools, using geographic information system data, used to
   manage and report accurate information about inventory of constructed features and land
   units.
   The national visitor use monitoring system also informs the analysis and provides the most
   relevant, reliable, and accurate information on Forest visitation. National visitor use
   monitoring data are collected on every national forest every 5 years, using a random
   sampling method that yields statistically valid results.
   Assessment 9 - Recreation (USDA Forest Service 2016b) is incorporated by reference; it
   contains more information regarding recreation opportunities and use on the Forest.
   Geographic information system data were used in mapping the recreation opportunity
   spectrum and motorized over-snow vehicle use suitability among alternatives. Discrepancies
   in total acreage among alternatives can generally be attributed to geographic information
   system mapping realignments and routine database updates.

   Affected Environment, Existing Conditions, and Trends
   Considered to be one of the most remote national forests in the Southern Rockies, the Rio
   Grande National Forest is arguably one of the most isolated national forests in the Rocky
   Mountain Region. The closest interstate highway, I-25, is nearly 70 miles from the closest
   trailhead at Lake Como and the Blanca Peak complex. The Forest’s remote location and
   comparatively undeveloped nature means that many recreational users find themselves in
   solitude, or more likely to interact with wildlife or cattle than other recreational users.
   Increased interest, however, in hiking 14,000-foot peaks, or fourteeners, as well as deferred
   maintenance due to declining budgets since 1996, have impacted the ability of the Forest to
   sustain its recreation infrastructure.



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      In 2007, the Forest conducted a recreational facility analysis to characterize the quality of
      developed recreational opportunities on the Forest, given the qualities described above. The
      purpose of the analysis was to help prioritize sustainable management of the recreation
      program under declining budgets. The recreation facility analysis process identified niche
      settings on the Forest with corresponding niche emphasis activities and opportunities: remote
      adventure, solitude, scenic corridors, scenic backways, and winter overlay (USDA Forest
      Service 2007). For more information about the recreational facility analysis and niche
      statement, see Assessment 9 - Recreation (USDA Forest Service 2016b).

      Recreation Opportunities
      Motorized vehicle use is currently limited to designated routes outside wilderness or
      Colorado roadless areas. Motorized use is also prohibited in some eligible wild, scenic, and
      recreational river segments and research natural areas. Designated routes are defined on the
      Forest’s motor vehicle use map. Motorized over-snow vehicle use is currently allowed on 64
      percent and prohibited on 26 percent of the Forest. The remaining 10 percent includes areas
      where motorized over-snow vehicle use is limited to designated routes. Terrain and
      vegetation, however, limit access to the entire 64 percent. Over-snow vehicles can travel
      cross-country in all management areas except wilderness. Travel management was analyzed
      in the current forest plan.
      Nonmotorized activities are unrestricted and occur in winter and summer. Mechanized
      transport, such as mountain bikes and fat-tire bikes that ride over snow, are not allowed in
      wilderness. Outside of wilderness, mechanized use is restricted to designated routes.
      As stated in the recreation assessment, combining unrestricted motorized and nonmotorized
      use may result in increased safety concerns. Additionally, the 2013 monitoring report
      specifically identified potential conflict between motorized over-snow vehicles and winter
      range (big game).
      Developed recreation activities occur at defined sites, including facilities such as
      campgrounds, picnic areas, interpretive sites, trailheads, parking areas, boat ramps, fishing
      piers, rental structures, restrooms, and drinking water sources. The main developed recreation
      activities on the Forest are overnight camping at developed campsites, trailhead use, fishing
      at developed fishing sites, and downhill skiing at Wolf Creek Ski Area, which is operated
      under a special use permit.
      The number of developed recreation sites on the Forest is listed by category in Table 72. In
      addition to specific categories such as campgrounds and trailheads, the other developed
      recreation category includes day-use sites such as boat and fishing facilities and
      administrative sites such as cabin rentals. Information on site capacity in contained in
      Assessment 9 - Recreation (USDA Forest Service 2016b).




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   Table 72. Forest Service developed recreation sites
     Developed Site Type          Total Sites
    Boating Site                        7
    Campground                         40
    Fishing Site                       10
    Group Picnic Site                   4
    Interpretive Site                  11
    Lookout/Cabin                      11
    Observation Site                    2
    Picnic Site                        10
    Ski Area Alpine                     1
    Target Range                        1
    Trailhead                          59
                         Total        156
   Source: INFRA Recreation site report (October 31,2014).


   Developed sites are operated and maintained by the Forest, a concessionaire, or through other
   permitted services. Not all of the 40 campgrounds on the Forest have running water because
   of associated costs and other constraints. Most campgrounds and other facilities at higher
   elevations are open on a seasonal basis, typically Memorial Day through Labor Day.
   Developed sites located at lower elevations are generally open year-round, but the actual
   operating season varies due to weather or temporary closures related to maintenance. If a site
   cannot be maintained to meet health and safety standards, the site is closed until the issue is
   remedied. Management emphasis for developed sites is the high-use summer months, and
   other peak-use times such as elk and deer hunting seasons. The Forest’s developed recreation
   sites are typically not completely full even during the peak-use seasons.
   Partnerships, volunteerism, and new management strategies have played an increasing role in
   maintaining and improving developed recreation facilities and trails on the Forest. The level
   of facilities and programs currently available is dependent on these partnerships with
   commercial and private operators, listed below. The Federal Lands Recreation Enhancement
   Act is one tool that allows the Forest Service to collect fees, which help provide services,
   maintenance, and improvements that benefit visitors.
   During fiscal years 2015 and 2016, partners and volunteers contributed a total of 45,740
   hours of work to the Forest. These hours account for efforts completed by individual and
   group volunteers, international visiting volunteers, partnerships, and organization
   agreements, including the Southwest Conservation Corps, Volunteers for Outdoor Colorado,
   Colorado Mountain Club, and Colorado Fourteeners Initiative, among others. These groups
   leverage volunteers to complete trail maintenance and invasive species remediation. The San
   Luis Valley Great Outdoors coalition is another potential partner. This coalition generated the
   2014 San Luis Valley Trails and Recreation Plan (San Luis Valley Great Outdoor Coalition
   2014), which lays the foundation for improving outdoor recreation opportunities in the San
   Luis Valley over the next 10 years, including opportunities in the Forest.



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      Dispersed recreation is another opportunity on the Forest. Fees are generally not charged for
      dispersed areas, which are typically concentrated along roads or near water and have few or
      no facilities such as toilets, tables, or garbage bins. Under current regulations, motorized
      vehicles and campers must be within 300 feet as measured from the centerline of designated
      roads (USDA Forest Service 2017). Since 1996, the popularity of dispersed recreation has
      increased on the Forest, reflecting Colorado and New Mexico’s population growth. This has
      led to health and safety concerns, including littering and human waste. Additionally, resource
      degradation is occurring including vegetative removal, trampling, soil erosion, and wildlife
      disturbance. More information on popular dispersed recreation areas is contained in
      Assessment 9 - Recreation (USDA Forest Service 2016b).
      Several natural features on the Forest provide unique recreation opportunities (see the
      Natural Features map, which is contained on the DVD located in the back of this document).
      Some of these features fall under a special interest area designation, while others are
      managed for their values within a larger management area. These areas are Wheeler Geologic
      Area, the Summer Coon Volcanic areas including Elephant Rocks, the Natural Arch, and
      Devils Hole and Blowout Pass Geologic Areas. The Forest also has six 14,000-foot peaks
      (“fourteeners,” as mentioned previously), which attract increasing summer use. Those peaks
      are all in the Sangre de Cristo range and include Crestone Peak, Crestone Needle, Kit Carson
      Mountain, and portions of Ellingwood, Little Bear, and Blanca Peaks. Since 1996, interest
      has grown significantly in this form of destination hiking, which concentrates impacts at base
      camps and along trails accessing these peaks. The Colorado Fourteeners Initiative has
      partnered with the Forest on a number of projects to provide sustainable trail maintenance
      and stewardship education.
      The Continental Divide National Scenic Trail and Old Spanish National Historic Trail are
      additional unique recreation opportunities that are further described under their own section
      in Chapter 3. About 80 miles of the Colorado Trail also pass through the Forest, roughly in
      step with the Continental Divide National Scenic Trail. The Colorado Trail is a long-distance
      trail that stretches nearly 500 miles from Denver to Durango. Major uses are hiking,
      mountain biking, and horseback riding. While the Colorado Trail has no official management
      designation on the Forest, it was built, and is currently maintained, by volunteers of the
      Colorado Trail Foundation and the Forest Service. The Colorado Trail Foundation is another
      active partner of the Forest Service.
      More information on recreation opportunities on the Forest is contained in Assessment 9 -
      Recreation, and Assessment 15 - Designated Areas (USDA Forest Service 2016b).

      Access
      People seeking recreation opportunities can access the Forest through a combination of state
      and county roads, as well as roads and trails maintained by the Forest that are considered
      National Forest System roads and trails. These routes are designated on the motor vehicle use
      map and reflected in visitor use maps.
      As described in the Infrastructure, Roads, and Facilities section, National Forest System
      roads are categorized into five road maintenance levels that define the level of service and
      maintenance required. Mileage by maintenance level for National Forest System roads is
      listed in Table 60.


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   According to the roads analysis report for the Forest (USDA Forest Service 2004), the overall
   spatial distribution and amount of access (roads, trails, parking areas, and trailheads) across
   the Forest is sufficient. In 2015, however, an updated travel analysis process report provided
   additional information on the sustainability of the Forest Service road system, based on a
   review of funding levels from 2008 to 2012. The report (USDA. Forest Service 2015b)
   recommended a “minimum road system” with suggested significant reductions to the current
   road system. This report is considered advisory until travel management planning occurs
   subsequent to this effort.
   The total miles of trails by primary managed use type is shown in Table 73. Several trails are
   managed for multiple use with the primary managed use type, however, and designed for the
   most demanding construction and maintenance parameters. For example, trails specifically
   designed, constructed, and maintained for pack-and-saddle use also accommodate hiker use.
   There is a total of approximately 1,399 miles of trails on the Forest, 490 miles (35 percent) of
   which are located in designated wilderness and 909 miles (65 percent) of which are located
   outside of designated wilderness.

   Table 73. Trail miles by primary managed use type
     Primary Managed Use Type               Miles1
    Hiker                                     63
    Pack and saddle                           902
    Motorcycle                                203
    Off-highway vehicle                       191
    Cross-country skiing                      18
    Snowmobile                               6132
                                  Total      1,990
   Source: INFRA II Trail Core Report (April 10. 2017).
   1 All inventoried routes are located within the Forest boundary; however, the entire length of each individual segment may not
      be located on Forest Service lands.
   2 While there are no official snowmobile trails in INFRA, these trails represent those currently permitted and established.


   As discussed under the Sustainable Recreation Opportunities section, the Forest includes
   portions of the Continental Divide National Scenic Trail and the Old Spanish National
   Historic Trail, both of which are further discussed under the Congressionally Designated
   Trails section. The Forest also contains West Lost Trail Creek trail (commonly known as
   West Lost Trail) on the Divide Ranger District, which is part of the National Recreation
   Trails system. These National Forest System trails are designated to recognize exemplary
   trails of local and regional significance. The West Lost Trail is located on the western edge of
   the Divide Ranger District and accommodates both nonmotorized and motorized use. The
   7.5-mile long trail can be accessed either via National Forest System Road 520 or the
   Continental Divide National Scenic Trail.
   Los Caminos Antiguos Scenic Byway, Silver Thread Scenic Byway, and Cumbres & Toltec
   National Historic Landmark, a scenic railroad, are all scenic corridors that pass through the
   Forest. The routes described below are shown on the Scenic Byways and Railroads map,
   which is contained on the DVD located in the back of this document.


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      More information about these scenic resources is contained in Assessment 9 - Recreation,
      and Assessment 8.1 - Scenic Resources (USDA Forest Service 2016b), and in the Scenery
      section. For more information on the roads and trails, see the Infrastructure, Roads, and
      Facilities section.

      Recreation Use

      National Visitor Use Monitoring
      Every five years, the Forest Service monitors their visitor use through surveys. Survey
      standards have evolved through refinement as each round of national surveys was conducted.
      A. site visit is defined as the entry of one person onto a national forest site or area to
      participate in recreational activities for an unspecified period of time. National visitor use
      monitoring results represent a “snapshot” of the sample year’s visitation patterns and
      activities at the Forest scale and do not provide any true “trend” measures or site-specific
      visitation data at this time. (USDA Forest Service 2015c). Although the tool is not perfect,
      and it is highly dependent on the location of survey points and the willingness of visitors to
      participate, it is the only tool currently available to gather this information.
      Visitor use and satisfaction information provided by national visitor use monitoring, are good
      indicators of the types of recreation opportunities and settings that Forest visitors prefer. The
      Forest participated in the national visitor use monitoring program in 2000, 2005, 2010, and
      2015. Forest visitation results for 2015 are listed by visit type in Table 74.

      Table 74. Recreation visits to the Forest, 2015
      [Source: Rio Grande National Forest 2015 National Visitor Use Monitoring Survey (USDA Forest Service,
      2015c)]

                                                                                       90-percent
                          Visit Type                                Visits
                                                                                    Confidence Level2
       Total Estimated National Forest Visits                      396,000                  ±12.2
       Total Estimated Site Visits                                 463,000                  ±14.0
                     Day Use Developed Site Visits                 249,000                  ±16.8
                          General Forest Area Visits               113,000                  ±36.4
                    Overnight Developed Site Visits                 62,000                  ±23.3
                      Designated Wilderness Visits1                 39,000                  ±62.4
      1 Visits to designated wilderness are included in the site visits estimate.
      2 This value defines the upper and lower bounds of the visitation estimate at the 90-percent confidence level; for example, if the
         visitation estimate is i00 ±5 percent, one would say “at the 90-percent confidence level, visitation is from 95 to 105 visits.”



      A national forest visit can be composed of multiple, more specific site visits within the larger
      visit. Out of the total site visits in 2015, most visitors frequented the area outside of
      designated wilderness. A total of 424,000 site visits (91.5 percent) were attributed to visitors
      spending time at developed day-use sites, overnight sites, or general forest areas.
      Overall visitor satisfaction for the Forest is very high. In 2015, more than 76 percent of
      visitors responded with an overall rating of “very satisfied.” Another 18 percent were
      “somewhat satisfied.” Less than 2 percent indicated any level of dissatisfaction.


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   Visitors also indicated their perception of how crowded recreation sites or areas felt.
   Crowding levels were rated on a scale of 1 to 10, where 1 denotes hardly anyone was there
   and 10 indicates the area was perceived as overcrowded. Day-use developed sites received an
   average rating of 5.6, overnight developed sites were rated 3.9, undeveloped areas in general
   forest were rated 2.9, and designated wilderness received an average rating of 5.4. These low
   averages indicate that crowding is generally not an issue on the Forest.

   Visitor Use
   The Forest attracts visitors from near and far (Table 75). More than 68 percent of visitors in
   2015 reported travelling from a distance of more than 100 miles, and almost 37 percent of
   visitors traveled more than 500 miles. In contrast, slightly more than 25 percent of visitors
   originated from the local area within 50 miles of the Forest. Most visitors (70 percent)
   reported coming to the Forest from one to five times per year. More than 15 percent of
   respondents said that they visit from 6 to 20 times per year, and a small subset of 5 percent of
   visitors reported frequenting the Forest from 51 to 100 times annually.

   Table 75. Percentage of visits to the Forest by distance travelled, 2015
   [Source: Rio Grande National Forest 2015 National Visitor Use Monitoring Survey (USDA Forest Service,
   2015c)]

         Miles from Survey
                                         Percentage of Forest
    Respondent’s Home to Forest
                                                Visits
        Interview Location1
                 0-25 miles                      12.1
                26-50 miles                      13.5
                51-75 miles                       3.3
                76-100 miles                      2.5
               101-200 miles                     14.7
               201-500 miles                     17.3
           More than 500 miles                   36.6
   1 Travel distance is self-reported.


   Most visitors to the Forest participate in several recreation activities during each visit in
   addition to their main activity. For example, a visitor may come to the Forest to camp at one
   of the campgrounds but they may also participate in other activities such as hiking or viewing
   natural features. The top five activities for Forest visitors in 2015 were, in order of
   preference, downhill skiing, hunting, fishing, hiking/walking, and viewing natural features.
   These five activities account for 78 percent of total visitation.
   Participation rates by the top five activities on the Forest in 2015 are shown in Table 76. As
   an example, this table shows that 40 percent of visitors identified hiking and walking as a
   recreational activity that they participated in, but only 7 percent of those visitors identified it
   as their main activity during their Forest visit. In contrast, nearly 47 percent of Forest visitors
   identified downhill skiing as a recreational activity that they participated in, with downhill
   skiing representing a congruent 45 percent of visitors’ main activity on the Forest.



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      Table 76. Top five activities on the Forest by participation rate, 2015
      [Source: Rio Grande National Forest 2015 National Visitor Use Monitoring Survey (USDA Forest Service,
      2015c)]

                                                 Participation             Main Activity
             Top Five Activities
                                                  (percent)1                (percent)2
       1. Downhill skiing                             46.9                      45.2
       2. Hunting                                     11.6                      11.3
       3. Fishing                                     17.4                       8.8
       4. Hiking/walking                              40.0                       7.2
       5. Viewing natural features                    29.6                       5.6
      1 This column may total more than 100 percent because survey respondents could select multiple activities.
      2 Survey respondents were asked to select only one of their activities as their main reason for the Forest visit. Because some
         respondents selected more than one, this column may total more than 100 percent.



      Recreation Special Uses
      The Forest’s special uses permit program includes a recreation component, related to
      noncommercial and commercial events, activities, and privately owned improvements on
      National Forest System lands. A special use authorization is a legal document granted for a
      specific use of the land for a specific period of time. Special use permits can be authorized
      for temporary or long-term periods.
      At this time, there are 32 outfitter and guide permits providing a variety of commercial
      services on the Forest, as well as a special use permit for Wolf Creek Ski Area. The Forest is
      currently experiencing increased requests for outfitter, guide, and recreation event permits.
      For more information on special uses, refer to the Lands and Special Uses section.

      Recreation Settings
      People choose a specific setting to engage in recreational activities in order to realize a
      desired set of experiences. For example, camping in a large undeveloped area with difficult
      access and limited facilities offers a sense of solitude, challenge, and self-reliance. In
      contrast, camping in an easily accessible setting that includes developed facilities, such as
      toilets and tables, provides more comfort, security, and opportunities for social interactions.
      The Forest Service strives to provide diverse opportunities for recreationists to obtain
      high-quality and satisfying experiences through a variety of settings and activities (USDA
      Forest Service 1982).

      Direct and Indirect Effects

      Sustainable Recreation
      Generally, the recreation plan direction does not vary among alternatives B, C, and D in order
      to fully support the Forest’s sustainable recreation vision. However, the type of access and
      available settings vary among action alternatives based on variations in summer recreation
      opportunity spectrum class designations, as well as over-snow motorized vehicle use
      suitability determinations described in the analysis below.


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   Alternative A does not specifically account for the concept of sustainable recreation because
   the ideas and practices associated with the concept have evolved in recent years. However,
   many of the principles associated with sustainable recreation were present in plan direction
   developed in 1996. Under this management direction, the Forest’s recreation program would
   continue without a sustainable focus for the program over the planning period.
   Alternatives B, C, and D contain revised plan direction to help achieve sustainable recreation
   and address recreation settings, opportunities, and access for nonmotorized, motorized,
   developed, and dispersed recreation opportunities. This revised direction will help the Forest
   keep and re-evaluate which facilities and trails will be maintained and connected, as well as
   focusing all management decisions on resource benefits.

   Recreation Opportunity Spectrum
   Alternative A. reflects the Forest’s existing summer recreation opportunity spectrum mapped
   in 1996 and is based on the factors considered at that time. The class designation percentages
   are listed in Table 77.

   Table 77. Existing summer recreation opportunity spectrum settings
                Percent Recreation Opportunity Spectrum Class Designations1
                         Semiprimitive       Semiprimitive            Roaded
         Primitive                                                                         Rural
                         Nonmotorized          Motorized              Natural
            8                   43                  28                   20                   1
   1 Recreation opportunity spectrum class designations are not applied to private lands located inside the Forest boundary.


   All action alternatives reflect implementation of the methodology described in this section’s
   overview. Following that exercise, a map was created with the percentages listed in Table 78,
   which summarizes the recreation opportunity spectrum class designations for alternatives B,
   C, and D. The action alternatives contain plan direction to help achieve sustainable recreation
   and address recreation settings, opportunities, and access for nonmotorized, motorized,
   developed, and dispersed recreation opportunities. This revised direction would help the
   Forest keep and re-evaluate which facilities and trails would be maintained and connected,
   and would focus all management decision on resource benefits.
   The allocation of desired summer recreation opportunity spectrum classes for each
   alternative is shown in Table 78. Refer to the Existing Summer Recreation Opportunity
   Spectrum map and the Desired Recreation Opportunity Spectrum maps for alternatives B, C,
   and D for geographic depictions of recreation opportunity spectrum class designations for
   each alternative. These maps are all contained on the DVD that is located at the back of this
   document.




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      Table 78. Desired summer recreation opportunity spectrum classes, by action
      alternative
                                        Percent Recreation Opportunity Spectrum Class Designations1
         Alternative                             Semiprimitive       Semiprimitive           Roaded
                               Primitive                                                                           Rural
                                                 Nonmotorized          Motorized             Natural
               B                    7                  44                   28                  20                    1
               C                    7                   33                  36                  23                    1
               D                   36                   19                  25                   19             less than 1
      1 Recreation opportunity spectrum class designations are not applied to private lands located inside the Forest boundary.


      In alternatives B, C, and D, Forest plan direction requires that recreation development and
      travel routes are to be consistent with the Forest’s desired recreation opportunity spectrum
      class designations described above. Plan direction also provides for managing capacity
      within recreation opportunity spectrum class designations, including the number of special
      use permits concentrated in a particular area or the capacity of a site to provide long-term
      versus short-term use.
      The desired recreation opportunity spectrum class designations vary, by alternative, in part,
      on the basis of changes in management area allocation. Management areas that influenced the
      allocation of recreation opportunity spectrum class designations by alternative are
      recommended wilderness; special interest areas including scenic byways and railroads;
      research natural areas, and special designations: congressionally designated trails. Fine-scale
      variations in recreation opportunity spectrum class designations among alternatives are also
      attributed to local knowledge of recreation user preferences and demands within each of the
      Forest’s three ranger districts. These nuances influence acreage changes in class designations
      among alternatives but typically do not affect class designation percentages because the
      changes are so site-specific and small in size.
      Across all alternatives, rural and roaded natural recreation opportunity spectrum class
      designations remain nearly the same, with a slight (3 to 4 percent) increase of roaded natural
      in alternative C due to temporary road development for increased timber harvest
      opportunities under alternative C. Semiprimitive motorized allocation is nearly the same
      between alternatives B and D, with the highest semiprimitive motorized allocation in
      alternative C. Under alternative C, areas with closed roads are classified as a semiprimitive
      motorized class designation within a 0.5-mile buffer on each side of the road. Similar
      changes are reflected in alternative C in response to scoping comments requesting several
      nonmotorized trails be opened to motorized use. These changes were made to potentially
      provide for more motorized opportunities on the Forest under alternative C. Opening closed
      routes and determining route uses are, however, outside the scope of this plan revision.
      Semiprimitive nonmotorized is the highest in alternative B and lowest in alternative D, with a
      25-percent difference between alternatives B and D and a 14-percent difference between
      alternatives C and D. Alternative D has the lowest allocated semiprimitive nonmotorized
      opportunities because much of those lands designated as semiprimitive nonmotorized in
      alternatives B and C are allocated as primitive in alternative D. This shift among alternatives
      is primarily due to all existing designated wilderness, and all recommended wilderness, being
      given a primitive class designation under alternative D. Accordingly, the primitive recreation


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   opportunity spectrum class is 29 percent higher under alternative D than both alternatives B
   and C.
   The total nonmotorized and motorized opportunities by combined recreation opportunity
   spectrum class percentages across all action alternatives are shown in Table 79. The
   nonmotorized recreation opportunity spectrum classes (primitive and semiprimitive
   nonmotorized) are the highest under alternative D. This is largely because of the estimated
   285,000 acres of recommended wilderness under alternative D, as opposed to approximately
   59,000 acres of recommended wilderness under alternative B and none in alternative C. A
   higher percentage of nonmotorized settings under alternative D would offer more opportunity
   for quiet solitude experiences and reduce the probabilities of seeing or hearing other people
   in remote and predominantly unmodified landscapes.

   Table 79. Nonmotorized and motorized settings, by alternative
                       Total         Total
     Alternative   Nonmotorized    Motorized
                     (percent)     (percent)
         A               51           49
          B              51           49
         C               40           60
         D               55           45


   Motorized opportunity settings including semiprimitive motorized, roaded natural, and rural,
   are greater under alternatives B and C compared to alternative D. This is largely due to the
   amount of recommended wilderness under alternative D, as detailed above. Alternative C
   provides for the most motorized settings because alternative C does not have recommended
   wilderness. Additionally, under alternative C, semiprimitive nonmotorized contiguous areas
   equal to or less than 2,500-acres in size were converted to semiprimitive motorized.
   Likewise, semiprimitive motorized contiguous areas equal to or less than 2,500 acres in size
   were converted to roaded natural in alternative C. These combined changes reflect 11 to 15
   percent more total motorized settings under alternative C as compared to alternatives B and
   D. A higher percentage of motorized settings under alternative C would provide more
   opportunity for recreation experiences in more developed landscapes with higher chances for
   social interactions and access to developed facilities.

   Motorized Over-Sn^w Vehicle Use Suitability
   The percentage of Forest lands suitable, unsuitable, and limited to designated routes for
   motorized over-snow vehicle use is listed by alternative in Table 80. For geographic
   depictions of motorized over-snow vehicle suitability for each alternative, refer to the
   Over-Snow Vehicle Use Suitability maps for alternatives A, B, C, and D, each of which is
   contained on the DVD located at the back of this document.




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      Table 80. Motorized over-snow vehicle use by alternative
                                             Over-Snow Vehicle Use1
                                                                            Percent
         Alternative             Percent              Percent              Limited to
                                 Suitable            Unsuitable            Designated
                                                                             Route
               A2                   64                    25                     11
               B                    59                    26                     15
               C                    61                    24                     15
               D                    37                    50                     13
      1 Over-snow suitability designations do not include private lands located inside
         the Forest boundary.
      2Areas where snowmobiles are allowed on the Forest’s current winter use map are reflected as suitable and unsuitable for
        over-snow vehicle use under alternative A for the purposes of comparison.


      Motorized over-snow vehicle use would be suitable on the highest percentage of Forest lands
      under alternative C, with a slight (2 percent) increase from lands deemed suitable for
      motorized over-snow vehicle use under alternative B (Table 80). Inversely, motorized over­
      snow vehicle use would be unsuitable on 25 percent more of Forest lands under alternative D
      as compared to alternatives B and C. The percentage differences between suitable and
      unsuitable across action alternatives are described in more detail below. Areas where
      motorized over-snow vehicles are limited to designated routes is nearly the same across all
      three action alternatives due to limited variations in deer and elk winter range that determine
      the need for designated routes in certain areas during the winter season.

      Suitable
      Areas suitable for motorized over-snow vehicle use across all action alternatives (B, C, and
      D) include Roadless (MA 3.5 and 3.6), General Forest (MA. 5.11), and Scenic Byways (MA.
      4.21). Motorized over-snow vehicle use is also suitable under alternatives B and C in the
      following special interest areas: Bachelor Loop, Elephant Rocks, and Wagon Wheel Gap
      Experiment Station. Suitable areas under alternatives B and D also include dispersed and
      developed recreation, forest production, and grassland production.

      Unsuitable
      Areas unsuitable for motorized over-snow vehicle use across action alternatives (B, C, and
      D) include existing wilderness areas, eligible wild, scenic, and recreational rivers, ski-based
      resorts, all research natural areas, and the following special interest areas: Blowout Pass
      Geologic, Devil’s Hole, and Liberty-Duncan. Motorized over-snow vehicle use across all
      alternatives is also unsuitable within areas on the Forest with closure orders. Specifically, the
      long-term closure order for a 543-acre area in the vicinity of Chama Basin is specifically in
      place to prevent winter recreation use conflicts.
      Under alternative B, 58,669 acres of recommended wilderness would also be unsuitable for
      motorized over-snow vehicle use. Under alternative D, all special interest areas would be
      unsuitable for motorized over-snow vehicle use. Additional unsuitable areas under alternative



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   D are: backcountry, congressionally designated trails, and 284,853 acres of recommended
   wilderness. Alternative C does not have any recommended wilderness.

   Limited to Designated Routes
   Motorized over-snow vehicle use is limited to designated routes located within deer and elk
   winter range (MA 5.41) under alternatives B, C, and D. Alternatives B and C also limit
   motorized over-snow vehicle use to designated routes within the John C. Fremont Winter
   Camp Special Interest Area.

   Management Areas
   Several differences in management area allocations by alternative would result in minor
   changes to how recreation would be managed on the Forest. In alternatives A, B and D,
   developed and dispersed recreation fall under Management Area 4.3 - Dispersed and
   Developed Recreation. Alternative C, however, combines those areas under the broader
   general forest management area. Recreation opportunities and related developed facilities
   would not change, however, and area-specific plan direction is combined into the larger
   designation.
   Management for ski-based resorts remains the same in all alternatives, although the
   management area number in alternative C differs from that in A, B and D. Under alternative
   C, Wolf Creek Ski Area would be managed as a special designation. The special designation
   in C further solidifies the terms of the special use permit into management direction in the
   forest plan itself.

   Effects to Sustainable Recreation Opportunities from Vegetation Management
   Associated impacts of timber management might include road reconstruction and
   improvements. New road construction is likely to be limited and temporary road construction
   used as a more common method for short-term administrative access needs.
   Road development for timber management purposes in undeveloped areas may have the
   potential to attract more visitors to the interior of the Forest where access previously has been
   limited. However, the vast majority of planned harvest activities would occur in previously
   developed areas where management has occurred in the past and roads are already in place.
   Temporary roads may be used to access newly accessible parts of the Forest, but these areas
   would be immediately adjacent to areas of the Forest already under active management. All
   currently closed roads would remain closed and all new temporary roads would be
   decommissioned.
   Planned vegetation management activities are lowest in alternative D; therefore, alternative D
   would generally be expected to result in a lower amount of administrative and vegetation
   management-related road use compared to alternatives A, B, and C. Consequently, reduced
   traffic (i.e., number of vehicles on roads), both commercial and administrative, can be
   expected. Associated with reduced commercial use is the reduction of road reconstruction
   and best management practices work. Road maintenance activities done in conjunction with
   commercial use would also occur less often because this work is only required commensurate
   with use.



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      Additional timber harvest has the potential to affect recreation experiences and opportunities
      in several ways. Short-term effects may include increased noise and dust levels, the sight of
      landscapes altered by differing types of harvesting, the presence of slash piles and roads
      reconstructed or constructed for timber sales, conflicts with logging trucks on roads used by
      other Forest visitors, and the removal of snow for winter log hauling from roads frequented
      by winter recreational users. Users may be temporarily displaced to other locations because
      of log truck traffic and potential noise and temporary area closures from harvest activities.
      New openings in the Forest from vegetation management activities may also create dispersed
      camping areas over time. In many cases, roads built for logging operations are then used by
      recreationists, although these roads typically are closed and/or decommissioned after
      completion of the timber harvest activity. Most likely, currently gated maintenance level 1
      roads would be restored to pre-project conditions when harvest activities are completed,
      especially after salvage operation.

      Effects to Sustainable Recreation Opportunities from Wildlife Management
      Forest plan wildlife management direction directly affects motorized recreation
      opportunities, including motorized over-snow vehicle use due to deer and elk winter range.
      Restrictions that limit types of access and seasonal closures during sensitive periods, such as
      mating, calving, and when animals emerge from dens, could temporarily displace
      recreationists to other areas. The Forest’s motor vehicle use map limits motor vehicle use to
      designated routes or areas, yearlong or seasonally, often in response to wildlife needs.
      Recreational benefits from wildlife management could include increased hunter and wildlife
      viewer satisfaction, as well as maintaining angler satisfaction. The effect on recreation from
      wildlife management would be the same for all alternatives.

      Effects to Sustainable Recreation Opportunities from Threatened and
      Endangered Species Management
      Dispersed recreation opportunities could be affected by management activities related to the
      Uncompahgre fritillary butterfly due to overlap between dispersed recreation areas and
      butterfly habitat. Revised management direction across all action alternatives allows
      dispersed recreation sites to be closed if unacceptable environmental damage occurs. Should
      Uncompahgre fritillary butterfly habitat experience unacceptable damage from dispersed
      recreation activities, the amount of available dispersed recreation opportunities on the Forest
      would decrease due to necessary area closures. Area closures could be temporary or
      permanent in nature and have a corresponding temporal effect.
      Winter recreation opportunities could be affected by management activities associated with
      Canada lynx. All action alternatives include revised plan direction that directs the Forest to
      manage winter recreation activities within lynx analysis units such that lynx habitat
      connectivity is maintained or improved where needed. Over-snow vehicle use suitability
      determinations may change as a result of shifting priorities concerning lynx habitat over time.
      If areas currently suitable for over-snow vehicle use become unsuitable, Forest visitors
      participating in winter motorized recreation could be temporarily or permanently displaced
      from certain areas. However, because lynx habitat typically consists of dense vegetation,
      areas deemed unsuitable for over-snow vehicle use on account of lynx habitat may not even


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   be passable for motorized over-snow vehicles. In this case, any effects to winter recreation
   from lynx habitat management could range from minor to negligible.

   Effects on Recreation from Fire Management
   Fire and fuels management activities, including prescribed burning, are likely to continue
   across all alternatives. Fuels management effects on recreation are similar to the effects
   described under vegetation management. An increase in fire extent, creating a long-lasting
   change to the setting, could cause a shift in recreation use and displacement to unburned
   areas. The degree of these effects is difficult to determine and based on the size and intensity
   of a wildfire event. Prescribed fire has some level of predictability for time, location, and
   intensity, which may decrease the short- and long-term impacts to Forest visitors. These
   effects are common to all alternatives.
   Fire suppression actions are also likely to continue and could result in the administrative use
   of gated roads. In some cases, roads that are closed to public motor vehicle use (due to
   revegetation or other restrictive condition) may be opened in order to facilitate suppression
   actions. These roads would probably be used for the duration of the suppression efforts and
   post-fire work and then returned to their previous status.

   Effects on Recreation from Mineral Resource Activities
   Proposals for mineral exploration and development are driven by external parties and market
   forces and regulated by existing mining law. Access and road development (long-term or
   temporary) is often associated with mineral exploration and development, but a site-specific
   analysis is required prior to any approval for exploration or development activities, including
   consideration of potential effects to recreation use and values. If any mine reclamation
   activities occur, those activities would likely use existing roads. These may be roads that are
   not currently designated for motor vehicle use. They would probably be used for the duration
   of the reclamation work and then returned to their previous status.
   Recreation could be affected by mineral exploration and extraction in all alternatives.
   Short-term effects may include noise and visual impacts from open-pit or underground
   mining operations. In the long-term, effects may include: departure from a more naturally
   appearing landscape, new underground or open pit mines and physical structures, and new
   roads and road corridors constructed for mining or drilling operations that may change the
   recreation setting. Mineral facilities could affect Forest visitors depending on the location of
   development and the setting affected.
   Dredging on a recreational basis could impact other recreational opportunities in all
   alternatives. Short-term effects from dredging on a recreational basis may include noise and
   visual impacts, sediment and siltation in the river, and temporary water quality impairment.
   In the long-term, effects may include: ponding in the river, stream channel modification, and
   potential displacement of wildlife. Dredging activities could affect Forest visitors depending
   on the location and type of dredging activity, as well as the equipment used.

   Cumulative Effects
   The analysis area for cumulative effects includes the Forest and adjacent public lands
   including the Pike-San Isabel, San Juan, Gunnison, Uncompahgre, and Carson National


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      Forests, Great Sand Dunes National Park and Preserve, several areas managed by the Bureau
      of Land Management and U.S. Fish and Wildlife Service, Colorado Parks and Wildlife lands,
      and local parks.
      Fiscal capability would present a challenge for existing and new sustainable recreation
      opportunities on the Forest. The current levels of appropriated funding are inadequate to meet
      national quality standards for many of the existing developed sites and trails. However,
      partnerships and volunteers may help bridge that gap, in addition to increasing collaboration
      and leveraging state and local agency planning efforts. Aligning the Forest’s recreation
      program and available funding with national, statewide, and local efforts could be beneficial.
      Anticipated population increases over the course of the planning period would increase
      demand for a variety of recreation settings, experiences, and opportunities. Although the San
      Luis Valley has seen an increase of only about 7,000 people since 1996, Colorado’s
      population is anticipated to increase 1.5 percent per year, increasing to more than 7.7 million
      people by 2040. High growth is expected along Front Range communities, as well as in
      Durango and Grand Junction.
      As densely populated areas continue to grow, lands available for outdoor recreation in those
      communities would likely become more crowded and less desirable.
      Cumulatively, increased use could also increase conflicts among users, as more people are
      using the same land base. The recreation program will need to evolve with the increase in
      people and associated demand for recreation opportunities.

      Congressionally Designated Trails
      Overview
      National Scenic and National Historic trails may only be designated by Congress, while
      National Recreation Trails are administratively designated by the Secretary of Interior or the
      Secretary of Agriculture. Three nationally designated trails traverse portions of the Rio
      Grande National Forest. The Continental Divide National Scenic Trail and the Old Spanish
      National Historic Trail were designated by Congress in 1978 and 2002, respectively. The
      West Lost Trail, a National Recreation Trail, was designated by the Secretary of Agriculture
      in 1979. For more information, see the Nationally Designated Trails map, which is contained
      on the DVD located at the back of this document.

      Affected Environment, Existing Conditions, and Trends

      Old Spanish National Historic Trail
      Designated in 2002, this historic trail starts in Santa Fe, New Mexico, and traverses the
      southwestern United States to southern California, representing the history of commerce in
      wool and horses during the Colonial Mexican era from 1829 to 1848. The East Fork of the
      North Branch of the Old Spanish National Historic Trail crosses the San Luis Valley and
      portions of the Forest, heading north along the flanks of the Sangre de Cristo Mountains and
      then west up Saguache Creek and over the Continental Divide across two potential variants:
      Old Cochetopa or New Cochetopa Pass. The Forest hosts at least one high-potential Old



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   Spanish Trail site called the Bunker Site north of Crestone on the Baca Mountain Special
   Interest Area.
   The Old Spanish National Historic Trail is a unique historic feature in that it does not
   generally exhibit trail segments and wagon ruts like other historic trails. Considered more of
   a “concept trail,” the congressionally designated corridors that cross the Forest were mule
   trails meant to evoke the time, setting, and integrity as witnessed during its era of
   significance. This trail provides opportunities for interpretive stops in the larger heritage
   tourism context of the San Luis Valley. The trail is administrated by the National Park
   Service and the Bureau of Land Management. These agencies are charged with the
   development of a management strategy and comprehensive plan.
   Many portions of the trail on the Forest are largely unimpeded by development, and
   surrounding views remain largely the same as they did when traders passed through. Other
   sections include visible highways, powerlines, past timber harvest, and grazing
   improvements. The section of the trail that goes through the newly acquired Baca Mountain
   Tract is perhaps the most intact in terms of landscape, containing the Bunker Site thought to
   be a high potential camp (paraje). Much of the trail that crosses the Forest has been
   inventoried for cultural resources in the recent past.
   An important trend of note is an increasing interest from the public in heritage tourism in
   general, and visiting National Historic Trails in particular. The local La Vereda chapter of the
   Old Spanish Trail Association is very active in the research and interpretation of the trail.

   Continental Divide National Scenic Trail
   The 3,100-mile-long Continental Divide National Scenic Trail is a continuous path that
   follows the backbone of the Rocky Mountains from Canada to Mexico, traversing portions of
   20 national forests, 3 national parks, 1 national monument, 13 Bureau of Land Management
   administrative areas, as well as various state and private lands in the states of Montana,
   Idaho, Wyoming, Colorado, and New Mexico. About 170 miles of the Continental Divide
   National Scenic Trail is routed through the Forest, from the northern boundary with the
   Gunnison National Forest to the New Mexico state line. As described in the comprehensive
   management plan (USDA Forest Service 2009), the nature and purposes of the Continental
   Divide National Scenic Trail are to:
   •     Provide for high-quality scenic, primitive hiking, and horseback riding opportunities, and
   •     Conserve natural, historic, and cultural resources along the Continental Divide National
         Scenic Trail corridor.
   The Continental Divide National Scenic Trail is the highest national scenic trail, reaching the
    14,270 foot summit of Grays Peak. The trail connects the Chihuahuan Desert of New Mexico
   to majestic conifer forests, remote valleys, and wild, snow-capped mountains and glaciers on
   the way to its northern terminus in Glacier National Park. Travelers along this path
   experience the heart of the Rocky Mountain West: untrammeled mountains that stretch to the
   horizons, plunging streams, snowfields, glaciers, cobalt blue lakes, alpine wildflowers, and
   quiet camping under star-studded skies. Travelers may also encounter ancient trails, follow
   the footsteps of Lewis and Clark or early Spanish explorers, trace the routes of the Apache,
   and follow fresh tracks of grizzlies, wolves, lynx, elk, moose, mountain goats, and
   wolverines.

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      The Forest Service is the lead agency responsible for management of the Continental Divide
      National Scenic Trail. Management is intended to be consistent with the nature and purposes
      of the trail as described in the 2009 Continental Divide National Scenic Trail Comprehensive
      Plan, and any revisions.

      Direct and Indirect Effects
      Alternative A does not have any specific management direction for any congressionally
      designated trails on the Forest. A comprehensive management plan for the Continental
      Divide National Scenic Trail, following congressional designation, was completed in 2009
      (USDA. Forest Service 2009). A. comprehensive plan for the Old Spanish National Historic
      Trail is currently under development. Activities that would substantially interfere with the
      purpose for which the trails were designated would be avoided to the extent practicable.
      Generally, uncontrollable impacts result from public use and vandalism. Natural processes
      such as wind and water cause soil erosion, and these impacts to the trails would continue to
      occur. The action alternatives include management activities that include timber
      management, permitted grazing, prescribed burning, wildlife and fisheries management,
      facilities construction and maintenance, road and trail construction, recreation use and
      management, and special uses authorization to third parties.
      Alternatives B and C include plan direction that presents a balanced approach to managing
      these linear features in a multiple use environment. Similar to other alternatives, the direction
      will continue to contribute to social and economic sustainability in the broader landscape and
      connect citizens to the land through education, interpretation, stewardship projects, and
      volunteerism. Effects are anticipated to be positive, resulting in more public understanding of
      the shared values around both trails, and include the potential for a more educated and
      stewardship-minded public.
      Alternative B includes the trails in the Specially Designated Geographic Area, with the
      corridor mapped as a linear feature crossing multiple management areas. Alternative C
      addresses the trails similarly but includes the trails in the Specially Designated Management
      Area.
      Many segments of the Continental Divide National Scenic Trail on the Forest are not located
      on the Continental Divide. Alternative D establishes the Congressionally Designated Trail
      Management Area, which in some areas overlaps with existing wilderness and Colorado
      roadless areas. Alternative D also converts management approaches related to these trails,
      used as optional plan content in alternative B to facilitate adaptive management, to standards
      and guidelines. Designating the trail as a management area with related standards and
      guidelines means that if the trail were proposed to be relocated to the Continental Divide
      itself, the Forest would have to complete an amendment of the forest plan to do so.
      Amending the forest plan involves more detailed environmental analysis. Recognizing the
      trail as a linear feature provides more flexibility to Forest managers to relocate segments of
      the trail as needed.

      Cumulative Effects
      Implementation of any of the alternatives could result in short-term impacts that result in
      long-term benefits. Relocation of trails to improve consistency with historic routes would


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   provide a positive overall experience in the long term. Population increases over time could
   increase the number of users and therefore impact the trails, and increase user-related
   conflicts.
   Past management of the Old Spanish National Historic Trail may have resulted in fewer
   intact cultural resources to identify, evaluate, research, and/or interpret. Past and future forest
   management projects can cause surface disturbance, bring additional people into contact with
   cultural resources, and affect the integrity of historic structures. Cumulative effects that are
   the result of ground disturbance associated with implementing each of the alternatives could
   result in the inadvertent discovery of, and potential damage to, Old Spanish National Historic
   Trail sites, artifacts, or trail traces. Protection protocols included in all alternatives would
   mitigate impacts to inadvertent discoveries.

   Cultural Resources
   Overview
   The plan area contains cultural resources that demonstrate human occupation and use for at
   least the last 12,000 years. Its occupation and use by American Indians with Numic (Ute),
   Athabascan (Navajo and Apache) and Ancestral Puebloan ethnic affiliation are well
   documented in ethnographic literature. Occupation and use of the plan area by Anglo-
   American and other peoples from the Old World have occurred over the past 300 years. The
   plan area has been under the management of the Forest Service since 1908, slightly more
   than 100 years. Cultural continuity is a trademark of the San Luis Valley, and by extension, of
   the Forest. American Indian, Hispanic, and other long-term land-based traditional
   communities continue to use the Forest for economic, social, recreational, and religious
   purposes. Cultural resources and historic uses in the plan area are important to understanding
   the social, economic, and ecological sustainability of the Forest, the State of Colorado, the
   Rocky Mountain Region, and the Nation as a whole.
   Currently, there are approximately 2,099 cultural resources documented in the plan area,
   defined by the National Historic Preservation Act and by Forest Service Manual 2200,
   section 2360, as objects or definitive locations of human activity or use, and identifiable
   through field survey, historical documentation, or oral evidence. Cultural resources have
   value because they connect one generation to the next, and they are the primary sources of
   data regarding human interaction with environmental change.
   Cultural resources include pre-contact or historic archaeological sites, structures, places,
   objects, or traditional cultural properties generally 50 years old or older. Some cultural
   resources have special value as historic properties: cultural sites that reflect the past use of
   the area and are evaluated for significance as defined by the National Register of Historic
   Places under the following criteria: a) association with important events, b) association with
   important people, c) distinctive historical architectural style, and/or d) potential to yield
   important information about the past. The process includes identifying historic properties
   through field inventory, evaluating sites for potential inclusion to the Register, and selecting
   sites to formally nominate to the Register. Through this effort, current and potential impacts
   to eligible properties are identified and protection measures designed and implemented.
   Within the context of the Forest Service’s Heritage Program Managed to Standard, these may
   also be identified as priority heritage assets.

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      Historic uses such as sheep herding, wood cutting, and big game hunting represent the
      processes and events important to the identity and history of long-standing land-based
      communities in the San Luis Valley and tribal communities now living outside of the
      planning area. Contemporary uses of resources and places within the plan area by American
      Indian, Hispanic, and Anglo-American communities are critical to maintaining cultural
      identity. It is worth noting that historic uses can at times have negative impacts on cultural
      resources, such as the hoof action of overly intensive sheepherding activities on a pre-contact
      archaeological site.
      For more information about the pre-contact, contact, and historic overview of the Forest, see
      Assessments 12 - Tribal Resources and Assessment 13 - Cultural Resources (USDA Forest
      Service 2016).

      Affected Environment, Existing Conditions, and Trends
      A great deal of cultural resource inventory has been conducted and a number of sites have
      been documented and evaluated for eligibility to the National Register of Historic Places
      (Table 81) since implementation of the previous forest plan in 1996. A subset of sites has
      been left unevaluated for significance to the National Register of Historic Places that heritage
      professionals manage as eligible until proven otherwise.

      Table 81. Number of sites evaluated for eligibility to the National Register of Historic
      Places, 1996 and 2015
        Year    Pre-Contact    Historic   Unknown        Eligible    Not Eligible   Unevaluated     Total
        1996        456          132         N/A           100           206            282         588
        2015       1,523         401         185           304          1,065           730        2,099


      A total of 340,231 acres of cultural resource inventory has been implemented, or about 18
      percent of the Forest. Cultural resource inventories conducted in the 1970s and early 1980s
      are sometimes suspect in terms of their adequacy in site identification given the apparent
      inflated number of acres surveyed by limited crews with less sophisticated tools for tracking
      survey acres and site locations. To address the substandard quality of some previous surveys,
      archaeologists conduct sample surveys of older survey areas during new projects to assess
      accuracy of past surveys and high potential areas and to identify newly exposed sites using a
      predictive model. More sophisticated tools such as geographic positioning systems units with
      sub-meter accuracy, geographic information systems location and site mapping, and
      predictive modeling have made site documentation more accurate and by extension,
      management more effective in the long term.
      The Forest contains a unique array of site types and site distributions that make up the
      affected environment. Those associated with the pre-contact eras include open lithic (tool
      stone) scatters, open camps, sheltered architectural sites, open architectural sites, wickiups,
      tree platforms, culturally modified trees, and rock art. Historic site types include homestead
      remains, grazing features such as sheep camps, arborglyphs, mining-related features,
      logging-related features including tie-hacking, roads, stock driveways, railroad beds, and
      trails. The Forest also contains cultural landscapes, which are groups of sites associated



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   around a theme such as stone tool procurement or mining. Stone features such as game blinds
   were likely used across the entire spectrum of human use.
   In 2011, documentation in Forest Service Manual 2360 created a foundation for a more
   robust heritage program that protects historic properties while maximizing benefits for both
   the public and the Agency. The seven key indicators are of a heritage program being
   managed to standard are:
   •     program planning,
   •     cultural resource inventory,
   •     cultural resource evaluation and official designations,
   •     condition assessment and allocation,
   •     stewardship and protection,
   •     public outreach and benefit, and
   •     heritage volunteerism.
   As part of the condition assessment and allocation measure, the heritage program is expected
   to designate priority heritage assets, which represent outstanding eligible historic properties.
   These assets require consistent monitoring in the planning area (Table 82).

   Table 82. Priority heritage assets on the Forest, 2017
                    Description             Smithsonian Number      Forest Service Number
       Cumbres & Toltec Scenic Railroad            5CN65                02090300001
       Alamosa Ranger Station                     5CN756                02090300114
       River Springs Work Center                  5CN794                02090300118
       English Valley Folsom Site                 5RN1028               02090400144
       Fitton Guard Station                       5RN314                02090400145
       Off Cow Camp                               5RN315                02090400146
       Dog Mountain Petroglyphs                   5RN330                02090400147
       Upper Beaver Creek CCC Outhouse            5RN518                02090400375
       Clay Mine Ore Chute                        5ML329                02090400609
       Black Mountain Folsom Site                  5HN55                02090400925
       Ivy Creek Prehistoric Site                 5ML633                02090401039
       Thirty-Mile Resort                         5HN1041               02090401078
       Rio Grande Reservoir Work Camp             5HN1379               02090401089
       Duncan Townsite                            5SH3484               02090700145
       Mill Creek Stone Structure Site            5SH354                02090700146
       Bunker Old Spanish Trail Site              5SH614                02090700147
       Kortright Cabin                            5SH1300               02090700197
       North Tracy Canyon Site                    5SH143                02090700229
       North Pass Peeled Tree Site                5SH1697               02090700295
       Pole Creek Cabin Complex                   5SH2383               02090700411
       Possible Ute Structure                     5SH3927               02090700565
       Brewery Guard Station M20 Building         5SH1470               02090700704



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      Along with eligible historic properties and priority heritage assets, the Forest contains four
      special interest areas designated for historical significance: the Fremont historic area for 1848
      expedition campsites, the Bachelor loop historic area for silver mining sites, the Wagon
      Wheel Gap watershed experiment station for watershed research features from 1909 to 1926,
      and the Liberty-Duncan area for pre-contact and mining sites. The Cumbres & Toltec Scenic
      Railroad in the southern portion of the planning area was designated as a national historic
      landmark in 2012.
      Before the National Historic Preservation Act was enacted in 1966, ground-disturbing
      activities occurred without cultural resource inventories. In addition, a culture of collecting
      artifacts and looting sites on the Forest is a well-known local pastime. Natural processes such
      as water, wind erosion, and fire have negatively impacted a host of site types in different
      ways. Conversely, the processes of erosion sometimes bury cultural deposits intact, thereby
      protecting them from some human impacts. Increased heavy fuel loading since the Forest
      Service began fire suppression in the early 20th century has increased the likelihood of
      stand-replacing fires that can adversely affect cultural resources. Fire-sensitive sites such as
      culturally modified trees, wickiups, and cabin structures are especially vulnerable. Increased
      warming and drought conditions add to the threat. Drought can also precipitate loss of
      vegetation cover and when added to grazing of domestic and wild ungulates, serious erosion
      of cultural deposits can occur.
      Monitoring eligible historic properties since the last planning cycle revealed negative impacts
      to cultural resources from permitted grazing, wildland fire, construction and use of illegal
      mountain bike trails, existing roads, and benign neglect of eligible historic structures.
      However, the vast majority of eligible historic properties identified within proposed project
      areas have been successfully avoided and protected with project design criteria. Only one
      determination of adverse effect that occurred on the Forest in the last planning cycle required
      a memorandum of agreement with the Colorado State Historic Preservation Office and the
      Advisory Council on Historic Preservation.
      Since the last planning cycle, a greater emphasis has been placed on restoring and
      maintaining historic structures on the Forest as recreation rentals. These include the Off Cow
      Camp, the Fitton Guard Station, Duncan Cabin, Brewery Cabin Carnero Guard Station,
      Elwood Cabin, Alder Guard Station, Stone Cellar, and Upper Crossing Guard Station. The
      revenue generated from these rentals supports the maintenance and historic integrity of the
      structures while also playing a part in the heritage tourism in the San Luis Valley.
      In addition to the identification and evaluation of cultural resources, the program can take
      part in the research understanding and protection of living cultures (Table 83). The area is
      exceptional in terms of its role as a subsistence Forest. Long-term land-based traditional
      communities of the San Luis Valley have long relied on the Forest to supply forage for sheep
      and cattle, for wood and plant gathering, and for hunting of wild game. Archaeological sites
      such as sheep camps and stock driveways are manifestations of activities that continue today.
      The Forest is critical to supporting local subsistence economies but also to maintaining
      traditional lifeways and cultures that may continue into the future. For more detailed
      information on historic uses consult the Contributions to Social and Economic Sustainability
      section and Assessment 6.




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   Table 83. Cultural resources and historic uses important in and around the planning
   area
                                                    Natural Products
            Tree Products                           Plant Products                         Additional Products
      Firewood, timber, cottonwood          Pigments, medicine, osha, wild           Mushrooms, earthen pigments,
          root, pitch, pinyon nuts             tobacco, yucca, chamisa                  plaster, clay, minerals
                                                      Historic Sites
                  Historic mining districts, traditional fisheries, traditional recreational/hunting areas
                                                Ongoing Cultural Uses
              Recreation, fishing, livestock grazing, irrigation, heritage tourism, hunting, labor economy


   Compliance with Section 106 of the National Historic Preservation Act and 36 CFR 800
   regulations is required for Forest Service activities and is fulfilled by a process to establish
   the presence of historic properties in the area of potential effect for each alternative. This
   process is accomplished through background research, State Historic Preservation Office
   consultation, and an appropriate level of field investigation. When consultation is conducted,
   the magnitude of the undertaking, its potential effects, and any alternatives are taken into
   account as well of the views of the Colorado State Historic Preservation Office/Tribal
   Historic Preservation Office and other interested parties. Each Forest is required to consult
   with American Indian tribes with cultural affiliation to the planning area on any project
   having the potential to affect American Indian sites, including burial and ceremonial sites and
   practices.
   Outcomes to eligible historic properties can be either no adverse effect or adverse effect. A
   no adverse effect determination could include stabilizing an eligible historic property, for
   example controlling erosion on an archaeological site, restoring and maintaining an historic
   building, or reducing fuels concentrations around an historic property. Treatment is designed
   and agreed upon in consultation with the Colorado State Historic Preservation Officer.
   Adverse effects impact the integrity of the property and destroy a portion of, or the entire
   property. A direct adverse impact occurs during the activity itself, such as site destruction of
   an historic property caused by road construction activities. Indirect adverse impacts are a side
   effect of the activity or occur after an activity is complete; for example, the channeling of
   precipitation runoff by a road that eventually causes the runoff to erode an adjacent historic
   property. Adverse impacts can be mitigated or avoided altogether through project design.
   These mitigation or avoidance measures are agreed to in consultation conducted under
   Section 106 of the National Historic Preservation Act with the Colorado State Historic
   Preservation Officer and the Advisory Council on Historic Preservation.

   Direct and Indirect Effects
   Under alternative A, identification, evaluation, nomination, protection, and interpretation of
   cultural resources would occur. Coordination and consultation with the Colorado State Office
   of Historic Preservation is also required. Sites eligible for the listing on the National Register
   of Historic Places must be evaluated and formally nominated. Protection protocols and
   mitigation measures are used when cultural resources or sacred sites are identified or
   inadvertently discovered during project activities. The Forest’s heritage program addresses

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      known and unknown cultural resources and historic properties and locations of historic
      significance through management direction in alternative A. The Elephant Rocks Special
      Interest Area does not include a newly acknowledged traditional cultural property situated on
      its border. Alternative A also lacks any substantive acknowledgement of traditional historic
      uses by Hispanic communities and other long-term land-based communities.
      Effects might also result from improved access for activities such as recreation and permitted
      silvicultural projects. Improved access can bring more visitors or contractors to an area,
      resulting in the potential for increased vandalism. Inadvertent damage and increased noise or
      visual effects are additional indirect effects. The current allowance of mountain bikers to
      travel off-trail on the Forest could result in the breakage and displacement of artifacts and
      negative impacts to features.
      Under alternative B, additional objectives and management approaches are tailored
      specifically for cultural resources. Tiered to these objectives are performance requirements
      for the completion of inventories, outreach and interpretive projects, site monitoring and
      protection, and nomination activities for the National Register of Historic Places. Positive
      effects of all action alternatives include the potential for a more educated and stewardship-
      minded public. These alternatives adjusts the boundary of the Elephant Rocks Special
      Interest Area to include an important traditional cultural property, which would reduce the
      size of the Fremont Historic Area for better ease in management.
      Each alternative would continue to contribute to social and economic sustainability in the
      broader landscape and connect citizens to the land through education, interpretation,
      stewardship projects, and volunteerism. Effects from this alternative are expected to be
      positive, resulting in more public understanding of the shared values around cultural
      resources and historic uses. To balance cultural resource protection and historic uses, this
      alternative formalizes current practices to maintain significant historic properties for their
      research potential and historic uses that enable cultural continuity.
      Under alternative C, if larger and expedited timber harvest is expected, negative effects on
      cultural resources could include increased artifact collection by contractors and impacts from
      more public access and increased erosion from road building. However, the areas proposed in
      the spruce-fir ecosystems for harvest have the least potential for cultural resources. Similarly
      if more recreation opportunities are offered under alternative C, indirect effects from
      recreation management could increase vandalism if new trails are built in areas that have
      never before been accessed by people, and increased erosion from a higher volume of
      developed and dispersed sites and trails. If an increase in prescribed burning occurs under
      alternative C related to increased vegetation management activities, a positive indirect effect
      to cultural resources could be the removal of fuel loads around fire-sensitive sites, thereby
      decreasing the effects of catastrophic fire.
      Under alternative D, given its emphasis on conservation, effects to and potential inadvertent
      discoveries of cultural resources from management activities would be expected to decrease.
      Moreover, positive effects of wilderness, wild, scenic, and recreational river, and research
      natural area designations would be decreased management activities and by extension, fewer
      potential impacts to cultural resources. Potential increases in wildfires managed for resource
      benefit, could result in negative effects to undocumented cultural resources.



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   Effects to Cultural and Heritage Resources by Management of Other
   Resources
   Effects from livestock management common to all alternatives include trailing along fence
   lines and loafing of cattle around water developments. Effects on cultural resources from
   road management, construction, and reconstruction would include altering drainage patterns
   that may result in erosion. Purchase or exchange of often has positive effects on cultural
   resources. Cultural resources are afforded more protections when the land is federally
   managed. Negative effects could include the potential for increased vandalism. Effects of
   wildland fire could include the exposure of artifacts to vandalism, erosion, and grazing of
   wild and domesticated ungulates seeking the fresh regrowth as well as loss of the resource.
   Mineral extraction impacts are expected to be similar to those from increased timber harvest
   and recreation.
   All action alternatives would have some potential commitments of non-renewable cultural
   resources. Examples are inadvertently damaged and destroyed sites, vandalized or looted
   sites, or as yet undiscovered sites that are undergoing loss from natural forces. Every
   alternative seeks to reduce this loss through inventory, monitoring, project evaluation, and
   improved project implementation to assure that loss is kept to a minimum.

   Cumulative Effects
   The loss of cultural resources generally occurred before better research methods were
   developed. Before the advent of the National Historic Preservation Act, previous
   management (or the lack thereof) resulted in cultural resources being unprotected, which
   typically rendered the resources as not eligible for inclusion in the National Register of
   Historic Places. Past and future forest management projects can cause surface disturbance,
   bring additional people into contact with cultural resources, and affect the integrity of historic
   structures.
   Over time, additional range improvements and domesticated ungulate grazing, especially in
   early springtime, could result in adverse cumulative effects to cultural resources. Population
   growth and public desire for new recreational experiences in conjunction with trail
   development on bordering Bureau of Land Management lands could result in adverse
   cumulative effects to cultural resources.
   Alternatives that result in more acres of management activities would result in increased
   acres of inventory. The additional required inventory and evaluation would result in more
   cultural resources being documented and protected from adverse effects caused by natural
   processes.
   Ground disturbance associated with implementing all alternatives may result in the
   inadvertent discovery of and potential damage to cultural resources or sacred sites. Protection
   protocols are in place under all alternatives to mitigate impacts to inadvertent discoveries of
   cultural resources and sacred sites.




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      Wilderness
      Overview
      The 1964 Wilderness Act defined wilderness as a place “in contrast with those areas where
      man and his own works dominate the landscape^ where earth and its community of life are
      untrammeled by man, where man himself is a visitor who does not remain^ an area of
      undeveloped Federal land retaining its primeval character and influences, without permanent
      improvements or human habitation, which is protected and managed to preserve its natural
      condition and which:
      •   Generally appears to have been affected primarily by the forces of nature, with the
          imprint of man’s work substantially unnoticeable,
      •   Has outstanding opportunities for solitude or a primitive and unconfined type of
          recreation,
      •   Has at least 5,000 acres or is of sufficient size to make practicable its preservation and
          use in an unimpaired condition, and
      •   May also contain ecological, geologic, or other features of scientific educational, scenic,
          or historic value.”
      The Wilderness Act requires the preservation of wilderness character and recognizes the
      multiple values and public benefits found in these areas. Wilderness provides outstanding
      opportunities for solitude and for primitive and unconfined recreational experiences.
      Wilderness is also important for maintenance of species diversity, protection of threatened
      and endangered species, protection of watersheds, scientific research, and various social
      values.
      The Colorado Wilderness Act, Colorado Wilderness Act of 1993, and Public Law 93-632
      assisted in the congressional designations of wilderness on the Forest. Currently the Forest
      contains about 12 percent of designated wilderness lands in Colorado, and about 1 percent of
      designated wilderness in the National Wilderness Preservation System.

      Affected Environment, Existing Conditions, and Trends
      Wilderness areas provide a wide variety of user opportunities for exploration, solitude, risk,
      and challenge, and for primitive and unconfined recreation in a natural setting. Designated
      wilderness represents the highest concentration of quiet places where sights and sounds of
      human presence are relatively unnoticeable. Primary recreational activities in wilderness
      areas include hiking, horseback riding, hunting, and fishing. Outfitting and guide services, to
      the extent necessary, are offered to visitors in wilderness areas.
      The existing wilderness areas are managed to preserve the wilderness character of the areas.
      Five qualities describe wilderness character:




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         1. Untrammeled. Wilderness is essentially unhindered and free from modern human
            control or manipulation.
         2. Naturalness. Wilderness ecological systems are substantially free from the effects of
            modern civilization.
         3. Undeveloped. Wilderness is essentially without permanent improvements or modern
            human occupation.
         4. Outstanding opportunities for solitude or a primitive and unconfined type of
            recreation. Wilderness provides outstanding opportunities for people to experience
            solitude or primitive and unconfined recreation, including the values of inspiration
            and physical and mental challenge.
         5. Other features of value. Wilderness may contain ecological, geologic, or other
            features of scientific educational, scenic, or historical value.
   The national visitor use monitoring program has monitored visitor use every 5 years of the
   Forest from 2005 to 2015. Use levels in designated wilderness on the Forest increased from
   35,000 in 2010 to 39,000 in 2015. This monitoring does not separate out use within the four
   designated wilderness areas. This is about 5 percent of total visits to the Forest for 2010.
   Designated wilderness comprises an estimated 21 percent of the Forest, or approximately
   392,402 acres (official and other acres). The La Garita, Sangre de Cristo, South San Juan,
   and Weminuche Wildernesses all occur within and around the Forest.

   La Garita Wilderness
   Designated in 1964, the La Garita Wilderness was expanded in 1980 through The Colorado
   Wilderness Act (Public Law 96-560, December 22, 1980) and was again expanded in 1993
   through the Colorado Wilderness Act of 1993 (Public Law 103-77, August 13, 1993). The
   wilderness encompasses an estimated 126,480 acres of National Forest System lands within
   both the Rio Grande and the Gunnison National Forests. Elevations range from a low of
   9,000 feet to a high of 14,014 feet on San Luis Peak Summit, which provides stunning views
   across the Upper Rio Grande Valley and down the long stretch of the San Luis Valley. This
   wilderness includes the Wheeler Geologic Area, an unusual geologic formation composed of
   fine, light gray volcanic ash compressed into rock and wildly eroded into a striking series of
   domes, spires, caves, ledges, pinnacles, ravines, and balanced rocks. A four-wheel drive road
   provides motorized access to within one-half mile of the wilderness boundary.

   Sangre de Cristo Wilderness
   The Sangre de Cristo Wilderness was designated in 1993 through the Colorado Wilderness
   Act of 1993 (Public Law 103-77, August 13, 1993) and was reduced in size through the Great
   Sand Dunes National Park and Preserve Act of 2000 (Public Law 106-530, November 22,
   2000). The wilderness originally encompassed approximately 219,776 acres and has since
   been reduced to approximately 179,225 acres of National Forest System lands within both
   the Rio Grande and San Isabel National Forests. On November 22, 2000, through the Great
   Sand Dunes National Park and Preserve Act, 40,595 acres of the original Sangre de Cristo
   Wilderness was converted to the Great Sand Dunes Wilderness, administered by the National
   Park Service.


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      South San Juan Wilderness
      Designated in 1980 through the Colorado Wilderness Act (Public Law 96-560, December 22,
      1980) he South San Juan Wilderness was expanded in 1993 through the Colorado Wilderness
      Act of 1993 (Public Law 103-177, August 13, 1993). The South San Juan Wilderness
      encompasses an estimated 161,009 acres within both the Rio Grande and the San Juan
      National Forests.

      Weminuche Wilderness
      Congress designated the Weminuche Wilderness in 1975 under the Designation of
      Wilderness Areas within the National Wildlife Refuge System Act of 1975 (Public law 93­
      632, January 3, 1975). It was expanded to its current size by the Colorado Wilderness Act of
      1980 (Public Law 96-560, December 22, 1980) and Colorado Wilderness Act of 1993 (Public
      Law 103-77, August 13, 1993). The Weminuche Wilderness currently encompasses
      approximately 500,268 acres within both the Rio Grande and San Juan National Forests.

      Direct and Indirect Effects
      Alternative A separates wilderness areas into three separate management areas: Wilderness -
      Pristine (1.11), Wilderness - Primitive (1.12), and Wilderness - Semiprimitive (1.13).
      Alternatives B through D propose combining all acres into one management area that
      combines all of the forest plan direction from the three separate management areas into one.
      Management in wilderness would not change based on the combination of management
      areas. This combination is also not expected to decrease protection of wilderness resources
      and characteristics.
      Natural, unplanned wildland fire ignitions would continue the long-term ecological processes
      in these areas. There could be a temporary loss of vegetation, potentially a reduction in water
      quality due to sedimentation, and a short-term increase in air pollution. These effects are part
      of the natural ecological processes that are promoted in wilderness.

      Effects to Wilderness from Trails Management
      Trail management activities occur in wilderness. Methods used to maintain and manage trails
      comply with wilderness direction that restricts the use of mechanized equipment. The use of
      cross-cut saws and hand tools is required in wilderness, because the use of power tools would
      detract from the primitive experience that visitors to wilderness seek. At the most pristine
      areas of wilderness, far from modern developments, no trails exist and travel is cross-country,
      with routes marked by historical cairns. Some user-developed trails may be evident as
      visitors travel through. Some other areas may have developed trails with directional signs.
      Trail maintenance and management would not have any impact on wilderness values or
      characteristics.
      Wilderness provides dispersed recreation opportunities. Use of wilderness throughout the
      Forest is relatively low, with areas concentrated use in popular destinations. There would be
      no effect to designated wilderness from dispersed recreation.




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   Acres of recommended wilderness would expand the amount of wilderness available and
   would increase the opportunity for wilderness experiences. Expansion of wilderness
   boundaries and increased management would occur if the recommended wilderness in
   alternatives B and D are recommended to Congress for designation.
   Designation of suitable or eligible wild, scenic, and recreational rivers would adhere to
   methods of management techniques that are acceptable in designated wilderness areas. There
   would be no effect to designated wilderness from wild, scenic, and recreational river
   designation.
   Research natural area and special interest area designation would adhere to methods of
   management techniques that would be acceptable in wilderness areas. There would be no
   effect to designated wilderness from research natural area designations.
   Wilderness areas are all currently withdrawn from mineral extractions, therefore there would
   be no effect to designated wilderness, wilderness experiences, or wilderness characteristics
   from mineral extraction.

   Cumulative Effects
   Generally, wilderness areas represent a more natural vegetation condition (i.e., composition,
   structure) than non-wilderness areas. These large tracts of land, relatively free of human-
   caused disturbances, allow natural ecological processes and disturbances to be the primary
   forces. Therefore, they contribute to maintaining biological diversity while minimizing the
   effects of human development on habitat connectivity. These wilderness areas have played a
   role in maintaining strongholds of a number of threatened, endangered, and sensitive species
   such as lynx.
   Population growth and development increases the need for public open space. Growth in the
   San Luis Valley and adjacent areas would likely increase public use of the Forest, including
   wilderness. Increased recreation use may impact the wilderness character, particularly the
   opportunity for solitude and natural quality. Examples of potential impacts include increased
   crowding in high use areas, soil compaction or erosion, and threats to native plant species
   from the spread of noxious weeds from sources outside the wilderness. The cumulative
   effects of urbanization and population growth on wilderness use and resource conditions are
   likely to be gradual and extend well beyond the planning period. Management of adjacent
   designated wilderness by the Bureau of Land Management and other national forests would
   be consistent with management of wilderness by the Forest and would minimize the
   likelihood of adverse cumulative effects from neighboring jurisdictions.




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      Recommended Wilderness
      Overview
      The wilderness recommendation process occurs in four primary steps: inventory, evaluation,
      analysis, and recommendation. All plan revisions must complete this process before the
      responsible official determines whether to recommend lands in the plan area to Congress for
      wilderness designation. Maps showing Recommended Wilderness for Alternatives B and D
      are contained on the DVD located at the back of the document.

      Affected Environment, Existing Conditions, and Trends
      The demand for wilderness goes beyond recreation opportunities. Other values include
      long-term environmental monitoring, scenic backdrops for tourism, watershed protection,
      and maintenance of biological diversity. Many people who do not regularly visit primitive,
      roadless, or designated wilderness areas still value protection of such areas to maintain the
      opportunity for visits in the future (option value). People also gain benefits simply from
      knowing that natural areas exist (existence values) and that their protection today sustains
      them for future generations (bequest value) (Rosenberger and Loomis 2001).
      Several studies have shown the importance and value people place on these passive use
      benefits of wilderness (Cordell et al. 1999). These values or needs are reflected in the
      National Survey on Recreation and the Environment finding that an estimated 70 percent of
      those surveyed agreed or strongly agreed to the question, “How do you feel about
      designating more Federal lands in your state as wilderness?” More than 96 percent agreed or
      strongly agreed with the statement, “I enjoy knowing that future generations will be able to
      visit and experience wilderness areas.”
      Wilderness provides outstanding opportunities for solitude and for primitive and unconfined
      recreational experiences. Wilderness is also important for maintenance of species diversity,
      protection of threatened and endangered species, protection of watershed, scientific research,
      and various social values. Wilderness is part of the national forest multiple use management
      mission.
      The areas below are being recommended for inclusion in the National Wilderness
      Preservation System. These areas were carried forth following completion of the inventory
      and evaluation phases of the wilderness recommendation process in compliance with the
      2012 Planning Rule. During the inventory and evaluation process, the area polygons were
      numbered to allow for reference to the Draft Wilderness Inventory and Evaluation Report
      (USDA Forest Service 2016). Since that time, those polygons have been further described in
      relation to their geography and status under the Colorado Roadless Rule. A crosswalk for
      identifying areas of recommended wilderness with the polygons resulting from the
      wilderness inventory and evaluations processes is provided in Table 84.




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   Table 84. Wilderness area crosswalk
                                       Polygons identified in   Associated Colorado
     Suggested Wilderness Name                                                            Ranger District
                                       Wilderness Evaluation       Roadless Area
                                                                Antora Meadows / Bear
     Antora Meadows / Bear Creek                 6                                          Saguache
                                                                        Creek
           Beartown / Indian Ridge              29              Beartown, Indian Ridge        Divide
                                                                  Bennett Mountain /
                                                                Blowout / Willow Creek
           North Fork / Rock Creek               51                                           Divide
                                                                / Lion Point / Greenie
                                                                       Mountain
                Bristol Head                    26                   Bristol Head             Divide
                                                                 Conejos River / Lake
          Conejos River / Lake Fork             61                                        Conejos Peak
                                                                        Fork
                  Cumbres                       63A                    Cumbres            Conejos Peak
                   Elkhorn                       4                      Elkhorn             Saguache
                                                                Pole Mountain / Finger
         Pole Mountain / Finger Mesa            28                                            Divide
                                                                       Mesa
                                                                 Taylor Canyon, Four
               Saguache Park                     12                                         Saguache
                                                                      Mile Creek
                                                                 Pole Creek, Creston,
                                         1A, 2, 3A, 3B, 3C,       Cotton Creek, Hot        Saguache/
              Sangre de Cristo
                                             3D, 3E, 3F          Springs, Miller Creek,   Conejos Peak
                                                                       Butterfly
                   Sawlog                        15                     Sawlog              Saguache
            Snowshoe Mountain                   38A              Snowshoe Mountain            Divide
                                                                 Tobacco Lake, Gold
         Tobacco Lakes / Gold Creek            57, 55                                     Conejos Peak
                                                                Creek / Cascada Creek
                                                                  Lake Fork, Sheep
                Wannamaker                      20A             Mountain, Deep Creek /      Saguache
                                                                   Boot Mountain
          Wason Park / Lower East                                Wason Park, Lower
                                             25A, 25B                                         Divide
                 Bellows                                           East Bellows


   More information and detailed descriptions of each wilderness area are contained in
   Appendix A. The descriptions are a product of the public and internal inventory and
   evaluation phases of that process, as well as a review of scoping comments received in the
   fall of 2016. The areas of recommended wilderness as they correspond with Colorado
   roadless areas as designated in the 2012 Roadless Rule are shown in Table 85.




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Table 85. Areas of recommended wilderness in alternatives B and D
                                                       Alternative B                                            Alternative D
                                                          Colorado Roadless in the                                Colorado Roadless in the
     Name of Recommended                    Total                                             Total
                                                       Recommended Wilderness Area                             Recommended Wilderness Area
   Wilderness Area (Associated          Recommended                                       Recommended
                                                                  (acres)                                                 (acres)
    Colorado Roadless Areas)             Wilderness                                        Wilderness
                                           (acres)                 Upper        Total        (acres)                                     Total
                                                      Roadless                                               Roadless     Upper Tier
                                                                    Tier       Roadless                                                 Roadless
    Antora Meadows/Bear Creek                0           0               0        0           21,480           3,360        17,310        20,670
       Beartown/Indian Ridge               6,750        360            3,640    4,000          5,460           3,260            350       3,610
  North Fork/Rock Creek (Bennett
 Mountain/Blowout/Willow Creek/Lion          0           0               0        0           17,140           3,670        12,260        15,930
      Point/Greenie Mountain)
            Bristol Head                     0           0               0        0           39,330          10,300        38,940        49,240
      Conejos River/Lake Fork              1,020        870              0       870           1,020            870               0        870
             Cumbres                       7,490       2,200           4,480    6,680          7,490           2,200            4,480     6,680
           Elkhorn Peak                      0           0               0        0           15,180           1,730            8,780     10,510
   Wannamaker (Lake Fork/Sheep
    Mountain/ Deep Creek/ Boot               0           0               0        0           18,140           8,580            9,490     18,070
            Mountain)
     Pole Mountain/Finger Mesa               0           0               0        0           31,260           3,740        27,520        31,260
 Saguache (Four Mile Creek/ Taylor
                                             0           0               0        0           23,040            90          14,050        14,140
            Canyon)
          Sangre De Cristo                 35,090      12,040            0      12,040        35,090          12,040              0       12,040
              Sawlog                         0           0               0        0           16,240           1,660            8,780     10,440
        Snowshoe Mountain                    0           0               0        0           30,220           8,600        21,470        30,070
    Tobacco Lakes/ Gold Creek
       (Tobacco Lakes/Gold                 2,510         10            2,110    2,120          3,030            30              2,780     2,810
      Creek/Cascada Creek)
  Wason Park/Lower East Bellows              0           0               0        0           21,770           4,030        17,640        21,670
                                Total      52,860      15,480      10,230       25,710        284,870         63,290        183,850      247,140




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   Effects on Areas of Recommended Wilderness from Timber Harvest
   These lands are not suitable for timber production and timber harvest is not allowed. Most
   lands in recommended wilderness are within Colorado roadless areas that have high to
   outstanding wilderness characteristics, primarily due to a lack of motorized use and timber
   harvesting not occurring in much of these areas. Therefore, there are very few acres in
   recommended wilderness where timber production would have been considered suitable.

   Effects on Areas of Recommended Wilderness from Fire Management
   Effective fire suppression, insect and disease infestations, and native vegetation and fuel
   types on the Forest create fuel conditions that could support moderate to high severity
   wildfires in some areas. Lightning-caused wildfires may be managed to meet resource
   benefits to trend vegetation toward desired conditions. Likewise, wildland fire for restoration
   purposes may be used to trend vegetation toward the desired conditions.
   The use of natural, unplanned ignitions would be more likely in alternatives B and D, which
   emphasize the use of natural disturbances and have the highest and the second highest
   acreage of recommended wilderness. The use of natural, unplanned ignitions would continue
   the long-term ecological processes in these areas. There could be substantial changes in
   existing forest cover, reduction in water quality due to sedimentation, and air pollution;
   however, these effects are natural ecological processes. The opportunity to use natural,
   unplanned ignitions within some of the recommended wilderness would be limited due to the
   shape, size, and location of the wildfire relative to values at risk, should a wildfire occur.
   Recommended wilderness is suitable for restoration activities where the outcomes will
   protect the wilderness characteristics of the areas as long as the ecological and social
   characteristics that provide the basis for each area’s suitability for wilderness
   recommendation are maintained and protected. Wildland fire for restoration purposes could
   affect the natural quality and solitude wilderness characteristics, especially where crews are
   burning or monitoring burns.

   Effects on Areas of Recommended Wilderness from Livestock Grazing
   Livestock grazing activities would continue within recommended wilderness in areas where
   grazing was established prior to wilderness designation. Management activities associated
   with livestock grazing would have to conform to the management direction associated with
   wilderness areas.

   Effects on Areas of Recommended Wilderness from Road Construction and
   Reconstruction
   New road construction or reconstruction is not suitable in recommended wilderness areas,
   limiting the amount of new access on the Forest. Alternative D would have the largest
   amount of area not suitable for new roads or road reconstruction, followed by alternative B.
   Alternatives A and C have no recommended wilderness.




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      Effects on Areas of Recommended Wilderness from Road Management
      There are no roads within the areas of recommended wilderness. All roads were cherry
      stemmed to avoid conflict and access to inholdings that may be present within the areas.
      There will be no effect from road management on recommended wilderness.

      Effects on Areas of Recommended Wilderness from Motorized Off-Highway
      Travel
      Motorized off-highway travel is not suitable in recommended wilderness areas. Motorized
      off-highway travel areas would have to be converted to nonmotorized areas in recommended
      wilderness areas. Alternative D would have the largest amount of area not suitable for new
      motorized off-highway travel and would reduce existing motorized off-highway travel,
      followed by alternative B. Alternatives A and C have no recommended wilderness.

      Effects on Areas of Recommended Wilderness from Trail Management
      Trail management would still be authorized in recommended wilderness areas. Motorized
      trails would not be authorized and would have to be converted to nonmotorized trails.
      Mountain bike trails would be allowed if previously authorized and would only be
      discontinued if congressional designation of wilderness occurred. Mountain biking would not
      be allowed to expand with new trail construction or to increase beyond the current use and
      location in recommended wilderness areas. Alternative D would have the largest amount of
      area not suitable for new motorized trail construction and would reduce the amount of current
      motorized trails on the Forest, followed by alternative B. Alternatives A and C have no
      recommended wilderness.

      Effects on Areas of Recommended Wilderness from Developed Recreation
      Developed recreation facilities that provide user comforts such as picnic tables, fire grills,
      and vault toilets are not a suitable use in recommended wilderness. These areas are generally
      in the primitive recreation opportunity spectrum setting where predominantly unmodified
      landscapes and are managed for quiet solitude away from roads, people, and development.
      Alternative D would have the largest amount of area not suitable for recreation facilities that
      provide user comforts, followed by alternative B. Alternatives A and C have no
      recommended wilderness.

      Effects on Areas of Recommended Wilderness from Wildlife Management
      Recommended wilderness areas are characterized by a natural environment where ecological
      processes such as natural succession, wildfire, avalanches, insects, and disease function with
      limited human influence. Impacts from visitation do not detract from the natural setting.
      However, recommended wilderness is suitable for restoration activities where the outcomes
      will protect wilderness characteristics as long as the ecological and social characteristics that
      provide the basis for each area’s suitability for wilderness recommendation are maintained
      and protected. Restoration activities or management activities for wildlife and fish could
      include monitoring, relocation of animals, habitat improvements such as removal of
      nonnative fish species, and stream improvements.




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   Management for wildlife and fish may occur in recommended wilderness areas as long as
   wilderness characteristics, and the ecological and social characteristics that provide the
   suitability for inclusion into the National Wilderness Preservation System, are protected and
   maintained for alternatives B and D.

   Effects on Areas of Recommended Wilderness from Designation of Wild,
   Scenic, and Recreational Rivers
   Designated wild, scenic, and recreational rivers are present in recommended wilderness
   areas. These areas would be suitable for restoration activities where the outcomes would
   protect the wilderness characteristics as long as the ecological and social characteristics that
   provide the basis for each area’s suitability for wilderness recommendation are maintained
   and protected. Restoration activities could include restoration of streambanks, which could
   consist of prescribed burning, planting of native vegetation, thinning with an emphasis on
   hand thinning over mechanical, and protecting tree cover from loss due to fire, bark beetles,
   or other stressors. Control of invasive plant species by hand pulling and herbicide spraying
   also could take place.

   Effects on Areas of Recommended Wilderness from Designation of Research
   Natural Areas and Special Interest Areas
   Research natural areas and special interest areas are present in areas of recommended
   wilderness. These areas would be suitable for restoration activities where the outcomes
   would protect the wilderness characteristics of the areas as long as the ecological and social
   characteristics that provide the basis for each area’s suitability for wilderness
   recommendation are maintained and protected. Restoration activities could include
   restoration of streambanks, which could consist of prescribed burning, planting of native
   vegetation, thinning with an emphasis on hand thinning over mechanical, and protecting tree
   cover from loss due to fire, bark beetles, or other stressors. Control of invasive plant species
   by hand pulling and herbicide spraying also could take place.

   Effects on Areas of Recommended Wilderness from Mineral Resource
   Activities
   Recommended wilderness areas are not withdrawn from mineral entry and are available for
   new leases or claims as long as the social and ecological characteristics that provide a basis
   for wilderness designation are maintained and protected. The proposed action must preserve
   and protect wilderness character. Therefore the effects of mineral management would be the
   same with all alternatives and the social and ecological characteristics that form the basis of
   wilderness designation would be protected and maintained.

   Cumulative Effects
   Reasonable and foreseeable future programmatic actions on National Forest System and
   adjacent lands include vegetation management, minerals management, and ski area and other
   recreation management. These programmatic actions could affect the wilderness
   characteristics and opportunities for solitude, depending on scope and scale of the actions.
   Observations of sights and sounds within the recommended wilderness area are typically
   used to determine effects to wilderness characteristics. For example, vegetation management


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      activities such as harvesting timber adjacent to recommended wilderness may increase the
      sights and sounds of logging equipment such as chainsaws and skidders in areas of
      recommended wilderness; however, because it is outside the recommended wilderness area,
      it is not considered to degrade the wilderness characteristic of solitude.
      Population growth in Colorado is likely to increase recreational use of the Forest, including
      an increase in use of recommended wilderness areas. The effects of urbanization and
      population growth on recommended wilderness and resource conditions are likely to be
      gradual and extend well beyond the planning period. Increased recreational use may
      adversely impact the wilderness characteristics, particularly the opportunity to experience
      solitude and natural quality. Currently, the Forest contains about 12 percent of the
      congressionally designated wilderness in Colorado, and less than 1 percent of the wilderness
      in the National Wilderness Preservation System. Six recommended wilderness areas on the
      Forest are adjacent to other national forests. The Beartown/Indian Creek recommended
      wilderness area is adjacent to the San Juan National Forest. The Pole Mountain/Finger Mesa,
      Bristol Head, Wason Park/Lower East Bellows, Wannamaker, and Antora Meadows/Bear
      Creek areas are adjacent to the Grand Mesa, Uncompahgre, and Gunnison National Forests.
      Management of adjacent designated wilderness by the Bureau of Land Management and
      other national forests would be consistent with management of wilderness by the Forest and
      would minimize the likelihood of adverse cumulative effects from neighboring jurisdictions.

      Wild, Scenic, and Recreational Rivers
      Overview
      The National Wild and Scenic Rivers System was created by Congress in 1968 (Public Law
      90-542) to preserve certain rivers with outstanding natural, cultural, and recreational values
      in a free-flowing condition for the enjoyment of present and future generations. The Wild and
      Scenic Rivers Act is notable in that it seeks to protect these rivers while at the same time
      acknowledging the benefits and necessity of appropriate developments within the river
      corridor. To be designated under the Act a river segment must meet two fundamental
      requirements: the river segment must be “free-flowing” as defined by Section 16(b) of the
      Act, and the river segment must have one or more outstandingly remarkable values (Section
      1(b)).
      Rivers may be designated by Congress or, if certain requirements are met, by the Secretaries
      of the Interior or Agriculture, as appropriate. Once designated under the Act, rivers receive
      special management direction that ensures the maintenance of the free-flowing nature, water
      quality, and outstanding natural, cultural, and recreational values of the river segment. The
      Wild and Scenic Rivers Act Section 5(d)(1) requires that “consideration shall be given by all
      Federal agencies involved to potential national wild, scenic and recreational river areas”
      during land management planning. Rivers that have been inventoried and determined to meet
      the requirements of the Act, but that have not yet been designated, are considered to be either
      eligible or suitable (those that have been recommended to Congress and the President). These
      eligible and suitable segments are managed to maintain their free-flowing nature,
      outstandingly remarkable values, and water quality until such time as they are designated
      under the Act or released from consideration.



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   Across the United States, a total of 12,733 miles is designated under the Wild and Scenic
   Rivers Act, representing less than 1 percent of the Nation’s rivers.

   Affected Environment, Existing Conditions, and Trends
   In 1975, Public Law 93-621 amended the original Wild and Scenic Rivers Act and directed
   that the three tributary forks of the Conejos River, as well as the main stem of the Conejos
   (excluding Platoro Reservoir) to its crossing of Highway 17 be studied for potential inclusion
   in the National Wild and Scenic Rivers System. In 1979, following substantial efforts,
   recommendations regarding the Conejos River were made to the Secretary of Agriculture
   from the State of Colorado and the Forest Service. The recommended wild river segments
   were: El Rito Azul, the North, Middle, and South Forks of the Conejos, and the main stem of
   the Conejos from Three Forks to Platoro Reservoir. Additionally, the main stem of the
   Conejos from the Town of Platoro to the confluence with South Fork of the Conejos was
   recommended as a recreational river segment. No legislative action has yet been taken on
   these recommendations.
   In addition to the congressionally directed study reaches discussed above, the Forest
   conducted an eligibility evaluation of remaining stream segments as part of the forest plan
   revision process. Those streams are shown as either eligible or suitable in Table 11 of
   Chapter 2 of the Rio Grande Draft Revised Land Management Plan. These segments have
   been managed to maintain the existing free-flowing conditions, water quality, and
   outstandingly remarkable values that led to their eligibility or suitability determination in the
   1996 forest plan. As a result, resource conditions pertinent to the Wild and Scenic Rivers Act
   have not appreciably changed and existing uses and conditions within eligible and suitable
   river corridors are consistent with maintenance of these segments until they are either
   designated under law, or released from consideration.
   As a result of the Great Sand Dunes National Park and Preserve Act of 2000, the eligible
   segments of Medano and Little Medano Creeks have been transferred to management by the
   National Park Service and are no longer under the jurisdiction of the Forest. Consequently,
   future eligibility, suitability, and declaration activities for these reaches will be handled by the
   National Park Service. A map showing Wild, Scenic, and Recreational Rivers for Alternatives
   B, C, and D is contained on the DVD located at the back of this document.

   Direct and Indirect Effects
   River segments that have been determined to be eligible or suitable for inclusion in the
   National Wild and Scenic Rivers System are subjected to additional management constraints
   during project analysis. The responsible official may authorize site-specific projects and
   activities on National Forest System lands within river corridors that are eligible or suitable.
   Such projects include certain types of mineral development, water development, road and
   trail construction, rights-of-way or easements for utilities, recreational developments,
   motorized travel, fish and wildlife management projects, vegetation management including
   weed control, and livestock grazing. These uses, however, must be managed, designed, or
   regulated to protect the free-flowing character, water quality, outstandingly remarkable
   values, and recommended classification of the reach on which they occur.




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      All alternatives include management direction, such as desired conditions, objectives,
      standards, and guidelines, to ensure that projects do not compromise the future potential of
      eligible and suitable reaches to be designated under the Wild and Scenic Rivers Act. Under
      alternative A, all previous eligible and suitable reaches are carried forward in their current
      state, with the exception of those segments of Medano and Little Medano Creeks that have
      been transferred to the National Park Service. Alternative A contains about 115 miles of
      suitable or eligible streams, distributed as shown in the Table 11 of Chapter 2 of the Rio
      Grande National Forest Draft Revised Land Management Plan. Management areas
      surrounding these river segments total about 30,000 acres. Alternatives B, C, and D are
      identical with respect to proposed eligible and suitable river segments. These alternatives
      include all reaches contained in alternative A and propose that a portion of Deadman Creek,
      flowing from the Sangre de Cristo range, be included as a scenic reach. Alternatives B, C,
      and D propose approximately 117 miles of eligible and suitable rivers, with an estimated
      34,576 acres of river corridor, and would provide the most protection by river miles and
      acres.
      All alternatives would likely have similar impacts from a wide variety of management
      activities, due primarily to protective forest plan components that maintain river corridor
      conditions until designation under the Wild and Scenic Rivers Act, or release from
      consideration.

      Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
      Vegetation Management
      Eligible or suitable reaches with a wild or scenic classification have been removed from the
      suitable timber base, and cutting of trees and other vegetation is not permitted except when
      needed in association with a primitive recreation experience, to protect users, or to protect
      identified outstandingly remarkable values. Examples of such exceptions include activities to
      maintain trails or suppress wildfires. For eligible or suitable river reaches with recreational
      classifications, a range of vegetation management and timber harvest practices are allowed, if
      these practices are designed to protect users, or protect, restore, or enhance the river
      environment, including the long-term scenic character.
      Impacts to eligible or suitable reaches from timber harvest and vegetation management
      would be unlikely to vary significantly by alternative due to the large overlap between the
      alternatives, and the fact the additional river corridor acreages under alternatives B, C, and D
      are mostly outside of suitable timber base.

      Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
      Livestock Grazing
      The continuation of livestock grazing may have little impact on eligible or suitable reaches.
      Outstandingly remarkable values have been maintained under current grazing management,
      and no changes are expected if rivers are found eligible or suitable. Most wild, scenic, and
      recreational river corridors have some acres of range allotments within them; however,
      standards and guidelines are in place that have maintained suitable conditions in river
      corridors. If new facilities are needed for livestock management, they would be designed to
      fit into the classification. The impacts related to livestock grazing on eligible or suitable
      reaches would be similar for all alternatives.


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   Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
   Roads and Trails
   The vast majority of the proposed eligible and suitable river reaches have been in place since
    1996. Travel management policies in the designated corridors surrounding these reaches are
   anticipated to continue to be consistent with past management practices. These practices have
   maintained the outstandingly remarkable values, water quality, and classification of these
   reaches since 1996. The proposed reach on Deadman Creek under alternatives B, C, and D is
   classified as scenic and has two road access points, which are consistent with both the scenic
   classification and outstandingly remarkable values. If future road or trail development were
   to occur in the protected river corridors, such development would be consistent with the
   outstandingly remarkable values and classification of each river reach. The impacts to wild,
   scenic, and recreational rivers from roads and trails is not expected to vary significantly by
   alternative due to the similar number of river miles and acres protected.

   Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
   Recreation
   Designation of special recreation areas draws the public, thereby increasing usage of and
   visits to the area. This could create impacts to the area from these uses. Uses have not
   increased from designations eligibility and suitability in the 1996 forest plan. The inclusion
   of Deadman Creek is not anticipated to increase use in this area because of the remoteness of
   the area and difficult access. Therefore, no increased impacts are expected under any
   alternative.

   Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
   Water Diversions and Water Development Projects
   Given the heavily over-appropriated nature of Colorado Water Division 3, and the presence
   of existing federal reserved instream flow rights, it is unlikely that new water resource
   developments will have impacts to eligible and suitable reaches under any alternative.

   Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
   Designation of Wilderness, Research Natural Areas, Special Interest Areas,
   and Scenic Trails, and Byways
   Overlapping management direction is discussed in Chapter 2 and in the Recommended
   Wilderness section.

   Effects on Eligible and Suitable Wild, Scenic, and Recreational Rivers from
   Mineral Resource Activities
   Minerals development, consistent with the required guidelines, may result in localized,
   decreased vegetation in the riparian corridor, and small and/or temporary increases in
   sedimentation. These activities are not expected to impact the outstandingly remarkable
   values or water quality of eligible or suitable reaches. The impacts related to minerals
   management on eligible and suitable reaches would be similar under all of the alternatives,
   although alternatives B, C, and D have more potential for conflict due to the larger number of
   acres and miles protected.



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      Cumulative Effects
      Public participation in water-based recreation activities such as fishing, rafting, and kayaking
      will continue to increase as population and development increase throughout the state. There
      has been a steady increase in water-based recreation activities on rivers that flow
      predominantly through National Forest System lands. The effects of population growth and
      associated increased water-based recreation use are likely to be gradual and extend well
      beyond the planning period.
      Management activities on the Forest that result from implementation of any of the four
      alternatives would be directed to adhere to protective forest plan components that maintain
      river corridor conditions. Any management activities that take place within eligible and
      suitable wild, scenic, and recreational river corridors would be consistent with maintaining
      the free-flowing nature, identified outstandingly remarkable values, and water quality of river
      segments. For example, if invasive weeds were discovered in an eligible river corridor, action
      (hand-pulling or herbicide application) may be taken to remove the weeds to prevent further
      spread within the corridor.
      Cumulative effects to wild, scenic, and recreational rivers from implementation of any of the
      four alternatives are not considered significant at the programmatic scale.

      Roadless Areas
      Overview
      The 2012 Colorado Roadless Rule created 53 roadless areas on the Forest that consist of
      approximately 518,620 acres. This acreage differs in what is shown in Table 2 in Chapter 2
      due to geographic information system discrepancies. Most of these areas were considered
      “backcountry” in the previous forest plan. The Colorado Roadless Rule provides
      management direction for conserving and managing roadless areas on National Forest
      System lands in Colorado.

      Affected Environment, Existing Conditions, and Trends
      The Colorado Roadless Rule was initiated to refine and update the Roadless Area
      Conservation Rule. The final Rule provides for management of 4.19 million acres of National
      Forest System land within Colorado and conserves roadless area values for future
      generations, while providing for activities important to the citizens and economy of
      Colorado. The Rule prohibits tree cutting, road construction and reconstruction, and the use
      of linear construction zones in roadless areas, with some exceptions. These exceptions
      address limited state-specific situations. Fewer exceptions apply within the upper tier subset
      of roadless acres, which provides for a higher level of conservation of roadless area
      characteristics where the need for additional restrictions, or fewer exceptions, was identified
      from public input.
      The Colorado Roadless Rule supersedes current forest plan direction in the mapped Colorado
      roadless areas. The Colorado Roadless Rule includes processes to make administrative
      corrections and boundary modifications, both of which only the Chief of the Forest Service is
      authorized to approve.



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   Under the Colorado Roadless Rule, road construction and reconstruction is allowed under
   certain conditions; however, road construction and reconstruction is not allowed on the
   majority of the inventoried roadless areas.

   Direct, Indirect, and Cumulative Effects
   Under alternative A, the majority of the acres of Colorado roadless fall under the backcountry
   management area prescription (3.3), with the Colorado Roadless Rule sitting as a layer
   above, but not amended to the forest plan.
   Under alternative B, roadless acres become a geographic area reflecting their legal status and
   related discretion in management. No backcountry management area prescription occurs.
   Any remaining acres of backcountry management area were added to the adjacent
   management direction, whether it be deer and elk winter range, grasslands production, or
   dispersed recreation. The areas are also split between two management area prescriptions,
   dividing Roadless (3.5) from Upper Tier Roadless (3.6). Some areas currently included in
   Roadless were found to have wilderness characteristics and are included in Management
   Area 1.1a - Recommended Wilderness.
   Alternative C proposes no change to the existing designated roadless acres, but the area is
   combined into one with no management distinction between roadless and upper tier roadless,
   other than direction from the Colorado Roadless Rule.
   Alternative D addresses the roadless designation the same as alternative B, with fewer areas
   considered due to additional designations for special interest areas, research natural areas,
   and recommended wilderness. Any backcountry areas that remained after the roadless
   designation are considered the same as in alternative A. Much of the roadless acreage,
   however, was also found to have wilderness characteristics and therefore is included as
   recommended wilderness in Management Area 1.1a. Individual descriptions of these areas of
   recommended wilderness that overlap with roadless areas are contained in Appendix A.
   There are no direct or indirect effects on roadless areas among alternatives from
   implementation of other resource programs, just changes in acreage. Therefore, there would
   be no cumulative effects to roadless areas.

   Proposed Special Interest Areas and Research Natural
   Areas
   Overview
   As discussed in Chapter 2, alternative D proposes one new research natural area on Sheep
   Mountain on the Divide Ranger District and seven additional special interest areas. These
   areas are:




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      •   Cumbres & Toltec National Historic Landmark Special Interest Area
      •   Spruce Hole/Osier/Toltec Special Interest Area
      •   Chama Basin Special Interest Area
      •   Summer Coon/La Ventana Special Interest Area
      •   Carnero Creek Special Interest Area
      •   Jim Creek Special Interest Area
      •   Deep Creek Special Interest Area.
      These additional areas increase the Specially Designated Geographic Area and related
      management areas in alternative D by approximately 131,000 acres.

      Affected Environment, Existing Conditions, and Trends
      The areas listed above are proposed in alternative D because they contain features unique to
      and of special interest in the forest ecosystem. Many designations would enhance habitat
      connectivity, native fish habitat, and watershed protection. In one case, the designation adds
      to existing protections for a unique geologic feature and area of tribal importance.

      Sheep Mountain Research Natural Area
      This area covers about 1,200 acres on the eastern slope of Sheep Mountain on the Divide
      Ranger District. It is adjacent to the Continental Divide National Scenic Trail Management
      Area and is within the Pole Mountain/Finger Mesa Upper Tier Colorado Roadless Area. It
      also includes the Sheep Mountain and San Juan Potential Conservation Areas recommended
      by the Colorado Natural Heritage Program.
      This area provides habitat for the Stonecrop gilia (Aliciella sediifolia), a species of
      conservation concern. Stonecrop gilia is an exceedingly rare plant found in only two
      locations in the world. The worldwide range of this plant is estimated to be only 1,900 acres.
      Only about 1,100 individual plants occupy this range. This area also provides habitat for the
      Rothrock’s townsend-daisy (Townsendia rothrockii), another species of conservation concern.
      Designation of this area as a research natural area would foster increased scientific study of
      this rare plant and help ensure that the species persists over time. For such a designation to
      occur, the Forest would need to engage the Research branch of the Forest Service.

      Cumbres & Toltec National Historic Landmark Special Interest Area
      This area is located on the Conejos Peak Ranger District and borders the Carson National
      Forest. This special interest area would reflect the recent designation of national historic
      landmark status for the railroad corridor by the National Park Service. The railroad and the
      designation are addressed in Assessment 13 (USDA Forest Service 2016). Unique values
      include natural scenery, historic context to the formation of the Forest, and contributions to
      the economies of Antonito, Colorado, and Chama, New Mexico. The desired condition for
      this area would favor scenic and recreational values and uses within the designated corridor
      while continuing to manage the multiple use values of the landscape. Interpretation and
      opportunities for education are encouraged.



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   Spruce Hole/Osier/Toltec Special Interest Area
   This area is estimated at 36,600 acres and is located on the Conejos Peak Ranger District. It
   is bounded on the north by the Conejos River as well as Highway 17, which also creates the
   western boundary. The southern boundary is the Colorado-New Mexico state line where the
   Rio Grande and the Carson National Forests meet. This area includes three different potential
   conservation areas recommended by the Colorado Natural Heritage Program, as well as
   portions of the Sheep Creek Upper Tier Roadless Area.
   The special interest area would enhance habitat connectivity for large game species including
   mule deer, elk, pronghorn, and Rocky Mountain bighorn sheep as well as for large carnivores
   such as Canada lynx, mountain lions, and black bears. It would also enhance ecosystem
   integrity to maintain habitat for several species of conservation concern and federally
   protected species, including boreal owl, peregrine falcon, Brewer’s sparrow, flammulated
   owl, Rio Grande cutthroat trout, Gunnison’s prairie dog; Ripley’s milkvetch, slender
   cliffbrake, Plumber’s cliff fern, Colorado divide whitlow grass, and flowered gilia; federally
   protected species such as Mexican spotted owl, southwestern willow flycatcher, yellow­
   billed cuckoo, and New Mexico meadow jumping mouse; migratory birds including
   ferruginous hawks, black swifts, sage sparrows, burrowing owls, Cassin’s finches, Grace’s
   warblers, gray vireos, juniper titmouse, Lewis’s woodpeckers, loggerhead shrikes, long-billed
   curlews, mountain plovers, pinyon jays, and Virginia’s warblers.

   Chama Basin Special Interest Area
   This approximately 17,790-acre area is proposed for watershed protection. Located on the
   Conejos Peak Ranger District, the area encompasses the entirety of the headwaters of the
   Chama River not already included within the South San Juan Wilderness. Acquired by the
   Forest Service from by the Hughes Family in 1943, this area was previously part of the
   patented Tierra Amarilla Land Grant.
   This area would include the upper boundary of the watershed, including the western and
   eastern rims of the area where the watershed divides. The northern boundary is the national
   forest boundary or the wilderness boundary, with the uppermost mile or two of the West Fork
   and East Fork located within adjacent conserved private land (Banded Peak Ranch) or
   adjacent designated wilderness (South San Juan). The southern boundary is the national
   forest boundary. This area includes portions of the existing Chama Basin Colorado Roadless
   Area and is recommended as the Rio Chama Potential Conservation Area by the Colorado
   Natural Heritage Program for unique wildlife and botanical values.
   National Forest System Road 121 provides access to the southern, lower reaches of the Rio
   Chama at the Forest boundary. A system of motorized and nonmotorized trails provide access
   to the area’s interior.
   More than 10 miles of streams within the Chama Basin are eligible for inclusion with the
   National Wild and Scenic Rivers System. These include both the East Fork and West Fork of
   the Rio Chama, as well as five miles of Archuleta Creek.
   This area has previously been evaluated as possessing high potential for oil and gas
   resources. In 2011, however, the Forest completed acquisition of the mineral rights through a
   project called the Banded Peak Land Exchange. This project consolidated surface and
   mineral estates under Federal jurisdiction, thereby assuring compatible management. Federal

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      ownership of the mineral estate allows complete discretion to the Forest Service about future
      mineral leasing.
      This area is currently managed as roadless with one designated motorized trail. Grazing is
      allowed. The desired condition for the special interest area is to remain natural appearing and
      nonmotorized except on designated routes. Oil and gas leasing would occur at the discretion
      of the responsible official, with existing no surface occupancy stipulations.

      Summer Coon/La Ventana Special Interest Area
      This area covers about 22,400 acres and would include the full extent of the unique geologic
      features related to the Summer Coon volcanic field. It would expand the existing Elephant
      Rocks Special Interest Area located north of Del Norte on the Divide Ranger District. The
      expanded area is defined by La Garita Creek on the north, by the national forest boundary on
      the east and south, and generally by Old Woman Creek or private land along the west. It also
      shares a boundary with Penitente Canyon Special Recreation Management Area on the east
      side, which is managed by the Bureau of Land Management.
      This expanded area would include the well-exposed interior of a composite volcano which at
      one time was comparable to the size of Mount Rainer. This volcano formed in the Southern
      Rocky Mountain Volcanic Field along the edge of the younger Rio Grande Rift. The
      expanded area would also incorporate a nearly perfect pattern of radial dikes not currently
      included in the Elephant Rocks Special Interest Area, as well as the Natural Arch/La Ventana,
      an opening eroded into the center of one of the most prominent dikes. As mentioned above,
      the Natural Arch is also an area of tribal importance.
      The expanded area would also incorporate the Eagle Mountain and Elephant Rocks Potential
      Conservation Areas recommended by the Colorado Natural Heritage Program for their high
      biodiversity significance. These areas include a medium-sized population of the rock-loving
      neoparrya, a rare milkvetch (Astragalus cerussatus), nesting habitat for peregrine falcons,
      and high quality habitat for bighorn sheep.
      The desired condition for this area would be to continue to provide high-quality habitat for
      the Neoparryi and bighorn sheep. Grazing would continue to be allowed. Motorized and
      mechanized travel would be suitable on designated routes.

      Carnero Creek Special Interest Area
      Estimated at 42,800 acres, this area is located on the Saguache Ranger District. It is proposed
      for its unique concentration of native Rio Grande cutthroat trout. This area is also of interest
      because several Forest Service and U.S. Geological Survey projects to improve habitat for
      the species have taken place here. The desired condition would be to continue to provide high
      quality habitat for Rio Grande cutthroat trout as well as opportunities for partnerships in
      habitat restoration projects.

      Jim Creek Special Interest Area
      This area is approximately 9,500 acres and is located on the Conejos Peak Ranger District.
      Similar to the Carnero Creek area discussed previously, this special interest area is also
      proposed for its unique concentration of native Rio Grande cutthroat trout and also has a
      history of Forest Service and U.S. Geological Survey projects to improve habitat for the

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   species. The desired condition would be to continue to provide high quality habitat for Rio
   Grande cutthroat trout as well as opportunities for partnerships in habitat restoration projects.

   Deep Creek Special Interest Area
   This approximately 340-acre area is located on the Divide Ranger District south of Creede.
   This special interest area is proposed for its unique botanical values, which include habitat
   for two rare plants: Rocky Mountain draba (Draba graminea) and Black Canyon gilia
   (Aliciella/Gilia penstemonoides). Both plants are species of conservation concern. This area
   includes the proposed Deep Creek Uplands West Potential Conservation Area recommended
   by the Colorado Natural Heritage Program and is in the Snowshoe Mountain Colorado
   Roadless Area. The desired condition for the area would be to continue to provide high-
   quality habitat for these rare plant species. Grazing would continue and motorized and
   mechanized travel would be suitable on designated routes.

   Direct and Indirect Effects
   The majority of additional acreage tied to the proposed special areas in alternative D is
   already managed as roadless in alternatives A, B, and C. These areas would be managed in a
   substantially natural condition, where ecosystems primarily reflect the influence of natural
   processes. Plant and wildlife habitat values for which the special area was identified would
   be maintained. Invasive plant species would be controlled. Educational and research
   opportunities would be provided, featuring the ecological and plant communities associated
   with the special areas. Suitable vegetation management or other activities near special areas
   would be evaluated for potential impacts to the plant species, plant communities, and other
   associated qualities.
   The proposal of the Cumbres & Toltec Special Interest Area in alternative D would mirror the
   existing scenic railway corridor present in Management Area 4.21. Management direction
   would be updated to incorporate the heritage features of the national historic landmark
   designation but otherwise, there would be no change among all alternatives.

   Effects on Proposed Special Areas from Timber Harvest and Vegetation
   Management
   Special areas are unsuitable for timber production and for commercial removal of special
   forest products. Vegetation management, including harvest, would occur only for purposes of
   maintaining the values and qualities associated with the special area.

   Effects on Proposed Special Areas from Fire Management
   Desired conditions in special areas maintain an ecosystem that primarily reflects the
   influence of natural processes. These natural processes would include fire in some areas.
   Most wildfires would require suppression measures for purposes of protecting values both
   within and outside the special areas. Wildland fire would be implemented in special areas for
   purposes of maintaining natural processes and desired vegetation conditions.




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      Effects on Proposed Special Areas from Livestock Grazing
      Grazing would be allowed in proposed special areas unless impacts would be contrary to the
      values for which the area is created. Invasive species control would occur throughout areas as
      needed using the appropriate control methods. Control of invasive species would have a
      positive impact on the native plant species and communities.

      Effects on Proposed Special Areas from Road Construction, Reconstruction,
      and Management
      Existing roads would be retained in proposed special areas unless prioritized for
      decommissioning to benefit the values for which the area is created. No new roads are
      allowed.

      Effects on Proposed Special Areas from Developed and Dispersed Recreation
      Access and recreational uses would be restricted in special areas, protecting the qualities
      associated with the areas. Developed recreation would be limited and linked to interpretation
      of the unique values of the area.

      Effects on Proposed Special Areas from Designation of Wilderness and Wild,
      Scenic, and Recreational Rivers
      Special areas would maintain their designated boundaries and would benefit from wilderness
      and wild, scenic, and recreational river designation.

      Effects on Proposed Special Areas from Mineral Resource Activities
      While the withdrawal of locatable minerals may be encouraged in management direction for
      special areas, all designations of special areas on the Forest are subject to valid and existing
      rights. The existence of such rights and the potential for exploration are factors considered in
      the recommendation of special areas and the feasibility of maintaining the values for which
      these areas would be created.

      Cumulative Effects
      Management activities generally have taken place, and would continue to take place, mostly
      outside of the existing and proposed special areas. It is unlikely that they would have an
      effect on special areas because of the distance from the areas and the various plan
      components that protect soils, water, and other resource values Forestwide. Other
      programmatic management activities would be heavily restricted in special interest areas and
      would therefore result in few, if any, cumulative effects.




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   Areas of Tribal Importance
   Overview
   The San Luis Valley and the surrounding San Juan and Sangre de Cristo Mountains are the
   ancestral homelands of several American Indian clans, bands, and tribes. Despite their
   removal by the Government in the late 1800s, several tribes maintain strong cultural and
   spiritual connections to the planning area. Many areas represent the groups continuing
   interest in the homeland-related traditions. Tribes look to the Forest to aid in the maintenance
   and re-establishment of cultural connections to ancestral landscapes. This section analyzes
   potential effects to tribal interests, traditional knowledge, tribally affiliated cultural resources,
   sacred sites, treaty rights, and religious freedom.
   Since completion of the forest plan more than 20 years ago, much has changed in terms of
   policy development and how the Forest Service consults with tribes, programmatically
   integrating consultative elements into pertinent planning documents, including the
   recognition and appropriate management of traditional and cultural landscapes. The legal
   framework of Federal policy, case law, and Executive orders provides guidance and
   establishes a higher standard for tribal consultation, authority to facilitate reburial of Native
   American human remains on National Forest System lands, a provision for tribes to collect
   forest products, and the protection of sensitive information. This legal framework has also
   created pathways to greater collaboration and connection between the Forest and the tribes,
   from the district level up.

   Affected Environment, Existing Conditions, and Trends
   Contemporary tribes with distinct ties to the Rio Grande and the greater San Luis Valley
   include the Jicarilla Apache, Navajo (Dine), Southern Ute, Ute Mountain Ute, and several
   Upper Rio Grande and Western Pueblo Tribes. Ceremonial and culturally important
   landscapes, sites, and traditional gathering areas for certain plants and other materials exist
   on the Forest. The Forest is also recognized as containing the burials of American Indian
   ancestors.
   From a tribal perspective, the affected environment contains the ancestral homelands of
   several indigenous groups (Table 86). Continued, mutually satisfying engagement with the
   Forest and enhanced and meaningful consultation has broadened understanding of the degree
   to which certain tribes have an interest in the planning unit and the greater San Luis Valley.
   Generally speaking, tribal interests in the Forest are largely cultural in nature, though
   importance is also ascribed to intact ecosystems and the relationships of plants and animals to
   people and places. For many tribal people, features on the Forest still figure powerfully in
   their traditions and world views. Visiting and reconnecting to these places on the landscape
   affirms cultural continuity.




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      Table 86. Tribes affiliated with the plan area
                           Tribe/Clan/Band                                     Language
       Comanche Tribe                                    Uto-Aztecan: Numic
       The Hopi Tribe                                    Uto-Aztecan: Hopi
       Jicarilla Apache Nation, White Clan/Ollero        Athabaskan
       The Navajo Nation (Dine)                          Athabaskan: Dine
       Pueblo of Acoma                                   Keres
       Pueblo of Cochiti                                 Keres
       Pueblo of Laguna (Kawaik)                         Western Keres: Kawaik
       Pueblo of Nambe                                   Kiowa-Tanoan: Tewa
       Pueblo of Ohkay Owingeh (San Juan)                Kiowa-Tanoan: Tewa
       Pueblo of Picuris                                 Kiowa-Tanoan: Tiwa
       Pueblo of Santa Ana (Tamaya)                      Keres
       Pueblo of Santa Clara                             Kiowa-Tanoan: Tewa
       Pueblo of Santo Domingo                           Eastern Keres: Kewa
       Pueblo of San Ildefonso                           Kiowa-Tanoan: Tewa
       Pueblo of Taos                                    Kiowa-Tanoan: Tiwa
       Pueblo of Zuni                                    Zuni (a language isolate)
       Northern Ute Indian Bands: Yamparika,
                                                         Uto-Aztecan: Numic
       Uncompahgre, Uinta, White River
       Southern Ute Indian Bands: Moache, Capote         Uto-Aztecan: Numic
       Ute Mountain Ute Bands: Tabeguache, Weminuche     Uto-Aztecan: Numic



      Traditional Cultural Properties
      Two known landforms on the Forest have significant cultural importance for several tribes.
      These include Mt. Blanca on the Conejos Peak Ranger District and the Natural Arch on the
      Divide Ranger District. For the Navajo Tribe, or Dine, Mt Blanca is known as Sisnaajini or
      “Black Belt Mountain,” with a belt made of white shells. The peak marks the eastern
      boundary of the Dinetah, or the Navajo homeland, and is considered a living breathing entity.
      The nearby wetlands and the sand dunes that flank the mountain are revered as critical
      components of the life force of the mountain. The Jicarilla Apache also call the mountain
      Nishnojini, also “Black Belt,” and it is the location where Monster Slayer, Nio nas ga ne,
      directed Jicarilla and Navajo people from the top of the mountain. It is also thought that the
      clouds retain the essence of the spirits that bring water. The Kaputa (Capote) Ute consider the
      mountain a holy place and call it Peeroradarath, “the monster’s back,” “great grandmother
      serpent,” or “dragon’s back,” with Blanca Peak as the head and the Sangre de Cristo range to
      the north, as the body. Near the mountain was an old lake, Aripit, where Ute ancestors hunted
      the mastodon and the big buffalo, the Hooche. Mt. Blanca is also an important anchor point
      in the cultural landscape of the Upper Rio Grande pueblos, known as Pintsae’i’i or “White
      Mountain” in Tewa.
      Currently, Mt. Blanca is considered an eligible Traditional Cultural Property by Navajo, Ute,
      and Jicarilla Apache. At this time, the mountain is managed by four different land
      management entities, including the Forest: the San Carlos Ranger District of the Pike-San


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   Isabel National Forest, the San Luis Valley Field Office of the Bureau of Land Management,
   and the private Trinchera Blanca Ranch that includes a conservation easement covering the
   south and southeastern portion of the mountain held by the U.S. Fish and Wildlife Service.
   The Forest manages the upper western flanks of the peak that is designated as wilderness
   with the exception of a four-wheel drive road that traverses the southwest flank of the peak
   and ends just short of the basin.
   On the west side of the planning area, the Natural Arch is a significant cultural marker on the
   landscape. Part of a volcanic dike within the Summer Coon complex, this unique geologic
   feature is located on the northeastern portion of the Divide Ranger District and is a popular
   destination for the public. Jicarilla Apache call it Hole in Rock, Tsegha’ go’ann. The Ute call
   the site Bear’s Den, Kweeahghaat - ti Kahn. It is known as a former rendezvous place for
   Jicarilla Apache clans and Ute bands. Currently, the Natural Arch is considered an eligible
   Traditional Cultural Property by Ute and Jicarilla Apache. It is important to note that there
   are other sacred sites on the Forest yet unknown to archaeologists or land managers.
   The Utes are documented to have encampments within Conejos River Canyon, on Cochetopa
   Pass and Saguache Creek. Their ceremonies were conducted in Crestone and Penitente
   Canyon, and an established Bear Dance site near the present day Old San Acacio in the
   southern end of the valley has been validated. The Jicarilla Apache also ascribe great
   significance to the Rio Grande (Cut Soy) and the Rio Grande Pyramid, both within the
   planning area. Both tribes ascribe importance to rock art sites within the San Luis Valley.
   Certain site types have particular meaning to tribes that formally occupied the San Luis
   Valley. Both Ute and Jicarilla Apache groups peeled Ponderosa pine trees for food and
   supplies to make implements such as cradle boards and saddle parts. Culturally modified
   trees still exist in groves and as single trees within the planning area. These trees have
   increased in appreciation as features of tribal presence in addition to their archaeological
   value as chronological markers of land use and seasonal migration. The Forest educates its
   timber and fuels crews in the identification of culturally modified trees and developed a
   treatment plan for the trees that fall within prescribed burning projects. Likewise wickiups, or
   conical pole structures, and burial scaffolds in trees are known within the planning area and
   are also sites of tribal importance, especially to the Utes and Jicarilla Apache. All tribes
   affiliated with the planning area consider prehistoric archaeological sites as significant
   ancestral sites, “footprints” of those who came before.
   Currently, indigenous people with cultural ties to the San Luis Valley live outside of the
   planning area. Since their removal in the late 19th century, much in the way of cultural
   memory and relationship to place has been lost. A doctrine of forced acculturation and loss of
   language served to further sever ties to ancestral homelands and by extension, a common
   memory and a comprehensive atlas of culturally, historically, and spiritually important places
   within the planning area has been lost. However, important threads still exist and serve to
   maintain rich and substantive ties to the planning area. Just previous to and again during the
   assessment process, it was learned that the Comanche Tribe maintains a stronger affiliation to
   the San Luis Valley area than previously known. An important tribal consultation and
   management trend of recent interest is the renewed interest by tribes to connect tribal
   members, especially youth, to ancestral homelands. The Forest is poised to be an evolving
   platform for cultural connection due to its meaningful relationships with tribes affiliated to
   the San Luis Valley.

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      Existing Tribal Rights
      It is important to note that a series of treaties that were violated by the U.S. Government prior
      to the current reservation system existed with the Utes within the planning area. These
      include the Treaty with the Tabeguache (1863), the Treaty with the Utes (1868), and the
      Brunot Treaty (1874). The Colorado Gold Rush of 1859 brought hundreds of trespasser
      prospectors and unauthorized mining camps into Ute Territory. For the next 20 years there
      was constant pressure on the Utes to relinquish their land by the United States, the State of
      Colorado, and mining and railroad interests. This systematic removal was accomplished by a
      series of negotiations and treaties entered into with the United States, which were then
      disavowed by the Federal government. The Tabeguache Treaty was crafted in Conejos,
      Colorado, ceding one-fourth of Ute Territory, the southern San Luis Valley and other areas in
      Colorado. It was signed by a leader of the Tabeguache Ute. Leaders of the Moache and
      Capote Bands refused to sign.
      The Treaty of 1868 was signed by a Ute delegation in Washington D.C. This time, one-third
      of their remaining land base was ceded to the United States. The Utes lost their territory east
      of the Continental Divide but retained the western slope of Colorado. The treaty guaranteed
      that the U.S. Government would keep out all non-Indians and no unauthorized person would
      be allowed to cross the 170th parallel. The Utes demanded the government enforce previous
      treaties and objected to the people overrunning their land. The U.S. Government was
      preparing to use the military to expel the squatters from Ute land but the squatters demanded
      that the Utes be driven out of the mine-rich mountains instead. The Government solution was
      to again reduce the size of the Ute Reservation. It wasn’t until the Brunot Treaty of 1874 that
      miners were legitimately allowed to work the land by paying the Ute a tribute of 12 cents per
      acre on disputed lands. This arrangement lasted only until 1879, when the Ute were expelled
      from Colorado, except for the Southern Ute Indian Reservation in the southwestern corner of
      the state. While the Utes lost their last vast tract of land within their Colorado territory, part
      of the Brunot Treaty would be recognized by the United States and the State of Colorado late
      in the 20th century.

      Hunting Rights: The Brunot Treaty
      The Brunot Agreement, ratified by Congress in 1874, withdrew more than 5,000 square miles
      in the mountains of southwest Colorado from the existing 1868 Ute Reservation. The
      agreement, entered into between the United States (as represented by Felix Brunot) and the
      Ute Indians in Colorado, was passed into law (18 Stat. 36) by the House of Representatives
      and the Senate of the U.S. Congress on April 29, 1974. Under the “reserved rights doctrine,”
      hunting rights on reservation lands relinquished by the Utes were retained; that is, the tribes
      retained such rights as part of their status as prior and continuing sovereigns. Article II of the
      Brunot Agreement specified that “the United States shall permit the Ute Indians to hunt upon
      said lands so long as the game lasts and the Indians are at peace with the white people.” The
      Ute Mountain Ute Tribe’s hunting rights were acknowledged when the tribe sued the State of
      Colorado for their historical hunting rights in 1978. The rights were settled to the tribe under
      a consent decree that recognized the right of enrolled members of the Ute Mountain Ute
      Tribe to hunt deer and elk in the Brunot area for subsistence, religious, or ceremonial
      purposes. The consent decree specified that tribal members may hunt deer and elk without a
      state license year-round, providing that they obtain a tribal hunting permit. In 2013, the Ute


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   Mountain Ute Tribe renegotiated this agreement with the State of Colorado to include the
   tribe’s fishing rights and the right to hunt a certain number of black bears, moose, mountain
   goats, bighorn sheep, and mountain lions, in addition to the existing harvest of elk and mule
   deer within the Brunot area. Other game animals may be hunted without a license and
   without harvest limits, but only during hunting seasons established by Colorado Parks and
   Wildlife. In 2008, the Southern Ute Indian Tribe signed an agreement with the State of
   Colorado formally acknowledging their hunting and fishing rights within the Brunot area as
   well.
   The Forest will continue to ensure that the hunting and fishing rights of the 1874 Brunot
   Agreement are upheld on public lands under their management jurisdictions. In exercising
   their Brunot hunting rights, the Ute Mountain Ute and Southern Ute tribal members adhere to
   Federal policy and regulations designed to protect natural and cultural resources, and
   enrolled members of the Ute Tribe can access their treaty area to exercise hunting rights. The
   Brunot Agreement tract contains parts of the present day counties of San Juan and Hinsdale
   within the planning area (see the Brunot Treaty map, which is contained on the DVD located
   at the back of this document).

   Spiritual Rights
   Currently, tribes have access to Natural Arch and Mt. Blanca to practice their religious and
   spiritual way of life. At times groups have asked the Forest for assistance in short-term road
   closures to allow for privacy when conducting ceremonies. The Mt. Blanca massif is
   managed by three Federal land agencies and one private landowner. There exists the potential
   for conflicting management approaches, and this warrants frequent communication and
   coordination. A popular four-wheel drive road up the mountain draws a multitude of off-road
   enthusiasts, resulting in trash, toxic materials, and toxic substances such as oil and antifreeze
   on the mountain.
   The Natural Arch is a popular sightseeing destination as well as a favorite destination for
   local residents. Unfortunately, trash and graffiti are common problems at the Natural Arch.
   Because of the high visitation, pressures on the landscape, and large number of people
   climbing up to the arch opening, soil erosion has become a major issue at the site. The Divide
   Ranger District has proposed an established trail route to the opening, but the Jicarilla
   Apache Tribal Historic Preservation Office is opposed to creating easier access for recreation.

   Collection Rights
   Under the provisions authorized in the Farm Bill, when conducting activities for traditional
   and cultural purposes, tribal members may collect botanical and other special forest products
   on National Forest System lands. The Forest also coordinates and collaborates with tribal
   governments to increase awareness and knowledge of culturally significant plants, and will
   consider potential impacts on culturally significant plants in project design and
   implementation. Prescribed burn plans, noxious weed control, and other management
   projects should address and consider traditional uses and traditional management of
   culturally significant plants. Of particular note is the ethnobotanical importance of the osha
   plant (Ligusticum porteri) and its sacredness to several tribes affiliated with the plan area.
   After harvesting, various forms of the roots are used as medicine. Known to grow in parts of
   the plan area, the plant is also known as “bear root” by some tribes. The plant is locally


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      abundant but regionally rare, and is considered a sacred plant by several tribes, including the
      Jicarilla Apache, Ute, Navajo, and several Pueblo tribes. The planning area serves as
      important refugia for plant populations in the Southwest and should be managed for
      sustainable personal use by tribal, Hispanic, and other communities. Most tribes are in
      opposition to any commercial harvest of the plant due to its sacredness and its local
      abundance but regional rarity.
      More than 100 years of fire suppression have resulted in a substantial increase in fuel
      loading, which could result in large catastrophic wildfires with a high potential to destroy
      sites that are important to tribes, rather than the low intensity and low severity fires that occur
      in a more balanced, fire-resilient ecosystem. These sites might include culturally modified
      trees, wickiups, and burial scaffolds.
      More information on special forest products is contained in the Forest Products and
      Contrib-utions to Social and Economic Sustainability sections.

      San Luis Valley Intertribal Interagency Memorandum of Understanding
      Few things are more important to tribal peoples than the reburial of ancestors whose remains
      have been removed from their resting place by universities for research, ranchers, or other
      entities in the past. The protection in place of ancient burial sites and the reburial of remains
      taken from the planning area are of the utmost importance. The potential for inadvertent
      discoveries of human remains is high within the planning area.
      To be prepared in the face of such potential, the San Luis Valley Intertribal and Interagency
      Native American Graves Protection and Repatriation Act Memorandum of Understanding
      was developed. Signatories include the Navajo Nation, the three Colorado Ute Tribes, the
      Jicarilla Apache Nation, the Pueblo of Zuni, the Ohkay Owingeh (San Juan Pueblo), the San
      Ildefonso Pueblo, the Pueblo of Santa Ana, the Santa Clara Pueblo, the Pueblo of Laguna, the
      Cochiti Pueblo, and the Pueblo of Acoma. Federal agency signatories include the Bureau of
      Land Management, U.S. Forest Service, National Park Service, and U.S. Fish and Wildlife
      Service. The memorandum of understanding is designed as a guide for the land management
      agencies and the tribes in the treatment of inadvertent human burial discoveries in and
      culturally unidentifiable remains previously taken from the San Luis Valley. Through the
      construction of the document and several successful reburials, enduring government-to-
      government relationships have been forged laying a solid foundation for meaningful tribal
      engagement on Forest projects and programs. Additionally, to address directed action for the
      reburial of remains, a provision within the 2008 Farm Bill authorizes the reburial of
      American Indian remains on National Forest System lands.

      Direct and Indirect Effects
      Areas of tribal importance and interests were identified and defined by tribes through
      consultation with the Forest Service on plan components for alternative B. Consultation
      provides the opportunity for tribes to identify potential effects to tribal interests, tribal
      affiliated cultural resources, sacred sites, treaty rights, and religious freedom. The Navajo
      Nation has chosen to be a cooperating agency in this plan revision process.
      Ground disturbance is a key consideration of effects, as it can negatively impact sacred sites
      and collection areas. However, consultation is mandatory and implemented under


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   alternative A. The impacts can be further exacerbated by interactions with fire, weather
   events, human actions, and environmental change. Access to sacred areas to exercise
   ceremonies and freedoms is another critical consideration for effects. Management actions
   that change access could either beneficially or negatively impact the exercise of treaty rights
   and expression of religious freedom.
   The action alternatives represent programmatic decisions; therefore, they would have no
   direct effects on areas of Tribal importance and interests.
   Under the no-action alternative, plan direction requires coordination with American Indian
   tribes on rights and concerns. While the alternative does mention the significance of Mt.
   Blanca, it is largely silent on areas of tribal importance. The natural arch is not identified as
   an eligible traditional cultural property or sacred site. Direction is also weak in the areas of
   tribal consultation and lacking in the legal framework that has developed over the last two
   decades. Indirect effects could include on-going vandalism to both Mt. Blanca and the
   Natural Arch without more robust management approaches. However, effects to tribal
   interests, tribally affiliated cultural resources, sacred sites, treaty rights, and religious
   freedom are identified and defined by tribes, through consultation.
   Under this alternative, however, the Forest would continue to meet its basic obligations to
   tribes via consultation requirements. Ground disturbance may occur in conjunction with
   recreation use and facilities and American Indian sites may be encountered in areas with
   these activities. However, consultation requirements are required and implemented under the
   no-action alternative to protect and mitigate impacts to American Indian sites if encountered.
   Alternative B proposes to recommend the southern flank of Mt. Blanca as wilderness to
   provide the mountain with more protections as a sacred site. It also proposes to modify the
   boundary of the current Elephant Rocks Special Interest Area to formally include the Natural
   Arch for its cultural values along with the botanical values for which it was originally
   designated. These administrative changes would be expected to decrease the potential for
   adverse effects to areas of tribal importance. Under alternatives B and D, the southern flank
   of Mt. Blanca would be proposed as wilderness to best meet tribal objectives of keeping the
   mountain as ‘pristine’ as possible (see Assessment 13) (USDA Forest Service 2016).
   Discussions during several consultation meetings also suggested proposing a special interest
   area for the same area; however, a wilderness designation would go further in meeting the
   highest protection possible. Alternatives A and C do not provide for this level of protection
   and therefore the potential to negatively affect areas of tribal of importance in these
   alternatives is higher than in alternatives B and D.
   Under alternatives B, C, and D, the boundary of the Elephant Rocks Special Interest Area
   would be adjusted to include the Natural Arch, a newly identified eligible traditional cultural
   property. Alternative A does not provide for this level of protection, and therefore the
   potential to negatively affect areas of tribal of importance is higher than in alternatives B, C,
   and D.
   Under alternative C, areas of tribal importance, especially those unknown or inadvertently
   discovered, may have more potential for adverse effects due to the higher volume of
   activities proposed in this alternative, especially in the realms of timber salvage and
   recreational development. However, the positive indirect effects to the osha plant under
   increased timber management that include osha in the understory would be the plant’s growth

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      and spread through the opening of the overstory. Additionally, more prescribed burning could
      have a positive indirect effect on areas of tribal importance by reducing the fuel loading
      around fire sensitive sites such as culturally modified trees.
      Conversely, the potential for adverse effects to areas of tribal importance, especially those
      unknown or inadvertently discovered, would be expected to decrease under alternative D
      given its emphasis on increased conservation and fewer administrative activities.

      Effects to Areas of Tribal Importance from Management of Other Resources
      The effects to tribal interests as a result of all action alternatives are determined and defined
      by tribes and disclosed by the tribes during consultation. To estimate effects prior to
      consultation, the action alternatives are contrasted to the no-action alternative to see if they
      increase, decrease, or result in no change to the potential for adverse effects to areas of tribal
      importance.
      The difference between the action alternatives and the no-action alternative, as currently
      implemented, is the addition of specific objectives and management approaches to protect
      known sacred sites and eligible traditional properties and their viewsheds. The need to
      monitor and protect the culturally significant plant, osha, is also identified in the action
      alternatives. Action alternatives call for the evaluation of Mt. Blanca as a traditional cultural
      property and the subsequent development of a management plan. The action alternatives also
      use more detailed language to articulate protections already afforded to the tribes under the
      no-action alternative.
      The action alternatives propose additional administrative activities, substantive objectives,
      and management approaches in the interest of protecting tribal interests on Forest lands. It is
      anticipated that administrative activities that focus on improving communications and
      planning activities between the tribes and the Forest would result in a decrease to the
      potential for adverse effects to areas of tribal importance.
      Management actions conducted at the site-specific level that result in ground disturbance
      have the potential for effects to areas of tribal importance. Because these effects are
      identified, detailed, and disclosed by tribes during consultation, the Forest and the tribes have
      the opportunity to work together to determine appropriate mitigation, avoidance, and
      protection measures. Therefore the consequences to areas of tribal importance from actions
      associated with these activities are estimated to be minimal and avoidable through
      consultation under all alternatives.

      Cumulative Effects
      The effects that past activities have had on areas of tribal importance are discussed
      previously in the A^ffected Environment section and are reflected in the current condition.
      Therefore, past activities are not carried over into the cumulative effects analysis.
      Some areas of tribal importance such as culturally affiliated resources, and landforms such as
      the Natural Arch, are by their nature non-renewable resources. Cumulative effects that are the
      result of unsanctioned activities, such as vandalism or illegal excavation, can occur. Other
      resources of tribal importance, such as the osha plant, are a renewable resource if monitored
      and collected sustainably.


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   Alternatives that result in more acres of management activities will result in increased acres
   of inventory. The additional required inventory and evaluation could result in more possible
   culturally affiliated cultural resources being documented and protected from adverse
   cumulative effects.
   Continuing tribal consultation, the use of the San Luis Valley Native American Graves
   Protection and Repatriation Act Memorandum of Understanding, and the maintenance of
   strong working relationships between the Forest and the tribes would minimize the likelihood
   of adverse cumulative effects to areas of tribal importance under each of the action
   alternatives.

   Lands and Special Uses
   Overview
   This section addresses landownership administration and adjustments and special uses of
   National Forest System lands on the Forest. Management of National Forest System lands
   includes survey and marking of boundaries, acquisition, conveyance and exchange of land,
   handling of title claims and encroachments, acquisition of rights-of-way, and authorization
   and management of special uses to protect resource values and the interests of the Federal
   Government.
   Adjustments of landownership can occur through congressionally mandated conveyances,
   exchanges, and acquisitions, or through Forest Service administrative activities.
   The objectives of the Forest Service landownership program are to:
   •     Achieve the optimum landownership pattern to provide for the protection and
         management of resource uses to meet the needs of the Nation now and in the future,
   •     Avoid land-use conflicts with non-federal landowners by settling land claims equitably
         and promptly, and
   •     Provide resource administrators readily accessible and understandable title information
         affecting the status and use of lands and resources they administer.
   Land occupancy and uses by private parties and other government entities are managed
   through the issuance of special use authorizations. Authorized special uses on the Forest
   include industrial or commercial uses, private uses, and a variety of recreational uses.
   All occupancy, use, or improvements on National Forest System lands that are not directly
   related to timber harvest, grazing, mining activities, and recreation are referred to as
   ‘non-recreation special uses.’ Typically, non-recreation special uses include roads, utilities,
   storage facilities, communications sites, research, and commercial filming. Recreation
   special uses include resorts, ski areas, outfitters and guides, and a variety of uses that provide
   access to National Forest System lands by commercial ventures.




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      Affected Environment, Existing Conditions, and Trends
      There are approximately 1.83 million acres of National Forest System lands that are the
      administrative responsibility of Forest. This is the result of the original congressionally
      designated lands and the conveyances (acquisitions, disposals, and exchanges) that have
      occurred to date.

      Lands
      The 1996 forest plan states that the Forest consists of about 1,852,000 acres. The reduction in
      acreage suggests that over the life of the 1996 forest plan, more National Forest System lands
      were disposed of than were acquired. This can largely be explained by the transfer of about
      41,000 acres to the National Park Service per the Great Sand Dunes National Park and
      Preserve Act of 2000. This was offset by the acquisition of the 13,000-acre Baca Mountain
      tract, by far the largest acquisition over the life of the 1996 forest plan.
      An estimated 99,500 acres of lands of other ownership are inside the proclaimed boundaries
      of the Forest. The vast majority of this land is held in private ownership, and the remainder is
      owned by the State of Colorado. Much of the private land inside the proclaimed boundaries
      of the Forest is the result of homestead and mining patents.
      Rights-of-way and easements affect both private and public lands throughout the plan area.
      The Forest continues to seek rights-of-way to safeguard public access to National Forest
      System lands. And the Forest would continue to grant rights-of-way for access across
      National Forest System lands in accordance with applicable laws.

      Special Uses
      All occupancy, use, and improvements on National Forest System lands that are not directly
      related to timber harvest, grazing, or mining activities are referred to as special uses. Special
      use authorizations (permits, leases or easements) are legal instruments whose terms and
      conditions are fully enforceable when consistent with laws regulations and policies. The
      mission of the Forest Service special use program is to manage the use and occupancy of
      National Forest System lands in a manner that protects natural resource values, promotes
      public health and safety, and is consistent with the forest plan.
      The Forest administers about 350 special use authorizations, of which 125 are categorized as
      recreation special uses and 225 are considered land special uses. Recreation uses include
      recreation events, outfitters and guides, recreation residences, and ski areas. Land uses
      include research, weather stations, commercial filming, driveways, telecommunications, and
      water gauging, storage, and transmission.
      The Forest regularly receives proposals for the use and occupancy of National Forest System
      lands. Census data for the counties containing National Forest System lands administered by
      the Forest have remained relatively stable. Meanwhile, significant population growth along
      Colorado’s Front Range would suggest that change is coming, and it is expected that the
      Forest will see an increase in proposals for special uses rather than a decrease. Increased
      development will present opportunities and challenges for the Forest and its neighbors.
      The Forest will need to continue to work with neighboring landowners in response to
      requests to use National Forest System lands for essential infrastructure to support the growth


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   and sustainability of the communities that surround the Forest. This infrastructure might
   include roads, utilities, communication facilities, water infrastructure for municipal and
   agricultural use, and fire stations. Requests for access, goods, and services are expected to
   increase over the life of the plan. Increased population density on private lands adjoining the
   Forest will add to the potential for encroachment, trespass, and unauthorized occupancy of
   National Forest System lands. Balancing the needs for goods and service while protecting the
   interests of the public will be a challenge into the future depending on the capability of the
   unit. Occupancy and use of National Forest System lands for public and private purposes
   through the issuance of special use authorizations will continue to be allowed where the use
   is consistent with natural resource management goals.

   Direct and Indirect Effects

   Alternative A - No Action
   This alternative reflects the forest plan, as amended to date, and accounts for current laws
   and regulations, excluding the 2012 Planning Rule, that have been issued since the original
   forest plan and the amendments that were adopted. There would be no indirect effects to the
   land program, and changes to ownership boundaries would continue to be analyzed at the
   project level. The special use program would operate much as it has barring the issuance of
   new laws and regulations.

   Alternatives B, C, and D
   Land adjustments and special uses of National Forest System lands can be proposed
   anywhere in the Forest. Such proposals need to be consistent with the Forest’s land and
   resource management plan and suitable for the management area in which they are proposed.
   For the purposes of this analysis, a comparison was made among alternatives that focused on
   the relative changes to management area acreage. An increase in management areas with
   more limiting direction would be expected to decrease opportunities for conveyance or
   special uses of National Forest System lands. For example, an increase in recommended
   wilderness acreage could result in fewer acres available for certain types of special uses, and
   the Forest would be less likely to dispose of or exchange land that was designated as
   recommended wilderness. However, an increase in recommended wilderness acres could
   serve to increase the Forest’s interest in acquisition of private inholdings in newly designated
   acres and certain types of special uses, e.g., outfitters and guides could benefit from an
   increase in wilderness.
   Using the reasoning above, the Forest compared the indirect effects among alternatives by
   comparing the change in acreage among categories of management that essentially reflect the
   geographic areas proposed in alternatives B and D: primitive wilderness, roadless, specially
   designated areas, and general forest. From a lands and special uses perspective, management
   becomes less restrictive and less limiting down this list, with primitive wilderness being the
   most restrictive and general forest being the least restrictive. As mentioned above, an
   alternative with substantially more primitive wilderness or roadless or specially designated
   areas was considered to have the indirect effect of being more restrictive to land conveyances
   and the majority of special uses.



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      The most significant change among alternatives is the introduction of recommended
      wilderness in alternatives B and D, essentially increasing the acreage of the primitive
      wilderness category, predominantly at the cost of the roadless category. Alternative D
      proposes more than five times as many acres as alternative B. Therefore, alternative D would
      be the most restrictive alternative relative to lands and special uses.
      With the additional wilderness acreage largely coming from the roadless category, there is
      little difference among alternatives relative to the roadless category. Alternative D proposes
      the fewest acres of roadless category because of the relatively high number of acres that are
      proposed for the primitive wilderness category. Therefore, this alternative would change the
      types of special use opportunities permitted.
      Concerning the specially designated areas, there is no difference in the number of acres
      proposed between Alternatives B and C. However, alternative D proposed to nearly double
      the number of acres. Again, this suggests that alternative D is the most restrictive. However,
      the specially designated areas category is the least restrictive category after general forest and
      varies significantly across subcategory. For example, an outfitter and guide use may be
      restricted in a research natural area, but possibly enhanced by a wild, scenic, and recreational
      river designation or congressionally designated trail.
      In summary, there is not a significant difference between alternatives B and C relative to the
      lands and special use programs. Alternative B could be considered to be slightly more
      restrictive due to the acres of recommended wilderness and have fewer opportunities for
      conveyance of land and fewer types of special uses viewed as suitable as a result.
      Alternative D appears significantly more restrictive than the other alternatives due to the
      greater number of acres of recommended wilderness as well as the greater number of acres in
      a specially designated area. As mentioned earlier, while an increase in acres of these more
      restrictive management strategies is assumed to result in fewer opportunities, there is also the
      effect of increasing the interest in acquisition of private parcels by the United States and the
      possible benefit to a subset of special uses, in particular recreation special uses.

      Effects on Lands and Special Uses from Management of Other Resources
      Effects from management of other resources were considered but determined to have little or
      no effect. For example, vegetation management could impact the value of National Forest
      System lands, but the value may decrease or increase depending on the type of treatment. The
      same could be said of fire management. In an attempt to secure habitat or linkage areas
      wildlife management issues might be better served by disposing of certain lands, but
      acquiring certain other lands. Recreation management was considered as well, and no effects
      were discovered.




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   Cumulative Effects
   The geographic scope for this analysis is all lands inside the boundary of the Forest. The
   temporal scope for this analysis is the life of the current forest plan and reasonably
   foreseeable actions.
   As described previously in the Ajfected Environment section, the Forest currently administers
   approximately 1.83 million acres of National Forest System land. Adjustments in
   landownership would continue to occur over time. In particular, within its fiscal capabilities,
   the Forest would continue to pursue acquisition of private inholdings considered to have high
   resource values, or that through acquisition would decrease administrative costs such as
   boundary survey costs. In this regard, the number of acres administered by the Forest would
   be expected to increase. In addition, ongoing boundary marking would continue, and
   encroachments may be discovered.
   Requests for special use authorizations would likely increase because as more private land is
   subdivided, particularly inholdings, the number of requests for special uses such as roads and
   utilities, including innovative renewable energy uses such as solar and wind energy,
   increases. Requests for modification of existing communications sites and designation of new
   communications sites can reasonably be expected as technology advances and the desire for
   service increases. Recreation special use proposals are expected to increase both in number
   and diversity.
   Because the number of acres remains the same for the Forest across all alternatives and
   because changes in landownership boundaries, rights-of-way, and special use authorization
   are made at the project level, the differences in cumulative effects among alternatives is
   minimal.

   Contributions to Social and Economic Sustainability
   Overview
   Many communities have longstanding social and economic ties to the natural and cultural
   resources the Forest provides. This chapter examines the values to people and communities
   surrounding the Forest and also to people who are further removed from the plan area. In
   addition to providing an overview of the existing social and economic environments, this
   section emphasizes plan area’s contributions to socioeconomic sustainability (FSH 1909.12,
   ch. 20, sec. 23.22). Since management of the plan area contributes to social and economic
   sustainability in the area(s) of influence and the broader landscape primarily through the
   provision of (1) multiple uses, (2) ecosystem services, (3) infrastructure, and (4) Forest
   Service presence in the community (FSH 1909.12, ch. 20, sec. 23.21 and FSH 1909.12,
   ch.10, sec. 13), the conditions and trends of these major contributions are described in the
   following sections.




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      Area of Influence
      The information describing local economic and social environmental conditions is obtained,
      in part, from Assessment 6 - Social, Cultural, and Economic Conditions (USDA Forest
      Service 2016). Where relevant, updated data are provided. For comparison, Colorado, New
      Mexico, and the United States are also included.
      Eighteen counties made up the social and economic area of influence (Assessment 6). For
      this report, the social and economic area of influence was updated based on a variety of
      indicators, including timber, grazing, recreation, payment in lieu of taxes/secure rural schools
      (PILT/SRS) data, and local knowledge. Counties are included in the social and economic area
      of influence if supported under one or more of these criteria. For instance, under the timber
      criteria, counties are included based on the flow of timber sales, processors, and location of
      timber-related employment; under the range criteria, counties are included based on the
      location (home or business) of permittees and the amount of animal unit months authorized;
      and counties are included under the recreation criteria in order to capture the economic
      contribution of visitor spending, according to the 50 percent recreation market area as
      defined by the National Visitor Use Monitoring program for the Forest.
      The 16-county area considered in this analysis includes Alamosa, Archuleta, Conejos,
      Costilla, Custer, Fremont, Gunnison, Hinsdale, La Plata, Mineral, Montrose, Rio Grande,
      Saguache, and San Juan Counties in Colorado, and Rio Arriba and Taos Counties in New
      Mexico. Counties that were in the original assessment that have been dropped include
      Chaffee, Huerfano, and Park. Custer County was not included in Assessment 6 but is in the
      new social and economic area of influence.
      A secondary zone of influence—the San Luis Valley area of influence—is also identified in
      order to present a more targeted portrayal of the communities intimately connected to the
      Forest. The inclusion of the San Luis Valley area of influence addresses many comments
      received from the public concerned that the larger primary area of influence would distort
      some of the economic and cultural connections of the smaller communities with historic,
      subsistence relationships with the Forest. This area of influence is based on counties within
      the San Luis Valley Planning Region as delineated by the State of Colorado Demography
      Office (Colorado Department of Local Affairs 2017a), which comprised of a total of six
      counties - Alamosa, Conejos, Costilla, Mineral, Rio Grande, and Saguache. These are the
      same counties within Region 8 of the Colorado Association of Regional Organizations, as
      well as the San Luis Valley Development Resources Group - which promotes economic and
      community self-development for the San Luis Valley. Hinsdale County is also included as
      part of the San Luis Valley area of influence for the purpose of this analysis, due to the close
      ties and interests the county has with the management of Forest. In sum, the San Luis Valley
      area of influence contains seven counties: Alamosa, Conejos, Costilla, Hinsdale, Mineral, Rio
      Grande, and Saguache Counties.




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   Affected Environment, Existing Conditions, and Trends
   This section describes the conditions and trends of the social and economic environments,
   with special emphasis on the factors of socioeconomic sustainability, including the four
   major areas of contributions: (1) multiple uses, (2) ecosystem services, (3) infrastructure, and
   (4) Forest Service presence in the community.

   Social Environment

   Population
   Population growth can be an indicator of a region’s desirability to live and work. Areas
   characterized as having high levels of natural amenities (unique land and water features, mild
   temperatures, scenic quality, and outdoor recreation opportunities) experience greater
   population growth than areas with fewer natural amenities (see Assessment 6), and this
   growth occurs increasingly at the boundaries of public lands. In recent years communities
   surrounding the Forest have become increasingly attractive to new residents because of their
   proximity to open spaces, natural settings, and easy access to year-round recreational
   opportunities. A portion of population growth in this region can be attributed to the scenic
   beauty and outdoor recreation supported by the Forest.
   Rapid population growth in Colorado and the social and economic area of influence over the
   last 30 years suggests that this area is highly desirable to current and prospective residents.
   While the total U.S. population grew by 55 percent between 1970 and 2013, Colorado’s
   population increased by 137 percent, and total population within the social and economic
   area of influence increased by 94 percent (U.S. Census Bureau 1970, 2013).
   During the time period of 2011-2015, the social and economic area of influence was home to
   294,121 people and experienced 9 percent growth between 2000 and the 2011-2015 time
   period, which is well below Colorado’s growth rate (23 percent), and only slightly below the
   growth rate of New Mexico (15 percent) and the United States (13 percent) (U.S. Census
   Bureau, 2016) (Table 87).
   During the time period of 2011-2015, the San Luis Valley area of influence was home to
   47,681 people and experienced 2 percent growth from 2000 to the 2011-2015 time period.
   Conejos, Costilla, and Mineral Counties experienced population loss over this period. At
   11 percent, Hinsdale had the highest growth rate in the San Luis Valley area of influence.




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      Table 87. Population change
      [Source: U.S. Census Bureau (2016)]

                                                 Population
                                  Population                   Percent Change
                                                ACS 5 year
                                    2000                         2000-2015
                                                (2011-2015)
       Colorado                    4,301,261     5,278,906            23
                    Alamosa         14,966        16,269               9
                   Archuleta         9,898        12,174              23
                    Conejos          8,400         8,249              -2
                       Costilla      3,663         3,581              -2
                       Custer        3,503         4,303              23
                    Fremont         46,145        46,809               1
                   Gunnison         13,956        15,651              12
                    Hinsdale          790           874               11
                    La Plata        43,941        53,182              21
                       Mineral        831           733               -12
                   Montrose         33,432        40,815              22
                  Rio Grande        12,413        11,745              -5
                   Saguache          5,917         6,238               5
                   San Juan           558          606                 9
       New Mexico                  1,819,046     2,084,117            15
                   Rio Arriba       41,190        39,949              -3
                         Taos       29,979        32,943              10
       San Luis Valley area
                                    46,980        47,689               2
       of influence
       Social and Economic
                                   269,582       294,121               9
       area of influence
       United States              281,421,906   316,515,021           13




      Age
      The age of the population surrounding the Forest is relevant since age may affect community
      values and uses of the Forest. In general the population of the United States is growing older,
      and a sizable share of Americans over 65 years had been moving to amenity-rich places that
      are characterized as having warmer average temperatures and lower rates of crime and taxes
      (see Assessment 6). Colorado and New Mexico have both gained attention in recent years as
      retirement destinations. As a desirable retirement destination, the Forest has attracted a share
      of migrating retirees and retirement income to the social and economic area of influence.
      During the time period of 2011-2015, the median age was 45 in the social and economic area
      of influence, and 46 for the San Luis Valley area of influence. Additionally for that same time
      period, 38 percent of the San Luis Valley area of influence population was over the age 50,
      whereas only 32 percent of Colorado’s population was over the age of 50 (U.S. Census
      Bureau 2016) (Table 88). Therefore, a substantial portion of the population of the San Luis


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   Valley area of influence will approach retirement age in the near future, which will have
   affect social and economic conditions.
   For more detail on population trends see Assessment 6 - Social, Cultural and Economic
   Conditions (USDA Forest Service 2016).

   Table 88. Median age
   [Source: U.S. Census Bureau (2016)]

                               Median Age
                               ACS 5 year
                               (2011-2015)
    Colorado                      36.3
                 Alamosa          30.1
                Archuleta         49.6
                 Conejos          38.4
                    Costilla      49.0
                    Custer        56.4
                 Fremont          43.5
                Gunnison          34.3
                 Hinsdale         55.2
                 La Plata         38.8
                    Mineral       60.9
                Montrose          44.2
               Rio Grande         40.9
                Saguache          46.1
                San Juan          46.0
    New Mexico                    37.0
                Rio Arriba        40.1
                      Taos        46.8
    San Luis Valley area
                                  45.8
    of influence
    Social and Economic
                                  45.0
    area of influence
    United States                 37.6




   Population Density
   Population density provides perspective on urbanization, availability of open space,
   socioeconomic diversity, and civic infrastructure. In general, more densely populated areas
   tend to be more urban and diverse, and offer more access to public infrastructure. In contrast,
   less densely populated areas provide greater access to open spaces and wildlands, which may
   offer natural amenity values to residents and visitors.




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      Population projections indicate that the San Luis Valley and the region surrounding the
      Forest will continue to grow through 2030. These population projections reflect continued
      urban, suburban, and exurban development, enabling counties surrounding the Forest to
      become more densely populated. Growth within these counties is unlikely to be distributed
      evenly among local communities and can cause some areas to become more urban while
      others become increasingly more decentralized or exurban. Overall, however, the region
      remains rural, with an average population density of 5.6 persons per square mile in the San
      Luis Valley counties, versus an average of 48.5 persons per square mile for the State of
      Colorado.
      As populations grow, conflicts between local residents and forest visitors may increase.
      While living close to public lands may provide residents with amenities such as convenient
      access to recreation and wildlife viewing, increased forest congestion causes disamenities
      such as crowds, litter, and noise. Increased population of residential areas surrounding the
      Forest also increases the social and economic area of influence’s need for infrastructure and
      may place greater pressure on the Forest to provide utility right-of-ways. These pressures
      may threaten the Forest’s role in contributing to sense of place and the quality of life in
      surrounding communities.
      For more details on population density, see Assessment 6 (USDA Forest Service 2016).

      Education
      The level of formal education can be an important indicator of social and economic
      opportunities and the ability of an area to adapt to change. Educational attainment in
      Colorado is higher than that of the U.S. population for the time period of 2011-2015: 91
      percent hold a high school diploma and 38 percent have a Bachelor’s degree or higher, while
      87 percent of U.S. residents 25 or older have completed high school and 30 percent have
      obtained at least an undergraduate degree (U.S. Census Bureau 2016) (Table 89). Educational
      attainment in the social and economic area of influence for the same time period is nearly
      identical to the U.S. population overall, however, attainment is quite low in some rural
      counties where less than 80 percent of residents over the age of 25 have high school diplomas
      and a small percentage hold a Bachelor’s degree or higher. Low educational attainment in
      rural areas is not uncommon. Since rural communities generally offer few opportunities for
      educational or occupational advancement, they typically struggle to retain and attract
      educated and highly skilled individuals. Residents interested in pursuing advanced education
      typically move from these rural communities to more economically advanced areas that
      support greater educational opportunities. The out-migration of talented and educated
      residents is often referred to as “brain drain.”




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   Table 89. Education attainment, adults 25 and over, ACS 5 year (2011-2015)
   [Source: U.S. Census Bureau (2016)]

                                 High      Bachelor’s
                                School     Degree or
                               Graduate      higher
                               (percent)   (percent)
    Colorado                      91          38
                 Alamosa          85          25
                Archuleta         92          35
                 Conejos          85           19
                    Costilla      76           18
                    Custer        94          35
                 Fremont          87           15
                Gunnison          95          54
                 Hinsdale         95          40
                 La Plata         95          43
                    Mineral       98          42
                Montrose          87          24
               Rio Grande         83          22
                Saguache          79          27
                San Juan          92          29
    New Mexico                    84          26
                Rio Arriba        81           17
                      Taos        87          29
    San Luis Valley area
                                  86          28
    of influence
    Social and Economic
                                  88          28
    area of influence
    United States                 87          30




   Race and Ethnicity
   Colorado’s population tends to be less racially diverse than the general U.S. population.
   During the time period of 2011-2015, about 74 percent of the country’s population identified
   themselves as White alone, whereas the category White alone accounts for 84 percent of the
   state’s population. However, in the social and economic area of influence, the percentage of
   residents identifying themselves as American Indian alone (Native Americans) and those
   identifying as some other race alone is larger than Colorado and the Nation (Table 90). There
   is considerable variation in the racial composition of individual social and economic area of
   influence counties during this time period (2011-2015). For example, La Plata, Rio Arriba,
   and Taos Counties contained greater percentages than Colorado and the Nation of individuals
   identifying as American Indian alone.




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      Table 90. Racial composition ACS 5 year (2011-2015)
      [Source: U.S. Census Bureau (2016)]

                                                                                                     Two or
                             White           African    American         Asian      Other Race
                                                                                                      More
                             Alone          American     Indian          Alone        Alone
                                                                                                     Races
       Colorado              84.2%            4.0%         0.9%          2.9%          4.3%           3.5%
                Alamosa      87.0%            1.9%         2.0%          1.8%          4.6%           2.6%
               Archuleta     87.4%            0.9%         2.3%          0.7%           7.5%          1.1%
                  Conejos    91.7%            0.1%         1.9%          0.2%          4.3%           1.7%
                  Costilla   93.0%            0.0%         0.3%          0.8%           2.1%          3.8%
                   Custer    94.0%            3.1%         1.3%          0.0%           0.2%          1.3%
                  Fremont    88.0%            5.2%         1.6%          0.7%           2.1%          2.3%
               Gunnison      95.7%            0.7%         0.5%          0.6%           0.4%          2.0%
                Hinsdale     98.4%            0.0%         0.0%          0.0%           0.0%          1.6%
                  La Plata   88.6%            0.4%         5.5%          0.7%           2.4%          2.3%
                  Mineral    89.9%            0.8%         0.0%          0.0%           8.7%          0.5%
               Montrose      92.6%            0.6%         0.7%          0.4%           3.2%          2.1%
             Rio Grande      84.5%            0.8%         2.1%          0.4%          10.7%          1.4%
              Saguache       87.7%            0.4%         1.3%          1.1%           6.6%          3.0%
               San Juan      94.2%            0.0%         1.5%          0.0%           3.5%          0.8%
       New Mexico            73.2%            2.1%         9.1%          1.4%          10.9%          3.3%
              Rio Arriba     62.5%            0.5%        15.3%          0.4%          19.0%          2.3%
                     Taos    70.6%            0.5%         6.1%          0.8%          18.4%          3.6%
       San Luis Valley
                             90.3%            0.6%         1.1%          0.6%           5.3%          2.1%
       area of influence
       Social and
       Economic area of      87.8%            1.0%         2.6%          0.5%           5.9%          2.0%
       influence
       United States         73.6%           12.6%         0.8%          5.1%          4.7%           3.0%


      Many Americans identify with, and are proud of, the ethnic and cultural heritage from which
      they descend. Although Americans may appear to look White, Black, Asian, or belonging to
      some other racial group, they typically continue to speak the native language and follow
      cultural traditions from the regions where their families originated. During the time period of
      2011-2015, 17 percent of Americans and 21 percent of Colorado residents described their
      family ancestry as being Hispanic, Latin, or Spanish. Hispanic cultures are more predominant
      in the social and economic area of influence than in Colorado overall, 30 percent versus 21
      percent. The San Luis Valley area of influence had an even larger population of Hispanic
      residents (37 percent). Hinsdale is the only county in the San Luis Valley that did not have a
      large population of Hispanic residents and is nearly 99 percent non-Hispanic (Table 91) (U.S.
      Census Bureau 2016).




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   Table 91. Ethnic composition, ACS 5 year (2011-2015)
   [Source: U.S. Census Bureau (2016)]

                                            Non­
                               Hispanic
                                          Hispanic
    Colorado                    21.1%      78.9%
                 Alamosa        45.7%      54.3%
                Archuleta       18.5%      81.5%
                 Conejos        54.4%      45.6%
                    Costilla    64.4%      35.6%
                    Custer      2.7%       97.3%
                 Fremont        13.0%      87.0%
                Gunnison        9.0%       91.0%
                 Hinsdale       1.3%       98.7%
                 La Plata       12.5%      87.5%
                    Mineral     10.8%      89.2%
                Montrose        20.2%      79.8%
               Rio Grande       44.2%      55.8%
                Saguache        38.9%      61.1%
                San Juan        19.3%      80.7%
    New Mexico                  47.4%      52.6%
                Rio Arriba      71.5%      28.5%
                      Taos      56.2%      43.8%
    San Luis Valley area
                                37.1%      62.9%
    of influence
    Social and Economic
                                30.1%      69.9%
    area of influence
    United States               17.1%      82.9%




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      Environmental Justice
      Executive Order 12898, Federal Actions to Address Environmental Justice in Minority
      Populations and Low-Income Populations, states that “each Federal agency shall make
      achieving environmental justice part of its mission by identifying and addressing, as
      appropriate, disproportionately high and adverse human health or environmental effects of its
      programs, policies, and activities on minority populations and low-income populations.”
      More detailed information including pertinent definitions are discussed in Assessments 6, 9,
      and 13 (USDA Forest Service 2016). In summary, social and economic data describing the
      demographics and economic conditions of communities surrounding the Forest indicate that
      there are concentrations of minority populations and low-income populations within the
      social and economic area of influence. Many communities have maintained strong ties to
      subsistence uses and ancestral lands they rely on for a variety of traditional, cultural,
      subsistence, forest product, fishing, and hunting uses. Communities in the area can be
      defined in Council of Environmental Quality terms as meeting classification for
      determination as environmental justice populations (low income and minority). In the
      planning area, a number of communities have advocacy groups working on environmental
      justice issues that have engaged in this revision process. Their focus has included air quality,
      and access to the Forest for traditional uses, among others.


      Economic Environment

      Unemployment
      Historically, unemployment in the social and economic area of influence has closely mirrored
      that of the State of Colorado and generally remains higher than statewide trends. The
      economic downturn in 2007 caused unemployment across the United States to rise, hitting
      Colorado and the region surrounding the Forest relatively hard. Low unemployment rates in
      the United States and Colorado in 2016 indicate that the effects of the Great Recession (the
      time period from 2007 to 2009) on unemployment have largely been recovered.
      The unemployment rate in 2016 for the social and economic area of influence averaged
      4.3 percent. Colorado counties in the social and economic area of influence had an average
      unemployment rate of 3.7 percent, which was slightly higher than Colorado’s average
      (3.3 percent) and below the U.S. average (4.9 percent). New Mexico counties (Rio Arriba
      and Taos) experienced the highest unemployment rates in the social and economic area of
      influence, averaging 7.7 percent in 2016, which are above both New Mexico’s (6.7 percent)
      and the U.S. average rate. Detailed unemployment statistics are listed in Table 92.




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   Table 92. Unemployment, annual average
   [Source: U.S. Bureau of Labor Statistics (2016)]

                                     2015         2016
    Colorado                          3.8             3.3
                       Alamosa        5.2             4.1
                      Archuleta       4.0             3.4
                        Conejos       5.6             4.8
                         Costilla     6.5             5.0
                         Custer       3.5             3.1
                        Fremont       6.2             5.2
                      Gunnison        2.9             2.3
                       Hinsdale       3.0             2.4
                        La Plata      3.5             3.0
                         Mineral      3.7             2.3
                       Montrose       5.1             4.2
                    Rio Grande        6.3             5.1
                      Saguache        6.1             4.8
                      San Juan        4.1             3.8
    Colorado County Average           4.7             3.8
    New Mexico                        6.5             6.7
                      Rio Arriba      8.0             7.2
                           Taos       9.3             8.2
    New Mexico County Avg.            8.7             7.7
    San Luis Valley area of
                                      5.2             4.1
    influence
    Social and Economic area
                                      5.2             4.3
    of influence
    United States                     5.3             4.9


   Personal Incomes
   Although the average unemployment rate for the social and economic area of influence is
   below the national average, during the time period of 2011-2015, median and per capita
   incomes were well below Colorado and national averages. Median and per capita income
   data provide a measure of all sources of income (wages, investment income, retirement, etc.)
   within the social and economic area of influence. High personal income may be a signal of
   greater job opportunities, highly skilled residents, greater economic resiliency, and
   well-developed infrastructure within a community, while low personal income is typically a
   reflection of poor economic conditions and the relatively few economic opportunities
   available within a community.
   During the time period of 2011-2015, the median household income in the social and
   economic area of influence averaged $41,694, nearly $20,000 dollars less than Colorado’s
   average ($60,629), and $12,000 less than the national average ($53,889) (U.S. Census
   Bureau 2016).


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      During this same time period (2011-2015), the San Luis Valley area of influence’s average
      median income was $39,806, and average per capita income was $24,321, well below both
      state and national averages. Mineral and Hinsdale are the only two counties in the San Luis
      Valley area of influence that had incomes at or near state and national averages, ($48,125 and
      $57,803, respectively). Costilla, Alamosa, and Saguache have the three lowest median
      incomes in the entire social and economic area of influence, ($31,121, $32,395, and $33,393,
      respectively). A list of incomes by county is provided in Table 93.

      Table 93. Median household and per capita income, ACS 5 year (2011-2015)
      [Source: U.S. Census Bureau (2016)]

                                   Median
                                               Per Capita
                                  Household
                                                Income
                                   Income
       Colorado                    $60,629      $32,217
                    Alamosa        $32,395      $19,524
                   Archuleta       $46,646      $28,884
                    Conejos        $36,652      $18,844
                       Costilla    $31,321      $21,809
                       Custer      $35,000      $22,661
                    Fremont        $40,423      $18,619
                   Gunnison        $48,071      $25,584
                    Hinsdale       $57,083      $33,816
                    La Plata       $60,278      $31,822
                       Mineral     $48,125      $32,271
                   Montrose        $43,999      $23,144
                  Rio Grande       $39,672      $22,269
                   Saguache        $33,393      $21,711
                   San Juan        $36,324      $23,143
       New Mexico                  $44,963      $24,012
                   Rio Arriba      $36,098      $19,678
                         Taos      $36,582      $22,358
       San Luis Valley area
                                   $39,806      $24,321
       of influence
       Social and Economic
                                   $41,694      $24,486
       area of influence
       United States               $53,889      $28,930




      Poverty
      The poverty rate is another indication of both economic and social well-being. Individuals
      with low incomes are more vulnerable to hardships and may depend on public land in unique
      ways. Relative to the United States (15 percent) and Colorado (13 percent), the social and
      economic area of influence had a higher share of residents and families living below the
      poverty line in the time period of 2011-2015 (18 percent) (Table 94). The San Luis Valley

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   area of influence had an average poverty rate equal to the social and economic area of
   influence, however, several counties in the San Luis Valley area of influence had particularly
   high poverty rates: Alamosa, Conejos, Costilla, and Saguache all had poverty rates above
   23 percent. Alamosa had the highest rate at 29 percent during this time period (2011-2015).
   These values are 10-16 percentage points higher than Colorado’s average.

   Table 94. Poverty rates, ACS 5 year (2011-2015)
   [Source: U.S. Census Bureau (2016)]

                               People Below   Families Below
                                 Poverty         Poverty
    Colorado                       13%             8%
                 Alamosa           29%             18%
                Archuleta          12%             10%
                 Conejos           24%             21%
                    Costilla       24%             21%
                    Custer         17%             13%
                 Fremont           17%             14%
                Gunnison           17%             9%
                 Hinsdale          8%              3%
                 La Plata          11%             5%
                    Mineral        8%              1%
                Montrose           19%             14%
               Rio Grande          19%             15%
                Saguache           23%             17%
                San Juan           17%             9%
    New Mexico                     21%             16%
                Rio Arriba         24%             17%
                      Taos         24%             17%
    San Luis Valley area
                                   18%             13%
    of influence
    Social and Economic
                                   18%             12%
    area of influence
    United States                  15%             11%


   In short, both the social and economic area of influence and the San Luis Valley area of
   influence have higher-than-average unemployment, lower median and per capita incomes,
   low annual wage earnings, and high poverty levels. These data indicate that both the social
   and economic area of influence as a whole, and the San Luis Valley area of influence, are
   facing greater economic insecurity than both Colorado and the Nation.




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      Earnings
      There are two major sources of personal income: (1) labor earnings or income earned through
      employment and (2) non-labor income (discussed below). Labor Earning’s share of personal
      income decreased from 69 percent in 1970 to 54 percent in 2013 (U.S. Department of
      Commerce 2014 as reported in Assessment 6). Although wages can fluctuate between
      counties and across industries, the average annual wage in the Forest social and economic
      area of influence was below those of Colorado and the Nation in 2015 (U.S. Bureau of Labor
      Statistics 2017a). In 2015, the average annual wage for the social and economic area of
      influence was $30,677, and the average annual wage ranged from $20,594 in San Juan
      County to $42,812 in La Plata County (U.S. Bureau of Labor Statistics 2017a) (Table 95). In
      comparison, in 2015 the United States’ average annual wage was $52,876, Colorado’s was
      $54,518, and New Mexico’s was $41,225 (U.S. Bureau of Labor Statistics 2017a). The San
      Luis Valley area of influence had a similar average annual wage as the social and economic
      area of influence, $30,139 (U.S. Bureau of Labor Statistics 2017a).

      Table 95. Average annual wages, 2015
      [Source: U.S. Bureau of Labor Statistics (2017a)]

                                                            Goods
                                    All Industries                          Services
                                                          Producing
       Colorado                         $54,518            $64,455           $52,625
                     Alamosa            $34,727            $34,907           $34,697
                    Archuleta           $29,482            $31,858           $29,133
                      Conejos           $30,472            $36,230           $28,768
                       Costilla         $29,302            $43,719           $24,185
                        Custer          $30,096            $43,297           $25,262
                      Fremont           $30,392            $46,862           $27,250
                    Gunnison            $33,001            $51,781           $28,588
                     Hinsdale           $26,772            $35,126           $23,313
                      La Plata          $42,812            $55,822           $39,815
                       Mineral          $26,524            $36,171           $25,921
                     Montrose           $34,452            $40,193           $32,717
                  Rio Grande            $33,437            $30,523           $35,185
                    Saguache            $29,739            $29,748           $29,730
                    San Juan            $20,594            $38,137           $18,677
       New Mexico                       $41,225            $52,882           $38,792
                    Rio Arriba          $30,435            $29,884           $30,497
                         Taos           $28,601            $33,782           $28,083
       San Luis Valley area
                                        $30,139            $35,203           $28,828
       of influence
       Social and Economic
                                        $30,677            $38,628           $29,448
       area of influence
       United States                   $52,876             $61,478           $51,050




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   Non-labor income is income received from sources other than an employer. In general there
   are four categories of non-labor income: (1) investment income (dividends, interest, and rent
   payments), age-related transfer payments (Social Security and Medicare), hardship-related
   transfer payments (Medicaid and other medical assistance, income maintenance or “welfare”
   and unemployment compensation), and other transfer payments (Veterans benefits, education
   and training assistance, and all other payments including workers’ compensation). Non-labor
   income’s share of personal income has grown in recent years. In 1970 non-labor income
   accounted for 31 percent of personal income within the original 18-county social and
   economic area of influence (as reported in Assessment 6), and by 2013 non-labor income had
   grown to represent more than 46 percent of personal income (U.S. Department of Commerce
   2014). As discussed above, the population surrounding the Forest is older than the general
   population, and the region’s median age is likely to continue to rise. As the region’s
   baby boomer population grows, age-related transfer payments as a share of income from
   non-labor sources is also likely to rise in the social and economic area of influence.
   Low incomes are due, in part, to the lack of high-paying job availability in the San Luis
   Valley area of influence. Wages in the goods-producing sector are generally higher than in
   the service industry. In the social and economic area of influence, goods-producing
   employing wages are approximately $9,000 higher than in the service industry in 2015 (Table
   95).

   Federal Payments to State and Counties
   Local governments, municipalities and residential members of the community depend upon a
   variety of goods and services from the Forest. Of these, federal payments to counties in the
   social and economic area of influence are among the most vital. These payments can be
    categorized into two types: receipt-sharing and per acre federal land payments. Receipt­
    sharing programs have been administered under the Secure Rural Schools and Community
    Self-Determination Act and the Twenty-Five Percent Fund Act of 1908. In addition to
   receipt-sharing, the Payment in Lieu of Taxes (PILT) program provides payments to counties
   to offset losses in tax revenues due to the presence of tax-exempt federal land in their
   jurisdictions. Receipt-sharing and per acre federal land payments received by social and
   economic area of influence counties can be highly variable. The degree of variation in PILT
    and SRS payments across social and economic area of influence counties is demonstrated in
    Table 96. Payments from the Forest occur almost exclusively to counties in the San Luis
   Valley area of influence.
   Although rural communities in these counties rely on these funds to balance tight budgets,
   the PILT program has reverted back to a discretionary program that is highly susceptible to
   federal funding shortages. These payments represented a large portion of county revenues. In
   FY 2014 they ranged from 1 percent (Alamosa County) to 20 percent (Saguache County) of
   total county revenue (see Assessment 6 for further details). If these funding streams were
   eliminated, it would have widespread economic consequences. On average, 25-percent fund
   estimates for FY 2016 are 87 percent less than SRS payments for the social and economic
   area of influence. This would reduce county income by $1.5 million dollars across the social
   and economic area of influence. If all SRS payments to the social and economic area of
   influence are included, the total loss would be $6.5 million, $2.6 million of which goes to the
   San Luis Valley area of influence counties. Individual county payments are listed in Table 96.


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      Table 96. Federal payments from the Forest
      [Source: U.S. Department of Interior (2016) and USDA Forest Service (2015). Note: 2016 SRS payments were
      not yet available in April 2017.]

                                            SRS Payments
                            Total SRS                           Total PILT      PILT Payments
                                              based on
           County           Payments                            Payments        based on Forest
                                             Forest lands
                              (2015)                              (2016)          lands (2016)
                                                (2015)
       Alamosa               $24,105           $24,105           $193,671            $53,757
       Archuleta             $378,652          $16,211          $1,098,545           $58,131
       Conejos               $423,692          $353,600         $1,109,038          $662,721
       Costilla                $564               $0               $982                $0
       Custer                $121,507             $0             $395,412              $0
       Fremont               $134,608             $0            $1,086,647             $0
       Gunnison             $1,017,121            $0             $592,480              $0
       Hinsdale              $404,884          $131,355          $140,932            $40,983
       La Plata              $210,997             $0             $590,152              $0
       Mineral               $225,542          $168,693          $124,984            $91,310
       Montrose              $341,008             $0            $2,226,663             $0
       Rio Grande            $236,736          $214,023          $783,740           $657,618
       Saguache             $1,295,447         $741,416          $727,251           $328,861
       San Juan              $208,820          $22,361            $79,333            $8,099
       Rio Arriba           $1,790,292            $0            $2,227,564             $0
       Taos                  $585,254             $0            $1,644,099             $0
                    Total   $7,399,229        $1,671,763        $13,021,493        $1,901,480




      Factors of Social and Economic Sustainability in the Forest’s Area of Influence
      National forests are productive assets that contribute to sustaining the persistence of national,
      regional, and local communities. Uses, products, services, and visitor opportunities supported
      by National Forest System lands produce a steady flow of benefits that contribute to the
      robustness and sustainability of local communities. While robustness implies diversity,
      sustainability refers to the community’s capacity to maintain a certain level of function
      within the social, ecological, and economic systems it encompasses.

      What is Social Sustainability?
      Sustainability is a complex idea focused around intergenerational equity. The 2012 Planning
      Rule defines social sustainability as the capability of society to support the network of
      relationships, traditions, culture, and activities that connects people to the land and to one
      another and supports vibrant communities (36 CFR §219.19). Social sustainability can be
      broad and complex and can often not be easily measured and addressed. This is in large part
      due to the differing sustainability desires and values people hold, how they connect to the
      landscape, and how they would like to see the Forest contribute to their definition of vibrant
      communities.



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   The factors of social sustainability can differ amongst individuals; however, generally many
   factors relate to interactions and relationships, culture, leisure, amenities income,
   employment and job satisfaction, affordable housing, and health. One way of examining
   social sustainability is to understand the views and v alues held by individuals or groups and
   how they would like the Forest to contribute to social sustainability. Generally, the value
   people assign to forest resources is the measure used to assess if alternatives will have
   positive or negative impacts to various individuals or groups. There are many definitions of
   value; for this effort, it is assumed that we can understand forest values by understanding
   what is important to people (USDA Forest Service 2003). Brown and Reed (2000) developed
   a list of 13 value typologies of forest values that individuals may hold for any forest resource
   or opportunity (Table 97).

   Table 97. Forest values that people might hold
          Forest Value                           Description of Why People Hold this Value
     Aesthetic              Value the forest because of the scenery, sights, sounds, smells, etc.
     Biological Diversity   Value the forest because it provides a variety of fish, wildlife, plant life, etc.
                            Value the forest because it is a place to practice, and pass down wisdom and
     Cultural
                            knowledge and traditions
                            Value the forest because it provides timber, minerals, oil/gas/coal, and tourism
     Economic
                            opportunities (outfitter/guides)
                            Value the forest because it allows future generations to experience the forest as it is
     Future
                            now.
                            Value the forest because it has places and things of natural and human history that
     Historic
                            are important
     Intrinsic              Value the forest in and of itself, just to know it exists, no use is needed to gain value
                            Value the forest because one can learn about the environment through scientific
     Learning
                            observation or experimentation
     Life sustaining        Value the forest to produce, preserve, clean and renew air, soil and water
     Recreation             Value the forest because it provides a place for outdoor recreation activities
                            Value the forest for sacred, religious, or spiritually special places, and for providing
     Spiritual
                            a feeling of reverence and respect for nature
                            Value the forest because it provides necessary food and supplies to sustain life for
     Subsistence
                            individuals
     Therapeutic            Value the forest for physical and/or mental health


   While the above list of value typologies is not exhaustive, it does provide a glimpse at the
   variety of values individuals or groups may hold toward Forest resources and resource uses.
   All of these are valid values and many of us hold several to all of them. Conflicts
   surrounding forest resources, resource uses, and management commonly stem from how
   individuals/groups prioritize their values—one may prioritize his/her value of recreational
   opportunities over his/her historical value of an area. Additionally, these are broad and
   somewhat simplistic value typologies, and there can be conflicts within a value typology
   such as conflict between people’s values of different recreational opportunities. What people
   value and how they prioritize their values helps to determine what they would like to see the
   Forest contribute to social sustainability and if the values they prioritize exist in the
   surrounding area.


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      What Is So Different About Economic Sustainability?
      It is not how big you grow, but how you grow big that matters when it comes to
      sustainability—which requires reaching a balance between efficiency and resilience: where,
      an economy that lacks efficiency risks being stagnant, while a lack of diversity reduces
      resilience (Goerner et al. 2009). Consequently, putting the concept of economic sustainability
      into practice—or at least being able to earnestly measure progress toward sustainability—
      requires clear distinction differentiating healthy, long-term economic development from the
      sheer numeric growth in outputs (Saisana and Philippas 2012; Ng 2014; Ng 2015).
      Traditional metrics on economic growth such as total output overlook the network structure
      needed to process resources and circulate energy to all parts of the whole, so by relying on
      these measures alone, it is not possible to differentiate a bubble or unstable economy from a
      resilient one (Daly 1997; Goerner et al. 2009). As the 2012 Planning Rule (36 CFR §219.19)
      defines sustainability as the capability to meet the needs of the present generation without
      compromising the ability offuture generations to meet their needs, the concepts of economic
      diversity and efficiency are germane and should be considered in order to describe the
      Forest’s contribution to economic sustainability.

      Indicators for Evaluating Economic Sustainability in The Forest’s Area of
      Influence
      Resilience is related to the concept of diversification in modern portfolio theory. For
      example, an economy or labor force that over-relies on specialization in a single industry (i.e.
      putting all of one's eggs in a single basket) lacks diversity and resilience, thus diminishing its
      ability to recover from periodic disturbances such as economic downturns.
      In similar way, efficiency is related to the ideas of productivity, connectivity, and
      specialization. When economies specialize, total output increases, potentially allowing for
      greater levels of enjoyment and consumption, thereby increasing the standard of living. An
      economy that lacks efficiency and productivity risks being stagnant. The United States has
      been experiencing weak growth in productivity in recent decades (U.S. Bureau of Labor
      Statistics 2017b). This is especially worrisome because productivity growth is a crucial
      determinant of living standard for future generations.
      With the concepts of resilience and efficiency in mind, this section focuses on indicators that
      can provide important insights on economic sustainability in the Forest’s area of influence.
      Measures include labor force forecasts by sectors, indices on economic diversity (Shannon­
      Weaver Index, Creative Employment) (Shannon and Weaver 1949), specialties (Base
      Industries Analysis, County Typology Codes) (USDA Economic Research Service 2017), and
      productivity. Each of these factors, for each county, is listed in Table 98.




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   Table 98. Factors of economic sustainability in the Forest’s area of influence
   [Source: USDA Economic Research Service (2016), Headwater Economics (2015), and IMPLAN (2014)]

                                                                                   GDP per
                                                                     GDP per       Worker       Shannon
                     Market          Economic        Creative
                                                                     Worker        National     -Weaver
      County         Access         Dependence        Class
                                                                   (Thousands    Ranking (out   Diversity
                  Classification     Typology       Employment
                                                                    of 2016 $)     of 3,110      Index
                                                                                  counties)
                                    Government­
    Alamosa          Isolated                          14.6%           93.9          1,582          0.66485
                                     dependent
    Conejos          Isolated      Farm-dependent      11.6%           58.4          3,043          0.60982
    Costilla         Isolated      Farm-dependent      15.2%           59.1          3,035          0.57825
    Hinsdale         Isolated        Recreation        30.1%           52.4          3,105          0.5842
    Mineral          Isolated        Recreation        27.3%           55.5          3,078          0.55051
    Rio Grande       Isolated      Nonspecialized      18.6%           90.3          1,784          0.62859
    Saguache         Isolated      Farm-dependent      15.0%           78.2          2,381          0.58718
    Archuleta        Isolated        Recreation        22.4%           63.7          2,934          0.67737
    Custer           Isolated        Recreation        23.1%           57.7          3,050          0.64795
                                    Government­
    Fremont          Isolated                          19.4%           83.2          2,128          0.67645
                                     dependent
                                      Mining­
    Gunnison       Connected                           28.4%           72.6          2,644          0.67537
                                     dependent
    La Plata       Connected         Recreation        29.9%           98.9          1,316          0.72309
    Montrose       Connected       Nonspecialized      18.9%           80.3          2,284          0.72483
    San Juan,
                     Isolated        Recreation        35.9%           52.9          3,098          0.59056
    CO
    Rio Arriba,
                     Isolated      Nonspecialized      19.5%           78.5          2,366          0.66039
    NM
    Taos, NM         Isolated        Recreation        26.9%           77.4          2,421          0.70712


   Market Access and Connectivity
   While recreation opportunities and natural amenities bring visitors, retirees, and tourism-
   related businesses to rural areas, the remoteness of an area typically presents challenges to
   economic development due to limited availability of transportation infrastructure and access
   to market. Research shows there are three different types of counties in the West, defined by
   their access to major markets and population centers: (1) “Metro”: counties classified by the
   Office of Management and Budget as metropolitan statistical areas, (2) “Connected”:
   non-metro counties with population centers that are within a one-hour drive of the nearest
   major airport with daily passenger service, and (3) “Isolated”: non-metro counties further
   than a one-hour drive from the nearest major airport with daily passenger service (Headwater
   Economics 2015).
   All seven counties within the San Luis Valley area of influence fall entirely in the “isolated”
   category. When other counties within the broader economic zone of influence are considered,
   all are “isolated” with the exceptions of Gunnison, La Plata, and Montrose Counties, which
   are in the “connected” category.


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      Communities within these isolated counties are not necessarily destined to slow growth or
      economic woes; nevertheless, they are less likely to share the same magnitudes and pace in
      terms of growth, compared with those experienced along the Front Range, for instance.

      County-Level Economic Dependence Typology
      County-level typology codes, as developed by the USDA Economic Research Service (ERS),
      classify all U.S. counties according to six mutually exclusive categories of economic
      dependence. The economic dependence types include farming, mining, manufacturing,
      Federal and State government, recreation, and nonspecialized counties. The ERS
      classification criteria are as followed:
      •   Farming dependence was based on two thresholds—farm earnings accounting for an
          annual average of 25 percent or more of total county earnings, or farm employment
          accounting for 16 percent or more of total employment.
      •   Mining dependence was based on the mining industry accounting for an annual average
          of 13 percent or more of total county earnings or 8 percent or more of total county
          employment.
      •   Manufacturing dependence was based on the manufacturing industry accounting for an
          annual average of 23 percent or more of total earnings or 16 percent or more of total
          employment.
      •   Federal and State government dependence was also based on Federal and State
          governments accounting for an annual average of 14 percent or more of total county
          earnings or 9 percent or more of total employment.
      •   Recreation counties were computed using three data sources: Percentage of wage and
          salary employment in entertainment and recreation, accommodations, eating and drinking
          places, and real estate as a percentage of all employment reported by the Bureau of
          Economic Analysis; Percentage of total personal income reported for these same
          categories by the Bureau of Economic Analysis; and Percentage of vacant housing units
          intended for seasonal or occasional use as reported in the 2010 Census.
      •   Nonspecialized counties were counties that did not qualify for either the farming, mining,
          manufacturing, Federal/State government, or recreation county types.
      Across the San Luis Valley area of influence, Conejos, Costilla, and Saguache are considered
      farm-dependent counties and Hinsdale and Mineral are considered recreation counties;
      Alamosa County is Federal/State government-dependent and Rio Grande County is
      nonspecialized. The rest of the counties within the broader economic area are either
      recreation-dependent or nonspecialized, with the exceptions of Gunnison (mining-dependent)
      and Fremont (government-dependent). None of the counties belong in the manufacturing­
      dependent category.




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   Creative Class Employment
   The creative class thesis—that towns need to attract engineers, architects, artists, and people
   in other creative occupations to compete in today's economy—may be particularly relevant to
   rural communities, which tend to lose much of their talent when young adults leave. The
   USDA ERS creative class codes indicate a county's share of population employed in
   occupations that require "thinking creatively." Variables used to construct the ERS creative
   class measure include number and percentage of people employed in creative class
   occupations. Occupation titles belonging to the creative class represent skill element defined
   as: developing, designing, or creating new applications, ideas, relationships, systems, or
   products, including artistic contributions. These job titles range from advertising, marketing,
   promotions, public relations, and sales managers; architects, surveyors, and cartographers; to
   artists, entertainers, performers, sports, and media-related workers (USDA Economic
   Research Service 2017).
   About 19 percent of all employments within the San Luis Valley area of influence belong in
   the creative class, with Hinsdale County (30 percent) in the lead. The share of employments
   in the creative class is 22 percent when counties within the broader economic zone of
   influence are considered, with San Juan County, Colorado, at the top (40 percent). The
   national and state (Colorado) averages are about 18 percent and 23 percent, respectively.

   Measures of Productivity
   While Gross Domestic Product (GDP) measures economic output at a point in time, GDP per
   worker is a measure of productivity. Computed from data obtained from the U.S. Bureau of
   Economic Analysis (BEA) and Indiana Business Research Center GDP-county-complete
   estimates, GDP per worker and rankings (out of 3,110 counties) are presented for counties
   within the San Luis Valley and broader economic areas (Indiana Business Research Center
   2016). With $93,900 per worker, Alamosa County has the highest GDP per worker value,
   which is close to the national average of $94,400. Costilla, Conejos, Mineral, and Hinsdale
   Counties are all well below national average. Out of 3,110 counties in the United States,
   Hinsdale ranked 3,105 in 2016.
   While sustainability requires reaching a balance between efficiency and resilience, and
   efficiency is related to the ideas of productivity, connectivity, as well as specialization, local
   economies that lack efficiency and productivity risk being stagnant. Low productivity
   rankings across the San Luis Valley area are source of concern because productivity growth
   is a crucial determinant of living standard for future generations.

   Economic Diversity
   An economic diversity index based on the Shannon-Weaver entropy function (Shannon and
   Weaver 1949) is calculated for counties within the San Luis Valley and the broader economic
   zone of influence using 2014 IMPLAN data (Table 98). The entropy method, such as the
   Shannon-Weaver Diversity Index, measures the diversity of a region against a uniform
   distribution of employment, where a measure of the extent to which the employment of a
   region is distributed among its industries. It ranges from 0 (perfect inequality or no diversity)
   to 1 (perfect equality or diversity).



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      In other words, because the Shannon-Weaver Diversity Index accounts for both numbers of
      industries and the spread of employment across them (Attaran 1986), it is a valuable
      indicator that can provide insights into the economic sustainability of an area.
      The Shannon-Weaver Diversity Index for the State of Colorado is 0.75766. Counties within
      the broader economic zone of influence are more economically diverse as compared with
      those within the San Luis Valley area. Mineral, Costilla, Hinsdale, and Saguache Counties
      have the lowest economic diversity (index ranged from 0.55 to 0.58) across 17 counties
      within the broader economic zone of influence.
      These indices should be viewed in context with the other indicators presented in this analysis,
      such as the labor base industries analysis and county typology codes. Because this index does
      not account for the fact that many of the industries in a region may be closely related, it
      would therefore provide little protection were one of the other closely related industries to
      suffer a major decline. The city of Detroit is a well-known example, where the surrounding
      area has a relatively high Shannon-Weaver index—indicating economic diversity. But the
      high interdependence of the majority of the industries is due to just one economic
      behemoth—the automobile industry. Indeed, employment may be shared across a variety of
      industries, but they are all closely tied to just one, struggling industry. The lesson to be
      learned from this example is that the Shannon-Weaver index is of great value and utility, but
      it should be viewed along with other information such as base industries analysis.

      Employment by Industry
      Since economic diversity generally promotes stability and offers greater employment
      opportunities, assessing employment by sector helps identify industries that are important to
      the local economy surrounding the Forest. Local employment in aggregated sectors as a share
      of total employment is shown in Figure 19 (IMPLAN 2014). In 2014 the government
      (17 percent), health and social services (10.3 percent), and retail trade (10.2 percent) sectors
      were the largest employers within the 18-county social and economic area of influence. Since
      2012, health and social services has overtaken retail trade as the number 2 industry sector.




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   Source: IMPLAN (2014).

   Figure 19. Employment by industry, all counties, 2014

   Unlike the social and economic area of influence, the San Luis Valley area of influence’s
   largest sectors are government (18 percent), agriculture (17 percent), health and social
   services (10.2 percent), and retail trade (9 percent). Employment specialization is of
   particular interest when it occurs in sectors related to forest management. A portion of
   employment in the sectors shown in Figure 20 can be attributed to forest management, timber
   production, grazing, and recreation on the Forest. Sectors related to timber include forestry
   and logging (IMPLAN sectors 15, 16, 19, 335), primary forest products manufacturing
   (IMPLAN sectors 31, 95, 96, 98, 105), and secondary forest products manufacturing
   (IMPLAN sectors (97, 99, 100, 102, 106, 107, 108, 109, 110, 111, 112, 295, 297, 301, 302).
   Sectors related to grazing include cattle ranching and farming (IMPLAN sectors 11) and
   animal production, except cattle and poultry and eggs (IMPLAN sectors 14). The
   government sector includes all federal, state, and local employment, while a portion of
   employment in the accommodations and food services, arts, entertainment and recreation,
   retail trade, and passenger transportation sectors is specifically attributed to tourism and
   recreation (Marcouiller and Xia 2008 as reported in Assessment 6). Relative to the states of
   Colorado and New Mexico, the economic area of influence is specialized in all sectors
   related to forest management apart from primary and secondary forest products
   manufacturing.




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                                                 Retail trade, 9.4%
      Source: IMPLAN (2014).

      Figure 20. Employment by industry, San Luis Valley area of influence, 2014

      A portion, but not all, of employment shown in Figure 19 and Figure 20 can be directly or
      indirectly attributed to the Forest; employment contributions provided by the Forest are
      discussed in detail in the Forest Contributions to Social and Economic Sustainability section.
      While the local economy surrounding the Forest contains many counties with lower-paying
      service jobs, the unique natural and cultural amenities of the Forest may provide additional
      benefits to individuals that help offset these low wages. Living in close proximity to the
      Forest provides residents with greater access to open spaces, wildlands, and a wide range of
      recreational opportunities. While local residents may forego higher-paying jobs in areas with
      fewer natural amenities, they gain personal enjoyment from the outdoor experiences they
      have on the Forest. Natural amenities, often provided by public lands, have been found to
      influence population and employment changes in amenity-rich communities (Knapp and
      Graves 1989, Clark and Hunter 1992, Treyz et al. 1993, Mueser and Graves 1995,
      McGranahan 1999, Lewis et al. 2002). As a steward of Colorado’s unique natural and
      cultural amenities, the Forest increases the attractiveness of local communities and increases
      regional well-being (as reported in Assessment 6).




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   Economic Base Analysis
   An economic base analysis provides detailed information on local economic industries,
   which industries are the driving force of the economy, and which industries survive because
   the base industry exists. Base industries are important because they bring outside dollars to
   an economy, much like an export, and serve as an anchor for other industries, which would
   otherwise not exist. For example, agricultural products grown in the region are sold to firms
   outside of the local area, or dollars spent by tourists from other regions are spent in the local
   community. Additionally, a base industry is any income received by local residents from
   outside the local area, such as social security payments or retiree pensions.
   The economic base analysis conducted by the Colorado Demographers Office has been
   defined as follows (Colorado Department of Local Affairs 2011). First, there is the Direct
   Basic economy; as discussed above, this is the driver of growth, the industry that exports its
   goods or services outside the local economy and brings in outside dollars. Second is Indirect
   Basic Employment; this is the spending Direct Basic employment dollars on local services
   and supplies that operate the Direct Basic business. For example, a rancher may buy feed
   from a local supply store. The local supply store would not exist if it weren’t for the base
   industry, agriculture. The third way base industries generate employment is through Local
   Residential Services Employment. Basic Industries and their employees will use their
   earnings to pay taxes for police, educators, and other public services; they will also use
   earnings to pay for medical services, buy groceries, and fuel their cars (Colorado Department
   of Local Affairs 2011).
   •     Direct Basic Industry Sectors: Agriculture, manufacturing, mining, construction,
         government, regional services, tourism, and retiree income. Regional services are
         industries that may provide Direct Basic services/goods to outside consumers, and
         services and employment to local residents. For example, telephone services. Outside
         dollars may be used to maintain telephone services to nonlocal residents and to employ
         local residents, and would also be used to support Direct Basic industries.
   •     Indirect Basic Industry Sectors: Local stores, services, goods, labor, etc. that are
         needed to support the Direct Basic Industry.
   •     Local Residential Services: Services paid for by earnings, taxes, rents, etc. of Basic
         Industries and their employees.
   The percentage of total employment in Direct Basic, Indirect Basic, and Local Services
   industries for the San Luis Valley area of influence is provided in Figure 21. With the
   exception of Alamosa County, employment is heavily concentrated in the Direct Basic
   economy.




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                                  34%             1%           - 6%                      - 13%           - 13%          1%
             100%
                                          8%                                                                     7%


               80%

       c
       (U
               60%
       _o
        Q.
        E                                                                                                        92%
       LU                                91%
       ro      40%
       o
       I­

       c       20%
       (U
       IX
                0%
                        Alamosa         Conejos         Costilla      Hinsdale     Mineral     Rio Grande    Saguache


              -20%
                                  ■ Direct Basic       ■ Indirect Basic      Local Residental Services

            Source: Colorado Department of Local Affairs (2017b).
            Note: Negative value associated with Local Residential Services Hinsdale is the result of local residential services being
              purchased primarily outside of the county.

      Figure 21. Base economy, 2014

      A visual representation of San Luis Valley area of influence Direct Basic Industries is
      provided in Figure 22. Additionally, information on base industries by county is provided in
      Table 99. Understanding what the base industries of an economy are, their current and future
      prospects, and for forest planning, how these industries might be impacted by Forest projects
      and activities, will contribute toward a developed understanding of the local economy.
      Agriculture, retiree income, and tourism are the top three Direct Basic Sectors in the San
      Luis Valley area of influence (Figure 22). These top three industries are unsurprising because
      the agricultural and tourism industries (accommodation, food services, and retail trade) are
      some of the largest employers in the San Luis Valley area of influence. Additionally, the San
      Luis Valley is considerably older than both Colorado and the United States, and reliance on
      pension and social security transfer payments is expected.
      Retirement income as a base industry will have significant long-term implications on the San
      Luis Valley area of influence. As retirees and their income (particularly baby boomers),
      become a larger, and then smaller portion of Direct Basic Employment, it will have a large
      impact on Indirect and Local Residential Services, particularly, health care, residential
      services, and local government activities and services supported by their taxable income.
      Tourism is also a large Direct Basic employer in the San Luis Valley area of influence. As
      such, Forest management directions that would reduce access or visitation opportunities
      would have a large Direct and Indirect impact on local community’s employment
      opportunities.




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          100%     Other Employment,
                                                                            Manufacturing, 1%
                          5%                                                      Mining, 1%
             90%
                     Other HH
                   Employment, 6%                                              Commuters, 3%
             80%

             70%

             60%

             50%

             40%

             30%

             20%

                                                 Agriculture, 26%
             10%

             0%

                                               SLV Study Area

     Source: Colorado Department of Local Affairs (2017b).

   Figure 22. Direct basic industries, 2014


   Table 99. Direct basic industries, 2014
   [Reported as the percentage of Direct Basic employment. Source: Colorado Department of Local Affairs (2017b)]

                                                                                                  Rio
                          Alamosa        Conejos        Costilla    Hinsdale      Mineral                Saguache
                                                                                                Grande
    Agriculture              18%           30%               37%      5%            5%           40%       46%
    Mining                   0%             1%               0%       3%            1%           0%        0%
    Manufacturing            1%             1%               1%       0%            0%           1%        1%
    Government              24%             3%               2%       3%            2%           7%        3%
    Regional
                             32%           10%               8%       10%           3%           12%       5%
    Services
    Tourism                  14%            8%               3%       33%           68%          8%        5%
    Commuters               -10%           20%               10%      0%           -14%          2%        11%
    Other
    Household                4%             8%               11%      6%            3%           6%        6%
    Employment
    Retiree Income           13%           17%               24%      31%           25%          19%       20%
    Other
                             3%             3%               4%       10%           7%           4%        4%
    Employment




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      Civilian Labor Force Projection
      On account of both falling fertility rates and modest increases in net international migration,
      the U.S. population will be slower growing, older, and more diverse over the next four
      decades (Colby and Ortman 2014). In addition to the overall population trends, it is also
      useful to examine the future labor force across the San Luis Valley area of influence,
      especially tourism-related employment demand. This information is particularly valuable for
      rural and recreation-dependent counties with a declining population. The projected civilian
      labor force for total labor demand, including a breakdown for those employments related to
      the tourism industry, through 2040 is presented in Table 100. This labor force projection by
      The Colorado Demographer’s Office took into accounts of county-level population growth,
      multiple job holding rates, commuting, unemployment, and labor force participation.
      (Colorado Department of Local Affairs 2017c).

      Table 100. Civilian labor force projection - total and tourism-related demand
      breakdown, 2015-2040
      [Source: Colorado Department of Local Affairs (2017c)]

                    County                 2015        2020        2025        2030        2035         2040
       Alamosa (Total civilian labor
                                          9,902        10,539      11,052      11,566      11,965      12,341
       demand)
                  Tourism-related jobs     836          862         829         831         840         865
             Share (%) of tourism jobs      8%          8%          7%          7%          7%          7%
       Conejos                            2,537        2,670       2,730       2,740       2,750       2,754
                  Tourism-related jobs     176          181         171         168         167         169
             Share (%) of tourism jobs      7%          7%          6%          6%          6%          6%
       Costilla                            1,290       1,323       1,330       1,303       1,276       1,249
                  Tourism-related jobs      37           39          38          39          41          43
             Share (%) of tourism jobs      3%          3%          3%          3%          3%          3%
       Hinsdale                            410          435         456         486         522         572
                  Tourism-related jobs     122          131         131         134         136         141
             Share (%) of tourism jobs     30%          30%         29%         27%         26%         25%
       Mineral                             693          829         825         823         794         783
                  Tourism-related jobs     384          400         388         380         374         374
             Share (%) of tourism jobs     55%          48%        47%          46%         47%         48%
       Rio Grande                         5,329        5,413       5,381       5,344       5,320       5,294
                  Tourism-related jobs     348          341         310         296         288         290
             Share (%) of tourism jobs      7%          6%          6%          6%          5%          5%
       Saguache                           2,733        2,873       2,912       2,881       2,851       2,824
                  Tourism-related jobs     131          137         131         130         131         135
             Share (%) of tourism jobs      5%          5%          5%          5%          5%          5%
                                 Total    22,894       24,081     24,685       25,142      25,477      25,815
                  Tourism component       2,035        2,090       1,998       1,978       1,976       2,017
                      Share of tourism      9%          9%          8%          8%          8%          8%




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   Hinsdale and Mineral are recreation-dependent counties (see County-Level Economic
   Dependence Typology section) and are expected to remain so in the foreseeable fUture. It is
   worth noting that the shares (percentage) of tourism labor demand are expected to decrease
   5-10 percent for both counties, but for different reasons. For Hinsdale County, both tourism
   and total civilian employment demands are projected to increase, but that increase is
   projected to be greater for the overall civilian employment demand; for Mineral County, both
   tourism and total civilian employment demands are projected to decrease (after 2020), but the
   decline is projected to be greater for tourism-related jobs.
   More specifically, the total labor demand for Hinsdale County is projected to grow at an
   average rate of 1 percent over the next three decades, but job growth related to the tourism
   industry will remain flat. For Mineral County, total labor demand is projected to increase for
   the next few years before dipping minimally after 2020, with a relatively stable demand for
   tourism-related jobs. Across the San Luis Valley area, total labor demand is projected to
   increase at an annual rate of about 1 percent until around 2020, before stabilizing at an
   annual growth rate of less than 0.3 percent; while the demand for tourism-related jobs is not
   projected to change distinctively.
   No one single indicator should be perceived as an adequate measure of economic
   sustainability; therefore, none of the above measures should be used in isolation to claim a
   county’s overall economic health. Thoughtful discussion and examination of these indicators,
   however, can provide important contexts for the evaluation of the different potential
   contributions toward economic sustainability from each alternative. For an inclusive
   summary for each county within the San Luis Valley area of influence, see the County-Level
   Summaries on Social and Economic Sustainability and Plan Area Contributions section.

   Forest Contributions to Social and Economic Sustainability
   Management of the plan area contributes to social and economic sustainability in the area(s)
   of influence and the broader landscape primarily through the provision of (1) multiple uses,
   (2) ecosystem services, (3) infrastructure, and (4) Forest Service presence in the community
   (fSH 1909.12, ch. 20, sec. 23.21 and FSH 1909.12, ch. 10, sec. 13). The conditions and
   trends of these major contributions are described below.

   Multiple Uses and Ecosystem Services
   Multiple uses and ecosystem services are two of the major contributions to social and
   economic sustainability of the Forest in the broader landscape. While ecosystem services are
   components of nature that contribute to human well-being, and multiple uses include outdoor
   recreation, range, timber, watershed, wildlife, and fish, these contributions are closely
   intertwined and best described in an integrated manner.
   The concept of ecosystem service intends to bring explicit awareness and recognition of the
   various ways that humans benefit from and depend on the natural world. This dependency
   extends from essential support for life (oxygen, water, and food) to security (e.g., natural
   regulation of insects, disease, and fire regime) and quality of life (scenic beauty and other
   cultural services such as outdoor recreation and spiritual values). Understandably, all biotic
   recourses in existence are important and contribute to human well-being directly or
   indirectly. In order to have a more operationally focused way of defining, classifying, and
   measuring ecosystem services, the concept of Final Ecosystem Goods and Services was

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      developed. Final Ecosystem Goods and Services are the components of nature, directly
      enjoyed, consumed, or used to yield human well-being (Boyd and Banzhaf 2007). This
      analysis draws partly on this concept as it facilitates a more explicit discussion on the
      relationship between landscape, resources, and beneficiaries—people who obtain benefits
      from nature (Ng and Miller 2014).
      When considering ecosystem services in forest plans, it is Forest Service policy to identify
      and consider a set of key ecosystem services provided by the plan area, rather than trying to
      identify and evaluate information about all ecosystem services that may be present in the plan
      area (FSH 1909.12, ch. 10, sec. 13.12). In the effort to better focus and highlight
      contributions of national forest management, key ecosystem services are defined as those
      services that are important in the area(s) of influence or the broader landscape and, are likely
      to be influenced by the land management plan.
      A set of key ecosystem services to be considered in this analysis was identified in
      Assessment 7 - Ecosystem Services. The conditions and trends of these services—along with
      components of multiple uses—are described here with special emphasis on the various ways
      they contribute to people, communities, and ultimately social and economic sustainability.

      Forage for Grazing
      Today, agriculture continues to play an important economic and social role; area residents
      identify with the tradition, land-use, and history. The number of cattle and sheep operations
      decreased across Colorado from 2007 to 2012 (from 14,685 to 13,970 cattle operations and
      from 1,600 to 1,509 sheep operations). The most recent USDA Census of Agriculture reports
      that Montrose and Conejos Counties were Colorado’s 10th and 24th largest cattle producers,
      containing 2.1 and 1.0 percent of the total state cattle inventory (USDA 2012).
      The social and economic area of influence counties in Colorado accounted for 8 percent of
      the state’s 2012 total cattle inventory and 9 percent of the state’s sheep inventory. Counties in
      New Mexico accounted for 2 percent of the state’s 2012 total cattle inventory and 3 percent
      of the state’s sheep inventory (USDA 2012). It is estimated that 31 percent (581,556 acres) of
      the Forest is suitable for grazing and would support a maximum of 143,077 animal unit
      months.
      In 2016, 126 permittees grazed on Forest lands in seven counties (Archuleta, Conejos,
      Hinsdale, Mineral, Rio Grande, Saguache, and San Juan). The number of animal unit months
      grazed totaled 75,684 cattle and 8,238 sheep.
      See the grazing specialist report for more details on historical trends and data.

      Mineral Activities
      Mining has played an important role in the area’s history and early economic growth (see
      Assessment 13 - Cultural and Historic Resources and the specialist report for details) and the
      Forest does provides a variety of mineral uses (discussed in Assessment 10 - Energy,
      Minerals, and Geologic Hazards (USDA Forest Service 2016)). These uses include locatable
      mineral operations (silver or gold mining), salable mineral material (providing stone, gravel,
      and other material to the public with a permit), and leasable minerals (such as oil and gas). In
      addition, recreational mineral collection (panning, dredging, and sluice-box and metal
      detector use) occurs on the Forest. However, none of these mineral operations have been

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   occurring on a large scale in recent history. The only exception is the Bulldog silver mine
   based out of Creede, Colorado, in Mineral County. This mine is situated on both private and
   Forest lands. Preliminary steps were taken for drilling and exploration during 2011-2013;
   however, the mine is currently not in operation and future mining would depend on a number
   of external factors, such as the market price of silver. Thirty-seven million ounces of
   resources have been confirmed to exist in the mine, and new targets suggest that in excess of
   100 million ounces of resources may exist (Hecla 2017 and Rio Grande Mineral Specialist P.
   Moran, personal communication, 2017).
   The Forest currently does not contribute to employment and income in the social and
   economic area of influence through mineral extraction. However, if silver mining were to
   resume in Mineral County, it would contribute to employment and income in the San Luis
   Valley area of influence. Additionally, if oil and gas production on Forest lands became
   economically viable, then these activities would support employment and income in the area.
   A brief explanation of locatable, salable, and leasable minerals on the Forest and their
   economic impacts is provided below.
   Locatable Minerals: The only recently occurring commercial mining operation on the
   Forest is silver mining, which was taking place in Creede, Colorado, in Mineral County, as
   discussed previously. The Forest does not have any active coal mines within its boundaries,
   nor are there any known coal prospects on the Forest.
   Salable Minerals: Contributions to sustainability from mineral uses on the Forest do occur.
   Salable mineral material is important to residents collecting material for personal use and
   also provides material for county and state road projects (stone and gravel is commonly used
   for road resurfacing projects). In addition, recreational mining and mining history attract
   visitors to the area.
   Leasable Minerals: The only known leasable minerals on the Forest are oil and gas. While
   development potential has been evaluated and does exist, there is currently no leasable
   activity. For more discussion on this topic, see the Renewable and Nonrenewable Energy and
   Minerals section.

   Outdoor Recreation, Tourism, Landscapes, and Features Providing Recreation
   and Scenery
   The Forest has diverse recreational opportunities ranging from nonmotorized activities such
   as hiking, fishing, snowshoeing, and skiing to motorized activities such as dirt biking, four-
   wheeling, and snowmobiling. Forest lands include a variety of developed recreation sites,
   many areas for dispersed recreation, recreation rentals, seven of Colorado’s “fourteeners,”
   and several other unique recreation areas. For a complete description of recreation resources,
   tourism, and scenery on the Forest, see the appropriate sections of this analysis.
   More than half the visits to national forests or grasslands nationwide are made by people who
   live within 50 miles, and two-thirds of visits to National Forest System lands are made by
   those who travel fewer than 100 miles (English et al. 2015). Given these facts, it is likely that
   as nearby populations increase, so too will local visits to National Forest System lands.
   People living near National Forest System lands (within a 50-mile radius) have access to
   numerous benefits from these lands, including substantial recreational opportunities, and are
   the Forest Service’s primary recreation customers. Indeed, people living within an hour’s

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      drive, or about 50 miles, of national forests and grasslands generally receive the greatest
      benefits from the ecosystem services and economic activity generated by those lands. About
      15 percent of all visits are made by people who are frequent visitors; i.e., they report visiting
      a national forest at least 50 times per year, or roughly once per week. About 90 percent of
      frequent visitors to national forests live within 50 miles of the forest they visit; the most avid
      recreation users generally live in the zone closest to the forest (USDA Forest Service 2015,
      English et al. 2015).
      More than 68 percent of Forest visitors in 2015 reported travelling from more than 100 miles
      away, and almost 37 percent of visitors traveled more than 500 miles. In contrast, slightly
      more than 25 percent of visitors originated from the local area within 50 miles of the Forest.
      Most visitors (70 percent) reported coming to the Forest from one to five times per year.
      More than 15 percent of respondents said that they visit from 6 to 20 times per year, and a
      small subset of 5 percent of visitors reported frequenting the Forest from 51 to 100 times
      annually.
      The Forest is not considered to be an urban forest, with less than a million people within a
      50-mile radius of the Forest boundary. The expected increase in annual local recreational
      visits from 2010 to 2020, based on constant population growth and local visitation rates, is
      less than 25,000 visits (English et al. 2015). National visitor use monitoring results from
      2015 highlight little crowding reported from survey respondents (USDA Forest Service
      2015).
      Jobs supported by National Forest System lands are typically in small, rural communities and
      are therefore an important contribution to economic and social sustainability. Nonlocal
      recreation/tourism visitors bring new money into the local economy with their spending
      activity. Local recreationists spend money that is already counted in the economic statistics
      for the area. Within the Forest, the economic contribution by local recreation activity
      supports about 34 jobs annually, and recreation/tourism by nonlocal visitors supports an
      additional 515 total jobs annually. The labor income associated with these jobs is estimated at
      about $0.9 million annually for local recreation activity, and about $13.5 million annually for
      nonlocal visitor recreation/tourism activity.
      One tool used by the Forest to encourage commercial tourism activity on National Forest
      System lands is the recreation special uses permit program. This program includes permits
      for noncommercial and commercial events, activities, and privately owned improvements on
      National Forest System lands. The Sustainable Recreation section includes a complete
      analysis of recreation special use permits. Special use permits can be authorized for
      temporary or long-term periods. Short-term events include recreation competitions and other
      commercial recreation gatherings that are temporary in nature. Long-term Forest permits
      include Wolf Creek Ski Area, outfitters and guides, and concessions. These types of
      commercial operations assist people who may not have the skills or abilities to engage in
      activities on their national forests, through hiring a guide or participating in an organized
      event or trip, allowing them access and enjoyment.
      At this time, there are 32 outfitter and guide permits providing a variety of commercial
      services on the Forest (internal Forest Service INFRA, report, accessed April 3, 2017). The
      Forest is currently experiencing increased requests for outfitter and guide and recreation
      event permits. To manage this demand, forest plan direction included in all action alternatives


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   indicates that outfitter-guide special use permits would be issued based on available capacity
   within each special use authority. This increase in commercial activity highlights an increase
   in people interested in hiring guides or participating in organized activities and events, a
   trend likely to increase the number of jobs and amount of income contributed by the Forest to
   the local area. It is also a trend that may increase the competition of recreation opportunities
   between local users/noncommercial users and outfitter guides/commercial users. Crowding is
   not currently an issue, but if commercial uses continue to increase, crowding in popular areas
   may increase and need additional management.
   Several general trends in the way people are recreating, and in demographic changes in the
   population, may be reflected in the local populations surrounding the Forest and may alter
   the current visitation patterns in the future.
   The changes in demographics include an overall aging population, especially an increase in
   retirees. This may be reflected in both an increase in retirees living or relocating to the
   counties around the Forest, as well as more retirees traveling to recreate on the Forest.
   Trends in the way people recreate or choose to use their leisure time include an increase in
   family use, including multi-generational families traveling together looking for a mix of
   activities to engage in during their vacation. The “staycation” remains a popular trend as
   people want to vacation close to home (within 50 miles) and find a place to relax. People,
   especially the “millennials,” are not planning vacations in advance, but at the last minute to
   leave for a getaway. People are also looking for pet-friendly locations, as about two-thirds of
   U.S. adults have at least one pet that they wish to bring with them.
   These types of trends may bring people who have not explored the Forest as a place to
   vacation or visit for trips that meet these needs—a place to go with little planning, a place
   that is pet friendly, and/or a place that allows larger groups and offers a variety of activities.
   Some commercial operations (outfitters/guides) may be able to take advantage of these new
   users and provide access to the Forest using a guide service that meets these needs.
   Locally, communities around the Forest are concerned about trends in recent large wildland
   fires. Active fire seasons are seen as being detrimental to the recreation/tourism economy of
   the local communities. The impact of ongoing large fires can be difficult to recover from for
   small businesses. Many small businesses are also dependent on hunting season and these
   businesses are concerned about the downward trends in hunting participation by the younger
   generation. These concerns will continue to impact business and forest management into the
   future.

   Cultural, History, and Sacred Sites
   Beneficiaries of the Forest enjoy a high level of opportunity to express traditional, cultural,
   and spiritual values. The Forest provides these opportunities by employing a multiple use
   management strategy that allows for harvest of vigas and latillas, and fuelwood, livestock
   grazing, outdoor recreation, scenery, fishing, hunting, wildlife viewing, inspiration (spiritual
   and existence values), solitude, access to traditional sacred sites, and cultural/heritage values.
   The Forest has been the site of cultural traditions for thousands of years, and its landscapes
   serve as a reminder of traditions shared across generations. Contemporary uses of resources
   and places are critical to maintaining the cultural identity of the San Luis Valley
   communities. Given the broad range of uses, it is not surprising that forest beneficiaries

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      commonly hold conflicting values and understandings of how the Forest should be managed.
      While nearly half of Americans believe more public lands should be designated as
      wilderness, the remainder believe the current amount of wilderness is either sufficient or too
      much (Scott et al. 2003). While some people enjoy motorized recreation opportunities, others
      value more primitive forest experiences, while others may feel there are areas on the Forest
      that should be set aside for traditional uses and celebrations (sacred sites).
      In the following section, the benefits the Forest provides to local beneficiaries and the
      general public in terms of opportunities to express traditional, cultural, and spiritual values
      are discussed. For more detailed information on traditional, cultural, and spiritual values,
      please see the Cultural Resources, Sustainable Recreation, and Wilderness sections.
      The Forest contains many historic and cultural sites that are valued by local communities,
      tribes, and the general public. The Forest is generally perceived as an important part of the
      culture and heritage of San Luis Valley communities and attributed with protecting a number
      of sites of cultural and historic importance. Many stakeholders believe that management of
      these sites by the Forest Service increases public awareness of and access to opportunities to
      learn and interpret their cultural and historic significance. By preserving and facilitating the
      interpretation of these resources, the Forest provides cultural legacy and heritage values and
      ensures that these values will be passed on to present and future generations. The existence of
      these sites, as well as the ability to access these sites, increases the quality of life of those of
      who value them.
      In addition to specific cultural sites, ecosystem integrity also contributes to the sustainability
      of tribal belief systems. These belief systems, including traditional ecological knowledge, are
      inextricably linked to ecosystem health and resilience (Climate and Traditional Knowledges
      Workgroup 2014).
      A piece of the outdoor recreation/tourism economic contribution to the local economy can be
      found in the “heritage and cultural tourism” component of economic activity. The National
      Trust for Historic Preservation in the United States defines heritage tourism as "traveling to
      experience the places, artifacts, and activities that authentically represent the stories and
      people of the past," and "heritage tourism can include cultural, historic, and natural
      resources."
      The industry today encompasses cultural and heritage specialists, who are an important
      resource for the travel and tourism industry in providing visitors with accurate and insightful
      interpretation of local resources. Communities, cultural and heritage organizations—such as
      museums, performing arts organizations, festivals, humanities, and historic preservation
      groups—have formed partnerships with tour operators, state travel offices, convention and
      visitors bureaus, hotels, and others to create initiatives that bring visitors to areas.
      An integral but generally invisible component of the cultural and heritage sector are the
      artists, performers, writers, and other creative workers whose skills and vision bring to life
      the local area’s genius and ideas. These living traditions are generally supported by the
      cultural and heritage tourism infrastructure of institutions, galleries, performance spaces, and
      other community venues that make an important contribution to economic and community
      development. The arts, humanities, and heritage involve and benefit local residents in
      developing the narrative that creates a sense of place, which the travel and tourism industry
      can promote, market, and brand. Cultural and heritage tourism also provides a means of

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   preserving and perpetuating the local area’s cultural heritage through education, increased
   revenues and audiences, and good stewardship (Department of Commerce et al. 2005).
   For more details on the cultural and historic uses, see the Cult-ural Resources section.

   Solitude, Spirituality, and Sense of Escape
   The opportunity to experience solitude or a spiritual connection to nature is another benefit
   the Forest provides. These inspirational benefits enhance the quality of life of those who hold
   these values. Both local community members and the general public enjoy these benefits.
   People can be inspired by, and connect with, nature in all recreation opportunity spectrum
   classes (see the Sustainable Recreation section for a description of recreation opportunity
   spectrum). For some user groups, such as backpackers and backcountry skiers, primitive and
   semiprimitive nonmotorized settings provide the most inspirational opportunities associated
   with solitude. For motorized and mechanized recreation users, roaded natural and rural
   settings provide the most inspiration or opportunities to connect with nature through various
   activities such as snowmobiling, downhill skiing, and camping in developed campgrounds.
   For others, simply knowing that wild lands (such as wilderness), wildlife (such as black bear
   and lynx), and wild, scenic, and recreational rivers exist in the Forest is a benefit, even if they
   never plan to visit. Native American tribes in the region hold particularly strong existence
   values around Blanca Peak. The existence of these lands and species, in and of themselves,
   serves as an inspiration, and enhances their quality of life (Watson et. al. 2015). For others,
   opportunities to experience solitude, particularly in wilderness areas, is seen as a benefit
   (McKenna et al. 2015). For some, they may come to the area and not actually visit the forest,
   but still search for solitude and an experience of inspiration, as seen from the many retreat
   centers in and around Crestone, which abuts the Forest.
   Enterprises such as outfitters and guides, retreat/meditation centers, and other types of
   commercial enterprises take advantage of the unique character, including solitude, on the
   Forest and are marketing their specific trip or experience to those people who value solitude
   and/or spirituality.
   For more details on specific areas where visitors may experience inspiration through solitude
   or spiritual connection to nature on the Forest, please see the Sustainable Recreation,
   Wilderness, and Wild, Scenic, and Recreational Rivers sections. For more details on species,
   see the Wildlife and Plant Species section.

   Timber (Including Non-Timber Forest Products)
   Timber harvests, including salvage and restoration activities such as thinning, provide forest
   products and contribute to the local economy, in addition to being an important tool in
   shaping the structure and composition of the forest. On average, more than 9,000 CCF of
   sawtimber were cut each year during the past decade. Over the last 5 years, however, the
   annual average cut volume for sawtimber was 12,410 CCF, with a high of 18,190 CCF for
   2016 (Table 101).




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      Table 101. Commercial and noncommercial forest products: Volume and quantity,
      FY 2006-2016
      [Source: USFS Forest Products Cut and Sold from the National Forests and Grasslands, 2006-2016. CCF, one
      hundred cubic feet.]

                       Sawtimber         Poles        Firewood        Miscellaneous and non-sawtimber
           Year
                         (CCF)           (CCF)          (CCF)                  products (CCF)
           2006           6,949           704           5,274                         66
           2007           2,550           268           2,471                         61
           2008           3,680           620           3,108                        456
           2009           9,369           284           7,284                       1,999
           2010           9,811           88            6,908                        523
           2011           7,946           164           6,603                       2,084
           2012           7,930           440           6,342                        706
           2013          10,057           98            6,762                         36
           2014           8,019            0            7,729                        609
           2015          17,854            0            6,827                        215
           2016          18,190            0            8,637                       1,081


      Note that actual harvests are generally less than the estimated advertised or sold volume.
      While timber products are reported in both cut and sold volume, Forest Service economic
      impact analyses (using input-output models) on timber output generally rely on cut as
      opposed to sold volume. Because input-output models represent an annual snapshot of the
      area’s economy, it is important to appropriately reflect the annual quantity of timber received
      and processed by commercial forest product firms during the same time horizon. Volume
      sold during a given year typically do not get harvested and converted into commercial
      products during the year of the sale due to various reasons including delays, canceled sales,
      sales overrun, as well as those sold but yet-to-be cut timber burned by wildfire. For
      information on sold volumes, see Rio Grande Assessment 8 and the Forest Products section.
      Timber harvest directly supports employment and income in logging and wood
      manufacturing firms and also indirectly contributes to a number of other industries, from
      transportation and local government to other support sectors in the local economy. Based on
      average cut volumes in recent years (2012-2016), commercial timber harvests support a total
      of 174 full and part-time jobs, approximately $6.2 million in labor income, and $8.7 million
      in GDP contributions within the area of influence. About 110 (or 63 percent) of these jobs
      and $3.8 million (or 62 percent) of labor income are supported in the agriculture and
      manufacturing sectors. These sectors include firms that specialize in forestry and logging and
      forest product processing, which are key sectors of the study area.

      Market and Timber Processing Capacity
      Counties containing mills receiving Forest timber were identified in order to determine the
      timber-processing area for the Forest. This area includes 13 counties: Archuleta, Conejos,
      Costilla, Custer, Fremont, Hinsdale, Mineral, Montrose, Pueblo, Rio Grande, and Saguache
      Counties in Colorado and the northern portions of Rio Arriba and Taos Counties in New
      Mexico. A new mill in Costilla County (currently utilizing timber from within their own


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   property) was also included due to its potential to utilize timber from the Forest in the future.
   Within the Forest timber-processing area there were 21 facilities operating as of 2016: 14
   sawmills, and 6 log home and 1 viga manufacturer; five of the twelve sawmills reported
   producing substantial volumes of secondary products such as posts and poles or house logs.
   In addition, there was one sawmill, one co-located sawmill and post and pole plant, and one
   log furniture manufacturer that were idle during that year (Table 102). About 75 percent of
   the timber received by mills in the timber-processing area originated from national forests, of
   which 13 percent came from the Rio Grande National Forest. Of the 25 facilities in the
   Forest’s timber-processing area, 16 relied on federal timber for more than 50 percent of their
   inputs (McIver et al. 2017).

   Table 102. Active facilities in the timber processing area of the Forest
   [Source: McIver et al. (2017)]

           Type               2003   2007        2012        2016
    Sawmills                   22     13          13          14
    Log Home                   15      6           5           6
    Log Furniture               3      2           0           0
    Vigas and latillas          3      1           1           1
    Post and Pole               2      1           0           0
                    Total      45     23          19          21


   Timber Processing Capacity and Use by Size Class
   Factors influencing the trend and sustainability of the Forest’s contribution include varying
   budget level for timber management and sales administration, as well as the housing market,
   which also fluctuates in cycles. One of the major risks and drivers affecting the continued
   provision of the Forest’s commercial timber supply is the large amount of Engelmann spruce
   mortality from spruce beetle. Although efforts have been underway to increase the harvest of
   these trees in recent years, the harvest is sustainable only in the near short to medium term
   because the larger—and financially viable—dead trees cannot retain their value as saw or
   house logs indefinitely. The market for lower quality woody biomass such as decayed dead
   timber is difficult (Forest Stewardship Concepts, Ltd. 2014).
   However, trends in these changing forest conditions indicate that it is increasingly critical for
   markets to expand, in order to accommodate for small-diameter material and salvaged timber.
   Capacity utilization at sawmills and other timber-using facilities in the Western United States
   fell from more than 80 percent in 2005 to just more than 50 percent in 2009 and 2010
   (Keegan et al. 2011). From 2003 to 2012, capacity to process timber in the Rio Grande
   Timber Processing Area decreased from 84.0 MMBF to 69.3 MMBF, but had rebounded to
   80.4 with the opening of two new mills in the region. Excluding the two new mills that came
   online at the end of 2016, mills were operating at about 58 percent of capacity in 2016. As
   much as 12 percent (2,080 MCF) of the 17,722 MCF of existing capacity was capable of
   processing trees less than 10 inches diameter at breast height, with as much as 69 percent of
   that capacity used. However, as a proportion of total timber processed, trees less than
    10 inches diameter at breast height accounted for 15 percent of total timber processed in
   2016 (Table 103).

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      Table 103. Annual capacity and capability to process trees by size class in the timber
      processing area of the Forest, 2016
      [Source: McIver et al. (2017); DBH, diameter at breast height; MCF, thousand cubic feet.]

             Tree DBH              Capability            Use           Capacity Utilized
                                                MCF                         Percent
       Less than 10 inches           2,080              1,431                 69
       10 inches and over            15,642             7,877                 50
       Total Capacity                17,722             9,308                 53


      An additional 294 MCF of capacity existed among inactive facilities, of which 100 MCF was
      estimated to be capable of processing trees less than 10 inches diameter at breast height,
      should they come back online. Overall capacity utilization was low due in part to the
      inclusion of two new mills that opened in late 2016 but did not report any utilization for the
      year (McIver et al. 2017).
      The loss of milling infrastructure throughout the West and in Colorado raises questions about
      the industry’s capability to process trees of various sizes (Keegan et al. 2005, 2006). Other
      than the challenge of adapting to a changed forest landscape (resulting to the shift away from
      traditional logging and toward service-type projects, such as those resulting in smaller
      diameter timber), there exists various issues facing forestry firms in Colorado. Challenges
      facing contractors include a shrunken workforce, fewer federal timber sales, competition
      with local fire districts, landowners’ understanding about the expense of mitigation work, and
      competition with illegitimate contractors (Vaughan and Mackes 2014).

      Non-timber Forest Products
      Non-timber forest products (Table 104) are products or natural resources that are not the
      traditional timber and fiber products. They are also known as special forest products or non­
      convertible products because they are products that are not converted into board foot or cubic
      foot measure. Examples include such products as floral greenery, Christmas trees and
      boughs, mushrooms, transplants (trees, shrubs or herbaceous plants), cones, medicinal plants,
      cuttings, herbs, nuts, berries, decorative wood, and pitch. In recent years the Forest sold
      about $8,500 worth of special forest products annually. These include Christmas trees,
      transplants, limbs/boughs, cones, and seeds.




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   Table 104. Special forest products harvest (cut) quantity and value, FY 2012-2016
   [Source: USFS Forest Products Cut and Sold from the National Forests and Grasslands (USDA Forest Service
   2012-2016); --, no data]

                                   2012            2013            2014            2015            2016
    Christmas Trees - each         902             983             819             899             926
    Cut Value ($)                 $7,216          $7,864          $6,552          $7,192          $7,408
    Transplant - each              211             189             192             202             273
    Cut Value ($)                 $1,055           $945            $690           $1,000          $1,365
    Limb/Bough - each               —               —               2               12              2
    Cut Value ($)                   —               —              $20             $120            $20
    Cones - Dry - per
                                   100              —               —              200             200
    bushel
    Cut Value ($)                  $300             —               —              $300            $300
    Seed - per pound               300              —               —              800              —
    Cut Value ($)                  $60              —               —              $200             —


   Although only Christmas trees, transplants, limbs/boughs, cones, and seeds have been
   recorded in the official Cut and Sold report, a variety of other non-timber forest products are
   enjoyed by both locals and visitors alike. Some of these examples and uses are listed in Table
   105.

   Water Resources
   A well-functioning ecosystem helps maintain the integrity of the watersheds so that upland
   forests, riparian areas, and wetlands are able to filter out pollutants to help keep base loads
   within reasonable levels, which reduces municipal and well-water treatment costs and
   alleviates demand for costly infrastructure. The concept of water supply deals mostly with
   quantity. But water quality and timing of water availability are two equally important issues
   surrounding water resources management. Quality water in predictable quantity is one of the
   major ecosystem benefits provided by intact forest ecosystems. See Assessment 2 - Air, Soil,
   and Water (USDA Forest Service 2016) for detail regarding the existing condition on
   watersheds and water resources, particularly information regarding water rights, municipal
   watersheds, and watershed condition framework.
   This section focuses on the provisioning service of water supply originating from the Forest
   in terms of water quantity, flow, and water demand in the analysis area. In other words, this
   section addresses three questions: (1) how much water originates at the Forest boundary, (2)
   where does it all go, and (3) how much water is demanded downstream in the area of
   influence.




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      Table 105. Definition and example uses of special forest products
                 Product                                      Definition and Example Uses
       Transplants1
                                   Young wild or natural seedling use in landscaping
       (Wildlings)
       Limbs and Boughs1           The limbs and boughs of trees used in making decorations
       Foliage                     The foliage of a variety of shrubs used in making decorations
       Needles                     Needles of conifers used in making decorations and baskets
                                   Bark from a variety of trees and shrubs used in landscaping and making
       Bark1
                                   decorations
       Cones, Green                Cones used for seed and in making decorations
       Cones, Dry                  Cones used landscaping and in making decorations
                                   Seed of any plant or shrub specie that is used for sowing or seeding to grow new
       Seed
                                   plants
       Nuts and Seed               Nuts and seed used for food
       Fruits and Berries          Fruits and berries used for food
       Roots                       Roots use for pitch and tar, also roots use in the creation of novelty items
       Bulbs                       Bulbs of plants used for transplanting
       Mushrooms                   A variety of mushroom species used for food
       Fungi                       A variety of fungi used for decorations
       Mosses                      A variety of fungi used for decorations
       Herbs                       A variety of herbs used for medicinal purpose
       Ferns                       A variety of ferns used for decorations
       Wildflowers                 A variety of wildflowers used for decorations
       Grass                       A variety of grasses used for decorations
       Aquatic Plants              A variety of aquatic plants used for landscaping
       Cacti                       A variety of cacti used for landscaping and decorations
       Green Biomass NCV1          Green Biomass (wood fiber) - Non-convertible to MBF or CCF used as fuel
      1 Commercial permits may be required.




      Mean Annual Water Supply
      Forested landscapes and headwater locales tend to receive more precipitation than adjacent
      nonforested or low-lying areas. Accounting for the differences in evapotranspiration across
      land cover types is necessary in order to estimate the volume of water supply originating
      from any given landscape. By using a Variable Infiltration Capacity model, contribution to
      water supply from the Forest was estimated at 465.4 billion gallons on an annual average
      basis (Brown et al. 2016).




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   Contributions to Regional Streamflow Volumes
   Water originating from the Forest flows downstream and joins several creeks, rivers, and
   other waterbodies within the watershed. Based on hydrologic model data on daily runoff and
   base flow (Livneh et al. 2013), contributions from the Forest’s water supply to regional
   streamflow volumes was estimated (Luce 2016). In an average year, the Forest contributes 84
   percent of the water in the Rio Grande Headwaters hydrologic unit (HUC 1301), while the
   unit occupies only 39 percent of the land area within this 4-digit HUC. The percentage of
   streamflow the Forest contributes to each 8-digit HUC and to major streamflow points is
   shown in Table 106.

   Table 106. Forest contributions to streamflow and hydrologic units
   [Source: Luce (2016). HUC, Hydrologic Unit Code]

    Contribution
                                          Streamflow location and water contribution
     (percent)
         100       Flow at Red Mountain Creek (at the confluence with Rio Grande)
         78        Flow at Conejos River at the Conejos hydrologic unit (HUC 13010005)
         91        Flow at the Saguache Creek at the San Luis hydrologic unit (HUC 13010003)
         99        Water in Rio Grande Headwaters hydrologic unit (HUC 13010001)
         51        Water in Alamosa-Trinchera hydrologic unit (HUC 13010002)
         67        Water in San Luis hydrologic unit (HUC 13010003)
         90        Water in Saguache hydrologic unit (HUC 13010004)
         78        Water in Conejos hydrologic unit (HUC 13010005)
          6        Water in Rio Chama hydrologic unit (HUC 13020102)


   It is clear that the unit contributes a majority of water supply and streamflow in some areas.
   For example, the Forest contributes 100 percent of the flow at Red Mountain Creek at the
   confluence with Rio Grande, and 90 percent of the water in the Saguache hydrologic unit
   (HUC 13010004).

   Water Uses in the Area of Influence
   Since 1950, the U.S. Geological Survey has collected and published estimates of water
   withdrawals by water-use category at the national, state, and county level every 5 years.
   Although water originating from the Forest contributes to streamflow extending into central
   New Mexico, information on water use is reported below only for those counties within the
   broader economic zone of influence. Note that some counties within the study area, including
   Gunnison and Montrose, are outside of the watersheds that the Forest contributes to;
   therefore, information is presented for those counties for comparison purposes. Residents
   within the seven-county San Luis Valley area are served by groundwater for public water
   supply. Conejos County uses the most water for pubic supply (2.3 Mgal/d), serving more
   than 4,700 people. For comparison, residents in Alamosa County served by public water
   supply (more than 9,000 people) withdraw about 1.7 Mgal/d (Maupin et al. 2014) (Table
   107). Water originating from the Forest contributes to groundwater supply in the area, but the
   time horizon for recharge is long.


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      Table 107. Public water supply and population served, 2010
      [Source: Maupin et al. (2014). Bolded counties are in the San Luis Valley area of influence. Mgal/d, million
      gallons per day]

                                               Public                                           Public
                             Public                            Public          Public
                                              Supply,                                          Supply,           Public
                            Supply,                           Supply,         Supply,
                                            population                                        surface­
                           population                           total      groundwater                       Supply, total
          COUNTY                             served by                                          water
                           served by                        population     withdrawals,                      withdrawals,
                                              surface                                       withdrawals,
                         groundwater,                        served, in       total, in                        in Mgal/d
                                             water, in                                         total, in
                         in thousands                       thousands          Mgal/d
                                            thousands                                           Mgal/d
       Alamosa                 9.0               0.0            9.0             1.7              0.0                 1.7
       Archuleta               1.5              6.1             7.7             0.1               1.9                2.0
       Conejos                 4.7               0.0            4.7             2.3              0.0                 2.3
       Costilla                2.2               0.0            2.2             0.4              0.0                 0.4
       Custer                  2.0               0.0            2.0             0.2              0.0                 0.2
       Fremont                 0.0              39.5            39.5            0.0              8.9                 8.9
       Gunnison                10.2              3.7            13.9            1.7              0.8                 2.5
       Hinsdale                0.4               0.0            0.4             0.6              0.0                 0.6
       La Plata                11.6             33.9            45.5            1.1              6.6                 7.7
       Mineral                 0.6               0.0            0.6             0.2              0.0                 0.2
       Montrose                0.9              36.7            37.6            0.2              9.3                 9.6
       Rio Arriba, NM                                           24.0            1.6              0.6                 2.3
       Rio Grande              6.9               0.0            6.9             1.1              0.0                 1.1
       Saguache                4.6               0.0            4.6             0.9              0.0                 0.9
       San Juan                0.0               0.6            0.6             0.0              0.2                 0.2
       Taos, NM                                                 20.2            1.9              0.2                 2.0
       Area Total              54.6            120.6           219.3            14.0             28.5                42.5


      Water use by category, including irrigation, livestock, aquaculture, mining, thermoelectric,
      and self-supplied for domestic or industrial uses, is shown in Table 108. At 579 Mgal/d, Rio
      Grande County used the most water, almost all for irrigation. All other counties within the
      San Luis Valley area also used most of their water for irrigation. Outside of the area, San
      Juan County used the majority of its water for aquaculture.




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Table 108. Total water withdrawals by water-use category, 2010
[Source: Maupin et al. (2014). Reported in million gallons per day. Bolded counties are in the San Luis Valley area of influence.]

                    Public      Self-supplied      Industrial,
      County                                                         Irrigation       Livestock      Aquaculture        Mining       Thermoelectric   Total
                    Supply        domestic        self-supplied
 Alamosa              1.7             0.9              0.0             149.4             0.2              0.3             0.0             0.0         152.4
 Archuleta            2.0             1.1              0.0              56.0             0.1              0.0             0.1             0.0          59.3
 Conejos              2.3             1.0              0.0             366.5             0.4             12.3             0.0             0.0         382.5
 Costilla             0.4             0.2              0.0             135.2             0.1              4.0             0.0             0.0         139.9
 Custer               0.2             0.2              0.0              26.8             0.1              0.0             0.0             0.0          27.2
 Fremont              8.9             0.7              5.5             116.9             0.3              0.0             0.4             13.7         146.2
 Gunnison             2.5             0.1              0.0             553.3             0.2              6.0             0.6             0.0         562.7
 Hinsdale             0.6             0.1              0.0              27.0             0.0              2.7             0.0             0.0          30.4
 La Plata             7.7             0.6              0.2             321.2             0.3              5.8             0.8             0.0         336.6
 Mineral              0.2             0.0              0.0              15.6             0.0              2.7             0.0             0.0          18.5
 Montrose             9.6             0.7              0.0             690.3             0.7              0.0             0.1             1.6         702.9
 Rio Arriba,
                      2.3             1.3              0.0             101.7             0.4              1.0             0.5             0.0          107.1
 NM
 Rio Grande           1.1             0.6              0.0             577.2             0.2              0.0             0.1             0.0         579.2
 Saguache             0.9             0.2              0.0             269.5             0.3              0.0             0.1             0.0         270.9
 San Juan             0.2             0.0              0.0               0.0             0.0              1.3             0.0             0.0           1.6
 Taos, NM             2.0             1.0              0.0              82.4             0.1              10.9            10.1            0.0          106.5
 Area Total          42.5             8.8              5.7            3,488.8            3.2             46.9             12.8            15.3        3,623.9




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      Ecosystem Services in Connection with Fish, Wiidiife, and Plant Species
      Species supported by habitats on the Forest are enjoyed—both consumptively and non-
      consumptively—by local and nonlocal residents alike. Also, various threatened and
      endangered species, along with other species of conservation concern, are known to occur
      within the Forest. This section provides a brief overview on the diverse types of uses and
      benefits that people derive from wildlife resources. See the Aquatic Ecosystems section and
      the Wildlife and Plants Species section for more information on the existing conditions for
      those species.
      Consumptive uses of wildlife resources include hunting, fishing, and commercial trapping,
      while non-consumptive uses include wildlife viewing, photography, nature study, etc. About
      35 percent of Forest visitors participate in wildlife viewing, while 17 and 12 percent of the
      visitors participate in fishing and hunting activities, respectively. Regional economic effects
      (in terms of employment, income, and GDP contributions) from these activities are shown
      above.
      There are also other passive use values associated with the enjoyment of fish, wildlife, and
      plant species; these include existence, option, and bequest values.
      Existence values are benefits people derive from the very existence of species, even when an
      individual has not ever seen, or planned on ever seeing, the species on the Forest. For
      example, some local residents and nonlocal visitors are willing to pay for the preservation of
      wildlife through donations and/or taxes, even if they know that they may never actually
      encounter some particular species. Some segments of the public may also have a general
      appreciation for biodiversity and for the many ecosystem services that nature provides.
      Vicarious use value is closely related to existence values. Vicarious use value occurs when
      people gain pleasure from pictures, broadcasts, or written accounts of nature, including plants
      and wildlife species on the Forest. Another form of existence value is intrinsic value.
      Wildlife has a right to exist, and therefore, has value independent of any human involvement.
      Intrinsic value is the human perception of that value.
      Option values exist when people are conscious that they might want to enjoy (either
      consumptively or non-consumptively) some species of fish, plant, or wildlife on the Forest in
      the future, but are unsure that it will be available at that time, and they may be willing to pay
      a premium to ensure its future availability. Quasi-option value, on the other hand, is the
      potential benefits of new—or yet-to-be discovered—species and uses of plants and wildlife
      for a variety of benefits, including medicinal, agricultural, and other uses. This is based on
      the fear that any further destruction of habitats and species on the Forest may obliterate
      future opportunities for beneficial discoveries. Lastly, there are bequest values, where
      individuals attach value from the fact that plant, fish, and wildlife species on the Forest will
      be available for the enjoyment of future generations.
      Passive-use values are not limited to the discussion of wildlife and plant species; other
      resources also share these components, from wilderness, cultural, water, scenic and other
      natural resources.




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   Infrastructure and Agency Operation
   Infrastructure within the plan area can have substantial contributions to social and economic
   sustainability. These can include facilities for energy generation or transport,
   communications, water delivery, transportation (including airstrips and other aviation testing
   sites), or recreation. These facilities directly affect conditions and uses within the plan area
   and may support delivery of goods and services in the broader landscape. Infrastructure on
   the Forest can contribute to the social, economic, and cultural conditions within the Forest
   boundaries, and also within the broader social and economic area of influence. Infrastructure
   can directly support the delivery of goods and services; as such, their conditions can be a
   vital piece of the local economy.
   Infrastructure within the Forest includes:
   •     2,260 miles of roads
   •     1,298 miles of trails
   •     Three active utility corridors
   •     Buildings and facilities including office space, barracks, and communication systems.
   •     Bridges, dams, water systems, and wastewater systems.
   •     Two priority watersheds
   •     Dams and irrigation systems that operate by special use permit
   •     Communication sites.
   Due to budgetary limitations, numerous infrastructure resources have had necessary
   maintenance deferred. A number have been listed as health and safety critical, including
   roads, dams, water systems, wastewater systems, facilities, and bridges. Deferred
   maintenance backlog is not sustainable. If not funded, numerous locations will need to be
   closed, which has the potential to limit access, reduce water quality, and increase demand on
   other infrastructure and recreation facilities. See the Assessment 11 and the Infrastructure,
   Roads, and Facilities section as well as the Sustainable Recreation Opportunities section.

   Forest Service Presence in the Community
   Management of the Forest directly contributes to the local economy by employing
   individuals living within the area and by spending federally appropriated dollars on goods
   and services to carry out management programs. From 2011 to 2016, expenditures on Forest
   programs and salary for personnel on the Forest have averaged $12 million a year
   ($6.3 million on salary expenditures and $5.7 million on non-salary expenditures)
   (K. Pacheco, Rio Grande Budget Officer, 2017). Program-related expenditures do not include
   spending on emergency fire suppression activities. Spending on fire suppression varies from
   year to year; however, spending on these activities has the potential to have a positive impact
   on local economies.
   On an average annual basis, expenditures associated with the management of the Forest
   support 232 jobs (direct, indirect, and induced) and about $10 million in local labor income
   in the social and economic area of influence surrounding the Forest (IMPLAN 2014). These
   values are the result of Forest Service spending on restoration activities, local lodging for
   Forest Service personnel, filling Forest Service vehicles at local gas stations, hiring local


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      contractors for building maintenance, etc. The impact of a local area or community losing a
      Forest Service office is much like the closure of a military base, but at a smaller scale in more
      rural areas.
      Forest Service staffs, partnerships, contracts, or agreements with the Forest Service, as well
      as other operations, directly and indirectly influence the social, cultural, and economic
      conditions of the affected communities through demand for local goods and services,
      contributions to the tax base, and participation in community institutions and activities.
      While plans do not include staffing and procurement strategies, the presence and impact of
      Agency resources in the area of influence are considered in this analysis. Annual employment
      by the Forest has supported an average of 80 permanent employees and 36 temporary
      employees from 2011 through 2016 (T. Ghormley, Rio Grande Administrative Officer,
      personal communication, 2017).
      Forest Service employees also engage in their local communities on a more social level with
      many employees involved as youth sports coaches, nonprofit board volunteers, and school
      board volunteers; in addition, many are active in the planning of local charity events,
      participate in local events, are active in neighborhood events, and generally care about the
      quality of life and conditions of and in their community. When an individual employee leaves
      for a new job in a different area, or retires to a different area, it can leave a hole in a
      community that eventually is filled by a current resident, or by a new employee coming into
      the community. But if an entire unit moves or staff of a unit is substantially reduced due to
      budget constraints, a community may take time to recover from losing a large portion of its
      volunteer structure.

      Federal Payments
      Another economic relation between federal land and county economies are federal revenue
      sharing and land payments including SRS and PILT. State and local government cannot tax
      federally owned lands the way it would be taxed if the land were privately owned. A number
      of federal programs exist to compensate county governments for the presence of federal
      lands. These programs can represent an important portion of local government revenue in
      rural counties with large federal land holdings, such as a few of the counties in the San Luis
      Valley area of influence.
      Before 1976, all federal payments were linked directly to receipts generated on public lands.
      Congress funded PILT with appropriations beginning in 1977 in recognition of the volatility
      and inadequacy of federal revenue sharing programs. PILT was intended to stabilize and
      increase federal land payments to county governments. More recently, the Secure Rural
      Schools and Community Self-Determination Act of 2000 decoupled Forest Service payments
      from commercial receipts. SRS received broad support because it addressed several major
      concerns around receipt-based programs: volatility, the payment level, and the incentives
      provided to counties by linking federal land payments directly to extractive uses of public
      lands.
      As described in the Economic Environment section, federal payments to local counties were
      nearly $3.6 million in 2016. SRS payments accounted for $1.67 million and PILT payments
      accounted for $1.9 million. Combined, PILT and SRS payments supported 87 jobs and $3.6



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   million in labor income annually (IMPLAN 2014). These values will fluctuate annually
   based on future payment values.
   If the SRS payments were no longer funded, then the federal payment system would revert
   back to the 25-percent fund. As described in the Economic Environment section, these
   payments are about 87 percent less and would total $217,000. In this case, only 54 jobs and
   $2.3 million in labor income would be supported annually (IMPLAN 2014). The loss of SRS
   payments would have a direct negative impact primarily in the agricultural and government
   sectors (IMPLAN 2014). Additionally, the social impacts would be widespread. SRS
   payments are heavily relied upon to fund rural schools; steep cuts to education would have
   both short and long-term impacts related to education, which would reduce the social and
   economic wellbeing of young residents.

   Direct and Indirect Effects

   Contribution to Social and Economic Sustainability
   Forest plans under the 2012 Planning Rule recognized ecological, social, and economic
   systems as interdependent, without one being a priority over the other, and that they must
   have plan components to guide contribution to social and economic sustainability (36 CFR
   219.8(b)). This analysis evaluates the proposed plan, and its alternatives, in terms of
   contributions to social and economic sustainability through the provisions of (1) multiple
   uses, (2) ecosystem services, (3) infrastructure, and (4) Forest Service presence in the
   community (FSH 1909.12, ch. 20, sec. 23.21 and FSH 1909.12, ch. 10, sec. 13).

   Effects on Multiple Uses and Ecosystem Services from Management of Other
   Resources
   The provision of multiple uses and ecosystem services are two of the major contributions to
   social and economic sustainability of the Forest in the broader landscape. Ecosystem
   services—components of nature that contribute to human well-being—and multiple uses are
   fully related and best analyzed in an integrated manner. Elements of multiple uses (outdoor
   recreation, range, timber, watershed, wildlife, and fish) and the set of key ecosystem services
   considered in the plan area are evaluated in this section on the various ways they contribute
   to people, communities, and ultimately social and economic sustainability. These elements
   include forage for grazing; outdoor recreation; mineral deposits; cultural, history, and scared
   sites; solitude, spirituality and sense of escape; timber and non-timber forest products; water
   resources; fish, wildlife, and plants (including pollination, support of habitat and species
   diversity, abundance, and distribution).

   Forage for Grazing
   Grazing opportunities are the same across alternatives B and C, and are identical to current
   conditions that permit 75,684 animal unit months of cattle and 8,238 animal unit months of
   sheep (J. Perez, Rio Grande Range Specialist, 2017). Alternative D would reduce the ability
   to use motorized or mechanized travel in managing allotments. This would increase the cost
   of grazing to the permittee and decrease efficiency. It is difficult to monetarily quantify the
   increase in costs to permittees. Despite lost acreage to special interest areas, the number of



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      animal unit months grazed under alternative D is not anticipated to be lower than for
      alternatives B or C.
      If Forest acres available for grazing remain more or less constant, then, if and when private
      grazing lands become less and less available, the relative importance of grazing on public
      lands will increase. Reduction in private grazing opportunities would likely be caused by
      growing communities and urban areas. When the income-producing potential of development
      exceeds the income-producing potential of farming and ranching operations, land sales
      become an attractive source of income. This is particularly true for areas with a variety of
      amenities and those located near mountain resorts. However, this assumption assumes that
      ranchers are motivated strictly by profit maximization; in reality, they are not. Gentner and
      Tanaka (2002) found that federal public land permittees ranked lifestyle attributes above
      profit maximization. Family traditions, culture, and values are some of the more important
      reasons for maintaining ranching operations.
      Grazing on Forest lands occurs primarily in Conejos, Hinsdale, Mineral, Rio Grande, and
      Saguache Counties. Additionally, permittees on the Forest either reside in, or businesses are
      based primarily out of, four counties in the San Luis Valley area of influence: Alamosa,
      Conejos, Rio Grande, and Saguache. These counties would absorb much of the direct
      economic activity from grazing on the Forest.
      Presently, private agricultural and grazing land availability varies throughout the area of
      influence. Based on land surveys, Conejos County has 227,603 acres of agricultural land, 56
      percent of which is suitable for grazing (Wildrose Appraisal Inc. 2014a). In Alamosa County
      there are 235,899 acres of agricultural land, 37 percent of which is suitable for grazing
      (Wildrose Appraisal Inc. 2015a). In Rio Grande County, there are 188,899 acres of
      agricultural lands, 18 percent of which are suitable for grazing (Wildrose Appraisal Inc.
      2015b). In Saguache County, there are 502,525 acres of agricultural lands, 42 percent of
      which is suitable for grazing (Wildrose Appraisal Inc. 2014b). In 2016, the cost per animal
      unit month of private agricultural land was $17.50 in Colorado and the cost of public forage
      was $1.87 per animal unit month. Despite federal public grazing per animal unit month being
      substantially less expensive, grazing fees alone do not represent the total cost of grazing.
      Rimbley and Torrell (2011) found that the cost differential between public and private land
      grazing is less than indicated by the grazing fee disparity. Once other grazing-related costs
      (e.g., maintenance) are taken into account, the cost difference is eliminated. If a cost
      difference were to occur (i.e., if ranchers were to pay more to obtain private forage), the
      economic effect would be an income transfer from net consumers of forage to net providers
      of forage.
      Grazing across all alternatives would support about 274 jobs and $6.2 million in labor
      income on an average annual basis. About 223 of these jobs and $3.5 million of local labor
      income are supported in the agriculture sector. As demonstrated by the Economic Base
      Analysis section, these activities are an important part of the San Luis Valley economy. Under
      alternative D, increased costs associated with motorized restrictions might financially impact
      some ranching operations, which could reduce the employment and income of
      grazing-related activities. Additionally, as previously discussed, ranching plays an important
      social role and is strongly tied to tradition and values, and is seen as a way of life. As such,
      restriction or potential reduction in grazing associated with alternative D may affect some
      ranchers’ quality of life and livelihood, if the ranching operation could not accommodate and

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   adapt to those restrictions, including subsequent range management stipulations when the
   plan is implemented.

   Outdoor Recreation, Tourism, Landscapes, and Features Providing Recreation
   and Scenery
   All alternatives will provide for dispersed outdoor recreational opportunities. Nonmotorized
   and nonmechanized dispersed recreational opportunities, such as hiking, pack-stock use, and
   tent camping, would continue throughout the Forest in all alternatives.
   Wilderness stakeholders seeking solitude in the Forest are likely to prefer alternative D over
   alternatives B and C because it provides the greatest number of new recommended
   wilderness acres, removes motorized trails from Colorado roadless areas, establishes a
   federal trails corridor, and adds several special interest areas and an additional research
   natural area to the system. Alternative B would also provide recommended wilderness, but to
   a lesser degree. Assuming that solitude and protection of those values is most important to
   wilderness stakeholders, alternative C would not be preferred because it does not propose any
   specially designated areas.
   A dispersed recreation stakeholder is most likely to prefer alternative C followed by B and
   then D. Alternative C provides the greatest variety of multiple use opportunities on the Forest
   due to its lack of recommended wilderness and the ability of the Forest to provide a greater
   potential of multi-use recreational access. Alternative D would decrease potential for multi­
   use recreational access by restricting motorized access within new recommended wilderness
   acres, as well as adding several special interest areas and an additional research natural area
   to the system. Alternative B does not propose adding several special interest areas and an
   additional research natural area to the system, but does propose wilderness areas. Alternatives
   B and D would also reduce mechanized dispersed recreation opportunities, such as mountain
   biking, when recommended wilderness areas are congressionally designated as wilderness
   study areas or wilderness areas.
   Assuming the visitation rate of local residents will remain nearly constant and that new
   residents will visit the Forest at about the same rate as current residents, the Forest can expect
   to experience continued use by local visitors. The Forest can expect moderate increases in
   use as visitor populations associated with growing populations around the study area are
   likely to increase in the future (English et al. 2015). As increases in recreation visits and
   impacts on recreation resources and opportunities occur over time, pressure and conflicts
   may require additional monitoring and management.

   Timber (Including Non-Timber Forest Products)
   Under all of the alternatives, the Forest will continue to provide opportunities for non-timber
   forest product utilization. Commercial timber harvest opportunities vary by alternative, with
   the most harvest under alternative C and the least under alternative D.
   Harvest and processing of commercial forest products, including salvage materials, not only
   supports employment and income in the logging and wood manufacturing industries (direct
   effect) but also ultimately contributes to a number of other firms, from transportation and
   local government to other support sectors in the local economy (indirect and induced effects).
   An economic contribution analysis (input-output model using IMPLAN) was conducted to


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      estimate the direct, indirect, and induced effects of stumpage flowing through logging
      companies, sawmills, and other related firms such as post and pole operations. Economic
      contributions from projected timber sale and wood sale quantities, based on annual average
      volume (including sawtimber, other products, fuelwood, and salvage) for each alternative, are
      estimated with IMPLAN and shown in Table 109.

      Table 109. Annual average economic contributions (jobs, income, and GDP) based on
      total projected timber sale and wood sale quantities, including salvage volume, by
      alternative
                                Alts A and     Alts A and       Alt C     Alt C (Year 7     Alts D         Alts D
                                   B (1st        B (2nd        (years     through 2nd        (1st           (2nd
                                 Decade)        Decade)         1 - 6)      Decade)        Decade)        Decade)
       Total volume including
                                 40,000          15,600        70,000        22,200         25,000         11,200
       Salvage (CCF)
       Salvage-only (CCF)         32,100           0           62,800           0           17,300             0
                                                          Employment
       Direct                      240             55           461            98             130              26
       Indirect and Induced        205            45            394            80             111              21
                        Total      445            100           855           178            242               47
                                             Labor Income (thousands of 2014$)
       Direct                     $8,549         $1,984       $16,402        $3,544         $4,636         $945
       Indirect and Induced       $7,229         $1,623       $13,878        $2,898         $3,920         $773
                        Total    $15,778         $3,608       $30,280        $6,442         $8,556         $1,718
                                                 GDP (thousands of 2014$)
       Direct                    $10,458         $2,303       $20,085        $4,113         $5,670         $1,097
       Indirect and Induced      $12,051         $2,416       $23,184        $4,314         $6,530         $1,150
                        Total    $22,510         $4,719       $43,269        $8,427        $12,201         $2,247


      Based on the total estimated projected wood and timber sale quantities for alternatives A and
      B, as well as estimated salvage volume (40,000 CCF), timber harvests support more than 400
      full- and part-time jobs, about $15 million in labor income, and $22.5 million in GDP
      contribution across the area of influence on an annual average basis during the first decade.
      During the second decade, without any salvage volume, timber harvests support about 100
      full- and part-time jobs, approximately $3.6 million in labor income and $4.7 million in GDP
      contribution across the area of influence on an annual average basis. These results are the
      total direct, indirect, and induced effects across all industries within the broader social and
      economic area of influence. All direct jobs, labor income, and GDP are supported in the
      agriculture and manufacturing industries—which include firms specializing in forestry and
      logging and forest product processing. Indirect and induced effects occur throughout the
      regional economy among a dozen other industries, especially those in accommodation and
      food services; health care and social assistance; administration; waste and remediation
      services; professional, scientific, and technical services; and wholesale trade. These represent
      the ripple effects that local forestry firms have on other sectors in the greater economy. See



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   Table 110 and Table 111, located at the end of this Contrib-utions to Social and Economic
   Sustainability section, for complete results by individual industries.
   Based on the total estimated projected wood and timber sale quantities for alternative C, as
   well as estimated salvage volume (70,000 CCF) during the first 6 years, timber harvests
   support more than 800 full- and part-time jobs, about $30 million in labor income, and $43
   million in GDP contribution across the area of influence on an annual average basis. From
   year 7 through the second decade, without any salvage volume, timber harvests support
   fewer than 200 full- and part-time jobs, approximately $6.4 million in labor income, and $8.4
   million in GDP contribution across the area of influence on an annual average basis. All
   direct jobs, labor income, and GDP are supported in the agriculture and manufacturing
   industries, while indirect and induced effects occur throughout the regional economy,
   especially those in the accommodation and food services; health care and social assistance;
   administration; waste and remediation services; professional, scientific, and technical
   services; and wholesale trade. These represent the ripple effects that local forestry firms have
   on other sectors in the greater economy. See Table 112 and Table 113, located at the end of
   this Contributions to Social and Economic Sustainability section, for complete results by
   individual industries.
   Based on the total estimated projected wood and timber sale quantities for alternative D as
   well as estimated salvage volume (25,000 CCF), timber harvests support more than 200 full-
   and part-time jobs, about $8.5 million in labor income, and $12 million in GDP contribution
   across the area of influence on an annual average basis during the first decade. During the
   second decade, without any salvage volume, timber harvests support fewer than 50 full- and
   part-time jobs, approximately $1.7 million in labor income, and $2.2 million in GDP
   contribution across the area of influence on an annual average basis. All direct jobs, labor
   income, and GDP are supported in the agriculture and manufacturing sectors. See Table 114
   and Table 115, located at the end of this Contributions to Social and Economic Sustainability
   section, for complete results by individual industries, including those indirect and induced
   effects.
   It should be noted that employment effects are expressed on an annual average basis—a
   standard convention that is consistent with methods used by the U.S. Bureau of Labor
   Statistics. When jobs are counted this way, one cannot discern from the data the number of
   hours worked or the proportion that are full- or part-time or anything about seasonality; only
   that they are yearlong. These jobs are different than full-time equivalent jobs. These results
   are the direct, indirect, and induced, and total estimates for full- and part-time employment
   and labor income that may be attributed to different alternatives. It is important to note that
   these may not be new jobs or income, but rather existing jobs and income in the regional
   economy that are supported or sustained on an annual average basis.
   Estimates of employment, income, and GDP effects as shown in Table 109 are heavily
   dependent upon the duration of implementation of timber sales. If the actual implementation
   period is shorter than shown, estimated effects may be more concentrated over a shorter
   period of time. Conversely, if the implementation period is expanded, fewer jobs would be
   supported annually, but for a longer period of time. Also, within the implementation period,
   the numbers of jobs supported may or may not be filled by the same personnel nor distributed
   evenly over time, depending upon the nature of the sales, turnovers, number and type of
   firms involved, and other factors. Therefore, it is misleading—or, meaningless at best—to try

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      to calculate a total figure for the life of the plan. To be precise, it would be a reckless exercise
      to multiply the annual average employment as presented above, with the implementation
      timeframe (or life of the plan) in an attempt to arrive at a ‘grand total.’
      Also note that salvage volume made up the majority of projected harvest during the first
      decade and none during the second decade (See Diversity of Vegetation section for details).
      The size class of salvage timber may be one of the most important factors determining
      whether the industry could benefit from these estimated volume. As such, all estimated
      employment and income contributions shown above are contingent upon the industry’s
      ability to process various timber products, including smaller diameter salvage volume,
      especially during the initial years. As previously discussed in the A^jfected Environment
      section, as much as 12 percent (2,080 MCF) of the 17,722 MCF of existing capacity was
      capable of processing trees <10 inches dbh, with as much as 69 percent of that capacity
      utilized. As a proportion of their total timber processed, trees <10 inches dbh accounted for
       15 percent of total timber use in 2016 (Table 103). An additional 294 MCF of capacity
      existed among inactive facilities, of which 100 MCF was estimated to be capable of
      processing trees <10 inches dbh, should they come back online. Overall, mills capacity
      utilization was low due in part to the inclusion of two new mills that opened in late 2016 but
      did not report any utilization for the year (McIver et al. 2017). However, after excluding the
      two new mills that came online at the end of 2016, mills utilized about 58 percent of their
      capacity in 2016.
      The loss of milling infrastructure throughout the West and in Colorado raises questions about
      the industry’s capability to process trees of various sizes (Keegan et al. 2005, 2006). Other
      than the challenge of adapting to a changed forest landscape (resulting in the shift away from
      traditional logging and toward service-type projects, such as those resulting in smaller
      diameter timber), various issues face forestry firms in Colorado. Recent survey results
      indicate that a diminished forestry workforce and contractor capacity means that Colorado
      will face substantial challenge to mitigate various restoration needs to address forest health
      and prevent catastrophic wildfires (Vaughan and Mackes 2014).

      Water Resources
      None of the alternatives are expected to impact the municipal supply watersheds and
      irrigation deliveries. Therefore, downstream impacts from alternatives A through D relative
      to quantity, quality, availability, and existing water rights are not anticipated to be any
      different from current conditions.
      Under alternatives B through D, water resources will be impacted primarily from roads and
      trails, timber harvesting, and livestock grazing.
      Livestock grazing is identical across all alternatives; however, plan components similar
      across all alternatives emphasize the health of water resources. As a result, alternatives B
      through D offer greater protection of water resources from livestock grazing.
      Potential road and trail maintenance expansion would likely be most connected to the
      suitable timber base acres; therefore, alternative C would likely have the greatest watershed
      impacts and alternative D would likely have the fewest impacts to watershed resources.
      Alternative A would likely have fewer watershed impacts than alternative B due to fewer
      designated acres as suitable timber base.


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   Details about the various effects on watershed resources from climate change, mineral
   extraction, designated areas, fire, and other management approaches are described in the
   Watershed Resources section.

   Ecosystem Services in Connection with Fish, Wiidiife, and Plant Species
   Under all the alternatives, the Forest will continue to provide opportunities for the use and
   enjoyment of various fish, wildlife, and plant species, either consumptively or
   non-consumptively. Recreation spending and economic contributions (in terms of
   employment, income, and GDP contributions) to the local economy from fishing, hunting,
   and wildlife viewing activities as described in the Outdoor Recreation section will continue
   to be sustained under existing conditions. Across alternatives B, C, and D, people who visit
   the Forest, as well as others who may never visit, will continue to hold passive use values
   associated with the enjoyment of fish, wildlife, and plant species.
   Some segments of the public holding passive use values associated with the Forest’s fish,
   wildlife, and plant species would likely prefer alternative D over the other alternatives as it
   provides the greatest number of new recommended wilderness acres, as well as added special
   interest areas and an additional research natural area to the system. Passive use value holders
   may perceive these plan area directions and components to be most protective of fish,
   wildlife, and plant species, regardless of subsequent effects from implementation of the forest
   plan and the actual level of protections for species. This is reflective of the distinct nature of
   passive use value, where the level of enjoyment and benefit a person receives is not
   contingent upon the actual use, sighting, or experience otherwise.

   Mineral Resource Activities
   Under the no-action alternative, mining would continue to support very little employment
   and income unless silver mining in Creede, Colorado, becomes economically viable.
   Potential employment and income estimates related to silver mining are not possible and
   would require data on annual extraction and future prices; these data are difficult to estimate
   and are likely to be based on proprietary information.
   Under alternative B there are approximately 58,669 acres of recommended wilderness, which
   would reduce the area available for mineral extraction and energy development. This would
   reduce the potential for increased employment and labor income relative to the no-action
   alternative. However, neither the availability nor the potential for mining in these areas has
   been described. Thus, the loss of these acres for potential mining may also have no economic
   impact.
   Alternative C would have the same effect as alternative A, the no-action alternative.
   Under alternative D, there is 284,853 acres of recommended wilderness, which would reduce
   the area available for mineral extraction and energy development. This would reduce the
   potential for increased employment and labor income relative to the no-action alternative.
   However, neither the availability nor the potential for mining in these areas has been
   described. Thus, the loss of these acres for potential mining may also have no economic
   impact.




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      Effects on Infrastructure from Management of Other Resources
      As discussed in the Forest Contributions section, budgetary limitations have resulted in the
      deferment of a number of critical maintenance needs on infrastructure. However, evaluations
      for decommissioning existing facilities and new construction are not addressed at the forest
      plan level. In 2017 a facility master plan was completed to guide the acquisition, use,
      improvements, disposal, and maintenance of Forest Service administrative facilities.
      It is important to note that degradation of infrastructure would have both social and economic
      consequences for stakeholders who use the Forest for various social, recreational, and
      cultural reasons, and for users who rely on the infrastructure for direct economic purposes,
      such as grazing and timber. These economic losses are not quantifiable; however, spending
      on infrastructure would provide employment and income to local communities as well as
      support social and economic activities occurring on the Forest.
      Under alternative D, some of the proposed special interest areas and recommended
      wilderness may change some of the allowable trail usage and possibly reduce the number of
      motorized trails. This may impact the quality of life for individuals who rely on these trails
      for numerous activities, including recreation, hunting, grazing, etc. Under alternatives B and
      C there would be little to no effect on the current status of infrastructure, nor to the current
      social and economic impact of infrastructure.

      Effects on Forest Service Presence in the Community from Management of
      Other Resources
      Activities described under each alternative are not anticipated to impact the level of Forest
      spending, employment levels, or PILT and SRS payments. Rather, external forces outside of
      these activities would have the largest impact, such as any potential reduction in the Forest’s
      budget or Executive order requirements to reorganize and streamline Federal agencies, which
      might reduce the overall agency workforce (Executive order, unnumbered, Presidential
      Executive Order on a Comprehensive Plan for Reorganizing the Executive Branch, March
      13, 2017).
      It is anticipated that employment levels will rise slightly in 2017 by about 7 full-time
      employees and 14 part-time employees (data based off information provided by the Forest
      budget office). Additionally, if Forest spending in 2017 remains similar to the 5-year average,
      (totaling $12 million annually), then Forest expenditures would support 260 full- and part­
      time jobs and $10.1 million in labor income annually.
      As discussed in the Forest Contributions section, the reauthorization of SRS payments is a
      critical component related to economic and social impacts to the communities surrounding
      the Forest. However, these decisions are made outside of the local area and are not directly
      impacted by forest plan revision. Since SRS inception, these funds have always been
      reauthorized; however, future approval is difficult to predict through the life of the forest
      plan. In addition to the risk of program cancelation, payments could be delayed or reduced. If
      SRS is not reauthorized, the program would revert back to the 25-percent fund. If this were
      the case, it is likely that rural counties that rely on SRS payments (the San Luis Valley area of
      influence) would prefer alternative C. In short, the 25-percent fund distributes to counties
      (where the Forest is situated) 25 percent of the receipts received from timber, grazing,
      mineral extraction, recreation, and power generation (USDA Forest Service 2013a, b).


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   Alternative C proposes to increase the acreage available for multiple uses, particularly for
   timber extraction. Therefore, a larger 25-percent fund payment would be expected. The
   volume of timber removed from the Forest under alternative C might be enough to overcome
   a loss of SRS funds; however, the large volume is primarily salvage timber (as described in
   the Forested Ecosystems section). Therefore, larger 25-percent fund payments would not
   occur indefinitely and overall, a loss of SRS payments would have long-term negative
   economic consequences for the San Luis Valley area of influence.

   County-Level Summaries on Social and Economic Sustainability and Plan
   Area Contributions
   In the San Luis Valley area of influence, the Forest will continue to contribute to social and
   economic sustainability by providing for multiple uses, ecosystem services, and
   infrastructure, and by having a presence in the community. While timber harvest, ranching,
   recreation, and other resources including ecosystem services will continue to play an
   important economic and social role in the area, individual counties may experience different
   levels of contributions, as well as varying degrees of progress toward the path of sustainable
   economic development. With the concept of sustainability (resiliency and efficiency) in
   mind, the following summaries focus on different indicators and factors of economic
   sustainability (as introduced in the Affected Environment section) for each county in the San
   Luis Valley area of influence, in relation to various plan area contributions. Note that the
   summary for Alamosa County includes definitions and other information to aid
   interpretation, while summaries for other counties are more focused on data and are further
   abbreviated.

   Alamosa County
   The Forest contributes to Alamosa County’s economy in various ways, especially through
   grazing and recreation opportunities, and to a lesser extent SRS and PILT payments. The
   county is classified as ‘isolated’ according to the market access classification system, as
   described in the Factors ofSocial and Economic Sustainability in the Forest’s Area of
   Influence section and Table 98. Alamosa County is specialized in the government sector
   (which includes federal and state employment and activities) according to the ERS economic
   dependence typology.
   Additionally, the economic base analysis (Table 99) shows that 34 percent of Alamosa
   County’s employment base belongs in the Local Residential Services sector (services paid for
   by earnings, taxes, rents, etc.), while 7 percent belongs in the Indirect Basic section (local
   stores, services, goods, labor, etc. that are needed to support the Direct Basic Industry).
   Direct basic industry makes up 59 percent of Alamosa County’s economy, the lowest among
   the seven-county area of influence. Direct basic sectors are the driver of growth, the industry
   that exports its goods or services outside the local economy and brings in outside dollars.
   Besides government services, the economic base analysis revealed that the county has a high
   share of total direct basic employment in the regional services category (regional services are
   industries that may provide direct basic services/goods to outside consumers, and services
   and employment to local residents). Based on this information, the largest economic impact
   to Alamosa County associated with the Forest would result from activities outside of forest



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      plan revision. For example, SRS and PILT payments and/or changes to federal and state
      employment levels and spending are not impacted by the forest plan.
      About 14 percent of all employees in Alamosa County belong in the creative class, which is
      below both the national and state (Colorado) averages (18 percent and 23 percent,
      respectively). The creative class thesis is described in the Creative Class Employment
      section; in short, it proposes the need for communities and towns to attract engineers,
      architects, artists, and people in other creative occupations to be competitive in today’s
      economy. This is particularly relevant in rural areas that tend to lose much of their young
      talent to larger cities. However, Alamosa’s median age is quite low (30.1), well below the
      national and state average.
      Productivity is measured by GDP per worker, with $93,900 per worker, Alamosa County has
      the highest GDP per worker value within the seven-county area, which is close to the
      national average of $94,400. High versus low productivity is a concern because productivity
      growth is a crucial determinant of living standards for future generations. See the Measures
      ofProductivity section for further details.
      As for economic diversity, Alamosa County has a Shannon-Weaver diversity index of 0.66,
      which is the most diverse within the seven-county area (the State of Colorado has a value of
      0.76). The Shannon-Weaver index is described in the Economic Diversity section, but in
      short, it provides an index that accounts for both numbers of industries and the spread of
      employment across those industries. Economies with greater economic diversity are able to
      endure economic shocks and recessions better than highly specialized economies. If there
      were a dramatic change to industries that a county is specialized in, that county would
      experience a greater economic impact, either positive or negative. Relative to contributions
      from the Forest, because Alamosa County is more diverse, it would be less likely to
      experience dramatic economic impacts, if plan area contributions were to change, for
      instance.
      Lastly, with regards to civilian labor force in the future, total civilian employment demands
      are projected to increase through 2040 (annual average increases of 0.9 percent), with the
      majority of growth occurring during the initial years. Demand for tourism-related
      employment is not projected to increase notably.
      Relative to plan area contributions, Alamosa County is not likely to see significant economic
      changes from current conditions. Range availability is anticipated to be identical across
      alternatives A through C, and reductions associated with alternative D are expected to be
      minor. It is not known if increased travel costs for grazing permittees under alternative D will
      impact residents of Alamosa County. With regards to recreation, alternative B would provide
      the greatest mix of recreation uses; therefore, it is likely to provide the largest positive
      economic impact. Because alternative D would restrict off-road big game retrieval during
      hunting season and some motorized access, it may negatively impact recreation spending.
      These negative economic impacts are likely to be marginal. Additionally, depending upon the
      amount of increase in dispersed recreation users under alternative D, spending associated
      with those additional uses might offset the loss of motorized recreation.




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   Conejos County
   The Forest contributes to Conejos County’s economy in various ways, especially through
   grazing, timber, and recreation opportunities, and to a large extent, PILT and SRS payments,
   as nearly 60 percent of the land in Conejos County is federally owned. The county is
   classified as an isolated farm-dependent county according to the market access classification
   and economic dependency typology systems. This means that farm earning accounts for 25
   percent or more of total county earnings, or at least 16 percent of total employment is in the
   farm sector. Conejos County’s economy is almost exclusively employed in the direct base
   economy (91 percent), where those direct base industries are largely agriculture (30 percent)
   and commuters (20 percent). A large commuter base indicates that many residents of Conejos
   County travel outside of the local area to obtain employment. This indicates that the local
   economy lacks sufficient opportunities within Conejos County’s boundaries. Based on
   Conejos County’s reliance on the agriculture industry and its dependence on the economic
   opportunities the Forest provides in timber, grazing, and recreation, plan area directions and
   management of public lands in general have the potential to have meaningful impacts on the
   local economy.
   About 11.6 percent of all employees in Conejos County belong in the creative class; this is
   below both the national and state (Colorado) averages (18 percent and 23 percent,
   respectively). These values are not surprising considering that the base economy is rooted in
   agriculture. As discussed in the Alamosa County section, economies without a creative class
   of employment are at risk of losing their young workforce to cities. Alamosa County’s base
   economy is also heavily rooted in the commuter sector, indicating that the creative class may
   already be seeking employment outside of the local area.
   Productivity is measured by GDP per worker. At $58,400 per worker, Conejos County has a
   GDP per worker value well below the national average of $94,400. While not the lowest in
   the area of influence, it remains a concern. High versus low productivity is a crucial
   determinant of living standards for future generations. See the Measures ofProductivity
   section for further details.
   In regards to economic diversity, Conejos County has a Shannon-Weaver diversity index of
   0.61 (the State of Colorado has a value of 0.76), which is the average for the San Luis Valley
   area of influence. Economies with greater economic diversity are able to endure economic
   shocks and recessions better than highly specialized economies. If there were a dramatic
   change to industries a county is specialized in, that county would see a greater economic
   impact, either positive or negative. Relative to contributions from the Forest, because
   Conejos County is more diverse, it would be less likely to see dramatic economic impacts, if
   the Plan Area’s contributions were to change, for instance.
   Lastly, with regards to civilian labor force in the future, civilian employment demands are
   projected to increase through 2040 by about 0.3 percent on an annual average basis, with the
   majority of growth occurring during the initial years. Demand for tourism-related
   employment is projected to remain flat or decline marginally (Table 100).
   In addition to a largely flat civilian labor force in the near future, the county is agriculturally
   dependent and isolated, with relatively low creative class employment and economic
   diversity. Therefore, relative to plan area contributions, Conejos County is more likely to
   experience subsequent economic effects, if any, on its local economy than others within the

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      San Luis Valley area of influence. As described above, the county’s economy relies on access
      to forage for grazing, as well as timber, and recreation opportunities provided by the Forest.
      Range availability is anticipated to be identical across alternatives A through C, and
      reductions in available acres associated with alternative D are expected to be minor. It is not
      known if increased travel costs for grazing permittees under alternative D will impact
      Conejos County residents. With regards to recreation, alternative B would provide the
      greatest mix of recreation uses; therefore, it is likely to provide the largest positive economic
      impact. Because alternative D would restrict off-road game retrieval and some motorized
      access, it may negatively impact recreation spending. These negative economic impacts are
      likely to be marginal. Additionally, depending upon the amount of increase in dispersed
      recreation users under alternative D, spending associated with those additional uses might
      offset the loss of motorized recreation. Occupations involved in timber-related sectors likely
      would prefer alternative C, which provides the largest volume of timber for extraction.
      Alternative D would be the least preferred alternative, and alternative B would be preferred
      to alternative D, where projected timber sale volumes are higher.

      Costilla County
      The Forest contributes to Costilla County’s economy primarily through recreation, and to a
      very small extent through grazing. Costilla County is classified as an isolated farm-dependent
      county according to the market access classification and economic dependency typology
      systems. The county is mostly employed in the direct base economy (88 percent). Direct base
      industries are largely agriculture-related (37 percent) and retiree income (24 percent).
      Retirees as a base industry have significant long-term implications as any subsequent
      changes (i.e., the number of retirees living in the county) will have a sizable impact on
      indirect and local residential services, particularly health care, residential services, and local
      government activities and services supported by taxable income. Despite Costilla County’s
      reliance on the agricultural industry, very little of the sector is supported through the Forest.
      Instead, recreation is the primary economic connection. Recreation accounts for only
      3 percent of the total civilian labor force, and this is not projected to increase through 2040
      (Table 100). Based on the minimal economic dependence Costilla County has on products
      and uses on the Forest, it is unlikely that plan area direction has the potential to have
      substantial impacts on the local economy. However, Mount Blanca is within Costilla
      County’s boundaries and is important socially.
      Productivity is measured by GDP per worker. At $59,100 per worker, Costilla County is well
      below national average ($94,400). While not the lowest in the area of influence, it remains a
      concern. High versus low productivity is a crucial determinant of living standards for future
      generations. See the Measures of Productivity section for further details.
      In regards to economic diversity, Costilla County has a Shannon-Weaver diversity index of
      0.58 (the State of Colorado is 0.76). Economies with greater economic diversity are able to
      endure economic shocks and recessions better than highly specialized economies.
      About 15.2 percent of all employees in Costilla County belong in the creative class, which is
      below both the national and state (Colorado) averages (18 percent and 23 percent,
      respectively). These values are not surprising considering that the base economy is rooted in
      agriculture. Economies without a creative class of employment are at risk of losing their
      young workforce. Costilla County’s median age is already quite high (49.0), well above the

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   state (Colorado) and national average (Table 88), indicating that young talent has sought
   employment elsewhere.
   Based on the small and declining amount of tourism-related employment in the county and
   the lack of dependence of grazing and timber forest products from the Forest, it is unlikely
   that any alternative will have a significant economic impact. However, those industries that
   are recreation dependent would likely prefer alternative B, which would provide the greatest
   mix of recreation uses and therefore is likely to provide the largest positive economic impact.
   Because alternative D would restrict off-road game retrieval and some motorized access, it
   may negatively impact recreation spending. These negative economic impacts are likely to be
   marginal. Additionally, depending upon the amount of increase in dispersed recreation users
   under alternative D, spending associated with those additional uses might offset the loss of
   motorized recreation.

   Hinsdale County
   The Forest contributes to Hinsdale’s economy in various ways, especially through recreation
   and timber, and to a lesser extent through SRS and PILT payments. Hinsdale is classified as
   an isolated recreation-dependent county according to the market access classification and
   economic dependency typology systems. The county is mostly employed in the direct base
   economy (88 percent). Direct base industries are largely tourism-related (33 percent) and
   retiree income (31 percent). Retirees as a base industry have significant long-term
   implications as any subsequent changes (i.e., the number of retirees living in the county) will
   have a sizable impact on indirect and local residential services, particularly health care,
   residential services, and local government activities and services supported by taxable
   income. Based on Hinsdale County’s reliance on the recreation industry and its dependence
   on the recreation opportunities (including scenery and other natural amenities) the Forest
   provides, plan area direction has the potential to have meaningful impacts on the local
   economy. Ninety-six percent of the Hinsdale County land base is in federal ownership, and
   only one community exists.
   Productivity is measured by GDP per worker. At $52,400 per worker, Hinsdale County is
   well below the national average ($94,400) and has the lowest productivity per worker in the
   16-county social and economic area of influence. Economic productivity is a crucial
   determinant of living standards for future generations because productivity is interrelated
   with economic efficiency, and economies that lack efficiency risk being stagnant.
   In regards to economic diversity, Hinsdale County has a Shannon-Weaver diversity index of
   0.58 (the State of Colorado is 0.76). Economies with greater economic diversity are able to
   endure economic shocks and recessions better than highly specialized economies. Relative to
   contributions from the Forest, because Hinsdale County is less diverse, it would be more
   likely to experience changes in the local economy, if the plan area’s contributions were to
   change, for instance.
   About 30 percent of all employees in Hinsdale County belong in the creative class, which is
   above both the national and state (Colorado) averages (18 percent and 23 percent,
   respectively). Local economies with a strong creative class of employment are in a better
   position to attract and retain younger talents. This will become increasingly important for



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      counties with a sizable direct basic industry reliant on the retiree income category, especially
      if the number of incoming retirees decreases in the future.
      Lastly, with regards to labor force, civilian employment demands are projected to grow at an
      annual average rate of 1.3 percent through 2040. Demand for tourism-related employment is
      projected to grow marginally at less than 1 percent over the same period (Table 100).
      In addition to a slow-growing tourism-related labor force in the near future, the county is
      recreation-dependent and isolated, with a relatively high creative class employment but lower
      economic diversity and productivity. Therefore, relative to plan area contributions, Hinsdale
      County is more sensitive to subsequent economic effects, if any, on its local economy than
      others within the area of influence. With regards to recreation, alternative B would provide
      the greatest mix of recreation uses; therefore, it is likely to provide the largest positive
      economic impact. Because alternative D would restrict off-road game retrieval and some
      motorized access, it may negatively impact recreation spending. These negative economic
      impacts are likely to be marginal. Additionally, depending upon the amount of increase in
      dispersed recreation users under alternative D, spending associated with those additional uses
      might offset the loss of motorized recreation.

      Mineral County
      Like Hinsdale County, the Forest contributes to Mineral County’s economy in various ways,
      especially through timber and recreation opportunities, and to a lesser extent through SRS
      and PILT payments. Mineral County is classified as an isolated recreation-dependent county
      according to the market access classification and economic dependency typology systems.
      The county is mostly employed in the direct base economy (81 percent). Direct base
      industries are largely tourism-related (68 percent) with a sizable portion in the retiree income
      category. Retirees as a base industry have significant long-term implications because any
      subsequent changes (i.e., the number of retirees living in the county) will have a sizable
      impact on indirect and local residential services, particularly, health care, residential services,
      and local government activities and services supported by taxable income. Based on Mineral
      County’s reliance on the recreation industry and its dependence on the recreation
      opportunities (including scenery and other natural amenities) the Forest provides, plan area
      direction has the potential to have meaningful impacts on the local economy.
      Productivity is measured by GDP per worker. At $55,500 per worker, Mineral County is well
      below national average ($94,400). Economic productivity is a crucial determinant of living
      standards for future generations.
      In regards to economic diversity, Mineral County has a Shannon-Weaver diversity index of
      0.55 (the State of Colorado is 0.76). Economies with greater economic diversity are able to
      endure economic shocks and recessions better than highly specialized economies. Relative to
      contributions from the Forest, because Mineral County is less diverse, it would be more
      likely to experience changes in the local economy, if the plan area’s contributions were to
      change, for instance. Mineral County has a larger percentage of its land base in federal
      ownership, with only one community.
      About 27 percent of all employees in Mineral County belong in the creative class, which is
      above both the national and state (Colorado) averages (18 percent and 23 percent,
      respectively). Local economies with a strong creative class of employment are in a better


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   position to attract and retain younger talents. This will become increasingly important for
   counties with a sizable direct basic industry reliant on the retiree income category, especially
   if the number of incoming retirees decreases in the future.
   Lastly, with regards to civilian labor force in the future, civilian employment demands are
   projected to grow at an annual average rate of 2 percent until 2020 and then decline at an
   annual rate of 0.3 percent through 2040. Demand for tourism-related employment is
   projected to remain flat (Table 100).
   In addition to a largely flat and declining tourism-related labor force in the near future, the
   county is recreation dependent and isolated, with a relatively high creative class employment
   but lower economic diversity and productivity. Therefore, relative to plan area contributions,
   Mineral County is more sensitive to subsequent economic effects, if any, on its local
   economy than others within the San Luis Valley area of influence. With regards to recreation,
   alternative B would provide the greatest mix of recreation uses; therefore, it is likely to
   provide the largest positive economic impact. Because alternative D would restrict off-road
   game retrieval and some motorized access, it may negatively impact recreation spending.
   These negative economic impacts are likely to be marginal. Additionally, depending upon the
   amount of increase in dispersed recreation users under alternative D, spending associated
   with those additional uses might offset the loss of motorized recreation.

   Rio Grande County
   The Forest contributes to the local economy in Rio Grande County in various ways,
   especially through timber, grazing, and recreation opportunities, and to some extent through
   SRS and PILT payments. Rio Grande County is classified as an isolated, nonspecialized
   county according to the market access classification and economic dependency typology
   systems. Nonspecialized counties were counties that did not qualify for either the farming,
   mining, manufacturing, Federal/State government, or recreation dependency criteria. The
   county is mostly employed in the direct base economy (79 percent). Rio Grande County’s
   direct base industries are largely agriculture (40 percent). Based on the county’s reliance on
   the agriculture industry and its dependence on the economic opportunities the Forest provides
   in timber, grazing, and recreation, forest plan revision has the potential to have meaningful
   impacts on the local economy.
   About 18 percent of all employees in Rio Grande County belong in the creative class, which
   is at the state average, but below the national average (23 percent). Economies without a
   creative class of employment are at risk of losing their young workforce.
   Productivity is measured by GDP per worker, At $90,300 per worker, Rio Grande County is
   near national average ($94,400).
   As for economic diversity, Rio Grande County has a Shannon-Weaver diversity index of
   0.63, which is near the San Luis Valley area average (the State of Colorado is 0.76).
   Economies with greater economic diversity are able to endure economic shocks and
   recessions better than highly specialized economies.
   Lastly, with regards to labor force in the future, civilian employment demands are projected
   to remain flat. Tourism-related employment demand, however, is projected to decline the
   most during the decade prior to 2040 (about 70 jobs).


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      In addition to a largely flat and declining civilian labor force, the county is nonspecialized
      and isolated, with relatively average productivity, creative class employment, and economic
      diversity. Therefore, relative to plan area contributions, Rio Grande County may be subject to
      subsequent economic effects, if any, on its local economy. Range availability is anticipated to
      be identical across alternatives A through C, and reductions associated with alternative D are
      expected to be minor. It is not known if increased travel costs for grazing permittees under
      alternative D will impact Rio Grande County residents. With regards to recreation, alternative
      B would provide the greatest mix of recreation uses; therefore, it is likely to provide the
      largest positive economic impact. Because alternative D would restrict off-road game
      retrieval and some motorized access, it may negatively impact recreation spending. These
      negative economic impacts are likely to be marginal. Additionally, depending upon the
      amount of increase in dispersed recreation users under alternative D, spending associated
      with those additional uses might offset the loss of motorized recreation. Occupations
      involved in timber-related sectors would prefer alternative C, which provides the largest
      volume of timber for extraction. Alternative D would be the least preferred alternative, and
      alternative B would be preferred to alternative D, where projected timber sale volumes are
      higher.

      Saguache County
      The Forest contributes to Saguache County’s economy in various ways, especially through
      timber, grazing, and recreation opportunities, and to a large extent through SRS taxes and
      PILT payments. Saguache is classified as an isolated farm-dependent county according to the
      market access classification and economic dependency typology systems. The county’s
      economy is almost exclusively employed in the direct base economy (92 percent). Direct
      base industries are largely agriculture (46 percent). Based on Saguache County’s reliance on
      the agriculture industry and its dependence on the economic opportunities the Forest provides
      in timber, grazing, and recreation, forest plan revision has the potential to have meaningful
      impacts on the local economy.
      About 15 percent of all employees in Saguache County belong in the creative class, which is
      below both the national and state (Colorado) averages (18 percent and 23 percent,
      respectively). These values are not surprising considering that the base economy is rooted in
      agriculture. Economies without a creative class of employment are at risk of losing their
      young workforce.
      Productivity is measured by GDP per worker. At $78,200 per worker, Saguache County is
      below national average ($94,400). Low productivity is a crucial determinant of living
      standards for future generations.
      In regards to economic diversity, Saguache County has a Shannon-Weaver diversity index of
      0.59 (the State of Colorado is 0.76). Economies with greater economic diversity are able to
      endure economic shocks and recessions better than highly specialized economies. Relative to
      contributions from the Forest, because Saguache County is less diverse, it would be more
      likely to experience changes in the local economy if plan area contributions were to change,
      for instance.




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   Lastly, with regards to civilian labor force in the future, civilian employment demands are
   projected to remain flat through 2040 with some growth during the initial years (annual
   average increase of 0.64 percent), and then decline marginally by 2040 (0.2 percent annual
   decline). Demand for tourism-related employment is projected to remain flat (Table 100).
   In addition to a largely flat civilian labor force in the near future, the county is agriculturally
   dependent and isolated, with relatively lower creative class employment and economic
   diversity. Therefore, relative to plan area contributions, Saguache County is more likely to
   experience subsequent economic effects, if any, on its local economy than others within the
   area of influence. Range availability is anticipated to be identical across alternatives A
   through C, and reductions associated with alternative D are expected to be minor. It is not
   known if increased travel costs for grazing permittees under alternative D will impact
   Saguache residents. With regards to recreation, alternative B would provide the greatest mix
   of recreation uses; therefore, it is likely to provide the largest positive economic impact.
   Because alternative D would restrict off-road game retrieval and some motorized access, it
   may negatively impact recreation spending. These negative economic impacts are likely to be
   marginal. Additionally, depending upon the amount of increase in dispersed recreation users
   under alternative D, spending associated with those additional uses might offset the loss of
   motorized recreation. Occupations involved in timber-related sectors would prefer alternative
   C, which provides the largest volume of timber for extraction. Alternative D would be the
   least preferred alternative, and alternative B would be preferred over alternative D, where
   projected timber sale volumes are higher.




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      Table 110. Annual average economic contributions (jobs, income, and GDP) by
      industries based on total projected timber sale and wood sale quantities, including
      salvage volume, alternatives A and B (1st decade)
                               Employment (# of full     Labor Income (Thousands         GDP (Thousands of
                                and part-time Jobs)              of 2014$)                     2014$)

                                                •9 -o                        •9 -o                             •9 -o
                                w       oo                 w         oo                  w        oo
                                o                          o                             o
                                1-      Q                  1-        Q                   1-       Q

       Agriculture             134     105      29       5,199     4,417      782      6,836    5,500      1,336
       Mining                   1        0       1         79        0         79       160       0            160
       Utilities                3        0       3        184        0        184       595       0            595
       Construction             6        0       6        173        0        173       213       0            213
       Manufacturing           147     135      12       4,508     4,132      375      5,407    4,959          449
       Wholesale Trade          15       0      15        868        0        868      1,495      0        1,495
       Transportation and
       Warehousing              14       0      14        624        0        624       803       0            803

       Retail Trade             14       0      14        438        0        438       687       0            687
       Information              3        0       3        142        0        142       355       0            355
       Finance & Insurance      9        0       9        444        0        444       628       0            628
       Real Estate & Rental
                                9        0       9        112        0        112      1,646      0        1,646
       & Leasing
       Professional,
       Scientific, and          17       0      17        727        0        727       842       0            842
       Technical Services
       Management of
       Companies and            4        0       4        193        0        193       247       0            247
       Enterprises
       Administration, Waste
       & Remediation            15       0      15        288        0        288       351       0            351
       Service
       Educational Services     2        0       2         36        0         36       39        0             39
       Health Care and
                                15       0      15        722        0        722       795       0            795
       Social Assistance
       Arts, Entertainment,
                                6        0       6         71        0         71       117       0            117
       and Recreation
       Accommodation and
                                16       0      16        336        0        336       520       0            520
       Food Services
       Other Services           12       0      12        495        0        495       628       0            628
       Government & Others      3        0       3        140        0        140       145       0            145
       Total                   445     240      205      15,778    8,549     7,229    22,510    10,458     12,052




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   Table 111. Annual average economic contributions (jobs, income, and GDP) by
   industries based on total projected timber sale and wood sale quantities, no salvage
   volume, alternatives A and B (2nd decade)

                         Employment (# of full and        Labor Income           GDP (Thousands of
                             part-time Jobs)          (Thousands of 2014$)             2014$)

                                                                      •8 -o                    •8 -o
                           w        oo      « 8       w        oo      o 8      w       oo      o 8
                           o                          o                         o
                           1-       Q                 1-       Q                1-      Q
                                             =-                        =-                       =-
    Agriculture            33       27        6      1,310   1,131     179     1,713   1,409    305
    Mining                 0         0        0       16       0       16       31       0      31
    Utilities              1         0        1       37       0       37       111      0      111
    Construction           1         0        1       37       0       37       41       0      41
    Manufacturing          30       28        3      932      853      78       977    895      82
    Wholesale Trade        3         0        3       191      0       191      290      0      290
    Transportation &
                           3         0        3       144      0       144      154      0      154
    Warehousing
    Retail Trade           3         0        3       99       0       99       141      0      141
    Information            1         0        1       34       0       34       68       0      68
    Finance and
                           2         0        2       99       0       99       124      0      124
    Insurance
    Real Estate &
                           2         0        2       25       0       25       340      0      340
    Rental & Leasing
    Professional,
    Scientific, and
                           4         0        4       166      0       166      160      0      160
    Technical
    Services
    Management of
    Companies and          1         0        1       44       0       44       45       0      45
    Enterprises
    Administration,
    Waste and
                           3         0        3       67       0       67       67       0      67
    Remediation
    Service
    Educational
                           0         0        0        8       0        8        8       0       8
    Services
    Health Care and
                           3         0        3       164      0       164      166      0      166
    Social Assistance
    Arts,
    Entertainment,         1         0        1       16       0       16       23       0      23
    and Recreation
    Accommodation
                           3         0        3       76       0       76       104      0      104
    & Food Services
    Other Services         3         0        3       111      0       111      128      0      128
    Government and
                           1         0        1       31       0       31       28       0      28
    Others
    Total                 100       55       45      3,608   1,984    1,623    4,719   2,303   2,416




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      Table 112. Annual average economic contributions (jobs, income, and GDP) by
      industries based on total projected timber sale and wood sale quantities, with salvage
      volume, alternative C (years 1-6)

                             Employment (# of full     Labor Income (Thousands         GDP (Thousands of
                              and part-time Jobs)              of 2014$)                     2014$)

                                              •8 -o                        •8 -o                             •8 ,
                            w        oo       « 8        w         oo       o 8        w        oo            o 8
                            o                            o                             o
                            1-       Q                   1-        Q                   1-       Q
                                              =-                            =-                               =-
       Agriculture          256     201        55      9,957     8,457     1,500    13,095    10,530     2,565
       Mining                3       0         3        151        0        151       307       0            307
       Utilities             6       0         6        353        0        353      1,146      0        1,146
       Construction         12       0         12       332        0        332       411       0            411
       Manufacturing        284     260        23      8,667     7,945      722     10,420    9,555          865
       Wholesale Trade      28       0         28      1,667       0       1,667     2,877      0        2,877
       Transportation &
                            27       0         27      1,196       0       1,196     1,545      0        1,545
       Warehousing
       Retail Trade         26       0         26       840        0        840      1,322      0        1,322
       Information           5       0         5        271        0        271       684       0            684
       Finance and
                            18       0         18       853        0        853      1,209      0        1,209
       Insurance
       Real Estate &
                            17       0         17       214        0        214      3,165      0        3,165
       Rental & Leasing
       Professional,
       Scientific, and      33       0         33      1,396       0       1,396     1,622      0        1,622
       Technical Services
       Management of
       Companies and         8       0         8        371        0        371       476       0            476
       Enterprises
       Administration,
       Waste and
                            29       0         29       553        0        553       677       0            677
       Remediation
       Service
       Educational
                            4        0         4         70        0         70       75        0            75
       Services
       Health Care and
                            29       0         29      1,387       0       1,387     1,528      0        1,528
       Social Assistance
       Arts,
       Entertainment,       11       0         11       137        0        137       225       0            225
       and Recreation
       Accommodation &
                            30       0         30       644        0        644      1,000      0        1,000
       Food Services
       Other Services       23       0         23       951        0        951      1,208      0        1,208
       Government and
                             6       0         6        269        0        269       278       0            278
       Others
       Total                855     461       394      30,280   16,402     13,878   43,269    20,085     23,184




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   Table 113. Annual average economic contributions (jobs, income, and GDP) by
   industries based on total projected timber sale and wood sale quantities, no salvage
   volume, alternative C (year 7 through 2nd decade)
                         Employment (# of full    Labor Income (Thousands      GDP (Thousands of
                          and part-time Jobs)             of 2014$)                  2014$)

                                          •8 -o                    •8 -o                     •8 ,
                         w        oo      « 8      w        oo      o 8       w       oo      o 8
                         o                         o                          o
                         1-       Q                1-       Q                 1-      Q
                                           =-                       =-                        =-
    Agriculture          60       48       12     2,340   2,020     320      3,059   2,515    544
    Mining               0        0         0      29       0       29        55       0      55
    Utilities             1       0         1      66       0       66       198       0      198
    Construction         2        0         2      66       0       66        72       0      72
    Manufacturing        54       50        4     1,663   1,524     140      1,745   1,598    147
    Wholesale Trade      6        0         6      340      0       340      518       0      518
    Transportation &
                         6        0         6     257       0       257      275       0      275
    Warehousing
    Retail Trade         5        0         5      177      0       177      252       0      252
    Information           1       0         1      61       0       61       122       0      122
    Finance &
                         4        0         4      176      0       176      222       0      222
    Insurance
    Real Estate &
                         4        0         4      46       0       46       607       0      607
    Rental & Leasing
    Professional,
    Scientific, and      7        0         7     297       0       297      285       0      285
    Technical Services
    Management of
    Companies and        2        0         2      78       0       78        81       0      81
    Enterprises
    Administration,
    Waste and
                         6        0         6      119      0       119      119       0      119
    Remediation
    Service
    Educational
                          1       0         1      15       0       15        15       0      15
    Services
    Health Care and
                         6        0         6     292       0       292      297       0      297
    Social Assistance
    Arts,
    Entertainment,       2        0         2      29       0       29        42       0      42
    and Recreation
    Accommodation &
                         6        0         6      136      0       136      185       0      185
    Food Services
    Other Services       5        0         5      199      0       199      229       0      229
    Government and
                          1       0         1      55       0       55        50       0      50
    Others
    Total                178      98       80     6,442   3,544    2,898     8,427   4,113   4,314




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      Table 114. Annual average economic contributions (jobs, income, and GDP) by
      industries based on total projected timber sale and wood sale quantities, with salvage
      volume, alternative D (1st decade)
                            Employment (# of full     Labor Income (Thousands         GDP (Thousands of
                             and part-time Jobs)              of 2014$)                     2014$)

                                             •8 -o                        •8 -o                            •8 ,
                            w        oo      « 8        w         oo       o 8        w        oo           o 8
                            o                           o                             o
                            1-       Q                  1-        Q                   1-       Q
                                              =-                           =-                              =-
       Agriculture          73       57       16      2,821     2,397      424      3,709    2,985         725
       Mining                1       0         1        43        0        43        86        0           86
       Utilities             2       0         2        99        0         99       322       0           322
       Construction          3       0         3        94        0         94       116       0           116
       Manufacturing        80       73        6      2,443     2,240      203      2,929    2,685         243
       Wholesale Trade       8       0         8       471        0        471       810       0           810
       Transportation &
                             8       0         8       338        0        338       435       0           435
       Warehousing
       Retail Trade          7       0         7       237        0        237       373       0           373
       Information           1       0         1        77        0         77       192       0           192
       Finance and
                             5       0         5       241        0        241       340       0           340
       Insurance
       Real Estate &
                             5       0         5        61        0        61        892       0           892
       Rental & Leasing
       Professional,
       Scientific, and       9       0         9       394        0        394       456       0           456
       Technical Services
       Management of
       Companies and         2       0         2       105        0        105       134       0           134
       Enterprises
       Administration,
       Waste and
                             8       0         8       156        0        156       190       0           190
       Remediation
       Service
       Educational
                             1       0         1        20        0        20        21        0           21
       Services
       Health Care and
                             8       0         8       392        0        392       431       0           431
       Social Assistance
       Arts,
       Entertainment,        3       0         3        39        0         39       63        0           63
       and Recreation
       Accommodation &
                             9       0         9       182        0        182       282       0           282
       Food Services
       Other Services        7       0         7       269        0        269       340       0           340
       Government and
                             2       0         2        76        0         76       78        0           78
       Others
       Total                242     130       111     8,556     4,636     3,920    12,200    5,670     6,530




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   Table 115. Annual average economic contributions (jobs, income, and GDP) by
   industries based on total projected timber sale and wood sale quantities, no salvage
   volume, alternative D (2nd decade)
                         Employment (# of full    Labor Income (Thousands      GDP (Thousands of
                          and part-time Jobs)             of 2014$)                  2014$)

                                          •8 -o                    •8 -o                     •8 ,
                         w        oo      « 8      w        oo      o 8       w       oo      o 8
                         o                         o                          o
                         1-       Q                1-       Q                 1-      Q
                                           =-                       =-                        =-
    Agriculture          16       13        3     624      539      85       816     671      145
    Mining               0        0         0       8       0        8        15      0       15
    Utilities            0        0         0      18       0       18        53      0       53
    Construction         1        0         1      18       0       18        19      0       19
    Manufacturing        14       13        1     444      406      37       465     426      39
    Wholesale Trade      1        0         1      91       0       91        138     0       138
    Transportation &
                         1        0         1      69       0       69        73      0       73
    Warehousing
    Retail Trade         1        0         1      47       0       47        67      0       67
    Information          0        0         0      16       0       16        33      0       33
    Finance and
                         1        0         1      47       0       47        59      0       59
    Insurance
    Real Estate &
                         1        0         1      12       0       12        162     0       162
    Rental & Leasing
    Professional,
    Scientific, and      2        0         2      79       0       79        76      0       76
    Technical Services
    Management of
    Companies and        0        0         0      21       0       21        22      0       22
    Enterprises
    Administration,
    Waste and
                         2        0         2      32       0       32        32      0       32
    Remediation
    Service
    Educational
                         0        0         0      4        0        4        4       0        4
    Services
    Health Care and
                         2        0         2      78       0       78        79      0       79
    Social Assistance
    Arts,
    Entertainment,       1        0         1       8       0        8        11      0       11
    and Recreation
    Accommodation &
                         2        0         2      36       0       36        49      0       49
    Food Services
    Other Services       1        0         1      53       0       53        61      0       61
    Government and
                         0        0         0      15       0       15        13      0       13
    Others
    Total                47       26       21     1,718    945      773      2,247   1,097   1,150




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      Chapter 4. Consultation and Coordination
      List of Preparers
      The preparation of this draft environmental impact statement and draft revised forest plan has
      been a major undertaking. This list of preparers is limited to those people who were members
      of the interdisciplinary team working on these documents. The preparation of these
      documents could not have been completed without the support and assistance of the
      employees of the Rio Grande National Forest and our colleagues in the Rocky Mountain
      Regional Office. We also recognize the forest leadership team as providing guidance during
      this process.

      Core Interdisciplinary Team
      The core interdisciplinary team (Table 116) developed plan components and alternatives, and
      wrote the analysis for the draft environmental impact statement. Rio Grande National Forest
      and Rocky Mountain Regional Office team members communicated primarily virtually and
      met in person at critical points of integration of the documents.

      Table 116. Core interdisciplinary team
              Name                              Position Title                                   Team Role
                                                    Rio Grande National Forest
       Erin Minks              Forest Planner                                    Co-Interdisciplinary Team Lead
       Judi Perez              Range, Soils, Water, Invasive Program Lead        Co-Interdisciplinary Team Lead
       Ivan Geroy              Forest Hydrologist                                Water/Wild and Scenic Rivers
       Randy Ghormley          Forest Wildlife Biologist                         Wildlife
                               Recreation, Lands, and Heritage Program
       Carlos Gonzales                                                           Recreation/Scenery/Wilderness/Lands
                               Manager
       Sid Hall                Prescribed Fire and Fuels Specialist              Fire/Fuels
       Angie Krall             Forest Archaeologist                              Archaeology/Heritage Resources/Tribal
       Chad Lewis              Forest Fire Management Officer                    Fire/Fuels
       Patrick Moran           Forest Geologist                                  Geology/Minerals
       Jason Remshardt         Forest Fisheries Biologist                        Fisheries/Wild and Scenic Rivers
       Kirby Self             Vegetation Program Manager                         Timber/Silviculture
       Vaughn Thacker          Forest Soil Scientist                             Soils/Air
                           Rocky Mountain Regional Office, Forest Plan Revision Support Team
                                                                                 Regulation Compliance/Regional Office
       Chris Wehrli            Environmental Coordinator, Team Leader
                                                                                 Guidance
       Tim Croissant           Wildlife Biologist                                Wildlife
       Ellen Hardy             Writer/Editor                                     Writer/Editor
       Natalie Heberling       Geospatial Analyst                                GIS Support/Wilderness
       Stephanie Rebain       Vegetation Analyst                                 Vegetation/Timber
       Samantha Rider          Recreation Specialist                             Recreation/Scenery




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   Extended Interdisciplinary Team
   The extended interdisciplinary team (Table 117) primarily provided support and assistance in
   reviewing documents for policy consistency. In some cases, team members worked with
   Forest counterparts to help write plan components and write the analysis for the draft
   environmental impact statement.

   Table 117. Extended interdisciplinary team
           Name                             Position Title                                   Team Role
                                               Rio Grande National Forest
    Guy Blackwolf        Environmental Coordinator                          Project Record Coordination
    Mike Blakeman        Public Affairs Specialist                          Public Involvement
    Cheryl O’Brien       Forest GIS Coordinator                             GIS
    Kelly Ortiz          Landscape Architect                                Scenery
    Andrew Peterson      Realty Specialist                                  Lands
    Meg Sullivan         Forest Engineer                                    Engineering/Infrastructure
                                  Forest Service Rocky Mountain Regional Office
    Daniel Cressy        Regional Landscape Architect                       Recreation/Scenery
    Susan Johnson        Regional Tribal Relations Program Manager          Tribal Consultation
    Tyler Johnson        Regional Botanist                                  Rare Plants/Forest Products
    Kawa Ng              Regional Economist                                 Social/Economics/Ecosystem Services
    Nikki Sandhoff       Economist                                          Social/Economics/Ecosystem Services
    Julie Schaefers      Regional Social Scientist                          Social Science
                         Regional Roadless Projects, Inventory,
    Trey Schillie                                                           Climate Change
                         Monitoring, and Climate Change Coordinator
                         Regional Vegetation Ecologist, Research
    Donna Shorrock                                                          Ecology/Research Natural Areas
                         Natural Areas Coordinator
                                            Forest Service Washington Office
                                                                            Regulatory Compliance/Regional Office
    John Rupe            Planning Specialist
                                                                            Guidance
                                 Forest Service Rocky Mountain Research Station
    Sean Healy           Research Ecologist                                 Carbon Analysis
                                              Bureau of Land Management
    Jessica Montag       Social Scientist                                   Social Science




   Forest Strategy and Advisory Team
   The Forest strategy and advisory team (Table 118) set the framework for the revision effort,
   including making decisions on all aspects of the revision effort related to scope, scale, and
   intensity. They established timeframes, ensured accountability of all personnel involved, and
   assisted the interdisciplinary team on emerging issues.




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      Table 118. Forest strategy and advisory team
                Name                    Position Title
          Dan Dallas          Forest Supervisor
          Tom Malecek         Deputy Forest Supervisor
          Mike Blakeman       Forest Public Affairs Specialist
          Andrea Jones        Conejos Peak District Ranger
          Tristram Post       Saguache District Ranger
          Martha Williamson   Divide District Ranger




      List of Federal, State, and Local Cooperators
      The following entities to help develop the draft revised plan and draft environmental impact
      statement as part of this cooperative group:
      •     Colorado Department of Natural Resources
      •     Colorado Water Conservation Board
      •     Colorado Department of Natural Resources
      •     Colorado State Land Board
      •     Colorado Parks and Wildlife
      •     Great Sand Dunes National Park and Preserve
      •     San Luis Valley Field Office, Bureau of Land Management
      •     San Luis Valley Refuge Complex, U.S. Fish and Wildlife Service
      •     Alamosa County
      •     Conejos County
      •     Hinsdale County
      •     Mineral County
      •     Rio Grande County
      •     Saguache County
      •     Navajo Nation




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   List of Tribal Governments Consulted
   The Rio Grande National Forest regularly consults with the 19 tribes, including those listed
   below:
   •     The Hopi Tribe
   •     Uintah and Ouray/Northern Ute Tribe
   •     Pueblo of Nambe
   •     Pueblo of Santo Domingo
   •     San Ildefonso Pueblo
   •     Ohkay Owingeh
   •     Santa Clara Pueblo
   •     Taos Pueblo
   •     Pueblo de Cochiti
   •     Pueblo of Picuris
   •     Pueblo of Zuni
   •     Pueblo of Laguna
   •     Pueblo of Acoma
   •     Comanche Nation

   The list below represents the tribes most engaged in the plan revision process. The Navajo
   Nation’s involvement rose to the level of formalized cooperating agency status.
   •     Navajo Nation
   •     Southern Ute Tribe
   •     Jicarilla Apache Nation
   •     Ute Mountain Ute Tribe
   •     Pueblo of Santa Ana




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   Glossary

   A
   Access
            Road or trail route over which a public agency claims a right-of-way for public use; a way of
            approach.
   Activity fuels
            Fuels resulting from or altered by forestry practices such as timber harvest or thinning, as
            opposed to naturally created fuels.
   Adaptive management
            An approach to natural resource management where actions are designed and executed and
            effects are monitored for the purpose of learning and adjusting future management actions,
            which improves the efficiency and responsiveness of management.
   Age class
            Age class is one of the intervals, commonly 10 years, into which the age range of trees is
            divided for classification or use. Age class distribution refers to the location and/or
            proportionate representation of different age classes in a forest.
   Air quality: Class I, II, and III areas
            The area classification scheme established by Congress to facilitate implementation of the
            prevention of significant deterioration of the air quality provisions of the Clean Air Act.
            Class I areas receive the highest degree of protection, with only a small amount of certain
            kinds of additional air pollution allowed.
            Mandatory Class I areas were designated by Congress and include international parks,
            national wilderness areas or national memorial parks larger than 5,000 acres, or national
            parks larger than 6,000 acres, that were in existence (or authorized) on August 7, 1977. The
            1990 amendments to the Clean Air Act specified that acreage added to these areas after
            1977 must also receive Class I designation. Mandatory Class I areas may not be
            redesignated to any other classification.
            Congress initially designated all other attainment areas as Class II and allowed a moderate
            increase in certain air pollutants.
            No Class III areas, where a large amount of new air pollution would be allowed, were
            designated by Congress, but a process was established for redesignating Class II areas to
            the more protective Class I or the less protective Class III status. Only states or Native
            American governing bodies have authority to redesignate these areas, except as noted
            above.
   Air quality related values
            Resource that may be adversely affected by a change in air quality. The resource may
            include visibility or a specific scenic, cultural, physical, biological, ecological, or recreational
            resource. Values are specific for each designated wilderness area.




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      Airshed
             A geographical area that, because of topography, meteorology, and/or climate is frequently
             affected by the same air mass.
      Arborglyph
             Arborglyphs, dendroglyphs, silvaglyphs, modified cultural trees, or aspen carvings are tree
             carvings made in the bark of aspen trees by shepherds, many of them Basque, Hispanic,
             Peruvian, and Irish American, throughout the Western United States.

      Area of Influence
             An area influenced by the management of the plan area that is used during the land
             management planning process to evaluate social, cultural, and economic conditions. The
             area is usually a grouping of counties.
      Assessment
             For the purposes of land management planning at 36 CFR 219, an assessment is the
             identification and evaluation of existing information to support land management planning.
             Assessments are not decision-making documents, but provide current information on select
             topics relevant to the plan area in the context of their borders.
      At-risk species
             A term used to collectively refer to the federally recognized threatened, endangered,
             proposed, and candidate species and species of conservation concern within the planning
             area.
      Aquatic ecosystem
             Waters of the United States that serve as habitat for interrelated and interacting communities
             and populations of plants and animals. It includes the stream channel, lake or estuary bed,
             water, biotic communities, and the habitat features that occur.



      B
      Background
             A term used in scenery management to describe that part of a scene or landscape that is
             farthest from the viewer, typically 3 miles to infinity from the observer.
      Bark beetles
             Bark beetles are members of the family Scolytidae whose adults and larvae tunnel in the
             cambium region (bark and sapwood) of living, dying, and recently dead or felled trees.
      Basal area
             The cross-sectional area, in square feet, of a tree measured at breast height (4.5 feet). Basal
             area of an area is generally estimated in terms of square feet per acre.
      Beneficial uses
             Any of the various uses that may be made of the water, including, but not limited to, domestic
             water supplies, fisheries and other aquatic life, industrial water supplies, agricultural water
             supplies, navigation, recreation in and on the water, wildlife habitat, and aesthetics.




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   Best management practices
            Methods or techniques that have been determined to be the most effective and practical
            means of achieving an objective while making the optimum use of resources.
   Big game
            Those species of large mammals normally managed for sport hunting, generally including
            antelope, bighorn sheep, deer, elk, moose, and mountain goat.
   Big game (crucial) winter range
            Big game winter range is where a population or portion of a population of animals uses the
            documented suitable habitat within this range annually, in substantial numbers only during
            the winter. Crucial winter range describes any portion of the range which has been
            documented as the determining factor in a population’s ability to maintain itself at a certain
            level over the long term.
   Biological diversity, or biodiversity
            The full variety of life in an area, including the ecosystem, plant, and animal communities,
            species and genes, and the processes through which individual organisms interact with one
            another and with their environment.
   Biological evaluation
            As defined by FSM 2670.5, a biological evaluation is a documented Forest Service review of
            Forest Service programs or activities in sufficient detail to determine how an action or
            proposed action may affect any threatened, endangered, proposed, or sensitive species.
            FSM 2672.4 identifies biological evaluation objectives and standards.
   Biological opinion
            Biological opinions document a U.S. Fish and Wildlife Service opinion as to whether a
            Federal action is likely to jeopardize the continued of an Endangered Species Act-listed
            species, or result in the destruction or adverse modification of species’ critical habitat.

   Biotic
            Typically refers to living organisms in their ecological rather than their physiological relations.
   Board foot (BF)
            Measure of an amount of timber equivalent to a piece of 12-inch x 12-inch x 1-inch lumber.
   Broadcast burning
            Allowing a prescribed fire to burn over a designated area within well-defined boundaries to
            achieve some land management objective.
   Browse
            The buds, shoots, and leaves of woody plants eaten by livestock or wild animals.




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      C
      Canada lynx
             The Canada lynx (Lynx canadensis) is a North American mammal of the cat family, Felidae,
             which ranges across Canada and into Alaska as well as some parts of the northern United
             States, including Colorado.
      Candidate species
             For species under the purview of the U.S. Fish and Wildlife Service (Service), a species for
             which the Service possesses sufficient information on vulnerability and threat to support a
             proposal to list as endangered or threatened, but for which no proposed rule has yet been
             published.
      Canopy
             The uppermost spreading, branchy layer of a forest.
      Canopy cover
             The proportion or percentage of the forest floor covered by the vertical projection of tree
             crowns.
      Capability
             The potential of an area to produce resources, supply goods and services, and allow
             resource uses under an assumed set of management practices and at a given level of
             management intensity. Capability depends on current management practices at a given level
             of management intensity. It is also dependent on existing resource and site conditions such
             as climate, slope, landform, soil, and geology, as well as the application of management
             practices, such as silviculture or the protection from fire, insects, and disease.
      Carr
             A type of waterlogged wooded terrain that typically represents a successional stage between
             swamp and the eventual formation of forest. Characteristic trees include alder and willow.
      Cavity-nesting species
             Wildlife species that excavate and/or occupy cavities in trees and snags.
      Channel
             A passage, either naturally or artificially created, that periodically or continuously contains
             moving water, or that forms a connecting link between two bodies of water. River, creek, run,
             branch, and tributary are some of the terms used to describe natural channels, which may be
             single or braided. Canal and floodway are some of the terms used to describe artificial
             channels.
      Clearcut
               1. A stand in which essentially all trees have been removed in one operation to produce an
                  even-aged stand. Depending on management objectives, a clearcut may or may not have
                  reserve trees left to attain goals other than regeneration (see regeneration method two-
                  aged methods).
             2.    A regeneration or harvest method that removes essentially all trees in a stand. A minor
                   live component of the stand may be retained for purposes other than regeneration. The
                   retained trees, referred to as leave trees, should generally comprise less than 10 percent
                   of the growing space of the stand.


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   Climax
            The culminating stage in plant succession for a given site where the vegetation has reached
            a highly stable condition.
   Clone
            A group of plants (for example, aspen) growing in close association, derived by asexual
            reproduction from a single parent plant.
   Coarse woody debris
            Provides living spaces for a host of organisms and serves as long-term storage sites for
            moisture, nutrients, and energy. Coarse woody debris consists of any woody material greater
            than 3 inches in diameter and is derived from tree limbs, boles, roots, and large wood
            fragments and fallen trees in various stages of decay.
   Code of Federal Regulations (CFR)
            The listing of various regulations pertaining to management and administration of national
            forests and other Federal lands.
   Collaboration
            Working with someone to produce or create something.
   Commercial thinning
            An intermediate harvest of commercial-sized trees to meet a variety of management
            objectives including reducing stand density to improve tree growth, improving forest health, or
            to meet other stand structural or composition objectives.
   Common variety minerals
            Deposits that do not possess a distinctly special economic value, although they may have
            value for use in trade or manufacture. These minerals include sand, stone, gravel, pumicite,
            cinders, and pumice.
   Confluence
            The point where two streams meet.
   Connectivity
            Ecological conditions that exist at several spatial and temporal scales that provide landscape
            linkages that permit the exchange of flow, sediments, and nutrients; the daily and seasonal
            movements of animals within home ranges; the dispersal and genetic interchange between
            populations; and the long distance range shifts of species, such as in response to fluctuations
            in climate.
   Conservation status rank
            Conservation status ranks estimate a species risk of elimination. Status ranks are based on a
            1 to 5 scale, 1 denoting a species is critically imperiled and 5 denoting a species is secure.
            Species status is assessed at three geographic scales: global (G), national (N), and
            state/province (S). The overall status of a species is denoted by its G-rank, while its condition
            in a particular country is denotes by its N-rank, and its condition in a particular state/province
            is denoted by its S-rank. Subspecies, varieties, or any other designation below the level of a
            global ranked species, receive a T-rank that denotes their conservation status. A species
            may receive a B- or N-rank that refers to the conservation status of the breeding (B) or
            nonbreeding (N) population in a particular nation or state/province. (NatureServe 2017)



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      Conservation strategy
              A conservation strategy is a management scheme or plan to conserve or sustain particular
              ecosystem elements such as rare species or habitats. An example of a conservation strategy
              is to survey for potential habitats during project planning in order to protect known
              populations of a rare species through project-specific measures.
      Constraint
              A qualification of the minimum or maximum amount of an output or cost that could be
              produced or incurred in a given time period.
      Construction
              The displacement of vegetation, soil, rock, and the installation of human-made structures
              involved in the process of building a complete, permanent road facility. The activities occur at
              a location or corridor that is not currently occupied by a road.
      Consumptive use
              A use of resources that reduces the supply, such as mining, hunting, and fishing.
      Contain
              To surround a fire and any spot fires with a control line as needed, which can reasonably be
              expected to check the fire’s spread under prevailing conditions.
      Coppice (Coppice with standards)
              Coppice is a vegetation reproduction method with clear felling or clearcutting. Clear felling
              stimulates sprouting from the residual roots. Standards are selected overstory trees reserved
              for a longer rotation at the time each crop of coppice material is cut.
      Corridor (utility or right-of-way)
              A linear strip of land defined for the present or future location of transportation or utility right­
              of-way within its boundaries.
      Council on Environmental Quality
              An advisory council to the President established by the National Environmental Policy Act of
              1969. It reviews Federal programs for their effects on the environment, conducts
              environmental studies, and advises the President on environmental matters.
      Cover type
              The dominant vegetation in an area—^for example, aspen, ponderosa pine, or sedges.
      Critical habitat
              For a threatened or endangered species, (1) the specific areas within the geographical area
              occupied by the species, at the time it is listed under the Endangered Species Act, on which
              are found those physical or biological features (a) essential to the conservation of the
              species, and (b) which may require species management considerations or protection; and
              (2) specific areas outside of the geographical area occupied by the species at the time it is
              listed, upon a determination by the Secretary that such area are essential for the
              conservation of the species. Critical habitat is designated through rule making by the
              Secretary of the Interior or Commerce.




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   Critical load
           The concentration of air pollution or total deposition of pollutants above which specific
           deleterious effects may occur.
   Crown
           The upper part of a tree or other woody plant carrying the main branch system and foliage.
   Culmination of mean annual increment
           Mean annual increment of growth and culmination of mean annual increment of growth.
           Mean annual increment of growth is the total increment of increase of volume of a stand
           (standing crop plus thinnings) up to a given age divided by that age. Culmination of mean
           annual increment of growth is the age in the growth cycle of an even-aged stand at which the
           average annual rate of increase of volume is at a maximum. In land management plans,
           mean annual increment is expressed in cubic measure and is based on the expected growth
           of stands, according to intensities and utilization guidelines in the plan.
   Cultural landscapes
           Cultural resources that represent the combined works of nature and humans.
   Cultural resource inventory
           The record of cultural resources known to occur within a defined geographic area. An
           inventory includes a compilation and synthesis of existing information and field surveys for
           evidence of past human activity. In areas where the ground surface is difficult to see, field
           survey may include subsurface probing to determine the presence or absence of cultural
           material.
   Cultural resources
           An object or definite location of human activity, occupation, or use identifiable through field
           survey, historical documentation, or oral evidence. Cultural resources are prehistoric, historic,
           archaeological, or architectural sites, structures, places, or objects and traditional cultural
           properties. Cultural resources include the entire spectrum of resources for which the Heritage
           Program is responsible, from artifacts to cultural landscapes, without regard to eligibility for
           listing on the National Register of Historic Places.
   Cumulative effects
           Results of collective past, present, and reasonably foreseeable future actions.
   Cumulative impacts
           Impacts on the environment that result from the incremental impact of an action when added
           to other past, present, and reasonably foreseeable future actions regardless of what agency
           (Federal or non-Federal) or person undertakes such other actions. Cumulative impacts can
           result from individually minor but collectively significant actions taking place over a period of
           time.



   D
   Decadence
           A process, condition, or period of deterioration or decline.




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      Deciduous
             A deciduous tree or shrub sheds its leaves annually.
      Decommission
             Demolition, dismantling, removal, obliteration, and/or disposal of a deteriorated or otherwise
             unneeded asset or component, including necessary cleanup work. This action eliminates the
             deferred maintenance needs for the fixed asset. Decommissioning roads includes activities
             that result in the stabilization and restoration of unneeded roads to a more natural state.
      Deferred maintenance
             Maintenance that was not performed when it should have been or when it was scheduled and
             which was delayed. When allowed to accumulate without limits or consideration of useful life,
             deferred maintenance leads to deterioration of performance, increases costs to repair, and
             decrease in net value.
      Degradation
              To wear down by erosion, especially through stream action.
      Demand
              The amount of an output that users are willing to take at a specified price, time period, and
              condition of sale.
      Designated wilderness
              Designated wilderness refers to any area of land designated by Congress as part of the
              National Wilderness Preservation System that was established by the Wilderness Act of
              1964.
      Desired condition
             A description of specific social, economic, and/or ecological characteristics of the plan area,
             or a portion of the plan area, toward which management of the land and resources should be
             directed. (36 CFR 219.7(e)(1)(i))
      Developed recreation
             Recreation that occurs at man-made developments such as campgrounds, picnic grounds,
             resorts, ski areas, trailheads, etc. Facilities might include roads, parking lots, picnic tables,
             toilets, drinking water, ski lifts, and buildings. Campgrounds and picnic areas are examples of
             developed recreation sites.
      Developed site
              Developed recreation sites are relatively small, distinctly defined areas where facilities are
              provided for concentrated public use, such as campgrounds and picnic areas.
      Diameter at breast height (dbh)
              The diameter of a standing tree measured at a point 4 feet 6 inches from ground level on the
              uphill side.
      Direct effects
              Results of an action occurring when and where that action takes place.




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   Dispersed recreation
          Outdoor recreation that is spread out over the land and in conjunction with roads, trails, and
          undeveloped waterways. Activities are typically day-use oriented and include hunting, fishing,
          boating, hiking, off-road vehicle use, cross-country skiing, motorbiking, and mountain
          climbing.
   Disturbance
          Any relatively discrete event in time that disrupts ecosystem, watershed, community, or
          species population structure and/or function and changes resources, substrate availability, or
          the physical environment.
   Diversity
          The distribution and abundance of different plant and animal communities and species within
          an area. This term is not synonymous with “biological diversity.”
   Down or downed
          A tree or portion of a tree that is dead and lying on the ground.
   Down woody material or debris
          Woody material, from any source, that is dead and lying on the forest floor.



   E
   Easement
          A right afforded a person or agency to make limited use of another’s real property for access
          or other purposes.

   Ecological conditions
          The biological and physical environment that can affect the diversity of plant and animal
          communities, the persistence of native species, and the productive capacity of ecological
          systems. Ecological conditions include habitat and other influences on species and the
          environment. Examples of ecological conditions include the abundance and distribution of
          aquatic and terrestrial habitats, connectivity, roads, and other structural developments,
          human uses, and invasive species.
   Ecological integrity
          The quality or condition of an ecosystem when its dominant ecological characteristics (for
          example, composition, structure, function, connectivity, and species composition and
          diversity) occur within the natural range of variation and can withstand and recover from most
          perturbations imposed by natural environmental dynamics or human influences.
   Ecological process
          The actions or events that link organisms (including humans) and their environment, such as
          disturbance, successional development, nutrient cycling, carbon sequestration, productivity,
          and decay.
   Ecological sustainability
          The capability of ecosystems to maintain ecological integrity.




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      Economic sustainability
             The capability of society to produce and consume or otherwise benefit from goods and
             services, including contributions to jobs and market and nonmarket benefits.
      Ecoregion
             A continuous geographic area over which the macroclimate is sufficiently uniform to permit
             development of similar ecosystems on sites with similar properties. Ecoregions contain
             multiple landscapes with different spatial patterns of ecosystems.
      Ecosystem
             A spatially explicit, relatively homogenous unit of the Earth that includes all interacting
             organisms and elements of the abiotic environment within its boundaries. Usually described
             in terms of its composition, structure, function, and connectivity.
      Ecosystem services
             The direct and indirect contributions of ecosystems to human well-being. They directly or
             indirectly support survival and quality of life. Ecosystem services can be categorized into
             types:
             Provisioning services - products obtained from ecosystems such as food, fresh water,
             wood, fiber, genetic resources, and medicines.
             Regulating services - benefits obtained from the regulation of ecosystem processes such
             as climate and natural hazards, water purification, waste management, pollination, and pest
             control.
             Cultural services - nonmaterial benefits that people obtain from ecosystems such as
             spiritual enrichment, intellectual development, recreation, and aesthetic values.
             Supporting services - ecosystem services that are necessary for the production of all other
             ecosystem services. Examples include biomass production, production of atmospheric
             oxygen, soil formation and retention, nutrient cycling, water cycling, and provisioning of
             habitat.
      Edaphic
             Of, produced by, or influenced by the soil; related or caused by particular soil conditions, as
             of texture or drainage, rather than by physiographic or climatic factors.
      Edge
             The place where plant communities meet or where successional stages or vegetative
             conditions within plant communities come together.
      Endangered species
             Any species that the Secretary of Interior or the Secretary of Commerce has determined is in
             danger of extinction throughout all or a significant portion of its range.
      Endangered Species Act
             Public Law 93-205, approved in 1973 and since amended, the Endangered Species Act
             provides for the conservation of ecosystems upon which threatened and endangered species
             of fish, wildlife, and plants depend.




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   Environmental Impact Statement (EIS)
          A formal public document prepared to analyze the impacts on the environment of a proposed
          project or action and released for comment and review. It is prepared first in draft or review
          form and later in final form. An EIS must meet the requirements of the National
          Environmental Policy Act (NEPA), the Council on Environmental Quality (CEQ) guidelines,
          and directives of the agency responsible for the proposed project. An impact statement
          includes the following points: 1) the environmental impact of the proposed action, 2) any
          adverse impacts that cannot be avoided by the action, 3) the alternative courses of actions,
          4) the relationships between local short-term use of the human environment and the
          maintenance and enhancement of long-term productivity, and 5) a description of the
          irreversible and irretrievable commitment of resources, which would occur if the action were
          accomplished.
   Environmental justice population
          A group of people that meets the criterion for low income or minority under Executive Order
          12898. An environmental justice population may be both low-income and minority.
   Erosion
             Detachment or movement of the land surface by water, wind, ice, gravity, or other geological
             activity. Accelerated erosion is much more rapid than normal, natural, geologic erosion,
             primarily as a result of the influence of activities of man, animals, or natural catastrophes.
   Evapotranspiration
          The sum total of water lost from the land by evaporation (water loss from soil or plant
          surfaces) and plant transpiration (water absorbed by plants from soil and translocated to the
          leaves).
   Even-aged management
          The application of a combination of actions that results in the creation of stands in which
          trees of essentially the same age grow together. Managed even-aged forests are
          characterized by a distribution of stands of varying ages (and therefore, tree sizes throughout
          the forested area). The difference in age between trees forming the main canopy level of a
          stand generally does not exceed 20 percent of the age of the stand at harvest rotation age.
          Regeneration in a particular stand is obtained during a short period at or near the time that a
          stand has reached the desired age or size for regeneration and is harvested. Clearcut,
          shelterwood, or seed-tree cutting methods produce even-aged stands (36 CFR 219.3).
   Executive order
          An order of regulation issued by the President or some administrative authority under his or
          her direction.
   Exurban
          A region or settlement that typically lies beyond the suburbs of a city and is chiefly inhabited
          by well-to-do families.




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      F
      Facility
                 Structures needed to support the management, protection, and use of the national forests,
                 including buildings, utility systems, dams, and other construction features. There are three
                 types of facilities: recreation, administrative, and permittee.
      Fen
                 An ancient wetland ecosystem dependent on nutrient-rich local or regional groundwater flow
                 systems maintaining perennial soil saturation and supporting continuous organic soil (i.e.,
                 peat) accumulation. (FS-990A)
      Fire management plan
                 A plan that identifies and integrates all wildland fire management and related activities within
                 the context of approved land and resource management plans. It defines a program to
                 manage wildland fires (wildfire and prescribed fire). The plan is supplemented by operational
                 plans, including but not limited to preparedness plans, preplanned dispatch plans, prescribed
                 fire burn plans, and prevention plans. Fire management plans assure that wildland fire
                 management goals and components are coordinated.
      Fire regime
                 Description of the patterns of fire occurrences, frequency, size, severity, and sometimes
                 vegetation and fire effects as well, in a given area or ecosystem. A fire regime is a
                 generalization based on fire histories at individual sites. Fire regimes typically are described
                 as cycles because some parts of the histories are repeated, and the repetitions can be
                 counted and measured, such as fire return interval.
      Fire regime condition class
                 Fire regime condition class is an expression of the departure of the current condition from the
                 historical fire regime. It is derived from the historical fire regime and the current fire severity. It
                 is used as a proxy for the probability of severe fire effects, e.g., the loss of key ecosystem
                 components—soil, vegetation, structure—or alteration of key ecosystem processes—nutrient
                 cycles, hydrologic regimes. The fire regime condition class is an index of ecosystem risks
                 attributable to wildland fire.
      Fire suppression
                 All the work and activities connected with fire-extinguishing operations, beginning with
                 discovery and continuing until the fire is completely extinguished. The four fire suppression
                 strategies are:
                         Monitor - the systematic process of observing, collecting, and recording fire-related
                         data, particularly with regard to fuels, topography, weather, fire behavior, fire effects,
                         smoke, and fire location. This may be done onsite, from a nearby or distant vantage
                         point in person or using a sensor, or through remote sensing (aircraft or satellite).
                         Confine - to restrict a wildfire to a defined area by using a combination of natural
                         and constructed barriers that will stop the spread of the fire under the prevailing and
                         forecasted weather conditions until out. This means that “some action is or has been
                         taken” (line construction, bucket drops, etc.) to suppress portions of the fire
                         perimeter.
                         Point zone protection - Point or zone protection involves protecting specific points
                         from the fire while not actively trying to line the entire fire edge. Points being


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                    protected may be communities, individual homes, communication sites, areas of high
                    resource value, etc.
                    Full suppression - a strategy to put the fire out as efficiently and effectively as
                    possible, while providing for firefighter and public safety. To complete a fireline
                    around a fire to halt fire spread, and cool down all hot spots that are an immediate
                    threat to the control line or outside the perimeter, until the lines can reasonably be
                    expected to hold under foreseeable conditions. Synonymous with “full perimeter
                    containment” and “control.”
   Fiscal year (FY)
            October 1 to September 30. The fiscal year is referred to by the calendar year beginning
            January 1. For example, October 1, 2017, to September 30, 2018, is referred to as
            Fiscal Year 2018.
   Floodplain
            The flat area of land adjacent to a river channel that is composed of unconsolidated
            sediments (alluvium) deposited when the river overflows its banks at flood stages.
   Focal species
            A small subset of species whose status infers the integrity of the large ecological system to
            which it belongs and provides meaningful information regarding the effectiveness of the plan
            in maintaining or restoring the ecological conditions to maintain the diversity of plant and
            animal communities in the plan area.
   Forage
            All browse and herbaceous foods that are available to grazing animals.
   Forb
            Any herbaceous flowering plant other than grasses.
   Foreground
            A term used in scenery management to describe the portions of a view between the observer
            and as far as one-quarter to one-half mile distant.
   Forested land
            Land at least 10 percent occupied by forest trees of any size, or formed having had such tree
            cover and not currently developed for nonforest use. Lands developed for nonforest use
            include areas for crops, improved pasture, residential or administrative areas, improved roads
            of any width, and adjoining road clearing and power line clearing of any width.
   Forest health
            The perceived condition of a forest derived from concerns about such factors as its age,
            structure, composition, function, and vigor, presence of unusual levels of insects and
            diseases, and resilience to disturbance.
   Forest plan
            Source of management direction for an individual national forest that specifies activity and
            output levels for a period of time. Management direction in the plan is based on the issues
            identified at the time of the plan’s development.




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      Forest plan revision
             The process for revising a forest plan includes preliminary identification of the need to change
             the plan based on the assessment, development of a proposed plan, consideration of the
             environmental effects of the proposal and preparation of a draft environmental impact
             statement, providing an opportunity for the public to comment on the proposed plan,
             providing an opportunity for the public to object before the proposal is approved, and finally,
             approval of the plan and preparation of the final environmental impact statement.

      Fragmentation
             A process that occurs wherever a large, contiguous habitat is transformed into smaller
             patches that are isolated from each other by a landscape matrix unlike the original. This
             matrix can differ from the original habitat in either composition or structure. The crucial point
             is that it functions as either a partial or total barrier to dispersal for species associated with
             the original habitat. A clear threat to population persistence occurs when fragmentation
             isolates pairs and populations, as opposed to fragmentation within the home range of
             individual pairs.
      Frissell-Cole
             Condition class campsite monitoring system based on comparing observed site conditions to
             pre-determined descriptive condition classes. The system consists of descriptions of five
             condition states that are based on the extent of vegetation damage, mineral soil exposure,
             tree root exposure, erosion, and tree mortality.

                                           Frissell-Cole Condition Class Rating
           Condition
                              Visible Indicators                                  Management
             Class
                       Ground vegetation flattened,          These sites are barely recognizable as camping
                       but not permanently injured.          areas. If not in situations known to be sensitive to use
               1       Minimal physical change               (e.g., wet or slump areas), no management action is
                       except for possibly a simple          necessary. Maintain current use or allow increase if
                       rock fireplace.                       other sites must be closed.
                                                             Site change now apparent, but still within acceptable
                       Ground vegetation worn away           limits. These areas are readily identifiable as
               2       around fireplace or center of         campsites and will continue to attract use. Future use
                       activity.                             should be carefully monitored to detect adverse
                                                             change.
                                                             A transitional condition. Considerable change in plant
                       Ground vegetation lost on             cover is evident, but few signs of soil problems exist.
                       most of the site, but humans          This condition might be accepted as normal in high
               3
                       and litter still present in all but   use areas. Modification of current use patterns and
                       a few areas.                          intensities may be necessary to prevent further
                                                             change.
                                                             Accelerated deterioration. If current level and type of
                                                             use continues, soil erosion, loss of tree cover, and
                                                             aesthetic degradation are likely. Limit use of these
                       Bare mineral soil widespread.
                                                             sites to allow for recovery. Consider artificial
               4       Tree roots exposed on the
                                                             rehabilitation. If site is improperly located, permanent
                       surface.
                                                             closure should be considered. If site is reopened,
                                                             ensure that use patterns are adjusted to prevent
                                                             deterioration to occur again.




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                                       Frissell-Cole Condition Class Rating
          Condition
                            Visible Indicators                             Management
            Class
                                                       Natural recovery will be extremely slow. Sites should
                                                       be closed permanently and alternate sites located
                      Soil erosion obvious. Trees
               5                                       and used instead. If the site is crucial to recreation
                      reduced in vigor, or dead.
                                                       use patterns, extensive rehabilitation will be required
                                                       to return the site to an acceptable condition.



   Fry
            The life stage of fish species that refers to the juvenile fish in their first few months.
   Fuel
            Organic material that will support the start and spread of a fire: duff, litter, grass, weeds,
            forbs, brush, trees, and dead wood materials.
   Fuel load
            The amount of fuel present expressed quantitatively in terms of weight of fuel per unit area.
            This may be available (consumable) fuel or total fuel and is typically dry weight.
   Fuels management
            The manipulation of vegetation for the purpose of changing the characteristics of a fire as it
            burns.
   Fuels reduction treatment
            Manipulation or removal of fuels to lessen potential damage and resistance to control
            (includes mechanical and prescribed fire treatments). Fuels reduction treatments result in a
            change in the amount, configuration, and spacing of live and dead vegetation, with the
            purpose of creating conditions that result in more manageable fire behavior and reduced
            severity during wildfires.
   Fuelwood
            Round, split, or sawed wood of general refuse material, which is cut into short lengths for
            burning as fuel.



   G
   Game species
            Any species of wildlife or fish for which hunting seasons and bag limits have been
            established, and are normally harvested by hunters and fishermen.
   General Mining Act of 1872
            Provides for claiming and gaining title to locatable minerals on public lands. Also referred to
            as the “general mining laws” or “mining laws.”




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      Geographic area
             A spatially contiguous land area identified within the planning area. A geographic area may
             overlap with management areas.
      Geographic information system (GIS)
             An information processing technology to input, store, manipulate, analyze, and display spatial
             resource data to support the decision-making processes of an organization. Generally, an
             electronic medium for processing map information.
      Goal
             A concise statement that describes a desired condition to be achieved sometime in the
             future. It is normally expressed in broad, general terms, and is timeless in that it has no
             specific date by which it is to be completed. Goal statements form the principal basis from
             which objectives are developed. (36 CFR 219.3)
      Graminoids
             Graminoids are plants with narrow leaves growing from the base. Forbs are broad-leaved
             herbs other than grasses.
      Grass/forb
             An early forest successional stage during which grasses and forbs are the dominant
             vegetation.
      Ground cover
             In soil conservation, grasses or other plants grown to keep soil from being blown or washed
             away. In horticulture, low growing plants such as vinca and ginger that do not require
             mowing.
      Groundwater
             Water within the earth that supplies wells and springs. Specifically, water in the zone of
             saturation where all openings in soil and rock are filled. The upper surface level forms the
             water table.
      Groundwater dependent ecosystem
             A community of plants, animals, and other organisms whose extent and life processes
             depend on groundwater. Examples include many wetlands, groundwater-fed lakes and
             streams, springs, seeps, and fens.
      Group selection
             A method of regenerating uneven-aged stands in which trees are cut, in small groups, and
             new age classes are established. The width of groups is commonly approximately twice the
             height of the mature trees, with small openings providing suitable microclimates for shade-
             tolerant tree species to regenerate, and the larger openings providing suitable microclimates
             for more shade-intolerant tree species to regenerate.
      Group use
             An activity conducted on National Forest System lands that involves a group of 75 or more
             people, either as participants or spectators (36 CFR 251.51).




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   Guideline
             A constraint on project or activity decision-making that allows for departure from its terms, so
             long as the purpose of the guideline is met. Guidelines are intended to help achieve or
             maintain a desired condition or conditions, avoid or mitigate undesirable effects, or meet
             applicable legal requirements.



   H
   Habitat
             The natural environment of a plant or animal. In wildlife management, the major components
             of habitat are considered to be food, water, cover, and living space.
   Hazard fuel
             A fuel complex defined by kind, arrangement, volume, condition, and location that presents a
             threat of ignition and resistance to control.
   Healthy ecosystem
             An ecosystem in which structure and functions allow the maintenance of biological diversity,
             biotic integrity, and ecological processes over time.
   Herbaceous
             Of, denoting, or relating to herbs.
   Heritage resources
             Buildings, sites, areas, architecture, memorials, and objects having scientific, prehistoric,
             historic, or social values.
   Heterogeneity
             Composition from dissimilar parts.
   Hibernacula
             Habitat niches where certain animals, e.g., bats, over-winter, such as caves, mines, tree
             hollows, or loose bark.
   Historic property
             Any prehistoric or historic district, site, building, structure, or object included in, or eligible for
             inclusion in, the National Register of Historic Places. This term includes artifacts, records,
             and remains that are related to and located within such properties. The term also includes
             properties of traditional religious and cultural importance to an Indian tribe or Native Hawaiian
             organization and that meet the National Register criteria.
   Hydrologic unit code
             A sequence of numbers that identifies a hydrologic feature like a river, river reach, lake, or
             area like a drainage basin, watershed, or catchment.
   Hydrophobic
             Water repellent, having little or no affinity with water.




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      J
      Ignition
                 The initiation of combustion.
      IMPLAN
                 Acronym for the computer model used as an analysis tool to display social effects of various
                 alternatives developed during the land management planning effort.
      Indicator species
                 Species identified in the planning process that are used to monitor the effects of planned
                 management activities on viable populations of wildlife and fish species, including those
                 species that are socially or economically important.
      Indirect effects
                 Results of an action occurring at a location other than where the action took place and/or
                 later in time, but in the reasonable foreseeable future. Indirect effects may include growth­
                 inducing effects and other effects related to induced changes in the pattern of land use,
                 population density, or growth rate, and related effects on air and water and other natural
                 systems, including ecosystems.
      INFRA
                 INFRA is a collection of web-based data entry forms, reporting tools, and GIS tools that
                 enable the Forest Service to manage and report accurate information about the inventory of
                 constructed features and land units as well as the permits sold to the public and to partners.
      Infrastructure
                 The facilities, utilities, and transportation system needed to meet public and administrative
                 needs for operation, e.g., buildings, roads, and power supplies.
      Inholding
                 Land within the proclaimed boundaries of a national forest that is owned by a private citizen,
                 an organization, or an agency.
      Instream flow
                 The volume of surface water in a stream system passing a given point at a given time.
      Interdisciplinary team
                 A group of individuals with different training assembled to solve a problem or perform a task.
                 The team is assembled out of recognition that no one scientific discipline is sufficiently broad
                 enough to adequately solve the problem.
      Intermittent stream
                 A stream or reach of stream channel that flows, in its natural condition, only during certain
                 times of the year or in several years. Characterized by interspersed, permanent surface water
                 areas containing aquatic flora and fauna adapted to the relatively harsh environmental
                 conditions found in these types of environments (Briggs 1996).
      Interpretation
                 Explaining the meaning or significance of something.



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   Invasive species
           Native species are those that have occurred, now occur, or may occur in a given area as a
           result of natural processes.
           Exotic (a.k.a. nonnative, foreign, or alien) species are those that live outside their native
           range and arrived there by human activity, either deliberate or accidental.
           Invasive species have the ability to thrive and spread aggressively outside their natural
           range. They affect both aquatic and terrestrial areas and can be plants, vertebrates,
           invertebrates, and pathogens.
   Invertebrate
           An animal lacking a spinal column.
   Irretrievable
           Applies to losses of production, harvest, or uses of renewable natural resources. For
           example, some or all of the timber production from an area is irretrievably lost while an area
           is used as a road surface. If the use is changed, timber production can be resumed. The
           production lost is irretrievable, but the action is not irreversible.
   Irreversible
           Applies primarily to the use of nonrenewable resources, such as minerals or cultural
           resources, or to those factors that are renewable only over long time spans, such as soil
           productivity. Irreversible also includes loss of future options.



   K
   Keystone species
           A species that has a disproportionately large effect on the communities in which it occurs.
           Such species help to maintain local biodiversity within a community either by controlling
           populations of other species that would otherwise dominate the community or by providing
           critical resources for a wide range of species.
   Krummholz
           Stunted trees near timberline.



   L
   Lagomorph
           The taxonomic order Lagomorpha includes the relatively well-known rabbits and hares (family
           Leporidae) and also the less frequently encountered pikas (family Ochotonidae). Rabbits and
           hares characteristically have long ears, a short tail, and strong hind limbs that provide a
           bounding locomotion. In contrast, the smaller pikas have shorter, rounded ears, no external
           tail, and less-well-developed hind limbs associated with scampering locomotion.
   Land exchange
           The conveyance of non-Federal land or interests to the United States in exchange for
           National Forest System land or interests in land.



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      Landscape
                A defined area irrespective of ownership or other artificial boundaries, such as a spatial
                mosaic of terrestrial and aquatic ecosystems, landforms, and plant communities, repeated in
                similar form throughout such a defined area.

      Landscape scale
                A heterogeneous land area composed of a cluster of interacting ecosystems that are
                repeated in similar form throughout. Landscapes vary in size, from many thousands of acres
                to only a few kilometers in diameter.
      Landslide
                The moderately rapid to rapid downslope movement of soil and rock that may or may not be
                water-saturated.
      Late-successional forest
                A stage of forest succession where the majority of trees are mature or overmature.

      Large woody debris
                Large pieces of relatively stable woody material located within the bankfull channel and
                appearing to influence bankfull flows.
                Single - A single piece that has a length equal to or greater than 3 meters or two-thirds of
                the wetted stream width and 10 centimeters in diameter one-third of the way from the base.
                Aggregate - Two or more clumped pieces, each of which qualifies as a single piece.
                Rootwad - Rootmass or boles attached to a log less than 3 meters in length.
      Latilla
                One of a number of sticks or small branches, typically of stripped pine, cedar, or aspen, laid
                across the main vigas (beams) to form a ceiling.
      Leasable minerals
                Those minerals or materials designated as leasable under the Minerals Leasing Act of 1920.
                They include coal, phosphate, asphalt, sulfur, potassium, sodium minerals, and oil and gas.
                Geothermal resources are also leasable under the Geothermal Steam Act of 1970.
      Lease
                A legal contract that provides for the right to develop and produce oil and gas resources for a
                specific period of time under certain agreed-upon terms and conditions.
      Leave tree
                A tree marked to be left standing in an area where it would otherwise be felled.
      Lek
                The name of an area where sage-grouse congregate in the spring. Because the males
                choose an area where their courtship display can be easily seen by females, leks are
                generally found where there is less vegetation. These areas may be sparsely vegetated
                naturally, or due to activity by animals or humans.




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   Leaf litter
           A surface layer of loose organic debris, consisting of freshly fallen or slightly decomposed
           organic materials.
   Locatable minerals
           Minerals or materials subject to claim and development under the Mining Law of 1872, as
           amended. Generally includes metallic minerals such as gold and silver, and other materials
           not subject to lease or sale, like some bentonites, limestone, talc, some zeolites, etc.
   Long-term effects
           A relative indicator as to the duration of an impact or change; the effects last longer than the
           period of time that is considered reasonable for recovery. An effect is long term when it
           persists through or beyond the natural lifetime of an individual.
   Lynx analysis unit
           An area of at least the size used by an individual lynx, from about 25 to 50 square miles.



   M
   M
            1,000 units (thousands)
   Maintenance
           The upkeep of the entire Forest Development Transportation Facility, including surfaces and
           shoulders, parking and side areas, structures, and such traffic control devices as are
           necessary for its safe and efficient use (36 CFR 212.1). Maintenance is not for the purpose of
           upgrading a facility, but to bring it to the originally constructed or subsequently reconstructed
           conditions.
   Maintenance level
           The level of service provided by, and maintenance required for, a specific road. For more
           information, see the entry for road maintenance level.
   Management action or activity
           An action or activity humans impose on a landscape for the purpose of managing natural
           resources.
   Management approach
           Management approaches describe the principal strategies and program priorities the
           responsible official intends to employ to carry out projects and activities developed under the
           plan. They can convey a sense of priority and focus among objectives and likely
           management emphasis. They are optional plan content.
   Management area
           A land area identified within the planning are that has the same set of applicable plan
           components. A management area does not have to spatially contiguous.




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      Management concern
                An issue, problem, or a condition that constrains the range of management practices
                identified by the Forest Service in the planning process. (36 CFR 219.3)
      Management direction
                A statement of multiple-use and other goals and objectives, the associated management
                prescriptions, and standards and guidelines for attaining them. (36 CFR 219.3)
      Management prescription
                Management practices and intensity selected and scheduled for application on a specific
                area to attain multiple use and other goals and objectives. (36 CFR 219.3)
      Mass movement
                Downslope unit movement of a portion of the land surface. A single landslide of the gradual,
                simultaneous downhill movement of the entire mass of loose earth material on a slope face.
      MBF
                One thousand board feet of timber.
      Mechanical treatment
                Mechanical vegetation treatment is any activity undertaken to modify the existing condition of
                the vegetation accomplished with mechanical equipment.
      Mechanized
                Wheeled forms of transportation, including nonmotorized carts, wheelbarrows, bicycles, and
                any other nonmotorized, wheeled vehicle.
      Memorandum of understanding
                A legal agreement between the Forest Service and other agencies resulting from consultation
                between agencies that states specific measures the agencies will follow to accomplish a
                large or complex project. A memorandum of understanding is not a fund-obligating document.
      Metapopulation
                A group of populations separated by space but that consist of the same species. These
                spatially separated populations interact as individual members move from one population to
                another.
      Middleground
                A term used in scenery management to describe the portions of a view extending from the
                foreground zone out to 3 to 5 miles from the observer.
      Migration route
                Route followed by an animal species during periods of annual movement, usually between
                summer and winter ranges.
      Mineral
                Locatable - Hard rock minerals that are mined and processed for the recovery of metals.
                They may include certain nonmetallic minerals and uncommon varieties of mineral materials
                such as valuable and distinctive deposits of limestone or silica.




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            Leasable - Coal, oil, gas, phosphate, sodium, potassium, oil shale, sulfur, and geothermal
            resources.
            Salable (or mineral materials) - A collective term to describe common varieties of sand,
            gravel, stone, pumice, cinders, clay, and other similar materials. Common varieties do not
            include deposits of those materials that may be locatable.
   Mineral development
            The activities and facilities associated with extracting mineral deposits.
   Mineral entry
            Claiming public lands administered by the Forest Service under the Mining Law of 1872 for
            the purpose of exploiting minerals. May also refer to mineral exploration and development
            under the mineral leasing laws and Material Sale Act of 1947.
   Mineral estate (mineral rights)
            The ownership of minerals, including rights necessary for access, exploration, development,
            mining ore dressing, and transportation operations.
   Mineral potential
            The classification of lands according to the probability of undiscovered mineral resources,
            delineated as to the type of mineral, the extent of the expected deposit, and the likelihood of
            its occurrence. The likelihood of occurrence for oil and gas is classified as follows:

                    High Potential: Describes a geologic environment that is highly favorable for
                    discovering oil and gas resources. The area is on or near a producing field and
                    evidence exists that the geologic conditions of reservoir, source, and trap necessary
                    for the accumulation of oil and gas are present.
                    Moderate Potential: Refers to an environment that is favorable for the occurrence of
                    undiscovered oil and gas resources; however, one of the geologic conditions
                    necessary for the accumulation of oil or gas may be absent.
                    Low Potential: Refers to an environment that is not favorable for the accumulation of
                    oil and gas as indicated by geologic, geochemical, and geophysical characteristics.
                    Evidence exists that one of the geologic conditions necessary for the accumulation of
                    oil or gas is absent.
                    Unknown Potential: Refers to a region for which geologic information is insufficient
                    to otherwise categorize potential. This category should be limited to specific areas for
                    which there is a true lack of data and should not be used as a substitute for
                    performing the interpretation.
   Mineral withdrawal
            The exclusion of locatable mineral deposits from mineral entry on areas required for
            administrative sites by the Forest Service, and other areas highly valued by the public. Public
            lands withdrawn from entry under the General Mining Laws and/or the Mineral Leasing Laws.
   Minimum stocking standard
            The stocking that must be present on regenerated areas before a new stand can be
            considered established. Minimum stocking is generally stated in terms of number of trees per
            acre and tree-stem heights by species.
   Mining
            Extraction of valuable minerals or other geological materials from the earth.


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      Mining Act of 1872
               Provides for claiming and gaining title to locatable minerals on public lands. Officially known
               as the “General Mining Act of 1872,” but also informally referred to as the “general mining
               laws” or “mining laws.”
      Mitigate (Mitigation)
               To avoid, minimize, rectify, reduce, or compensate the adverse environmental impacts
               associated with an action.
      MM
               1,000,000 units.
      MMBF
               1,000,000 board feet of timber.
      Modification
               A description in scenic quality objectives when activities may dominate, but must use
               naturally established form, color, and texture. These areas should appear natural when
               viewed in the background.
      Monitoring
               A systematic process of collecting information to evaluate effects of actions or changes in
               conditions or relationships.
      Montane
               Of or inhabiting mountainous country.
      Mosaic
               The intermingling of plant communities and their successional stages in such a manner as to
               give the impression of an interwoven design.
      Motorized equipment
               A machine that uses a motor, engine, or other nonliving power source. This includes, but is
               not limited to, machines such as chain saws, aircraft, snowmobiles, generators, motorboats,
               and motor vehicles. It does not include small battery or gas powered hand carried devices
               such as shavers, wristwatches, flashlights, cameras, stoves, or other similar small equipment.
      Motorized route
               A National Forest System road or trail that is designated for motorized use on a motor vehicle
               use map pursuant to 36 CFR 212.51.
      Motorized use
               The designation of roads, trails, and areas that are open to motor vehicle use as specified in
               the Federal Register / Vol. 70, No. 216 / Wednesday, November 9, 2005 / 36 CFR Parts 212,
               251,261, Travel Management; Designated Routes and Areas for Motor Vehicle Use; Final
               Rule.
      Motor vehicle use map
               A map reflecting designated roads, trails, and areas open to motorized public use on an
               administrative unit or a ranger district of the National Forest System.



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   Multiple use
          The management of all the various renewable surface resources of the national forests so
          that they are used in the combination that will best meet the needs of the American people;
          making the most judicious use of the land for some or all of these resources or related
          services over areas large enough to provide sufficient latitude for periodic adjustments in the
          use to conform to changing needs and conditions; that some lands will be used for less than
          all of the resources; and harmonious and coordinated management of the various resources,
          each with the other, without impairment of the productivity of the land, with consideration
          being given to the relative values of the various resources, and not necessarily the
          combination of uses that will give the greatest dollar return or the greatest unit output. (36
          CFR 219.19)



   N
   National Environmental Policy Act (NEPA)
          A 1969 act declaring a national policy that encourages productive and enjoyable harmony
          between humankind and the environment, to promote efforts that will prevent or eliminate
          damage to the environment and biosphere and stimulate the health and welfare of humanity,
          to enrich the understanding of the ecological systems and natural resources important to the
          nation, and to establish a Council on Environmental Quality. (The Principal Laws Relating to
          Forest Service Activities, Agriculture Handbook No. 453, USDA, Forest Service, 359 pp.) The
          NEPA process is an interdisciplinary process that concentrates decision-making around
          issues, concerns, alternatives, and the effects of alternatives on the environment. NEPA
          regulations are set out in Forest Service Handbook 1909.15.
   National Forest Management Act
          A law passed in 1976 as an amendment to the Forest and Rangeland Renewable Resources
          Planning Act, requiring the preparation of Regional Guides and Forest Plans, and the
          preparation of regulations to guide that development.
   National Forest System lands
          All national forest lands reserved or withdrawn from the public domain of the United States,
          all national forest lands acquired through purchase, exchange, donation, or other means, the
          national grasslands and land utilization projects administered under title III of the Bankhead-
          Jones Farm Tenant Act (50 Stat. 525, 7 USC 1010-1012), and other lands, waters, or
          interests therein which are administered by the Forest Service or are designated for
          administration through the Forest Service as a part of the system. 16 USC 1609(a).
   National Historic Preservation Act
          Extends the policy in the Historic Sites Act to State and local historical sites as well as those
          of national significance, expands the National Register of Historic Places, establishes the
          Advisory Council on Historic Preservation and the State Historic Preservation Officers, and
          requires agencies to designate Federal Preservation Officers. Section 106 directs all Federal
          agencies to take into account the effects of their undertakings (actions, financial support, and
          authorizations) on historic properties included in or eligible for the National Register. Section
           110 establishes inventory, nomination, protection, and preservation responsibilities for
          federally owned historic properties.
   National Register of Historic Places
          The Nation’s official list of cultural resources worthy of preservation. Authorized under the
          National Historic Preservation Act of 1966, the National Register is part of a national program


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             to coordinate and support public and private efforts to identify, evaluate, and protect our
             historic and archaeological resources. Properties listed in the Register include districts, sites,
             buildings, structures, and objects that are significant in American history, architecture,
             archaeology, engineering, and culture. The National Register is administered by the National
             Park Service.
      Native American Graves Protection and Repatriation Act (NAGPRA)
             Provides a process for museums and Federal agencies to return certain Native American
             cultural items—human remains, funerary objects, sacred objects, or objects of cultural
             patrimony—to lineal descendants, and culturally affiliated Indian tribes and Native Hawaiian
             organizations. NAGPRA includes provisions for unclaimed and culturally unidentifiable Native
             American cultural items, intentional excavation, and unanticipated discovery of Native
             American cultural items on Federal and Tribal lands, and penalties for noncompliance and
             illegal trafficking. The Act requires agencies and museums to identify holdings of such
             remains and objects and to work with appropriate Native American groups toward their
             repatriation. Permits for the excavation and/or removal of “cultural items” protected by the Act
             require Tribal consultation, as do discoveries of “cultural items” made during activities on
             Federal or Tribal lands.
      Natural range of variation
             The variation of ecological characteristics and processes over scales of time and space that
             are appropriate for a given management application. In contrast to the generality of historical
             ecology, the natural range of variation concept focuses on a distilled subset of past ecological
             knowledge developed for use by resource managers; it represents an elicit effort to
             incorporate a past perspective into management and conservation decisions. The pre­
             European influenced reference period considered should be sufficiently long, often several
             centuries’, to include the full range of variation produced by dominant natural disturbance
             regimes such as fire and flooding and should also include short-term variation and cycles in
             climate. The natural range of variation is a tool for assessing the ecological integrity and does
             not necessarily constitute a management target or desired condition. The natural range of
             variation can help identify key structural, functional, compositional, and connectivity
             characteristics, for which plan components may be important for either maintenance or
             restoration of such ecological conditions.
      Nonmotorized activities
             Activities that do not incorporate the use of a motor, engine, or other nonliving power source.
             This includes such machines as aircraft, hovercraft, motorboats, automobiles, motor bikes,
             snowmobiles, bulldozers, chainsaws, rock drills, and generators.
      No surface occupancy (NSO)
             A fluid mineral leasing stipulation that prohibits occupancy or disturbance on all or part of the
             land surface to protect special values or uses. The NSO stipulation includes stipulations that
             may have been worded as “no surface use/occupancy,” “no surface disturbance,” “conditional
             NSO,” and “surface disturbance or surface occupancy restriction (by location).” Lessee may
             exploit the oil and gas or geothermal resources under leases restricted by this stipulation
             through use of directional drilling from sites outside the NSO area.
      Notice of intent
             Written notice to announce the Forest Service’s intent to begin forest plan revision and
             prepare an environmental impact statement.




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   O
   Objective
          A concise, measureable, and time-specific statement of a desired rate of progress toward a
          desired condition or conditions. Objectives should be based on reasonable foreseeable
          budgets.
   Off-highway vehicle
          Any motor vehicle designed for or capable of cross-country travel on or immediately over
          land, water, sand, snow, ice, marsh, swampland, or other natural terrain. It includes, but is
          not limited to, four-wheel drive or low-pressure-tire vehicles, motorcycles and related two-
          wheel vehicles, amphibious machines, and ground-effect or air-cushion vehicles.

   Old forest
          The overstory is dominated by late seral or climax species of a certain age and size, and has
          other characteristics such as snags, canopy layers, downed woody material, and trees with
          rotten, dead, or broken tops.
   Old forest habitat
          Habitat for certain wildlife that is characterized by late-successional forest stands with large
          snags and decaying logs.
   Openings
           Meadows, clearcuts, and other areas of vegetation that do not provide cover.
   Ore
          A type of rock that contains sufficient minerals with important elements, including metals that
          can be economically extracted from the rock. The ores are extracted from the earth through
          mining; they are then refined, often via smelting, to extract the valuable element or elements.
   Organic matter
          In soil, the organic fraction that includes plant and animal residues at various stages of
          decomposition, cells and tissues of soil organisms, and substances synthesized by the soil
          population; commonly determined as the amount of organic material contained in a soil
          sample passed through a 2-millimeter sieve.
   Osha
          Osha, also known as osha (Ligusticum porteri), is a perennial herb found in parts of the
          Rocky Mountains and northern Mexico, especially in the southwestern United States. Osha is
          strictly a mountain plant that requires partial shade. It is most commonly found in deep, moist
          soils rich in organic material.
   Outputs
          The goods, end products, or services that are purchased, consumed, or used directly by
          people. Goods, services, products, and concerns produced by activities that are measurable
          and capable of being used to determine the effectiveness of programs and activities in
          meeting objectives.
   Overstory
          That portion of a plant community consisting of the taller plants on the site; the forest or
          woodland canopy.


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      Over-the-snow vehicle
              Vehicles that are designed for use over snow and that run on a track or tracks and/or a ski or
              skis, while in use over snow.



      P
      Party
              A group of people readily recognized as traveling together.
      Payment(s) in Lieu of Taxes (PILT)
              A law that provides compensation to counties for loss of county tax revenue from the Federal
              (nontaxable) land within their boundaries. Payments are based on the acreage of Federal
              land within each county. Payments must be authorized annually by Congress and are
              distributed through the Department of Interior, Bureau of Land Management.
      Payments to States (25-Percent Fund)
              A law that provides 25 percent of the gross receipts from the sale of timber, grazing,
              recreational activities, and other uses on Forest Service System lands, which are returned to
              states to be used for roads and schools in the counties where the lands are located. Each
              county’s share of the 25-Percent payment is based on the percentage of National Forest
              System acreage within that county.
      Peak flow
              The highest discharge of water recorded over a specified period of time at a given stream
              location. Often thought of in terms of spring snowmelt.
      Perennial stream
              A stream or reach of a channel that flows continuously or nearly so throughout the year and
              whose upper surface is generally lower than the top of the zone of saturation in areas
              adjacent to the stream.
      Persons at one time (PAOT)
              A recreational capacity measurement term indicating the number of people who can use a
              facility or area at one time. Equal to five persons per family unit for camp and picnic grounds.
      Planned ignition
              The intentional initiation of a wildland fire by a hand-held, mechanical, or aerial device where
              the distance and timing between ignition lines or points and the sequence of igniting them is
              determined by environmental conditions (weather, fuel, topography), firing technique, and
              other factors that influence fire behavior and fire effects (see prescribed fire).
      Planning period
              The lifetime of the plan. The time interval within the planning horizon that is used to show
              incremental changes in yields, costs, effects, and benefits.
      Planning Rule
              The 2012 Planning rule provides the overarching framework for individual forests and
              grasslands in the National Forest System to use in developing, amending, and revising land
              management plans, which are also known as forest plans. The planning rule identifies a



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          framework for revising land management plans that consists of three phases: assessment,
          plan revision, and monitoring.
          The Forest Service is required by statute to have a national planning rule: the Forest and
          Rangeland Renewable Resources Planning Act of 1974, as amended by the National Forest
          Management Act of 1976, requires the Secretary of Agriculture to issue regulations under the
          principles of the Multiple-Use Sustained-Yield Act of 1960 for the development and revision of
          land management plans.
   Plant associations
          A grouping of plants that have reached dynamic equilibrium with the local environmental
          conditions, equivalent to climax. Onsite there is no evidence of replacement by other
          dominant plant species and there is no evidence of serious disturbance.
   Plant community
          Any assemblage of plants that occur in the same area and form a distinct ecological unit.
   Pole or pole timber
          Smaller diameter trees larger than saplings that do not meet the specifications for sawtimber.
   Precambrian
          The period of geologic time before the Cambrian Period, extending from 542 million years
          ago to about 4.6 billion years ago, when Earth began to form.
   Pre-commercial thinning
          Cutting non-sawtimber trees to meet a variety of management objectives including improving
          tree vigor, stand species composition, wildlife habitat, or reducing fuels.
   Prescribed fire
          A wildland fire originating from a planned ignition to meet specific objectives identified in a
          written, approved, prescribed fire plan for which National Environmental Policy Act
          requirements (where applicable) have been met prior to ignition (see planned ignition).
   Prescription
          Management practices selected and scheduled for application on a specific area to attain
          goals and objectives.
   Preservation
          A scenic condition objective in which only ecological changes are allowed. Management
          activities, except for low impact recreation facilities, are prohibited. This objective applies
          mainly to wilderness, primitive areas, and areas with special classifications. Also, a technique
          of conservation that maintains the resource in or on the ground into perpetuity.
   Primitive road
          A road constructed with no regard for grade control or designed drainage, sometimes by
          merely repeatedly driving over an area. These roads are of single lane, typically with native
          surfacing, and sometimes usable with 4-wheel-drive vehicles only.
   Priority heritage asset
          A historic property that meets the criteria for a priority heritage asset with a current
          documented condition assessment and a recommended management use that realizes its
          agency and public benefit(s).


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      Productive
             The ability of an area to provide goods and services and sustain ecological values.
      Projected timber sale quantity (PTSQ)
             The estimated quantity of timber meeting applicable utilization standards that is expected to
             be sold during the plan period. As a subset of the projected wood sale quantity (PWSQ), the
             projected timber sale quantity includes volume from timber harvest for any purpose from all
             lands in the plan area based on expected harvests that would be consistent with the plan
             components. The PTSQ is also based on the planning unit’s fiscal capability and
             organizational capacity. PTSQ is not a target nor a limitation on harvest, and is not an
             objective unless the responsible official chooses to make it an objective in the plan.
      Projected wood sale quantity (PWSQ)
             The estimated quantity of timber and all other wood products that is expected to be sold from
             the plan area for the plan period. The PWSQ consists of the projected timber sale quantity as
             well as other woody material such as fuelwood, firewood, or biomass that is also expected to
             be available for sale. The PWSQ includes volume from timber harvest for any purpose based
             on expected harvests that would be consistent with the plan components. The PWSQ is also
             based on the planning unit’s fiscal capability and organizational capacity. PWSQ is not a
             target nor a limitation on harvest, and is not an objective unless the responsible official
             chooses to make it an objective in the plan.
      Project record
             The documents and materials considered in the making of a forest plan, plan revision, or plan
             amendment. Also known as the planning record.
      Proposed action
             In terms of the National Environmental Policy Act (NEPA), the project, activity, or decision
             that a Federal agency intends to implement or undertake, which is the subject of an
             environmental impact statement or environmental assessment.
      Public access
             Generally refers to a road or trail route over which a public agency claims right-of-way for
             public use.
      Public participation
             Meetings, conferences, seminars, workshops, tours, written comments, responses to survey
             questionnaires, and similar activities designed and held to obtain comments from the public
             about Forest Service planning.
      Proposed species
             Any species that is proposed by the U.S. Fish and Wildlife Service or National Marine
             Fisheries Service to be listed as threatened or endangered under the Endangered Species
             Act.



      R
      Range allotment
             Rangelands are managed as allotments and pastures. An allotment is a designated area of
             land available for permitted livestock grazing. Grazing is authorized for a specified number


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          and kind of livestock. It is the basic land unit used to facilitate management of the range
          resource on National Forest System lands administered by the Forest Service.
   Range condition
          The state of the plant community on a range site in relation to the potential natural community
          or the desired plant community for that site. It is typically rated in the general category of
          satisfactory or unsatisfactory.
   Rangeland
           Land on which vegetation is predominantly grasses, forbs, or shrubs suitable for grazing or
           browsing. Rangeland may include some forest and barren land.
   Ranger district
          Administrative subdivision of a national forest, supervised by a district ranger who reports to
          the forest supervisor.
   Reclamation
          Returning disturbed lands to a form and productivity that will be ecologically balanced and in
          conformity with a predetermined land management plan.
   Reconstruction
          Activities performed on an existing road or other facility to restore it to a specified standard.
   Record of decision
          A document prepared as a public record of decision in cases requiring an environmental
          impact statement.
   Recreation event
          A recreational activity conducted on National Forest System lands for which an entry or
          participation fee is charged, such as animal, vehicle, or boat races; dog trials; fishing
          contests; rodeos; adventure games; and fairs.
   Recreation opportunity spectrum (ROS)
          Allocations that identify a variety of recreation experience opportunities categorized into six
          classes on a scale from primitive to urban. Each class is defined in terms of the degree to
          which it satisfies certain recreation experience needs, based on the extent to which the
          natural environment has been modified, the type of facilities provided, the degree of outdoor
          skills needed to enjoy the area, and the relative density of recreation use. The six classes
          are:
                     Primitive - Very high probability of experiencing solitude, self-reliance, and
                     challenge; natural landscape with natural processes allowed to function; very low
                     interaction between users; restrictions and controls not evident; access limited;
                     generally cross-country travel.
                     Semiprimitive nonmotorized - Good probability of experiencing solitude, self­
                     reliance, and challenges; natural primitive landscapes; some evidence of users;
                     minimum subtle controls; access by low standard trails and cross-country travel;
                     natural processes allowed to function with subtle vegetative alterations. Managed for
                     nonmotorized use.
                     Semiprimitive motorized - Moderate probability for self-reliance and experiencing
                     solitude away from travelways (roads/trails); risk associated with motorized
                     equipment; predominantly natural landscapes; low concentration of users and


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                        interaction by users along travelways; minimum but subtle restrictions; vegetative
                        alterations visually blend with the landscape. Existing routes are designated for off
                        highway vehicles and other high clearance vehicles. Mountain bikes and other
                        mechanized equipment are present.
                        Roaded natural - Low opportunity to avoid other users; little opportunity for risk or
                        challenge; substantial modified landscapes; moderate evidence and interaction of
                        users; controls and restrictions present; variety of motorized users and access;
                        various shapes and sizes of vegetative alterations that blend with the landscape. The
                        road system is well defined and can accommodate sedan travel.
                        Rural - Good opportunity to affiliate with others; facilities important; self-reliance of
                        little importance; altered landscapes but attractive; high interaction among users;
                        obvious and prevalent controls; extensive motorized use; vegetation maintained.
                        Rural settings represent most developed recreation sites.
                        Urban - Opportunity to affiliate with others important; outdoor skills associated with
                        competitive events; landscapes extensively changed with dominant structures; large
                        numbers of user interactions; intensive controls are numerous; motorized use
                        prevalent, including mass transit; vegetation planted and maintained. Highly
                        developed ski areas and resorts are examples of a typical urban setting on National
                        Forest System lands.
      Recreational livestock use
             The use of an area by domesticated animals such as horses, mules, pack goats, and llamas,
             which are used primarily in conjunction with recreation activities.
      Recreation setting
             The social, managerial, and physical attributes of a place that, when combined, provide a
             distinct set of recreation opportunities. The Forest Service uses the recreation opportunity
             spectrum to define recreation settings and categorize them into six distinct classes: primitive,
             semiprimitive nonmotorized, semiprimitive motorized, roaded natural, rural, and urban.
      Recreation site
             A defined, public recreation area. The Forest Service uses two categories for recreation sites:
             dispersed and developed. Both types may have improvements needed to protect resources
             such as signs, road closure devices, bear resistant food storage devices, and/or sanitation
             facilities. Some recreation sites are designed and managed for overnight use and some are
             designed and managed for day-use only (e.g., interpretive signs at roadside pull-outs,
             trailheads at roadside pull-outs or at road closures, picnic areas or boat launches that are
             closed at night, ski areas that do not have overnight lodging).
             Developed sites have agency improvements made out of manmade materials that are
             intended to provide for public recreation and user comfort/convenience. Examples on
             National Forest Service lands include, but are not limited to: ski areas, campgrounds, sites
             with cabins, huts, lodges, recreation residences, visitor centers, and trailheads.
             Dispersed sites have minimal to no agency improvements made out of manmade materials.
             Dispersed sites may include outfitter camps or other primitive camping spots along a road,
             trail, or water body, or at a road closure.
      Reforestation
             Management activities used to increase or accelerate the establishment of forest cover to
             meet resource objectives.




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   Regeneration
            Natural - A group or stand of young trees created from germination of seeds from trees on
            the site or sprouting from trees on the site.
            Artificial - A group or stand of young trees created by direct seeding or by planting seedlings
            or cuttings.
   Regeneration harvest
            Timber harvest system intended to create a new age class (see regeneration method).
   Regeneration method
            A cutting procedure by which a new age class is created. The major methods are
            clearcutting, seed-tree, shelterwood, selection, and coppice. Regeneration methods are
            grouped into four categories: coppice, even-aged, two-aged, and uneven-aged.
   Region
            An administrative unit within the National Forest System based on geographical location.
            Each of the nine Forest Service regional offices is supervised by a regional forester. The Rio
            Grande National Forest is part of the Rocky Mountain Region, also known as Region 2. The
            Rocky Mountain Regional Office is strategically located in Lakewood, Colorado, between the
            foothills of the Rocky Mountains and downtown Denver.
   Regional Forester Sensitive Species List
            The list of those plant and animal species identified by the regional forester for which
            population persistence is a concern as evidenced by significant current or predicted
            downward trends in a) population numbers or density, or b) habitat capability that would
            reduce a species’ existing distribution.
   Rehabilitation
            1) Actions taken to protect or enhance site productivity, water quality, or other values for a
               short period of time.
            2) A short-term scenic condition objective used to restore landscapes containing
               undesirable visual or other resource impacts to the desired scenic or other acceptable
               quality level.
   Research natural area (RNA)
            Designated areas of land established by the Chief of the Forest Service under 36 CFR
            251.23 for research and educational purposes and to typify important forest and range types
            of the Forest, as well as other plant communities that have special or unique characteristics
            of scientific interest and importance.
   Resilience
            The ability of a system to recover from disturbance in the event that the disturbance exceeds
            the capacity of the system to resist changing. The concepts of resistance and resilience are
            jointly referred to as resilience.
   Resistance
            The capacity of ecosystems to tolerate disturbances without exhibiting significant change in
            structure and composition. The concepts of resistance and resilience are jointly referred to as
            resilience.




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      Response to wildland fire
             The mobilization of the necessary services and responders to a fire based on ecological,
             social, and legal consequences, the circumstances under which a fire occurs, and the likely
             consequences on firefighter and public safety and welfare, natural and cultural resources,
             and values to be protected.
      Responsible official
             The Forest Service employee who has the delegated authority to make a specific decision.
             For example, the regional forester will select the preferred alternative for the forest plan.
      Restore/restoration
             Assisting the recovery of an ecosystem that has been degraded, damaged, or destroyed. It is
             an intentional activity that initiates or accelerates the recovery of an ecosystem with respect
             to its health, integrity, and sustainability.
      Revegetation
             The reestablishment and development of a plant cover. This may take place naturally through
             the reproductive processes of the existing flora or artificially through the direct action of
             reforestation or reseeding.
      Right-of-way
             Land authorized to be used or occupied for the construction, operation, maintenance, and
             termination of a project or facility passing over, upon, under, or through such land (36 CFR
             251.51). The privilege that one person or persons particularly described may have of passing
             over the land of another in some particular line (fSh 2709.12 05 10).

      Riparian area
             A riparian ecosystem is a transition area between the aquatic ecosystem and the adjacent
             terrestrial ecosystem, identified by soil characteristics or distinctive vegetation communities
             that require free or unbound water (FS-990A). Riparian areas may be associated with lakes,
             reservoirs, estuaries, hot springs, marshes, streams, bogs, wet meadows, and intermittent or
             permanent streams where free and unbound water is available. This habitat is transitional
             between true bottomland wetlands and upland terrestrial habitats, and while associated with
             watercourses, may extend inland or upland for considerable distances.
      River mile
             The measure of distance along a river from its mouth, in miles. River mile numbers begin at
             zero and increase upstream. The river mile is not the same as the length of the river; rather, it
             is a means of locating any feature along the river relative to its distance from the mouth,
             when measured along the course (or navigable channel) of the river.
      Road
             A motor vehicle route more than 50 inches wide, unless identified and managed as a trail.
      Road construction
             Activity that results in the addition of system or temporary road miles.
      Road corridor
             A strip of land between two points used by a road, or some future road whose exact location
             remains to be determined; generally with an indefinite width.




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   Road density
          The number of road miles per square mile of land (i.e., 1 mile/square mile is 1 mile of road
          within a given square mile). This includes the total density of primary, secondary, and
          primitive roads.
   Road maintenance level
          Defines the level of service provided by, and maintenance required for, a specific road,
          consistent with road management objectives and maintenance criteria (FSH 7709.58, section
          12.3). The maintenance levels are:
                   Maintenance level 1 - Intermittent service roads during the time they are closed to
                   vehicular traffic. The closure period is 1 year or longer. Basic custodial maintenance
                   is performed.
                   Maintenance level 2 - Roads open for use by high-clearance vehicles, minor traffic,
                   no warning signs. Passenger car traffic is not a consideration.
                   Maintenance level 3 - Roads open and maintained for a prudent driver in a
                   standard passenger car, low speed travel, warning signs provided. User comfort and
                   convenience are not considered priorities.
                   Maintenance level 4 - Roads that provide a moderate degree of user comfort and
                   convenience at moderate travel speeds, single or double lane, aggregate or paved
                   surface.
                  Maintenance level 5 - Roads that provide a high degree of user comfort and
                  convenience, single or double lane, generally paved surface, or aggregate-surfaced
                  with dust abatement.
   Rocky Mountain Region
          The Forest Service organizational unit consisting of Colorado, Wyoming, South Dakota,
          Nebraska, and Kansas. Also called Region 2.
   Rotation
          The planned number of years between the formation of a generation of trees and its final
          cutting at a specified stage of maturity.



   S
   Sacred site
          Per Executive Order 13007 - any specific, discrete, narrowly delineated location on Federal
          land that is identified by an Indian tribe, or Indian individual determined to be an appropriately
          authoritative representative of an Indian religion, as sacred by virtue of its established
          religious significance to, or ceremonial use by, an Indian religion; provided that the Indian
          tribe or appropriately authoritative representative of an Indian religion has informed the
          agency of the existence of such a site.
   Salable minerals
          Includes common varieties of sand, stone, gravel, pumice, pumicite, cinders, and clay. In
          general, these minerals are widely spread and are relatively low in unit value. They are
          generally used for construction materials and for road building purposes.




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      Salvage harvest
                Removal of trees that are damaged, dead, or dying or being damaged by injurious agents
                other than competition between trees, such as insect and disease epidemics, wildfire, or
                storms, to recover timber before it loses its commercial value.
      Sanitation cutting
                Intermediate harvest to remove trees to improve stand health by stopping or reducing the
                actual or anticipated spread of insects and diseases.
      Sawtimber
                Larger diameter trees of sufficient size and quality to be manufactured into dimensional
                lumber products. Species and minimum diameters of sawtimber trees are established by
                regional timber markets.
      Scale
                The degree of resolution at which ecological processes, structures, and changes across
                space and time are observed and measured.
      Scarify
                To abrade, scratch, or modify the surface. For example, to break the surface of the soil with a
                winged-ripper implement.
      Scenic character
                A combination of the physical, biological, and cultural images that gives an area its scenic
                identity and contributes to its sense of place; scenic character provides a frame of reference
                from which to determine scenic attractiveness and to measure scenic integrity.
      Scenic condition
                Measurable standard for scenic resource management based on the acceptable degree of
                alteration of the characteristic landscape. The acceptable degree of alternation for a given
                landscape is dictated by the area’s scenic integrity objective.
      Scenic integrity objective
                Scenic integrity objectives serve as the desired conditions for the scenic resources and
                represent the degree of intactness of positive landscape attributes. Scenic integrity objectives
                are categorized into five levels. The highest ratings are given to those landscapes where
                valued landscape attributes will appear complete with little or no visible deviations. Lower
                ratings are given to those landscapes where modifications will be more evident.
                        Very high - Landscape is intact with changes resulting primarily through natural
                        processes and disturbance regimes.
                        High - Management activities are unnoticed and the landscape character appears
                        unaltered.
                        Moderate - Management activities are noticeable but are subordinate to the
                        landscape character. The landscape appears slightly altered.
                        Low - Management activities are evident and sometimes dominate the landscape
                        but are designed to blend with surroundings by repeating line, form, color, and
                        texture of valued landscape character attributes. The landscape appears altered.




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                    Very low - Human activities of vegetation and landform alterations may dominate the
                    original, natural landscape character but should appear as natural occurrences when
                    viewed at background distances.
   Scenic resource
           The composite of basic physiographic features, patterns, and land-use effects that typify a
           land unit and influence the scenic appeal the unit may have for visitors.
   Scoping
           Determination of the significant issues to be addressed in an environmental impact
           statement.
   Secure habitat
           An area where wildlife retreat for safety when disturbance in their usual range is intensified,
           such as by logging activities or during hunting seasons.
   Sedge
           A grass-like plant with triangular stems and inconspicuous flowers, typically growing in wet
           ground.
   Sediment
           Material suspended in water or that has been deposited in streams and lakes.
   Seedling/sapling
           A forest successional stage in which trees are less than 5 inches in diameter.
   Seral
           The gradual supplanting of one community of plants by another, the sequence of
           communities being termed a sere and each stage seral (successional).
   Seral stage
           A phase in the sequential development of a climax community.
   Shelterwood regeneration method with reserves
           A regeneration method that creates a two-aged stand in which some or all of the shelter trees
           are retained to attain goals other than regeneration. The reserve trees generally comprise at
           least 10 percent of full stocking after the last harvest. Similarly, when the shelterwood
           regeneration method with reserves is used, there may be one or more harvest entries:
                    Shelterwood preparatory cut - An optional cut that enhances conditions for seed
                    production and/or develops wind firmness for a future shelterwood establishment cut.
                    Shelterwood establishment cut - A cut to establish a moderated
                    microenvironment, prepare the seed bed, and create a new age class.
                    Shelterwood removal with reserves cut - An optional removal cut that releases
                    established regeneration from competition with shelter trees after they are no longer
                    needed for shelter while retaining reserve trees to create a two-aged stand.
   Short-term effects
           A relative indicator as to the duration of an impact or change. The effect is repairable within a
           reasonable period of time following the action.



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      Shrub/seedling
              A forest successional stage in which shrubs and seedling trees are the dominant vegetation.
      Silvicultural treatment
              A forest management activity such as thinning, harvesting, planting, pruning, prescribed
              burning, and site preparation that is designed to alter the establishment, growth, composition,
              health, and quality of forests and woodlands to meet the diverse needs and values of
              landowners and society on a sustainable basis.
      Silviculture
              The art and science of controlling the establishment, growth, composition, health, and quality
              of forests and woodlands to meet the diverse needs and values of landowners and society on
              a sustainable basis.
      Single-tree selection regeneration method
              An uneven-aged method where individual trees of all size classes are removed more or less
              uniformly throughout the stand, to promote growth of remaining trees and to provide space
              for regeneration.
      Skidding
              Moving logs by sliding from stump to a collecting point.
      Slash
              Woody material left after logging, pruning, thinning, brush cutting, or other management
              activities and/or accumulating there as a result of storm, fire, or other damage.
      Slope
              The amount or degree of deviation from the horizontal or vertical.
      Slope stability
              The resistance of any inclined surface, as the wall of an open pit or cut, to failure by sliding or
              collapsing.
      Snag
              A standing, dead tree.
      Social sustainability
              The capability of society to support the network of relationships, traditions, culture, and
              activities that connects people to the land and to one another and supports vibrant
              communities.
      Soft snag
              A snag composed primarily of softwood in advanced stages of decay and deterioration,
              particularly in the sapwood portions.
      Softwood
              A conventional term for timber and trees belonging to the evergreen group, such as pine,
              spruce, and fir.




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   Soil compaction
             A physical change in soil properties that results in a decrease in porosity and an increase in
             soil-bulk density and strength.
   Soil productivity
             The capacity of a soil to support the growth of specified plants, plant communities, or a
             sequence of plant communities. Soil productivity may be expressed in terms of volume or
             weight/unit, area/year, percentage of plant cover, or other measures of biomass
             accumulation.
   Soil survey
             The systematic examination, description, classification, and mapping of soils in an area.
   Spatial
             Referring to the distance, interval, or area between or within things.
   Special area
             Area designated by law (by Congress) or statute or through administrative process (by the
             Secretary of Agriculture or a Forest Service official).
   Special interest area
             A type of management area designated by the forest supervisor for scenic, geologic, botanic,
             zoologic, paleontological, archaeological, historic, scenic, or recreational values, or
             combinations of these values. A special interest area is a type of special area designated
             through administrative process. Special interest areas are addressed in Forest Service
             Manuals 2360 and 2372.
   Special use authorization or permit
             A permit, term permit, lease, or easement that allows occupancy, use, rights, or privileges of
             National Forest System land.
   Species
             Organisms that successfully reproduce among themselves and cannot reproduce
             successfully with other organisms.
   Stand
             A community of trees or other vegetation sufficiently uniform in composition, constitution, age,
             spatial arrangement, or condition to be distinguishable from adjacent communities that form a
             silvicultural or management entity.
   Standards and guidelines (S&Gs)
             Principles specifying conditions or levels of environmental quality to be achieved.
                     Standard - a mandatory constraint on project and activity decisionmaking,
                     established to help achieve or maintain the desired condition or conditions, to avoid
                     or mitigate undesirable effects, or to meet applicable legal requirements. (36 CFR
                     219.7(e)(1) (iii))
                     Standards are required criteria for the design of projects and activities. Design criteria
                     are the technical design details to ensure that projects and activities maintain or
                     move toward the desired conditions, or at least to ensure that projects and activities
                     do not preclude their maintenance or attainment. Design criteria provide the


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                     sideboards (i.e., define the limits) for projects and activities. Examples of other
                     sources of constraints on the design of projects and activities include congressional
                     direction, oil and gas leasing stipulations, regulations, timber sale contract clauses,
                     and special use authorization standard clauses. In addition, the responsible official
                     may develop project-specific design criteria to constrain a project. A standard differs
                     from a guideline in that a standard is strict design criterion, allowing no variation,
                     whereas a guideline allows variation if the result would be equally effective.
                     Guideline - a constraint on project and activity decisionmaking that allows for
                     departure from its terms, so long as the purpose of the guideline is met. Guidelines
                     are established to help achieve or maintain a desired condition or conditions, to avoid
                     or mitigate undesirable effects, or to meet applicable legal requirements. (36 CFR
                     219.7(e)(1) (iv))
                     Guidelines are similar to standards in that they are design criteria for projects and
                     activities to help achieve the desired conditions and objectives, or at least to ensure
                     that projects or activities do not foreclose their maintenance or attainment. Guidelines
                     differ from standards in that they provide flexibility for compliance, while standards
                     are concrete limitations.
      Stewardship
             Caring for the land and associated resources and passing healthy ecosystems to future
             generations.
      Stipulation
             A provision that modifies standard lease rights and is attached to and made a part of the
             lease.
      Stocking
             Live trees per acre needed to meet resource objectives as identified in the forest plan or
             through other management decisions.
      Structural diversity
             Variety in a forest stand that results from layering or tiering of the canopy; an increase in
             layering that leads to an increase in structural diversity.
      Structural stage
             Any of several developmental stages of tree stands described in terms of tree age or size and
             density. In general, the habitat structural stages developed by the Forest Service Rocky
             Mountain Region staff are used. This classification has different structural stages based on
             tree size (diameter at breast height) and tree canopy cover percent.
      Structure
             The horizontal and vertical physical elements of forests and grasslands and the spatial
             interrelationships of ecosystems.
      Stubble
             The basal portion of plants remaining after the top portion has been harvested. Also, the
             portion of the plants, principally grasses, remaining after grazing is completed.
      Substrate
             The rock material varying in size from boulders to silt that is found in the bed of rivers and
             streams.


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   Succession
           The sequential process of long-term plant community change and development that occurs
           following a disturbance.
   Successional stage (seral stage)
           The relatively transitory communities that replace one another during development to
           potential natural community.
   Suitability for grazing
           The appropriateness of applying certain resource management practices to a particular area
           of land, as determined by an analysis of economic and environmental consequences, and the
           alternative uses forfeited. A unit of land may be suitable for a variety of individual or
           combined management practices. Suitability is a determination of the appropriateness of
           grazing on the capable lands based on economic and environmental consequences and
           consideration of alternative uses forfeited if grazing is allowed.
   Suitability for timber production
           Lands that may be suited for timber production is a preliminary classification in the process of
           determining lands that are suited for timber production. This preliminary classification
           excludes National Forest System lands that are not suitable for timber production based on
           legal or technical reasons, such as lands where State, Executive order, or regulation prohibits
           timber production; lands that have been withdrawn from timber production; lands where
           timber harvest cannot be done without causing irreversible damage to soil, slope, or other
           watershed conditions; lands where there is no reasonable assurance of adequate restocking;
           and land that is not forest land.
   Suitable timber base
           Lands within the National Forest System that are capable, available, and suitable for timber
           production.
   Suppression
           The work of extinguishing a fire or confining fire spread.
   Surface water
           Water on the surface of the earth.
   Sustainability
           The capability to meet the needs of the present generation without compromising the ability
           of future generations to meet their needs.
   Sustainable recreation
           The 2012 Forest Planning Rule defines sustainable recreation as a set of recreation settings
           and opportunities on the National Forest System that is ecologically, economically, and
           socially sustainable for present and future generations. The Rio Grande National Forest’s
           sustainable recreation vision means facilitating access to enduring recreational opportunities
           across a variety of settings on the Forest that: (1) meet both the persisting and changing
           needs of the public, (2) support the Forest’s ecological health, (3) promote high-quality visitor
           experiences, (4) strengthen individuals’ connection to the outdoors and sense of stewardship,
           and (5) are backed by innovative funding and effective partnerships.




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      Sustained yield
              The amount of renewable resources that can be produced continuously at a given intensity of
              management.
              “Sustained yield of the several products and services” means the achievement and
              maintenance in perpetuity of a high-level annual or regular periodic output of the various
              renewable resources of the national forests without impairment of the productivity of the land.
              (36 CFR 219.3)
      Sustained yield limit
              The amount of timber, meeting applicable utilization standards that can be removed from a
              forest annually in perpetuity on a sustained yield basis. It is the volume that could be
              produced in perpetuity on lands that may be suitable for timber production. Calculation of the
              limit includes volume from lands that may be deemed not suitable for timber production after
              further analysis during the planning process. The calculation of sustained yield limit is not
              limited by land management plan desired condition, other plan components, or the planning
              unit’s fiscal capability and organizational capacity. The sustained yield limit is not a target but
              is a limitation on harvest, except when the plan allows for a departure.



      T
      Tailings
              The parts or part of any incoherent or fluid material separated as refuse or separately treated
              as inferior in quality or value. The sand, gravel, and cobbles that pass through the sluices in
              hydraulic mining were formerly designated as tailings, but of late they have been called
              mining debris or simply debris. Tailings are distinct from overburden, which is the waste rock
              or other material that overlies an ore or mineral body and is displaced during mining without
              being processed.
      Talus
              The loose accumulation of fragmented rock material on slopes, especially at the base of a
              cliff.
      Temporary road
              A road necessary for emergency operations or authorized by contract, permit, lease, or other
              written authorization. Temporary roads are not included in a national forest’s transportation
              atlas.
      Terrestrial ecosystem
              A plant community that is not dependent on a perpetual source of water to grow.
      Thinning
              Intermediate treatment to reduce stand density or stocking levels to meet a variety of
              management objectives including increasing tree growth or vigor, improving stand health or
              species composition, reducing fuels, or improving wildlife habitat.
      Threatened and endangered species
              An endangered species is a plant or animal species listed under the Endangered Species Act
              that is in danger of extinction throughout all or a significant portion of its range. A threatened
              species is any species that is likely to become an endangered species within the foreseeable
              future throughout all or a significant portion of its range.


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   Threshold
             The point or level of activity beyond which an undesirable set of responses begins to take
             place within a given resource system.
   Tiering
             Covering general matters in broad environmental impact statements with subsequent, narrow
             statements, or environmental analyses incorporating by reference the general discussions
             and concentrating solely on the issues specific to the statement prepared.
   Timber classification
             Forested land is classified under each of the land management alternatives according to how
             it relates to the management of the timber resource. The following are definitions of timber
             classifications:
                     Nonforested - Land that has never supported forests and land formerly forested
                     where use for timber production is precluded by development or other uses.
                     Forested - Land at least 10-percent stocked (based on crown cover) by forest trees
                     of any size, or formerly having had such tree cover and not currently developed for
                     nonforest use.
                     Suitable - Land to be managed for timber production on a regulated basis.
                     Unsuitable - Forest land withdrawn from timber use by statute or administrative
                     regulation (for example, wilderness), or identified as inappropriate for timber
                     production in the forest planning process.
   Timber harvest
             The removal of trees for wood fiber utilization and other multiple-use purposes.
   Timber production
             The purposeful growing, tending, harvesting, and regeneration of regulated crops of trees to
             be cut into logs, bolts, or other round sections for industrial or consumer use.
             Managing land to provide commercial timber products on a regulated basis with planned,
             scheduled entries.
   Timber sale
             Selling of forest products with monetary value to meet forest plan objectives, including
             providing raw material for both commercial manufacturing and personal use.
   Trail
             A route 50 inches or less in width, or a route greater than 50 inches wide that is identified and
             managed as a trail.
   Traditional cultural property
             A property affiliated with traditional religious and cultural importance to a distinct cultural
             group, such as an American Indian tribe or Native Hawaiian group, that is eligible for the
             National Register of Historic Places because of its association with cultural practices or
             beliefs of a living community that (a) are rooted in that community’s history, and (b) are
             important in maintaining the continuing cultural identity of the community. Traditional cultural
             properties include built or natural locations, areas, or features considered sacred or culturally
             significant by a group or people. While traditional cultural properties are closely associated
             with Native American cultures, a site need not be associated with a Native American cultural


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             group to qualify as a traditional cultural property for the purposes of the National Register of
             Historic Places.
      Travel management
             Providing for safe, environmentally responsible, and customer-responsive movement of
             vehicles and people to and through public lands.
      Turbidity
             The measure of relative clarity of a liquid.



      U
      Unauthorized road or trail
             A road or trail that is not a forest road or trail or a temporary road or trail and is not included in
             a forest transportation atlas.
      Understory
             That portion of a plant community growing underneath the taller plants on the site.
      Uneven-aged management
             The application of a combination of actions needed to simultaneously maintain continuous
             high-forest cover, recurring regeneration of desirable species, and orderly growth and
             development of trees through a range of diameter or age classes to provide a sustained yield
             of forest products. Cutting is typically regulated by specifying the number or proportion of
             trees of particular sizes to retain within each area, thereby maintaining a planned distribution
             of size classes. Cutting methods that develop and maintain uneven-aged stands are single­
             tree and group selection. (36 CFR 219.3)
      Ungulate
             A hoofed animal.
      Unplanned ignition
             The initiation of a wildland fire by lightning, volcanoes, or unauthorized or accidental human-
             caused fire (see wildfire).
      Use of wildland fire
             Management of either wildfire or prescribed fire to meet resource objectives specified in land
             and resource management plans.



      V
      Values to be protected
             Include property, structures, physical improvements, natural and cultural resources,
             community infrastructure, and economic, environmental, and social values.
      Vegetation management
             Activities designed primarily to promote the health of forest vegetation in order to achieve
             desired results. When vegetation is actively managed, it is manipulated or changed by


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          humans to produce desired results. Where active management of vegetation is required,
          techniques are based on the latest scientific research and mimic natural processes as closely
          as possible. Vegetation management is the practice of manipulating the species mix, age,
          fuel load, and/or distribution of wildland plant communities within a prescribed or designated
          management area in order to achieve desired results.
   Viable population
          A population of plants or animals large enough and distributed in such a way as to ensure its
          continued existence, despite all the hazards to survival such as illness, predators, old age,
          etc. throughout its existing range within the planning area.
   Viewshed
          The visible portion of the landscape seen from viewpoints. Viewpoints can include
          residences, recreational facilities, and travelways.
   Viga
          One of the heavy rafters or beams that supports the roof in American Indian architecture in
          the Southwest. Numerous latillas (sticks or small branches) are laid across the main vigas to
          form a ceiling.



   W
   Water right
          A property right granted by a State for the use of a portion of the public’s surface water
          resource obtained under applicable legal procedures.
   Watershed
          An area of land with a characteristic drainage network that contributes surface or ground
          water to the flow at that point; a drainage basin or a major subdivision of a drainage basin.
   Water yield
          The measured output of surface water, typically measured in acre-feet.
   Wetlands
          Those areas that are inundated or saturated by surface or groundwater at a frequency and
          duration sufficient to support and that, under normal circumstances, do support, a prevalence
          of vegetation typically adapted for life in saturated soil conditions. Wetlands generally include
          swamps, marshes, bogs, and similar areas.” (40 CFR 122. 2)
   Wickiup
          A hut used by the nomadic Indians of the arid regions of the Western and Southwestern
          United States, typically constructed with an oval base and a rough frame covered with reed
          mats, grass, or brushwood.
   Wild, Scenic, and Recreational Rivers
          A river or section of a river designated under the 1968 Wild and Scenic Rivers Act as wild,
          scenic, or recreational. Rivers may be designated by Congress or, if certain requirements are
          met, the Secretaries of Interior or Agriculture, as appropriate. Once designated under the Act,
          rivers receive special management direction that ensures the maintenance of the free-flowing



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                 nature and the outstanding natural, cultural, and recreational values of the river segment.
                 Under the Act, river segments are required to be classified as wild, scenic, or recreational:
                         Wild Rivers - Those rivers or sections of rivers that are free of impoundments and
                         generally inaccessible except by trail, with watersheds or shorelines essentially
                         primitive and waters unpolluted. These represent vestiges of primitive America.
                         Scenic Rivers - Those rivers or sections of rivers that are free of impoundments,
                         with shorelines or watersheds still largely primitive and shorelines largely
                         undeveloped, but accessible in places by roads.
                         Recreational Rivers - Those rivers or sections of rivers that are readily accessible
                         by road or railroad, that may have some development along their shorelines, and that
                         may have undergone some impoundment or diversion in the past.
      Wilderness
             All lands included in the National Wilderness Preservation System by public law; generally
             defined as undeveloped Federal land retaining its primeval character and influence without
             permanent improvements or human habitation.
      Wildfire
             An unplanned, unwanted wildland fire, including unauthorized human-caused fires, escaped
             prescribed fires, and all other wildland fires where the objective is to put the fire out; any
             wildland fire not designated and managed as a prescribed fire within an approved
             prescription. All wildfires will receive appropriate suppression action.
      Wildland fire
             A general term describing any nonstructural fire that occurs in the wildland. Wildland fires are
             categorized into two distinct types:
                         Wildfires - Unplanned ignitions or prescribed fires that are declared wildfires
                         Prescribed fires - Planned ignitions.
      Wildland-urban interface
             The line, area, or zone where structures and other human developments meet or intermingle
             with undeveloped wildland or vegetation fuels.
      Windthrow
             The act of trees being uprooted by the wind.
      Winter range
             An area used by deer and elk during the winter months; generally at lower elevations and/or
             south and west exposures.
      Withdrawal
             An action that restricts the use of public land and segregates the land from the operation of
             some or all of the public land and mineral laws. Withdrawals are also used to transfer
             jurisdiction of management of public lands to other Federal agencies.




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  Appendices

   Appendix A           Wilderness Analysis Process

   Appendix B           Timber Suitability and Analysis

   Appendix C           Species of Conservation Concern Presence and Concern for Persistence




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  Appendix A: Wilderness Analysis Process
  Introduction and Process
  When developing or revising a forest plan, the Forest Service must identify and evaluate lands that
  may be suitable for inclusion in the National Wilderness Preservation System and determine
  whether to recommend any of these lands to be designated as wilderness. This process involves four
  steps; inventory, evaluation, analysis and recommendation. The inventory and evaluation steps were
  completed prior to beginning the analysis. The steps were documented in separate documents found
  on the Rio Grande website; the inventory process is shown on the Final Wilderness Inventory and
  Draft Evaluation map, and the evaluation determination is contained in the Rio Grande National
  Forest Draft Wilderness Evaluations (USDA Forest Service 2016).
  Forest Service directives for forest plan development or revision contain a framework for the
  wilderness recommendation process at Forest Service Handbook 1909.12, Chapter 70.
  The wilderness inventory resulted in 92 numbered polygons, or over 1.5 million acres that met the
  criteria defined for the inventory process. All wilderness inventory areas went through the
  wilderness evaluation. The numbered polygons were evaluated for five wilderness characteristics
  and grouped into six categories: low, low-moderate, moderate, moderate-high, high, and high-upper
  tier. The five wilderness characteristic defined in Chapter 70 include: apparent naturalness;
  opportunities for solitude or unconfined recreation; size; ecological, scientific, educational, scenic,
  or historical values; and manageability. For the most part all numbered polygons that were ranked
  as moderate-high, high, or high-upper tier are considered in this analysis. Some areas boundaries
  were modified based on on-the-ground conditions and public comment received in response to the
  inventory and evaluation processes and scoping of the proposed action.
  The areas listed below are brought forward into analysis in alternatives B and D for recommended
  inclusion in the wilderness system. During the analysis, the numbered polygons are further
  described relative to geography and status under the Colorado Roadless Rule.
  The descriptions of the areas are below. The final areas are a product of the inventory and
  evaluation process and public comment during the inventory and evaluation process, as well as
  review of comments received from public scoping.
  The areas carried forward into analysis are mapped. However, if an area were selected for further
  recommendation for inclusion into the National Wilderness Preservation System, more work would
  be needed. For example boundaries would need to be better defined, topography, vegetation and
  unique features would be further evaluated.

  Analysis
  In addition to the analysis of recommended wilderness in the environmental impacts states, the
  Forest Service Handbook 1909.12, Chapter 70 require that for all areas recommend for wilderness
  the following items must be addressed:
  •   The name of the area and number of acres to be considered;
  •   The location and a summarized description of a recommended boundary for each area;
  •   A brief description of the general geography, topography, and vegetation of the recommended
      area;
  •   A brief description of the current uses and management of the area;

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  •     A description of the area’s wilderness characteristics and the ability to protect and manage the
        area to preserve its wilderness characteristics;
  •     A brief summary of the factors considered and the process used to evaluate the area and
        developing the alternatives;
  •     A brief summary of the ecological and social characteristics that would provide the basis for the
        area’s suitability for inclusion in the National Wilderness preservation System.

  Alternatives A and C
  Alternative A, the no-action alternative, is based on the existing forest plan which has been in place
  since 1996. Alternatives A. and C do not recommend any additional acres for inclusion the National
  Wilderness Preservation System. This is fUrther described in the environmental impact statement.

  Alternatives B and D
  Based on the results of the wilderness evaluation an estimated 58,669 acres of wilderness is
  recommended in Alternative B. Many of the acres are designated under the Colorado Roadless Rule
  so the areas already have characteristics related to naturalness, less development, opportunities for
  solitude, and other features. Alternative D, emphasizes a more natural experience and proposes over
  280,000 acre of recommended wilderness. As in Alternative B many of the area correspond with
  areas designated under the Colorado Roadless Rule. Further analysis can be found in the
  Recommended Wilderness section of the environmental impact statement. All acreages are
  approximate and are based on data from the geographic information systems.

  Areas only in Alternative D

  Antora Meadows/Bear Creek (Polygon 6) - 21,480 acres

  Boundary Description
  The northern border is the Continental Divide National Scenic Trail abutting the Gunnison National
  Forest and the northwest boundary is abuts the Pike and San Isabel National Forests. The southern
  boundary is primarily Bureau of Land Management and private lands and National Forest System
  Road 880.2B. A cherry stemmed mining claim occurs on the west side. The western boundary
  follows the boundary for the upper tier Antora Meadows Colorado Roadless Area. The eastern
  boundary approximately by National Forest System Road 861 in the Slaughterhouse Creek
  watershed. The area’s eastern boundary, north of Mosquito Lake, is abuts the Pike-San Isabel
  National Forest. There is an estimated 2,066 acres that coincides with Management Area 4.23. If
  recommended for inclusion in the Wilderness Preservation System this 2,066 acres would most
  likely be managed for both wilderness and congressionally designated trail values.
  The area being analyzed was reduced to match but not overlap the Congressionally Designated
  Management Area and to make it correspond with roadless area boundaries.

  Geology, Topography, and Vegetation
  The area is characterized by drainages running through steep narrow canyons with some mountain
  parks. The area almost completely encompasses the Antora Meadows-Bear Creek Colorado
  Roadless Area with elevations ranging from 7,545 to 13,296 feet (Antora Peak). This area is
  adjacent to the Starvation Creek roadless area on the Pike-San Isabel National Forest.


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  Vegetation consists of bunchgrass ponderosa pine in lower elevations, some lodgepole pine with
  large stands of aspen in mid-elevations, and spruce/fir at high elevations. There is some subalpine
  and alpine vegetation along the Continental Divide.
  Antora Meadows lies in the Saguache Creek watershed north of Saguache.

  Current Uses and Management
  The area is administered by the Saguache Ranger District.
  The area almost completely encompasses the Antora Meadows-Bear Creek Colorado Roadless Area
  with elevations ranging from 7,545 to 13,296 feet (Antora Peak). This area is adjacent to the
  Starvation Creek roadless area on the Pike-San Isabel National Forest.

  Ability to Protect Wilderness Characteristics
  A permitted natural gas line running through the center of the area. Primary access to the area is
  from National Forest System Roads 870 and 880. National Forest System Road 578 provides access
  to a portion of motorized Continental Divide Trail from which the Antora Meadows/Bear Creek
  area can also be accessed
  With the exception of historical timber harvest, this area is relatively natural in appearance and has
  long term, intact and functioning ecological processes.
  The lack of large bodies of water, dry environment, and large expanse of roadless landscape provide
  solitude throughout the area. This remoteness allows visitors to achieve solitude in any of the
  tributary valleys.
  The 20 miles of non-motorized trails in many cases parallel lush riparian zones of willow, blue
  spruce and aspen that makes this a destination for horseback riding, hiking and wildlife viewing.
  The Middle Creek trailhead is popular with backcountry horse users, and the trails are signed as
  closed to mountain bikes.
  This area is currently managed for backcountry and roadless characteristics, which both emphasize
  a more primitive experience.
  Patented mining claims at Antora Meadows are cherry-stemmed out of the unit boundary along with
  the access route via FDR 880.2B. A short, dead-end and motorized trail (764) extends two miles
  north of Antora Meadows. There are no oil and gas leases within the boundaries.

  Factors Considered and Process Used in the Evaluation
  Introduced pure Rio Grande cutthroat trout occupy the upper reaches of East Middle Creek. Area
  streams, include West Middle Creek, the main stem of Middle Creek, and Indian Creek, all of which
  support sport fisheries of brook and brown trout in a network of beaver ponds. The East Middle
  Creek area is a Colorado Natural Heritage Program Potential Conservation Area of moderate
  biodiversity significance due to the trout population.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The area hosts an array of habitats from sagebrush to alpine tundra, and provides habitat or potential
  habitat for the federally listed Canada lynx (threatened) and the Mexican spotted owl. Although a
  low-use area for lynx, it borders the Poncha Pass Lynx Linkage area and lynx have been known to

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  pass through. The area also provides habitat for American marten, bighorn sheep and goshawk.
  Additionally, Blue grouse have been documented and the area provides deer and elk winter habitat
  as well as refuge for deer and elk from adjacent hunting pressure.
  Antora Meadows is one of the few areas in Colorado where all of the state’s major forest types
  coexist. Antora Meadows contains ecosystems considered under-represented among existing
  wilderness areas on the Forest. There is an abundance of conifer species here not generally found in
  close proximity, including Colorado blue spruce, Douglas fir, Engelmann spruce, lodgepole pine,
  limber pine, ponderosa pine, subalpine fir, and white fir. This is one of the only areas where
  lodgepole pine naturally occurs on the Rio Grande.
  Antora peak provides views of the San Luis Valley to the South, Arkansas Valley to the north,
  Gunnison Basin to the west and the Sangre de Cristo Wilderness to the east.

  Conejos River/Lake Fork (Polygons 61) - 1,020 acres

  Boundary Description
  This area is located on the southwest border of the Forest in Conejos County and encompasses the
  Conejos River/Lake Fork Colorado Roadless Area. It is bounded by the South San Juan Wilderness
  to the west, private property to the south and the Conejos River to the north and east (USDA Forest
  Service 1982).

  Geology, Topography, and Vegetation
  The area is characterized as a long, narrow, and steep-sided canyon with the Conejos River
  traversing its entire length. The steep-sided canyons have stands of Engelmann spruce and alpine fir
  interspersed with aspen stands and meadows. Riparian and cottonwood are found by the river.

  Current Uses and Management
  General access to this area is from National Forest System Road 250 (Conejos River Road) which
  parallels the eastern boundary. Steep hillsides on either side of the Conejos River drainage limit
  access to the Colorado Roadless Area

  Ability to Protect Wilderness Characteristics
  The majority of the area appears natural though grazing activities, evidence of historical mining and
  timber harvest are present.
  Opportunities for Solitude or Primitive and unconfined recreation are found throughout the area due
  to steep and rugged terrain and a lack of trails. Overall recreation use is minimal and a feeling of
  remoteness and seclusion can be experienced. Some uses may impact solitude including authorized
  motorized access, grazing improvements and the proximity of National Forest System Road 250.
  The area can be managed to preserve wilderness character. The boundary is adjacent to the South
  San Juan Wilderness and falls within a designated Colorado Roadless Area. The area includes no
  non-federal inholdings and there are no oil and gas leases.

  Factors Considered and Process Used in the Evaluation
  This area provides habitat for the federally listed Canada lynx (threatened) and their presence in the
  area has been documented. The steep north-facing slopes and drainages are potential reproduction
  and hunting sites.

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  The area also provides potential habitat for bighorn sheep, American marten and goshawk. Other
  notable species include black bear, mule deer, and elk. Steep north-facing hillsides provide areas of
  cover and forage for elk; the area is migratory hunting grounds for peregrine falcon. There are
  peregrine falcon nests on adjacent cliffs to the east.
  Approximately 870 acres of the Colorado Roadless are in the area, as well as river segments
  determined as eligible Recreation Rivers under the Wild and Scenic Rivers Act.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The location of this polygon and the configuration of the land base result in very little use.
  The area contains habitat for wildlife along a well-used road.

  Bristol Head (Polygons 26) - 39,330 acres

  Boundary Description
  This area is located west of Creede, Colorado in Mineral and Hinsdale Counties and is administered
  by the Divide Ranger District. The northern boundary is the Congressionally Designated
  Management Area that is concurrent with the Continental Divide National Scenic Trial and a
  portion of the La Garita Wilderness administered by the Grand Mesa, Uncompahgre, and Gunnison
  National Forests. The southern and eastern boundaries align with the designated Bristol Head
  Colorado Roadless Area, with the exception of a small section of upper tier roadless that peninsulas
  to the southwest. The western border is Highway 149 to where it connects with the western
  boundary of the Bristol Head Colorado Roadless Area. An estimated 3,608 acres of the areas
  coincides with Management Area 4.23. If the responsible official chooses to recommend this area
  for wilderness designation, the coincidental acres would most likely be managed for both
  wilderness and congressionally designated trail values.

  Geology, Topography, and Vegetation
  Landforms found in the area include mountains and valley plains. This area is characterized by
  gentle alpine slopes from Bristol Head and Table Mountain to Snow Mesa, steep cliffs below and
  south of Bristol Head, gentle to moderate mountain slopes with flood plain, toe slopes and fans in
  canyons and valley bottoms.

  Current Uses and Management
  The majority of the Bristol Head Colorado Roadless Area, including the upper tier roadless, is
  encompasses by the area.
  This area is currently managed under the Management 3.3 (Back Country Management Area) and
  the Colorado Roadless Area Rule which both emphasize a more primitive and roadless character.
  With the adjacent border of the La Garita Wilderness, this area would extend the wilderness
  (excluding the Continental Divide Trail Management Area). There would, however, be management
  issues initially due to current management of motorized trails and snow mobile use.
  This area is currently managed under the Management 3.3 (Back Country Management Area) and
  the Colorado Roadless Area Rule which both emphasize a more primitive and roadless character.


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  The area is accessed from Highway 149 along the upper western boundary, National Forest System
  Road 532 near the mid-western boundary, National Forest System Roads 509 (Santa Maria) and 508
  (Shallow Creek) at the southeast boundary, National Forest System Road 507 (Miner Creek) at the
  eastern boundary, and National Forest System Road 505 (Rat Creek) at the northeast boundary.

  Ability to Protect Wilderness Characteristics
  The area in upper tier roadless is relatively natural in appearance although there is evidence of
  historical mining, timber harvest and the Miners Creek motorized trail.
  Areas outside the upper tier roadless have a lesser degree of naturalness as signs of current and past
  management are more evident. Grazing occurs in the area and range improvements include fencing
  and water developments. Motorized access is allowed for range improvements. Private in-holdings
  occur and a communication site adjacent to the area could impacts apparent naturalness.
  Forest visitors can get a sense of remoteness and seclusion in the area. Approximately 18 miles of
  motorized trails and 22 miles of nonmotorized trails are found in the area. There is also a connector
  trail to the and Colorado Trail as well as groomed snowmobile trail that follows the Continental
  Divide National Scenic Trail.

  Factors Considered and Process Used in the Evaluation
  The area has a bighorn sheep population, critical habitat for the Uncompahgre fritillary butterfly,
  denning and potential habitat for Canada Lynx.
  Important cultural sites can be also found throughout the area.
  Proximity to the Continental Divide National Scenic Trail and incredible high elevation vistas.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The area provides habitat and denning habitat for the federally listed Canada lynx and also for
  American marten, and bighorn sheep. The Seepage Creek drainage and cliffs east of Santa Maria
  Reservoir are a summer concentration area for bighorn sheep.
  Northern goshawk has been documented in this Colorado Roadless Area.
  The area provides elk and mule deer summer range and production areas, and the south and east
  portions are winter concentration areas.
  The area also provides moose habitat and is adjacent to priority habitat area for moose in North and
  South Clear Creeks.
  An active bald eagle nesting site is adjacent to the boundary.

  Elkhorn Peak (Polygon 4) - 15,180 acres

  Boundary Description
  This area located in Saguache County is administered by the Saguache Ranger District. The area is
  defined by the Forest boundary to the south, west and east. To the east and west the area is bordered
  by private and Bureau of Land Management lands. To the west is the town of Bonanza and the
  Bonanza Historic Mining District. The northern boundary generally consists of forest roads and
  patented mining claims.


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  Geology, Topography, and Vegetation
  The area encompasses the high points of Elkhorn (12,027 feet) and Hayden Peak (12,130 feet) and
  several of the drainages radiating from these peaks.
  The elevational gradient creates a continuum of ecosystems through large stands of aspen to
  lodgepole pine and extensive forests of Engelmann spruce and subalpine fir. Bristlecone pine and
  limber pine can be found on windblown dry rocky ridges and slopes. National Forest System Road
  56 (Peterson Creek road) borders the eastern portions of the area and National Forest System Road
  873 (Kelly Cr. Road) is in the area, but is closed above the Forest boundary. This area has several
  National Forest System trails.
  Plant communities appear relatively natural with representations of ponderosa pine in the lower
  elevations, Douglas-fir in mid-elevations, and alpine associations at higher elevations. Aspen stands
  occur in areas burned in the past.
  The lowest slopes consist of rolling grasslands and ponderosa pine woodland at the national forest
  boundary with adjacent federal lands, while forests of lodgepole pine and Douglas fir blanket the
  higher slopes.

  Current Uses and Management
  The area encompasses the Elkhorn Peak Colorado Roadless Area including upper tier roadless and
  is managed for backcountry values.
  Elkhorn Peak is currently managed to retain its roadless characteristics throughout the Colorado
  Roadless Area. The area is a compact shape with readily identifiable topographic boundaries. There
  are no oil and gas leases.

  Ability to Protect Wilderness Characteristics
  There are signs of historical mining, timber harvest and motorized roads occurring in the southwest
  area that represent a departure from apparent naturalness.
  Livestock grazing occurs and range improvements include fencing and water improvement occur in
  the area.
  Opportunities for solitude and ample vistas are commonplace when exploring Elkhorn Peak. The
  feeling of seclusion and remoteness is particularly enhanced in the area’s western portion, amidst
  the rugged Elkhorn and Hayden peaks.
  There are several non-motorized trails that access the area and outfitter and guide activities occur
  during the fall, but use is not high and generally would not impact opportunities for solitude or
  primitive and unconfined recreation overall.

  Factors Considered and Process Used in the Evaluation
  Approximately 2 miles of Kerber Creek which is listed as state 303(d) impaired waters.
  The area provides habitat for the federally listed Canada lynx (threatened). Potential for lynx
  occurrence in the area, however, is low. The area also provides potential habitat for American
  marten and wolverine, both Forest Service sensitive species, as well as valuable deer and elk winter
  range. Elkhorn Gulch and Kelly Creek contain networks of beaver ponds and support brook trout
  fisheries.

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  The Colorado Natural Heritage Program, 2,014 acres Kelly Creek which is ranked for High
  Biodiversity Significance is in the area. The Kelly Creek Potential Conservation Area includes a
  wetland complex with montane riparian shrubland. Beaver ponds expand the floodplain habitat,
  helping to maintain the healthy ecosystem.
  Elkhorn Peak contains several ecosystems under represented among existing wilderness areas on
  the Forest.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  There are signs of historical mining, timber harvest and motorized roads occurring in the southwest
  area that represent a departure from apparent naturalness.
  The area has long term, intact, and functioning ecological processes.
  A feeling of seclusion and remoteness can be experienced as well as a high degree of self-reliance,
  challenge and risk.

  North Fork/ Rock Creek (Bennett Mountain/Blowout/Willow Creek/Lion Point/Greenie
  Mountain) (Polygons 51) - 17,140 acres

  Boundary Description
  The Forest boundary forms eastern boundary of the area. The western boundary is Forest lands
  along with the West Fork of the San Francisco River with the West Frisco motorized trail as the
  boundary. The northern boundary starts around the Middle Frisco Trailhead and extends southeast to
  border private lands intermixed with Forest Service lands along Pinos Creek. The southern
  boundary follows County Road 28, which includes Forest Service and private land.

  Geology, Topography, and Vegetation
  Elevations range from a low of 8,880 to 12,840 feet at the peak of Pintada Mountain.
  The lower elevation terrain consists of pinyon-juniper and ponderosa pine stands with mid
  elevations consisting of Douglas-fir and aspen stands and high elevation consisting of Engelmann
  spruce and fir stands interspersed with aspen.

  Current Uses and Management
  The areas is located just southwest of Del Norte, Colorado in Rio Grande County and is
  administered by the Divide Ranger District. The area contains a large portion the Bennet
  Mountain/Blowout/Willow Creek/Lion Point/Greenie Mountain Colorado Roadless Area, which is
  designated as both upper tier and roadless. Adjacent lands are primarily managed by the Bureau of
  Land Management and intermixed with private lands.
  The West Frisco motorized trail provides access along the boundary and Middle Frisco trail
  provides non-motorized trail access in the northwest portion of the area and direct access to the San
  Francisco Lakes. North Rock and Dry Creek trails provide access to the central portion of the area.
  The area is traversed by two non-motorized trails, the North Rock Trail 701 and the Dry Creek Trail
  700. Each trail offer a half-dozen miles of exploration for hikers, anglers and equestrians. One trail
  parallels the creek and crosses back and forth multiple times, while the other trail navigates the high
  slopes above treeline and meanders down through a range of forest transitions.

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  Ability to Protect Wilderness Characteristics
  Visitors can readily experience outstanding opportunities for solitude. The high points above
  timberline on Windy Mountain and Pintada Mountain offer outstanding vistas and impart a sense of
  isolation amidst a large, undeveloped landscape.
  Management challenges may occur along the northern boundary where the areas joins with private
  lands.

  Factors Considered and Process Used in the Evaluation
  The area is part of the Bennet Mountain/Blowout/Willow Creek/Lion Point/Greenie Mountain
  Colorado Roadless Area, which displays a substantial level of naturalness throughout the area. The
  area provides important winter range for deer and elk, which translates also into opportunities for
  backcountry hunting.
  This area would increase the ecological representation on the Rio Grande for Southern Rocky
  Mountain Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland,
  Rocky Mountain Pinyon-Juniper Woodland, and Southern Rocky Mountain Mesic Montane Mixed-
  Conifer Forest and Woodland.
  The North Fork of Rock Creek watershed provides an isolated setting shielded from the San Luis
  Valley with views of the valley from mountain peaks.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  There are several major drainages in the area.
  This area contains some of the oldest Bristle-Cone Pine trees on the Forest.
  This area has high elevation mountain lakes including San Francisco Lakes.
  High elevations offer outstanding vistas and impart a sense of isolation amidst a large, undeveloped
  landscape.

  Pole Mountain/Finger Mesa (Polygon 28) - 31,260 acres

  Boundary Description
  This area is found in the western portion of the Forest in San Juan and Hinsdale Counties, as is
  managed by the Divide Ranger District.
  The area lies along the Forest boundary adjacent to the Congressional Designated Trail
  Management Area for the Continental Divide National Scenic Trail. An estimated 3,690 acres of the
  areas coincides with Management Area 4.23, if the area were recommended this area would most
  likely be managed for both wilderness and congressionally designated trail values. The boundary for
  the San Juan National Forest is to the Northwest, with Bureau of Land Management lands to the
  North and the Gunnison National Forest to the Northeast.




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  Geology, Topography, and Vegetation
  The area is located in the headwaters area of upper Rio Grande.
  This area is characterized by alpine slopes, to very steep alpine ridges, talus slopes, and glacial
  basins, gentle to steep mountain slopes to floodplain, toe slopes and fans in canyon and valley
  bottom.

  Current Uses and Management
  Access is by National Forest System Road 520 (Rio Grande road) which is along the southern
  boundary, National Forest System Road 533 (Sawmill Canyon finger Mesa) on the southeast
  boundary, National Forest System Road 516 (Mason Creek) on the eastern boundary, and National
  Forest System Road 518 (Heart Lake) on the northeast boundary.
  Portions of several grazing allotments occur in the area and will have improvement such as fences
  and water improvements.

  Ability to Protect Wilderness Characteristics
   As the designated Pole Mountain-Finger Mesa Colorado Roadless Area, the management emphasis
  is protection of roadless characteristics.
  There are approximately 28 miles of motorized trails in the area. However, due to the area’s size and
  rough terrain, one can get a sense of remoteness and seclusion, especially in the area away from the
  motorized trails.
  No oil and gas leases occur in the area.
  To protect wilderness character a closure of approximately 28 miles of motorized trails would be
  required. These areas have compact boundaries and are situated in perhaps the most remote location
  of the Forest, at the very headwaters of the Rio Grande.

  Factors Considered and Process Used in the Evaluation
  The area provides habitat and has documented colonies of the federally listed (endangered)
  Uncompahgre fritillary butterfly at higher elevations. The area receives high-use by Canada lynx
  and is a key area to lynx movement between the Rio Grande and San Juan National Forests. The
  area also provides denning habitat for this federally listed species. A lynx den site has been
  documented near the area.
  Additionally, the area provides potential habitat for the southwest willow flycatcher (endangered)
  and habitat for bighorn sheep and American marten. Elk and mule deer summer concentration
  habitat, elk production habitat, and bighorn sheep summer, winter and production habitat are all
  found in the area.
  Lost Trail Creek provides priority habitat for moose. Other species known to be present include
  black bear, beaver, and ptarmigan. Peregrine falcons forage in the area and there is high quality
  potential nest habitat available.
  The area is important for several species of conservation concern. This area is also the only known
  global occurrences of the stonecrop gilia.
  This area includes the existing Finger Mesa Research Natural Area, designated in 1996 for unique
  geologic and botanical features which are an isolated erosional remnant of a tertiary volcanic
  plateau.

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  It also includes portions of two Colorado Natural Heritage Program Potential Conservation Areas.
  Two globally vulnerable riparian plant communities, Booth's willow mesic forbs shrubland and
  Wolf’s willow/mesic forbs shrubland, occur within a large subalpine willow carr along the upper
  reaches of the Pole Creek Potential Conservation Area and are ranked as High Biodiversity
  Significance. The Sheep Mountain portion includes the entirety of the Sheep Mountain in San Juan
  Potential Conservation Area, which is ranked as Very High Biodiversity Significance.
  Off of West Lost Creek Trail, there is a natural scenic landslide that created popular ponds.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The area has long term, intact functioning ecological processes. It is fairly natural with the few and
  substantially unnoticeable evidence of historic mining, dredging and timber harvest.
  Visitors can experience a sensation of vastness and isolation unparalleled on the Forest. From many
  vantage points, all one can see is undulating tundra ridges retreating into the distance, interrupted by
  soaring peaks.
  Pole Creek Mountain includes over 20 miles of streams managed for recreation populations of Rio
  Grande cutthroat trout. Pole Creek, Lost Trail Creek, and West Lost Trail Creek create a large
  connected population along with adjacent streams in the headwaters of the Rio Grande below Stony
  Pass.
  The lower slopes of Pole Creek Mountain along the Rio Grande would increase the ecological
  representation within Rio Grande National Forest wilderness areas of Southern Rocky Mountain
  Montane-Subalpine Grassland.

  Saguache Park/Four Mile Creek/Taylor Canyon (Polygon 12) - 23,040 acres

  Boundary Description
   The Saguache Ranger District manages this part of the Forest. The area is bordered on the east by
  federal land managed by the Bureau of Land Management, and a few private parcels, and on the
  northern and western boundaries by Rio Grande. Approximately 649 acres of this area coincides
  with Management Area 4.23.

  Geology, Topography, and Vegetation
  They encompass an extremely rugged, lower-elevation area of rocky fin-shaped ridges separated by
  small meadows and canyons in between. The majority of these areas sit in the 9,000 to 9,500 foot
  elevation range, with the highest points along rims of the Saguache Creek canyon reaching above
  10,600 feet.
  Much of the area is covered with ponderosa pine in the lower foothills, and Engelmann
  spruce/subalpine fir at higher mountainous terrain. Several portions of the area have had extensive
  natural fires between 80-150 years ago that have shaped vegetation communities.




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  Current Uses and Management
  The area is dissected into several distinct parts by National Forest System Roads 736 (Duckfoot
  Creek), 761 (Lost Spring), and 740 (Four Mile), and 776 (Saguache Creek).
  The Taylor Canyon and Four Mile Creek Colorado Roadless Areas are found in the area and are
  unique in the Saguache District for their topography and habitat types. Being managed as
  backcountry and roadless emphasizes a more primitive experience.
  All trails in the proposed wilderness are designated non-motorized. The inclusion of private
  inholdings and cherry stemmed roads may detract from manageability. There are no oil and gas
  leases.

  Ability to Protect Wilderness Characteristics
  The general landscape is relatively natural in appearance.
  Opportunities for solitude and unconfined recreation are greatest in the central and eastern portions
  of the area. There are approximately 21 miles of non-motorized trail in the area. Grazing activities,
  particularly in the western portion of the area may take away from the solitude and remoteness from
  civilization however, grazing is not an incompatible use with wilderness designation.
  Portions of Saguache Creek are managed to preserve the outstandingly remarkable features tied
  eligibility as Wild and Scenic River. This premier destination for trout fishing is popular
  recreational activity. Fly fishermen avidly cast the seven-mile length of Saguache Creek for brown
  and rainbow trout using flies and lures only. Hikers and backpackers enjoy the stream corridor as
  well, relishing the rugged grandeur of the 1,500-foot deep canyon. Hikers can find complete
  isolation trekking into the lower reaches of Fourmile Creek and Luders Creek amidst lush riparian
  zones surrounded by stately ponderosa pines along infrequently maintained trails.

  Factors Considered and Process Used in the Evaluation
  The area provides habitat for federally listed species such as Canada lynx (threatened), and Mexican
  spotted owl (threatened). The area also provides habitat for species such as bighorn sheep, American
  marten and goshawk. Peregrine falcons also use the area.
  Saguache Creek runs through the area from west to east as a wild and scenic river proposed
  management area.
  Unique features in the area include cultural properties and fens within the evaluation area. The
  proposed wilderness also provides ecological continuity from the grasslands along lower Saguache
  Creek extending up through to its headwaters amidst the alpine tundra of the nearby La Garita
  Wilderness.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The area has long term, intact functioning ecological processes.
  The two Colorado Roadless Areas form part of a large landscape important for maintaining the
  ecological health of the habitat used by many terrestrial, aquatic and avian species.




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  Sawlog (Polygon 15) - 16,240 acres

  Boundary Description
  This area is located approximately 12 miles southwest of the town of Saguache, in Saguache
  County and is administered by the Saguache Ranger District. Lands manages by the Bureau of Land
  Management, state and private lands border the area on the northeast and southern boundaries. The
  north and east border is national forest.
  Access to the area is via Lime Creek and Bredell Creek road off of Bureaus of Land Management
  lands and National Forest System Road 41.G (North Carnero), Poison Gulch, Sawlog Gulch,
  National Forest System Road 675 (South Fork), National Forest System Road 2B (Royal Gulch via
  Mexican Park) and National Forest System Road 623 (Fullerton Park) from National Forest System
  lands.

  Geology, Topography, and Vegetation
  The area is characterized by gently rolling hills to steep rocky outcrops. Drainages run primarily to
  the south.
  Vegetation is comprised of pinyon-juniper in lower elevations, ponderosa pine at mid-elevation, and
  spruce-fir intermingled with aspen at higher elevations. Small to large bunchgrass parks are found
  throughout. The Sawlog and Poison Gulch portions of the area are characterized by very large, open
  expanses of grasslands on the south-facing slopes and dense conifer stands on the north-facing
  slopes.

  Current Uses and Management
  Surrounding areas are managed as general forest and for rangeland vegetation. The area
  encompasses the upper tier and general roadless Sawlog Colorado Roadless Area and extends
  beyond the area to the north.

  Ability to Protect Wilderness Characteristics
  In general, much of the area appears relatively natural, with the exception of areas adjacent to
  constructed developments, inholdings, historic mining, timber harvest, and rehabilitated roads.
  Opportunities for solitude or primitive and unconfined recreation can be found in the area. The area
  lacks a well-developed trail system, but there is a non-motorized trail along the North Fork.
  The area provides important lambing habitat for the local bighorn sheep herd and elk and deer
  winter range along the southern aspects. This habitat provides prime habitat that draws hunters
  seeking a remote and challenging opportunity.
  This area is currently managed for backcountry and roadless values both of which emphasize a
  more primitive experience.
  There are no oil and gas leases. The presence and extent of other uses in and adjacent to this area
  could pose some challenges to maintaining wilderness characteristics.
  The areas contains the Sawlog and San Juan Maez cattle and horse allotments, which include
  fencing and water developments.



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  Factors Considered and Process Used in the Evaluation
  Past sheep grazing has affected forb composition.
  The area provides habitat for the federally listed Canada lynx (threatened) and presence has been
  documented. Additionally, the area provides habitat bighorn sheep, American marten and goshawk.
  Bighorn sheep habitat occurs here and there is important year-round range for elk and deer. The area
  encompasses a large portion of the North Carnero Creek watershed and has just over 1 mile of
  North Carnero Creek which hosts a wild population of pure Rio Grande Cutthroat Trout and an
  introduced population of Rio Grande sucker.
  This area provides opportunities for primitive backcountry hunting and fishing.
  The proposed area includes a portion of the Colorado Natural Heritage Program Carnero Creek
  Potential Conservation Area. This Potential Conservation Area is ranked as High Biodiversity
  Significance owing to bristlecone pine woodland, a montane grassland, and a Rio Grande cutthroat
  trout population, all of which are state rare.
  The proposed area increases the ecological representation in Forest wilderness areas of several
  underrepresented ecosystem types on the forest, including Southern Rocky Mountain Montane-
  Subalpine Grassland, Ponderosa Pine Woodland, and pinyon-juniper Woodland.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The area contains approximately 3 miles of cherry-stemmed roads, one for access to a private
  inholding.
  The area has long term, intact functioning ecological processes.
  Adjacent and cherry stem roads, as well as user created roads, are present in the area.

  Snowshoe Mountain (Polygon 38A) - 30,220 acres

  Boundary Description
  This area is located just south of Creede. Colorado in Mineral County and is administered by the
  Divide Ranger District. It is bordered on the south, as well as portions of the northeast and
  northwestern corners by Forest Service lands. A small section of the southernmost boundary is
  adjacent to the Weminuche Wilderness area. The remainder of adjacent land is privately owned.

  Geology, Topography, and Vegetation
  This area is characterized by moderate to steep forested mountain slopes, benches (open parks)
  known as Seven Parks and gentle rolling slopes with aspen. Part of the area drains into Goose Creek
  but the majority flows into Deep Creek.
  The main plant association in the conifer type is subalpine fir/Engelmann spruce/Rocky Mountain
  whortleberry and Aspen/Thurber fescue. Plants associated with mountain valleys and openings are
  willow/sedge and Thurber fescue/Arizona fescue.
  The mountain offers intriguing geologic interest as a resurgent dome within the Creede caldera
  bisected by conspicuous graben faults.




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  Current Uses and Management
  There are only two roads in proximity of the area; National Forest System Road 523 (Middle Creek
  road) on the eastern boundary and National Forest System Road 528 (Lime Creek Road) bordering
  the southern boundary.
  The area corresponds with the Snowshoe Mountain Colorado Roadless Area, which contains both
  upper tier and general roadless. A small piece or the northern portion is the Deep Creek Special
  Interest Area.
  Much of the area is currently managed for motorized and non-motorized opportunities for
  backcountry and roadless values. There are approximately 13 miles of non-motorized trails in the
  area.

  Ability to Protect Wilderness Characteristics
  The area is natural in appearance with the exception of historic mining and timber harvest evident in
  isolated areas. Past mining activity is associated with the 1889 Creede silver discovery. Range
  improvements include fencing and water developments. There is approximately 1mile of
  Maintenance Level 1 (administrative use) road in the area.

  Factors Considered and Process Used in the Evaluation
  This is a high use area for the federally listed Canada lynx (threatened) especially in the south end
  with habitat and denning. Lynx have been documented in the area. The area also provides potential
  habitat for American marten, moose and summer and winter range and production areas for mule
  deer, elk.
  The area provides a quality backcountry hunting experience for elk, deer and moose.
  Snowshoe Mountain includes the entirety of the 417 acre Colorado Natural Heritage Program Deep
  Creek Uplands West Potential Conservation Area which is ranked as Very High Biodiversity
  Significance. This Potential Conservation Area includes one of the best known populations of Smith
  whitlow-grass, a Colorado endemic and globally imperiled species, as well as a population of
  globally imperiled black canyon gilia.
  Snowshoe Mountain contributes many acres under-represented ecosystem types among existing
  wilderness areas on the Forest. Protecting this area, would increase the ecological representation in
  wilderness Southern Rocky Mountain Montane-Subalpine Grassland.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  The area has long term, intact functioning ecological processes.
  The size of the area and the terrain offers a sense of seclusion and solitude.

  Wannamaker/Lake Fork/Sheep Mountain/Deep Creek/Boot Mountain (Polygon 20A) -
  18,140 acres

  Boundary Description
  The western and southern boundary is the La Garita Wilderness. The northern portion is the Lake
  Fork Colorado Roadless Area and general forest. The east side abuts Forest land.

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  Geology, Topography, and Vegetation
  The landscape in and around the area is characterized by deep narrow canyons, steep slopes, and
  alpine plateaus. It is dissected by four major drainages Wannamaker, Bear, Deep, and Johns Creeks.
  Boot Mountain is high, mountainous terrain with mature and pole sized Engelmann
  spruce/subalpine fir stands with interspersed open parks. There are inclusions of aspen, subalpine
  and alpine associations.
  The Lake Fork Colorado Roadless Area and surrounding areas are characterized by a large plateau
  in the north, with drainages running primarily to the east and north. It is dissected by several
  drainages including Lake Fork Saguache Creek, Miners Creek, North Fork Saguache Creek, and
  several minor drainages. The northern area of the Lake Fork Colorado Roadless Area is gently to
  moderately sloping. Vegetation is mainly spruce/fir associations with aspen stands and mountains.
  The Sheep Mountain Colorado Roadless Area lies along an extremely rugged ridge top. Drainages
  run east and west into Saguache Creek. The area is a high plateau with steep sides. Vegetation is
  predominately spruce/fir with aspen stringers and small parks. Sheep Mountain Colorado Roadless
  Area and Lake Fork Colorado Roadless Area are partially contiguous and both are adjacent to the
  La Garita Wilderness area in the Saguache Park area. The Sheep Mountain Colorado Roadless Area
  consists almost exclusively of dense subalpine timber on steep slopes.

  Current Uses and Management
  Three upper tier Colorado Roadless Areas are found in the area including: Lake Fork, Sheep
  Mountain, and Deep Creek/Boot Mountain.
  Many roads provide access. In the west, National Forest System Road 744 (Middle Fork Saguache),
  National Forest System Road 776.1b (North Fork), and National Forest System Road 787.3c (Fish
  Pond); in the central portion of the area, National Forest System Road 787 (Saguache Park); and
  from the south, National Forest System Road 640 (Embargo Creek). Several smaller roads or
  sections of roads surround and create cherry stems into the area.
  This area is currently managed for backcountry and roadless values which both emphasize a more
  primitive and roadless experience.
  There are no oil and gas leases.

  Ability to Protect Wilderness Characteristics
  Apparent naturalness can be found to a high degree is some areas with exceptions in places where
  evidence of past timber harvest, mining, travel and grazing activities have occurred.
  There are just over 8 miles of closed roads, a private inholding, motorized trails, fence and water
  developments that represent a departure from natural conditions. Evidence of past mining can also
  be found in the area.
  Opportunities for solitude or primitive and unconfined recreation can be found to a high degree in
  some areas.
  The Deep Creek, Sheep Mountain and Lake Fork areas are rugged, steep and have few trails,
  providing opportunities to experience a sense of seclusion and remoteness.
  The portion of the evaluation area adjacent to La Garita wilderness has a high degree of
  opportunities for solitude or primitive and unconfined recreation, as well as those areas that have
  steep and rugged terrain with minimal trail access.

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  The trail systems provide access for those seeking remote backcountry hunting experiences in the
  fall, and Wannamaker Creek supports a hybridized Rio Grande cutthroat trout population for
  anglers.

  Factors Considered and Process Used in the Evaluation
  This large and diverse area provides habitat for the federally listed Canada lynx (threatened) and
  southwest willow flycatcher (endangered), and habitat for American marten, wolverine, boreal owl
  and goshawk. Other documented species include moose, American three-toed woodpeckers, marten,
  hermit thrush, brown creeper, blue grouse and ptarmigan. High quality deer/elk winter habitat and
  security areas can be found throughout the area.
  The area includes a portion of the Colorado Natural Heritage Program Saguache Creek Potential
  Conservation Area. The Saguache Creek Potential Conservation Area is ranked as High Biodiversity
  Significance owing to its montane and subalpine willow carr associations within the creek’s
  floodplain and valley toe slopes.
  Wannamaker Creek hosts a conservation population for Rio Grande Cutthroat Trout.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  In general, the area has long term, intact, and functioning ecological processes.
  The area has a high degree of solitude.
  This area would enhance the ecological effectiveness of the La Garita Wilderness by expanding the
  size.

  Wason Park/L^wer East Bellows (Polygon 25A and 25B) - 21,770 acres

  Boundary Description
  This area is approximately three miles north and east of the town of Creede, Colorado in Mineral
  County and is administered by the Divide Ranger District. The area is bounded to the north and east
  by the La Garita Wilderness, to the west and south by private and Forest lands. The area consists of
  upper tier and general roadless Wason Park Colorado Roadless Area and general roadless Lower
  East Bellows Colorado Roadless Area. An estimated 270 acres of the areas coincides with
  Management Area 4.23.

  Geology, Topography, and Vegetation
  The area and is characterized by gentle to steep alpine slopes and ridges, talus slopes, and glacial
  basins at higher elevation. Mid-elevation is composed of open benches and steep cliff walls into
  East and West Bellows Creeks. The Lower East Bellows Colorado Roadless Area is characterized
  by gentle to steep forested mountainous slopes and ridges with high-quality cliff habitat.

  Current Uses and Management
  The Lower East Bellows Colorado Roadless area is managed to preserve roadless values.
  Primary access to the area is via National Forest System Roads 502 (East Willow Creek), number
  503 (West Willow), number 501 (Dry Gulch) in the central and northern regions and National Forest
  System Road 600 (Pool Table) accesses the south.

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  This area is currently managed as backcountry and Colorado Roadless Area Rule which both
  emphasize a more primitive and roadless character.
  There are no oil and gas leases or non-federal inholdings in the area. All existing trail in the
  designated area are non-motorized.

  Ability to Protect Wilderness Characteristics
  The area in the upper tier Wason Park Colorado Roadless Area generally appears natural. While
  some mining remnants are visible adjacent to the lower Bachelor Loop Road at its lowest elevations
  near Creede, Wason Park is otherwise free of any substantial unnatural impacts.

  Factors Considered and Process Used in the Evaluation
  The area has long term intact functioning ecological processes and represents an important
  landscape due to its adjacency to the wilderness on two sides creating a large expanse of relatively
  unfragmented and undisturbed habitats for a variety of wildlife species. It is in close proximity to a
  high use lynx area and likely provides habitat and denning habitat for the federally listed species.
  Opportunities for solitude or primitive and unconfined recreation can be found in areas closer to La
  Garita Wilderness or away from trails, roads, and other evidence of current or past mining activities.
  The town of Creede can be seen from the west side of the area, providing evidence of nearby
  civilization. Summer, fall and winter outfitter and guide activities are permitted in the area.
  Unique features noted for this area include waterfalls, scenic values, and historic features.
  There are outstanding scenic values are also associated with this area.
  The area provides habitat for bighorn sheep, American marten and American three-toed
  woodpeckers. The upper tier Colorado Roadless Area also provides elk and mule deer summer,
  production, and winter concentration habitat. The Mountain and Farmer’s Creek area are winter
  concentration areas for elk and deer, bighorn sheep summer and winter habitat, habitat for moose,
  and pine marten. The Wason Park Colorado Roadless Area is also adjacent to priority habitat for
  moose in West Willow Creek. These areas provide a migration route for bighorn sheep from the
  Bellow Creek herd to the San Luis Peak and Bristol Head herds. The Lower East Bellows Colorado
  Roadless Area provides sheep summer and winter concentration and production habitat as well as
  elk and mule deer winter concentration range and moose habitat.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  Wason Park contributes to under-represented ecosystem types among existing wilderness areas on
  the Forest increasing the ecological representation Southern Rocky Mountain Montane-Subalpine
  Grassland.
  Wason Park includes a pair of scenic waterfalls above Phoenix Park that are popular focal points for
  photographers.




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  Areas considered in both Alternative B and D

  Beartown/Indian Ridge (Polygons 29) - 6,750 acres

  Boundary Description
  The area borders the Continental Divide and is adjacent to both the Rio Grande on the north and the
  San Juan National Forest to the south. The area is located in the headwaters area of upper Rio
  Grande, and borders the Continental Divide. The acreage considered in differs between alternatives
  B and D due to the establishment Management Area 4.23 - Congressionally Designated Trails. An
  estimated 1,300 acres of the areas coincides with Management Area 4.23. If this area were
  recommended the 1,300 acres would most likely be managed for both wilderness and
  congressionally designated trail values.

  Geology, Topography, and Vegetation
  Steep terrain, limited access and adjacency to designated wilderness create a sense of seclusion and
  remoteness in the area. The Indian Ridge Colorado Roadless is characterized by remarkably wild
  country with west facing, steep alpine and mountainous slopes and valley bottoms. The Beartown
  Colorado Roadless Area is characterized by east facing slopes, moderate to steep alpine slopes,
  ridges in the southern portion and toe slopes which fan into the valley bottoms.
  Kobresia and forbs are found on the alpine ridges. The mountain slopes have subalpine fir and
  Engelmann spruce with Rocky Mountain whortleberry. Willow and sedges occur in the valley
  bottoms.

  Current Uses and Management
  The area is administered by the Divide Ranger District and is adjacent to the Weminuche
  Wilderness in San Juan County.
  Two upper tier Colorado Roadless areas occur in the evaluation area, Beartown and Indian Ridge.
  The Bear Creek road (National Forest System Road 506) bisects the area and separates the two
  Colorado Roadless Area. National Forest System Road 520 (Rio Grande Reservoir) separates the
  area from the Pole Mountain/Finger Mesa upper tier Colorado Roadless Area to the north.
  Approximately 3 miles of non-motorized trail that provides access for primitive recreation in the
  area.
  There are no closed roads or motorized trails in the area, though there are private inholdings, a snow
  telemetry (SNOTEL) site and range improvements.

  Ability to Protect Wilderness Characteristics
  Evidence of historic mining and past timber harvest impact the apparent naturalness of the area.
  Opportunities for solitude or primitive and unconfined recreation can be found in much of the area,
  especially away from roads and other authorized motorized uses.
  This area is currently managed for backcountry and roadless characteristics, both of which
  emphasize a more primitive experience.
  Challenges to managing for wilderness characteristics are related to existing motorized uses, the
  presence and maintenance of a SNOTEL site, private inholdings, and National Forest System Road

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  506 (Bear Town) that bisects the area. However, much of the area is adjacent to designated
  wilderness making the extension of wilderness management into the evaluation area possible.

  Factors Considered and Process Used in the Evaluation
  This area provides potential quality, relatively un-fragmented habitat and excellent denning
  potential for the federally listed Canada lynx (threatened). It also provides potential habitat for the
  American marten, and beaver, black bear, moose, and ptarmigan have been documented. This area
  also provides summer range for elk and mule deer.
  The area has unfragmented habitat and excellent denning potential for lynx. It is also one of several
  contributing sources of water to the Rio Grande headwaters.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  Long-term ecological processes are intact and functioning in the polygon. Little fragmentation of
  habitat provides lynx denning habitat.
  Existing roadless designation and backcountry management provide opportunities for solitude and a
  primitive experience.

  Cumbres (Polygon 63a) - 7,490 acres

  Boundary Description
  The area is located on the southern portion of the Forest in Conejos County near the New Mexico
  border. The Conejos Peak Ranger District administers this part of the Forest.
  The area is bordered to the northwest by the South San Juan Wilderness, to the east by the Los
  Caminos Antiguos Scenic Byway with the rest of the area surrounded by national forest.

  Geology, Topography, and Vegetation
  The area has steep hillsides and cliffs adjacent to the South San Juan Wilderness to the northwest,
  Los Caminos Antiguos Scenic Byway on the east and is surrounded by national forest throughout
  the rest of the area.

  Current Uses and Management
  There is evidence of timber harvest roads, historical mining and past fire history in the area.
  Recreational opportunities currently include hiking, horseback riding, hunting, mountain biking and
  motorcycle riding. Some uses, including authorized motorized access, the Cumbres and Toltec
  Scenic Railroad, logging activities and proximity to Highway 17 may impact opportunities for
  solitude.

  Ability to Protect Wilderness Characteristics
   Most of the area is natural in appearance with the unit’s Ponderosa pine-grasslands providing a
  good example of a pine forest in excellent condition. There is some evidence of historical mining,
  timber harvest, roads, and past fire activity in the area. Cattle and sheep grazing are permitted and
  some range improvements include fencing and water development.
  The area has five trails that provide non-motorized access to the South San Juan Wilderness.

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  Once away from the non-motorized trails and roads, visitors can get a feeling of remoteness and
  seclusion due to the proximity and access to the South San Juan Wilderness.
  Approximately 5 miles of the Elk Creek Trail would become a wilderness trail.
  This area is currently managed as backcountry and roadless which emphasize primitive experiences.
  This area could be managed to preserve wilderness characteristics with non-motorized trails and
  adjacent South San Juan Wilderness. The Cumbres upper tier Colorado Roadless Area aids in
  protecting the wilderness character. The Elk Creek trail would have minimal management changes
  to remove mountain bike riding when congressionally designated.

  Factors Considered and Process Used in the Evaluation
  This is a high use area for federally listed Canada lynx (threatened) which have been reestablished
  in the South San Juan Mountains and documented. Habitat for Mexican spotted owl (threatened)
  and southwestern willow flycatcher (endangered) is also present.
  The area provides habitat for bighorn sheep, mule deer summer range, and elk production areas near
  Duck and Rock lakes. The steep north facing hillsides also provide areas of cover and refuge for
  elk. It is considered overall range for black bear.
  Addition of this area would notably expand the range of ecosystems present in the existing South
  San Juan Wilderness.
  The area also provides traditional cultural plant harvest opportunities.
  Chama Basin was removed from the area and is included as a special interest area.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  This area has long term, intact, and functioning ecological processes.

  Sangre de Cristo/Pole Creek/Crestone/Cotton Creek/Hot Springs/ Miller
  Creek/Butterfly (Polygons 1A, 2, 3 A-F) - 35,090 acres

  Boundary Description
  This area is locates in the eastern portion of the Forest in Saguache and Alamosa Counties. The
  northern part is administered by the Saguache Ranger and the Conejos Peak Ranger District
  manages the most southern part. The area borders the Forest boundary to the west and Sangre de
  Cristo Wilderness to the east and north. The area extends south to the Forest Service boundary.

  Geology, Topography, and Vegetation
  Vegetation ranges from oak brush in lower elevations to pinyon-juniper in mid elevations, to
  Engelmann spruce and subalpine fir in higher elevations with Aspen intermingled throughout.
  Kit Carson Peak and the north and west sides of Blanca Peak and Little Bear Peak lie within the
  proposed wilderness area. All three peaks are more than 14,000 feet high.




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  Current Uses and Management
  The area considered encompasses the Pole Creek, Crestone, Cotton Creek, Hot Springs, Miller
  Creek and Butterfly Colorado Roadless Areas. The Dorsey Creek Colorado Roadless area was
  excluded from consideration.
  There is no authorized or permitted grazing within the area.
  The estimated 1,400 acre Mill Creek Research Natural Area occurs in the Crestone Colorado
  Roadless Area. This Research Natural Area has extensive, high quality pinyon/juniper woodland
  ecosystems on the relatively gentle slopes of alluvial fans and steeper bedrock extending up to the
  9,000 feet and are the principal feature of the area. Additionally, mixed conifer and subalpine forest
  extend up to treeline on Gibson Peak and subalpine grasslands blend into higher elevation alpine
  vegetation above treeline. There are no trails in this area.
  Management as backcountry and for roadless characteristics emphasize a more primitive
  experience.

  Ability to Protect Wilderness Characteristics
  The majority of the area appears relatively natural, with a few exceptions in isolated areas. The
  area’s long-term ecological processes are intact and operating similar to the adjacent Sangre de
  Cristo Wilderness.
  Overall, solitude or primitive and unconfined recreation opportunities can be found throughout this
  area. Several isolated areas experience high numbers of visitors during the summer and hunting
  season as well as fall and summer outfitter and guide use that could impact opportunities for
  solitude.
  Most of the area is bordered by designated wilderness to the east, Bureau of Land Management
  wilderness study area, other Bureau of Land Management lands and private property to the west,
  Great Sand Dunes National Park and Preserve to the south, buffering much of the area from
  activities and developments that would impact opportunities for solitude.
  Opportunities for primitive recreation can be found through the area including hiking, climbing,
  hunting, nature viewing and bird watching. The area includes three popular 14ers providing
  opportunities to experience a degree of challenge and primitive recreation in a rugged and remote
  environment.
  Some uses may impact solitude including authorized motorized access from cherry stemmed
  motorized access points.

  Factors Considered and Process Used in the Evaluation
  There are several cherry stemmed roads that provide access to developed facilities, private lands
  and mining claims within the area.
  The area provides habitat for the federally listed Canada lynx (threatened) as well as habitat for
  American marten, bighorn sheep and wolverine. The area is a key bighorn sheep lambing and
  wintering area and provides winter range for mule deer and elk. Additionally, the Pole Creek
  Colorado Roadless Area provides maternity roosts for Townsend’s big-eared bat. The area is also
  important for the Brazilian free-tailed bats that come from the Orient Mine colony.




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  In some areas, evidence of past prospecting, mining and timber harvest activities are noticeable, but
  do not detract from the overall apparent naturalness of the area. There are a few miner and trapper
  cabins scattered throughout the area as well as scattered private lands and inholdings.
  Cultural and significant sites can be found throughout the area and include Mount Blanca, which is
  sacred to the Navajo, Ute, and Jicarilla Tribes. It is an important anchor point within the cultural
  landscape of the Upper Rio Grande pueblos. The peak marks the eastern boundary of the Dinetah,
  or Navajo homeland. This area was identified as significant during tribal consultation.
  Several factors were considered when reviewing the southern flank of Mt. Blanca as proposed
  wilderness in Alternatives B and D. During the assessment phase of the revision process, the Navajo
  Nation requested to be a cooperating agency because of its vested interest in the protection of Mt.
  Blanca as a sacred site and place important Navajo cosmology and the practice of religion. The
  Jicarilla Apache Nation and the Southern Ute Tribe also affirmed their spiritual affiliation to the
  mountain during the assessment phase. A special meeting between these three tribes, the Rio Grande
  National Forest, the San Luis Valley Field Office Bureau of Land Management, the Great Sand
  Dunes National Park and Preserve and the U.S. Fish and Wildlife Service was held in Ft. Garland
  spring of 2015. This gathering informed the draft potential management approaches developed for
  the plan within areas of tribal importance section. Two subsequent meetings with the tribes focused
  on weighing alternative prescriptions and management strategies for the portion of the mountain
  that the Forest administers.
  Alternatives discussed included a Special Interest Area, a recommended wilderness designation
  and/or a traditional cultural property designation. To meet objectives of the tribes in maintaining as
  much of the mountain as ‘pristine’ as possible, a proposed wilderness designation affords the
  greatest protection. It was agreed that the mountain would be evaluated as a traditional cultural
  property in a separate process during the life of the plan. Additionally, the same area is
  recommended for wilderness designation in a citizen proposal in solidarity with the tribes for its
  cultural and spiritual values.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  In general, the steep, rugged and remote nature of much of the area provides a feeling of seclusion
  and inaccessibility throughout the year.
  The area does have active irrigation diversion structures as well as the popular Lake Como road
  accessing Blanca Peak.

  Tobacco Lakes/Gold Creek/Cascada Creek) (Polygons 57 and 55) - 3,030 acres

  Boundary Description
  The area is located on the southwest border of the Forest and is managed by the Conejos Peak
  Ranger District. This area includes a portion of the Tobacco Lake (both upper tier and roadless) and
  upper tier Gold Creek/Cascade Creek Colorado Roadless Areas in Conejos County. It is bordered on
  the south by the South San Juan Wilderness, Platoro Reservoir on its western boundary and Forest
  Service lands along the remaining boundaries. More area is considered in alternative D versus
  alternative B.



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  Geology, Topography, and Vegetation
  This area is characterized by high-elevation mountainous terrain with Engelmann spruce subalpine
  fir stands intermingled with large, open meadows and steep drainages sloping into Platoro
  Reservoir. The area consists of steep drainages and hillsides not conducive to travel by vehicles.

  Current Uses and Management
  General access to this area is by National Forest System Road 105/l 00 on the eastern boundary and
  National Forest System Road 247-T to the western boundary.
  Approximately 60 acres of Colorado Roadless are in the area. Additionally, eligible wild rivers,
  under the Wild and Scenic Rivers Act are close by but not in the area being considered.

  Ability to Protect Wilderness Characteristics
  The area’s landscape is relatively natural in appearance with minimal human disturbance.
  This area is currently managed as backcountry and roadless which both emphasize a more primitive
  experience.
  There are no oil and gas leases and non-federal inholdings in the proposed area.

  Factors Considered and Process Used in the Evaluation
  This area most likely contains Canada lynx denning sites and the steep north facing slopes and
  drainages are potential lynx reproduction sites and hunting grounds. The area is also a key area for
  bighorn sheep and provides habitat for the American marten. The Canon Diablo area provides elk
  summer range.
  Portions of the area document high use by Canada lynx and this was one of the core areas where
  lynx established after reintroduction.
  The area addition includes a portion of the Colorado Natural Heritage Program Adams Fork of the
  Conejos River Potential Conservation Area. This Potential Conservation Area includes riparian
  habitat to support the Rio Grande cutthroat trout, and is ranked as High Biodiversity Significance.

  Ecological and Social Characteristics that Would Provide a Basis for Suitability for
  Inclusion in the National Wilderness Preservation System
  With few roads, trails, or other uses in the area, one can obtain a sense of seclusion and solitude in
  the area: especially when adjacent to the wilderness or in the Colorado Roadless Area.
  The area addition enhances the ecological effectiveness of the South San Juan Wilderness by
  expanding the size of the protected area.

  References
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  Block, J.R. 1982. Letter from Secretary of Agriculture John R. Block to President of the United
     States Ronald W. Reagan, dated June 11, 1982, regarding the segment of the Conejos River
     downstream from Platoro Reservoir for 2 miles. Available in the project record at the Rio Grande
    National Forest Supervisor’s Office in Monte Vista, Colorado.

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  Appendix B. Timber Suitability and Analysis
  Lands that May be Suited for Timber Production
  Lands that may be suited for timber production were determined using the criteria in the Land
  Management Planning Handbook FSH 1909.12 Chapter 60. These areas and associated acreage
  were determined by starting with the total area of the Rio Grande National Forest and removing
  areas that are not suited for timber production, listed below:
  •     In-holdings
  •     Level 2 through 5 roads
  •     Lands not suited for timber production because timber production is prohibited or the lands are
        withdrawn from timber production:
        ■   Wilderness areas
        ■   Eligible wild rivers
        ■ Colorado Roadless areas

        ■ Research Natural Areas

  •     Lands on which technology to harvest timber is not currently available without causing
        irreversible damage:
        ■   Certain soil map units having “high mass movement potential” were removed due to this
            criteria. The criteria differed based on geographic area.
            ■   In the Sangre de Cristos, the following Soil Resource Inventory codes were removed:
                410S, 605Y, 625S, 670S, 704S, 835X.
            ■   On the west side (everywhere except the Sangre de Cristos), soils were removed using a
                field called mass movement potential, with the exception of those polygons in the
                Cumbres area that have a Soil Resource Inventory of 139 or 151.
            ■   Note: In the 2000 amendment, Soil Types 460 and 750M were removed in only
                particular locations. This was not done because the 460 code is no longer used and
                because the locations where 750M was unsuitable had already been removed in prior
                steps.
  •     Lands on which there is no reasonable assurance that lands can be adequately restocked within 5
        years of final regeneration harvest:
        ■   Elevations above 11,000 feet with south and southwest aspects
        ■   Elevations below 9,500 feet with south and southwest aspects
        ■   Areas with greater than 33 percent rock
  •     Land that is not Forest land
        ■   Areas with less than 10 percent canopy cover of trees were removed in this step. Areas that
            were formerly occupied by trees but with low canopy cover due to recent disturbance were
            not removed if tree species were regenerating.
  •     Areas with nonindustrial species, such as limber pine, bristlecone pine, pinyon, and juniper.
  •     True riparian areas (defined as an FSVeg Spatial local type of RIP (riparian) and cover type of
        grass, forb, or cottonwood).
  The final area considered may be suitable for timber production is 499,936 acres.

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  Sustained Yield Limit Calculations
  The sustained yield limit (SYL) is the amount of timber that can be produced on all lands that may
  be suitable for timber production, assuming all of these lands were managed to produce timber
  without considering other multiple uses or fiscal or organizational capability. The sustained yield
  limit was calculated using the Forest Vegetation Simulator (FVS, 7/19/16 version), the Forest
  Service’s national forest growth and yield model. Site information from the stand exams collected
  over the last 20 years was used for this analysis. Sustained yield limit was calculated by the
  following strata, with the number of stands used in parentheses:
  •     Spruce-fir (405 stands)
  •     Aspen (103 stands)
  •     Lodgepole pine (59 stands)
  •     Ponderosa pine (64 stands)
  •     Mixed-conifer (243 stands)
  Additional areas were also included separate from these main strata. This includes 1) 1M and 2S
  areas with low canopy cover (10 to 25 percent) that key out as grasslands or other non-timber types
  and which are not previously treed and 2) areas with low canopy cover (less than 25 percent) that
  have had recent disturbance but were previously treed.
  Results from each stand were averaged together to get strata averages.
  The management system, rotation age/entry interval, and associated harvest volume (cubic feet per
  acre) that were used to determine the sustained yield limit are listed in Table 119.

  Table 119. Assumptions used for the sustained yield limit calculation
                                            Rotation age /
                           Management                            Acres of May be       Harvest Volume
              Strata                        Entry Interval
                             System                              Suitable Lands        (cubic feet/acre)
                                               (years)
                          Uneven-aged -
      Spruce-fir                                 160                  165,756               2,932
                          Group Selection
                           Even-aged -
      Lodgepole pine                             120                  22,198                2,697
                            Clearcut
                           Even-aged -
      Aspen                                      120                  114,979               2,178
                            Clearcut
                           Even-aged -
      Mixed-conifer                              140                  106,807               1,569
                           Shelterwood
                          Uneven-aged -
      Ponderosa pine      Individual Tree        30                   18,542                 400
                             Selection
      Other - 1M and 2S                          200                  20,211                 500
      Other - timber                             200                  51,388                1,000
      Other - Rock -
                                —                 —                     55                    0
      Bare Soil




                                                                                                      507

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  Numerous adjustments were made in Forest vegetation simulator to determine the appropriate
  harvest volume. These adjustments included factoring in defect, using local merchantability
  specifications, adjusting the stand density maximum values, calibrating tree growth based on
  collected tree growth data, and capping tree size based on observed tree sizes. Mortality due to
  insects and disease, such as spruce beetle, spruce budworm, Douglas-fir beetle, mountain pine
  beetle and/or engraver beetles, and tent caterpillar, aspen disease, and wood borers was included.
  Additional details on forest vegetation simulation assumptions are available on request.
  The estimated sustained yield limit is 7,374,937 cubic feet per year or 73,749 CCF per year.

  Lands that Are Suited for Timber Production
  The land suited for timber production under each alternative was defined using the criteria below.
  Starting with the may be suitable timber areas, the following areas were removed because timber
  production is not compatible with the desired conditions and objectives for these areas:
  •     Recommended wilderness, research natural areas, and wild rivers for the specific alternative
  •     National Scenic and Historic Trails - Continental Divide National Scenic Trail and Old Spanish
        Trail, including a % mile buffer on each side
  •     National Recreation Trails - Lost Fork and West Lost Fork, including a % mile buffer on each
        side
  •     Scenic rivers
  •     Current and proposed special interest areas (Management Area 3.1)
  •     Ski-based resorts (Management Area 8.22)
  •     Backcountry areas (Management Area 3.3) in any alternatives that have this
  Two main timber suitability changes from the 1996 Rio Grande Revised Land and Resource
  Management Plan pertain to the Grassland Resource Production areas (Management Area 6.6) and
  Bighorn Sheep management areas. The Grassland Resource Production areas are being considered
  suitable for timber production, a change from the 1996 plan, where they were not suitable. In
  addition, most, but not all, of the Bighorn Sheep management areas in the 1996 plan were merged
  into the Big Game Winter Range management area (Management Area 5.41) and are now
  considered suitable for timber production as a result.
  All areas of the suitable timber base were included because timber production is allowed and is
  consistent with the desired conditions and objectives for the area. However, some inclusions in the
  suitable timber base may not be currently feasible for timber production. This includes areas that are
  very difficult to reach (either because of distance or because they lack an appropriate transportation
  system), areas that would require helicopter logging, cable yarding, and areas that are extremely
  isolated.
  Maps of the areas that are suitable for timber production under each alternative are contained on the
  DVD that is located at the back of the Rio Grande National Forest Plan Revision Draft
  Environmental Impact Statement.
  Suitable timber acres are listed by alternative in Table 120.




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  Table 120. Suitable timber acreage for alternatives A through D
  [Reported in acres]

                        May Be
                                   Alternative A   Alternative B     Alternative C     Alternative D
                        Suitable
   Acres Suitable
   for Timber           499,936      320,567          468,311           480,683           401,414
   Production




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   Appendix C. Species of Conservation Concern Presence
   and Concern for Persistence
   Background
   The 2012 Planning Rule and Forest Service Handbook 1909.12, Chapter 20, require that
   species of conservation concern are identified for the planning area. More detailed analysis of
   these species can be found in Chapter 3 of the draft environmental impact statement for the
   forest plan. The 2012 Planning Rule requires the Forest Service to consider species that are
   known to occur in the planning area and that are established or are becoming established. We
   recognize that in practice, data on rare and declining species is often variable and incomplete,
   which complicates making confident presence/absence conclusions and introduces some
   potential risk for species not further considered for species of conservation concern status (or
   removing a species from the list).
   For the purposes of “known to occur,” we have elected to require a record for a species on
   the planning unit to qualify for species of conservation concern status. Species that exist
   close to the planning area but that have not been recorded on the planning area are not
   considered to be known to occur on the planning unit. Species that are thought to be present
   in the plan area, but that have not been documented there are also not considered as known to
   occur. The species must be documented on National Forest System lands within the boundary
   of the Forest. Species identified as Forest species of conservation concern and rationale for
   inclusion are contained in Table 121. All information pertains to the planning area.
   The 2012 Planning Rule does not require the Agency to consider those that are only transient
   or accidental, or that are well outside existing range of the species. Only species that are
   considered established or are becoming established can be species of conservation concern.
   An overview for each species has been prepared and is available on the Forest’s webpage.
   The overview considers each species’:
   •     Status
   •     Taxonomy
   •     Distribution, abundance, and trend in the planning area
   •     A brief description of the natural history and key ecosystem functions
   •     Overview of ecological conditions necessary for maintaining a viable population
   •     Threats and other risk factors.
   Several criteria can be used to determine if a species is established. For plants, “established”
   means that it has roots in the ground or is otherwise attached to a substrate in the planning
   area, or has viable seeds in the seed bank produced by a plant that grew in the planning area
   in the last 20 years or so. Seeds do not remain viable forever, at least not in a naturalistic
   outdoor setting; the presence of viable seeds is generally an indication that the plants that
   produced the seeds were alive no more than a few decades ago.
   For wildlife species, the determination of what is “established” is less clear. Reproduction by
   animals on the planning unit would certainly be considered a sign of that species being
   established. Frequent presence on the Forest, even if the animal breeds elsewhere, would also


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      be considered established. A single record for a species in the planning area may or may not
      qualify it for species of conservation concern status, depending on the overall context of the
      available information for that species when considering the record.
      Occurrence data have been collected from multiple sources, including the Colorado Natural
      Heritage Program database (continually updated, the Forest Service acquires an updated copy
      once a year), Herbarium records, mist-netting and sight/song bird surveys, and specialist
      reports.
      Information from more detailed assessments and other sources used in determining eligibility
      for status as a species of conservation concern is summarized in Table 121 and Table 122.
      Links are provided in digital versions of the tables to take readers to overview assessments
      that are available on the Forest website. Information contained below applies to the Forest
      unless stated otherwise.
      Most references contained here can be found in the Reeferences Cited section of the Draft
      Environmental Impact Statement or in the species overviews that are linked below. Those
      references not listed in those locations are listed below the tables.




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Table 121. Current species of conservation concern and evaluation criteria
                                                  Evidence of                               Substantial Concern About the Species Capability
   Category                Species
                                                  Occurrence                                          to Persist over the Long Term
                                                                        This species has undergone a severe, range-wide population decline over the past decade,
                                                                        estimated at 40-90 percent. (Cameron et al. 2011) The population on the Forest appears to
                                                                        have mirrored this decline, which is on-going. The Fish and Wildlife Service currently has
                                                                        this species under review for possible listing under Endangered Species Act. The
                                            Located in 2016 by Rio
                                                                        subspecies occidentalis found in the Rocky Mountain Region has declined about 70-99
                   Western bumblebee        Grande NF and USFS
 Invertebrates                                                          percent since the late 1990s. The main cause of declines is thought to be the effects of a
                   Bombus occidentalis      Region 2 staff members
                                                                        microsporidian Nosema bombi and an imported protozoan parasite from Europe. Other
                                            during botany surveys.
                                                                        causes of decline include land use changes and habitat loss, changes in nectar flora,
                                                                        overgrazing, poorly timed fire in suitable nesting habitat, changes to temperature and
                                                                        precipitation regimes, competition with honey bees, and effects of pesticides especially
                                                                        persistent neonicotinoids. All of these threats occur.
                                            Two records on the          As with many tundra relict species, changes in temperature and precipitation regimes could
                                            forest from 2004, one in    be a threat, as temperatures warm, species can move north or uphill to cooler refuges. In
                                            Hinsdale County and one     the case of species that exist on tundra in the southern Rockies, moving uphill is not an
                      White-veined arctic   in Saguache county.         option as local populations already only survive on mountain tops. It is possible that warmer
 Invertebrates             butterfly        Records verified by         temperatures could lead to a loss of nectar plants to the butterfly, or the timing of the nectar
                        Oeneis bore         USGS Northern Prairie       bloom is changed relative to the life history needs of O. bore. Climate change vulnerability
                                            Wildlife Research           assessments in the vicinity of the Forest note that the white-veined arctic could be lost.
                                            Center. One record from
                                            1996.
                                            Boreal toads have been      Primary localized threats on the Forest involve chytrid fungus with 4 of 5 known sites testing
                                            reported at 10 sites in     positive. Other local concerns involve water and air quality factors, nonnative species,
                         Boreal toad        the past 20 years with      recreation management and perhaps fire and timber management in localized areas.
  Amphibians
                       Anaxyrus boreas      the most recent             Climate change vulnerability assessments for areas surrounding the Forest have
                                            observations occurring in   determined that this species is “highly vulnerable” to negative impacts from changes in
                                            2014.                       temperature are precipitation regimes.
                                                                        The primary threats to this species include reduction of stream flows, increased sediment
                                            Present in 3 stream         loads, and competition with and predation by nonnative fish. The limited remaining habitat
                       Rio Grande chub      segments; surveys by        for this species also renders the species at risk from stochastic events.
      Fish
                         Gila pandora       Colorado State              NatureServe ranks this species as “Critically Imperiled” and Colorado Parks and Wildlife
                                            University                  lists the species as “Tier 1, Species of Greatest Conservation Need”. Currently under review
                                                                        by the Fish and Wildlife Service for listing under the Endangered Species Act.




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                                          Evidence of                            Substantial Concern About the Species Capability
Category           Species
                                          Occurrence                                       to Persist over the Long Term
                                                             Some recorded presence contradicts dramatic decline over its historic range that is now
                                                             limited to small, isolated populations in the upper Rio Grande drainage in Colorado. Many of
                                                             these populations are not self-sustaining and very vulnerable to habitat degradation from a
                                                             variety of causes, competition and hybridization with non-natives, over-utilization, and
                                                             stochastic events. The Climate Change Vulnerability Assessment for the Colorado Bureau
             Rio Grande cutthroat                            of Land Management described this species as having greatly increased vulnerability in its
                      trout         Present in 27 stream     physiological, thermal, and hydrological niches due to potential changes in temperature and
  Fish
             Oncorhynchus clarkia   segments and 2 lakes.    precipitation patterns. This species is wholly dependent upon human management to
                   virginalis                                survive. Under current conditions, if management activities were to cease, the subspecies
                                                             would be expected to resume a declining trend as a result of invasion of populations by non­
                                                             native salmonids, stochastic environmental events, whirling disease, and the demographic
                                                             and genetic factors associated with small, isolated populations (Pritchard and Cowley 2oO6).
                                                             Species is ranked by Colorado Parks and Wildlife as Species of Greatest Conservation
                                                             Need Tier 1.
                                                             Competition with and predation by non-native species are extensive threats to the health
                                                             and persistence of Rio Grande sucker populations. Nonnative predators include northern
                                                             pike and brown trout. The introduced white sucker tends to be well adapted to a variety of
              Rio Grande sucker     Currently known from 9
  Fish                                                       degraded environmental conditions, allowing it a competitive advantage on a spatial or
             Catostomus plebeius    stream segments.
                                                             temporal scale over the Rio Grande sucker. The larger white sucker competes with Rio
                                                             Grande sucker for available food sources (periphyton and macroinvertebrates), and also
                                                             has the ability to hybridize with Rio Grande sucker (Rees and Miller 2005).
                                                             Boreal owls are threatened by loss of nesting habitat and changes in prey base resulting
                                                             from substantially beetle killed spruce-fir habitat. Resulting in a reduction of closed canopy
                                                             habitat available. Dramatic change (90 percent) in spruce-fir landscape conditions suggest
                                                             potential declining habitat trend and persistence concern.
                 Boreal owl         Eleven records in the    Other risk factors that may affect species density and distribution are likely to include large-
 Birds
              Aegolius funereus     past 20 years.           scale stand replacement fire, and large-scale insect outbreaks.
                                                             The Gunnison Basin Climate Change Vulnerability Assessment indicates that this species is
                                                             “Highly Vulnerable” to changes resulting from changes in temperature and precipitation
                                                             regimes. Colorado Natural Heritage Program S2 (Imperiled), Colorado Parks and Wildlife
                                                             Species of Greatest Conservation Need Tier 2.




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                                                  Evidence of                               Substantial Concern About the Species Capability
   Category               Species
                                                  Occurrence                                          to Persist over the Long Term
                                                                         Rangewide concerns for substantial declines in sagebrush and mountain shrub habitats.
                                                                         The primary concern regarding the persistence of Brewer’s sparrow is the continued decline
                                                                         of the species numbers in the area surrounding the Forest as well as pinyon juniper
                                                                         encroachment in the limited suitable sagebrush habitat. Trend estimates show significant
                                                                         decreases in relative abundance from 1966 to 2002. Detection frequencies during this
                                           10 records in the past 10
                      Brewer’s sparrow                                   period on routes in southern and eastern Colorado declined. Sauer et al. (2011) report
      Birds                                years, most recently in
                       Spizella breweri                                  significant declining trends of this species in the Southern Rockies/Colorado Plateau for the
                                           2014.                         period 1966-2010. In addition, the Climate Change Vulnerability Assessment for the
                                                                         Colorado Bureau of Land Management shows that the species may experience a “Greatly
                                                                         Increased” vulnerability” due to the impacts that changes in temperature and precipitation
                                                                         regimes may have on the species that influence the habitat features required by Brewer’s
                                                                         sparrow.
                                                                         Flammulated Owls are threatened by loss of suitable nesting habitat. Replacement of open,
                                           65 records in the past 20     old-growth ponderosa pine and mixed conifer forest with younger, high-density vegetation is
                      Flammulated owl
      Birds                                years, the most recent        considered detrimental to this species. Immediate threats include the loss of remaining
                      Otus flammeolus
                                           observations in 2014          areas of open, mature forest habitat due to departure from historic fire regimes and
                                                                         landscape scale disturbances such as stand replacement fire and bug infestations.
                                                                         Approximately 90 percent of the species habitat in the Southern Rockies is found on
                                                                         National Forest System lands. This species has experienced a decline in active nests over
                                                                         time. The loss of large nest trees in spruce-fir habitat is correlated with the impacts of
                                                                         beetles. A recent landscape study conducted in the San Juan Mountains of Colorado
                                           As of 2015, at least 15       suggests substantial changes in landscape structure and fragmentation of mature forest
                                           known active nesting          have occurred in this area between 1950 and 1993. Many factors contribute to the changed
                      Northern goshawk
      Birds                                territories, three historic   condition including fire exclusion and maturing stand conditions in ponderosa pine. If this
                      Accipiter gentiles
                                           territories, and two other    trend is representative of regional trends, goshawk habitat is probably declining in Region 2
                                           potential territories         (Kennedy 2003). Increase in younger tree age classes and loss of older trees associated
                                                                         with beetle kill are also a concern. Extensive habitat changes due to impacts of the bark
                                                                         beetle raises questions about long-term persistence on the forest and surrounding area.
                                                                         Detections and nest territory occupancy has declined in recent years based on project work
                                                                         and monitoring.
                                                                         The concern for persistence of this species is based on a decline range-wide and
                                                                         forestwide. This species has experienced at least a 50 percent decline based on Rocky
                  Olive-sided flycatcher                                 Mountain Bird Observatory/Bird Conservancy of the Rockies data. Similar patterns of
      Bird                                 30 records
                    Contopus cooperi                                     decline are evident on the forest based on results of local Breeding Bird Survey results over
                                                                         the past decade. Primary species habitat on the Forest (spruce-fir) has experienced a 90
                                                                         percent decline.




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                                             Evidence of                                Substantial Concern About the Species Capability
Category           Species
                                             Occurrence                                           to Persist over the Long Term
                                      22 records with at least      Local eyrie occupancy is declining. Delisted population is still monitored by the USFWS.
                                      12 eyries identified, of      Recovery of this species in other areas does not appear to be mirrored on the Forest.
                Peregrine falcon      which six are active          Stochastic impacts from recreational climbing have potential to cause nesting failure. Due to
 Birds
            Falco peregrinus anatum   eyries, five are recent or    the small numbers of this species Forestwide, even a small number of failed nests could
                                      historic eyries, and one is   result in the extirpation of the species.
                                      potential
                                                                    In the Rocky Mountains, approximately 95 percent of occupied ptarmigan habitats are on
                                                                    federal lands, 85 percent of which are national forest system lands in Colorado and
                                                                    Wyoming. Region 2 populations are isolated from nearest northerly populations by long
                                                                    distances. As with many tundra relict species, changes in temperature and precipitation
                                                                    regimes could be a threat, as temperatures warm, species can move north or uphill to cooler
                                                                    refuges. In the case of species that exist on tundra in the southern Rockies, moving uphill is
             Southern White-tailed                                  not an option as local populations already only survive on mountain tops. Warmer
                  ptarmigan                                         temperatures could lead to a loss of alpine tundra on the Forest. In this case, the Southern
 Birds                                26 records
              Lagopus leucurus                                      white-tailed ptarmigan could be lost from the Forest. Climate change vulnerability
                  altipetens                                        assessments for areas surrounding the Forest have determined that this species is “Highly
                                                                    Vulnerable” to negative impacts from changes in temperature are precipitation regimes. The
                                                                    species is under a 12 month review for possible Endangered Species Act listing by the Fish
                                                                    and Wildlife Service due to concerns for the present or threatened destruction, modification,
                                                                    or curtailment of the species’ habitat or range due to changes to temperature and
                                                                    precipitation regimes. (Review is still ongoing as of 16 May 2017); state Tier 1 Species of
                                                                    Greatest Conservation Need.
                                                                    Marten is a closed canopy species therefore the 90 percent mortality in spruce fir, due to
               American marten                                      beetle kill, creates a concern. This change in suitable habitat, including related declines in
Mammals                               9 records
               Martes americana                                     associated prey species such as the red squirrel as documented by Colorado Parks and
                                                                    Wildlife (Ivan 2017), creates a persistence concern for the species.
                                                                    Concern for long-term persistence of this species stems from white-nose syndrome.
                                      Roost site records
                                                                    Although not yet detected within Colorado, the disease continues to spread west. The
                                      include an underground
                                                                    Agency has measures in place to protect bat roosts and maternity sites from white-nose
                                      mine occurring at 8,941
                                                                    syndrome, but it remains possible for the disease to infect colonies despite these measures.
                                      ft. elevation. Acoustic
                                                                    Based on patterns occurring elsewhere a loss of 80 to 90 percent of the affected bat species
               Fringed myotis         surveys have positively
Mammals                                                             could be realized which includes the potential loss of entire colonies. Protection and
              Myotis thysanodes       identified the species at
                                                                    maintenance of roost sites is also a potential issue. Since only one colony occurs on the
                                      a low elevation               Forest, extirpation remains possible. In addition, the Climate Change Vulnerability
                                      ponderosa pine stand in
                                                                    Assessment for the Colorado Bureau of Land Management suggests that fringed myotis
                                      the Hot Creek RNA in
                                                                    may experience a “slight Increase” in vulnerability due to changes in its’ hydrological niche
                                      2013.
                                                                    and physical habitat due to changes in temperature regimes and precipitation patterns.




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                                                  Evidence of                               Substantial Concern About the Species Capability
   Category               Species
                                                  Occurrence                                          to Persist over the Long Term
                                                                        The persistence concern for this species is sylvatic plague, which often wipes out most if not
                  Gunnison’s prairie dog    8 known records in two
      Mammals                                                           all of infected colonies and often involving much larger populations than found on the
                   Cynomys gunnisoni        general areas.
                                                                        Forest.
                 Northern pocket gopher     Confirmed presence of       Stochastic human or natural events could extirpate this species due to the very small size of
      Mammals     Thomomys talpoides        the vulnerable agrestis     the area occupied by this subspecies. The subspecies is also very rare across its range,
                        agrestis            subspecies (CNHP 2006)      which is limited to the San Luis Valley (endemic).
                                                                        The concern for persistence is due to the limited habitat and very small area occupied by
                  Plains pocket mouse       Two recent records
      Mammals                                                           the species. Due to this small size, stochastic natural or human caused events could
                 Perognathus flavescens     (CNHP)
                                                                        extirpate this species.
                                                                        Otters are threatened with extirpation mostly because they are already uncommon, and as
                                                                        such they are susceptible to stochastic events and human harassment. Relatively recent
                          River otter       Records from 2004 and
      Mammals                                                           records indicate otters may be recolonizing the valley after an extended absence, perhaps
                      Lontra canadensis     2010
                                                                        stimulated by state recovery efforts. Opportunities exist to support that re-establishment
                                                                        through ongoing special habitat management attention.
                                                                        Concern for the persistence stems from white-nose syndrome. Although not yet detected
                                                                        within Colorado, the disease continues to spread west. The Agency has measures in place
                  Townsend’s big-eared                                  to protect bat roost and maternity sites from white-nose syndrome, but it remains possible
                           bat              11 records in the past 20   for the disease to infect colonies despite these measures. An 80 to 90 percent loss of the
      Mammals
                 Corynorhinus townsendii    years.                      species could be realized, including the loss of entire colonies. In addition, Climate change
                       townsendii                                       vulnerability assessments for the state indicate that this species may experience a slight
                                                                        increase in vulnerability due to changes in its physiological hydrological niche and physical
                                                                        habitat due to changes in temperature regimes and precipitation patterns.
                                                                        This species is found in rocky areas with a spruce-fir overstory, the approximately 90
                                                                        percent mortality of spruce is a threat to this species because of the resulting loss or
                                            Known from 6                alteration of this species’ habitat from the loss of that canopy cover. Climate change
                     Black Canyon gilia
       Plants                               occurrences. Last           vulnerability assessments for areas surrounding the Forest indicate that this species is
                 Aliciella penstemonoides
                                            observed in 1998.           moderately vulnerable to negative impacts from changes in temperature and precipitation
                                                                        regimes, particularly because there are limits to dispersal. Forest occurrences are small and
                                                                        isolated populations which are susceptible to genetic drift and stochastic events.
                                            This G1 species is
                                            known from 2 locations.
                                            Last observed in 2016.      Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                       Stonecrop gilia      Of the entire global        species is extremely vulnerable to negative impacts from changes in temperature and
       Plants
                      Aliciella sedifolia   distribution of this        precipitation regimes because of the loss of alpine habitat. Of the entire global distribution of
                                            species, 2 of the 3         this species, 2 of the 3 occurrences are on the Forest.
                                            occurrences are on the
                                            Forest.



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                                           Evidence of                               Substantial Concern About the Species Capability
Category           Species
                                           Occurrence                                          to Persist over the Long Term
                                     Known from 2
                                     occurrences. Both
                                     observed in 1986, aerial
                                     imagery indicates no
                                                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                     evidence that the           bristlecone pine habitat of this species is highly vulnerable to negative impacts from
              Brandegee milkvetch
 Plants                              bristlecone habitat at
             Astragalus brandegeei                               changes in temperature and precipitation regimes across Colorado. Isolated and small
                                     these 2 locations has
                                                                 Forest populations are susceptible to threats from genetic drift and stochastic events.
                                     changed, thus there is no
                                     evidence to assume that
                                     the species is no longer
                                     present.
                                     There are 22 known
                                     occurrences of this
                                                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                     species last observed in
               Ripley’s milkvetch                                species is extremely vulnerable to negative impacts from changes in temperature and
 Plants                              2016. The entire global
               Astragalus ripleyi                                precipitation regimes. This vulnerability is due to likely reductions in suitable habitat as well
                                     distribution of this
                                                                 as alterations in the disturbance regime and its restriction to an uncommon geology.
                                     species is on or near the
                                     Forest.
                                                                 Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                 species is moderately vulnerable to negative impacts from changes in temperature and
                                                                 precipitation regimes that would result in the loss of the alpine portion of this species’
                                                                 habitat. Documented threats to this species include disturbance from vegetation
                                     Known from 3
              Northern moonwort                                  management as well as sedimentation from roads. This species also occurs in spruce-fir
 Plants                              occurrences, most recent
             Botrychium pinnatum                                 and is threatened by the loss or alteration of that habitat from over story mortality. Aerial
                                     observation in 2003.
                                                                 imagery from 2016 indicates that the canopy cover of spruce at all 3 of the occurrences of
                                                                 this species have been lost. One of the occurrences consists of a single individual while the
                                                                 largest is only 75. Small and Isolated populations are susceptible to genetic drift and
                                                                 stochastic events.
                                     Known from a single
                                                                 This species is found in spruce-fir habitat which has undergone a 90 percent mortality event
                                     occurrence. Last
                                                                 resulting in a loss or alteration of this species’ habitat. Aerial imagery from 2016 indicates
                                     observation in 1995.
                                                                 that the canopy cover of spruce at this species’ single occurrence has been lost. Climate
                                     Aerial imagery shows
                                                                 change vulnerability assessments for areas surrounding the Forest indicate that the spruce­
               Least moonwort        that the habitat at this
 Plants                                                          fir, fen, and montane riparian habitats are moderately threatened by changes in temperature
              Botrychium simplex     occurrence is unchanged     and precipitation regimes. The single Forest occurrence consists of only 17 individuals.
                                     since 1995 and thus         Small and isolated populations are susceptible to threats from genetic drift and stochastic
                                     there is no evidence to
                                                                 events. Species with single occurrences have particular persistence concerns because a
                                     assume the species is no
                                                                 single event can remove the species entirely.
                                     longer present.



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                                                Evidence of                               Substantial Concern About the Species Capability
   Category               Species
                                                Occurrence                                          to Persist over the Long Term
                                                                      Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                      species is extremely vulnerable to negative impacts from changes in temperature and
                                                                      precipitation regimes, has a limited dispersal ability, is dependent on snow and ice, and has
                                          This G2 species is          migration barriers. Additionally, climate change vulnerability assessments for areas
                Downy Indian-paintbrush   known from 3 locations,     surrounding the Forest indicate that the alpine habitat of this species is considered to be
      Plants
                  Castilleja puberula     the most recent             highly vulnerable to negative impacts from changes in temperature and precipitation
                                          observation is 2006.        regimes in southwest Colorado and this species is thus threatened by the loss of its alpine
                                                                      habitat. One of the observations on the Forest is a few individuals scattered over a hundred
                                                                      acres. Small and isolated populations are susceptible to threats from genetic drift and
                                                                      stochastic events.
                                                                      Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                      alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                                          This species is known       changes in temperature and precipitation regimes in southwest Colorado and this species is
                       Weber's catseye
      Plants                              from a single observation   thus threatened by the loss of its alpine habitat. Small and Isolated populations are
                      Cryptantha weberi
                                          in 2005.                    susceptible to threats from genetic drift and stochastic events. Species with single
                                                                      occurrences have particular persistence concerns because a single event can remove the
                                                                      species entirely.
                                          Known from 3 locations,
                       Weber's catseye
      Plants                              the most recent             This species is documented to be negatively impacted by domestic livestock grazing.
                      Cryptantha weberi
                                          observation in1998.
                                                                      This species is found in spruce-fir habitat which has undergone a 90 percent mortality event
                                                                      resulting in a loss or alteration of this species’ habitat. Aerial imagery from 2016 indicates
                                                                      that the canopy cover of spruce at the single occurrence of this species has been lost.
                                                                      Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                          Known from a single
                   Slender rock-brake                                 species is extremely vulnerable to negative impacts from changes in temperature and
      Plants                              occurrence. Last            precipitation regimes that may alter the cool moist dripping spring cliff habitat of this species.
                  Cryptogramma stelleri
                                          observation in 1988.
                                                                      There are dispersal and migratory barriers for this species. Small and isolated populations
                                                                      are susceptible to threats from genetic drift and stochastic events. Species with single
                                                                      occurrences have particular persistence concerns because a single event can remove the
                                                                      species entirely.
                                                                      This species is found in spruce-fir habitat which has undergone a 90 percent mortality event
                                                                      resulting in a loss or alteration of this species’ habitat. Aerial imagery from 2016 indicates
                                                                      that the canopy cover of spruce at the single occurrence of this species has been lost.
                                          Known from a single
                  Mountain bladder fern                               Climate change vulnerability assessments for areas surrounding the Forest indicate that the
      Plants                              occurrence. Last
                  Cystopteris montana                                 spruce-fir habitat of this species is moderately threatened by changes in temperature and
                                          observation in 1986.
                                                                      precipitation regimes. Small and isolated populations are susceptible to threats from genetic
                                                                      drift and stochastic events. Species with single occurrences have particular persistence
                                                                      concerns because a single event can remove the species entirely.



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                                          Evidence of                              Substantial Concern About the Species Capability
Category           Species
                                          Occurrence                                         to Persist over the Long Term
                                                                Vulnerability Assessments for areas surrounding the Forest assessed the alpine habitat of
                                                                this species and determined that it is considered to be highly vulnerable to negative impacts
                                    There are 3 known
                                                                from changes in temperature and precipitation regimes in southwest Colorado and this
               Colorado larkspur    occurrences of this G2
 Plants                                                         species is threatened by the loss of its alpine habitat. Small and Isolated populations are
              Delphinium alpestre   species, the most recent
                                                                susceptible to threats from genetic drift and stochastic events. Since small and isolated
                                    being in 1998.
                                                                population only occur in a certain area and have a smaller population they are more
                                                                susceptible to loss.
                                                                Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                species is extremely vulnerable to negative impacts from changes in temperature and
                                    This G2 species is          precipitation regimes that may alter the alpine habitat of this species. The assessments
               San Juan draba       known from 3 locations      indicate that the alpine habitat of this species is considered to be highly vulnerable to
 Plants
               Draba graminea       and the most recent         negative impacts from changes in temperature and precipitation regimes in southwest
                                    observation is from 2013.   Colorado and this species is threatened by the loss of its alpine habitat. The species is
                                                                reliant on ice and snow. There are dispersal and migratory barriers for this species. Small
                                                                and isolated populations are susceptible to threats from genetic drift and stochastic events.
                                    This G2 species is
                                    known from 2 locations
                                    and the most recent
                                    observation is from 1985.   Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                    Aerial imagery indicates    alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                 Gray’s draba       that the alpine scree       changes in temperature and precipitation regimes in southwest Colorado and this species is
 Plants                                                         threatened by the loss of its alpine habitat. Additional threats to this species include
                Draba gravana       slope where this species
                                    was observed is             recreation and mountain goats. The occurrences are small and isolated and are thus
                                    unaltered and thus there    susceptible to threats from genetic drift and stochastic events.
                                    is no evidence to
                                    assume the species is no
                                    longer present.
                                                                Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                                    G2 Species. There are       changes in temperature and precipitation regimes in southwest Colorado and this species is
                 Smith's draba      12 occurrences the most     thus threatened by the loss of its alpine habitat. These assessments indicate that this
 Plants
                 Draba smithii      recent observation was      species is extremely vulnerable to negative impacts from changes in seasonal precipitation
                                    in 2002.                    as well as threats from energy development, its restriction to specific geologic substrates,
                                                                dispersal barriers, and migration barriers. Small and isolated populations are susceptible to
                                                                threats from genetic drift and stochastic events.




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                                                   Evidence of                               Substantial Concern About the Species Capability
   Category                Species
                                                   Occurrence                                          to Persist over the Long Term
                                                                          Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                             Species is known from 4      alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                Colorado Divide whitlow­
                                             occurrences, the most        changes in temperature and precipitation regimes in southwest Colorado and this species is
      Plants             grass
                                             recent observation is        thus threatened by the loss of its alpine habitat. The species is reliant on ice and snow.
                 Draba streptobrachia
                                             from 2002.                   There are dispersal and migratory barriers for this species. Small and isolated populations
                                                                          are susceptible to threats from genetic drift and stochastic events.
                                             Known from a single
                                             observation in 1990.
                                             Aerial imagery indicates
                                                                          Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                             that the wet meadow
                                                                          low elevation riparian and wetland habitat of this species is highly susceptible to changes in
                  Philadelphia fleabane      habitat where this
      Plants                                                              temperature and precipitation regimes. Small and isolated populations are susceptible to
                 Erigeron philadelphicus     species was observed is
                                                                          threats from genetic drift and stochastic events. Species with single occurrences have
                                             unaltered and thus there
                                                                          particular persistence concerns because a single event can remove the species entirely.
                                             is no evidence to
                                             assume the species is no
                                             longer present.
                                             Known from a single
                                             occurrence in 1986.
                                             Analysis of aerial
                                             imagery indicates that       The single occurrence of this species is threatened by invasive plant species and impacts
                       Many-flowered gilia   the open woodland            from the management of those invaders. Small and isolated populations are susceptible to
      Plants
                      Ipomopsis multiflora   habitat of this occurrence   threats from stochastic events and genetic drift. Species with single occurrences have
                                             is unaltered and thus        particular persistence concerns because a single event can remove the species entirely.
                                             there is no evidence to
                                             assume the species is no
                                             longer present.
                                                                          This species and its aquatic and fen habitat are threatened by alterations in flow from
                                                                          development and diversion. Similarly, climate change vulnerability assessments for areas
                                             Known from 4
                  Spiny-spored quillwort                                  surrounding the Forest indicate that the aquatic and fen habitat of this species is moderately
      Plants                                 occurrences. The most
                     Isoetes tenella                                      vulnerable to changes in temperature and precipitation regimes. The occurrences of this
                                             recent was from 2000.
                                                                          species on the Forest are small and isolated which are susceptible to threats from genetic
                                                                          drift and stochastic events.
                                                                          Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                          species and its fen habitat are extremely vulnerable to negative impacts from changes in
                                             Known from 3
                      Colorado woodrush                                   temperature and precipitation. This species lives on the margins of fens and riparian
      Plants                                 occurrences, the most
                      Luzula subcapitata                                  habitats which are susceptible to negative impacts from small changes in hydrology. The
                                             recent in 2004.
                                                                          occurrences are small and isolated which are susceptible to threats from genetic drift and
                                                                          stochastic events



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                                           Evidence of                                Substantial Concern About the Species Capability
Category           Species
                                           Occurrence                                           to Persist over the Long Term
             Colorado tansy aster   Known from 4
                                                                  Threats include recreation and road construction/maintenance, pipeline construction, and
 Plants       Machaeranthera        occurrences. The most
                                                                  construction of radio towers.
                coloradoensis       recent was from 1997.
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                  species is extremely vulnerable to negative impacts from changes in temperature and
                                    Species was collected in
                                                                  precipitation regimes. These assessments indicate that the alpine habitat of this species is
                                    2003. The single
              House's sandwort                                    considered to be highly vulnerable to negative impacts from changes in temperature and
 Plants                             occurrence was from
             Minuartia macrantha                                  precipitation regimes in southwest Colorado and thus this species is threatened by the loss
                                    alpine habitat just east of
                                                                  of its alpine habitat. Small and isolated populations are susceptible to genetic drift and loss
                                    Stony Pass.
                                                                  from stochastic events. Species with single occurrences have particular persistence
                                                                  concerns because a single event can remove the species entirely.
                                    Species was collected in
                                    i998 and 1999, on rocky       Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                  alpine habitat of this species is considered to be highly vulnerable to negative impacts from
              Parry's crazy-weed    slopes north of
 Plants                                                           changes in temperature and precipitation regimes in southwest Colorado and this species is
               Oxytropis parryi     Saguache and at the
                                                                  thus threatened by the loss of its alpine habitat. Small and isolated populations are
                                    head of Raspberry
                                                                  susceptible to negative impacts from genetic drift and stochastic events.
                                    Canyon.
                                    There are 3 occurrences       Threats to the species include recreation and trail use. Occurrences are less than 100
               Southern Rocky
                                    of this species, the most     individuals. Small populations are susceptible to negative impacts from stochastic events,
 Plants       Mountain cinquefoil
                                    recent observation is         particularly species like this one that live close to rivers, streams, trails, and roads where
              Potentilla ambigens
                                    from 1998.                    these events are more likely.
                                                                  The single occurrence is documented to be threatened by livestock grazing, wildlife
                                                                  damage, and recreation. Climate change vulnerability assessments for areas surrounding
                                    G2 species found in a         the Forest indicate that the high elevation fen habitat of this species is also threatened by
                Arizona willow      single location. Species      changes in temperature and precipitation resulting in changes in the hydrology. The single
 Plants
                Salix arizonica     was observed to be            occurrence of Arizona willow is isolated from other occurrences of the species. Isolated
                                    extant in 2016.               populations are subject to negative impacts from genetic drift. Species with single
                                                                  occurrences have particular persistence concerns because a single event can remove the
                                                                  species entirely.
                                                                  Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                  alpine habitat of this species is considered to be highly vulnerable to negative impacts from
              Tundra saxifrage      Known from a single           changes in temperature and precipitation regimes in southwest Colorado and this species is
 Plants      Saxifraga caespitosa   occurrence. Documented        thus threatened by the loss of its alpine habitat. The occurrence is isolated from other
               ssp. monticola       in 1998.                      populations of this species. Isolated populations are susceptible to negative impacts from
                                                                  genetic drift. Species with single occurrences have particular persistence concerns because
                                                                  a single event can remove the species.




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                                                Evidence of                            Substantial Concern About the Species Capability
   Category              Species
                                                Occurrence                                       to Persist over the Long Term
                                                                    Climate change vulnerability assessments for areas surrounding the Forest indicate that the
                                                                    alpine habitat of this species is considered to be highly vulnerable to negative impacts from
                                          G2 species known from a   changes in temperature and precipitation regimes in southwest Colorado and thus this
                      King's campion
      Plants                              single occurrence,        species is threatened by the loss of its alpine habitat. The occurrence is isolated from other
                       Silene kingii
                                          documented in 2005.       populations of this species. Isolated populations are susceptible to negative impacts from
                                                                    genetic drift. Species with single occurrences have particular persistence concerns because
                                                                    a single event can remove the species entirely.
                                                                    Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                    species and its high elevation fen habitat are threatened by changes in temperature and
                                          There is a single
                    Fine bog-moss                                   precipitation regimes. The population is small and isolated, and small and isolated
      Plants                              occurrence along Iron
                Sphagnum angustifolium                              populations are subject to threats from genetic drift and stochastic events. Species with
                                          Creek in 2016.
                                                                    single occurrences have particular persistence concerns because a single event can
                                                                    remove the species.
                                                                    Climate change vulnerability assessments for areas surrounding the Forest indicate that this
                                                                    species is extremely vulnerable to negative impacts from changes in temperature and
                                          G2 species known from 3   precipitation regimes, particularly because it is dependent on ice and snow. These
                Rothrock townsend-daisy   occurrences. The          assessments indicate that the alpine habitat of this species is considered to be highly
      Plants
                 Townsendia rothrockii    species was known to be   vulnerable to negative impacts from changes in temperature and precipitation regimes in
                                          extant in 2016.           southwest Colorado and this species is thus threatened by the loss of its alpine habitat.
                                                                    Additionally, the occurrences are small and isolated. Small and isolated populations are
                                                                    subject to threats from genetic drift and stochastic events.


Species that were considered during the development of the species of conservation concern list are contained in Table 122. The
rationale for not including these species is included.




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Table 122. Species considered early but after further review were not identified as species of conservation concern
                                          Evidence of
   Category           Species                                                Rationale for not including the species as Draft SCC
                                          Occurrence
                    Leopard frog                            Locally this is primarily a lower-elevation species. Limited, but historical occurrence on
  Amphibian                            Not known to occur
                    Rana pipiens                            Forest. No known existing populations or occurrences.
                Grasshopper sparrow
                                                            Very limited occurrence in select locations in the San Luis Valley. Very limited, if any,
     Bird          Ammodramus          Not known to occur
                                                            potential habitat on Forest.
                    savannarum
                                                            Limited suitable habitat on the Forest and most occurrence records are peripheral, with
                   Sage sparrow
     Bird                               Known to occur      only one documented occurrence in 2004. Very limited ability to influence species
                  Amphispiza belli
                                                            through management actions.
                                                            Associated with primarily low-elevation open grasslands with rocky outcrops. Appears to
                   Golden eagle                             be secure, occupying these habitats where expected, and, in some cases, at relatively
     Bird                               Known to occur
                 Aquila chrysaetos                          high densities (up to seven nesting eagles at locations). Also continues to enjoy
                                                            protections under the Bald and Golden Eagle Protection Act.
                   Burrowing owl                            No occurrence on Forest documented through continuous survey efforts, including high-
     Bird                              Not known to occur
                 Athene cunicularia                         use areas such as prairie dog colonies.
                  Juniper titmouse                          Global and state rankings suggest species is secure globally and locally. No known
     Bird                               Known to occur
                 Baeolophus griseus                         substantial conservation concern.
                  Ferruginous hawk                          Limited nesting occurrences are restricted to the valley floor. Very little if any potential
     Bird                              Not known to occur
                    Buteo regalis                           habitat.
                   Cassin’s finch                           Global and state rankings suggest species is secure globally and locally. No known
     Bird                               Known to occur
                 Carpodacus cassinii                        substantial conservation concern.
                       Veery                                No reported occurrences under existing databases. Potential evidence of recent
     Bird                               Known to occur
                Catharus fuscescens                         breeding at one location. Presence is considered peripheral.
                  Mountain plover                           No occurrence documented through continuous survey efforts, including high-use areas
     Bird                              Not known to occur
                Charadrius montanus                         such as prairie dog colonies.
                   Northern harrier                         Nesting habitat and occurrences primarily restricted to the valley floor. The Forest has
     Bird                              Not known to occur
                   Circus cyaneus                           little potential habitat.
                                                            Survey efforts suggest the population is stable and secure statewide and locally. No
                     Black swift                            documented connection or concerns about effects of Forest uses and management as
     Bird                               Known to occur
                  Cypseloides niger                         primary risk factors. Unique species that may warrant other occasional monitoring
                                                            efforts.




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                                                 Evidence of
   Category                Species                                                  Rationale for not including the species as Draft SCC
                                                 Occurrence
                                                                   No known substantial conservation concern. Distribution is widespread and rangewide
                         Prairie falcon
      Bird                                     Known to occur      populations are thought to be stable. Cliff and outcrop breeding habitat is unchanged
                       Falco mexicanus
                                                                   and secure.
                          Pinyon jay
                                                                   No known substantial conservation concern. Limited management activity in available
      Bird               Gymnorhinus           Known to occur
                                                                   habitat. Global and state rankings suggest the species is secure.
                        cvanocephalus
                          Bald eagle                               No breeding or wintering confirmed and no clear evidence of concern for persistence.
      Bird                Haliaeetus           Known to occur      Species continues to enjoy important protections under the Bald and Golden Eagle
                        leucocephalus                              Protection Act.
                      Loggerhead shrike
      Bird                                     Known to occur      Occurrence is peripheral. Very few documented occurrences. Very little suitable habitat.
                      Lanius ludovicianus
                                                                   Fairly common to abundant nesting inhabitant in western Colorado, limited occurrences.
                       Virginia’s warbler                          Global and state ranking suggest the species is secure. High dispersal capability.
      Bird                                     Known to occur
                      Leiothlypis virginiae                        Shrubland habitats are limited in availability and stable on the forest, no known
                                                                   substantial conservation concern.
                                                                   Breeding habitat consists of cliffs, caves, and rock crevices in alpine and tundra habitats
                     Brown-capped
                                                                   that is stable and secure. Some uncertainty about sensitivity of alpine habitat to changes
      Bird             rosy finch              Known to occur      to precipitation and temperature regimes. The species is fairly common. No known
                   Leucosticte australis
                                                                   substantial conservation concern.
                                                                   Occurrence is peripheral and primarily associated with lower elevation cottonwood
                      Lewis's woodpecker
      Bird                                     Known to occur      systems such as those along the Alamosa and Conejos River drainages. There are very
                       Melanerpes lewis
                                                                   few documented Forest observations over the past 20 years. Very little suitable habitat.
                    Band-tailed pigeon                             Migratory species. Occurrence is sporadic and seasonal with no known nesting
      Bird                                     Known to occur
                   Patagioenas fasciata                            occurrence.
                      Monarch butterfly
  Invertebrate                                Not known to occur   Limited available habitat.
                      Danaus plexippus
                        Theano alpine
  Invertebrate                                Not known to occur   Globally secure, moderate concern statewide. Not known to occur.
                       Erebia pawloskii
                  Colorado blue (butterfly)
  Invertebrate         Euphilotes rita        Not known to occur   Lower elevation, prairie species. Very limited habitat.
                        coloradensis
                        Alberta Arctic                             There are no records of this species occurrence. Bunchgrass habitat Forestwide is not at
  Invertebrate                                 Known to occur
                        Oeneis alberta                             risk.



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                                             Evidence of
 Category              Species                                                 Rationale for not including the species as Draft SCC
                                             Occurrence
                 Gold-edge gem moth
Invertebrate                              Not known to occur   Lower elevation species, limited habitat.
                  Schinia avemensis
                 Great Basin silverspot
Invertebrate       Speyeria nokomis       Not known to occur   Lower elevation species, limited habitat.
                       nokomis
                                                               Individuals detected locally during acoustic bat surveys. Forest occupancy is limited with
                                                               a 5 occurrences reported over the past 20 years. Potential habitat loss a concern due to
                       Hoary bat
 Mammal                                    Known to occur      the loss of spruce habitat due to the impacts of spruce beetle. Abundant aspen forest
                   Lasiurus cinereus                           remains unaffected and available. Windfarms are a primary threat, but none occur or are
                                                               planned.
                 Southern red-backed
                                                               Global and state rankings suggest species is secure in Colorado and locally. No known
 Mammal                  vole              Known to occur
                                                               substantial conservation concern.
                   Myodes gapperi
                                                               Has experience substantial population declines in eastern and Midwestern states
                                                               affected by white-nose syndrome. White nose syndrome has not yet occurred in
                    Little brown bat
 Mammal                                    Known to occur      Colorado nor the Forest; therefore, there is currently no known substantial conservation
                    Myotis lucifugus
                                                               concern. Plan components address regarding abandoned mine features for bat species
                                                               prior to closure.
                   Big free-tailed bat                         Occurrence is peripheral. Very few documented occurrences, no known breeding or
 Mammal                                    Known to occur
                 Nyctinomops macrotis                          roosting areas on. Very little suitable habitat.
                                                               In Colorado, species remains common in available talus habitat. Quantity of talus
                                                               habitats remains stable. May be some concerns for effects of changes in temperature
                   American pika
 Mammal                                    Known to occur      and precipitation regimes to alpine habitats but uncertain at this time. No known
                  Ochotona princeps
                                                               substantial conservation concern locally although occasional monitoring may be
                                                               warranted.




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                                                           In western North America bighorn sheep populations have declined from an estimated
                                                           500,000 at the onset of European settlement to an estimated 15,000 to 20,000 by 1960.
                                                           Numbers have increased since 1960 due to population translocations and
                                                           augmentations and other conservation efforts. The distribution of bighorn sheep is
                                                           naturally fragmented due to the patchy nature of preferred habitats, and bighorn sheep
                                                           typically make seasonal movements to alpine habitats in summer and lower elevation
                                                           habitats or south-facing slopes during the winter period.
                                                           The primary risk to persistence on the planning unit is transmission of novel pathogens
                                                           from domestic sheep to bighorn sheep, and subsequent disease outbreaks and
                                                           population impacts. Current and expected future domestic sheep grazing on the Forest
                                                           includes some risk of contact between domestic sheep and bighorn sheep, and such
                                                           contact can result in respiratory disease outbreaks in bighorn sheep. Respiratory
                                                           disease in bighorn sheep can result in all age die-offs which can have lasting impacts on
                                                           populations through suppressed lamb recruitment following disease outbreaks. In­
                                                           breeding, loss of alpine habitat due to changing temperature and precipitation patterns,
                                                           and unintentional human harassment can also represent added stressors further
                                                           impacting persistence of local herds and populations.
                                                           Despite the risks to bighorn sheep from domestic sheep, Forest bighorn sheep
                                                           populations have persisted for the past several decades. Colorado Parks and Wildlife
                 Rocky mountain bighorn                    has identified 12 Game Management Units (akin to herds) that occur entirely or in part
                         sheep                             on the Forest. Several herds cross administrative boundaries and occur on adjacent
      Mammals                             Known to occur
                    Ovis canadensis                        public or private lands during part of their life cycles. Overall population estimates for the
                      canadensis                           12 herds total approximately 1,100 individuals, and the total population estimates have
                                                           fluctuated from approximately 1,000 to 1,500 animals during the past 30 years.
                                                           Population die-offs due to disease have been observed or suspected in several herds
                                                           during this time, and some herds have been augmented via population translocations.
                                                           Currently, several bighorn sheep herds are still recovering from die-off events in the
                                                           1990’s. The presence of some type of respiratory pathogen has been confirmed in 8
                                                           herds. Most herds are currently hunted with regulations and population objectives
                                                           established by Colorado Parks and Wildlife.
                                                           Among the herds whose Game Management Unit boundaries overlap the Forest, 3
                                                           occur in areas where domestic sheep grazing is not currently permitted and is not
                                                           anticipated in the foreseeable future. These herds (S08, SO9, and S68, though S68
                                                           includes only a small portion of the Forest) occur in the Sangre de Cristo mountains on
                                                           the eastern Forest boundary and account for an estimated 40 percent of the overall
                                                           Forestwide bighorn sheep population. While long-distance movements from other herds
                                                           could potentially move pathogens into these herds, this is a relatively low likelihood
                                                           concern and these herds are considered secure based on management actions under
                                                           Forest authority.
                                                           Other herds are at some risk of contact with domestic sheep and transmission of
                                                           pathogens is possible. Despite the risk to herds outside the Sangre de Cristo mountains,
                                                           bighorn sheep are likely to persist Forestwide due to the strongholds in the Sangre de


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                                           Evidence of
Category            Species                                                  Rationale for not including the species as Draft SCC
                                           Occurrence
                                                             Cristo mountains and the absence of the domestic sheep grazing, the main threat to
                                                             persistence.
                                                             Population management by Colorado Parks and Wildlife will contribute to the persistence
                                                             of bighorn sheep through establishing population objectives, managing hunting
                                                             opportunities and potentially through population augmentation via translocations. Lastly,
                                                             through collaborative monitoring with Colorado Parks and Wildlife and other partners will
                                                             help provide information on the effectiveness of management actions and help identify
                                                             potential changes in management needed to support the persistence of bighorn sheep.
                 Abert’s squirrel                            Widespread through the ponderosa pine zone. No known substantial conservation
Mammal                                   Known to occur
                  Sciurus aberti                             concern.
                  Dwarf shrew
Mammal                                  Not known to occur   No occurrences or known habitat.
                  Sorex nanus
             Botta's pocket gopher
Mammal        Thomomys bottae           Not known to occur   Species considered secure locally. Limited available habitat.
                    pervagus
               Rydberg’s golden
                   columbine
 Plant                                  Not known to occur
            Aquilegia chrysantha var.
                    rydbergii
            Vierhapper’s/Alpine aster
 Plant          Aster alpinus var.       Known to occur      Too long a time has passed since observation for species to be known to occur.
                   vierhapperi
                Violet milkvetch
 Plant                                  Not known to occur
             Astragalus iodopetalus
               Missouri milkvetch
 Plant      Astragalus missouriensis    Not known to occur
                var. humistratus
                Aztec milkvetch
 Plant                                  Not known to occur
              Astragalus proximus
              Crandall’s rockcress
 Plant                                  Not known to occur
              Boechera crandallii
              Narrowleaf grapefern
 Plant                                  Not known to occur
               Botrychium lineare




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                                               Evidence of
   Category                Species                                               Rationale for not including the species as Draft SCC
                                               Occurrence
                  Winding mariposa lily
      Plant                                 Not known to occur
                  Calochortus ilexuosus
                  Lesser tussock sedge
      Plant                                 Not known to occur
                     Carex diandra
                          Mud sedge
      Plant                                  Known to occur      Too long a time has passed since observation for species to be known to occur.
                         Carex limosa
                  Slender spiderflower
      Plant                                 Not known to occur
                   Cleome multicaulis
                      James’ cryptantha                          Taxonomists lumped this species together with a more widespread, stable species. No
      Plant                                  Known to occur
                      Cryptantha cinerea                         conservation concern for the larger species.
                  Lesser yellow lady’s -
      Plant              slipper            Not known to occur
                 Cypripedium parviflorum
                   Wahatoya larkspur
      Plant                                 Not known to occur
                  Delphinium robustum
                  Heil’s tansy mustard
      Plant                                 Not known to occur
                  Descurainia kenheilii
                  Stream orchid, giant
      Plant           helleborine           Not known to occur
                   Epipactis gioantea
                 Brandegee's buckwheat
      Plant                                 Not known to occur
                 Eriogonum brandegeei
                Colorado wild buckwheat
      Plant                                 Not known to occur
                Eriogonum coloradense
                Whitebristle cottongrass
                                                                 Removed from Regional Forester Sensitive Species List due to taxonomic lumping. No
      Plant     Eriophorum altaicum var.     Known to occur
                                                                 concern for persistence.
                       neogaeum
                Chamisso’s cottongrass
      Plant                                 Not known to occur
                Eriophorum chamissonis
                      Slender cottongrass
      Plant                                 Not known to occur
                      Eriophorum gracile




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                                                                                                          Draft Environmental Impact Statement
                                                                                     Rio Grande National Forest Revised Land Management Plan



                                        Evidence of
Category           Species                                                 Rationale for not including the species as Draft SCC
                                        Occurrence
                Bill’s neoparrya                          Present, no conservation concern due to stable populations that are largely free of
 Plant                                Known to occur
              Neoparrya lithophila                        threats.
              Kotzebue’s grass of
 Plant            Parnassus          Not known to occur
              Parnassia kotzebuei
             Degener’s beardtongue
 Plant                               Not known to occur
              Penstemon degeneri
                                                          Taxonomy issues make it difficult to judge the rarity of the species, as taxonomists are
               Ice cold buttercup
 Plant                                Known to occur      uncertain if this is a distinct species or part of a large, more common species. No state
              Ranunculus karelinii
                                                          ranking because of taxonomic dispute.
                Sageleaf willow
 Plant                               Not known to occur
                 Salix candida
                Autumn willow
 Plant                               Not known to occur
                Salix serissima
               Weber’s saw-wort
 Plant                               Not known to occur
               Saussurea weberi
             Pale blue-eyed grass
 Plant                               Not known to occur
             Sisyrinchium pallidum
               Baltic sphagnum
 Plant                               Not known to occur
              Sphagnum balticum
              Smooth Easter daisy
 Plant                               Not known to occur
              Townsendia glabella
               Lesser bladderwort
 Plant                               Not known to occur
                Utricularia minor
                                                          Occurrences are small and isolated and small and isolated populations are susceptible
             New Mexico cliff fern
 Plant                                Known to occur      to negative impacts from genetic drift and stochastic events. However, this is not enough
             Woodsia neomexicana
                                                          to substantiate a local concern for continued persistence.
                                                          Occurrences are small and isolated and small and isolated populations are susceptible
              Plummer’s cliff fern
 Plant                                Known to occur      to negative impacts from genetic drift and stochastic events. However, this is not enough
              Woodsia plummerae
                                                          to substantiate a local concern for continued persistence.




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   USDA Forest Service



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                                            USDA
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                                            Forest Service
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   Rio Grande National Forest
   ATTN: Rio Grande Plan Revision
   1803 W. Highway 160
   Monte Vista, CO 81144

   Via e-mail: rgnf forest plan@fs.fed.us

   December 22, 2017

   Dear Rio Grande National Forest Planning Team,

   The accompanying paper comprises the comments of the endorsers listed below on the Draft
   Revised Management Plan (“Plan” or “proposed Plan”) and its accompanying draft
   environmental impact statement (“DEIS”) for the Rio Grande National Forest (RGNF). The
   official notices opening the comment period for these documents were published in the Valley
   Courier newspaper and the Federal Register on September 29, 2017.

   We hereby incorporate by reference the scoping comments and proposed alternative by Rocky
   Smith et al dated October 28, 2016 , and the separate scoping comments submitted by The
   Wilderness Society with the same date.

   Thank you very much for the opportunity to provide our feedback. Please contact us if you wish
   to discuss any aspect of these comments.

   Sincerely,


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     COMMENTS ON THE DRAFT REVISED PLAN AND DRAFT ENVIRONMENTAL
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   I. INTRODUCTION

   We are pleased to see the following in the draft revised Plan and DEIS:

    - -inclusion of alternative D, which is similar to the alternative we submitted as part of our
   scoping comments;
    - -the proposed addition of a standard to the Southern Rockies Lynx Amendment,
   acknowledging that lynx are still using stands with substantial spruce mortality; and
    - -the recommendation of some areas for wilderness designation.

   However, there are many weaknesses in the plan that will need substantial correction before
   finalization. Overall, the plan provides very weak, and in some cases non-existent, direction for
   protection of important resources and on limitation of activities that could adversely affect these
   resources. The proposed Plan is much weaker than the existing plan in this regard. Considerable
   changes must be made to strengthen the draft plan.

   There are also problems with the determination of lands suitable for timber production and the
   accompanying calculation of long-term sustained yield of timber, and with the analysis of
   rangeland suitability for livestock grazing.

   More areas should be recommended for wilderness and special interest area designations, as
   applicable.


   II. RECOMMEND ADDITIONAL AREAS FOR WILDERNESS DESIGNATION

   The opportunity to inventory and evaluate wilderness-quality lands is an integral component of
   the forest planning process and presents a rare opportunity to provide administrative protection
   to some of the most spectacular and ecologically important undeveloped lands on our national
   forests. These areas provide our drinking water; habitat for imperiled wildlife; physical, mental,
   and spiritual renewal for millions of Americans; and a buffer to the impacts of climate change.
   That is, wilderness areas are a crucial management strategy for assuring that the planning rule’s
   goal of ecological sustainability and its requirements for diversity and ecosystem integrity are
   achieved.
   Alternative B recommends 59,000 acres for wilderness.1 The proposed areas are well-conceived
   recommendations in that they would provide protection for ecosystems that are currently under­
   represented in the wilderness system on the forest and federally. However, there are many more
   areas on the Rio Grande National Forest that deserve to be recommended for wilderness on the
   forest because of their outstanding scenery, recreation, ecosystem services, and ecological

   1 The DEIS has a discrepancy in the acres recommended for wilderness. On page 29, the DEIS says Alternative B
   recommends 59,000 acres while page 303 says that Alternative B recommends 52,860 acres.

                                                          3

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   values. Alternative D, in contrast to Alternative B, recommends 284,870 acres for wilderness
   (about 29% of lands in the final wilderness inventory), including many of the most deserving
   areas. The areas recommended for wilderness in Alternative D contribute significantly to
   landscape scale connectivity of wildlands, protection of under-represented ecosystems,
   conservation of at-risk species’ habitat, and opportunities for non-motorized backcountry
   recreation. We described these values at length in our submissions during scoping.2 For these
   reasons, the Record of Decision for the final plan should adopt the wilderness recommendations
   in Alternative D.
       A. BACKGROUND AND REGULATORY FRAMEWORK

   The 2012 Planning Rule requires forests undergoing a plan revision to “[i]dentify and evaluate
   lands that may be suitable for inclusion in the National Wilderness Preservation System [NWPS]
   and determine whether to recommend any such lands for wilderness designation.” 36 C.F.R. §
   219.7(c)(2)(v). Chapter 70 of the Forest Service Land Management Planning Handbook (FSH)
   1909.12 prescribes a four-step process for doing so: (1) inventory all lands that may be suitable
   for inclusion in the NWPS based on their size, roadless nature, and lack of improvements that are
   substantially noticeable in the area as a whole; (2) evaluate the wilderness characteristics of each
   inventoried area pursuant to the criteria in the Wilderness Act of 1964; (3) analyze a range of
   alternatives for recommended wilderness in the plan EIS; and (4) decide which areas or portions
   of areas to recommend for inclusion in the National Wilderness Preservation System (NWPS).
   Chapter 70 requires opportunities for public participation “early and during each step of the
   process.” FSH 1909.12, ch. 70, § 70.61.
   Given the myriad ecological and social benefits of wilderness and other highly protected lands,
   the wilderness recommendation process is a key component of satisfying the substantive
   requirements of the 2012 planning rule. The overarching purpose of the rule is to provide for the
   development of plans that:
           will guide management of [National Forest System] lands so that they are
           ecologically sustainable and contribute to social and economic sustainability;
           consist of ecosystems and watersheds with ecological integrity and diverse plant
           and animal communities; and have the capacity to provide people and
           communities with ecosystem services and multiple uses that provide a range of
           social, economic, and ecological benefits for the present and into the future.
   36 C.F.R. § 219.1(c). To accomplish these ecological integrity and sustainability goals, the rule
   imposes substantive mandates to establish plan components - including standards and guidelines
   - that maintain or restore healthy aquatic and terrestrial ecosystems, watersheds, and riparian
   areas; air, water, and soil quality; and the diversity of plant and animal communities, ecosystems,
   and habitat types. Id. §§ 219.8(a)(1)-(3), 219.9. Plans also must provide for sustainable
   recreation. Id. §§ 219.8(b)(2), 219.10(b)(1)(i). The Forest Service must use the best available
   scientific information to comply with these substantive mandates, id. § 219.3, and include in the
   decision document “[a]n explanation of how the plan components meet [those] requirements, id.
   § 219.14(a)(2).

   2 The Wilderness Society submitted a scoping letter dated October 28, 2016. A number of other signatories to this
   letter submitted a joint scoping letter with the same date.

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   For areas recommended for wilderness designations, plans must include plan components,
   including standards and guidelines, “to protect and maintain the ecological and social
   characteristics that provide the basis for their suitability for wilderness designation.” 36 C.F.R. §
   219.10(b)(1)(iv). “Any area recommended for wilderness or wilderness study designation is not
   available for any use or activity that may reduce the wilderness potential of an area.” Forest
   Service Manual 1923.03(3).


      B. THE DEIS FAILS TO ANALYZE A REASONABLE RANGE OF ALTERNATIVES.

   The analysis of alternatives under NEPA is the “heart” of an EIS. 40 C.F.R. § 1502.14. An
   agency must “[r]igorously explore and objectively evaluate all reasonable alternatives” to a
   proposed action. Id. § 1502.14(a); see also 42 U.S.C. § 4332(2)(E) (agencies must “study,
   develop and describe appropriate alternatives to recommended courses of action in any proposal
   which involves unresolved conflicts concerning alternative uses of available resources”).
   Consistent with NEPA’s basic policy objective to protect the environment, this includes more
   environmentally protective alternatives. 40 C.F.R. § 1500.2(e) (agencies must “[u]se the NEPA
   process to identify and assess reasonable alternatives to proposed actions that will avoid or
   minimize adverse effects of these actions upon the quality of the human environment”); see also,
   e.g., Kootenai Tribe ofIdaho v. Veneman, 313 F.3d 1094, 1121-22 (9th Cir. 2002) (citing cases),
   abrogated on other grounds by The Wilderness Soc ’y v. U.S. Forest Serv., 630 F.3d 1173, 1178­
   80 (9th Cir. 2011) (en banc). “The existence of a viable but unexamined alternative renders an
   [EIS] inadequate.” Mont. Wilderness Ass’n v. Connell, 725 F.3d 988, 1004 (9th Cir. 2013)
   (quotations and citation omitted). The “touchstone” of the inquiry is “whether an EIS’s selection
   and discussion of alternatives fosters informed decision-making and informed public
   participation.” Id. at 1005 (quotations and citation omitted).
   The alternatives as crafted include a range for recommended wilderness from 0 acres
   (Alternatives A and C) to 284,870 (Alternative D). Alternative B recommends 59,000 acres. The
   draft wilderness evaluation included as a link in Appendix A of the DEIS lists the polygons with
   wilderness character. Summarizing the rankings, there are 973,137 acres listed in the potential
   wilderness inventory and evaluation; 580,144 acres have moderate to high-upper tier (UT)
   rankings, while 385,356 acres have mod-high to high UT rankings. Or said another way, over
   half of the potential wilderness acres have moderate to high degree of wilderness character. See
   Table 1.

   Table 1. Summary of wilderness quality rankings of areas with wilderness character on the
   Rio Grande National Forest.
   Rankings       # of polygons        Total acres     Fraction of evaluated acres
   High Upper
   Tier                             6      121,293                                 0.12
   High                            15       88,602                                 0.09
   Moderate-High                   10      175,461                                 0.18
   Moderate                        14      194,788                                 0.20
   Low-Moderate                     8       70,761                                 0.07
   Low                             44      322,232                                 0.33


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   The Wilderness Society in its scoping comments requested that at least one alternative analyze
   recommending all or almost all of the inventoried & evaluated areas, and at least one other
   alternative analyze the areas recommended in the conservation proposal submitted by The
   Wilderness Society and other organizations3:
            “The RGNF in the Draft EIS, therefore, should include a broad range of wilderness
            recommendations across the alternatives with one or more alternatives, including the
            preferred alternative, recommending all or almost all of the qualifying areas for
            wilderness. Analyzing a broad range will enable a robust analysis of the trade-offs and
            impacts associated with recommending most (if not all) of the inventoried areas.4 In
            addition to analyzing at least one alternative that recommends all or nearly all qualifying
            wilderness inventory areas for wilderness, the RGNF should also analyze at least one
            alternative that includes all the areas recommended by The Wilderness Society in this
            letter. Both of these suggested alternatives are reasonable and will foster informed public
            participation and decision-making.”
   Alternative D generally reflects the conservation proposal recommendations and is the upper
   bookmark of the range of alternative considered in the DEIS. Alternative D recommends
   284,870 acres for wilderness. This is 29% of the inventoried acres, and 49% of the evaluated
   acres with rankings from moderate to high-UT. This makes the range for recommended
   wilderness provided in all the alternatives from 0% to 29%, if we assume that all the polygons in
   the wilderness evaluation have wilderness character. If we assume that areas ranked as low in
   the evaluation do not have wilderness character, the range for recommended wilderness would be
   from 0% to 49%, which still is far from adequate. See Table 2.5

   Table 2. Summary of recommended wilderness by alternative in the DEIS for the Rio
   Grande National Forest.
   Alternative in Draft EIS      Acres Recommended               Recommended                   Recommended
                                 Wilderness6                     Wilderness Acres as a         Wilderness Acres as
                                                                 Percent of all Lands in       a Percent of Lands
                                                                 the Wilderness                Ranked as
                                                                 Evaluation7                   Moderate to High-
                                                                                               UT in the


   3 See scoping comments submitted on October 28, 2016 by The Wilderness Society at 13-14.
   4 See, e.g., Council on Environmental Quality, NEPA S Forty Most Asked Questions, 46 Fed. Reg. 18,026 (Mar. 23,
    1981) (“When there are potentially a very large number of alternatives, only a reasonable number of examples,
   covering the full spectrum of alternatives, must be analyzed and compared in the EIS. An appropriate series of
   alternatives might include dedicating 0, 10, 30, 50, 70, 90, or 100 percent of the Forest to wilderness.”).This
   approach conforms with the 9‘h Circuit Court of Appeals decision in California v. Block, 690 F.2d 753, 765, 768-69
   (9th Cir. 1982) (despite considering an alternative that allocated 100% of inventoried roadless areas to wilderness,
   “it was unreasonable for the Forest Service to overlook the obvious alternative of allocating more than a third of the
   RARE II acreage to a Wilderness designation”).
   5 Appendix A of the DEIS at 481 states that “For the most part all numbered polygons that were ranked as moderate-
   high, high, or high-upper tier are considered in this analysis.” It does not explain why the floor for analysis was set
   at moderate-high.
   6 From page 304 of the DEIS
   7 Appendix A references the draft wilderness evaluation that found a total of 937,137 acres with wilderness
   character. Each qualifying polygon was ranked for the overall degree of wilderness character from low to high-upper
   tier.

                                                             6

                                                                                     Rvsd Plan - 00005078
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                                                                                 Wilderness
                                                                                 Evaluation
   A                        0                           0%                       0%
   B                        52,860                      5%                       9%
   C                        0                           0%                       0%
   D                         284,870                       29%                   49%



   The range of alternatives does not satisfy NEPA because the upper end of the range and
   intermediate alternatives are still missing. Compare California v. Block, 690 F.2d 753, 765, 768­
   69 (9th Cir. 1982) (despite considering an alternative that allocated 100% of inventoried roadless
   areas to wilderness, “it was unreasonable for the Forest Service to overlook the obvious
   alternative of allocating more than a third of the RARE II acreage to a Wilderness designation”),
   with Mont. Wilderness Ass ^n, 725 F.3d at 1004-05 (range of alternatives that included opening
   between 0 and 10 of 10 existing airstrips, with three intermediate options, was reasonable).
   Similar to the situation in Cali^fornia v. Block - where the Ninth Circuit invalidated an EIS that
   “uncritically assume[d] that a substantial portion of the [roadless] areas should be developed and
   consider[ed] only those alternatives with that end result,” 690 F.2d at 767 - the Rio Grande DEIS
   assumes that less than one-half of the inventoried areas should not be protected as recommended
   wilderness and considers only those alternatives with that end result.
   We request that you rectify this deficiency by supplementing the DEIS with alternatives that fill
   in the upper end of the range. Logical options are to include an alternative that analyzes all or
   almost all of the qualifying acres, and another alternative that analyzes all the acres ranked high
   to moderate. This would ensure an adequate range of alternatives and a robust analysis of the
   trade-offs and impacts associated with recommending most (if not all) of the inventoried areas.


       C. THE DEIS DOES NOT ADEQUATELY ANALYZE OR ACCOUNT FOR THE
          ECOLOGICAL EFFECTS OF RECOMMENDED WILDERNESS.

       1. Ecological benefits of unroaded natural lands.

   Undeveloped natural lands provide numerous ecological benefits. They safeguard biodiversity,
   enhance ecosystem representation in protected areas (Dietz et al. 2015); facilitate connectivity
   (Loucks et al. 2003; USDA Forest Service 2001; Crist et al. 2005; Wilcove 1990; The
   Wilderness Society 2004; Strittholt and DellaSala 2001; DeVelice and Martin 2001; Belote et al.
   2016); and provide high-quality or undisturbed water, soil, and air resources (Anderson et al.
   2012; DellaSala et al. 2011). They also serve as ecological baselines to facilitate better
   understanding of our impacts to other landscapes and as reference areas for ecological restoration
   (Arcese and Sinclair 1997).
   Forest Service roadless lands, in particular, are heralded for their conservation values. Those
   values are described at length in the preamble of the Roadless Area Conservation Rule (RACR),
   66 Fed. Reg. 3244, 3245-47 (Jan. 12, 2001), and in the Final Environmental Impact Statement



                                                    7

                                                                         Rvsd Plan - 00005079
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   (FEIS) for the RACR.8 They include: high-quality or undisturbed soil, water, and air; sources of
   public drinking water; diverse plant and animal communities; habitat for threatened, endangered,
   proposed, candidate, and sensitive species and for those species dependent on large, undisturbed
   areas of land; primitive, semi-primitive non-motorized, and semi-primitive motorized classes of
   dispersed recreation; reference landscapes; natural appearing landscapes with high scenic
   quality; traditional cultural properties and sacred sites; and other locally identified unique
   characteristics (e.g., uncommon geological formations, unique wetland complexes, exceptional
   hunting and fishing opportunities).

   Numerous articles in the scientific literature similarly recognize the contribution of roadless and
   undeveloped lands to biodiversity, connectivity, and conservation reserve networks. For
   example, Loucks et al. (2003) examined the potential contributions of roadless areas to the
   conservation of biodiversity, and found that more than 25% of Inventoried Roadless Areas
   (IRAs) are located in globally or regionally outstanding ecoregions9 and that 77% of IRAs have
   the potential to conserve threatened, endangered, or imperiled species. Arcese and Sinclair
   (1997) and Aycrigg et al. (2015) highlighted the contribution that IRAs could make toward
   building a representative network of conservation reserves in the United States, finding that
   protecting those areas would expand ecosystem representation, increase the area of reserves at
   lower elevations, and increase the number of large, relatively undisturbed refugia for species.
   Crist et al. (2005) looked at the ecological value of roadless lands in the Northern Rockies and
   found that protection of national forest roadless areas, when added to existing federal
   conservation lands in the study area, would: (1) increase the representation of virtually all land
   cover types on conservation lands at both the regional and ecosystem scales, some by more than
   100%; (2) help protect rare, species-rich, and often-declining vegetation communities; and (3)
   connect conservation units to create bigger and more cohesive habitat “patches.”

   Roadless lands are also responsible for higher quality water and watersheds. Anderson et al.
   (2012) assessed the relationship of watershed condition and land management status, and found a
   strong spatial association between watershed health and protective designations. DellaSala et al.
   (2011) found that undeveloped and roadless watersheds are important for supplying downstream
   users with high-quality drinking water, and that developing those watersheds comes at
   significant costs associated with declining water quality and availability. The authors recommend

   8 Final Environmental Impact Statement, Vol. 1, 3-3 to 3-7, available at
   http://www.fs.usda.gov/roaddocument/roadless/2001roadlessrule/finalruledocuments .
   9 Loucks et al. utilized an ecosystem ranking system developed by Ricketts et al. (1999):

           Ricketts et al. (1999) classified the biological importance of each ecoregion based on species
           distribution, i.e., richness and endemism, rare ecological or evolutionary phenomena such as large-
           scale migrations or extraordinary adaptive radiations, and global rarity of habitat type, e.g.,
           Mediterranean-climate scrub habitats. They used species distribution data for seven taxonomic
           groups: birds, mammals, butterflies, amphibians, reptiles, land snails, and vascular plants (Ricketts
           et al. 1999). Each category was divided into four rankings: globally outstanding, high, medium,
           and low. The rankings for each of the four categories were combined to assign an overall
           biological ranking to each ecoregion. Ecoregions whose biodiversity features were equaled or
           surpassed in only a few areas around the world were termed "globally outstanding." To earn this
           ranking, an ecoregion had to be designated "globally outstanding" for at least one category. The
           second-highest category, or continentally important ecoregions, were termed "regionally
           outstanding," followed by "bioregionally outstanding" and "nationally important" (Ricketts et al.
           1999).

                                                             8

                                                                                    Rvsd Plan - 00005080
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   a light-touch ecological footprint to sustain healthy watersheds and the many other values that
   derive from roadless areas.

   The U.S. Forest Service, National Park Service, and U.S. Fish and Wildlife Service recognize
   that protecting and connecting undeveloped areas is an important strategy to enhance climate
   change adaptation. For example, the Forest Service National Roadmap for Responding to
   Climate Change establishes that increasing connectivity and reducing fragmentation are short-
   and long-term actions the agency should take to facilitate adaptation to climate change (USDA
   Forest Service 2011). The National Park Service also identifies connectivity as a key factor for
   climate change adaptation, along with establishing “blocks of natural landscape large enough to
   be resilient to large-scale disturbances and long-term changes.” The agency states that “[t]he
   success of adaptation strategies will be enhanced by taking a broad approach that identifies
   connections and barriers across the landscape. Networks of protected areas within a larger mixed
   landscape can provide the highest level of resilience to climate change.”10 Similarly, the Climate
   Adaptation Strategy adopted by a partnership of governmental agencies including the U.S. Fish
   and Wildlife Service calls for creating an ecologically connected network of conservation areas
   (National Fish, Wildlife and Plants Climate Adaptation Partnership 2012).11 The 2012 planning
   rule’s substantive ecological sustainability provision sanctions this reserve design and landscape
   connectivity approach, requiring the Forest Service to formulate “plan components, including
   standards and guidelines, to maintain or restore [the] structure, function, composition, and
   connectivity” of terrestrial and aquatic ecosystems and watersheds, taking into account stressors
   such as climate change. 36 C.F.R. § 219.8(a)(1).

   The designated areas chapter of the Rio Grande’s forest assessment report does a very good job
   cataloguing the ecological - as well as social and economic - benefits associated with wilderness
   and roadless area protection.12 The assessment recognizes that “[i]ncreasing the size of current
   designated wilderness areas is . . . an important option that can help support biological diversity
   and protect habitat for rare and endangered plant and animal species.”

   10 National Park Service, Climate Change Adaptation webpage,
   http://www.nps.gov/subjects/climatechange/adaptation.htm (last visited Sept. 8, 2015). See also USDOI National
   Park Service (2010) (Objective 6.3 of agency’s Climate Change Response Strategy is to “[c]ollaborate to develop
   cross-jurisdictional conservation plans to protect and restore connectivity and other landscape-scale components of
   resilience”).
   11 Relevant goals and strategies include:
       Goal 1: Conserve habitat to support healthy fish, wildlife, and plant populations and ecosystem functions in a
       changing climate.
           Strategy 1.1: Identify areas for an ecologically-connected network of terrestrial, freshwater, coastal, and
           marine conservation areas that are likely to be resilient to climate change and to support a broad range of -
           fish, wildlife, and plants under changed conditions.
           Strategy 1.2: Secure appropriate conservation status on [high priority areas] to complete an ecologically-
           connected network of public and private conservation areas that will be resilient to climate change and
           support a broad range of species under changed conditions.
           Strategy 1.4: Conserve, restore, and as appropriate and practicable, establish new ecological connections
           among conservation areas to facilitate fish, wildlife, and plant migration, range shifts, and other transitions
           caused by climate change.
   12 Rio Grande National Forest, Assessment 15: Designated Areas at 16-26 (March 2016), available at
   http://www.fs.usda.gov/detailfull/riogrande/landmanagement/proj ects/?cid=fseprd479414&width full

                                                             9

                                                                                      Rvsd Plan - 00005081
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          2. The DEIS Fails to Take a Hard Look at the Effects of Recommending Wilderness to
        Various Resources.

        The DEIS does not adequately analyze the effects of the wilderness recommendation on various
        resources under each alternative. The section on recommended wilderness (DEIS starting at 302)
        discusses the impacts on the wilderness recommendations under each alternative from various
        management activities (e.g., road management, timber activities, grazing), but does not analyze
        the effects of the wilderness recommendations under each alternative on resource values such as
        ecosystem integrity, rare communities, watershed and aquatic resources, invasive species, non­
        forested ecosystems, or at-risk species.

        The ecological benefits of choosing Alternative D over Alternative B for recommended
        wilderness are likely to be highly significant - particularly given that 71% of the non­
        recommended wilderness inventory lands in Alternative B will be available for potentially
        damaging activities including timbering, off-road vehicle riding, and mineral & energy
        development. See Table 3. The failure to meaningfully analyze those impacts is a violation of
        NEPA, which requires the Forest Service to take a “hard look” at the environmental
        consequences of a proposed action, including its direct, indirect, and cumulative effects.
        Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 348 (1989); 42 U.S.C. §
        4332(2)(C); 40 C.F.R. §§ 1502.16, 1508.7, 1508.8. The required hard look encompasses effects
        that are “ecological (such as the effects on natural resources and on the components, structures,
        and functioning of affected ecosystems), aesthetic, historic, cultural, economic, social, or health,
        whether direct, indirect, or cumulative.” 40 C.F.R. § 1508.8.

        Table 3. The approximate allocation of wilderness quality lands under each alternative.
                                                                  Wilderness
                                            Wilderness                              Wilderness
                                                                Inventory Acres                       Wilderness Inventory
                       Acres             Inventory Acres                          Inventory Acres
                                                                  Allocated to                         Acres Allocated to
    Alternative    Recommended         Allocated to General                         Allocated to
                                                                    Special                           Primitive Wilderness
                   for Wilderness         Forest Matrix                              Roadless
                                                                  Designations                          Geographic Area
                                        Geographic Area                           Geographic Area
                                                                Geographic Area
        A                  0                   n/a                     n/a              n/a                    n/a
         B              53,300               396,000                  56,500          467,000                 52,800
         C                 0                 423,000                  56,500          493,000                    0
         D             285,000               328,000                  153,000         211,000                281,000

        In Table 4, we describe how the DEIS analyzes the effects on various resources from
        recommended wilderness allocations and other designations under each alternative. As you can
        see, the analysis for certain resources is weak to non-existent. The identified deficiencies should
        be corrected in the final EIS.

Table 4. Summary of the effects analysis of recommended wilderness allocations and other conservation
designations by alternative on various resources in the DEIS. Deficiencies in the analysis are identified.
Resource      Description of Effects        DEIS       Deficiencies                     Relevant Citations
Value         from Designations             Pages
Rare
communities
and special

                                                                10

                                                                                   Rvsd Plan - 00005082
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habitats
  Potential    •   Describes the overlap     100­    •   Does not disclose or describe      See the conservation proposal
  Conserva­        of PCA with proposed      101,        the PCAs that remain               submitted by The Wilderness Society in
  tion Areas       special interest areas    81-86       unprotected under each             Appendices E and G in The Wilderness
  (PCA)                                                  alternative as a result of         Society’s scoping letter dated October
                                                         varying wilderness and special     28, 2016. Each narrative provides
                                                         area designations, and the         information on overlapping PCAs, along
                                                         related consequences. Does         with the ranking and rationale for the
                                                         not describe the species and       PCA.
                                                         habitats that are protected by
                                                         the various PCAs or the
                                                         aggregate ecological value to
                                                         rare habitats resulting from the
                                                         protection of PCAs through
                                                         designations under each
                                                         alternative.
   Fens and    •   States that Alt. D        101     •   Does not describe or disclose      Page 1 of the assessment report
   Wetlands        would be most                         where the high value wetlands      entitled Rio Grande National Forest -
                   protective of fens and                are and which would remain         Assessments 1 and 3 Aquatic and
                   wetlands and Alt. C                   unprotected under each             Riparian Ecosystem Integrity, Systems
                   would be the least.                   alternative as a result of         Drivers and Stressors cites information
                                                         varying wilderness and special     sources related to wetlands and fens on
                                                         area designations, and the         the forest:
                                                         related consequences.              • Rio Grande National Forest Riparian
                                                                                            Inventory Project - USDA Forest Service
                                                                                            Washington Office (Abood 2015)
                                                                                            • Assessment of Wetland Condition on
                                                                                            the Rio Grande National Forest
                                                                                            (Colorado Natural Heritage Program)
                                                                                            • Ecological Driver Classification and
                                                                                            Analysis for Aquatic Systems - R2
                                                                                            Regional Office (Winters 2016)
                                                                                            • Smith, G. J. Lemly, P. Smith, and B.
                                                                                            Kuhn. 2016. Fen Mapping for the Rio
                                                                                            Grande National Forest.
                                                                                            Colorado Natural Heritage Program,
                                                                                            Colorado State University, Fort Collins,
                                                                                            Colorado.
                                                                                            • Rio Grande National Forest
                                                                                            Monitoring Report Summary 1997-2012

   Low         •   States that there are     101­    •   Does not describe or disclose      See above
   elevation       977 acres of low          102         where the 977 acres of low
   riparian        elevation riparian                    elevation riparian areas are,
   areas           areas on the forest                   and which would remain
                   and Alt. D and Alt. B                 unprotected under each
                   are generally more                    alternative as a result of
                   protective of them.                   varying wilderness and special
                   States that livestock                 area designations, and the
                   grazing is an impact,                 related consequences.
                   and grazing will be the           •   Does not disclose or discuss
                   same under all                        the fact that roads, motorized


                                                              11

                                                                                      Rvsd Plan - 00005083
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                     alternatives.                         use, and more generally
                                                           dispersed recreation are
                                                           common stressors to low
                                                           elevation riparian areas, and
                                                           does not discuss how these
                                                           uses and resulting impacts will
                                                           vary by alternative.
   Alpine        •   Identifies that there      102­   •   The scientific literature         See Exhibits 3 and 4 containing relevant
   Fell Fields       are 53,024 acres of        103        contains discussions of the       peer-reviewed articles addressing
                     alpine fell fields in                 impacts of dispersed              summer and winter off-road vehicle
                     wilderness, and that                  recreation on alpine systems.     impacts and management.
                     Alt. D affords this                   The DEIS is deficient for not
                     system the most                       incorporating this science.
                     protection, and Alt. C            •   The DEIS (103) is inaccurate in
                     the least. Cites various              that forest visitors cannot
                     stressors including                   participate in motorized
                     dispersed recreation,                 activities anywhere on the
                     stating “Forest visitors              forest, and where they can go
                     can participate in                    will vary by alternative (e.g.,
                     motorized or                          acres of recommended
                     nonmotorized                          wilderness; suitability of
                     activities anywhere on                motorized recreation, ROS
                     Forest lands, which                   settings).
                     makes it difficult to             •   The DEIS is deficient for not
                     assess recreation                     showing where the alpine fell
                     impacts.”                             habitat is located, which acres
                                                           would be protected by
                                                           recommended wilderness and
                                                           other proposed designations,
                                                           and the resulting relative
                                                           impacts under each
                                                           alternative.
Non-forested     •   States that just under     134­   •   Does not describe or disclose     See RGNF Terrestrial Assessment 1 & 3,
ecosystems           30% of the forest is       135        non-forested ecosystems’          p. 3, Figure 1.
                     covered by non­                       ecological values or the
                     forested ecosystems.                  location and percent of each      See RGNF Wildlife Overviews (Brewer’s
                                                           ecosystem that would remain       Sparrow, Gunnison’s Prairie Dog)
                                                           unprotected under each            https://www.fs.usda.gov/detail/riogran
                                                           alternative as a result of        de/landmanagement/projects/?cid=fse
                                                           varying wilderness and special    prd534370
                                                           area designations, and the
                                                           related impacts. (With the        See Seglund, S.E. and P.M. Schnurr.
                                                           exception of the Poncha Pass      2010. Colorado Gunnison’s and White­
                                                           area as sagebrush habitat for     tailed Prairie Dog Conservation
                                                           Gunnison sage-grouse DEIS 220     Strategy. CO Division of Wildlife.
                                                           & 222)                            Denver, CO, 218 pp.



Aquatic and      •   States that                143­   •   Fails to disclose or describe     See Exhibit_2 containing relevant peer-
Terrestrial          alternatives A, B, and     145        how specific invasive species     reviewed articles addressing summer
Nonnative            C that allow more                     (or generally how the category    off-road vehicle impacts and
Invasive             road building and                     of invasive species) would fare   management. (“In addition to trampling


                                                                12

                                                                                        Rvsd Plan - 00005084
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Species/Noxi        timber harvest would                 under each alternative as a          effects, ORVs are a major vector for
ous Weeds           increase terrestrial                 result of recommended                non-native invasive plant species.)
                    invasive species on                  wilderness and other
                    the forest.                          designations. Areas with             Also see Gelbard, J. L. and J. Belnap.
                •   States that the fate of              protective management that           2003. Roads as conduits for exotic plant
                    aquatic invasive                     disallow off-road vehicle use        invasions in a semiarid landscape.
                    species would be the                 have ecosystems of higher            Conservation Biology 17:420-432.
                    same under all                       integrity in part because            Available
                    alternatives because                 invasive species do not spread       at http://onlinelibrary.wiley.com/doi/10
                    the forest uses best                 as readily from motorized            .1046/1.1523-
                    management                           vehicles.                            1739.2003.01408.x/abstract
                    practices for                    •   Fails to disclose or describe the
                    preventing aquatic                   terrestrial invasive species of      Wyoming State Wildlife Action Plan,
                    invasive species                     specific concern and where           Conservation Threats, Chapter 2 (“[The
                    transport through fire­              they are occurring.                  fact that invasive species colonize
                    fighting equipment.                                                       disturbed places] contributes to
                                                                                              invasive species being a principal
                                                                                              component of, or compounding, other
                                                                                              negative effects associated with habitat
                                                                                              impacts such as rural subdivision,
                                                                                              energy development, disruption of
                                                                                              natural disturbance regimes,
                                                                                              overgrazing, and off-road vehicle use.”)
                                                                                              Available at
                                                                                              https://drive.google.com/drive/folders/
                                                                                              0B1iN5AyJdrYPa2JMMih6Q2RseVE
Watersheds      •   States that alternative   173­   •   While the analysis provides a        • Watershed Condition Framework
and Riparian,       D followed by B are       191        good overview, it is missing a            ratings for RGNF watersheds.
Wetlands,           the most protective of               few crucial pieces of                • RGNF Assessment Reports 1 and 3,
and Fens            these resources                      information. The EIS is deficient         and other Forest Service data on
                    because they limit the               because it does not discuss and           the location and quality of
                    activities that are                  disclose:                                 watershed, riparian, and wetland
                    most harmful.                             o That impacts                       resources.
                •   States that the mining                         associated with mining
                    legacy in the area has                         activities will be less
                    left watersheds and                            under Alternative D
                    water quality                                  because 285,000 of
                    diminished.                                    recommended
                                                                   wilderness will be
                                                                   withdrawn from
                                                                   mineral entry;
                                                              o The location of the
                                                                   categorized
                                                                   watersheds in
                                                                   relationship to
                                                                   proposed designated
                                                                   areas under each
                                                                   alternative, and the
                                                                   effect of the
                                                                   designations on Class
                                                                   1 watersheds (e.g., will
                                                                   likely keep them in


                                                              13

                                                                                        Rvsd Plan - 00005085
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                                                                        Class 1) and Class 2
                                                                        watersheds (e.g.,
                                                                        might focus
                                                                        management
                                                                        attention on moving
                                                                        the watersheds from
                                                                        class 2 to 1);
                                                                   o The location of fens,
                                                                        wetlands, and riparian
                                                                        areas in relationship
                                                                        to proposed
                                                                        designated areas, and
                                                                        the effect of the
                                                                        designations under
                                                                        each alternative on
                                                                        these resources.
Ecosystem       The DEIS does not discuss                 The DEIS needs to address the            Dietz, M.S., R.T. Belote, G.H. Aplet, &
Represen­       the concept of ecosystem                  concept of ecosystem                     J.L. Aycrigg. 2015. The world’s largest
tation          representation in the                     representation, including how            wilderness protection network after 50
                analysis, except for                      ecosystem representation differs         years: An assessment of ecosystem
                mentions in Appendix A                    under each alternative. Appendices       representation in the U.S. National
                when describing potential                 E and G of The Wilderness Society’s      Wilderness Preservation System.
                recommended wilderness                    scoping letter dated October 28,         Biological Conservation, 184: 431-438.
                areas. Ecosystem                          2016 provided information on how         Available at
                representation is a metric                the areas that conservationists          http://www.sciencedirect.com/science/
                of ecosystem integrity. It                proposed for designation (and            article/pii/S0006320715000944
                refers to the proportion of               reflected in Alternative D) would
                an ecosystem that is                      increase ecosystem representation.
                contained within                          The Wilderness Society in its
                protective designations                   scoping letter at 14 requested that
                and therefore managed                     the DEIS include this analysis.13
                primarily for its natural
                attributes. Conservation
                biologists agree that the
                continued viability of
                naturally occurring
                habitats depends on
                having a certain
                percentage of each
                ecosystem in protection.
At risk         • The DEIS states               217,      The DEIS must quantify how much          Rio Grande National Forest FSVeg GIS
species              designations would         222,      potential at-risk species habitat        data layer.
                     benefit lynx "overall,"    253       would be protected by designations
                     variation between                    for each alternative for each at-risk    RGNF Assessment 5: reference for
                     alternatives would                   species.                                 statement, "Biologists have identified
                     have little/no impact                                                         approximately 1,762 acres of suitable
                     but D would be the                                                            and 947 acres of potential willow

          13 Excerpted from the Wilderness Society’s scoping letter: “In the Draft EIS, the RGNF should analyze how the
          alternatives representing a broad range of wilderness recommendations contributes to ecological and aquatic
          integrity and the diversity of plant and animal species. Indicators of these outcomes include, but are not limited to,
          representation of under-represented ecosystems, protection of areas with high biodiversity, and protection of areas
          important to connectivity.”

                                                                     14

                                                                                              Rvsd Plan - 00005086
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                       most beneficial.                                                       flycatcher habitat” (p. 25); data for
                  •   For Gunnison sage­                                                      Mexican spotted owl modeled habitat
                       grouse, the DEIS                                                       map (p. 24)
                       determines
                       alternatives B, C, and                                                 See RGNF Wildlife Overviews (data for
                       D have the same                                                        habitat maps)
                       impact.                                                                https://www.fs.usda.gov/detail/riogran
                  • The DEIS states                                                           de/landmanagement/projects/?cid=fse
                       “designations would                                                    prd534370
                       be generally
                       protective” of SCC but
                       may limit invasive
                       species and fuel
                       objectives; overall a
                       positive impact, with
                       D being highest.
Climate           The DEIS does not discuss            The DEIS needs to address how          Appendix F of The Wilderness Society’s
change            or disclose how the                  conservation designations,             Scoping Letter (Pages 13-14 in the
                  wilderness                           including wilderness                   section entitled Benefits of Roadless
                  recommendations and                  recommendations, under each            Areas and Roadless Area Networks to
                  other conservation                   alternative, will impact the RGNF’s    Climate Change Adaptation) provides
                  designations under each              capacity to adjust to a rapidly        an in-depth description of the values of
                  alternative would impact             changing climate as predicted with     unroaded and undeveloped lands.
                  the RGNF’s capacity to               climate models for the region. The
                  adapt to climate change.             Wilderness Society in its scoping
                                                       letter at 14 requested that the DEIS
                                                       include this analysis.14



              D. DEIS APPENDIX A - WILDERNESS ANALYSIS PROCESS

                      1. General comments

          While the narratives of recommended wilderness areas provide much useful information, we
          noted the following deficiencies.

              o       The proposed wilderness area narratives in Appendix A do not consistently delve into the
                      specifics of expanding ecosystem representation within wilderness on either the RGNF or
                      nationally. Ecosystem representation refers to the representation of ecosystems in
                      protected areas, and is a well-accepted metric of ecological sustainability. See Appendix
                      B of The Wilderness Society’s scoping letter dated October 28, 2017, and reattached to
                      this letter as Exhibit 3. Some unit analyses mention in passing that ecosystem
                      representation could be enhanced, while for others there is discussion of specific
                      ecosystems, but the analyses do not evaluate their uncommonness, or how substantial a



          14 Excerpted from the Wilderness Society’s scoping letter: “[The DEIS] should also evaluate how well each
          alternative prepares the RGNF to adapt to a rapidly changing climate by, for instance, providing for a connected
          network of wild lands in which species can move without major impediments to and through a variety of ecosystems
          (including aquatic).”

                                                                 15

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           contribution the unit would make if designated to enhancing representation. See
           Appendices B and E of The Wilderness Society’s scoping letter dated October 28, 2017.

       o   The narratives never discuss landscape connectivity or how any particular area fits into a
           larger landscape context. Contributions to lynx linkage areas is not addressed, and the
           overall picture of landscape conservation is not addressed as a value associated with
           wilderness designation. Along with ecosystem representation, these are important
           supplemental values that should be documented in the area descriptions.15

   The narratives do appropriately generally describe solitude and primitive recreation opportunities
   that contribute to the overall outstanding nature of wilderness resources present. They also
   appropriately incorporate discussion of supplemental ecological values such as native cutthroat
   trout, Colorado Natural Heritage Program Potential Conservation Areas, and T&E species
   habitat.

   While deficiencies in the narratives and analysis clearly exist, we thank the RGNG for giving the
   wilderness recommendations submitted in our conservation proposal careful scrutiny in the
   DEIS.

            2. Specific Comments on areas recommended for wilderness only in Alternative D

                i.       Antora Meadows/Bear Creek

   The description in the DEIS is complete and offers a compelling rationale for recommending the
   area for wilderness designation.

   The narrative appropriately notes the ecological and social characteristics that enhance the area’s
   wilderness quality and potential, including the presence of pure Rio Grande cutthroat trout in
   East Middle Creek, habitat for lynx and Mexican spotted owl, and the diversity of forest
   ecosystems. The analysis highlights the lack of recreation conflicts with wilderness designation,
   noting the existence of more than 20 miles of non-motorized trails that are closed to mechanized
   use as well. The area is managed for backcountry primitive recreation presently. There are
   outstanding opportunities for solitude owing to the topography, elevational range, and compact
   configuration of the area.

   The narrative does not include specific consideration of the area’s contribution to enhancing
   ecosystem representation with the National Wilderness Preservation System either within the Rio
   Grande NF or at a national scale. By protecting this area, the Rio Grande NF could substantially
   increase the ecological representation within its wilderness areas of Rocky Mountain Lodgepole
   Pine Forest, Rocky Mountain Aspen Forest and Woodland, and Southern Rocky Mountain
   Montane-Subalpine Grassland. Specifically, Antora Meadows by itself contributes over 10,000
   acres of lodgepole pine forest and would bring acreage of lodgepole within wilderness on the
   forest well above 20%. It also includes about 6,500 acres of aspen forest and woodland, which
   would be half of the additional acreage needed to reach 20% representation.

   15 The Forest Service is required to evaluate and document supplemental values as part of the wilderness evaluation
   process. See FSH 1909.12, chapter 72.1 (4).

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              ii.     Elkhorn Peak

   The narrative describes the ample outstanding opportunities for solitude and primitive and
   unconfined recreation. There is mention that ecosystems are present that are under-represented
   within wilderness on the forest, but it does not specifically identify which ecosystems and how
   much they would contribute. By protecting this area, the Rio Grande NF can substantially
   increase the ecological representation within its wilderness areas of Southern Rocky Mountain
   Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland, Rocky
   Mountain Lodgepole Pine Forest, and Rocky Mountain Aspen Forest and Woodland. Wilderness
   designation of Elkhorn would specifically increase lodgepole pine forest by 3,700 acres, or about
   one-half the 20% target, and would increase aspen forest and woodland by 3,600 acres, or about
   one-fourth the 20% target. It also incorporates 1,600 acres of montane-subalpine grassland and
   about 900 acres of ponderosa pine woodland, both more modest contributions.

   The narrative concludes that Elkhorn Peak retains “a feeling of seclusion and remoteness can be
   experienced as well as a high degree of self-reliance, challenge and risk.” Combined with the
   opportunity to significantly enhance ecosystem representation on the forest, a recommendation
   for wilderness designation would be a very appropriate management choice.

              iii.    North Fork Rock Creek

   The narrative describes accurately the wilderness character of the unit, the outstanding
   opportunities for solitude, and the primitive non-motorized recreation opportunities present. It
   also notes that designation would increase ecological representation for Southern Rocky
   Mountain Montane-Subalpine Grassland, Southern Rocky Mountain Ponderosa Pine Woodland,
   Rocky Mountain Pinyon-Juniper Woodland, and Southern Rocky Mountain Mesic Montane
   Mixed-Conifer Forest and Woodland.

              iv.     Pole Creek Mountain - Sheep Mountain

   The analysis unit in the DEIS is the entire Pole Mountain-Finger Mountain roadless area,
   significantly larger than our recommended unit centered on Sheep Mountain. The analysis
   mentions there are 28 miles of motorized trails that would require closure under a wilderness
   recommendation, but this ignores the reality of our proposal that would necessitate no closures of
   motorized trails. Given the acknowledgment that this area is perhaps the most remote location on
   the entire national forest, the analysis would benefit from honing in on the smaller unit we
   recommended that is free of motorized trail conflicts.

   The narrative details the many outstanding ecological values of the proposed wilderness,
   including habitat for T&E species including lynx and Uncompahgre fritillary butterfly. It
   mentions the area contains one of the only known occurrences in the world of stonecrop gilia. It
   also highlights the area’s value for lynx movement across the core of the San Juan Mountains.
   Recommending this area for wilderness would help achieve the RGNF’s requirement under the
   2012 planning rule to provide for ecological integrity and species diversity. The narrative overall
   captures the outstanding wilderness character of the area, its vast expanses contributing to

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   outstanding sense of solitude, and the extraordinary primitive recreation opportunities present in
   this remote alpine and subalpine environment.

              v.      Saguache Creek-Four Mile Creek-Taylor Canyon

   The narrative aptly describes the outstanding wilderness character of this potential wilderness. It
   literally gushes about the area’s inherent wilderness values:

          “This premier destination for trout fishing is a popular recreational activity. Fly
          fishermen avidly cast the seven-mile length of Saguache Creek for brown and rainbow
          trout using flies and lures only. Hikers and backpackers enjoy the stream corridor as well,
          relishing the rugged grandeur of the 1,500-foot deep canyon. Hikers can find complete
          isolation trekking into the lower reaches of Fourmile Creek and Luders Creek amidst lush
          riparian zones surrounded by stately ponderosa pines along infrequently maintained
          trails.”

   The narrative is somewhat lacking, however, in its discussion of the tremendous contribution to
   expanding ecosystem representation within the wilderness on the forest and nationally. The
   analysis briefly mentions the ponderosa pine forests and grasslands that occur within the area,
   but does not do justice to the significance of these ecosystem types. The proposed Saguache
   Creek wilderness includes the largest expanses of grassland and ponderosa pine forest available
   for addition to the National Wilderness Preservation System among all of the available candidate
   areas on the RGNF. These two ecosystem types are critically under-represented among existing
   wilderness both regionally within the Southern Rockies and at the national level, with less than
   5% representation. Wilderness designation would add over 11,000 acres of Southern Rocky
   Mountain Montane-Subalpine Grassland to wilderness, fully one-third of what is needed to reach
   20% representation. It would also increase representation of Southern Rocky Mountain
   Ponderosa Pine Woodland by over 5,500 acres which amounts to about one-half the acreage
   needed to reach 20% representation The narrative should be supplemented to highlight this
   unique ecological benefit of wilderness designation of the area.

              vi.     Sawlog

   The narrative appropriately describes the wilderness character and ecological features of the
   area. It notes the specific under-represented ecosystem types that would be enhanced through
   wilderness designation.

              vii.    Snowshoe Mountain

   The narrative appropriately describes the wilderness character and highlights ecological and
   geologic features of the area. It notes the specific under-represented ecosystem types that would
   be enhanced through wilderness designation.

              viii.   Wannamaker Creek - Deep Creek addition to La Garita Wilderness




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   The narrative highlights the area’s wilderness values, and notes that adding to the adjacent
   wilderness would enhance the ecological effectiveness of the existing La Garita Wilderness by
   increasing the size of the Wilderness.

                   ix.   Wason Park addition to La Garita Wilderness

   The narrative describes the area’s outstanding opportunities for solitude and primitive recreation,
   and notes its designation would contribute to expanding under-represented ecosystem types.

           3. Specific comments on recommended wilderness areas in Alternative B

              i.         Beartown-Indian Ridge addition to Weminuche Wilderness

   The narrative could be improved by highlighting that wilderness designation would enhance the
   experience offered by the Continental Divide National Scenic Trail (CDT) and importantly
   would add a couple of miles of the CDT into the wilderness around Kite Lake and leading up to
   Hunchback Pass. This would place the entirety of the CDT into wilderness from Stony Pass to
   Wolf Creek Pass and further protection of the longest continuous wilderness extent of the CDT
   in the southern Rockies. The section of the CDT through the Beartown-Indian Ridge roadless
   area is currently the only non-wilderness portion for 85 miles.

   The narrative notes that additions to the adjacent wilderness would incorporate important lynx
   habitat into the wilderness, which would benefit long-term habitat conservation for this
   threatened species and frequent inhabitant of wilderness.

             ii.         Cumbres-Elk Creek addition to South San Juan Wilderness

   The narrative could be improved by focusing the description of wilderness character and current
   uses and management on the portion of the area recommended for wilderness designation. The
   narrative mentions evidence of timber harvest and historical mining, but none of that has
   occurred within the area proposed for addition to the wilderness. That distinction should be
   emphasized in the narrative. In contrast, the narrative does note that Chama Basin was removed
   from the analysis area and is managed separately.

   The narrative implies that only after getting away from non-motorized trails can one experience
   remoteness and seclusion. To the contrary, once a visitor is a short distance along the Elk Creek
   Trail, there is a tremendous sense of remoteness and seclusion owing to topographic isolation.
   The stream valley narrows and the trail winds along steep slopes or in the bottom of a deep
   valley. Moreover, this criterion for wilderness is whether the area possesses outstanding
   opportunities for solitude or for a primitive and unconfined type of recreation.16

   The narrative fails to describe the outstanding opportunities for primitive and unconfined
   recreation present in the area. A key attribute is the non-motorized Elk Creek trail that traverses
   the length of the proposed wilderness addition to the wilderness boundary approximately four

   16 See FSH 1909.12, chapter 72.1 (2). (“The word “or” means that an area only has to possess one or the other.”)


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   miles distant from the trailhead. Elk Creek is an easily accessible and popular wilderness access
   point for both hikers and horse users. Many day-hikers and overnight backpackers enjoy
   outstanding opportunities for fishing, photography, and wildlife viewing. Horsepackers share the
   trail and similarly enjoy access to the longest wilderness valley in the South San Juan Wilderness
   Area. The proposed addition provides excellent habitat for elk and mule deer, which in turns
   leads to high-quality backcountry hunting opportunities in the fall.
   The narrative briefly notes that the area would expand ecosystem representation within the South
   San Juan Wilderness. This could be significantly bolstered by noting that the lowermost
   elevations of Elk Creek at less than 9,000 feet include impressive stands of several-hundred ­
   year-old ponderosa pines, many of which display old-growth characteristics. The low-elevation
   ponderosa pine-grassland ecosystem adds substantial diversity to the existing wilderness, and the
   majestic trees offer an appealing contrast to the generally subalpine and alpine character of the
   wilderness.

           iii.      Tobacco Lakes-Gold Creek-Cascade Creek addition to South San Juan
                     Wilderness

   The narrative could be bolstered with more description of the outstanding opportunities for
   primitive and unconfined recreation opportunities. The Adams Fork trail provides outstanding
   opportunities for primitive and unconfined recreation in the form of wilderness-related activities
   such as hiking, backpacking, horsepacking, angling, and backcountry hunting. The addition
   enhances the primitive recreation experience by ensuring protection of the wilderness qualities of
   the landscape that envelops the Three Forks wilderness trailhead. Both trailheads are easily
   accessed from Platoro Reservoir.

   The narrative notably recognizes the significant ecological values present in the proposed
   wilderness addition. These include high value for lynx habitat, and the existence of Rio Grande
   cutthroat trout in the Adams Fork.

           iv.        Sangre de Cristo-Pole Creek-Crestone-Cotton Creek-Hot Springs-Miller
                      Creek-Butterfly additions to the Sangre de Cristo Wilderness

   The narrative of this extensive and diverse wilderness addition should be significantly expanded
   to account for the extraordinary ecological diversity that it would add to the wilderness system,
   the remarkable primitive recreation opportunities present in mountaineering challenges
   associated with three 14ers within the proposed unit, and the uncommon solitude present in the
   many isolated watersheds draining off the west slope of the Sangres.

   In general, the proposed wilderness addition significantly expands wilderness representation of
   many ecosystem types, as is detailed more extensively below. The Sangres addition is the single
   most significant opportunity on the RGNF to expand representation, as ecosystem types along
   the lower slopes of the proposed addition are poorly represented within the forest’s existing
   wilderness areas. Wilderness designation of the Sangres addition would increase ecological
   representation of Southern Rocky Mountain Montane-Subalpine Grassland, Southern Rocky
   Mountain Ponderosa Pine Woodland, Southern Rocky Mountain Pinyon-Juniper Woodland, and
   Rocky Mountain Gambel Oak-Mixed Montane Shrubland, each of which occur in designated

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